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        Exhibit – C / Transcripts




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    1                         UNITED STATES DISTRICT COURT

    2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

    3               HONORABLE PERCY ANDERSON, U.S. DISTRICT JUDGE

    4

    5   UNITED STATES OF AMERICA,

    6                    Plaintiff,

    7         vs.                                     Case No. CR-16-215-PA

    8   MICHAEL MIRANDO,

    9                    Defendant.
                                                  /
  10

  11

  12                 REPORTER'S TRANSCRIPT OF TRIAL PROCEEDINGS
                                      VOIR DIRE
  13                           TUESDAY, APRIL 25, 2017
                                       8:30 A.M.
  14                           LOS ANGELES, CALIFORNIA

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  22         ________________________________________________________

  23                     TERRI A. HOURIGAN, CSR NO. 3838, CCRR
                            FEDERAL OFFICIAL COURT REPORTER
  24                        350 WEST FIRST STREET, ROOM 4311
                             LOS ANGELES, CALIFORNIA 90012
  25                                 (213) 894-2849




App. 0413                     UNITED STATES DISTRICT COURT
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    1                            APPEARANCES OF COUNSEL:

    2

    3   FOR THE PLAINTIFF:

    4       EILEEN DECKER
            United States Attorney
    5       BY: MICHAEL FREEDMAN
                KATHERINE RYKKEN
    6            Assistant United States Attorney
            United States Courthouse
    7       312 North Spring Street
            Los Angeles, California 90012
    8

    9
        FOR THE DEFENDANT MICHAEL MIRANDO:
  10
            LAW OFFICES OF KEVIN BARRY MCDERMOTT
  11        BY: KEVIN B. MCDERMOTT
                Attorney at Law
  12        300 Spectrum Center Drive, Suite 1420
            Irvine, California 92618
  13

  14
        ALSO PRESENT:     Special Agent Kathleen Kennedy
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App. 0414                     UNITED STATES DISTRICT COURT
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    1             LOS ANGELES, CALIFORNIA; TUESDAY, APRIL 25, 2017

    2                                    8:30 A.M.

    3                                      --oOo--

    4                           (Court called to order)

    5                 THE COURTROOM DEPUTY:       Please be seated and come to

    6   order.

    7          Item 1, CR-16-215, United States of America versus Michael

    8   Mirando.

    9          Counsel, please state your appearances.

  10                  MR. FREEDMAN:     Good morning, Your Honor.        Michael

  11    Freedman and Katherine Rykken on behalf of the United States,

  12    and with us at counsel table is Kathleen Kennedy with the

  13    Federal Bureau of Investigation.

  14                  MR. MCDERMOTT:     Good morning.      Kevin McDermott on

  15    behalf Mr. Mirando, who is present.           And also I have my

  16    paralegal from my office, Ms. Elise MacNamara, who will be with

  17    me today on the jury selection.

  18                  THE COURT:    Good morning.

  19                  MR. MCDERMOTT:     Thank you, sir.

  20                  THE COURT:    Has each side provided the clerk with a

  21    list of potential witnesses?

  22                  MR. FREEDMAN:     Yes, Your Honor, we have.

  23                  MR. MCDERMOTT:     Yes, sir.

  24                  THE COURT:    What's the government's current estimate

  25    as to how long it's going to take to put on its case?




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    1                 MR. FREEDMAN:     We currently estimate three to five

    2   days.

    3                 THE COURT:    Okay.    We're going to impanel two

    4   alternates, and is everybody in agreement that we could tell

    5   the jury that we anticipate that this case will be concluded by

    6   Tuesday or Wednesday of next week?

    7                 MR. FREEDMAN:     Yes, Your Honor.

    8                 THE COURT:    I ask that the government, prior to

    9   taking any evidence of the case, provide the clerk with an

  10    electronic version of its exhibit list.

  11                  MR. FREEDMAN:     We will do that, Your Honor.

  12                  THE COURT:    If you intend to impeach a witness with

  13    grand jury testimony, or some other sworn testimony, just give

  14    us the page, the line number, so that the other side has an

  15    opportunity to review it.

  16            I will ask if they have any objections, and then simply

  17    read -- assuming there is no objection -- then simply read that

  18    portion of the testimony.        There is no follow-up and that's it.

  19            When we seat the jury, Juror No. 1 is going to be on the

  20    first row in the seat closest to me.

  21            Then Juror Number 7 will take the first seat on the second

  22    row closest to me.

  23            If you have a preemptory challenge as to any of the

  24    jurors, before you announce your preemptory challenge, meet and

  25    confer with the other side so if there is going to be a motion




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    1   with regard to that preemptory, we will take that up at

    2   sidebar.

    3          Okay.    There is no food or coffee allowed in the

    4   courtroom.

    5          Please don't address the jurors or the witnesses.              You

    6   don't need to say good morning to the witness.             I will take

    7   care of that.

    8          Don't thank the witness following an answer.             Thank the

    9   Court.

  10           There are no speaking objections.          Just tell me what the

  11    evidentiary basis is, and I will rule it.

  12           If I want to hear from somebody I will ask -- I will take

  13    you to sidebar.

  14           If you want -- if you want a sidebar, you can ask, you may

  15    not get it.     We will take it up at the next recess.

  16           Okay.    Has -- have you received the background

  17    questionnaires?

  18                   MR. FREEDMAN:    Yes, Your Honor.

  19                   MR. MCDERMOTT:    Yes, Your Honor.

  20                   THE COURT:   Any objections to the background

  21    questionnaire?

  22                   MR. MCDERMOTT:    Not by defense, sir.

  23                   MR. FREEDMAN:    No, Your Honor.

  24                   THE COURT:   Have you received the criminal case

  25    questionnaire?




App. 0417                     UNITED STATES DISTRICT COURT
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    1                 MR. FREEDMAN:     Yes, Your Honor.

    2                 MR. MCDERMOTT:     Yes, sir.

    3                 THE COURT:    Do you have any objections or

    4   suggestions to any of those questions?

    5                 MR. FREEDMAN:     One suggestion, Your Honor, 26

    6   pertains to recordings of conversations.

    7          The government doesn't have any recordings of

    8   conversations so we may not need that one.

    9                 THE COURT:    All right.     Anything else we need to

  10    take up before we bring the panel in?

  11                  MR. FREEDMAN:     Your Honor, one item with respect to

  12    exhibits.     The parties filed a stipulation regarding the

  13    majority of exhibits as to examination, authenticity, and

  14    admissibility, and particularly, there is a handful of summary

  15    charts and other records that the case agent will testify to.

  16           The case agent will be testifying last, so we would like

  17    to show some of those exhibits to other witnesses before the

  18    case agent has testified.

  19           I have a list here if the Court would be willing to

  20    entertain a motion to pre-admit those exhibits.             I could give

  21    the Court the numbers.

  22                  THE COURT:    Okay.    Do you have any objection?

  23                  MR. MCDERMOTT:     Sir, the only reason that they are

  24    allowed to come in is under 1001.

  25           I would object, without the agent first identifying what




App. 0418                     UNITED STATES DISTRICT COURT
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    1   the documents are.

    2          I don't want witnesses addressing documents that really

    3   need to be described and understood by the jury through the FBI

    4   agent.

    5                 THE COURT:    What are the exhibit numbers?

    6                 MR. FREEDMAN:     Exhibit 8 is a summary chart of

    7   Holter Lab orders that were placed with Datrix.             They would

    8   intend to show that to the the witness from Datrix, Jon Barron.

    9          Then there is a summary chart for each of the four patient

  10    beneficiaries showing the claims that were made in the

  11    beneficiaries' name.

  12                  THE COURT:    What are the numbers?

  13                  MR. FREEDMAN:     36, 50, 62.

  14                  THE COURT:    One second.     36, 50?

  15                  MR. FREEDMAN:     62, and 77.

  16                  MR. MCDERMOTT:     If I may interrupt, as to those he

  17    has identified, I don't have any objection as to those specific

  18    witnesses going through them, as long as those are the

  19    witnesses that go through those documents.

  20                  THE COURT:    Okay.    All right.     So what we will do is

  21    we will provisionally admit those.

  22                  MR. MCDERMOTT:     Thank you.

  23                  MR. FREEDMAN:     Thank you, Your Honor.

  24                  THE COURT:    Anything else?

  25                  MR. FREEDMAN:     No, Your Honor.




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    1                 MR. MCDERMOTT:     No, sir.

    2                 THE COURT:    Has the government provided the defense

    3   with a list of names of witnesses it intends to call today?

    4                 MR. FREEDMAN:     Yes, Your Honor.

    5                 MR. MCDERMOTT:     They did, Your Honor.

    6                 THE COURT:    Who are those witnesses?

    7                 MR. FREEDMAN:     Potentially up to four depending on

    8   timing.    The first witness will be Jon Barron           of Datrix.

    9           Most likely the second witness will be the first patient

  10    beneficiary, John Hattrup.

  11            It's slightly possible there may be a scheduling issue

  12    with Mr. Hattrup's work schedule, in which case, we would go to

  13    witnesses 3 and 4, Dr. Joy, and Dr. Richmond.

  14                  THE COURT:    Okay.    And both sides have -- well, let

  15    me just say, I want to make sure that both sides are -- have

  16    carefully thought out their options and concluded that this is

  17    what they want to do, because once this train gets moving, it's

  18    kind of hard to stop it, and the decisions that are made today

  19    are going to probably have life-altering consequences.

  20            So, I want to make sure everybody has clearly thought this

  21    out, that this is what they want to do, and if it is, that is

  22    fine.    That is why we are here.

  23                  MR. MCDERMOTT:     I would just like to say, Your

  24    Honor, as we indicated to you at the very start of the case,

  25    there was about 60,000 pages of discovery.




App. 0420                     UNITED STATES DISTRICT COURT
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    1            Sometimes the drawback on having a relatively quick trial

    2    date is to really have to crunch hard and go through the

    3    numbers and go through all of the documents, which we have

    4    done.

    5            This would have been something that had we all sat down

    6    previously, there might have been some negotiation process that

    7    would take place.

    8            The circumstances -- the events that have gone on in this

    9    case, have not prevented it -- it just wasn't an offer that

   10    made a lot of difference, to be honest with you, Your Honor.

   11            So the decision is being made because, you know, it's

   12    between a rock and a hard place.          We are here.

   13                 THE COURT:     Okay.    That's fair.      I want to make sure

   14    everybody knows what they have signed up for.

   15            All right.   We're going to bring down a panel.           We're

   16    probably going to put the panel over here on my right side in

   17    the back of the courtroom.

   18                 MR. FREEDMAN:      Your Honor, our trial cart is over

   19    there, would you prefer us over there?

   20                 THE COURT:     No, that is fine.

   21            All right.   If either side is going to have spectators

   22    here that are affiliated with one side or the other, I want to

   23    make sure that both sides remind them about the decorum here in

   24    the courtroom.

   25            They sit there with a poker face, don't -- no outbursts --




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    1    don't make faces about testimony.

    2          Okay.    Anything else?

    3          I'm going to ask the clerk to go ahead and call the panel

    4    down, and we will come back out and we will get started as soon

    5    as they are here.

    6          It's probably going to take 15 or 20 minutes for the panel

    7    to be brought up.

    8          I'm going to ask anybody that is seated on the right side

    9    of the courtroom if you could go over to the left side, and we

   10    will probably need the first two rows over on the left side.

   11          We will ask all of the spectators who are not potential

   12    jurors, once the panel comes down, if you could move to the

   13    rear of the courtroom on the left side.

   14          All right.     Thank you very much.

   15                  THE COURTROOM DEPUTY:      All rise.

   16          This Court now stands in recess.

   17                                     (Recess.)

   18                  THE COURTROOM DEPUTY:      All rise for the jury.

   19          You may be seated.

   20          Ladies and gentlemen, would you please rise and raise your

   21    right hand.

   22          Do you solemnly swear that you will make true answers to

   23    such questions as may be put to you, touching upon your

   24    qualifications to serve as jurors upon the trial of the cause

   25    now before this Court, so help you God?




App. 0422                      UNITED STATES DISTRICT COURT
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    1                 PROSPECTIVE JURORS:       I do.

    2                 THE COURT:     You may be seated.

    3          Please be seated and come to order.

    4          Item No. 1, CR-16-215, United States of America versus

    5    Michael Mirando.

    6          Counsel, please state your appearances.

    7                 MR. FREEDMAN:      Good morning, Your Honor.        Michael

    8    Freedman and Katherine Rykken on behalf of the United States.

    9                 THE COURT:     Good morning.

   10                 MR. MCDERMOTT:      Good morning, sir.      Kevin McDermott

   11    on behalf of Mr. Mirando, who is present, along with my

   12    paralegal assistant, Elise MacNamara.

   13                 THE COURT:     Good morning.

   14          Members of the panel, good morning.

   15          I'm Judge Percy Anderson, and I would like to welcome you

   16    to this courtroom.

   17          We're here this morning for the important task of

   18    selecting a jury to try a criminal case.

   19          We rely on juries in this country to decide cases tried in

   20    our courts, so jury service is an important duty of

   21    citizenship.

   22          Jurors must conduct themselves with honesty, integrity,

   23    and fairness.

   24          Under our system of justice, the role of the jury is to

   25    find the facts of the case based on the evidence presented in




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    1    the trial.     That is, from the evidence seen, and heard in

    2    Court, the jury decides what the facts are, and then applies to

    3    those facts the law that I will give in my instructions to the

    4    jury.

    5            My role, as the trial judge, is to make whatever legal

    6    decisions must be made during the trial and to explain to the

    7    jury the legal principles that then guide its decisions.

    8            As you probably know, at the beginning of any Court case,

    9    the first step involves a selection of jurors who are going to

   10    hear the case.

   11            During this process, I will be asking you questions.              It

   12    provides the Court and the lawyers with an opportunity to

   13    inquire into your background, experience, and state of mind, to

   14    determine whether you are qualified to be a juror in this case.

   15            Now, "qualified" simply means you can be fair and

   16    impartial; that you can decide this case based on the evidence

   17    presented in this courtroom and on nothing else.

   18            Please keep in mind, that during this process, there is no

   19    such thing as a right or wrong answer, only answers that are

   20    complete or incomplete.       Err on the side of giving too much

   21    information.

   22            In this case, you will be sitting as judges of the facts.

   23            All parties have a right to expect that you will perform

   24    your role fairly and impartially, and not because of any bias

   25    or prejudice you bring into this courtroom.




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    1          If there is any reason why any of you might be biased or

    2    prejudiced in any way, you must disclose such reasons when you

    3    are asked to do so.

    4          It's your duty to make this disclosure.

    5          In giving you these admonitions, I want to make it clear

    6    that I have no intention of trying to embarrass anyone or to

    7    invade your privacy or the privacy of any of your family

    8    members or close personal friends.

    9          If you have something that you think that the lawyers and

   10    I should know, but you do not wish to discuss it in the

   11    presence of the entire panel in open Court, please let me know,

   12    and we can discuss that matter at sidebar outside the presence

   13    of the other jurors.

   14          This is a criminal case entitled, the United States of

   15    America versus Michael Mirando.

   16          To begin this process, I would like to introduce you to

   17    the parties, and counsel in this matter.

   18          I'm going to ask government counsel to stand and introduce

   19    themselves and anyone seated at counsel table to the

   20    prospective jurors.

   21                  MR. FREEDMAN:     Good morning.     My name is Michael

   22    Freedman.    I'm the Assistant United States Attorney.

   23                  MS. RYKKEN:    Good morning.      My name is Katherine

   24    Rykken.     I'm also an Assistant United States Attorney, and

   25    sitting with us at counsel table is Kathleen Kennedy, who works




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    1    with the FBI.

    2                 THE COURT:     All right.     Thank you.

    3          Is there any member of the jury panel who is acquainted

    4    with or have seen counsel or the agent or who may have heard

    5    their names prior to today?

    6          If your answer is yes, please raise your hand.

    7          All right.     Let the record reflect that no hands were

    8    raised.

    9          Would counsel stipulate that I do not have to note for the

   10    record there were no hands raised in response to my future

   11    questions?

   12                 MR. MCDERMOTT:      Yes, Your Honor.

   13                 MR. FREEDMAN:      Yes, Your Honor.

   14                 THE COURT:     I'm going to ask defense counsel to

   15    stand and introduce themselves, and the defendant as well as

   16    anyone else seated at counsel table to the prospective jurors.

   17                 MR. MCDERMOTT:      Thank you, sir.      Kevin McDermott on

   18    behalf of Mr. Michael Mirando.         With me today, I also have my

   19    assistant, Elise MacNamara.

   20                 THE COURT:     Thank you.

   21          Is there any member of the jury panel, who is acquainted

   22    with or has seen counsel or acquainted with the defendant or

   23    who may have heard their names prior to today?

   24          If your answer is yes, please raise your hand.

   25          (No response.)




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    1          Do any of you or any members of your family know or have

    2    any kind of relations with me?

    3          During the trial of this case, the following persons may

    4    be called as witnesses.       I'm going to have the clerk read the

    5    names of the prospective witnesses.

    6                 THE COURTROOM DEPUTY:       Jon Barron , John Hattrup,

    7    Ronald D. Richmond, Gregory Joy, Martha Bennett, Suzanne

    8    Darsow, Lisa Solmor, Ruby Simpkins, Robyn Consiglio, Stacey

    9    Foster-Sixtos, Jeffrey Globus, Emily Russell, Stanton Crowley,

   10    Kathleen Kennedy.

   11                 THE COURT:     Have any of you heard of or otherwise

   12    been acquainted with any of the witnesses just named that you

   13    believe would affect your ability to be a fair and impartial

   14    juror in this case, or make it difficult for you to be a fair

   15    and impartial juror?

   16          Just raise your hands.

   17          You should note that the parties are not required and

   18    might not wish to call all of these witnesses and they may find

   19    it necessary later to call other witnesses.

   20          This is a case in which a defendant is charged with 15

   21    counts of healthcare fraud.

   22          The government alleges that from January of 2005, to April

   23    of 2016, the defendant engaged in a scheme to defraud health

   24    insurance companies.

   25          The defendant was a member and the owner of Holter Labs,




App. 0427                      UNITED STATES DISTRICT COURT
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    1    LLC which was formed in 2005.

    2          Holter Labs provided cardiovascular monitoring services to

    3    doctors.

    4          Holter provided a digital recorder to doctors for use on

    5    their patients.

    6          The recorder, is a portable device that monitors

    7    cardiovascular activity for 24 or 48 hours.

    8          The device records electrical signals from the heart via a

    9    series of electrodes attached to the chest.

   10          The most common use of the Holter recorder is to monitor

   11    heart activity for electrocardiography, or an ECG.

   12          Defendant alleges defendant fraudulently billed insurance

   13    companies using medical codes.         These codes are used by

   14    healthcare service providers in medical billing.

   15          The defendant is charged with using these codes to

   16    fraudulently bill insurance companies.

   17          The defendant denies these allegations.

   18          The charges against the defendant are contained in an

   19    indictment.

   20          The indictment is simply the description of the charges

   21    made by the government against the defendant.            It is not

   22    evidence of anything.

   23          To these charges, the defendant has pled not guilty, and

   24    it will be the question of his guilt or innocence to the

   25    charges that you will be asked to decide if you are selected a




App. 0428                      UNITED STATES DISTRICT COURT
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    1    trial juror in this case.

    2          I'm going to ask the clerk to call the names of 12

    3    prospective jurors.

    4          As your name is called, please come forward and take your

    5    seat in the jury box as the clerk directs.

    6          Prospective Juror No. 1, should take the seat closest to

    7    me on the first row.

    8          And the next prospective juror takes the next seat, until

    9    the first six seats on the first row are filled.

   10          Prospective Juror Number 7, takes the first seat on the

   11    second row, closest to me, and the next prospective juror takes

   12    the next seat until six seats are filled on the second row.

   13          All right.     I'm going to ask the clerk to call the names

   14    of the 12 prospective jurors.

   15                 THE COURTROOM DEPUTY:       Juror No. 1, John Adler.

   16          Juror No. 2, Steve Diaz.

   17          Juror No. 3, Hazel Prado.

   18          Juror No. 4, Christina Arellano.

   19          Juror No. 5, Charles Green.

   20          Juror No. 6, Jordan Gottfried.

   21          Juror No. 7, Adam Lawrence.

   22          Juror No. 8, Matthew Khokhar.

   23          Juror No. 9, James Bull.

   24          Juror No. 10, Susan McDonald.

   25          Juror No. 11, Brenda Sniderhan.




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    1            Juror Number 12, Cuong Tran.

    2            THE COURT:   All right.     Ladies and gentlemen, I'm going to

    3    continue asking questions of other prospective jurors seated in

    4    the jury box, but these questions are directed to all of the

    5    jurors in the courtroom, because if any of the prospective

    6    jurors seated in the jury box are excused, a replacement will

    7    be called, and I will ask that person without repeating all of

    8    the prior questions, whether any of those questions pertain to

    9    him or her.

   10            Therefore, it is important that each of you listen

   11    carefully to the questions I will be asking, and keep in mind

   12    any of which call for an affirmative answer or other

   13    explanation on your part.

   14            In that way, if you are called to the jury box, I won't

   15    have to repeat each of the questions to you.

   16            Now, it's important that all of you remain in the

   17    courtroom during the questioning of jurors in the jury box.

   18            So if you are called to replace a juror, you will have

   19    heard all of the Court's questions.

   20            Now, we will take a break this morning, but until we take

   21    our break, you are all to remain in the courtroom.

   22            When we do take our break this morning, you are not to

   23    discuss this case with anyone, including your fellow jurors,

   24    members of your family, people involved in the trial, or anyone

   25    else.    And you are not allowed to permit others to discuss the




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    1    case with you.

    2          This admonition is communicating -- includes communicating

    3    by e-mail, using social networking sites such as blogs,

    4    MySpace, Facebook, or Twitter.

    5          If anyone approaches you and tries to talk with you about

    6    this case, please let me know about it immediately.

    7          Do not read any news stories or listen to any radio or

    8    television reports about the case or about anyone who has

    9    anything to do with it.

   10          Do not do any research such as consulting dictionaries,

   11    searching the Internet or using other reference materials, and

   12    do not make any investigation about the case on your own.

   13          If you need to communicate with me, simply give a signed

   14    note to the clerk to give to me.

   15          And most importantly, do not make up your mind about what

   16    your verdict should be until after you have gone to the jury

   17    room to decide the case, and you and your fellow jurors have

   18    discussed the evidence.

   19          Keep an open mind until then.

   20          Now, the people seated in the jury box, having heard the

   21    charges which have been filed against the defendant, is there

   22    any member of the jury seated in the jury box who feels that he

   23    or she cannot give the government or the defendant a fair trial

   24    because of the nature of these charges?

   25          Just raise your hand.




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    1          The fact that the defendant is in Court for this trial for

    2    the charges that have been brought against him is no evidence

    3    whatsoever the defendant's guilt.

    4          Jurors are to consider only evidence properly received in

    5    the courtroom in determining the guilt or innocence of the

    6    defendant.

    7          Unless and until this is done, the presumption of

    8    innocence prevails.

    9          Have any of you seated in the jury box either seen, read,

   10    or heard anything about this case or have any of you heard

   11    anyone express an opinion about the case or anyone who has

   12    anything to do with it?

   13          Is there anything about the nature of these charges that

   14    would prevent you from being a fair and impartial juror?

   15          Do any of you have any personal philosophical or

   16    ideological views about the healthcare laws of the United

   17    States that would make it difficult for you to act fairly and

   18    impartially in this case?

   19          Do any of you have any beliefs or feelings about the

   20    parties, the lawyers, or witnesses that would make it

   21    impossible or difficult for you to act fairly and impartially,

   22    both as to defendant and the government?

   23          Have any of you ever been involved in, seen, heard, or

   24    read anything about criminal prosecutions that would cause you

   25    to question your ability to be a fair and impartial juror?




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    1          Do any of you have any beliefs or feelings toward the law

    2    in general or healthcare, specifically, that would make it

    3    impossible or difficult for you to act fairly and impartially

    4    as to both parties in this case?

    5          Let me also ask if any of you have any special

    6    disabilities, medical problems, difficulties with language,

    7    that you believe would impair your ability to devote your full

    8    attention to the evidence in this case?

    9          All right.     Sir, I'm going to ask on the first row, if you

   10    would step down, and walk all the way around, and join us over

   11    here at sidebar.

   12                                 (Side begins.)

   13                  THE COURT:    If would you stand right here, please.

   14                  PROSPECTIVE JUROR:      All right.

   15                  THE COURT:    And I'm sorry, if you would just wait

   16    for us.

   17          Okay.    If would you keep your voice down, and do you have

   18    any health problem?

   19                  PROSPECTIVE JUROR:      Well, my lower back has been

   20    wrecked for a long time.        I have a difficult time sitting for

   21    extended periods of time.

   22          But, you know, I'm just saying that, you know, I've also

   23    had some health issues with my heart and stuff.             I had an

   24    ablation on my heart about a month ago.

   25          You know, I don't know how long it's going to last, but if




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    1    I'm able to stand up or move around.

    2                    THE COURT:   You can stand up any time you want.

    3    Okay.

    4                    PROSPECTIVE JUROR:     That would be my major concern.

    5    I'm 66 years old.      Healthcare is a big subject in my life, and

    6    you know, there is a lot of things -- your questions are so

    7    general, I mean, do I know policemen or do I know -- you know.

    8                    THE COURT:   Uh-huh.    Well, we will get into all of

    9    that.

   10            If at any time you feel that you need to tell us

   11    something, just let us know.

   12                    PROSPECTIVE JUROR:     Okay.

   13                    THE COURT:   Thank you.    If you could resume your

   14    seat.

   15                    PROSPECTIVE JUROR:     Thank you.

   16                    THE COURT:   Prospective Juror Number 12, if you

   17    could join us, please.

   18            Okay.    If you could stand right here, and if you could

   19    just keep your voice down.

   20            And what did you want to tell us?

   21                    PROSPECTIVE JUROR:     I want to tell you my English is

   22    not my language, so I'm not sure I want to proceed as a juror

   23    in this case.

   24                    THE COURT:   Okay.   What do you do for a living?

   25                    PROSPECTIVE JUROR:     Unfortunately -- I am not




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    1    working.

    2                 THE COURT:     Are you working right now?

    3                 PROSPECTIVE JUROR:       Not yet.    I'm a student.

    4                 THE COURT:     What school do you go to?

    5                 PROSPECTIVE JUROR:       Evans Community Adult School.

    6                 THE COURT:     Okay.    Were you able to read the

    7    questionnaires?

    8                 PROSPECTIVE JUROR:       Yes, I did.

    9                 THE COURT:     Were you able to understand those

   10    questions?

   11                 PROSPECTIVE JUROR:       Yes.

   12                 THE COURT:     Is there anything I have talked about

   13    thus far you have difficulty understanding?

   14                 PROSPECTIVE JUROR:       Yes, I have.

   15                 THE COURT:     Okay.    If you would have a seat on that

   16    second row for just a moment.

   17                 PROSPECTIVE JUROR:       Okay.

   18                 THE COURT:     Okay.    Sir, just right there for a

   19    second.

   20           I guess I had a little difficulty understanding him.

   21           Do you have any -- if you want to keep him for a while,

   22    that is fine.     If you don't have any objection, I will excuse

   23    him.

   24                 MR. MCDERMOTT:      No objection.

   25                 MR. FREEDMAN:      No objection.




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    1                 THE COURT:     Okay.    I'm going to ask you return up to

    2    the jury assembly room on the first floor.

    3                 PROSPECTIVE JUROR:       Okay.

    4                 THE COURT:     Just tell them you have been excused.

    5                 PROSPECTIVE JUROR:       Thank you, sir.

    6                 THE COURT:     All right.

    7                                (Sidebar ends.)

    8                 THE COURT:     All right.      I'm going to ask the clerk

    9    to call the name of another prospective juror.

   10                 THE COURTROOM DEPUTY:       Bryan Young.

   11                 THE COURT:     Sir, did you hear the questions that I

   12    asked earlier this morning?

   13                 PROSPECTIVE JUROR:       Yes.

   14                 THE COURT:     Is there anything that I have inquired

   15    about that in good conscience you should disclose to us?

   16                 PROSPECTIVE JUROR:       No.

   17                 THE COURT:     Anything about the nature of these

   18    charges that cause you to have any concerns about your ability

   19    to be a fair and impartial juror?

   20                 PROSPECTIVE JUROR:       I have been in healthcare for

   21    16 years.

   22                 THE COURT:     Okay.    Well, we will get into that a

   23    little -- more a little later when we talk to you individually.

   24          Is there anything that would cause you to have concerns

   25    considering your involvement in healthcare, that caused you to




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    1    have any doubts about your ability to be fair and impartial to

    2    both sides?

    3                    PROSPECTIVE JUROR:    I don't believe so.

    4                    THE COURT:   Okay.   We will have some further

    5    conversations and explore that.         Thank you.

    6            Okay.    Are any of the jurors seated in the jury box taking

    7    any medication that would make it difficult for you to give

    8    your full attention to the evidence in this case?

    9            As a juror you are obligated to follow the law given to

   10    you by the Court.

   11            Is there anyone who would be unwilling or unable to follow

   12    the law given in the Court's instructions disregarding your own

   13    notions or ideas of what the law is or ought to be?

   14            One important task of the jury is to listen to the

   15    testimony of various witnesses, and to decide how much or how

   16    little weight the testimony should be given.

   17            Would any of you be unable or unwilling to perform this

   18    task?

   19            Does anybody seated in the jury box know anyone else

   20    seated in the jury box?

   21            Take a look at each other.

   22            I take it you are a complete set of strangers.

   23            Now ladies and gentlemen, I recognize that jury service is

   24    probably an inconvenience for you, taking you away from your

   25    jobs and family and disrupting your daily routine.




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    1          It is, however, one of the most important duties that

    2    citizens of this country are called upon to perform.

    3          And for this reason, I know you will not take this duty

    4    lightly.

    5          Now, we expect the presentation of all phases of this

    6    case, including the opening statements, the presentation of the

    7    evidence, the arguments of counsel, and the Court's

    8    instructions, will last somewhere in the neighborhood of five

    9    days, plus your deliberations.

   10          Now our daily schedule will normally be from 8:00 a.m. to

   11    1:30 with two short breaks.

   12          So we're going to be done, except for today -- we're going

   13    to be done every day at 1:30.

   14          Now today we're going to meet until noon.

   15          We will take a lunch break, we will resume at 1:30 and we

   16    will continue until 5:00.

   17          So that we expect that all aspects of the case would

   18    conclude by Tuesday -- Wednesday at the latest of next week,

   19    with the case then being submitted to the jury for its

   20    deliberations.

   21          During deliberations, your hours will change.             You will

   22    deliberate from 8:00 a.m. to 3:30, and lunch will be brought

   23    in.

   24          And we may or may not meet on this intervening Monday, but

   25    that is something that we will decide in connection and in




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    1    consultation with the jury that ultimately is picked in this

    2    case.

    3            Now, I want to advise you that a juror may be excused from

    4    jury service only upon a showing of specific facts which

    5    constitute an undue hardship for the juror and not for the

    6    juror's employer.

    7            An undue hardship includes the following:

    8            The prospective juror has a personal obligation to care

    9    for the sick, aged, or infirmed dependents or to care for

   10    children or no comparable substitute care is either available

   11    or practical without imposing an undue financial hardship on

   12    the prospective juror or the person cared for.

   13            The prospective juror has a physical or mental disability

   14    or impairment, not affecting the person's ability to serve on a

   15    jury, but that would expose the juror to an undue risk of

   16    mental or physical harm.

   17            Preparation in the trial would expose the prospective

   18    juror to an extreme financial hardship, taking into account the

   19    following factors.

   20            The length of the trial, whether the prospective juror is

   21    sole support for his or her family, and the availability of

   22    employer reimbursement.

   23            Please keep in mind that jury service is not only a duty

   24    and a responsibility, but it's also a right that our

   25    forefathers fought to secure because of its importance in the




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    1    governing of a democratic society.

    2          As a society, we have given to the people the power to

    3    decide disputes in civil cases, and to make the ultimate

    4    determination of whether or not to deprive a fellow citizen of

    5    life, liberty, or property in criminal cases.

    6          Jury service is a duty that is not to be shirked and a

    7    right that should not be lightly relinquished.

    8          Now bearing in mind the importance of trial by jury, do

    9    any of you seated in the jury box have any reasons why you feel

   10    that jury service for this period of time and during the hours

   11    I have indicated, would pose an undue hardship for you and

   12    require that you be excused from consideration as a juror in

   13    this case.

   14          Please raise your hands.

   15          All right.     We're going to take you up one at a time.

   16          I'm going to ask the lady on the first row if you would

   17    step down, and walk all the way around, and we will talk to you

   18    over here at sidebar.

   19                                (Sidebar begins.)

   20                 THE COURT:     Hello.    Okay, if you could keep your

   21    voice down and tell us why you think you can't serve.

   22                 PROSPECTIVE JUROR:       I live about 62 miles away in

   23    Oxnard.    I have two children that I take to school in the

   24    morning.

   25          This morning it was very hectic trying to get somebody to




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    1    get them to school.      I had to leave 5:30 a.m., so it's hard

    2    find any care for them.

    3            I can't see myself being able to do that for five days,

    4    and I also work, but that is different.           It's mainly the kids.

    5                 THE COURT:     Are you married?

    6                 PROSPECTIVE JUROR:       I am.

    7                 THE COURT:     Okay.    What does your husband do for a

    8    living?

    9                 PROSPECTIVE JUROR:       He works at a catalytic

   10    converter company.      He leaves at 5:00, and he's gone by 4:30.

   11                 THE COURT:     Do you work?

   12                 PROSPECTIVE JUROR:       I do.

   13                 THE COURT:     Where do you work?

   14                 PROSPECTIVE JUROR:       I'm a teacher at the Hueneme

   15    School District.

   16                 THE COURT:     What are your hours?

   17                 PROSPECTIVE JUROR:       My hours, I start by 7:30 a.m.

   18    to 3:15, contracted.

   19                 THE COURT:     Who takes care of your children while

   20    you are working?

   21                 PROSPECTIVE JUROR:       So I drop them off in the

   22    morning.    They go to school.      My husband can pick them up by

   23    3:00.

   24                 THE COURT:     Okay.    How old are your children?

   25                 PROSPECTIVE JUROR:       I have an 11 and 13 year old.




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    1                 THE COURT:     Okay.    They both go to the same school?

    2                 PROSPECTIVE JUROR:       No.    My son goes to school

    3    15 minutes away.      And my daughter goes about ten minutes away

    4    from our home, driving.

    5                 THE COURT:     So the 11 year old is?

    6                 PROSPECTIVE JUROR:       Elementary.

    7                 THE COURT:     Fifth grade?

    8                 PROSPECTIVE JUROR:       Uh-huh.

    9                 THE COURT:     And the 13 year old is?

   10                 PROSPECTIVE JUROR:       She is in high school.

   11                 THE COURT:     Okay.     Middle school stops at what?

   12                 PROSPECTIVE JUROR:       Sorry, I said 13.      She's 14.

   13    I'm in denial, I don't want her to grow up.

   14                 THE COURT:     Okay.

   15                 PROSPECTIVE JUROR:       Because I have to leave so early

   16    to get here on time, that's the thing.           I have to leave my home

   17    by 5:30 a.m., to be here because of the traffic.

   18                 THE COURT:     Uh-huh.    And you live in Oxnard?

   19                 PROSPECTIVE JUROR:       Yes.    According to my MapQuest,

   20    it's 62 miles away.

   21                 THE COURT:     Uh-huh.    Well, one of the things I think

   22    we could -- I'm not sure if it solves your problem, but one of

   23    the things I think you might qualify for, is that we could --

   24    if jurors live a certain distance away, we can put you up in a

   25    local hotel.




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    1                  PROSPECTIVE JUROR:      But what do I do for my kids?

    2                  THE COURT:    Your 14 your old?      Stay out of the way.

    3                  PROSPECTIVE JUROR:      I don't want her to stay by

    4    herself.     I'm very protective.

    5                  THE COURT:    Well, yeah.     They grow up too quick.

    6    Your husband normally picks them up?

    7                  PROSPECTIVE JUROR:      He normally picks them up after,

    8    yeah.

    9                  THE COURT:    What time does he leave in the morning?

   10                  PROSPECTIVE JUROR:      He leaves at 4:30 a.m.

   11            He starts his day at 5:00 a.m.

   12                  THE COURT:    What does he do?

   13                  PROSPECTIVE JUROR:      He's a catalytic converter

   14    supervisor there.

   15                  THE COURT:    Okay.    What time do you normally leave

   16    in the morning?

   17                  PROSPECTIVE JUROR:      I normally leave about 7:20, and

   18    I drop one off then I drop the other, and then I get to work.

   19                  THE COURT:    Okay.    And you start your day at work at

   20    what time?

   21                  PROSPECTIVE JUROR:      7:45, 8 o'clock.

   22                  THE COURT:    Okay.    Have a seat right there just on

   23    that second row for a moment.

   24                  PROSPECTIVE JUROR:      Okay.

   25                  THE COURT:    Okay.    I guess I would be inclined to




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    1    excuse her, but if somebody wants to keep her.

    2                 MR. MCDERMOTT:      No.

    3                 MR. FREEDMAN:      We have got several people on the

    4    list that are coming from Atascadero and Paso Robles.              I wonder

    5    about that, too.

    6                 THE COURT:     Okay.      Sir, I believe you also had your

    7    hand up.    If you could join us over here please.

    8                 THE COURT:     If you could step near the microphone

    9    and if you could keep your voice down.

   10                 PROSPECTIVE JUROR:        So my mother just had surgery on

   11    Friday.    She's the only source of income right now.

   12            My dad is at home.     So he's taking care of her, and so

   13    right now I need to pay bills and keep the lights on, as far as

   14    financially, that is it.

   15            My dad is taking care of my mom at home, and doesn't have

   16    a way of making money.

   17                 THE COURT:     What type of surgery did she have?

   18                 PROSPECTIVE JUROR:        It was on her -- the female --

   19    it's for her bladder, basically.

   20                 THE COURT:     How long was she hospitalized?

   21                 PROSPECTIVE JUROR:        She was hospitalized for two

   22    days.

   23                 THE COURT:     Okay.      And what does she do for a

   24    living?

   25                 PROSPECTIVE JUROR:        She works -- she helps special




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    1    needs kids for the district, the school district.

    2                  THE COURT:    How old is your mother?

    3                  PROSPECTIVE JUROR:      58.

    4                  THE COURT:    Okay.    Does your father work?

    5                  PROSPECTIVE JUROR:      No.

    6                  THE COURT:    How old is he?

    7                  PROSPECTIVE JUROR:      65.

    8                  THE COURT:    Is he retired?

    9                  PROSPECTIVE JUROR:      I'm not sure.

   10                  THE COURT:    What did he do for a living?

   11                  PROSPECTIVE JUROR:      A welder.

   12                  THE COURT:    Okay.    And what do you do?      Do you work?

   13                  PROSPECTIVE JUROR:      Yes.

   14                  THE COURT:    What do you do?

   15                  PROSPECTIVE JUROR:      I'm a mechanical engineer for

   16    Haas Automation.

   17                  THE COURT:    I'm sorry, for who?

   18                  PROSPECTIVE JUROR:      Haas Automation.

   19                  THE COURT:    Okay.    Where do you work?

   20                  PROSPECTIVE JUROR:      Oxnard.

   21                  THE COURT:    And where do your parents live?

   22                  PROSPECTIVE JUROR:      San Luis Obispo or Atascadero,

   23    California.

   24                  THE COURT:    Does your employer reimburse you for

   25    jury service?




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    1                 PROSPECTIVE JUROR:       No.

    2                 THE COURT:     How many employees do you have?

    3                 PROSPECTIVE JUROR:       Total?

    4                 THE COURT:     Total.

    5                 PROSPECTIVE JUROR:       I think it's 1,300.

    6                 THE COURT:     Go ahead.

    7                 PROSPECTIVE JUROR:       There is not as many engineers.

    8    It's probably about 40.

    9                 THE COURT:     Okay.    And how many -- are all of those

   10    employees located in the facility where you work?

   11                 PROSPECTIVE JUROR:       Yeah.

   12                 THE COURT:     Do you have their phone number?

   13                 PROSPECTIVE JUROR:       Yes.     I don't have it memorized.

   14                 THE COURT:     Okay.    Well, you will need to give us

   15    the phone number.      We will have the clerk -- we will confirm

   16    that they don't pay for jury service.

   17                 PROSPECTIVE JUROR:       Okay.

   18                 THE COURT:     So, we will just keep you for now, if

   19    you have that number on you.

   20                 PROSPECTIVE JUROR:       I can look it up on my phone.       I

   21    don't have it on me.

   22                 THE COURT:     Is your phone here?

   23                 PROSPECTIVE JUROR:       Yes.

   24                 THE COURT:     If you could look that up, and let me

   25    know when you have got it, I will have the clerk come by and




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    1    get it.    We will have somebody call.

    2                 PROSPECTIVE JUROR:       So sit down over there?

    3                 THE COURT:     Go back and resume your seat for now.

    4                 THE COURT:     Okay.    I think there was a hand raised

    5    on the second row.      If you could come over and join us please?

    6          You will need to walk all the way around.

    7          If could step a little closer to the microphone.

    8                 PROSPECTIVE JUROR:       Yes, sir.

    9                 THE COURT:     What hardship do you think you have that

   10    would prevent you from being with us for the next week or so?

   11                 PROSPECTIVE JUROR:       Mine is just purely financial.

   12    I'm an independent contractor.

   13          I work in the television industry since 2008, roughly, and

   14    my live-in girlfriend of 15 years also works with me.              And so

   15    basically when I'm not working either of us are not working.

   16          And the last job I just ended was two weeks ago this

   17    Thursday, so it's already been couple of weeks.

   18          I have been looking for jobs in the interim, and basically

   19    everything is kind of waiting on today's turnout to see how

   20    that goes.

   21                 THE COURT:     Okay.

   22                 PROSPECTIVE JUROR:       As soon as I know that, I can

   23    call the production companies and let him know I could work.

   24                 THE COURT:     What specifically do you do?

   25                 PROSPECTIVE JUROR:       I'm a production designer, an




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    1    art director and set designer for television commercials.                 I

    2    work out of my home and the shop that I rent.

    3                 THE COURT:     How do you go about getting work?

    4                 PROSPECTIVE JUROR:       Well, a lot of it is people call

    5    me through word of mouth, or previous jobs that I have had with

    6    production companies, like producers that I have worked with in

    7    the past will call me.

    8          I build miniature sets for stop motion, and it's kind of a

    9    small part of the industry, so you know.

   10                 THE COURT:     Okay.    Do you have any jobs that are

   11    currently lined up?

   12                 PROSPECTIVE JUROR:       Well, they are waiting on the

   13    outcome of, like -- I have a potential job that could happen at

   14    any point depending on the production company and the client.

   15                 THE COURT:     So, they don't have a start date?

   16                 PROSPECTIVE JUROR:       No, sir.

   17                 THE COURT:     Okay.    So is there any job that you have

   18    that currently has a start date?

   19                 PROSPECTIVE JUROR:       Not a definite start date.

   20          I have just basically looked for work, when I'm not

   21    working.    I make phone calls to previous clients.           And I have

   22    been doing that for the past couple of weeks.

   23                 THE COURT:     I take it for the last couple of weeks

   24    you have been looking, but you just haven't found anything?

   25                 PROSPECTIVE JUROR:       I found two, but they are




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    1    waiting on the outcome of whether I'm going to be in jury

    2    service or not.

    3                 THE COURT:     Okay.    Do you have an idea as to when

    4    they are going to start -- are they waiting for you to get --

    5    to figure out a date or do they have a date when they are going

    6    to start?

    7                 PROSPECTIVE JUROR:       They are waiting on me.

    8                 THE COURT:     Okay.    So if this was a two-day trial or

    9    a three-day -- if it was going to end Friday --

   10                 PROSPECTIVE JUROR:       That should be fine.

   11                 THE COURT:     That would be fine?

   12                 PROSPECTIVE JUROR:       Yeah, sure.

   13                 THE COURT:     Okay.

   14                 PROSPECTIVE JUROR:       That's the only thing, the

   15    length of it.     If it brings me into next week and deliberation

   16    I just --

   17                 THE COURT:     Okay.    And I'm sorry, where do you live?

   18                 PROSPECTIVE JUROR:       Eagle Rock.

   19                 THE COURT:     I know where it is.

   20          During the week, except for today, we're going to stop

   21    every day at 1:30.

   22                 PROSPECTIVE JUROR:       Yes, sir.

   23                 THE COURT:     You would have a chance to make calls or

   24    do whatever.

   25          I assume that when you are making these miniature sets,




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    1    you do that at home?

    2                  PROSPECTIVE JUROR:      I rent space depending on the

    3    job I'm on.

    4                  THE COURT:    Okay.    So I take it, it would help you

    5    in your case if we say -- if we ended this thing by Tuesday,

    6    and we met on Monday, and we could end this thing by Tuesday,

    7    would that work for you?

    8                  PROSPECTIVE JUROR:      I mean, I'm definitely willing

    9    to do whatever -- I'm very interested in this whole process.              I

   10    want to do it, but it's just like, you know, the sooner would

   11    be better for us.

   12                  THE COURT:    Why don't we do this:       Why don't we talk

   13    to you a little bit more, see what it is about, you see what

   14    the case is about, and then we'll -- the more you hear, if you

   15    are uncomfortable with it, raise your hand, and we will let you

   16    know see if we can work this out.

   17                  PROSPECTIVE JUROR:      Say that again.

   18                  THE COURT:    Just let me know later on as we progress

   19    further, if you are uncomfortable with it.            I really think

   20    we're probably going to be able to finish this thing up Monday

   21    or by probably Tuesday at the latest.

   22                  PROSPECTIVE JUROR:      Okay.

   23                  THE COURT:    All right.     Thank you.

   24                  PROSPECTIVE JUROR:      I appreciate it.

   25                  THE COURT:    All right.     Sir?




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    1                  PROSPECTIVE JUROR:      Hello.

    2                  THE COURT:    If could you keep your voice down and

    3    tell us why you don't think you could be with us for the next

    4    week or so?

    5                  PROSPECTIVE JUROR:      I'm working at 7-Eleven, and

    6    7-Eleven is not reimbursing me for anything.

    7                  THE COURT:    Okay.    What are your hours?

    8                  PROSPECTIVE JUROR:      Hours are 7 to 8 hours.

    9                  THE COURT:    What time do you start?

   10                  PROSPECTIVE JUROR:      7 o'clock to 6 o'clock.

   11                  THE COURT:    What time do you get off?

   12                  PROSPECTIVE JUROR:      4 o'clock to 2 o'clock.

   13                  THE COURT:    What days of the week do you work?

   14                  PROSPECTIVE JUROR:      Four days, five days sometimes.

   15                  THE COURT:    Okay.    And do you -- are you just an

   16    employee or do you own?

   17                  PROSPECTIVE JUROR:      No.   I'm working franchise

   18    system.    I'm working at a franchise.

   19                  THE COURT:    Is it your store?

   20                  PROSPECTIVE JUROR:      No.

   21                  THE COURT:    Are you married?

   22                  PROSPECTIVE JUROR:      Yeah.

   23                  THE COURT:    Does your wife work?

   24                  PROSPECTIVE JUROR:      Yeah.

   25                  THE COURT:    Where does she work?




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    1                  PROSPECTIVE JUROR:      Beauty salon.

    2                  THE COURT:     Does she work full-time?

    3                  PROSPECTIVE JUROR:      Yeah, full-time.

    4                  THE COURT:     Are there any other members of your

    5    household that work?

    6                  PROSPECTIVE JUROR:      My daughter is at UCLA.

    7                  THE COURT:     Does she live with you at home?

    8                  PROSPECTIVE JUROR:      No.    She doesn't.    She lives in

    9    the dorms.

   10                  THE COURT:     So is it just you and your wife living

   11    at home?

   12                  PROSPECTIVE JUROR:      Yes.

   13                  THE COURT:     7-Eleven doesn't reimburse you at all?

   14                  PROSPECTIVE JUROR:      No.

   15                  THE COURT:     Okay.   Just have a seat right over there

   16    next to that lady right there.         Thank you.

   17          Okay.    Who is next -- second row.

   18          All right.     Sir.

   19                  PROSPECTIVE JUROR:      I have -- my work is supposed to

   20    be sending me to Austin Sunday night for all next week.

   21          We have a new E.H.R. implementation at my hospital.

   22          They are sending two people from each hospital.

   23          We have three campuses in the community, Foothill and

   24    Queen of the Valley.        And I work at ICC in Foothill.

   25          I'm in the pharmacy, so they are sending me for Foothill




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    1    and ICC.

    2          They don't have another person in the pharmacy that can

    3    go.   They are sending me Sunday night until Friday morning and

    4    then I'm flying back.

    5                 THE COURT:     Okay.    Where are they sending you to?

    6                 PROSPECTIVE JUROR:       Austin.

    7                 THE COURT:     Okay.    What is the name of the company

    8    you work for?

    9                 PROSPECTIVE JUROR:       I work for Intercommunity

   10    Hospital on Foothill.       It is for Citrus Valley Health Partners

   11    in Covina, West Covina, and Glendora.

   12                 THE COURT:     They are sending you back to Boston to

   13    do what exactly?

   14                 PROSPECTIVE JUROR:       We're getting a new EHR, which

   15    is an electronic health record.         So we use Medi-Tech right now.

   16    We use Medi-Tech 5.0 and we are implementing Medi-Tech 6.15.

   17    So they are sending people down there so we know how to build

   18    the database and fill all of the medications, put all of the

   19    new sets in, and learn all the background information so we can

   20    run it at our hospitals.

   21                 THE COURT:     What do you do in the pharmacy?

   22                 PROSPECTIVE JUROR:       I'm a pharmacy supervisor for

   23    ICC and Foothill.

   24                 THE COURT:     How many employees do they have?

   25                 PROSPECTIVE JUROR:       ICC, we have about 40, and




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    1    Foothill, we only have about 16.

    2                 THE COURT:     Okay.    I'm sorry, which facility do you

    3    work at?

    4                 PROSPECTIVE JUROR:       I work at ICC and Foothill.         I

    5    am over both of them.

    6                 THE COURT:     Physically, where are you?

    7                 PROSPECTIVE JUROR:       Three days at ICC and two days

    8    at Foothill.

    9                 THE COURT:     How many supervisors?

   10                 PROSPECTIVE JUROR:       Just me.    I'm the only pharmacy

   11    tech for both campuses.

   12                 THE COURT:     Who do you report to?

   13                 PROSPECTIVE JUROR:       I report to my director.        I have

   14    different directors.       One for ICC and one for Foothill.

   15                 THE COURT:     Okay.    So you are the highest-ranking

   16    person in the pharmacy?

   17                 PROSPECTIVE JUROR:       Under my director.

   18                 THE COURT:     Under your director, so it's a director

   19    pharmacy?

   20                 PROSPECTIVE JUROR:       Correct.

   21                 THE COURT:     Are you married?

   22                 PROSPECTIVE JUROR:       Yes.

   23                 THE COURT:     What does your wife do?

   24                 PROSPECTIVE JUROR:       My wife is a teaching assistant

   25    for special needs.




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    1                  THE COURT:    Okay.    Just have a seat right there at

    2    that second row for just a second.

    3          Okay.    Have we talked to everybody?

    4          Thank you.     All right.

    5          I'm inclined to put all of these people back in the

    6    audience and replace them unless -- well, let's talk about the

    7    woman first, who has the two children.

    8                  MR. MCDERMOTT:     We would not object to that at all

    9    -- too far away.

   10                  THE COURT:    What about the gentleman that works in

   11    the 7-Eleven?

   12                  MR. MCDERMOTT:     No objection.

   13                  MR. FREEDMAN:     No objection.

   14                  THE COURT:    The last gentlemen.

   15                  MR. MCDERMOTT:     Certainly, by the defense.

   16                  MR. FREEDMAN:     No objection.

   17                  THE COURT:    Okay.    All right.    Let me take them one

   18    at a time.

   19          All right, Miss, and you are seated where?

   20                  PROSPECTIVE JUROR:      Next to the gentleman standing

   21    up.

   22                  THE COURT:    So you are No. 4?

   23                  PROSPECTIVE JUROR:      Yes.

   24                  THE COURT:    Your name?

   25                  PROSPECTIVE JUROR:      Christina Arellano.




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    1    A-r-e-l-l-a-n-o.

    2                 THE COURT:     Okay.    All right.    What I'm going to do

    3    is I'm going to ask you to return to the audience.

    4                 PROSPECTIVE JUROR:       Okay.

    5                 THE COURT:     We will let you know by the end of the

    6    day.

    7                 PROSPECTIVE JUROR:       Okay.     Thank you.

    8                 THE COURT:     Sir -- okay.       Where are you seated at in

    9    the jury box?

   10                 PROSPECTIVE JUROR:       Second row, second left.

   11                 THE COURT:     Okay.    So you are Number 8, and your

   12    last name?

   13                 PROSPECTIVE JUROR:       Khokhar, K-h-o-k-h-a-r.

   14                 THE COURT:     Okay.    I'm going to ask if would you

   15    just have a seat back in the audience, and then we will let you

   16    know by the end of the day.

   17           Why don't you get your belongings and take a seat in the

   18    audience.

   19                 PROSPECTIVE JUROR:       Okay.

   20                 THE COURT:     Sir, you are Juror Number 12?

   21                 PROSPECTIVE JUROR:       Yes.

   22                 THE COURT:     Your last name?

   23                 PROSPECTIVE JUROR:       Young.    Y-o-u-n-g.

   24                 THE COURT:     Do you have any belongings?

   25                 PROSPECTIVE JUROR:       No.




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    1                 THE COURT:     Take a seat in the audience, and we will

    2    let you know.

    3                 PROSPECTIVE JUROR:       Thank you, sir.

    4                 THE COURT:     I'm sorry?

    5                 PROSPECTIVE JUROR:       My company's number --       the

    6    phone number.

    7                 THE COURT:     Oh, you have that number.        That's fine,

    8    if you could give that to the clerk, please.

    9                 THE COURT:     While we're doing that, Juror No. 1,

   10    what is your last name?

   11                 PROSPECTIVE JUROR:       Adler.

   12                 THE COURT:     Juror No. 2?

   13                 PROSPECTIVE JUROR:       Diaz.

   14                 THE COURT:     Juror No. 3?

   15                 PROSPECTIVE JUROR:       Prado.

   16                 THE COURT:     And Juror No. 5?

   17                 PROSPECTIVE JUROR:       6 is Green, and you are

   18    Mr. Gottfried?

   19                 PROSPECTIVE JUROR:       Yes.

   20                 THE COURT:     All right.     We're going to call the

   21    names of three prospective jurors.

   22          As your name is called, if you would come to the lectern,

   23    please.

   24                 THE COURTROOM DEPUTY:       Joseph Kopecky.

   25                 THE COURT:     Just right there, sir.




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    1          All right.     Sir, did you hear the questions I asked of the

    2    other prospective jurors?

    3                 PROSPECTIVE JUROR:       Yes.

    4                 THE COURT:     Is there anything that I have inquired

    5    about that in good conscience you should disclose to us?

    6                 PROSPECTIVE JUROR:       No.

    7                 THE COURT:     Anything about the nature of these

    8    charges that causes you to have any concerns about your ability

    9    to be fair and impartial to both sides?

   10                 PROSPECTIVE JUROR:       No.    Only, I'm also in the

   11    healthcare field, but someone else mentioned that.

   12                 THE COURT:     We will get to that.

   13                 PROSPECTIVE JUROR:       Yes.

   14                 THE COURT:     Anything about the length of the trial

   15    that would prevent you from serving?

   16                 PROSPECTIVE JUROR:       Not prevent me.      It may be a

   17    financial issue, but if that was the question.

   18                 THE COURT:     Okay.    Why don't you step over here for

   19    a moment, please.

   20                                (Sidebar begins.)

   21                 THE COURT:     Okay.    What is the financial issue?

   22                 PROSPECTIVE JUROR:       I work as a per diem, so I'm

   23    paid hourly.     I work Monday, Tuesday, Wednesday.          I'm the sole

   24    support of my family.       I do have a kid in college, a mortgage

   25    payment.    I'm not going to go broke, but if I lost basically




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    1    this week and next week of work, that would set me back

    2    considerably.

    3                  THE COURT:    Okay.    Who do you work for?

    4                  PROSPECTIVE JUROR:      Southern California Kaiser

    5    Permanente.

    6                  THE COURT:    What do you do for them?

    7                  PROSPECTIVE JUROR:      I'm a per-diem physician.

    8          After we retire -- I'm retired -- I work an hourly,

    9    per-diem physician.

   10                  THE COURT:    Okay.    And does your wife work?

   11                  PROSPECTIVE JUROR:      No.

   12                  THE COURT:    Okay.    And do you have any other members

   13    of the household?

   14                  PROSPECTIVE JUROR:      No.    Kids have left the house,

   15    except for the last one is in college.

   16                  THE COURT:    Okay.    And are you contributing to that

   17    individual's support.

   18                  PROSPECTIVE JUROR:      Yes.

   19                  THE COURT:    Okay.    Prior to assuming this position

   20    with Kaiser, by whom were you employed?

   21                  PROSPECTIVE JUROR:      I was a partner until age 65.

   22    At age 65, we have to relinquish our partnership.

   23          And if we wish to continue, we have to do so as per diem,

   24    which I am doing.

   25                  THE COURT:    Is that with Kaiser?




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    1                 PROSPECTIVE JUROR:       Yes.

    2                 THE COURT:     Okay.    Are you receiving a retirement

    3    from Kaiser as well as the per diem?

    4                 PROSPECTIVE JUROR:       Yes.

    5                 THE COURT:     And I'm sorry, what city do you live in?

    6                 PROSPECTIVE JUROR:       I live in Ventura County.           Oak

    7    Park, which is right near Thousand Oaks.

    8                 THE COURT:     Okay.    What are your hours when you are

    9    working per diem?

   10                 PROSPECTIVE JUROR:       Usually 8:30 until about 6:00.

   11                 THE COURT:     And you are working three days a week?

   12                 PROSPECTIVE JUROR:       Yes.

   13                 THE COURT:     I'm sorry, Monday --

   14                 PROSPECTIVE JUROR:       Tuesday and Wednesday.

   15                 THE COURT:     Do you have -- are you an independent

   16    contractor now?

   17                 PROSPECTIVE JUROR:       I'm not salaried.      I'm not sure.

   18    I don't have a contract with them, but I'm an employee.

   19                 THE COURT:     You are an employee?

   20                 PROSPECTIVE JUROR:       Yeah.

   21                 THE COURT:     Do they pay for jury service?

   22                 PROSPECTIVE JUROR:       No, not for me.      As a partner, I

   23    would have had that benefit, but once I'm retired, I don't have

   24    any of those benefits any more.

   25                 THE COURT:     Do you have any benefits?




App. 0460                      UNITED STATES DISTRICT COURT
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    1                 PROSPECTIVE JUROR:       No.   Just hourly.

    2                 THE COURT:     I'm sorry, your wife does not work?

    3                 PROSPECTIVE JUROR:       No.

    4                 THE COURT:     Has she ever worked?

    5                 PROSPECTIVE JUROR:       Just about the time we got

    6    married.    That was a long time ago.

    7                 THE COURT:     Okay.    So you have missed two days this

    8    week, and if we were off Monday, you would be able to work on

    9    Monday, right?

   10                 PROSPECTIVE JUROR:       Right, sir.

   11                 THE COURT:     Which Kaiser do you work at?

   12                 PROSPECTIVE JUROR:       Thousand Oaks office.

   13                 THE COURT:     I'm sorry, where do you live?

   14                 PROSPECTIVE JUROR:       Oak Park, which is near Thousand

   15    Oaks.

   16                 THE COURT:     Okay.    You will work after -- do you

   17    ever adjust your hours?

   18                 PROSPECTIVE JUROR:       Well, I have fixed hours.           Like

   19    my patients this morning had to be canceled.            If I'm not there

   20    tomorrow, they will have to be canceled.           That is my schedule.

   21                 THE COURT:     Okay.    Just have a seat right there for

   22    a second.

   23                 MR. FREEDMAN:      I think a lot of the professionals on

   24    the panel are going to have the same scheduling issues.

   25            My concern is that they often overlap the people I think




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    1    the defense might want to strike anyway, so they may not end up

    2    on the panel, but the defense is asserting the challenges.

    3                 THE COURT:     Well, if it simply was that he was a

    4    doctor, I wouldn't let him off.         And I'm not so sure now.

    5                 MR. FREEDMAN:      He's retired.

    6                 THE COURT:     What's your position?

    7                 MR. MCDERMOTT:      I think he's given us enough basis

    8    to let him go.

    9                 THE COURT:     Okay.    So at this point you are

   10    receiving whatever retirement income, plus whatever?

   11                 PROSPECTIVE JUROR:       Yes.

   12                 THE COURT:     If you are ultimately selected on the

   13    panel, and you need -- you need to be at work on Monday, we

   14    will allow you to do that, if you are ultimately selected.

   15          But based on -- based on what you have told me thus far, I

   16    think we are probably going to deny your request for financial

   17    hardship.

   18          So if you could take that empty seat on the first row.

   19                 PROSPECTIVE JUROR:       Thank you.

   20                 THE COURT:     Thank you.

   21                                  (Sidebar ends.)

   22                 THE COURT:     All right.       Let's call the name of

   23    another prospective juror, please.

   24                 THE COURTROOM DEPUTY:       Dawn Huizar, spelled

   25    H-u-i-z-a-r.     Please come forward.




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    1                 THE COURT:     Good morning.

    2                 PROSPECTIVE JUROR:       Good morning.

    3                 THE COURT:     Did you hear the questions I asked of

    4    the other prospective jurors?

    5                 PROSPECTIVE JUROR:       I did hear them.

    6                 THE COURT:     Is there anything that I have inquired

    7    about that in good conscience, you should disclose to us?

    8                 PROSPECTIVE JUROR:       No.

    9                 THE COURT:     Anything about the charges that would

   10    prevent you from serving?

   11                 PROSPECTIVE JUROR:       No.

   12                 THE COURT:     Anything about the length of the trial

   13    that would prevent you from serving?

   14                 PROSPECTIVE JUROR:       No.    If you could take that

   15    empty chair on the second row, Prospective Juror No. 8.

   16          Let's call the name of another prospective juror.

   17                 THE COURTROOM DEPUTY:       Frank Ogata.

   18                 THE COURT:     Good morning.

   19                 PROSPECTIVE JUROR:       Good morning.

   20                 THE COURT:     Did you hear the questions I asked of

   21    the other prospective jurors?

   22                 PROSPECTIVE JUROR:       Yes.

   23                 THE COURT:     Is there anything I have inquired about

   24    that in good conscience you should disclose to us?

   25                 PROSPECTIVE JUROR:       I do have a -- I have a




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    1    problem -- could I approach the bench?

    2                  THE COURT:    Sure.    Why don't you come on over.

    3                               (Sidebar begins.)

    4                  THE COURT:    Just one second.

    5          Okay.

    6                  PROSPECTIVE JUROR:      Okay.   I'm in the health field.

    7    I'm a dentist, okay.

    8          And at the current time, I'm under investigation under a

    9    similar situation from the LA County District Attorney's Office

   10    for what -- I haven't been charged with -- I am under an

   11    investigation.

   12          They had a search warrant and came to my house and dental

   13    office, and took a substantial amount of charts.

   14                  THE COURT:    Uh-huh.

   15                  PROSPECTIVE JUROR:      It's a similar situation, where

   16    they are saying that I submitted coding for procedures that was

   17    not exactly what I got paid for.

   18          And in the process, you know, they put me through a lot of

   19    abuse.   They broke down the door.

   20          They put my face on the ground.          The DA Drug Enforcement

   21    Agents, this is not a court-related case -- all they wanted to

   22    do is look at my charts.

   23          But they had weapons, 11, 12, deputies.            And they treated

   24    me just like a drug person.

   25          They broke down the door.         If I were behind the door, I




App. 0464                      UNITED STATES DISTRICT COURT
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    1    could have been killed.       They put my face on the ground, you

    2    know, early in the morning.

    3          I don't think I could be very objective.            It's just too

    4    close to my case.      This is just last December.

    5          So, you know, I haven't been charged, but I mean, my

    6    lawyer can't even tell me if I'm going to be charged through

    7    the District Attorney's Office who is doing this.

    8          So I don't think I could hear this.

    9                 THE COURT:     Okay.    Were these -- do you know what

   10    agency executed the search warrant?

   11                 PROSPECTIVE JUROR:       This is LA County District

   12    Attorney, Los Angeles.

   13                 THE COURT:     Okay.

   14                 PROSPECTIVE JUROR:       I have it -- you know, I had a

   15    security camera.      I have these agents coming with weapons.

   16                 THE COURT:     Uh-huh.    Was this at your home?

   17                 PROSPECTIVE JUROR:       At home and my office,

   18    simultaneously.

   19                 THE COURT:     Okay.

   20                 PROSPECTIVE JUROR:       I had dirt all over my face.

   21    This is not a drug case.        It's a chart coding issue, you know.

   22    I submitted coding that was not exactly what the insurance

   23    company wanted.

   24                 THE COURT:     The thing I just want to know is the

   25    officers who executed the warrant.




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    1                 PROSPECTIVE JUROR:       Local deputies.

    2                 THE COURT:     So these were deputy sheriffs?

    3                 PROSPECTIVE JUROR:       They were DEA agents because

    4    when they went to my office, my neighbors asked them, "Who are

    5    you guys?"

    6            They said, "We do a lot of DEA raids to get search

    7    warrants."    And you know, this is --

    8                 THE COURT:     Were they in uniform or in plain

    9    clothes?

   10                 PROSPECTIVE JUROR:       They were in uniform, but it was

   11    kind of unusual.      I thought -- I couldn't see because I didn't

   12    have my glasses.

   13                 THE COURT:     Okay.    So the people --

   14                 PROSPECTIVE JUROR:       I thought they were ICE.

   15                 THE COURT:     Excuse me.     The people that knocked on

   16    your door, okay --

   17                 PROSPECTIVE JUROR:       Okay.

   18                 THE COURT:     -- they were deputy sheriffs?

   19                 PROSPECTIVE JUROR:       Yes.

   20                 THE COURT:     Okay.    And they were wearing uniforms?

   21                 PROSPECTIVE JUROR:       Same outfit, but I couldn't

   22    recognize it.     I couldn't see it, but they were wearing the

   23    same.

   24                 THE COURT:     Did they give you a copy of the search

   25    warrant?




App. 0466                      UNITED STATES DISTRICT COURT
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    1                  PROSPECTIVE JUROR:      One of them.     They told me they

    2    had a search warrant.       Later on they showed it to me.

    3                  THE COURT:    Okay.    Have a seat right there.

    4          Okay.

    5                  MR. MCDERMOTT:     Could we get to him?

    6                  THE COURT:    Good luck.

    7          Just have a seat in the audience.          You shouldn't talk to

    8    any of the other prospective jurors about what we have talked

    9    about.

   10          Okay.    Thank you.

   11                                  (Sidebar ends.)

   12                  THE COURT:    All right.      If we could have the clerk

   13    call the name of the another prospective juror.

   14                  THE COURTROOM DEPUTY:      Alice Montalvo.

   15                  THE COURT:    Good morning.

   16                  PROSPECTIVE JUROR:      Good morning.

   17                  THE COURT:    Did you hear the questions I asked of

   18    the other prospective jurors?

   19                  PROSPECTIVE JUROR:      Yes.

   20                  THE COURT:    Is there anything that I have inquired

   21    about that in good conscience you should disclose to us?

   22                  PROSPECTIVE JUROR:      No.

   23                  THE COURT:    Anything about the nature of these

   24    charges that causes you to have any concerns about your ability

   25    to be fair and impartial to both sides?




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    1                 PROSPECTIVE JUROR:       No.

    2                 THE COURT:     Anything about the length of the trial

    3    that would prevent you from serving?

    4                 PROSPECTIVE JUROR:       No.

    5                 THE COURT:     All right.      If could you take that last

    6    seat on the second row, please.

    7            Just one second.    Madam Clerk.

    8                 THE COURTROOM DEPUTY:       Yes.

    9                 THE COURT:     All right.      So all of you seated in the

   10    jury box, at least at this point, think that you can be with us

   11    for the remainder of this week?

   12            All right.   Now as jurors, you are going to be the finders

   13    of fact in this case.

   14            You are required to base your decisions solely on the

   15    evidence that is presented here in Court.

   16            You may not consider any facts or any information that you

   17    learn outside of Court, and you may not rely on your own

   18    prejudices or biases in judging this case.

   19            Do any of you believe that you should not be able to do

   20    this?

   21            As a judge, it's my job to instruct you on the law that is

   22    applicable to this case.

   23            You are required to find the facts and then apply the law

   24    as I give it to you, to those facts.

   25            Do any of you feel that you would have any difficulty




App. 0468                      UNITED STATES DISTRICT COURT
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    1    accepting and following my instructions concerning the law that

    2    governs this case?

    3            As you may know a defendant is presumed innocent until

    4    proven guilty.

    5            This presumption of innocence continues until the jury

    6    concludes, if it does, that the defendant is guilty beyond a

    7    reasonable doubt.

    8            If the jury finds that the government has not proved the

    9    defendant's guilt beyond a reasonable doubt, it must return a

   10    not-guilty verdict.

   11            And you cannot return a guilty verdict unless you find

   12    that the government has established the defendant's guilt

   13    beyond a reasonable doubt.

   14            This is a different standard than is used in civil cases.

   15            There, the jury merely has to find that a party has

   16    established that its version of the facts is more probably true

   17    than not.

   18            Is there anything in the criminal standard of proof,

   19    beyond a reasonable doubt, that you believe would make it

   20    difficult for you to be a fair and impartial juror in this

   21    case?

   22            The potential punishment for the crimes that have been

   23    charged is a matter for the Court to decide.

   24            Are there any of you who have concerns about the level of

   25    punishment that might be imposed if the defendant is found




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    1    guilty and feel that those concerns would make it difficult for

    2    you to fairly judge this case?

    3            Unlike the government, the defendant has no burden, and

    4    does not have to present any evidence if he chooses not to do

    5    so.

    6            You must wait until all of the evidence has been presented

    7    before making up your mind.

    8            Are there any of you who do not believe you could withhold

    9    judgment until all of the evidence has been presented?

   10            Is there anything that you have heard about the case you

   11    believe would make it difficult for to you consider the

   12    evidence fairly and impartially?

   13            Is there anyone seated in the jury box for any reason who

   14    feels that he or she should not be selected as a juror in this

   15    case?

   16            All right.   We're going to take our first break of the

   17    morning.

   18            When we return, we're going to start asking the potential

   19    jurors questions about themselves.

   20            Now, again, until we come back and while you are on your

   21    break, you are not to discuss this case with anyone including

   22    your fellow jurors.

   23            Please do not read or listen to any news reports or other

   24    accounts about the trial.

   25            If anyone approaches you and tries to talk with you about




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    1    this case, please let me know about it immediately.

    2          If you happen to see one of the lawyers out in the hallway

    3    and say, hi, and they don't speak to you, they can't.

    4          So don't hold it against them if you happen to see them,

    5    and they just walk right by you.

    6          They are instructed to do that, so, don't hold that

    7    against them.

    8          So we're going to take a break for about ten minutes, and

    9    then we are going to come back in and resume jury selection.

   10    So let's try and be back in our seats at 25 until the hour.

   11                 THE COURTROOM DEPUTY:       All rise.

   12                  (JURY EXITS THE COURTROOM AT 11:29 A.M.)

   13                 THE COURT:     All right.     Anything we need to take up?

   14    We will see you in about ten minutes.

   15                               (Morning recess.)

   16                 THE COURTROOM DEPUTY:       All rise.

   17                  (JURY ENTERS THE COURTROOM AT 11:41 A.M.)

   18                 THE COURTROOM DEPUTY:       You may be seated.

   19                 THE COURT:     Miss, if you could join us over here

   20    please.

   21                               (Sidebar begins.)

   22                 PROSPECTIVE JUROR:       My sister-in-law is planning to

   23    come to our house.      She lives in Westminister, and she needs to

   24    be taken care of.

   25                 THE COURT:     Just keep your voice down.




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    1                 PROSPECTIVE JUROR:       I didn't know that she was going

    2    to come with IVs and medication.

    3          I'm an LVN.     They want to have antibiotics installed in

    4    the IV, and I could do it.

    5          But they made sure a relative is able to do it, and, I go,

    6    oh, yes, I know who my sister-in-law is.

    7          But I didn't know this until today.           I just called my

    8    husband, and I told him I was picked for jury duty.

    9          He starts telling me this.         He just found out that Letia

   10    is going to come with IV, and I may need someone to administer

   11    antibiotics in her IV.

   12                 THE COURT:     Okay.    When is she due to arrive?

   13                 PROSPECTIVE JUROR:       Tomorrow.

   14                 THE COURT:     Okay.    And how often do these IVs have

   15    to be changed?

   16                 PROSPECTIVE JUROR:       You know, I did not know this

   17    until today, just a few minutes ago.

   18                 THE COURT:     I understand.     So she's coming tomorrow.

   19    And do you know what time she's coming tomorrow?

   20                 PROSPECTIVE JUROR:       It will be in the afternoon

   21    around 12 or 1, and then there is going to be a person that

   22    will come and make sure that I do it right.

   23          But if she was at home, a nurse will be there for a few

   24    hours to do it.

   25                 THE COURT:     Okay.    How often do these IVs have to




App. 0472                      UNITED STATES DISTRICT COURT
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    1    be --

    2                 PROSPECTIVE JUROR:       I don't know.     I don't know

    3    anything about the IV.       She's going to come home with my

    4    husband.    They are going to pick her up.         It's an outpatient

    5    thing, and surgery.      And he's going to bring her home.          The

    6    surgery is going to be at 10:00, and he will probably be home

    7    maybe by 2, 3 or something like that, maybe.            It depends on the

    8    traffic.

    9                 THE COURT:     Where do you live?

   10                 PROSPECTIVE JUROR:       I live in Covina.

   11                 THE COURT:     Okay.    Is it just tomorrow you have to

   12    put these IVs in?

   13                 PROSPECTIVE JUROR:       I don't know, maybe it might be

   14    a few days, uh-huh.

   15            I don't have to put the IV in.        I have to administer the

   16    medication in the IV, the antibiotics.

   17                 THE COURT:     Okay.    How often do you have to do that?

   18                 PROSPECTIVE JUROR:       I don't know.

   19                 THE COURT:     You don't know.

   20                 PROSPECTIVE JUROR:       I just found out.

   21            My husband said his sister called her and this is what

   22    they are going to be doing.

   23                 THE COURT:     Okay.    Is there a reason why they

   24    wouldn't have a nurse -- if she was going to have a nurse at

   25    home, why they wouldn't have the nurse at your house?




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    1                 PROSPECTIVE JUROR:       Right.    It would be at her house

    2    in Westminister, but she needs to be taken care of.

    3                 THE COURT:     Okay.    But if she were in her own house

    4    she would have a nurse?

    5                 PROSPECTIVE JUROR:       Just for a short time.

    6                 THE COURT:     So you are requesting to be excused?

    7                 PROSPECTIVE JUROR:       Uh-huh.

    8                 THE COURT:     Okay.    Have a seat right there for a

    9    second.

   10                 THE COURT:     Okay.    I'm inclined to excuse her unless

   11    somebody has an objection.

   12          I'm going to let the dentist go.          And I believe I might as

   13    well do this now.      Juror number -- I think it's 6, the

   14    mechanical engineer.

   15                 THE COURT:     They don't pay.

   16                 MS. RYKKEN:     Okay.

   17                 THE COURT:     All right.     You can return to the jury

   18    assembly room on the first floor and tell them you have been

   19    excused.

   20                 PROSPECTIVE JUROR:       Just go right here and wait --

   21    go downstairs?

   22                 THE COURT:     Go downstairs to the first floor.             Tell

   23    them you have been excused.

   24                 PROSPECTIVE JUROR:       Okay then.

   25                 THE COURT:     All right.     Juror Number 6, if you could




App. 0474                      UNITED STATES DISTRICT COURT
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    1    join us over here please.

    2          Are you an hourly employee or salaried employee?

    3                 PROSPECTIVE JUROR:       Hourly.

    4                 THE COURT:     Okay.    We have confirmed that your

    5    employer doesn't pay, so we're going to excuse you.              So you can

    6    return to the jury assembly room on the first floor.

    7                 PROSPECTIVE JUROR:       What is that?

    8                 THE COURT:     You can return to the jury assembly room

    9    on the first floor, and tell them you have been excused.

   10                 PROSPECTIVE JUROR:       Okay.

   11                 THE COURT:     If I could see the gentleman on the

   12    first row on the end?

   13          All right.     Sir we're going to excuse you, you can go back

   14    to the jury assembly room on the first floor and tell them you

   15    have been excused.

   16                 PROSPECTIVE JUROR:       Okay.     Thank you.

   17                 THE COURT:     Thank you.       Okay.

   18                                 (Sidebar ends.)

   19                 THE COURT:     All right.       I'm going to ask the clerk

   20    to call the names of another prospective juror.

   21                 THE COURTROOM DEPUTY:       Matthew Field.      Please come

   22    forward.

   23                 THE COURT:     Good morning.       Did you have any

   24    questions I asked of the other prospective jurors?

   25                 PROSPECTIVE JUROR:       Yes.




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    1                 THE COURT:     Is there anything I have inquired about

    2    that in good conscience you should disclose to us?

    3                 PROSPECTIVE JUROR:       No.

    4                 THE COURT:     Is there anything about the length of

    5    the trial that would prevent you from serving?

    6                 PROSPECTIVE JUROR:       No.

    7                 THE COURT:     Anything about the nature of these

    8    charges that may cause you to have concerns to be fair and

    9    impartial to both sides?

   10                 PROSPECTIVE JUROR:       No.

   11                 THE COURT:     If you could take the last chair on the

   12    first row, please.

   13          Call the name of another prospective juror.

   14                 THE COURTROOM DEPUTY:       Matthew Moore.

   15                 THE COURT:     Good morning.

   16                 PROSPECTIVE JUROR:       Good morning.

   17                 THE COURT:     Did you hear the questions I asked of

   18    the other prospective jurors?

   19                 PROSPECTIVE JURORS:       Yes.

   20                 THE COURT:     Is there anything I have inquired about

   21    that in good conscience you should disclose to us?

   22                 PROSPECTIVE JUROR:       No.

   23                 THE COURT:     Anything about the nature of these

   24    charges that cause you to have any concerns about your ability

   25    to be fair and impartial to both sides?




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    1                  PROSPECTIVE JUROR:      No.

    2                  THE COURT:    Anything about the length of the trial

    3    that would prevent you from serving?

    4                  PROSPECTIVE JUROR:      I might have financial

    5    obligations.

    6                  THE COURT:    Okay.    If could you join us over here

    7    please.

    8                               (Sidebar begins.)

    9                  THE COURT:    Okay.    If could you just keep your voice

   10    down and talk into the microphone.

   11                  PROSPECTIVE JUROR:      Yes.

   12                  THE COURT:    What's the financial hardship that you

   13    have?

   14                  PROSPECTIVE JUROR:      So I live 180 miles away in San

   15    Luis Obispo.     I am kind of living paycheck to paycheck, a

   16    college student working a retail job making about 16 or $20 a

   17    week.     It's just the hotel part because last time I had to

   18    sleep in my car.

   19                  THE COURT:    Okay.    If you are ultimately selected as

   20    a juror, we will get you a hotel and pay for it.

   21                  PROSPECTIVE JUROR:      After or because I don't have

   22    the money right now.

   23                  THE COURT:    Right now.

   24                  PROSPECTIVE JUROR:      Okay.

   25                  THE COURT:    I'm pretty sure.      I will make sure, but




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    1    I think we will pay -- I think they will front that cost.                 I

    2    will make sure.

    3                 PROSPECTIVE JUROR:       Okay.   If that can get confirmed

    4    then I have no problem staying for a week.

    5                 THE COURT:     Okay.    Let me make sure.

    6                 PROSPECTIVE JUROR:       Okay.

    7                 THE COURT:     So by the time we get back from lunch,

    8    we will know for sure.       We will keep you in, and if it turns

    9    out that they don't, then we will let you go.

   10                 PROSPECTIVE JUROR:       Thank you.

   11                 THE COURT:     So if you would take that last seat on

   12    the second row.

   13                 PROSPECTIVE JUROR:       Okay.

   14                                (Sidebar ends.)

   15                 THE COURT:     All right.     Ladies and gentlemen, we're

   16    now going to ask you some questions about yourselves, again,

   17    they are not designed to pry into your personal lives or

   18    affairs, they are asked to discover if you have any knowledge

   19    about the case, if you have any preconceived opinions that you

   20    might find difficult to move aside.

   21          If you have any personal or family experiences, which

   22    might cause you to identify yourselves within the parties, and

   23    you cannot assure each of the parties that the jury will be

   24    fair and impartial.

   25          Please do not withhold information when you are seated on




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    1    the jury.    Be straightforward in your answers, rather than

    2    answering in a way that you feel the lawyers or I expect you to

    3    answer.

    4          If your answer to a question is yes, please raise your

    5    hands so additional questions may be asked.

    6          If your answer to a question is no, you need to do

    7    nothing.

    8          Again, any time you prefer to approach the bench to answer

    9    a question, rather than answering in front of the entire panel,

   10    please feel free to so indicate.

   11          All right.     We're going to begin with Juror No. 1.           Let's

   12    see if we can find a microphone.

   13          And do you have a copy of the background questionnare?

   14                 PROSPECTIVE JUROR:       Yes.

   15                 THE COURT:     All right.     If you could just answer the

   16    background questionnaire, and answer each of those questions.

   17                 PROSPECTIVE JUROR:       My name is John Adler.       I live

   18    in Beverly Hills.      I have lived there for over 20 years.

   19          Prior to that, I lived in Atlanta, Georgia.

   20          I'm married.

   21          I have three children, one 25, male in college, and an 18

   22    year old about to graduate from high school, and I have an

   23    11 year old in middle school, a girl.

   24                 THE COURT:     Your educational background?

   25                 PROSPECTIVE JUROR:       I have a bachelor's degree.




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    1          No military service.

    2          I'm the owner and chief operating officer of a company

    3    called Phyllis Morris Originals.

    4                 THE COURT:     What do they do?

    5                 PROSPECTIVE JUROR:       We're a high-end furniture

    6    manufacturer.

    7                 THE COURT:     And does your wife work?

    8                 PROSPECTIVE JUROR:       My wife works with me.       She is

    9    an interior designer, and deals in sales and marketing of our

   10    company.

   11                 THE COURT:     Have you ever served on a jury before?

   12                 PROSPECTIVE JUROR:       I have been -- no, I have always

   13    been dismissed from a jury.

   14                 THE COURT:     Have you ever been a party or witness of

   15    a criminal case?

   16                 PROSPECTIVE JUROR:       Unfortunately, yes.

   17                 THE COURT:     Was that a civil or criminal case?

   18                 PROSPECTIVE JUROR:       Civil case for me personally --

   19    well, with my business.

   20                 THE COURT:     Anything about that experience that

   21    caused you to have concerns about your ability to be fair and

   22    impartial to both sides in this case?

   23                 PROSPECTIVE JUROR:       I'm going to say I assume, yes,

   24    I don't know.

   25          I mean, I don't know what the case is really about, so.




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    1                  THE COURT:    Okay.    Well this is a criminal case

    2    involving healthcare fraud.

    3                  PROSPECTIVE JUROR:      Right.

    4                  THE COURT:    And the nature of the civil case -- what

    5    was the issue?

    6                  PROSPECTIVE JUROR:      It was between an interior

    7    designer who said we defrauded her of commissions.

    8                  THE COURT:    Okay.    And was there anything about that

    9    experience, in being a civil case, that you believe would have

   10    an adverse effect or cause you to have doubts about your

   11    ability to be fair and impartial to both sides of this case?

   12                  PROSPECTIVE JUROR:      I'm going to answer, I believe,

   13    I can be fair and impartial.        I believe.

   14                  THE COURT:    Okay.    Is there any doubt in your mind?

   15                  PROSPECTIVE JUROR:      I guess.    I mean, I'm not

   16    100 percent confident that I can say I have zero impartiality

   17    or fairness.

   18                  THE COURT:    Okay.    Would you join us over here

   19    please?

   20                                (Sidebar begins.)

   21                  THE COURT:    Okay.    Did you have a lawyer in the

   22    civil case?

   23                  PROSPECTIVE JUROR:      I did.

   24                  THE COURT:    When was the civil case?

   25                  PROSPECTIVE JUROR:      Eight years ago.




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    1                 THE COURT:     Okay.    And was it actually tried?

    2                 PROSPECTIVE JUROR:       No.    It went to mediation.

    3                 THE COURT:     Okay.    So then it was settled?

    4                 PROSPECTIVE JUROR:       Yes.    We settled, much to my

    5    chagrin, but yes.

    6                 THE COURT:     Both sides are usually not entirely

    7    pleased with settlement.

    8                 PROSPECTIVE JUROR:       That's what my lawyer told me.

    9                 THE COURT:     Okay.    Was that in state Court or

   10    federal Court.

   11                 PROSPECTIVE JUROR:       State.

   12                 THE COURT:     In Los Angeles Superior Court?

   13                 PROSPECTIVE JUROR:       Uh-huh.

   14                 THE COURT:     Now you know that what happened in that

   15    case has nothing to do with --

   16                 PROSPECTIVE JUROR:       Yes, of course.

   17                 THE COURT:     Okay.    What happened in that case that

   18    caused you to have concerns about your ability to be fair and

   19    impartial in this case?

   20                 PROSPECTIVE JUROR:       I'm just saying I felt -- it was

   21    just a very -- I know it was a very emotional scenario for me,

   22    it cost a lot of money, and I was just not happy.

   23                 THE COURT:     You got sued?

   24                 PROSPECTIVE JUROR:       Yes.

   25                 THE COURT:     And it wasn't the most pleasant




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    1    experience?

    2                  PROSPECTIVE JUROR:      Right.

    3                  THE COURT:    You took it personally?

    4                  PROSPECTIVE JUROR:      I did.

    5                  THE COURT:    And you knew this person and she ended

    6    up turning --

    7                  PROSPECTIVE JUROR:      I barely even knew her.        It was

    8    a horror -- was a hustle.        I felt I was being set up.

    9                  THE COURT:    Okay.

   10                  PROSPECTIVE JUROR:      It's a no good deed goes

   11    unpunished.

   12                  THE COURT:    I have been there.

   13          Well, look, what is really important here is that both

   14    sides deserve a jury that can leave whatever baggage they may

   15    bring to this at the door.

   16                  PROSPECTIVE JUROR:      That's what I'm saying.        I'm not

   17    saying that I'm adamantly against one or the other of the

   18    parties.    I'm just telling you when you asked me the question,

   19    can I be 100 percent --

   20                  THE COURT:    Okay.    Well, what I need, and if you

   21    can't, you can't.      But what I need is commitment from each of

   22    those jurors, that they can be fair and impartial, that they

   23    can look both sides in the eye and tell them, look, whatever

   24    happened in that case, I'm going to just put that aside, and

   25    I'm going to judge this case based on the evidence in this




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    1    case.    I'm going to base it on the testimony of the witnesses,

    2    and the exhibits that are actually received into evidence.

    3            And whatever happened in the criminal case is not going to

    4    have anything to do with the decision that I reach in this

    5    case.

    6            If can you do that, fine.       If you can't, just let us know.

    7                 PROSPECTIVE JUROR:       Okay.

    8                 THE COURT:     Okay.    So, can you be fair and impartial

    9    to both sides in this case?

   10                 PROSPECTIVE JUROR:       I believe so.

   11                 THE COURT:     Okay.    Can you assure both sides that

   12    whatever happened in that nightmare of a civil case, you are

   13    going to put that aside, and judge this case based solely on

   14    the evidence you hear, here in this courtroom?

   15                 PROSPECTIVE JUROR:       Yes.

   16                 THE COURT:     Okay.    So you can make that commitment

   17    to both sides?

   18                 PROSPECTIVE JUROR:       Yes.

   19                 THE COURT:     Okay.    All right.    Just have a seat

   20    right there for a second.

   21            All right.   Does either side wish to have the Court make

   22    any further inquiry?

   23                 MR. MCDERMOTT:      Not by the defendant.

   24                 MR. FREEDMAN:      No, Your Honor.

   25                 THE COURT:     If you could resume your seat, please.




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    1                                (Sidebar ends.)

    2                 THE COURT:     Okay.    Do you have a criminal case

    3    questionnaire?

    4                 PROSPECTIVE JUROR:       Yes.

    5                 THE COURT:     Did have you a chance to look through

    6    that?

    7                 PROSPECTIVE JUROR:       So I do have an immediate family

    8    member who has been arrested and charged with a crime regarding

    9    a criminal offense.

   10                 THE COURT:     When was that?

   11                 PROSPECTIVE JUROR:       It's my 18 year-old.       It's still

   12    ongoing.

   13                 THE COURT:     Okay.    Do you recall what police agency

   14    was involved?

   15                 PROSPECTIVE JUROR:       Los Angeles Police Department.

   16                 THE COURT:     Okay.    And is that case still active?

   17                 PROSPECTIVE JUROR:       It is active.

   18                 THE COURT:     When was that?

   19                 PROSPECTIVE JUROR:       The offense was in July.

   20                 THE COURT:     Of 2016?

   21                 PROSPECTIVE JUROR:       Yes, 16.

   22                 THE COURT:     And can you tell us generally what it

   23    involved?

   24                 PROSPECTIVE JUROR:       The assault of a peace officer.

   25                 THE COURT:     Do you have any concerns about the way




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    1    his case is being handled?        Do you have any concerns about the

    2    way that the police handled that?

    3                 PROSPECTIVE JUROR:       I'm not -- I don't have a

    4    problem with the way the judge is handling it.

    5          I have a problem with the way law enforcement handled it.

    6                 THE COURT:     Okay.    There may be law enforcement

    7    officers.    I don't think anything from LAPD will be testifying

    8    in this case, but there may be law enforcement officers who may

    9    be witnesses in this case.

   10          Are you going to be able to put aside what has happened

   11    with your son and your feelings concerning law enforcement

   12    about the way his case was handled, and judge the credibility

   13    of the law enforcement agency who testify in this case fairly

   14    and impartially?

   15                 PROSPECTIVE JUROR:       Yes.

   16                 THE COURT:     So you are going to be able to judge the

   17    credibility of any law enforcement witnesses the same way you

   18    would that of any other witness who testifies in this case?

   19                 PROSPECTIVE JUROR:       I believe so.

   20                 THE COURT:     Any doubt in your mind?

   21                 PROSPECTIVE JUROR:       A little doubt.

   22                 THE COURT:     Okay.    Any other yes responses to any of

   23    the other questions?

   24                 PROSPECTIVE JUROR:       No. 2.    I actually just spent --

   25    a very close friend of mine was murdered.




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    1          His case was -- it's been three years, it just ended

    2    actually in March.

    3                 THE COURT:     Do you know what police agency was

    4    handling that case?

    5                 PROSPECTIVE JUROR:       That was with Los Angeles

    6    city -- Los Angeles County, I guess.

    7                 THE COURT:     Okay.    Do you have any concerns about

    8    the way that that case was handled?

    9                 PROSPECTIVE JUROR:       No.

   10                 THE COURT:     And when you say the case was recently

   11    resolved, how was it resolved?

   12                 PROSPECTIVE JUROR:       It was over three years.        The

   13    defendant was -- they wanted life without parole.             I think he

   14    got murder in the second degree.

   15                 THE COURT:     Okay.

   16                 PROSPECTIVE JUROR:       I wasn't happy about that, but.

   17                 THE COURT:     Do you have any other yes or affirmative

   18    responses to any of the other questions?

   19                 PROSPECTIVE JUROR:       My father is a surgeon.        He's

   20    been in the medical field for my entire life.

   21                 THE COURT:     Okay.    Any other yes or affirmative

   22    responses to any of the other questions?

   23                 PROSPECTIVE JUROR:       My grandfather has a pacemaker.

   24    And philosophically, I do feel -- I do have feelings or views

   25    around healthcare.




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    1                 THE COURT:     Okay.    May I see counsel at sidebar?

    2                                (Sidebar begins.)

    3                 THE COURT:     Okay.    I think I'm going to break for

    4    lunch, and given his answers, I'm inclined to excuse this

    5    juror.

    6          Does either side wish to have any further inquiries,

    7    specifically his question that he has doubts about his ability

    8    to be fair and impartial, I think, with respect to his son's

    9    case and just -- and I think unless jurors can commit that they

   10    are going to be fair and impartial, probably there is a doubt

   11    in their minds, I think they probably ought to be excused.

   12          Do you want me to make some further inquiries?             I will be

   13    happy to do that.

   14                 MR. MCDERMOTT:      No, Your Honor.

   15                 MS. RYKKEN:     No, Your Honor.

   16                                (Sidebar ends.)

   17                 THE COURT:     All right.     Ladies and gentlemen, we're

   18    going to break for lunch.

   19          Again, I want to remind you that you are not to discuss

   20    this case with anyone, including your fellow jurors, members of

   21    your family, people involved in the trial, or anyone else, nor

   22    are you allowed to permit others to discuss the case with you.

   23          If anyone approaches you and tries to talk with you about

   24    this case, please let me know about it immediately.

   25          Don't communicate by e-mail, use any social networking




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    1    sites.   Don't text message anything about the case.

    2          Do not read any news stories or listen to any articles or

    3    radio or television reports about the case or about anyone who

    4    has anything to do with it.

    5          Do not do any research, such as consulting dictionaries,

    6    searching the Internet, using other reference materials, and do

    7    not make any investigation about the case on your own.

    8          If you need to communicate with me, simply give a note to

    9    the clerk.

   10          We're going to come back at -- let's come back at -- we're

   11    going to start at 1:30, so everybody ought to be back in the

   12    courtroom at 1:25.

   13          So except for Prospective Juror No. 1, the rest of you are

   14    excused.

   15          There is a cafeteria downstairs on the first floor.                 Eat

   16    there at your own risk -- I shouldn't say that.

   17          And there is a few places within a few blocks at either

   18    direction.

   19          All right.     Thank you very much.

   20                 THE COURTROOM DEPUTY:       All rise.

   21                  (JURY EXITS THE COURTROOM AT 12:08 P.M.)

   22                 THE COURTROOM DEPUTY:       You may be seated.

   23                 THE COURT:     Sir, we're going to excuse you.          You can

   24    return to the jury assembly room on the first floor and tell

   25    them you have been excused.        Thank you.




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    1                  PROSPECTIVE JUROR:      Do I leave this here or take it

    2    to the clerk?

    3                  THE COURTROOM DEPUTY:      Leave it there.      Thank you.

    4                  THE COURT:    All right.      Anything else that we need

    5    to take up?

    6                  MR. FREEDMAN:     No, Your Honor.

    7                  MR. MCDERMOTT:     No, sir.

    8                  THE COURT:    We will resume at 1:30.        Thank you.

    9                  THE COURTROOM DEPUTY:      All rise.     This Court now

   10    stands in recess.

   11                                 (Lunch recess.)

   12               (The morning session concluded at 12:10 a.m.)

   13                                        * * *

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    1                       CERTIFICATE OF OFFICIAL REPORTER

    2

    3    COUNTY OF LOS ANGELES        )
                                      )
    4    STATE OF CALIFORNIA          )

    5

    6                 I, TERRI A. HOURIGAN, Federal Official Realtime

    7    Court Reporter, in and for the United States District Court for

    8    the Central District of California, do hereby certify that

    9    pursuant to Section 753, Title 28, United States Code that the

   10    foregoing is a true and correct transcript of the

   11    stenographically reported proceedings held in the

   12    above-entitled matter and that the transcript page format is in

   13    conformance with the regulations of the judicial conference of

   14    the United States.

   15

   16    Date:   July 2, 2017

   17

   18

   19                                      /s/ TERRI A. HOURIGAN

   20                            TERRI A. HOURIGAN, CSR NO. 3838, CCRR
                                     Federal Official Court Reporter
   21

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App. 0491                      UNITED STATES DISTRICT COURT
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    1                          UNITED STATES DISTRICT COURT

    2             CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

    3                HONORABLE PERCY ANDERSON, U.S. DISTRICT JUDGE

    4

    5    UNITED STATES OF AMERICA,

    6                     Plaintiff,

    7          vs.                                     Case No. CR-16-215-PA

    8    MICHAEL MIRANDO,

    9                     Defendant.
                                                   /
   10

   11

   12                 REPORTER'S TRANSCRIPT OF TRIAL PROCEEDINGS
                                      TRIAL DAY 1
   13                         WEDNESDAY, APRIL 26, 2017
                                       8:30 A.M.
   14                           LOS ANGELES, CALIFORNIA

   15

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   22         ________________________________________________________

   23                    TERRI A. HOURIGAN, CSR NO. 3838, CCRR
                            FEDERAL OFFICIAL COURT REPORTER
   24                       350 WEST FIRST STREET, ROOM 4311
                             LOS ANGELES, CALIFORNIA 90012
   25                                (213) 894-2849




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    1                             APPEARANCES OF COUNSEL:

    2

    3    FOR THE PLAINTIFF:

    4        EILEEN DECKER
             United States Attorney
    5        BY: MICHAEL FREEDMAN
                 KATHERINE RYKKEN
    6             Assistant United States Attorney
             United States Courthouse
    7        312 North Spring Street
             Los Angeles, California 90012
    8

    9
         FOR THE DEFENDANT MICHAEL MIRANDO:
   10
             LAW OFFICES OF KEVIN BARRY MCDERMOTT
   11        BY: KEVIN B. MCDERMOTT
                 Attorney at Law
   12        300 Spectrum Center Drive, Suite 1420
             Irvine, California 92618
   13

   14
         ALSO PRESENT:     Special Agent Kathleen Kennedy
   15

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    1            LOS ANGELES, CALIFORNIA; WEDNESDAY, APRIL 26, 2017

    2                                     8:30 A.M.

    3                                       --oOo--

    4                             (Court called to order)

    5

    6                 THE COURTROOM DEPUTY:        All rise.     Calling Item 1,

    7    CR-16-215, United States of America versus Michael Mirando.

    8          Counsel, please state your appearances.

    9                 MR. FREEDMAN:      Good morning, Your Honor.         Michael

   10    Freedman and Katherine Rykken appearing on behalf of the United

   11    States.    Kathleen Kennedy is with us at counsel table.

   12                 THE COURT:     Good morning.

   13                 MR. MCDERMOTT:      Good morning, Your Honor.         Kevin

   14    McDermott appearing on behalf of Mr. Mirando, who is present.

   15                 THE COURT:     Good morning.

   16          All right.     The first thing is do we have any prospective

   17    jurors in the courtroom?

   18                 MR. MCDERMOTT:      No, sir.

   19                 THE COURT:     First thing is I have had two jurors

   20    report to me that the defendant approached them in the

   21    restroom, and he had contact with two prospective jurors.

   22          Sir, let me make it clear to you, which I thought I had

   23    already done yesterday -- look here, sir, that is unacceptable.

   24          Do not contact -- have any contact.            I don't mean -- even

   25    to say hi, with any of these jurors; is that clear?




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    1                  THE DEFENDANT:     Yes, sir.

    2                  THE COURT:    Now from what I understand, one of the

    3    jurors was greeted with a, "hello, how are you."

    4            And another juror was made a greeting, because he's in the

    5    habit of saying hello to people, how are you doing, and the

    6    defendant remarked, "Not very well."

    7            So, if the parties wish, I will talk to those two jurors,

    8    I will have them brought in and make some further inquiry or we

    9    can leave it the way that it is, at least, at this point, based

   10    on what has been reported to me.

   11            And I will admonish the jury again that they are not to

   12    have any contacts with anyone having anything to do with this

   13    case.

   14                  MR. FREEDMAN:     Your Honor, I think the second juror

   15    that the defendant said, "not very well" to is somewhat more

   16    concerning.

   17            The government would be interested in the Court inquiring

   18    further as to that juror.

   19                  MR. MCDERMOTT:     Sir, I wasn't present when this

   20    happened.

   21            Can I have 60 seconds in the outer room just to discuss

   22    with my client what the circumstances were?

   23            I'm not objecting to what the government has in mind.

   24            I would just like to know the circumstances a little

   25    better myself.




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    1                 THE COURT:     That's fine.      I will give you an

    2    opportunity to do that.

    3                 MR. MCDERMOTT:      Thank you.

    4                 MR. FREEDMAN:      Could I ask one more question?

    5                 THE COURT:     Yes.

    6                 MR. FREEDMAN:      Was it a juror who is already seated?

    7                 THE COURT:     Yes.

    8          Now, we have approximately eight jurors, including the

    9    last one that we talked to last night, who, I believe, said

   10    words to the effect that she was a school psychologist who

   11    wanted to be excused because she was the only psychologist

   12    assigned to her school, and in the event that there was an

   13    emergency, she needed to be there.

   14          And I think I had indicated to her, that that was not a

   15    hardship.

   16          Then I think she said something to the effect of, well, I

   17    have an in-law who is being investigated, and it looks just

   18    like the defendant, at which point, I think, we adjourned for

   19    the day.

   20          My -- given the number of preemptory challenges we have,

   21    and given the numbers of jurors that we have left, which is,

   22    approximately eight, my proposal would be to skip over her and

   23    put her at the end of the current list of eligible jurors, and

   24    see if we can get a jury seated, assuming we don't have some

   25    other problem, and at least one or two alternates.




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    1          And alternatively, if we have to call her up, either as a

    2    potential juror or as an alternate, fine, then I will rule on

    3    her request.

    4          But both parties -- I need both parties to agree to that,

    5    but you certainly don't have to.

    6          If not, I will call on her and rule on her request.

    7                 MR. FREEDMAN:      That is fine with us, Your Honor.

    8                 MR. MCDERMOTT:      No objection from the defense.

    9                 THE COURT:     Okay.    Now, we don't have any additional

   10    jurors available to us today.

   11          There is a trial that is starting today over at Roybal,

   12    and there may be some jurors who are leftovers or who aren't

   13    used in that proceeding, who could be made available.               I

   14    suspect they wouldn't be made available until this afternoon.

   15          I can get more jurors tomorrow.           If we can't -- these

   16    eight people that we have, if we can't seat a jury today, then

   17    I believe what we probably will have to do is just come back

   18    tomorrow, and then I can get some additional jurors and we

   19    would finish selecting the jury.

   20          But hopefully, we will be able to utilize these eight and

   21    be able to get our jury picked.

   22          Now, I think, according to my notes, I believe the defense

   23    has two preemptory challenges left, and the government has one,

   24    so that's sort of our situation.

   25          So I would hope that we will be able to -- now I think




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    1    we're missing -- I think, the last time the Court checked -- I

    2    think we are missing one of the jurors who we seated yesterday.

    3    I think there is one that is missing from the available pool.

    4          So why don't I allow defense counsel to confer with his

    5    client, and we will get an update on the number of jurors who

    6    are present while you are doing that.

    7                 MR. MCDERMOTT:      Thank you.

    8                 THE COURT:     Okay.    Anything else?

    9                 MR. FREEDMAN:      Not at this time, Your Honor.

   10                 MR. MCDERMOTT:      No, sir.

   11                 THE COURT:     We will bring -- well, I'm going to let

   12    you confer with your client, then we will take up this matter.

   13                 MR. MCDERMOTT:      Yes, sir.

   14                 THE COURT:     Okay.

   15                                     (Recess.)

   16                 THE COURT:     All right.     At least the last time that

   17    I checked, Prospective Juror Number 11 is not here.

   18                 THE COURTROOM DEPUTY:        Everyone is present.

   19                 THE COURT:     All right.     So we now have everybody

   20    present.

   21          Now, you have had an opportunity to confer with your

   22    client.

   23                 MR. MCDERMOTT:      Let me start by apologizing to the

   24    Court.

   25          Maybe I should have done a better job of reinforcing the




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    1    Court's order.      I can confirm there was contact apparently in

    2    the urinal, and I don't object to the government's request to

    3    have at least one of them.

    4          Could we identify which two in the box might have been

    5    contacted?

    6                  THE COURT:    Uh-huh.     Maybe.

    7                  THE COURTROOM DEPUTY:       Juror No. 2.

    8                  THE COURT:    I thought there were two contacts -- I

    9    thought there were two potential contacts.

   10          So apparently there were two contacts.            One with Juror

   11    No. 2, and one with prospective Juror No. 3.

   12                  MR. MCDERMOTT:     Okay.

   13                  THE COURT:    Now, I guess one of the questions that I

   14    guess I want to have answered, is whether or not there were any

   15    other potential jurors who may have overheard whatever this

   16    conversation consisted of, and so I propose that out of an

   17    over-abundance of caution, we bring them both in.

   18                  MR. MCDERMOTT:     Yes, sir.

   19                  THE COURT:    And see if we can figure out what

   20    transpired, and what steps we need to take, if any, to

   21    alleviate any concerns from either side.

   22          Okay.    I'm going to ask the clerk to bring in Prospective

   23    Juror No. 2, and if you both can have a seat please.

   24                  THE COURTROOM DEPUTY:       All rise.

   25                 (PROSPECTIVE JUROR 2 ENTERS THE COURTROOM.)




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    1                 THE COURTROOM DEPUTY:        You may be seated.

    2                 THE COURT:     Mr. Diaz, you are Prospective Juror

    3    No. 2.

    4                 PROSPECTIVE JUROR:       Yes, sir.

    5                 THE COURT:     I was advised this morning you may have

    6    had some contact with the defendant this morning?

    7                 PROSPECTIVE JUROR:       Yes, I did, sir.

    8                 THE COURT:     Okay.    Can you tell me what transpired?

    9                 PROSPECTIVE JUROR:       So we were in the restroom, I

   10    believe, we said "good morning" to each other.              And then I

   11    happened to say, "how are you doing," and then he responded,

   12    "not too good."

   13                 THE COURT:     Were there any other jurors in the

   14    restroom when you had this exchange?

   15                 PROSPECTIVE JUROR:       No, not that I know of.

   16                 THE COURT:     Okay.    And when the defendant said he

   17    was not doing too good, did you respond to him?

   18                 PROSPECTIVE JUROR:       I don't believe so.

   19                 THE COURT:     Okay.    And who initiated the contact?

   20                 PROSPECTIVE JUROR:       I'm not too sure, because I was

   21    already using the restroom when the two gentlemen showed up.

   22                 THE COURT:     There was somebody else besides the

   23    defendant?

   24                 PROSPECTIVE JUROR:       Yes.

   25                 THE COURT:     Okay.    Who else was there?




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    1                  PROSPECTIVE JUROR:      I believe it's the guy sitting

    2    on the bench.

    3                  THE COURT:    Okay.

    4                  PROSPECTIVE JUROR:      He was to my right, and the

    5    defendant was to my left.

    6                  THE COURT:    Okay.    Well, one of the things that the

    7    Court instructed the jurors yesterday is not to have any

    8    contact with anybody --

    9                  PROSPECTIVE JUROR:      Correct.

   10                  THE COURT:    -- having to have anything to do with

   11    this case.

   12                  PROSPECTIVE JUROR:      Correct.

   13                  THE COURT:    Let me ask you, can you set aside that

   14    brief interaction you had with the defendant, and judge this

   15    case based solely on the evidence you hear, here in the

   16    courtroom?

   17                  PROSPECTIVE JUROR:      I believe I can.

   18                  THE COURT:    Okay.    Can you put that aside and be a

   19    fair and impartial juror, both as to the defendant and the

   20    government?

   21                  PROSPECTIVE JUROR:      I believe I can.

   22                  THE COURT:    Is there any doubt in your mind?

   23                  PROSPECTIVE JUROR:      I mean, a little doubt.

   24                  THE COURT:    And why do you have doubt in your mind?

   25                  PROSPECTIVE JUROR:      Maybe because I could possibly




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    1    feel bad for the guy, not too sure.          So, I just want to be

    2    completely honest.

    3                 THE COURT:     Yes, that's fine.      Let me see both

    4    counsel at sidebar for a moment.

    5                               (Sidebar begins.)

    6                 THE COURT:     Does either counsel wish to have further

    7    inquiry be made?

    8                 MR. MCDERMOTT:      No, sir.

    9                 THE COURT:     Okay.    And the gentleman that raised his

   10    hand, I assume is related to the defendant.

   11                 MR. MCDERMOTT:      That's the father.

   12                 THE COURT:     Okay.    What would you --

   13                 MR. FREEDMAN:      Give me a brief moment to confer.

   14                 THE COURT:     That's fine.

   15                 MR. FREEDMAN:      Your Honor, I think given what the

   16    juror has stated about potential doubt, unfortunately, he's not

   17    going to be a suitable juror in the government's point of view.

   18                 MR. MCDERMOTT:      Your Honor, I don't have anything

   19    else to add to it, Judge.

   20                 THE COURT:     Do you want to remove him for cause?

   21                 MR. FREEDMAN:      Yes.

   22                 THE COURT:     Any objection?

   23                 MR. MCDERMOTT:      I really can't say that I can.

   24                 THE COURT:     Okay.    All right.    I'm just going to ask

   25    him whether he has had any other contact with any of the other




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    1    jurors about this conversation.

    2                 MR. MCDERMOTT:      Certainly, right.

    3                 THE COURT:     And then we will bring in the other

    4    juror and see where we are.

    5          I think we would excuse him probably then we will see how

    6    far we can get with what we have got remaining.             If we can get

    7    a jury, fine, if we can't, we will get some more jurors and

    8    resume tomorrow.

    9                 MR. MCDERMOTT:      I apologize to the Court.

   10                 MR. FREEDMAN:      Thank you, Your Honor.

   11                                  (Sidebar ends.)

   12                 THE COURT:     Mr. Diaz.

   13                 PROSPECTIVE JUROR:       Yes, sir.

   14                 THE COURT:     Have you had any conversations with any

   15    of the other jurors about your contact with the defendant?

   16                 PROSPECTIVE JUROR:       Yes.

   17                 THE COURT:     Okay.     And which jurors did you have

   18    contact with?

   19                 PROSPECTIVE JUROR:       No. 3, I don't know what his

   20    name is.    The reason is, he actually mentioned it to me first.

   21                 THE COURT:     Okay.    What did he mention to you?

   22                 PROSPECTIVE JUROR:       He said that the defendant said

   23    good morning to him.

   24                 THE COURT:     Uh-huh.

   25                 PROSPECTIVE JUROR:       So then that's when I told him




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    1    what happened in the restroom.

    2                 THE COURT:     Okay.    And did -- when you had this

    3    conversation with Prospective Juror No. 3, where did you have

    4    that conversation at?

    5                 PROSPECTIVE JUROR:       In the hallway.

    6                 THE COURT:     Okay.    Were other jurors present when

    7    you had this conversation?

    8                 PROSPECTIVE JUROR:       No.   It was just me and him.

    9                 THE COURT:     Okay.    All right.    We're going to --

   10    given your statements about having some doubt about being fair

   11    and impartial in this case, we're going to excuse you as a

   12    juror.

   13          I'm going to ask if -- well, first I'm going to ask you

   14    not to share the conversations that we have had in here with

   15    any of the other jurors.

   16                 PROSPECTIVE JUROR:       Okay.

   17                 THE COURT:     I'm going to -- I'm going to ask the

   18    clerk to have you escorted into the jury room, and if you could

   19    just wait there, and then we will have some further

   20    instructions for you.

   21                 PROSPECTIVE JUROR:       Okay, sir.

   22                 THE COURT:     All right.      So if you can wait one

   23    minute, and Madam Clerk, if you could escort Mr. Diaz into the

   24    jury room, and then have Prospective Juror No. 3 come out.

   25                 THE COURTROOM DEPUTY:       Mr. Diaz, if you could please




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    1    follow me.

    2                 THE COURT:     All right.     Let's bring in Prospective

    3    Juror No. 3.

    4                 MR. FREEDMAN:      Your Honor, can I make one request?

    5                 THE COURT:     Yes.

    6                 MR. FREEDMAN:      I know the Court has now warned the

    7    defendant, but given that other members of defendant's family

    8    have been involved, perhaps a warning would be appropriate.

    9                 THE COURT:     Trust me, we will be talking.

   10                 THE COURTROOM DEPUTY:       All rise.

   11                 (PROSPECTIVE JUROR 3 ENTERS THE COURTROOM)

   12                 THE COURT:     Good morning.     Is it Mr. Barragan?

   13                 PROSPECTIVE JUROR:       Barragan is fine.

   14                 THE COURT:     Sorry.

   15                 PROSPECTIVE JUROR:       No worries.

   16                 THE COURT:     I understand that you may have had some

   17    contact with the defendant this morning?

   18                 PROSPECTIVE JUROR:       That is correct, Your Honor.

   19                 THE COURT:     Can you tell me what happened?

   20                 PROSPECTIVE JUROR:       As I got out of the elevator, I

   21    was approaching the restroom to use the restroom before I came

   22    in here; the defendant was exiting the restroom and proceeded

   23    to greet me.

   24                 THE COURT:     Okay.    What did he say?

   25                 PROSPECTIVE JUROR:       It was something in the nature




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    1    of how are you doing?

    2                  THE COURT:    Okay.    What did you say?

    3                  PROSPECTIVE JUROR:      I ignored it.     I kept on

    4    walking.

    5                  THE COURT:    Did you subsequently -- well, were there

    6    any other jurors who were around when the defendant greeted

    7    you?

    8                  PROSPECTIVE JUROR:      The only other person that was

    9    around was, I believe, the last name was Mr. Diaz, but he was

   10    sitting towards the middle here on one of the benches.

   11            I don't know if he saw or heard it, but he was in that

   12    area.

   13                  THE COURT:    Okay.    Did you subsequently have any

   14    contact with any of the other jurors about the defendant

   15    greeting you?

   16                  PROSPECTIVE JUROR:      With Mr. Diaz.     That was it.

   17                  THE COURT:    Okay.    What did you and Mr. Diaz say to

   18    each other?

   19                  PROSPECTIVE JUROR:      Just in regards that I asked,

   20    hey, this guy attempted to greet me, what is going on.              I

   21    believe we were informed to report that to the clerk or the

   22    judge.

   23            So, when I told him that, oh yeah, he said -- he had said

   24    "what is up" to me in the bathroom.          He said, "Good morning,

   25    how is it going."      He responded, "not too good today."




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    1                 THE COURT:     Okay.    Let me ask you, was that the sum

    2    total of the contact that you had with the defendant?

    3                 PROSPECTIVE JUROR:       That was it.

    4                 THE COURT:     The sum total of the conversations you

    5    had with other jurors?

    6                 PROSPECTIVE JUROR:       The other jurors were just stuff

    7    about the morning, the drive in, and whatnot.

    8                 THE COURT:     But you didn't have any contact with any

    9    other jurors about this.

   10                 PROSPECTIVE JUROR:       In regards to this, no.

   11                 THE COURT:     I may have asked you this before, but

   12    did -- other than Mr. Diaz, were there any other jurors around

   13    when this happened?

   14                 PROSPECTIVE JUROR:       Not to my knowledge.

   15                 THE COURT:     Okay.     Do you -- taking into account

   16    this contact you had with the defendant, do you still feel you

   17    can be fair and impartial as to both sides in this case?

   18                 PROSPECTIVE JUROR:       I believe the defendant has

   19    tried to gain sympathy.

   20          I mean, I took college classes -- I did political science,

   21    teaching psychology, you know, courses and whatnot, you know,

   22    these are behaviors that a person is trying to gain, you know,

   23    sympathy from.     An individual that is essentially going to

   24    decide they are guilty or innocent.

   25                 THE COURT:     Uh-huh.




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    1                 PROSPECTIVE JUROR:       It would be difficult at this

    2    point, because, you know, I work with students and a lot of

    3    them have gotten in trouble with the law, and are products of

    4    second opportunities, or if they weren't, things have been

    5    very, very difficult for them.

    6          The likes of this put all of this into context, what is

    7    really going on here.       If this individual was trying to make

    8    contact with me, did he really do something wrong?

    9          So it kind of leaves me, okay, why would he even try to

   10    make any contact or communication with me?

   11                 THE COURT:     Uh-huh.    Okay.    Let me see counsel at

   12    sidebar.

   13                               (Sidebar begins.)

   14                 THE COURT:     Okay.     Does either counsel wish to have

   15    the Court make any further inquiries?

   16                 MR. FREEDMAN:      No, sir.

   17                 THE COURT:     Okay.     What is the government's

   18    position?

   19                 MR. FREEDMAN:      He has expressed, I think, that his

   20    opinions have been swayed.

   21          I think one difference is that he avoided contacting and

   22    seems to be, of the two jurors, the one who recognized the need

   23    to report it to the Court.

   24          So it's somewhat less concerning than the other juror.

   25                 THE COURT:     What is the defense position?




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    1                 MR. MCDERMOTT:      It would appear, based upon the

    2    contact -- I don't -- this is a juror I wanted to keep

    3    honestly.    Now it sounds like I have got a juror that has been

    4    swayed unfortunately in the other direction.

    5          So I would ask the Court's indulgence on letting this guy

    6    go at this point in time.

    7                 MR. FREEDMAN:      We won't object.

    8                 THE COURT:     I think you are right.

    9          So, I will excuse this juror.

   10          Now, having heard from these two jurors, I am seriously

   11    contemplating revoking his bond.

   12          I think this was a deliberate attempt to gain sympathy

   13    from these jurors, from him.        I don't know about his father,

   14    but certainly from the defendant.

   15          Given what the Court repeatedly admonished the jurors, the

   16    parties, you know, think about it.

   17                 MR. MCDERMOTT:      I understand, Judge.       I just, again,

   18    I apologize to the Court.        I should have done a better job

   19    myself in reinforcing it.        I know, I know.      It's just, you

   20    know, we have had six months of without bond or with basically

   21    the signature bond.      He's made all of the appearances.

   22          Up to this point, I haven't had an issue with him as far

   23    as responding to my requests to get stuff done, be there when

   24    stuff needs to be done.

   25          I don't know that -- you know, it seems to be awfully




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    1    severe.

    2            I think the good prior acts showing is probably

    3    appropriate, and I would certainly ask the Court to consider

    4    that.

    5                    MR. FREEDMAN:    We would request that the Court would

    6    discipline here.      I don't know what else is going to get

    7    through to him.

    8                    THE COURT:   I will certainly consider it.        It's

    9    certainly a consideration at this point.

   10            I have been doing this for quite a while, both as a trial

   11    lawyer, prosecutor, defense lawyer, as a judge; I have never

   12    had a defendant so blatantly do something like this.

   13            Not once.    Once, you can understand, but just beyond the

   14    pale.

   15                    MR. FREEDMAN:    I would like to note for the record,

   16    I was also greeted by the defendant this morning coming out of

   17    the courtroom door, and I said nothing in response, but now

   18    that this has come up, I failed to mention it.

   19                    MR. MCDERMOTT:   So we have a concurrent pattern.

   20            Okay.    Well, I mean, you know, a habit I should have

   21    broken him of.      Were you swayed?

   22                    THE COURT:   I would laugh, but you can't -- you

   23    can't make this stuff up.

   24                    MR. MCDERMOTT:   I know, Judge.

   25                    THE COURT:   In any event, let's excuse this juror.




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     1                 MR. MCDERMOTT:      Yes, sir.

     2                 THE COURT:     Then we will resume jury selection.

     3                 MR. FREEDMAN:      Now, we have three empty seats, does

     4   the government still have more preemptory challenges?                We would

     5   like some more, given -- given how this has transpired and what

     6   has been going on here.

     7                 MR. MCDERMOTT:      I don't object.      If the Court wants

     8   to consider it, I recognize that that was our mistake.

     9          Although, I have previously passed on these two, so I will

   10    tell you my feeling -- what I felt about these two.

   11                  THE COURT:     We will address that.

   12           Let's get -- see how much we can get done today.

   13           The next time we're over here -- the next time we're over

   14    here, we will address whether we are going to give the

   15    government another preemptory challenge.

   16                  MR. MCDERMOTT:      Yes, sir.

   17                                   (Sidebar ends.)

   18                  THE COURT:     All right.     Sir, first of all, I want to

   19    stress, you certainly didn't do anything wrong.

   20           However, I am going to have to excuse you as a juror.                I

   21    want to thank you for your candor, and thank you for your

   22    service.

   23           And you can return to the jury assembly room on the first

   24    floor.

   25                  PROSPECTIVE JUROR:       Will I stay there for the




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     1   remainder?

     2                 THE COURT:     No, you can tell them that you have been

     3   excused.

     4                 PROSPECTIVE JUROR:       I have been excused.       Thank you

     5   very much.     Have a good day.

     6                 THE COURTROOM DEPUTY:        All rise.

     7                 (PROSPECTIVE JUROR 3 EXITS THE COURTROOM.)

     8                 THE COURTROOM DEPUTY:        You may be seated.

     9                 THE COURT:     I'm going to ask the clerk to also -- if

   10    you could have Juror No. 2 brought in, and I will formally

   11    excuse him as well.

   12                  THE COURTROOM DEPUTY:        All rise.

   13                 (PROSPECTIVE JUROR 2 ENTERS THE COURTROOM.)

   14                  THE COURT:     All right.     Sir, we're going to excuse

   15    you, and ask you not have any conversations with any

   16    prospective jurors about what we have talked about.

   17           You can return to the jury assembly room on the first

   18    floor and tell them you have been excused.

   19                  PROSPECTIVE JUROR:       Okay, sir.

   20                  THE COURT:     Thank you.

   21                  PROSPECTIVE JUROR:       Shall I exit this way?

   22                  THE COURT:     That's fine.

   23           All right.     The government has made a request to have

   24    additional preemptory challenges awarded to them as a result of

   25    these two jurors having to be excused.




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     1          As I understand it, the government has one preemptory

     2   challenge left.

     3          Why don't we go with where we are at this point, and then

     4   assuming you exercise that, and if you feel the need to have

     5   another one, you can raise that at that time.

     6                 MR. FREEDMAN:      Thank you, Your Honor.

     7                 THE COURT:     All right.     Let's bring the jury in and

     8   resume with jury selection.

     9          And again, I want to stress to the parties and anyone

   10    affiliated with these parties, you are not to have any contact

   11    with these jurors.

   12           And if anybody has any further contact with these jurors,

   13    I'm going to consider that jury tampering, which is a

   14    punishable offense.

   15                  THE COURTROOM DEPUTY:        All rise.

   16                   (JURY ENTERS THE COURTROOM AT 9:24 A.M.)

   17                  THE COURTROOM DEPUTY:        You may be seated.

   18                  THE COURT:     All right.     We're going to resume with

   19    jury selection this morning.

   20           I believe yesterday Ms. Alford was called.

   21           We're going to put you at the end of our list here today,

   22    and then we will hear from you.

   23           I'm going to ask the clerk to call the next prospective

   24    juror.

   25                  THE COURTROOM DEPUTY:        Daniel Rodriguez.




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     1                  PROSPECTIVE JUROR:      Good morning.

     2                  THE COURT:    Mr. Rodriguez, did you hear the

     3   questions I asked of the other prospective jurors yesterday?

     4                  PROSPECTIVE JUROR:      Yes, I did.

     5                  THE COURT:    Is there anything I inquired about that

     6   in good conscience you should disclose?

     7                  PROSPECTIVE JUROR:      No.

     8                  THE COURT:    Anything about the length of the trial

     9   that would prevent you from serving?

   10                   PROSPECTIVE JUROR:      Yes.

   11                   THE COURT:    Sir, if you could come over here,

   12    please?

   13                                 (Sidebar begins.)

   14                   PROSPECTIVE JUROR:      Good morning.      My job does not

   15    pay for jury duty.       I cannot be out for five days, if that, or

   16    more than that.

   17                   THE COURT:    Okay.    Are you married?

   18                   PROSPECTIVE JUROR:      No I'm not married.

   19                   THE COURT:    Is there anybody else living in your

   20    household?

   21                   PROSPECTIVE JUROR:      Yes.

   22                   THE COURT:    Brother and mom and dad.

   23           Okay.    Do your parents work?

   24                   PROSPECTIVE JUROR:      Yes.

   25                   THE COURT:    What does your father do?




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     1                 PROSPECTIVE JUROR:       My father works in the kitchen

     2   at a restaurant in Santa Barbara.

     3                 THE COURT:     What does your mom do?

     4                 PROSPECTIVE JUROR:       She works at elderly living.

     5                 THE COURT:     Okay.    Is both your mother and father

     6   working full-time?

     7                 PROSPECTIVE JUROR:       Yes.

     8                 THE COURT:     How old is your brother?

     9                 PROSPECTIVE JUROR:       My brother is 28.

   10                  THE COURT:     Okay, is he working?

   11                  PROSPECTIVE JUROR:       Yes, he is working.

   12                  THE COURT:     What does he do?

   13                  PROSPECTIVE JUROR:       He works for the county or city.

   14                  THE COURT:     Okay.    And what do you do?

   15                  PROSPECTIVE JUROR:       I work for BMW.

   16                  THE COURT:     BMW?

   17                  PROSPECTIVE JUROR:       BMW, yeah.

   18                  THE COURT:     A dealer?

   19                  PROSPECTIVE JUROR:       You call it a dealer.        It's a

   20    collision center made by the dealer.

   21                  THE COURT:     What do you do for them?

   22                  PROSPECTIVE JUROR:       A repair specialist.

   23                  THE COURT:     How many employees do they have at that

   24    facility?

   25                  PROSPECTIVE JUROR:       Eight.




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     1                 THE COURT:     Okay.    And what are your normal hours?

     2                 PROSPECTIVE JUROR:       8 to 5 or 6 to 9:30 p.m. I'm on

     3   commission, so I don't get paid by the hour, I get paid on

     4   whatever I do.

     5                 THE COURT:     Okay.    And how many days a week do you

     6   work?

     7                 PROSPECTIVE JUROR:       Five.

     8                 THE COURT:     Okay.    And normally what days do you

     9   work?

   10                  PROSPECTIVE JUROR:       Monday through Friday.

   11            I do commute an hour and a half every single day.

   12                  THE COURT:     Where is it?

   13                  PROSPECTIVE JUROR:       Right here in Huntington Park,

   14    Ventura County.      Circumstances don't allow me to live around

   15    here.

   16                  THE COURT:     Okay.    Do you contribute financially to

   17    your household?

   18                  PROSPECTIVE JUROR:       I do.    As far as mortgage, food,

   19    things from the laundry, that's what I do, those types of

   20    things.

   21                  THE COURT:     Get mom's home cooking.

   22                  PROSPECTIVE JUROR:       Well, my parents are never home.

   23    It's difficult.

   24                  THE COURT:     Have a seat there.       Thank you.

   25                  PROSPECTIVE JUROR:       Thank you.




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     1                  THE COURT:    Okay.    What is the parties' position?

     2                  MR. MCDERMOTT:     Judge, I'm not going to offer one.

     3   I'm going to curry my favor as much as I can with the Court.                I

     4   think we have forfeited our ability to --

     5                  MR. FREEDMAN:     I don't have a strong view one way or

     6   other.

     7                  THE COURT:    I'm probably going to excuse him.

     8                  MR. MCDERMOTT:     All right.

     9                  THE COURT:    Sir.

   10           Okay.    Why don't you resume your seat in the audience and

   11    we will let you know.

   12                   PROSPECTIVE JUROR:      Thank you.

   13                                   (Sidebar ends.)

   14                   THE COURT:    All right.      Let's call the name of

   15    another prospective juror.

   16                   THE COURTROOM DEPUTY:       Gretchen Lindgreen.

   17                   THE COURT:    Good morning.

   18                   PROSPECTIVE JUROR:      Good morning.

   19                   THE COURT:    Did you hear the questions I had of the

   20    other prospective jurors yesterday?

   21                   PROSPECTIVE JUROR:      Yes.

   22                   THE COURT:    Is there anything that in good

   23    conscience you should disclose to us?

   24                   PROSPECTIVE JUROR:      No.

   25                   THE COURT:    Anything about the length of the trial




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     1   that would prevent you from serving?

     2                 PROSPECTIVE JUROR:       No.

     3                 THE COURT:     Anything about the nature of these

     4   charges that would cause you concerns about your ability to be

     5   fair and impartial to both sides?

     6                 PROSPECTIVE JUROR:       No.

     7                 THE COURT:     If you could take seat two on the first

     8   row, please.

     9          Let me just ask everybody in here, have any of you either

   10    read or heard anything about this case during the last

   11    48 hours?

   12                  PROSPECTIVE JUROR:       No.

   13                  THE COURT:     Any of you had any contact with anybody

   14    about this case including any of the participants during the

   15    last 48 hours?

   16                  PROSPECTIVE JURORS:       No.

   17                  THE COURT:     Okay.    Even just to say hello?        Anybody?

   18                  PROSPECTIVE JURORS:       No.

   19                  THE COURT:     Let's see if we can get you a

   20    microphone.

   21           And do you have a copy of the background questionnaire?

   22                  PROSPECTIVE JUROR:       Yes.

   23                  THE COURT:     If you could tell us a little bit about

   24    yourself?

   25                  PROSPECTIVE JUROR:       My name is Gretchen Lindgreen.




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     1   I live in Santa Clarita, California.           I have lived there on and

     2   off for 30 years.       I spent some time in the bay area and some

     3   time in Orange County.

     4          I am married.

     5          I have one daughter, who will be two in July.

     6          I have a bachelor's degree and master's degree.

     7          No military service.

     8          My occupation is I am a high school guidance counselor.              I

     9   have been doing that for about three years.

   10                  THE COURT:     Which high school?

   11                  PROSPECTIVE JUROR:       It's Opportunities for Learning.

   12    It is an independent study charter high school.

   13                  THE COURT:     Okay.

   14                  PROSPECTIVE JUROR:       My husband is an English teacher

   15    and baseball coach at West Ranch High School in Santa Clarita.

   16                  THE COURT:     Have you ever served on a jury before?

   17                  PROSPECTIVE JUROR:       No.

   18                  THE COURT:     Ever been a party or witness in a civil

   19    or criminal case?

   20                  PROSPECTIVE JUROR:       No.

   21                  THE COURT:     And have you had a chance to look at the

   22    criminal case questionnaire?

   23                  PROSPECTIVE JUROR:       Yes.

   24                  THE COURT:     Do you have any yes or affirmative

   25    answers to any of those questions?




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     1                 PROSPECTIVE JUROR:       I do -- I believe Number 29.

     2                 THE COURT:     Okay.

     3                 PROSPECTIVE JUROR:       I have three uncles who are in

     4   the Sheriff's Department.

     5          One was a chief.      He is now retired.       He is working for

     6   the relief association.        He is the executive director of that.

     7          Another is a lieutenant and one is a captain.

     8          I also have an aunt, who is a defense attorney for the

     9   County of Los Angeles.

   10           I have a cousin who was an attorney for the federal

   11    government in Washington D.C. for the commerce department.

   12                  THE COURT:     Okay.

   13                  PROSPECTIVE JUROR:       He's now an attorney in Los

   14    Angeles doing employment and labor law.

   15                  THE COURT:     Okay.    When you said you had relatives

   16    that are employed with the Sheriff's Department, which

   17    Sheriff's Department is that?

   18                  PROSPECTIVE JUROR:       Los Angeles.

   19                  THE COURT:     Los Angeles County?

   20                  PROSPECTIVE JUROR:       Yes.

   21                  THE COURT:     And do you know what they do for the

   22    Sheriff's Department?        Do they work patrol?

   23                  PROSPECTIVE JUROR:       I believe one uncle is still on

   24    patrol.

   25                  THE COURT:     One is a lieutenant and one is a




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     1   captain?

     2                 PROSPECTIVE JUROR:       The captain, he is detective in

     3   the cyber-something.

     4                 THE COURT:     Okay.    Ever had discussion with them

     5   about the work that they do or their cases?

     6                 PROSPECTIVE JUROR:       Yes.

     7                 THE COURT:     Do you think you can put aside any of

     8   those discussions and judge this case, based solely on the

     9   evidence you hear here in Court?

   10                  PROSPECTIVE JUROR:       Yes.

   11                  THE COURT:     And you had an aunt that is a defense

   12    attorney?

   13                  PROSPECTIVE JUROR:       Yes.   So she was a defense

   14    attorney for the Sheriff's Department.            She is now for the

   15    County of Los Angeles.

   16                  THE COURT:     Okay.    And you had a cousin who used to

   17    work for the commerce department?

   18                  PROSPECTIVE JUROR:       Yes.

   19                  THE COURT:     Any other yes or affirmative responses

   20    to any of the other questions?

   21                  PROSPECTIVE JUROR:       No.

   22                  THE COURT:     Pass for cause as to the newly-seated

   23    juror?

   24                  MR. FREEDMAN:      Yes, Your Honor.      Could we have a

   25    brief sidebar?




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     1                 THE COURT:     Yes.

     2                 MR. FREEDMAN:      Thank you.

     3                               (Sidebar begins.)

     4                 MS. RYKKEN:     I may have accidently spoken with

     5   Juror 2 yesterday.       I don't know if it's her.         I know that it

     6   was someone that was at the door yesterday who was having

     7   trouble, so I said, "you have to stand back and try it again."

     8   I don't know if it's her or not, but she looked kind of like

     9   her.

   10                  THE COURT:     Okay.

   11                  MS. RYKKEN:     She wasn't wearing a badge, so I don't

   12    remember anything else.

   13                  THE COURT:     Okay.    So the person you had that

   14    interlude with wasn't wearing a badge?

   15                  MS. RYKKEN:     No.

   16                  THE COURT:     Okay.

   17                  MS. RYKKEN:     It was at 5:30, when we left yesterday,

   18    maybe 5:45.

   19                  MR. MCDERMOTT:      I think she already said she had no

   20    contact.

   21                  MS. RYKKEN:     Thank you.

   22                  THE COURT:     Excuse me, counsel.       Unless somebody has

   23    an objection, what I intend to do is go ahead and see if we can

   24    fill those empty seats before we go back to exercise

   25    challenges.




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     1                 MS. RYKKEN:     Thank you.

     2                 THE COURT:     Any additional questions by counsel for

     3   the newly-seated juror?

     4                 MR. FREEDMAN:      No, Your Honor.

     5                 MR. MCDERMOTT:      Not by defense, sir.

     6                 THE COURT:     Thank you.       Let's call the name of

     7   another prospective juror, please.

     8                 THE COURTROOM DEPUTY:        Belkis Miller.

     9                 THE COURT:     Did you hear the questions I asked of

   10    the other prospective jurors yesterday?

   11                  PROSPECTIVE JUROR:       Yes, I did.

   12                  THE COURT:     Is there anything that I inquired about

   13    that in good conscience you should disclose to us?

   14                  PROSPECTIVE JUROR:       No.    I have a few yes answers to

   15    the questionnaires.

   16                  THE COURT:     Okay.    We will get to that.

   17           Is there anything about the nature of these charges that

   18    cause you to have concerns about your ability to be fair and

   19    impartial to both sides?

   20                  PROSPECTIVE JUROR:       No.

   21                  THE COURT:     Anything about the length of the trial

   22    that would prevent you from serving?

   23                  PROSPECTIVE JUROR:       Yes.

   24                  THE COURT:     If could you come over here, please.

   25                                (Sidebar begins.)




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     1                 THE COURT:     Okay.    Good morning.     What is it about

     2   the length of the trial that causes you to have concerns?

     3                 PROSPECTIVE JUROR:       Because I have two kids, 13 and

     4   11, and they go to school.         And I have to drop them off to

     5   school and have to pick them up and take them to all of the

     6   activities they have.        That is the only reason.

     7          And also because I'm self-employed.           If I don't work, I

     8   don't have an income.

     9                 THE COURT:     Are you married?

   10                  PROSPECTIVE JUROR:       Yes.

   11                  THE COURT:     Okay.    What does your husband do?

   12                  PROSPECTIVE JUROR:       He's a police officer, LAPD.

   13                  THE COURT:     LAPD?

   14                  PROSPECTIVE JUROR:       Yes.

   15                  THE COURT:     And what -- where does he work at?

   16                  PROSPECTIVE JUROR:       Van Nuys Station at 4:00 in the

   17    morning.

   18                  THE COURT:     What city do you reside in?

   19                  PROSPECTIVE JUROR:       I'm sorry?

   20                  THE COURT:     What city do you reside in?

   21                  PROSPECTIVE JUROR:       Sherman Oaks.

   22                  THE COURT:     Your children are 11 and 13?

   23                  PROSPECTIVE JUROR:       Yes.

   24                  THE COURT:     Okay.    And what time do they normally go

   25    to school?




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     1                 PROSPECTIVE JUROR:       They go to school, usually at

     2   7:50.

     3                 THE COURT:     Okay.    And do they both attend the same

     4   school?

     5                 PROSPECTIVE JUROR:       Yes.

     6                 THE COURT:     Where is the school located?

     7                 PROSPECTIVE JUROR:       It's a couple of miles from my

     8   house.

     9                 THE COURT:     Back in the day, I used to walk.

   10                  PROSPECTIVE JUROR:       I know, but it is different now.

   11    Crazy people out there.

   12                  THE COURT:     Believe me, I know.

   13                  PROSPECTIVE JUROR:       He's going to go to Notre Dame.

   14    It's only three blocks.        He's going to have to walk with a

   15    group of kids.

   16                  THE COURT:     Okay.    What are your husband's hours?

   17                  PROSPECTIVE JUROR:       I believe he works from

   18    4:00 a.m. to 2:00 p.m., but then he does the Dodger's Stadium

   19    and he works at Staples for overtime and stuff that he does.

   20                  THE COURT:     Okay.    And what do you do?

   21                  PROSPECTIVE JUROR:       I'm a medical esthetician.

   22                  THE COURT:     How often do you work?

   23                  PROSPECTIVE JUROR:       I work four days a week,

   24    sometimes five.      It depends how busy.

   25                  THE COURT:     Where do you work?




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     1                 PROSPECTIVE JUROR:       At Westlake.

     2                 THE COURT:     Westlake?

     3                 PROSPECTIVE JUROR:       Westlake Village.

     4                 THE COURT:     What are your hours?

     5                 PROSPECTIVE JUROR:       My hours could be like from

     6   9:00 a.m. to 9:00 p.m.        I usually work 12-hour days.

     7                 THE COURT:     Are you working full-time?

     8                 PROSPECTIVE JUROR:       I believe full-time.       I work

     9   three or four days, but it's a bunch of hours in one day.

   10                  THE COURT:     Okay.    And the name of your employer is?

   11                  PROSPECTIVE JUROR:       Medical Esthetics.

   12                  THE COURT:     You are literally self-employed?

   13                  PROSPECTIVE JUROR:       Yes, I am.

   14                  THE COURT:     Okay.    I'm sorry, what do you do?

   15                  PROSPECTIVE JUROR:       Medical esthetics, skin care.

   16                  THE COURT:     Got you.    Do you have relatives in the

   17    area?

   18                  PROSPECTIVE JUROR:       My mom.

   19                  THE COURT:     Where does she live?

   20                  PROSPECTIVE JUROR:       She lives about a mile away, but

   21    she doesn't drive.       She takes a bus.

   22                  THE COURT:     Okay.

   23                  PROSPECTIVE JUROR:       And my husband's mother, they

   24    live together.      She had her driver's license taken away.            She

   25    hit somebody on a bicycle.




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     1                 THE COURT:     Okay.

     2                 PROSPECTIVE JUROR:       She doesn't drive any more.

     3                 THE COURT:     She's not giving lessons to the

     4   13 year-old?

     5                 PROSPECTIVE JUROR:       No.   She was with my son when

     6   this happened.

     7                 THE COURT:     Tell you what, assuming the lawyers

     8   agree, I'm going to put you at the end of the list.

     9                 PROSPECTIVE JUROR:       Okay.

   10                  THE COURT:     Then we will decide.

   11                  PROSPECTIVE JUROR:       Sounds good.

   12                  THE COURT:     We will let you know.        Just sit in the

   13    audience for now.

   14                                   (Sidebar ends.)

   15                  THE COURT:     Okay.    Let's call the name of another

   16    prospective juror.

   17                  THE COURTROOM DEPUTY:        Mylinne Apiado.

   18                  PROSPECTIVE JUROR:       Good morning.

   19                  THE COURT:     Good morning.      Did you hear the

   20    questions I asked the other prospective jurors yesterday?

   21                  PROSPECTIVE JUROR:       Yes, I did.

   22                  THE COURT:     Is there anything that I have inquired

   23    that in good conscience you should disclose to us?

   24                  PROSPECTIVE JUROR:       I work in the healthcare

   25    industry.




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     1                 THE COURT:     Okay.    Is there anything about the

     2   length of this trial that would prevent you from serving?

     3                 PROSPECTIVE JUROR:       I'm afraid, yes.

     4                 THE COURT:     I'm sorry?

     5                 PROSPECTIVE JUROR:       Yes.

     6                 THE COURT:     Okay.

     7                               (Sidebar begins.)

     8                 THE COURT:     Go ahead.

     9                 PROSPECTIVE JUROR:       I'm a nurse.     I have a

   10    five-year-old and one-year-old daughter, and my husband takes

   11    care of them.      My husband already missed a job last night.

   12                  THE COURT:     Sorry?

   13                  PROSPECTIVE JUROR:       He missed a job.      So if I did

   14    this for the period of five days or so --

   15                  THE COURT:     Uh-huh.

   16                  PROSPECTIVE JUROR:       -- we are going to suffer.           Me

   17    and my husband.

   18           So I'm afraid I can't -- we -- so, I live in Ventura

   19    County.    I have a five-year-old and a one-year-old daughter, me

   20    and my husband take care of them.

   21           I'm a nurse.     And I'm familiar with a heart monitor, and I

   22    have seen it in some of my patients.

   23                  THE COURT:     Okay.    For now, let's talk about what

   24    days of week do you work?

   25                  PROSPECTIVE JUROR:       No particular days, Your Honor.




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     1                 THE COURT:     Okay.    And what does your husband do for

     2   a living?

     3                 PROSPECTIVE JUROR:       He's a factory worker.

     4                 THE COURT:     Does he work full-time?

     5                 PROSPECTIVE JUROR:       Yes.

     6                 THE COURT:     When you are working?

     7                 PROSPECTIVE JUROR:       He's taking care of the kids.

     8                 THE COURT:     He takes care of the kids.

     9                 PROSPECTIVE JUROR:       Yes.

   10                  THE COURT:     And what is your normal schedule?

   11                  PROSPECTIVE JUROR:       Morning -- 7:00 in the morning.

   12                  THE COURT:     I take it he must work then?

   13                  PROSPECTIVE JUROR:       At night.

   14                  THE COURT:     He works at night, so he's taking care

   15    of the kids during the day?

   16                  PROSPECTIVE JUROR:       Yes.

   17                  THE COURT:     Now who is your employer?

   18                  PROSPECTIVE JUROR:       Ensign, Incorporated.        But I

   19    work at Glenwood Center.

   20                  THE COURT:     How many employees does your employer

   21    have?

   22                  PROSPECTIVE JUROR:       In our facility, probably like

   23    200 or so.

   24                  THE COURT:     Okay.    Are you reimbursed for jury

   25    service?




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     1                 PROSPECTIVE JUROR:       I don't know.

     2                 THE COURT:     Okay.    All right.     What we're going to

     3   need to do is I need to get a phone number for your employer,

     4   okay, And I need to find out whether they pay you for jury

     5   service.

     6                 PROSPECTIVE JUROR:       Uh-huh.

     7                 THE COURT:     And for what period of time.         So can you

     8   give us a phone number so we can call them?

     9                 PROSPECTIVE JUROR:       Uh-huh.

   10                  THE COURT:     If you can provide that phone number --

   11                  PROSPECTIVE JUROR:       Yes.

   12                  THE COURT:     -- to the clerk, then we will call them.

   13                  PROSPECTIVE JUROR:       Okay.

   14                  THE COURT:     You didn't ask them whether they paid

   15    you for jury service?

   16                  PROSPECTIVE JUROR:       Probably they would and wouldn't

   17    have a problem with that.         I have been there for five years.

   18    My manager knows I'm in jury duty right now.

   19                  THE COURT:     Okay.    So I think what we're going to

   20    do, if there is an issue about them paying you for jury

   21    service, you can let me know that.

   22                  PROSPECTIVE JUROR:       Uh-huh.

   23                  THE COURT:     But I don't think we can excuse you.

   24                  PROSPECTIVE JUROR:       Uh-huh.

   25                  THE COURT:     If they are going to reimburse you for




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     1   your jury service.

     2                 PROSPECTIVE JUROR:       Okay.    Even if I know the Holter

     3   Labs?

     4                 THE COURT:     There are a lot of people who know about

     5   Holter monitors, people who wear those monitors.

     6                 PROSPECTIVE JUROR:       Okay.    I guess I have to travel

     7   from Ventura to here?

     8                 THE COURT:     Pretty much.      Depending on where you

     9   live in Ventura, we may be able to -- the Court may be able to

   10    put you up in a hotel if you would like that to save you the

   11    drive.

   12                  PROSPECTIVE JUROR:       I have to talk to my husband

   13    about that.

   14                  THE COURT:     Okay.    It might be a nice vacation from

   15    the kids -- I'm just kidding.

   16            So, I'm going to -- is there anything about the nature of

   17    these charges that causes you to have questions about your

   18    ability to be fair and impartial to both sides?

   19                  PROSPECTIVE JUROR:       I believe I know about the

   20    device.

   21                  THE COURT:     Well, that's okay.

   22            Yeah, we will talk about that.

   23            Do you know how the device works?

   24                  PROSPECTIVE JUROR:       Yes.

   25                  THE COURT:     Are you ever involved in purchasing




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     1   those devices?

     2                 PROSPECTIVE JUROR:       No.    With the patients, we take

     3   care of the patients, and the monitor and the pacemaker and all

     4   of that.

     5                 THE COURT:     Okay.    Okay.    So if you could take that

     6   empty chair there on the first row.

     7                 PROSPECTIVE JUROR:       Thank you.

     8                 THE COURT:     Okay.

     9                                  (Sidebar ends.)

   10                  THE COURT:     I'm sorry, what is your last name?

   11                  PROSPECTIVE JUROR:       Apiado.

   12                  THE COURT:     If you could take the microphone and

   13    take the background questionnaire and tell us a little bit

   14    about yourself.

   15                  PROSPECTIVE JUROR:       My name is Mylinne Apiado.

   16           I live in Ventura County.         I have been there for almost

   17    ten years now.

   18           Before that, I lived in the Philippines.             I'm married.    I

   19    have two daughters, 5 and 1 years old.

   20                  THE COURT:     Your educational background?

   21                  PROSPECTIVE JUROR:       I have a bachelor's degree and

   22    an associate degree.

   23           I have no military service.           I'm a nurse.

   24                  THE COURT:     Okay.    Who are you employed by?

   25                  PROSPECTIVE JUROR:       I work at Glenwood Care Center




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     1   in Ventura County.

     2                 THE COURT:     Okay.    Your what does your husband do

     3   for a living?

     4                 PROSPECTIVE JUROR:       My husband is factory worker.

     5   The name of his company, I believe is Catalytic Solution.

     6                 THE COURT:     Ever served on a jury before?

     7                 PROSPECTIVE JUROR:       No.

     8                 THE COURT:     Ever been a party or witness in a civil

     9   or criminal case?

   10                  PROSPECTIVE JUROR:       No.

   11                  THE COURT:     Okay.    Have you had a chance to look at

   12    the criminal case questionnaire?

   13                  PROSPECTIVE JUROR:       Yes.

   14                  THE COURT:     Do you have a yes or affirmative answers

   15    to any of those questions.

   16                  PROSPECTIVE JUROR:       Yes.

   17                  THE COURT:     Okay.

   18                  PROSPECTIVE JUROR:       Number 12, I work in the

   19    healthcare industry.

   20           And Number 14, I'm familiar with the heart rate monitoring

   21    devices.     Some of my patients may wear them.

   22                  THE COURT:     Okay.

   23                  PROSPECTIVE JUROR:       I have a specialized training in

   24    healthcare, and we have training and in-services in our

   25    facility about fraud, Medicare, and insurance services.




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     1           And 21, I believe healthcare laws should be revised.

     2   That's all.

     3                 THE COURT:     Can you just repeat that last sentence

     4   you said?

     5                 PROSPECTIVE JUROR:       Number 21?

     6                 THE COURT:     Number 21.

     7                 PROSPECTIVE JUROR:       I think laws related to

     8   healthcare should be revised.

     9                 THE COURT:     Okay.    With respect to losses?

   10                  PROSPECTIVE JUROR:       I do.

   11                  THE COURT:     Okay.    Can you tell me what you mean by

   12    that?

   13                  PROSPECTIVE JUROR:       Before the healthcare change,

   14    our facility is always booked, like, it's always, always full.

   15                  THE COURT:     Uh-huh.

   16                  PROSPECTIVE JUROR:       Then after the healthcare has

   17    been changed --

   18                  THE COURT:     Uh-huh.

   19                  PROSPECTIVE JUROR:       -- we rarely are full.        Our

   20    facility is -- patients have been low, and some of the coverage

   21    has been changed, so patients before used to stay for a longer

   22    period of time, and then now that patients -- it's like a

   23    certain period that they have to stay.            And even if the patient

   24    feels that they need to stay more, a bit longer, the coverage

   25    is not -- the insurance is not going to cover all of the stay,




App. 0534                      UNITED STATES DISTRICT COURT
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     1   and then they have to pay out of pocket for that.

     2                 THE COURT:     Okay.

     3                 PROSPECTIVE JUROR:       Sometimes, it's frustrating for

     4   them.

     5                 THE COURT:     Okay.    Any other yes or affirmative

     6   responses to any of the other questions?

     7                 PROSPECTIVE JUROR:       No more.

     8                 THE COURT:     Okay.    Pass for cause as to the newly

     9   seated juror?

   10                  MR. FREEDMAN:      Yes, Your Honor.

   11                  MR. MCDERMOTT:      Yes, sir.

   12                  THE COURT:     Any additional questions for the newly

   13    seated juror?

   14                  MR. FREEDMAN:      No, Your Honor.

   15                  MR. MCDERMOTT:      Not by defense.

   16                  THE COURT:     All right.     Thank you.

   17            Let's call the name of another prospective juror, please.

   18                  THE COURTROOM DEPUTY:        James Hall.

   19                  THE COURT:     Good morning.

   20                  PROSPECTIVE JUROR:       Good morning, Your Honor.

   21                  THE COURT:     Did you hear the questions I asked of

   22    the other prospective jurors?

   23                  PROSPECTIVE JUROR:       I did.

   24                  THE COURT:     Is there anything I have inquired about

   25    that in good conscience you should disclose to us?




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     1                 PROSPECTIVE JUROR:       No.

     2                 THE COURT:     Anything about the length of the trial

     3   that would prevent you from serving?

     4                 PROSPECTIVE JUROR:       No.

     5                 THE COURT:     Anything about the nature of these

     6   charges that cause you to have any concerns about your ability

     7   to fair and impartial to both sides?

     8                 PROSPECTIVE JUROR:       No.

     9                 THE COURT:     All right.      Sir, if you could take the

   10    empty chair on the second row, please.

   11           And if you could take the microphone and take the

   12    background questionnaire and tell us a little bit about

   13    yourself.

   14                  PROSPECTIVE JUROR:       My name is James Hall.        I live

   15    in Azusa.     I have just lived a few months.

   16           My wife lived in New Hampshire where I was the last

   17    16 years.

   18           I'm remarried.      I have two children, plus two

   19    step-children.      So they range from a boy, 26, a girl, 24, and

   20    another boy, 23, and another one, 20.

   21           The 26 year old is a professional machinist in New

   22    Hampshire.

   23           The 24-year-old female is an artist and copywriter in the

   24    advertising industry in Dearborn, Michigan.

   25           My 23 year old is still in college in New Hampshire, in




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     1   computer science.

     2          My 20 year old is in college up in Eureka.

     3          I have got a bachelor's of science.

     4          I served in the U.S. Army, as well as the Tennessee

     5   National Guard and the Texas National Guard.

     6                 THE COURT:     What was your job in the army?

     7                 PROSPECTIVE JUROR:       I started enlisted as a

     8   mechanic, and then I was an infantry officer, and then an

     9   attack helicopter pilot.

   10                  THE COURT:     Does your wife work?

   11                  PROSPECTIVE JUROR:       She's a retired school teacher

   12    from Massachusetts, and just got her California credential, so

   13    she's looking for work.

   14                  THE COURT:     Ever served on a jury before?

   15                  PROSPECTIVE JUROR:       I have not.

   16                  THE COURT:     Ever been a party or witness in a civil

   17    or criminal case?

   18                  PROSPECTIVE JUROR:       Yes, civil case.

   19                  THE COURT:     When was that?

   20                  PROSPECTIVE JUROR:       25 years ago.

   21                  THE COURT:     Do you recall generally what it was

   22    about?

   23                  PROSPECTIVE JUROR:       Well, I brought a case against a

   24    cab company.      I had a car totaled, and my passenger and I were

   25    both injured from a cab that was being driven by someone who




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     1   didn't have a license.

     2                 THE COURT:     Anything about that experience that

     3   causes you to have concerns about your ability to be fair and

     4   impartial in this case?

     5                 PROSPECTIVE JUROR:       No.

     6                 THE COURT:     Have you had a chance to look at the

     7   criminal case questionnaire?

     8                 PROSPECTIVE JUROR:       I have.

     9                 THE COURT:     Do you have any yes or affirmative

   10    responses to any of those questions?

   11                  PROSPECTIVE JUROR:       Yes, I do, for 2, 12 and 21.

   12                  THE COURT:     Why don't we start with 2.

   13                  PROSPECTIVE JUROR:       Just a property crime.        I had a

   14    new car stolen from an airport parking once.

   15                  THE COURT:     Okay.

   16                  PROSPECTIVE JUROR:       My parents also had their house

   17    completely cleaned out once, on vacation.             So that kind of

   18    impacted us for a while.

   19                  THE COURT:     Was that here locally?

   20                  PROSPECTIVE JUROR:       No.   Their case was in

   21    Louisville, Kentucky, and my car was in Nashville, Tennessee.

   22                  THE COURT:     Anything about those experiences that

   23    caused you to have any concerns about your ability to be a fair

   24    and impartial juror?

   25                  PROSPECTIVE JUROR:       No.




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     1                 THE COURT:     What about Number 12?

     2                 PROSPECTIVE JUROR:       One of my brothers spent most of

     3   his career in medical services sales, not devices, though.

     4                 THE COURT:     Okay.    Do you know what product he was

     5   selling?

     6                 PROSPECTIVE JUROR:       Excuse me?

     7                 THE COURT:     Do you know what product he was selling?

     8                 PROSPECTIVE JUROR:       It was mainly in-home care of

     9   different sorts, both services, and lower level-trained.

   10                  THE COURT:     And 21?

   11                  PROSPECTIVE JUROR:       Just generically, I think there

   12    is plenty of room for improvement in our healthcare and our

   13    illegal drug laws and firearm laws, but nothing that is

   14    specific to this case.

   15                  THE COURT:     Okay.     Any other yes or affirmative

   16    answers to any of the other questions?

   17                  PROSPECTIVE JUROR:       No, sir.

   18                  THE COURT:     Any of your views in response to 21, do

   19    you have any concerns about those views making it difficult for

   20    you to be fair and impartial?

   21                  PROSPECTIVE JUROR:       No, I don't.

   22                  THE COURT:     Okay.     Pass for cause as to the newly

   23    seated juror?

   24                  MR. FREEDMAN:      Yes, Your Honor.

   25                  MR. MCDERMOTT:      Yes, sir.




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     1                 THE COURT:     Any additional questions to the newly

     2   seated juror?

     3                 MR. FREEDMAN:      No, Your Honor.

     4                 MR. MCDERMOTT:      I have none.

     5                 THE COURT:     All right.      I believe the next

     6   preemptory challenge rests with the defense.

     7                 MR. MCDERMOTT:      Sir, with the Court's permission, I

     8   would ask the Court to thank and excuse Juror No. 3.

     9                 THE COURT:     All right.      Miss, you are excused.

   10           Thank you very much for your service.            You can return to

   11    the jury assembly room on the first floor.

   12           All right.     I want to ask the clerk to call the name of

   13    another prospective juror.

   14                  THE COURTROOM DEPUTY:        Armond Abrami.

   15                  THE COURT:     Good morning.      Did you hear the

   16    questions I have asked of the other prospective jurors?

   17                  PROSPECTIVE JUROR:       Yes. I did.

   18                  THE COURT:     Is there anything I inquired about that

   19    in good conscience, you should disclose to us?

   20                  PROSPECTIVE JUROR:       No.

   21                  THE COURT:     Anything about the length of the trial

   22    that would prevent you from serving?

   23                  PROSPECTIVE JUROR:       Yes, sir.

   24                  THE COURT:     If you could join us over here, please?

   25                                 (Sidebar begins.)




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     1                 THE COURT:     What is it about.

     2                 PROSPECTIVE JUROR:       Just financial.      I got a job six

     3   months ago.     I'm a new employee, already, just my wife is not

     4   working.     I'm the only person working, that's why I don't want

     5   to lose my job, other than that I don't have any excuse.

     6                 THE COURT:     Okay.    Where do you work?

     7                 PROSPECTIVE JUROR:       Just -- it's a cabinet company

     8   that is in Riverside.

     9                 THE COURT:     What do you do for them?

   10                  PROSPECTIVE JUROR:       I'm a field operation manager.

   11                  THE COURT:     Okay.    How many employees do they have?

   12                  PROSPECTIVE JUROR:       Just 40 under me.

   13                  THE COURT:     40 under you?

   14                  PROSPECTIVE JUROR:       Yes.

   15                  THE COURT:     And do they reimburse you for jury

   16    service?

   17                  PROSPECTIVE JUROR:       I don't think so, I'm new.

   18                  THE COURT:     Did you ask?

   19                  PROSPECTIVE JUROR:       I asked them; they said no.

   20                  THE COURT:     Okay.    Can you give us the name of your

   21    employer?

   22                  PROSPECTIVE JUROR:       Yes.

   23                  THE COURT:     And phone number.

   24                  PROSPECTIVE JUROR:       Sure.

   25                  THE COURT:     Okay.




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     1                 PROSPECTIVE JUROR:       I got it in my phone.        My phone

     2   is off.    Can I go get it over there?

     3                 THE COURT:     Sure.

     4                 PROSPECTIVE JUROR:       The cabinet company is Hardmark

     5   Cabinet.

     6                 THE COURT:     Why don't you take this, get the phone

     7   number and the name, and write it down.

     8                 PROSPECTIVE JUROR:       Sure.

     9                 THE COURT:     We will make a call.

   10                  PROSPECTIVE JUROR:       That's fine.     Okay.    Thank you.

   11                  THE COURT:     I take it, though, that are you married?

   12                  PROSPECTIVE JUROR:       Yes.

   13                  THE COURT:     Is your wife working?

   14                  PROSPECTIVE JUROR:       She was doing just home care.

   15                  THE COURT:     Uh-huh.

   16                  PROSPECTIVE JUROR:       But the person, they passed

   17    away.     She's not working now.

   18                  THE COURT:     Anybody else residing in your household?

   19                  PROSPECTIVE JUROR:       Sorry?

   20                  THE COURT:     Anybody else living in your household?

   21                  PROSPECTIVE JUROR:       I have 14-year-old son and 10.

   22                  THE COURT:     Okay.     So it's just the four of you.

   23                  PROSPECTIVE JUROR:       Yes.

   24                  THE COURT:     Yeah, write down that name.         We will

   25    make a call and we will let you know.




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     1                 PROSPECTIVE JUROR:       Sure.    I'm going to go outside

     2   and write it down?

     3                 THE COURT:     You can do it right there.

     4                                  (Sidebar ends.)

     5                 THE COURT:     Let's call the name of another

     6   prospective juror.

     7                 THE COURTROOM DEPUTY:        Jessy Varghese.

     8                 THE COURT:     Good morning.

     9                 PROSPECTIVE JUROR:       Good morning.

   10                  THE COURT:     Did you hear the questions I asked of

   11    the other prospective jurors?

   12                  PROSPECTIVE JUROR:       Yes.

   13                  THE COURT:     Is there anything I have inquired about

   14    that in good conscience you should disclose to us?

   15                  PROSPECTIVE JUROR:       No.

   16                  THE COURT:     Anything about the nature of these

   17    charges that cause you to have any concerns about your ability

   18    to be fair and impartial to both sides?

   19                  PROSPECTIVE JUROR:       No.

   20                  THE COURT:     Anything about the length of the trial

   21    that would prevent you from serving?

   22                  PROSPECTIVE JUROR:       No.

   23                  THE COURT:     Okay.    If could you take the empty chair

   24    there on the first row for us.

   25           And if we could get you the microphone, and do you have a




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     1   copy of the background questionnaire?

     2          If you could tell us a little bit about yourself?

     3                 PROSPECTIVE JUROR:       My name is Jessy Varghese.

     4          I live in Cerritos.

     5          I have been living there for the past 18 years.              Before

     6   that I lived in Glendale.

     7          I'm married.     I have two children, ages 21 and 18.            I have

     8   a master's degree.       I have not served in the military.           I am a

     9   registered nurse.

   10                  THE COURT:     Where do you work?

   11                  PROSPECTIVE JUROR:       I work for Kaiser Permanente.

   12                  THE COURT:     Okay.    And does your husband work?

   13                  PROSPECTIVE JUROR:       Yes.   He's a transportation

   14    engineer for the City of LA.

   15                  THE COURT:     Okay.    And your child is 21?

   16                  PROSPECTIVE JUROR:       Will be graduating from

   17    undergraduate studies.

   18                  THE COURT:     Okay.    Ever served on a jury before?

   19                  PROSPECTIVE JUROR:       Yes.

   20                  THE COURT:     How many times?

   21                  PROSPECTIVE JUROR:       Four times.

   22                  THE COURT:     Okay.    Do you remember the most recent

   23    one?

   24                  PROSPECTIVE JUROR:       It was about five years ago.

   25                  THE COURT:     Okay.    Do you recall generally what the




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     1   case was about?

     2                 PROSPECTIVE JUROR:       I think it was a criminal case.

     3                 THE COURT:     Okay.    And was the jury able to reach a

     4   verdict?

     5                 PROSPECTIVE JUROR:       Yes.

     6                 THE COURT:     Do you recall anything of the other

     7   times you served on a jury?

     8                 PROSPECTIVE JUROR:       Yes.   That was a while ago.         I

     9   served three times in a civil case.

   10                  THE COURT:     Uh-huh.

   11           Were you able to reach a verdict all of the time?

   12                  PROSPECTIVE JUROR:       Uh-huh.

   13                  THE COURT:     Okay.    Ever been a party or witness on a

   14    civil or criminal case?

   15                  PROSPECTIVE JUROR:       No.

   16                  THE COURT:     Have you had a chance to look at the

   17    criminal case questionnaire?

   18                  PROSPECTIVE JUROR:       Yes.

   19                  THE COURT:     Do you have a yes or affirmative answer

   20    to any of those questions?

   21                  PROSPECTIVE JUROR:       Yes.

   22                  THE COURT:     Which ones?

   23                  PROSPECTIVE JUROR:       Number 12.     I work in the

   24    healthcare industry.        I'm a registered nurse.        I have a sister

   25    who is a physician.




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     1                 THE COURT:     Okay.

     2                 PROSPECTIVE JUROR:       Number 14, as part of my job, my

     3   patients use heart rate monitoring devices.

     4                 THE COURT:     Okay.     Any other yes or affirmative

     5   answers to any of the other questions?

     6                 PROSPECTIVE JUROR:       No.

     7                 THE COURT:     What sort of medicine does your sister

     8   practice?

     9                 PROSPECTIVE JUROR:       Pediatrics.

   10                  THE COURT:     Are you ever involved in the billing for

   11    any of the patients who have these heart monitors?

   12                  PROSPECTIVE JUROR:       No.

   13                  THE COURT:     Okay.     Ever been involved in

   14    interpreting data from the heart monitors?

   15                  PROSPECTIVE JUROR:       No.

   16                  THE COURT:     All right.      Thank you very much.

   17           Pass for cause as to the newly-seated juror?

   18                  MR. FREEDMAN:      Yes, sir.

   19                  THE COURT:     Any additional questions for the

   20    newly-seated juror?

   21                  MR. FREEDMAN:      No.

   22                  MR. MCDERMOTT:      No, sir.

   23                  THE COURT:     All right.      I believe the next

   24    preemptory rests with the government.

   25                  MR. FREEDMAN:      Your Honor, the government accepts




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     1   the panel as currently constituted.

     2                 THE COURT:     Just one second.      And the next

     3   preemptory rests with the defense.

     4                 MR. MCDERMOTT:      Sir, could we have a quick sidebar?

     5                 THE COURT:     Yes.

     6                               (Sidebar begins.)

     7                 MR. MCDERMOTT:      In light of everything that has

     8   transpired this morning, I thought I would ask you directly.                     I

     9   have been trying to limit the amount of medical care services

   10    people involved with the jury, and if I would invoke, it would

   11    be Juror No. 3, the registered nurse.            That would be my last --

   12    it looks like -- on the panel.          So.

   13                  MR. FREEDMAN:      Your Honor, our concern is that we

   14    have witnesses who have now been here for the second day.                   We

   15    have three witnesses who have come -- two witnesses who have

   16    come from out of state, several out of town.

   17           I recognize what the defense views in terms of who they

   18    are trying to strike.        I think if this witness is stricken,

   19    we're going to go into tomorrow and what I would -- we asked

   20    earlier if the government could have an additional strike.                   I

   21    think an additional appropriate remedy for the defendant's

   22    conduct is more putting everyone in the situation to forfeit

   23    one of his strikes and for the defense to accept the panel.

   24                  THE COURT:     I'm not inclined to do that.

   25                  MR. MCDERMOTT:      Thank you.




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     1                 THE COURT:     They have a preemptory, and I recognize

     2   the difficulty with this, but it is what it is.              I'm not -- I

     3   think you are just buying yourself an issue on appeal.

     4                 MR. MCDERMOTT:      I know.

     5                 THE COURT:     The right of the defendant to strike at

     6   this point.

     7                 MR. MCDERMOTT:      That's why I wanted to bring it up

     8   to the Court directly.        I knew the government might have some

     9   issue about it, but I have got a job to do, irrespective of

   10    everything else going on.

   11                  THE COURT:     Is that who you are going to?

   12                  MR. MCDERMOTT:      Do you want me to announce it out

   13    loud?

   14                  THE COURT:     Yes.

   15                  MR. FREEDMAN:      Can I now, at this point, we're out

   16    of strikes.     Can we renew or request for additional strike?

   17                  THE COURT:     Well, I think the issue is you may want

   18    to, assuming you get another one, you may want to think about

   19    there are several issues that are involved with giving you

   20    another strike.

   21            For example, he has passed, I think.

   22                  MR. MCDERMOTT:      Yes.

   23                  THE COURT:     And if you -- let's say you struck

   24    somebody else who was on the panel, that would give him the

   25    opportunity to have a strike restored that he passed on.




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     1          Okay.    And I'm not sure any of that -- whether we're going

     2   to -- I think all of the remaining jurors here have issues of

     3   one sort or another.

     4          I will talk to the lady who came up here yesterday, but

     5   based on what you said yesterday, that doesn't sound very

     6   promising.     I have had some contact with the jury commissioner.

     7   We may be able to get some discards from Judge Klausner.                I was

     8   told we may know something in the next 20 minutes.               I kind of

     9   really doubt that.       But certainly we wouldn't have anybody here

   10    until this afternoon.

   11           And I -- the earliest I think to get additional jurors

   12    would be tomorrow.       So it sounds like we're going to be --

   13           Now, if you are having witness problems or whatever, I

   14    think you want to -- whatever issue that is -- I think you want

   15    to resolve it before the jury is sworn, because you may be

   16    faced with jeopardy having attached.

   17           So if there is going to be an issue with regard to

   18    witnesses' unavailability, given what is going on, I think we

   19    ought to try to resolve those issues before the jury is sworn

   20    and jeopardy attaches.

   21           So you may want to think about that.           I think this is --

   22    you may want to think about whether or not you want additional

   23    preemptories, given everything that has gone on.

   24           I probably would be inclined to grant that, but by the

   25    same token, that is probably going to give him an opportunity




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     1   to say, I want to at least be able to ask -- I want to have

     2   that preemptory that I passed on restored.

     3          We still need two alternates, in any event.

     4                 MR. MCDERMOTT:      Right.    Just so it's clear for the

     5   record, the two that were bounced this morning were absolutely

     6   two I wanted to keep.        So it wasn't an advantage I sought.

     7                 THE COURT:     I have no doubt that -- well, in any

     8   event.    Enough said.

     9          So let's do that, then we will end.

   10                                 (Sidebar ends.)

   11                  MR. MCDERMOTT:      Sir, after conferring with the

   12    government and with the Court's permission we would thank and

   13    excuse Juror No. 3.

   14                  THE COURT:     All right.     You are excused.      Thank you

   15    very much for your service.          You can report back to the jury

   16    assembly room on the first floor.

   17           Ms. Alford, if you could come forward please.

   18           Sir, if you could resume your seat in the audience please.

   19                                 (Sidebar begins.)

   20                  THE COURT:     Okay.    All right.     Were you able to

   21    listen to the Court's questions yesterday?

   22                  PROSPECTIVE JUROR:       Yes.

   23                  THE COURT:     Okay.    Is there anything that in good

   24    conscience you should disclose to us?

   25                  PROSPECTIVE JUROR:       Just what I discussed yesterday.




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     1                 THE COURT:     Okay.    And I want to make sure I

     2   understand what you disclosed yesterday.

     3                 PROSPECTIVE JUROR:       Okay.

     4                 THE COURT:     I believe the first thing you disclosed

     5   yesterday was that there was -- you are a psychologist, I

     6   believe.

     7                 PROSPECTIVE JUROR:       School psychologist.

     8                 THE COURT:     And there are no other available

     9   psychologists at the school you work at?

   10                  PROSPECTIVE JUROR:       My boss asked me to communicate

   11    that to you.

   12                  THE COURT:     I'm happy to --

   13                  PROSPECTIVE JUROR:       My director asked me to

   14    communicate that to you.

   15                  THE COURT:     That's fine.      Unfortunately, the law

   16    provides that it's a hardship for the juror -- not the juror's

   17    employer.     So that's not going to work.

   18                  PROSPECTIVE JUROR:       That's fine.

   19                  THE COURT:     Now, the other thing that I believe I

   20    heard you say yesterday, was that you had an in-law --

   21                  PROSPECTIVE JUROR:       Not an inlaw, my husband, one of

   22    his many childhood best friends.

   23                  THE COURT:     Okay.

   24                  PROSPECTIVE JUROR:       Runs a pharmaceutical company at

   25    Puerto Rico, and he has been under investigation for the past




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     1   two years for some sort of pharmaceutical fraud.

     2                 THE COURT:     Okay.    And this is a childhood friend of

     3   your husband's.

     4                 PROSPECTIVE JUROR:       He's grown up with, yeah.

     5                 THE COURT:     You need to stand a little closer to the

     6   microphone.

     7                 PROSPECTIVE JUROR:       He's in regular contact with him

     8   and he has explained the situation to us because he has

     9   residence in Puerto Rico.         I thought I had to explain that.

   10                  THE COURT:     That's fine.

   11                  PROSPECTIVE JUROR:       I'm in the loop of the knowledge

   12    of that.     You said err on the side being more forthcoming, and

   13    I'm being as forthcoming as I can.

   14                  THE COURT:     That's fine.     The real issue is whether

   15    you can be fair and impartial with respect to this case,

   16    whether you can decide this case based on the evidence.

   17                  PROSPECTIVE JUROR:       I think I can -- I just wanted

   18    to give you that information.

   19                  THE COURT:     That is absolutely fine.        We appreciate

   20    you doing that.

   21           So you can commit to both sides that if you were selected

   22    as a juror, that you could be fair and impartial to both sides?

   23                  PROSPECTIVE JUROR:       I believe so.

   24                  THE COURT:     Okay.    Is there any doubt in your mind?

   25                  PROSPECTIVE JUROR:       No.




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     1                 THE COURT:     Okay.

     2                 PROSPECTIVE JUROR:       I just thought I was supposed to

     3   tell you I thought it was on the line that something should be

     4   shared.

     5                 THE COURT:     That is fine.      I'm glad that you did

     6   that.

     7                 PROSPECTIVE JUROR:       Okay.

     8                 THE COURT:     So you can decide this case based solely

     9   on the evidence you hear, here in this courtroom?

   10                  PROSPECTIVE JUROR:       Absolutely.     I have done that

   11    before.

   12                  THE COURT:     You have served as a juror before?

   13                  PROSPECTIVE JUROR:       Twice -- well actually once.

   14    Twice in this Court.

   15                  THE COURT:     I'm going to ask you if could you take

   16    that empty chair on the first row.

   17                  PROSPECTIVE JUROR:       Sure.

   18                  THE COURT:     Okay.

   19                                 (Sidebar ends.)

   20                  THE COURT:     Okay.    If you could take the background

   21    questionnaire and tell us a little bit about yourself.

   22                  PROSPECTIVE JUROR:       My name is Kristin Alford.           I

   23    live in Newbury Park.        I have so for about 12 years.         I lived

   24    in Oak Park prior to that.

   25            I'm married.    I have two children, ages 11 and 13.




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     1          I have a master's degree in psychology and a credential in

     2   school psychology.

     3          I have never served in the military.           I'm a school

     4   psychologist.      I work for Oak Park Unified School District.

     5                 THE COURT:     What does your husband do for a living?

     6                 PROSPECTIVE JUROR:       He's a certified public

     7   accountant, self-employed.

     8                 THE COURT:     Ever served on a jury before?

     9                 PROSPECTIVE JUROR:       I have been called to jury

   10    service three times.        I have served once, and we were able to

   11    come to a resolution on the case.

   12                  THE COURT:     Was that a civil or criminal case?

   13                  PROSPECTIVE JUROR:       Criminal.

   14                  THE COURT:     Okay.    Ever been a party or witness in a

   15    civil or criminal proceeding?

   16                  PROSPECTIVE JUROR:       Yes.

   17                  THE COURT:     Can you tell me a little bit about that?

   18                  PROSPECTIVE JUROR:       I gave to one of my husband's

   19    friends, I gave him $25,000 for him to get a car for me.

   20           He was a car broker, and I never received the car.

   21           So because my husband is an accountant, he had done

   22    accounting work for him, I was able to assemble the six other

   23    -- get the names and assemble the six other people who had been

   24    robbed by him under the same circumstances, and helped the

   25    police put the case together.          And we put him in jail.




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     1                 THE COURT:     Okay.    Anything about that experience

     2   that causes you to have concerns about your ability to be fair

     3   and impartial to both sides in this case?

     4                 PROSPECTIVE JUROR:       No.

     5                 THE COURT:     Have you had a chance to look at the

     6   criminal case questionnaire?

     7                 PROSPECTIVE JUROR:       Yes.

     8                 THE COURT:     Do you have any yes responses to any of

     9   those questions?

   10                  PROSPECTIVE JUROR:       To No. 2, as I just stated.

   11                  THE COURT:     Okay.

   12                  PROSPECTIVE JUROR:       Of course, I have been robbed.

   13    I think everybody has been robbed several times.              I have had my

   14    car broken into several times.

   15                  THE COURT:     Okay.    Were the police called?

   16                  PROSPECTIVE JUROR:       When my car was robbed?

   17                  THE COURT:     Yes.

   18                  PROSPECTIVE JUROR:       Yes.

   19                  THE COURT:     Do you have any concerns about the way

   20    the case was handled?

   21                  PROSPECTIVE JUROR:       No, they were wonderful.

   22                  THE COURT:     Any other yes or affirmative responses

   23    to any of the other questions?

   24                  PROSPECTIVE JUROR:       I have worn the heart monitor

   25    device and so has my father for arrythmia.




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     1                 THE COURT:     Okay.    Prescribed by a physician?

     2                 PROSPECTIVE JUROR:       Yes.

     3                 THE COURT:     And how long did you wear the monitor

     4   for?

     5                 PROSPECTIVE JUROR:       I think it was 24 hours.        It was

     6   five years ago, I don't remember.

     7                 THE COURT:     Okay.    Any other yes or affirmative

     8   responses to any of the other questions?

     9                 PROSPECTIVE JUROR:       I don't think it's that

   10    relevant.     My mom was a school nurse and a registered nurse.

   11                  THE COURT:     Okay.    Anything else?

   12                  PROSPECTIVE JUROR:       No.

   13                  THE COURT:     Okay.    Thank you.

   14           Pass for cause as to the newly-seated juror?

   15                  MR. FREEDMAN:      Yes, Your Honor.

   16                  MR. MCDERMOTT:      Yes, sir.

   17                  THE COURT:     Any additional questions for the

   18    newly-seated juror?

   19                  MR. MCDERMOTT:      No, sir.

   20                  MR. FREEDMAN:      No, Your Honor.

   21                  THE COURT:     Let me see counsel at sidebar.

   22                                 (Sidebar begins.)

   23                  THE COURT:     Okay.    I believe you have exercised your

   24    last preemptory.

   25                  MR. MCDERMOTT:      That's true.




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     1                 THE COURT:     You don't have any further preemptories.

     2                 MR. FREEDMAN:      No.

     3                 THE COURT:     Now, assuming we want to have alternates

     4   in this case, each side would get an additional preemptory for

     5   any alternates, okay.

     6          Now, are you -- do you want to request an additional

     7   preemptory as to the jurors in the box?

     8                 MR. FREEDMAN:      No.

     9                 THE COURT:     Okay.     Now, I have a -- I'm going to

   10    excuse the jury for them to take a break.

   11           We have one individual that we're trying to confirm what

   12    his issues are.

   13           Other than the people that are seated out here now, we're

   14    out of jurors.

   15           Don't quote me, but I think that if the parties want to

   16    stipulate if we lost a juror, I think you can stipulate to

   17    having a lesser number of jurors.

   18           I'm not requiring anybody to do that, but if you want to

   19    discuss that issue, you might want to explore that.

   20                  MR. MCDERMOTT:      Uh-huh.

   21                  THE COURT:     We're still waiting to hear back if

   22    there are going to be additional jurors that are going to be

   23    available today.

   24           If not -- and I will hopefully know that in the next half

   25    an hour -- if not, I will review these people's requests -- I




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     1   don't remember the lady --

     2                 MR. FREEDMAN:      She's a medical esthetician.

     3                 THE COURT:     Oh yeah.    She's got children 11 and 13

     4   that she takes to school.

     5                 MR. MCDERMOTT:      Her mother was in an accident.

     6                 MR. FREEDMAN:      She takes them to school, so it's

     7   possible she can take them a little bit early.              She lives in

     8   the valley.

     9                 THE COURT:     If she takes them a little earlier or we

   10    start a little later.

   11            Do you have her name?

   12                  MR. FREEDMAN:      It is Belkis something.        I can't

   13    remember her last name.

   14                  THE COURT:     Miss.

   15                  PROSPECTIVE JUROR:       Me?

   16                  THE COURT:     Yes.    Okay.   What time do you take your

   17    children and drop them off?

   18                  PROSPECTIVE JUROR:       I drop them off about 7:45,

   19    7:50.    School starts at 8:00.

   20                  THE COURT:     Okay.    How long does it take you to get

   21    here from home?

   22                  PROSPECTIVE JUROR:       I have been taking the train

   23    because the traffic is really bad.           Today, it took me like

   24    maybe about an hour to get here.

   25                  THE COURT:     Uh-huh.




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     1                 PROSPECTIVE JUROR:       Maybe more.     I had to drive to

     2   the station.      I didn't want to deal with traffic so I took the

     3   train.

     4                 THE COURT:     Any possibility that you could drop your

     5   kids off earlier?

     6                 PROSPECTIVE JUROR.       No.   They don't do anything

     7   before 7:30.

     8                 THE COURT:     So if you dropped your kids off at 7:40,

     9   you might be able to be here by 9:00?

   10                  PROSPECTIVE JUROR:       I don't know.      It depends on

   11    traffic, I guess, if I drive.

   12           I don't think I want to take the train all of the time,

   13    but if I drive, then I will probably be more than that, because

   14    I am driving from Sherman Oaks.

   15                  THE COURT:     Okay.    Just resume your seat.

   16                                   (Sidebar ends.)

   17                  THE COURT:     All right.      Ladies and gentlemen, we're

   18    going to take our first break.          I will remind you until this

   19    trial is over, you are not to discuss this case with anyone,

   20    including your fellow jurors, among yourselves, and people

   21    involved in the trial, or anyone else.

   22           Do not allow anyone to approach you and talk with you

   23    about this case.

   24           If anybody approaches you or wants to talk with you about

   25    this case, please let me know about it immediately.




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     1          Do not read or listen to any news reports or other

     2   accounts about the trial.

     3          Do not do any research, consult the dictionaries, search

     4   the Internet, and use other reference materials.

     5          If you need to communicate with me, send a note to the

     6   clerk.

     7          We're going to resume now.         It's 10:24.     We're going to

     8   take -- I want to take about -- we're going to come back at 20

     9   until the hour.

   10           Okay.    Thank you very much.

   11                   THE COURTROOM DEPUTY:       All rise.

   12                   (JURY EXITS THE COURTROOM AT 10:27 A.M.)

   13                   THE COURT:    All right.     We will reconvene in ten

   14    minutes.

   15           We will see what the latest update is to figure out if

   16    there are available jurors.         We will see you in about ten

   17    minutes.

   18                   THE COURTROOM DEPUTY:       The Court now stands in

   19    recess.

   20           All rise.

   21                   THE COURT:    We don't have any prospective jurors in

   22    the courtroom.

   23           I believe we now have 12 jurors with no alternates.

   24           I have got a couple of options here.            The parties can

   25    stipulate, I believe, under the rules to have less than 12




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     1   return a verdict in the event that we lost one or more of these

     2   12.

     3           That is something the parties are going to have to

     4   discuss.     If you can agree to it, fine, if you can't, that is

     5   fine.

     6           Assuming you can't do that, there is a judge that is

     7   picking a jury today.        And as jurors are not used or no longer

     8   going to be considered for jury duty in that case, they can be

     9   funneled over here.

   10            My guess is that we probably wouldn't get anybody until

   11    probably after the lunch hour.

   12            The other option would be to call jurors tonight.

   13            Excuse these 12, and have them come back tomorrow -- have

   14    them come back tomorrow.

   15            We will go ahead and see if we can get some alternates,

   16    have this jury show up at 9:00, start with the alternates

   17    selection, and see if we can, by the time the jury gets here at

   18    9:00, have the alternates selected.

   19                  MR. MCDERMOTT:      Sir, for the Court's information,

   20    the government counsel and I have talked about the matter of

   21    allowing the panel to drop below 12.

   22            I believe I can represent for both sides that we prefer

   23    not to go in that direction.

   24                  THE COURT:     Okay.

   25                  MR. MCDERMOTT:      It's a mutual decision on that part.




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     1                 MR. FREEDMAN:      That's correct, Your Honor.

     2                 THE COURT:     Okay.    Now, I don't want to keep the

     3   other alternates.       I really don't want to keep these people

     4   here all day while we decide what is going to happen with the

     5   jury that is being selected.          I can excuse them -- just one

     6   moment.

     7          Madam Clerk, would you go out and make sure those outer

     8   doors are closed and there is no one standing in the area?

     9          I think probably the thing we should do is have these 12

   10    take an early lunch, come back here, have them come back at

   11    12:30 or one o'clock and make a decision at that time as to --

   12    it looks like we're going to get something from Klausner.

   13           Just Judge Klausner is selecting a jury today.              We're

   14    going to get some people who are no longer eligible to serve

   15    with them.

   16           We can have them get here, seat the alternates today, and

   17    get started.

   18           If not, I think tomorrow is the option, and we will know

   19    that probably by one o'clock.          So I think that is what I'm

   20    going to do.

   21           As to the people that are waiting here, I think we are

   22    still waiting to hear back from the gentleman who doesn't think

   23    that the supervisor will pay.

   24           The lady whose husband works for LAPD, I'm not sure that

   25    is a real good alternative at this point.




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     1          We could start -- ask the one juror to drop off her kids

     2   off at 7:40, and start our trial at 9 o'clock.              I suspect she

     3   might make it in by then.

     4          And, of course, that doesn't ensure that the parties might

     5   exercise their preemptory, and so I think probably the better

     6   course is to have the jury come back, take an early lunch, have

     7   everybody come back at 12:30 or one o'clock and then analyze it

     8   later.    Unless somebody else has a different idea?

     9                 MR. FREEDMAN:      That sounds fine, Your Honor.         What

   10    time would you like us back here?

   11                  THE COURT:     I will have the jury back here -- I

   12    think, we're going to send them off to lunch, and we will

   13    decide whether it's going to be 12:30 or one o'clock.

   14           Does anybody have anything they want to add?

   15                  MR. MCDERMOTT:      Just also for the Court's

   16    edification, discussing with government counsel, they are not

   17    going to lose any witnesses.          It's all going to be the

   18    inconvenience factor of it.         I just wanted to make sure we

   19    didn't have an issue with that.

   20                  MR. FREEDMAN:      I think what we will do, assuming the

   21    Court thinks this is the case, probably tell our first witness

   22    he should stick around in case we get started today.

   23           Is there a possibility we may push past 1:30?

   24                  THE COURT:     I'm not sure what you mean by push on

   25    past 1:30.




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     1                  MR. FREEDMAN:     Well, I know that the Court's

     2   schedule is normally 8:00 to 1:30.

     3                  THE COURT:    Today we're going to go past if we can

     4   get the alternates picked today.           Then we will push forward and

     5   we will go until 5:00.

     6                  MR. FREEDMAN:     So we will keep our witnesses here

     7   for now, and they will have to reschedule it if they need to

     8   come back.

     9                  THE COURT:    As I mentioned to counsel, the Court is

   10    considering, based on the conduct of our defendant and his

   11    family, principally the defendant, the Court has considered

   12    whether or not his bond should be revoked; I will decide that

   13    this afternoon.

   14           Okay.    Anything else before the jury is brought back in?

   15                   MR. FREEDMAN:     No, Your Honor.

   16                   MR. MCDERMOTT:     No, sir.

   17                   THE COURT:    Okay.

   18                   THE COURTROOM DEPUTY:       All rise.

   19                   (JURY ENTERS THE COURTROOM AT 11:02 A.M.)

   20                   THE COURT:    You may be seated.       This may take a

   21    while.

   22                   THE COURTROOM DEPUTY:       All rise.    You may be seated.

   23                   THE COURT:    Ladies and gentlemen, we still need to

   24    select two alternate jurors.

   25           Unfortunately, we're not going to be able to commence that




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     1   process immediately.

     2          So what I'm going to do, I'm going to excuse you for an

     3   early lunch.      It's 11 o'clock now, and I really want to

     4   apologize for this.

     5          I have never had this come up before.            We're going to have

     6   you back in -- why don't you take a two-hour lunch and come

     7   back at one o'clock, and then we will hopefully be able to get

     8   our alternates selected -- two alternates selected, and then we

     9   would be able to commence with the actual trial and counsel's

   10    opening statements and presentation of witnesses.

   11           At one o'clock, if we can't get the alternates selected, I

   12    will excuse you for the day.          You can come back tomorrow.

   13           We will get the alternates picked.           It will be very quick

   14    and very brief, and then we will start the actual trial.

   15           So I will see everybody back here at one o'clock.

   16

   17                  PROSPECTIVE JUROR:       Yes, we thought we were starting

   18    today.    A lot of us thought we were only going to be going

   19    until 1:30 today.       Roughly, what time are we going to go to

   20    today, just because I have made arrangements for my children.

   21                  THE COURT:     If you have made arrangements based on

   22    the understanding -- excuse me -- that we were going to stop at

   23    1:30, and you can't undo that, let us know, and we will make an

   24    adjustment, and we will just get this thing started tomorrow

   25    and we will start at 8:00 and go until 1:30.




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     1           If you can make an adjustment, then what we will do today

     2   when we come back, is that we would just go until 4:30 or 5:00

     3   or whatever -- however long we can.

     4           And I'm sorry about the confusion.          Really it isn't

     5   anybody's fault.       It's just one of those unfortunate

     6   circumstances.

     7           Do you think you are going to be able to make any other

     8   arrangements?

     9                   PROSPECTIVE JUROR:     I was wondering whether it was

   10    going to be 3 o'clock or 5 o'clock.           If we had a rough idea

   11    that changes things dramatically if you have to drive home in

   12    rush hour.

   13                    THE COURT:   Well, we can do pretty much whatever is

   14    convenient for you at this point.

   15            So everybody -- if we come to a collective decision -- we

   16    could stop at 3:30 today.         We will do that, and if you can be

   17    here until 5:00, we will do that.

   18            I think the more trial we can put in, the sooner we're

   19    going to get finished.

   20            So, when you come back at one o'clock, I want you to think

   21    about it, whatever calls you have to make, go ahead and make

   22    them.    Let -- just let me know, and we will adjust to your

   23    schedules.

   24            Okay.    So you are excused.      You can go to lunch.

   25            Grand Central Market -- you are early -- so maybe the




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     1   lines won't be too long.

     2          We will see everybody back here at one o'clock.

     3                 THE COURTROOM DEPUTY:        All rise.

     4                 THE COURT:     As to the people that are waiting, sir,

     5   we will let you know.        We're still making some calls, and we

     6   will let you know when you get back here at one o'clock.

     7                 PROSPECTIVE JUROR:       Sure.

     8                 THE COURT:     Sir, I believe you had your hand up.

     9                 PROSPECTIVE JUROR:       If we don't come into an

   10    agreement about selecting the two guys you need, I can't miss

   11    another day of work.        I can't be here tomorrow.

   12                  THE COURT:     Okay.    I will let you know your status

   13    at one o'clock.

   14                  PROSPECTIVE JUROR:       Okay.    Thank you.

   15                  THE COURT:     Miss, I will let you know at one o'clock

   16    as well.

   17                  PROSPECTIVE JUROR:       Thank you.

   18                   (JURY EXITS THE COURTROOM AT 11:11 A.M.)

   19                  THE COURT:     Okay.    Let me caution everyone, you

   20    should avoid these jurors.

   21           Talking to these jurors can be considered a violation of

   22    law, either obstruction of justice or jury tampering.

   23           So please, and I'm ordering people to stay away from these

   24    jurors, and have no contact with them.

   25           If I learn of any contact with any of these prospective




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Case
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     1   jurors by anyone, I will hold a contempt hearing, recommend to

     2   the United States Attorney's Office that the person be

     3   prosecuted.

     4          I will have a contempt hearing, and if I find that there

     5   has been contact with these jurors in violation of my order, I

     6   will have you jailed in contempt of Court.

     7          So we will see everybody at one o'clock.

     8                 THE COURTROOM DEPUTY:        This Court is now in recess.

     9                                 (Recess taken.)

   10             (Morning proceedings were concluded at 11:12 a.m.)

   11                                         * * *

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App. 0568                      UNITED STATES DISTRICT COURT
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     1                       CERTIFICATE OF OFFICIAL REPORTER

     2

     3   COUNTY OF LOS ANGELES         )
                                       )
     4   STATE OF CALIFORNIA           )

     5

     6                 I, TERRI A. HOURIGAN, Federal Official Realtime

     7   Court Reporter, in and for the United States District Court for

     8   the Central District of California, do hereby certify that

     9   pursuant to Section 753, Title 28, United States Code that the

   10    foregoing is a true and correct transcript of the

   11    stenographically reported proceedings held in the

   12    above-entitled matter and that the transcript page format is in

   13    conformance with the regulations of the judicial conference of

   14    the United States.

   15

   16    Date:    June 30, 2017

   17

   18

   19                                       /s/ TERRI A. HOURIGAN

   20                             TERRI A. HOURIGAN, CSR NO. 3838, CCRR
                                                      Federal Official Court
   21    Reporter

   22

   23

   24

   25




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                1                                UNITED STATES DISTRICT COURT
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                2              CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

                3               ~:iii\'::1   IE!Es13 PERCY ANDERSON,          U.S. DISTRICT JUDGE

                 4

                 5

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                 7                                                            )
                     UNITED STATES OF AMERICA ,                               )
                 8                                                            )
                                                     PLAINTIFF,               )
                 9                                                            )
                                     vs.                                      ) No. CR16-215 - PA
                10                                                            )
                     MICHAEL MIRANDO,                                         )
                11                                                            )
                                                     DEFENDP. .NT.            )
                12   _____________________________________ )
                13

                14                           REPORTER'S TRANSCRIPT OF JURY TRIAL

                15                                       DAY 2, VOLUME II

                16                                         PAGES 79-182

                17                                 LOS ANGELES , CALIFORNIA

                18                                WEDNESDAY,          APRIL 26,        2017

                19                                              12:34 P.M.

                20

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                22

                23                           CINDY L. NIRENBERG, CSR 5059, FCRR
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                                  UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA




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                                                                                                 80

    1   APPEARANCES OF COUNSEL:



    3   FOR THE PLAINTIFF:
                                       OFFICE OF THE UNITED STATES ATTORNEY
    4                                  BY: MICHAEL FREEDMAN,
                                           ASSISTANT U.S . ATTORNEY
    5                                      KATHERINE A. RYKKEN,
                                           ASSISTANT U.S . ATTORNEY
    6                                  312 NORTH SPRI NG STREET
                                       13TH FLOOR
    7                                  LOS ANGELES, CA 9001 2
                                       213-894-2434
    8

    9

   10

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   12

   13   FOR THE DEFENDANT:
                                       LAW OFFICES OF KEVIN BARRY MCDERMOTT
   14                                  BY: KEVIN B. MCDERMOTT, ATTORNEY AT LAW
                                       300 SPECTRUM CENTER DRIVE
   15                                  SUI TE 1420
                                       IRVINE, CA 92618
   16

   17

   18

   19   ALSO PRESENT:
                                       KATHLEEN KENNEDY ,              SPEC I AL AGENT
   20

   21

   22

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                     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA




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   2

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    9       DIRECT BY MS . RYKKEN                                           145

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          1             LOS ANGELES, CALIFORNIA; WEDNESDAY, APRI L 26, 2017

          2                                              12 : 34 P.M.

          3

          4                  THE CLERK:        Item 1, CR16-215, United States of

          5     America versus Michael Mirando.

          6                  Counsel, please state your appearances .

          7                  MR . FREEDMAN:         Good afternoon, Your Honor.                        Michael

          8     Freedman and Katherine Rykken on behalf of the United States.

          9                  THE COURT:        Good afternoon.

        1. .0                MR. MCDERMOTT:          Good afternoon, sir.                  Kevin McDermott

        11      appearing on behalf of Mr. Mirando, who is present .

        12                   THE COURT:        Good afternoon.                Members of the panel,

        13      good morning .       I'm Judge Percy Anderson, and I would like to

        14      welcome you to this courtroom.

        15                   We're here this afternoon for the important task of

        16      selecting two alternates to try a criminal case.

        17                   We rely on the juries in this country to decide cases

        18      tried in our courts so the jury service is an important duty.

        19      Jurors must conduct themselves with honesty,                           integrity and

        20      fairness .

        21                   Under our system of justice, the Jury is to find the

        22      facts of the case based on the evi dence presented at the trial,

        23      that is, from the evidence seen and heard in court.                                The JUry

        24      decides what the facts are, and then applies to those facts the

        25      law that I will give in my instructions to the jury.
..
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    1                  My role as the trial judge is to make whatever lega l

    2   decisions mus t be made during trial and to explain to the jury

    3   the legal pri nciples that will guide its decisions.

    4                  As you probably know , at the beginning of any court

    5   case, the first step involves the selection of jurors who are

    6   going to he ar the case.

    7                  During this process,                I will be asking you questions.

    8   It prov ide s the Court and the lawyers wit h an opportunity to

    9   inquire into you r background, experience and state of mind to

   10   determine whether you ' re qualified to be a juror ln thi s case.

   11                  Now,    "qualified " simply means that you can be fair
                                    ~

   12   and impartial , that            you can decide this case based on the

   13   evidence presented in this courtroom and on nothing else .

   14                   Please keep in mind that during this process, there's

   15   n o such thing as a right or wrong answer , only an swers that are

   16   complete or incomplete .              Err on the s ide of giving too much

   17   information.

   18                   In this case you will be sitt ing as judges of the

   19   fa cts.      All parties have a right to expect that you'll perform

   20   your role fairly and impartia lly and not because of any b ias or

   21   prejudice you bring into this courtroom.                             If there ' s any reason

   22   why any o f you might be bi ase d or prejudiced in any way , you

   23   must disclose such reasons when you 're as ked to do so .                                It ' s

   24   your duty to make the se d isc los ures.

   25                   In glvlng you these admonitions,                       I want to make it


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    1   clear that      I   have no intention of trying to embarrass anyone,

    2   to invade your privacy or the privacy of any of your family

    3   members or close personal friends.                         If you have something that

    4   you think the lawyers or I should know, but you do not wish to

    5   discuss it ln the presence of the entire panel in open court,

    6   please let me know and we can discuss that matter at sidebar

    7   outside the presence of the other jurors.

    8                  This is a criminal case.                    It's entitled the United

    9   States of America versus Michael Mirando.

   10                  To begin this process ,                I'd like to introduce you to

   11   the parties and counsel             ln      this matter.

   12                  I'm going to ask government counsel to stand and

   13   introduce himself and who is seated at counsel table to the

   14   prospective jurors.

   15                  MR. FREEDMAN:          Hello.          My name ' s Michael Freedman .

   16   I'm the assistant United States attorney .

   17                  MS. RYKKEN:         And I am Katherine Rykken, also a United

   18   States Attorney.

   19                  THE COURT:        Any member of the jury panel who's

   20   acquainted with or who has seen counsel or may have heard their

   21   names prior to today?              If your answer is yes, please raise your

   22   hand.

   23                  All right.        Will counsel stipulate that I do not have

   24   to note for the record that there were no hands raised in

   25   response to my future questions?


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    1                  MR. FREEDMAN :         Yes .

    2                  MR . MCDERMOTT:         Yes, that ' s correct.

    3                  THE COURT:         I'm going to ask defense counsel to stand

    4   and introduce himself and the defendant to the prospective

    5   Jurors .

    6                  MR. MCDERMOTT:          Thank you; Your Honor.

    7                  My name is Kevin McDermott.                      I ' m a defen se counse l

    8   and I represent the defendant in this case, Michael Mirando.

    9                  THE COURT :        Is there any member of the jury panel who

   10   is acquainted with or seen counsel or the defendant or who may

   11   have heard their names prior to today?                            If your answer to the

   12   questi on i s yes, please ralse your hand.

   13                  Do any of you or any members of your families know or

   14   have any kind of relations with me?

   15                   During the trial of this case, the fol lowing persons

   16   may be called as witnesses .                    I'm going to ask the clerk to read

   17   the names of the proposed witnesses .

   18                   THE CLERK :       Jon Barron, John Hattrup, Ronald D.

   19   Richmond , Gregory Joy, Martha Bennett, Susan Darsow, Lisa

   20   Solmar , Ruby Simpkins, Robyn Consigl i o, Stacey Foster-Sixtos,

   21   Jeffrey Globus , Emily Russell, Stanton Crowley, Kathleen

   22   Kennedy.

   23                   THE COURT :       Have any of you heard of or are otherwise

   24   acquainted with any of the witnesses just named that you

   25   believe would affect your ability to be a fai r and impartial


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                                                                                                       87


   1    juror in this case or make it difficu l t                        for you to be a fair

   2    and impart i a l     JUror ln this case?

    3                  P lease raise your hand.

    4                  You should not e t h at the pa r ties are not required and

    5   might not wi sh to call all of these wi t nesses, a n d t hey may

    6   find it ne c essary to lat e r call other witnesses .

    7                  This is a case in which the defendant is charged with

    8   15 counts of health care fraud.                       The government al l eges that

    9   from Janu a r y of 2005 t o April of 201 6, the defendan t                           engaged i n

  10    a scheme to defraud health insurance companies.

   11                  The defendant was the owner of Ho l ter Labs LLC, which

   12   he formed i n 2005 .

   13                  Holter Labs provided cardiovascular monitoring

   14   services to doctors .            Holter provided a digital recorder to

   15   doctors for their use on their patients .                           The reco rder is a

   16   portable device that mo nitors cardi o vascu l ar activity for 24 or

   17   48 hours.       The device r e cords electrical signals from the heart

   10   via a    series of e l ectrodes aL Lacllell Lo Lhe clle!:iL .

   19                  The most common use of a Holter recorder lS to

   20   mo n itor heart activity for an ECG or a n electrocardiograph .

   21   The government alleges that the defendant fraudulently billed

   22   insurance companies using medical codes .                           These codes are used

   23   by health care serv ice providers in me dical billing s .                                The

   24   defendant is charged wi th using these codes to fr a udulently

   25   bi l l i nsurance companle s .


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    1                  The defendant denies these allegations.                            The charges

    2   against the defendant are contained in an Indictment .                                   The

    3   Indictment is simply the description of the charges made by the

    4   government against the defendant.                         It is not evidence of

    5   anything .

    6                  To these charges the defendant has pled not guilty,

    7   and it will be the question of his guilt or innocence to the

    8   charges that you ' l l be asked to decide if you're selected as an

    9   alternate juror in this case .

   10                  Now , we're going to pick two alternates, and I'm

   11   going to ask the clerk to ca l l the names of the two prospective

   12   alternates.

   13                  As your name 1s called, please come forward,                              and I 'm

   14   going to ask Alternate Number 1 to take the next-to-the-last

   15   seat on the first row, and for Alternate Number 2 to take the

   16   next-to-the- last seat on the second row.

   17                   So, again, as your name is called, please come

   18   forward .

   19                   THE CLERK:        Thomas Lin.

   20                  Wayne Tennis.

   21                   THE COURT:        I'm going to continue asking questions of

   22   the jurors seated in the jury box, but these questions are

   23   directed to all of you seated in the courtroom because if any

   24   of these prospective jurors are excused , a replacement will be·

   25   called and I will ask that person, without repeating all of the


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   1    prior questions, whether any of those quest ions pertain to him

   2    or her.

    3                  Therefore, it's important that each of you listen

    4   carefully to the questions th at I will be asking and keep in

    5   mind any of which call for an affirmative answer or other

    6   explanation on your part , and that way if you're called into

    7   the jury box, I wo n 't have to repeat each of the questions for

    8   you.

    9                  Now, it 's important that all of you remaln in the

   10   courtroom during the questioning of jurors in the jury box so

   11   that    if you're ca lle d to replace a juror, you will have heard

   12   all of the Court's questions.

   13                  Now, we will take a break at some point this

   14   afternoon, and when we do take our break , you're not to discuss

   15   this case with anyone, including your fel low jurors, members of

   16   your family, anybody involved in this trial or anyone else, nor

   17   are you allowed to permit others to discuss the case with you.

   18                  This includes communi cating by e - mail or text

   19   messages.        Don't use any social netwo rking sites such as blogs ,

   20   MySpace, Facebook, Twitter.                    If anybody approaches you and

   21   tries to talk with you about this case, please let me k now

   22   about    it immediate ly .

   23                  Do not read any news stories or articles or listen to

   24   any radio or television reports about the case or about anyone

   25   who has anything to do with it.                       Don't do any research, such as


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    1   consulting dictionaries, searching the internet or us1ng other

    2   reference materials.             Do not make any investigation about the

    3   case on your own.

    4                  If you need to communicate with me, simply give a

    5   note to the clerk .

    6                  And most importantly, do not make up your mind about

    7   what your verdict should be until after you've gone to the jury

    8   room to decide the case and you and your fellow jurors have

    9   discussed the evidence.               Keep an open mind until then.

   10                  Now, having heard the charges which have been filed

   11   against the defendant, is there any -- well,                              let me direct this

   12   to the two prospective jurors .

   13                  Do either of you feel that you cannot give the

   14   parties, both the government and the defendant, a fair trial

   15   because of the nature of these charges?

   16                  PROSPECTIVE JUROR:                No.

   17                   PROSPECTIVE JUROR:               No,    sir .

   18                  THE COURT:         All you have -- if your answer is yes to

   19   any of these questions,              just raise your hand.                   Okay?

   20                  The fact that the defendant is in court for this

   21   trial where the charges have been brought against him is no

   22   evidence whatsoever of the de fendant's guilt.

   23                   Jurors are only to consider evidence properly

   24   rece i ved in the courtroom in determining the guilt or innocence

   25   of the defendant.            Until and unless this is done,                       the


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   1    presumption of innocence prevails.

   2                    Have either of you seen or read or heard anything

   3    about this case or have either of you heard anyone express an

    4   opinion about the case or about anyone who has anything to do

    5   with it?

    6                   Do any of you have any personal philosophical or

    7   ideological views about the health care laws that would make it

    8   difficult for you to act fairly and impartia lly in this case?

    9                   Do any of you have any beliefs or feel ings toward any

   10   of the parties, attorneys , witnesses, that would make it

   11   impossible or difficult for you to act fairly and impa rt ially

   12   both as to the defendant and the government?

   13                   Have either of you been involved in, seen, heard or

   14   read anything about criminal prosecutions in general t hat would

   15   caus e you to question your ability to be a fair and impartial

   16   juror    ln   this case?

   17                   Any of you have any feelings or beliefs toward the

   18   law in general,         or the health care law specifically ,                        LhaL wuuld

   19   make it impossible or difficult for you to act fairly and

   20   impartially as to both parties in this case?

   21                   Let me also ask if either of you have any special

   22   disab ilities, medical problems, difficulties with language that

   23   you believe would impair your ability to devote your full

   24   attention to this case?

   25                   Are either of you taking any medication that wou ld


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    1   make it difficult for you to g1ve your full attent i on?

    2                  As a juror, you're obligated to follow the law glven

    3   to you by the Court.              Is there anyone who would be unwilling or

    4   unable to follow the law as given to you in the Court ' s

    5   instructions, disregarding your own notions or ideas of what

    6   the law lS or ought to be?

    7                  One important task of the Jury lS to listen to the

    8   testimony of the various witnesses and decide how much or how

    9   little weight the testimony should be given.

   10                  Would either of you be unable or unwilling to perform

   11   this task?

   12                  Do either of you know each other?

   13                   PROSPECTIVE JUROR:               No.

   14                  THE COURT:         Okay.        Now,     I want everybody to listen to

   15   this.

   16                   I recognize that Jury service is probably an

   17   inconvenience for you, taking you away from your jobs and

   18   families and disrupting your daily routine.                              It   is, however,

   19   one of the most important duties that citizens of this country

   20   are called upon to perform.

   21                   It provides the public with a way of giving back for

   22   the men and women who are fighting every day and putting their

   23   lives on the line to preserve our way of life, because tria l by

   24   jury i s an important factor in a democracy, and for that reason

   25   I know you will not take this duty lightly.


                     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA




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    1                  Now, we expect the presentation of all phases of this

    2   case, including the opening statements , the evidence , the

    3   arguments of counsel, the instructions of the Court, will last

    4   approximately I want to say between three and five days, p l us

    5   your deliberations .

    6                  Now , our daily schedule will normally be from

    7   8:00 a.m. to 1:30, and we're are going to take two short

    8   breaks .     Now, so except for today , we're going to stop at 1 : 30,

    9   and then we ' ll resume t hat following day at 8:00 a.m .

   10                  Today we're going to resume probably at -- hopefully

   11   by 1 o'clock , and we'll meet during the afternoon and we ' l l

   12   probably go until 4:00 ,            5 o ' clock .

   13                  So we would expect that all phases of this case are

   14   going to conclude by Tuesday or Wednesday at the l atest, with

   15   the case then being submitted to the Jury for its

   16   deliberations.

   17                  During deliberations your hours will change.                                The

   18   jur y wlll del1bera t e rrom 8 : 00 a.m . to 3:30 and lunch w1l l be

   19   brought in .

   20                  Now,    I want to advise you that a JUror may be excused

   21   from jury service only upon a showing of specific facts which

   22   const itute an undue hardship for the JUror and not for the

   23   juror's employer.

   24                  An undue hardship includes the following :                            The

   25   prospective juror has a personal obligation to ca re for t he


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    1   sick, aged or infirmed dependent or to care for children where

    2   no comparable substitute care is either available or practical

    3   without imposing an undue financial hardship on the prospective

    4   juror or the person cared for; the prospective juror has a

    5   physical or mental disability or impairment not affecting the

    6   person's ability to serve on a jury but that would expose the

    7   prospective juror to an undue risk of mental or physical harm;

    8   participation in the trial would expose a prospective juror to

    9   an extreme financial burden, taking into account the following

   10   factors:       The length of the trial, whether the prospective

   11   juror is a sole support for his or her family, and the

   12   availability of employer reimbursement.

   13                  Please keep in mind that jury service is not only a

   14   duty and a responsibility, but it's a right that our

   15   forefathers fought to secure, and men and women are fighting

   16   today and putting their lives on the line because of its

   17   importance in the governing of a democratic society.

   18                  As a society, we've given to the people power to

   19   decide disputes between their fellow citizens in civil cases

   20   and the power to make the ultimate determination of whether or

   21   not to deprive a fellow citizen of life, liberty or property in

   22   criminal cases.

   23                   Jury service is a duty that is not to be shirked and

   24   a right that should not be likely relinquished.

   25                   Now, bearing in mind the importance of trial by jury,


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   1    do either of you seate d in t he JUry box have any reasons why

   2    you feel that JUry serv1ce or the time enduring the hours I've

   3    indicated would pose an undue hardship for you and require that

   4    you be excused for consideration as a juror?

    5                  Okay .       So both of you think you can be with us?

    6                  PROSPECTIVE J UROR:               Yes.

    7                  THE COURT:         Okay.         Now,    for those of you who are

    8   seated i n the audience, prospective juro rs , are there any of

    9   you who feel as though you can ' t be with us for the period of

   10   time and the hours that I've indicated?

   11                  Just rais e your hands.

   12                  Okay.        So I see tw o hands.

   13                  Okay.        Thank you.

   14                  Now, as jurors you're going to be the finders of fact

   15   i n thi s case.         You ' r e requ ir ed to base your de cis ion solely on

   16   the evidence presented 1n court.                         You may not consider any

   17   facts or information you learn outside of court , and you may

   18   not rely on yuur own prejudices or biases in JUdging this case.

   19                  Do eit her of you believe that                     you would not be able

   20   to do this?

   21                  As a judge, it's my job to instruct you on the law

   22   that's applicable to this case.                        You ' re required to find the

   23   facts and then apply the law as I give it to you to those

   24   facts.

   25                  Do either of you feel that you'd have any diff i cul t y


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    1   accepting and following the Court's instructions?

    2                  As you may know , a defendant is presumed innocent

    3   until proven guilty.             This presumption of innocence continues

    4   until the jury concludes , if it does , that the defendant is

    5   guilty beyond a reasonable doubt.

    6                  I f the jury finds that the government has not proved

    7   the defendant ' s guilt beyond a reasonable doubt , it must return

    8   a not guilty verdict.              And you cannot return a guilty verdict

    9   unless you find that the government has established the

   10   defendant 's guilt beyond a reasonable doubt .

   11                  This is a different standard that's used in civil

   12   cases .     There the jury merely has to find that a party has

   13   establ ished that its version of the facts is more probably t rue

   14   than not .

   15                   I s there anything in the criminal standard of proof

   16   beyond a r easonable doubt that you believe would make it

   17   difficult for you to be a fair and impartial juror in this

   18   case?

   19                   Unl ike the government , the defendant has no burden

   20   and does not have to present any evidence if he chooses not to

   21   do so.       You must wait until all of the evidence has been

   22   presented before making up your mind .

   23                   Are there any of you who do not believe that you

   24   could withho:d judgment until all of the evidence has been

   25   presented?


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   1                   The potential pun ishment fo r the cr i mes that have

   2    been charged is a matter for the Court to decide .

    3                  Are there any of you who have concerns abou t the

    4   level of punishment that might be imposed if the defendant is

    5   foun d gui lty and feel that tho se con cern s would make it

    6   difficult for you to fairly judge this case?

    7                  All right.        Ladies -- well , gentlemen, we're now

    8   go1ng to ask you some questions about yourselves.

    9                  Again, they're not designed to pry unnecessarily into

   10   your perso nal lives or aff airs.                     They're asked to disc ove r if

   11   you have any knowledge about the case, if you h ave any

   12   preconceived opinions that you might                           find dif fi cult to lay

   13   aside,    if you have any personal or family expe ri ences which

   14   might cause you to identify yourselves with any of the parties ,

   15   and to assure each party t hat the jury wi l l be fair and

   16   impartial.

   17                  Please do not withhold information.                           Be

   18   straight forward l n your answe r s,                  rather than answer 1 ng in a way

   19   that you feel t he lawye rs or I expect you to answer .                                   If your

   20   answer to a question is yes, please raise you r hand so that

   21   additional questions may be asked.

   22                  If your answer to a question is no , you need do

   23   nothing .

   24                  Again, at any time if you prefer to approach the

   25   bench to answer a ques tion rather than answering in front of


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    1   the entire panel here in open court, please feel free to so

    2   indicate .

    3                  All right.        We're going to begin with Alternate

    4   Number 1 .

    5                  I believe you have the microphone.                         And if you could

    6   take the background questionnaire and just answer each of those

    7   questions and tell us a little bit about yourself.

    8                  PROSPECTIVE J UROR:               My name is Thomas Lin.                  I live in

    9   Santa Clarita, California.                    I ' ve lived in Santa Clarita for

   10   about 25 years.

   11                  My marital status is divorced .                       I live with my

   12   fiancee ln Santa Clarita .

   13                   I have three children .                 They're all girls ranging in

   14   ages from 16 to 21 .            Two o f them are in college.

   15                  My education i s I graduated from Cal State

   16   Northri dge.        I have a bachelor's in science.

   17                   I do not have any military experience.

   18                  I'm currently a senior vice president in business

   19   development for a mortgage outsourcing company.                                That company 's

   20   name is ISGN Solutions and they're based out of Palm Bay ,

   21   Florida.

   22                   THE COURT:        And the partner that you're living with,

   23   what does he or she do for a living?

   24                   PROSPECTIVE JUROR:               She ' s a mortgage loan officer.

   25                   THE COURT:        Okay .        And who does she work for?


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    1                 PROSPECTIVE JUROR:                Peak , P - e - a-k.

   2                   THE COURT :       Okay.         Ever served on a Jury before?

    3                  PROSPECTIVE JUROR:               No .

    4                  THE COURT:        Ever been a party or a witness in a c i vil

    5   or criminal case?

    6                 PROSPECT IVE JUROR :              A party in a civil if you

    7   consider divorce.

    8                  THE COURT:        Okay.         Anythin g abou t that experience

    9   t h at would cause you to have concerns about your ability to be

   10   fair and impartial to both sides in this case?

   11                  PROSPECTIVE JUROR :               No.

   12                  THE COURT :       Have you had a chance to look at the

   13   Criminal Case Questionnaire?

   14                  PROSPECTIVE JUROR:                Yes.

   15                  THE COURT:        Do you have any yes responses to any of

   16   those que s tions?

   17                  PROSPECTIVE JUROR:                Yes.

   18                  T HE CO UR T :    Okay.         Which ones?

   19                  PROSPECTIVE JUROR :               Twelve and 14.

   20                  THE COURT:        Why don ' t we turn to Number 12 first and

   21   if you cou ld tell us why you answered yes to that question.

   22                  P ROSPECTIVE JUROR :              Yeah .        My brother used to work

   23   for Medtronics , which is a med i cal device company.

   24                  THE COURT :       Right.          What did he do for them?

   25                  PROSPEC TIVE JUROR:               He was a project manager .


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    1                  THE COURT:        And what about 1 4?

    2                  PROSPECT IVE JUROR :              My mother has heart problems and

    3   has a heart monito ring device.

    4                  THE COURT:        Okay.         Do you know how often she wears

    5   that?

    6                  PROSPE CTIVE JUROR:               I    th ink it' s cons tant.

    7                  THE COURT:        Okay .        Any other yes or affirmative

    8   answers to any of the other questions?

    9                  PROSPECTIVE J UROR:               No, Your Honor.

   10                  THE COURT:         Thank you very much.                  If you could pass

   11   the microphone back .

   12                  And, sir , if you could tell us a l ittle bit about

   13   yourself .

   14                  PROSPECTIVE JUROR:                My name is Wayne Tennis .               I l ive

   15   ln Long Beach , born and raised in Long Beach .

   16                  THE COURT :        What high school d id you go t o?

   17                   PROSPECTIVE JUROR:               I went to Lakewood High School.

   18                  THE COURT :        The Lakewood Lancers .

   19                   PROSPECTIVE JUROR :              Ye s, sir.

   20                   THE COURT:        Okay.         All right.

   21                   PROSPECTIVE JUROR:               Married.         I have three children :

   22   a 13-year-o ld girl , a ten year-old boy and a five-year old

   23   girl .

   24                   THE COURT :       Your educational background?

   25                   PROSPECT IVE JUROR :                 I graduated from Long Beach


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   1    State.     Never served in the military .

    2                  I own an e levator service company named Tot al Access

    3   Elevator.       It's been around for about                     ten year s.      My wife,

    4   well, she wo rk s part t ime for me.

    5                  THE COURT :       Ever served on a JUry before?

    6                  PROSPECTIVE JUROR :              No , sir .

    7                  THE COURT :       Ever been a party or a witness in a civil

    8   or criminal case?

    9                  PROSPECTIVE JUROR:                Yes, sir.

   10                  THE COURT:        Okay.         Is that -- if you c an just tap it

   11   once .

   12                  PROSPECTIVE JUROR :               Hell o.       There it is.

   13                  Yes,    I was a party in a civil case.

   14                  THE COURT :       Okay.         Anything about that experience

   15   that would cause you to have any con cern s about your abili t y to

   16   be fair and impartial?

   17                  PROSP ECT IVE JUROR :             No, sir .

   18                  THE COURT ;       Can you tell us               jusl gene r ally what that

   19   civil cas e was about or what it involved?

   20                  PROSPECTIVE JUROR :               It was a liability case with an

   21   elevator accide nt.

   22                  THE COURT:        Okay .        Have you had a chanc e to look at

   23   the Criminal Case Questionnaire?

   24                  PROSPECTIVE JUROR :               Yes, sir .

   25                  THE COURT:        Do you h ave any yes res pons es to any of


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    1   those questions?

    2                  PROSPECTIVE JUROR :               No , Your Honor .

    3                  THE COURT:         Th an k you v ery much .

    4                  May I see counsel at sidebar?

    5           (The following proceedings were held at sidebar .)

    6                  THE COURT:         Okay.         I think we ought to - -wel l,             I'm

    7   wondering if we ought to seat maybe one more -- one or two more

    8   alternates or are the parties generally sat isfied wi th these

    9   two if we 're having two a l tern at es?

   10                  MR . MCDERMOTT :            You know,           just the mention of

   11   Medtronics - - is that a name that's involved with th is at all?

   12                  MS . RYKKEN:        It ' s a diabetic devic e company .

   13                   MR. MCDERMOTT:             Is that what that is?

   14                   THE COURT :       I t hink they may also make pacemakers.

   15                   MS. RYKKEN:        I don't know that.

   16                   MR. MCDERMOTT:             Okay .      The n I don ' t      have any issues

   17   with anyone.

   18                   MS. RYKKE N:       Yeah,        I don't either _

   19                   THE COURT :       Okay.         And both of you are comfortab le

   20   with just having two alternates?

   21                   MS. RYKKEN :        I think so .

   22                   MR. MCDERMOTT :            I think so.

   23                   MR. FREEDMAN:          I t h in k so.

   24                   MS. RYKKEN:         Yes.

   25                   THE COURT:        Okay.         Oh , I ' m sorry.          So each of you


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   1    will have one peremptory strike.                       Okay .

   2            (The following proceedings were held ~n open court.)

   3                   THE COURT:        All right .           Ladies and gentlemen,             let me

    4   ask counsel, any challenges for cause as to the newly seated

    5   alternates?

    6                  MR. FREEDMAN:         No, sir.

    7                  MR. MCDERMOTT:          No, sir.

    8                  THE COURT:        Any additional question s for the newly

    9   seated alternates?

   10                  MR. FREEDMAN:         No, Your Honor .

   11                  MR. MCDERMOTT:          Not by defense.

   12                  THE COURT :       All right.             Ladies and gent lemen, the

   13   parties are now going to exercise peremptory challenges.                                   Each

   14   side is entitled to a certain number of peremptory challenges

   15   to prospective jurors seated in the jury box.

   16                  A peremptory challenge allows counsel to remove a

   17   prospective juror that he or she believes may be unsympathetic

   18   to his or her case.

   19                  A peremptory challenge is one for which no cause or

   20   reason need been given.               Don't hold it against either side.

   21   It's something that lawyers do.

   22                  All right.        The first peremptory I believe rest s with

   23   the government.

   24                  MR. FREEDMAN:          Your Honor, the government accepts the

   25   alternate panel as currently constituted .


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    1                  THE COURT:        Okay.         Next peremptory challenge lies

    2   wit h the de f ense.

    3                  MR . MCDERMOTT:           The same         lS   true with the defense,

    4   sir .

    5                  THE COURT :        Al l   right .        Okay .     Ladies and gentlemen

    6   we ' ve se le cted o u r alternates.

    7                  Thank you very much for you r service.                          You may retu r n

    8   to the jury assembly room on the first floor .

    9                  All right .        P l ease be seated.

   10           (The Court and clerk confer off the record.)

   11                  THE COURT:         Okay .        You're going to be joined by 12

   12   other people that have been selected as a Jury, and we will se e

   13   if we can           see if they ' ve all return ed .

   14                   Yes , sir.

   15                   PROSPECTIVE JUROR:               May I use the restroom?

   16                   THE COURT :       Sure .

   17                   MS . RYKKEN:       Your Honor, may we use the restroom as

   18   well really quickly?

   19                   THE COURT :       That ' s fine.

   20                   MS . RYKKE N:       Thank you.

   21            (Jury in at 1 : 13 P . M.)

   22                   THE COURT:        All right.             I understand that          Juror

   23   Nu mber 5 would like to speak to the Court.

   24                   Okay .      If you could join us over here, please.

   25            (The following proceedings were held at sidebar.)


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   1                  PROSPECTIVE JUROR :               I just want to share my feeling

   2    the way I feel.

   3                   THE COURT:        Uh-hmrn .

   4                  PROSPECTIVE JUROR :               I been having this strong feeling

   5    of getting this way of kinda come u p with something fair to t h e

    6   case .    I've been working to myself .                        I keep coming to the same

    7   place as I ' m confused.            I want to be come around doing a great

    8   job as JUror, but I don ' t mind                       I ' m just feeling not fair to

    9   do what is r ight to do i n this case.

  10                   THE COURT :       Well , you know , part of the process

  11    involves hearing the evidence.

  12                   P ROSPECTIVE JUROR :             Right .

  13                   THE COURT :       And we haven ' t              done that yet .        So you ' re

  14    going to - - the jury should be able to hear the witnesses , see

  15    the exhibits, lis ten to the arguments of counsel ,                              and then

   16   reach a d ecision and l i st en to the views of your fell ow jurors .

   17                  PROSPECTIVE JUROR :               Excuse my interruption.

   18                  The way      I   have seen th ings is -- from yesterday by

   19   the way of t h e process, going through it a ll day it, it just

   20   blocked me.        Today I 'm in process to catching up.                           It gets to

   21   the point that         I goes [sic ] to the same -- same hole , and I - -

   22   if I were to open up and see other                              you know, but it ' s your

   23   decision .      Wh atever yo u guys decide .                    I just want t o share my

   24   feeling abou t what I feel , and what I - - I' m able t o give to

   25   you guys .


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    1                  THE COURT:          Okay .       Well , what are you confused about

    2   at t his point?
                                                                                                              -
                                                                                                              ~


    3                   PROSPECTIVE JUROR :               The way the process been golng

    4   through the whole day yesterday , and we got to stay longer and

    5   basica lly be able to , you know , ge t                     upset with the jury and now

    6   it ' s same kind o f pr ocess we going through it , so I'm very

    7   confused .

    8                   THE COURT :        Okay .        Well , to answer your -- to address

    9   your confusion , y esterday we were ju st trying to select                                 a j ury.

   10   We've got a jury selected now ,                     and so now we ' re ready to start

   11   the trial .

   12                   PROSPECTIVE JUROR :               Well ,        I will do my best , but in

   13   the meantime , I            j ust want to explain mys elf.

   14                   THE COURT :        I appreciate that.

   15                   PROSPECTIVE JUROR :               My feelings are knowledge is

   16   being fair to the case, so I don ' t                        want t o sound like I never

   17   expressed myself--

   18                   THE COURT :        That ' s fine .

   19                   PROSP ECTIVE JUROR :               -- a s a citizen , so I            j ust want

   20   to share with you guys.

   21                   THE COURT :        Okay .        That ' s fine .         You can always do

   22   that .

   23                   PROSPECTIVE JUROR :                Uh-huh .

   24                   THE COURT :        But we ' re ready to get started .

   25                   PROSPECTIVE JUROR :                Okay .        Thank you .


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           1                   THE COURT:           Okay .

           2            (Prospective juror takes a seat.)

            3                  THE COURT :          Either of you have anything you want

            4   to --

            5                 MR . FREEDMAN:           No.

            6                 MR. MCDERMOTT:               No.

            7                  THE COURT:           Okay.

            8           (The following proceedings were held in open co urt.)

            9                  THE COURT:           Ladies and gentlemen, you might notice

           10   those two handsome strangers sitting at the end of each row.

           11   They have now joined you as jurors in th i s case, and I think

           12   we're prepared to g e t             started th i s afternoon.

           13                  Any reason why the 12 jurors shouldn't be sworn at

           14   this time?

           15                  MR. MCDERMOTT :             Not by the def e nse, s l r.

           16                  MR. FREEDMAN :           No, Your Honor.

           17                  THE COURT:           All right.          I ' m going to ask that the 12

           18   jurors stand ond be sworn by the clerk.

           19                  THE CLERK:           Please raise your right hand.

           20                  Do you solemnly swear that you will well and truly

           21   try the cause now before th i s Court and a true verdict therein

           22   render , according to the evidence and instructions of the

           23   Court , so help you God?

           24                  THE JURY:        I    do.

           25                  THE COURT :          You may be seated .
~


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    1                  Al l right.       Thank you.

    2                  Any reaso n why the alternates shouldn ' t be sworn at

    3   t his time?

    4                  MR. MCDERMOTT :         No,       sir .

    5                  MR . FREEDMAN:         No, Your Honor.

    6                  THE COURT:        All right .             I'm going to ask t he

    7   alternates to be stand and be sworn .

    8                  THE CLERK:        Do you solemnly swear that you will well

    9   and t ruly try the caus e now before this Court and a true

   10   verdict therein render according to the evidence and

   11   instructions of the Court, so help you God.

   12                  THE ALTERNATES:              I   do.

   13                  THE COURT:         For those of you that weren't se lected,

   14   you ' re excused-- that are remaining in the audience, and you

   15   may return to the jury assembly room on the first floor and

   16   te ll t hem that you h ave been excused.                        Thank you.

   17                   All right.        Ladies and gentlemen, we 're go ing to have

   18   the clerk escort you back to the jury room so she can show you

   19   where it is.          She is going to go over some logist ical matters

   20   with you , tell you how to get in in the mornings, give you some

   21   telephone numbers to call if you 're running late -- and

   22   hopefully you won ' t because we can't start unless all of you

   23   are her e and present.

   24                   And then once she gives you this orientation , we ' re

   25   going to come back.              I ' m going to have some preliminary


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   1    instructions for you.               Then we ' ll have the opening stat ements

   2    of counsel and then we ' ll start taking evidence from some of

   3    the witnesses.

    4                  Now ,    I know we had some earlier discussions before we

   5    left about meeting this afternoon.                          Is everybody going to be

    6   able to be here this afternoon?

    7                  A JUROR :       I   would have to leave by 3:00 to get my

    8   children.

    9                  THE COURT :         Okay.        Can everybody be here until 3

  10    o ' clock?     Okay .       We'll go until 3 o ' clock.

  11                   A JUROR :       Thank you .

  12                   THE COURT :         And then tomorrow morn1ng we ' re golng t o

   13   start at 8 o'clock and we'll go until 1:30.                               We ' re going to

   14   take two short breaks -- two short 15 - minute breaks and then

   15   we ' ll s t op at 1:30 and come back t h e next day .

   16                  All right .         Thank you very much .

   17                  If you would stand and the clerk will escort you out

   18   and show you where the jury room is .

   19                  THE CLERK:          All r i se .

   20           (Jury out at 1 : 20 P.M.)

   21           (The following was heard outside the presence of the

   22           jury.)

   23                  THE COURT :         Okay.        Let me go over some instructions

   24   that I'm going to give the jury when they come back in.

   25                  These are all of the preliminary instructions .                            I 'm


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    1   going to give 1.1, 1.2 -- I'm going to include in 1.2 the

    2   essential elements of the crime that's charged in the

    3   Indictment-- 1.3, 1 . 4, 1.5, 1.6, 1.7 , 1.8 ,                         1.9, 1.10, 1.11,

    4   1.12, 1.13 .        And then we'll give -- I believe it's 2.2, which

    5   is bench conferences and recesses .

    6                  And at some point, I believe there ' s a stipulation

    7   and you ' ll let me know if                    are you going to read the

    8   stipulation or is i t           just

    9                  MR. FREEDMAN :          I think the only stipulation is as to

   10   the exhibits.          There's no fact stipulation.

   11                  THE COURT :       Okay.         Any objections to any of those --

   12   giving any of those instructions?

   13                  MR. MCDERMOTT:           No ,     sir.

   14                  MR. FREEDMAN :          No.

   15                  THE COURT :       And your openlng statement is going to be

   16   how long?

   17                  MS. RYKKEN :        Six to eight minutes.

   18                  MR. MCDERMOTT:           No more than 20, sir.

   19                  THE COURT :        Okay.

   20                  MS. RYKKEN :        Your Honor, though,                I was planning on

   21   using this (indicating)              just briefly to show them what the

   22   Holter device is, if that ' s okay with you .                           It will be Exhibit

   23   1 through Jon Barron.

   24                  THE COURT :        Okay.         Any objection?

   25                  MR . MCDERMOTT :            No, sir.


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   1                   MS. RYKKEN :       And he's also seen the PowerPoint that I

   2    will be using, which is just a couple of slides .

   3                   THE COURT:        Okay.         Defense going to be using any

   4    demonstrative exhibits during its opening?

   5                   MR. MCDERMOTT:           No, sir .

    6                  THE COURT :       All right.            As soon as the Jury gets

    7   back, we'll get started and see how far we can get until -- I

    8   guess that gives us about an hour and a half.

    9                  And who is your fi rst witness.

  10                   MS. RYKKEN:         It depends on the timin g.                   We would - -

  11    there is one witness, John Hattrup, who will probably go today

   12   if we can only get one person ln, so that's probab l y

   13                  MR. FREEDMAN:          We'll switch one and two.

   14                  MS. RYKKEN :        Yeah , we'll sw i tch one and two .

   15                  THE COURT :       All right.             I think we'll be hopefully

   16   about five or ten minutes and then we ' ll be able to get

   17   started.

   18           (Recess     taken    1 : 25   to 1:30 P . M . )

   19           (The following was heard outside the presence of the

   20           j ury . )

   21                  THE COURT:        All right.             Let ' s bring the jury in.

   22           (Jury in at 1 : 32 P . M. )

   23                  THE COURT:        Ladies and gentlemen, you now are the

   24   jury in this case, and I wa nt to take a few minutes to tell you

   25   something about your dutie s as jurors and to give you some


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    1   instructions.

    2                  These are preliminary instructions.                          At the end of

    3   the trial , I       will give you more detailed instructions.                            Those

    4   instruc tions will control your deliberations.                              You should not

    5   take anything I may say or do during the trial as indicating

    6   what I think of the evidence or what your verdict should be .

    7                   This is a criminal case brought by the United States

    8   government.         The government charges the defendant with health

    9   care fraud and causing an act to be done.

   10                   The charges against the de fe ndant are contained in

   11   the Indictment.             The Indictment is simply the description of

   12   the charges made by the government against the defendant .                                  It

   13   is not evidence of anything.

   14                   The defendant has pleaded not guilty to the charges

   15   and is presumed innocent unless and until the government proves

   16   the defendant guilty beyond a reasonable doubt.

   17                   In addition, the defendant has the right to remain

   18   silent and never has to prove innocence or present any

   19   evidence.

   20                   In order to help you follow the ev idence ,                         I will now

   21   give you a brief summary of the elements of the crimes which

   22   the government must prove beyond a reasonable doubt to make its

   23   case.

   24                   In order for the defendant to be found guilty of

   25   health care fraud,            in violation of Section 1347 of Title 18 of


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   1    the United States Code, the government must prove each of the

    2   following elements beyond a reasonable doubt:

    3                 First, the defendant knowingly and willfully

    4   participated in a scheme or plan to defraud a health care

    5   benefit program or a scheme or plan for obtaining money or

    6   property from a health care be nefi t program by means of false

    7   or fraudulent pretenses, representations or promises;

    8                  Second, the statements made or fact s omitted as part

    9   of the scheme was material , that is, they had a natural

  10    tendency to influence or were capable of influencing a person

  11    to part with money or property of a health care benefit

   12   program;

   13                  Third, the defendant acted with the intent to

   14   defraud, that is , the intent to deceive or cheat; and,

   15                  Fourth , the scheme was in connection with the

   16   delivery of or payment for health care benefits, items or

   17   services.

   18                  In determining whether a                  scheme to de£Lctud exists,

   19   you may consider not only t he defendant's words and statements

   20   but also the circumstances ln which they are used as a whole.

   21                  The term "health care benefit program" means any

   22   publ ic or private plan or contract affect ing comme rce under

   23   which any medical benefit, item or service is provided to any

   24   individual and includes any individual or entity who's

   25   providing a medical benefit, item or service for which payment


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    1   may be made under the plan or contract.

    2                  A scheme to defraud and a scheme for obtaining money

    3   or property means any deliberate plan of action or course of

    4   conduct b y which someone intends to deceive or to cheat another

    5   or by which someone intends to deprive another of something of

    6   value.

    7                  Defendant may be found guilty of health care fraud

    8   even if he personally did not commi t the act or acts

    9   constituting the crime but instead willfully caused an act to

   10   be done, which if directly performed by him or anothe r would

   11   constitute health care fraud.

   12                   To prove the defendant guilty under this theory, the

   13   government must prove beyond a reasonable doubt:

   14                   First, health care fraud was committed by someone;

   15                   Second, defendant willfull y ordered, directed or

   16   otherwise brought about the commission of health care fraud.

   17                   These instructions are preliminary, and the

   18   instruction I will give you at the end of the case will

   19   control .

   20                   The punishment provided by law for these crimes                          lS


   21   for the Court to decide.                   You may not consider punishment in

   22   deciding whether the government has proved its case against the

   23   defendant beyond a reasonable doubt.

   24                   The evidence you are to consider in deciding what the

   25   facts are consists of the sworn testimony of any witness, the


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   1    exhibits which are received into evidence, and any factors to

   2    which all lawyers stipulate.

   3                   The following things are not evidence and you must

    4   not consider them as evi den ce in deciding the facts of this

    5   case :    Statements and arguments of the attorneys , questions and

    6   objections of the attorneys, testimony that I inst ruct                                  you to

    7   disregard , and anything you may see or hear when court is not

    8   i n ses sion, even if what you see or hear is from the witnesses.

    9                  Some evidence is admitted for a lim i ted purpose only .

   10   When I instruct you that an i tem of ev idenc e has been admitted

   11   for a limited purpose, you must consider it only for that

   12   limited purpose and for no other .

   13                  Evidence may be direct or circumstantial.                             Direct

   14   evidence is direct proof of a fact , such as testimony by a

   15   witness about what that witness personal l y saw or hea r d or did.

   16   Circumstantial evidence is indirect ev idenc e, that is,                                 it is

   17   proof of one or more facts from which one can find another

   19   fact.

   19                  Fo r examp le , if you wake up in the mornlng and see

   20   that the sidewalk is wet, you may find from that fact that it

   21   rained during the night , however, other evidence , such as a

   22   t urned on garden ho se, may explain the water on the sidewal k ,

   23   therefore, before you decide that a fact                           has been prove d by

   24   ci r cumstantial ev idenc e , you must consider all of the evidence

   25   in light of reason, experience and common sense.


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    1                  You are to consider both direct and circumstantial

    2   evidence .       The law permit s you to give equal weight t o both,

    3   but it is for you to decide how much weight to give any

    4   evidence .

    5                  There are Rul es of Evidence which control what can be

    6   received into evidence.               When a lawyer asks a question or

    7   offers an exhibit into evidence and the lawyer on the other

    8   side thinks that it is not permitted by the Rules of Evidence,

    9   t h at lawye r may object.

   10                   If I overrule the objection , the question may be

   11   answered or the exhibit received.                         If I sustain the objection ,

   12   the question cannot be answered and the exhibit cannot be

   13   received.        Whenever I sustain an objection to a question, you

   14   must ignore the question and must not guess at what the answer

   15   would have been.

   16                   Sometimes I may order that e vidence be s t ricken from

   17   the r ecord and that you disregard or ignore the evidence.                                That

   18   means that when you are deciding the case, you must not

   19   consider the evidence which I told you to disregard.

   20                   In deciding the facts in this case, you may have to

   21   decide which testimony to believe and which testimony not to

   22   believe.        You may believe everything a witness says or part of

   23   it or none of it.

   24                   In considering the testimony of any witness , you may

   25   take into account the opportunity and ability of the witness to


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   1    see or hear or know the things testified to , the witness ' s

    2   memory, the witness' s manner while testifying, the witness ' s

    3   interest in the outcome of the case and any bias or prejudice,

    4   whether other evidence contradicted the witness ' s testimony,

    5   t he reasonableness of t he witness ' s testimony in light of all

    6   the evidence, and any other factors that bear on believability.

    7                  The weight of the evidence as to a fact does not

    8   necessarily depend on the number of witness es who testify .

    9                  I will now say a few words about you r conduct as

   10   jurors.

   11                  Fir st , keep an open mind throughout the tria l and do

   12   not de cide what the ve rdict should be until you and your fellow

   13   jurors have completed your deliberations at the end of the

   14   case .

   15                  Second , because you must decide this case based on l y

   16   on t he evidence re ceived in the case and on my instructions as

   17   to the law that applies , you must not be exposed to any other

   18   ~nf orm ati on    about the case or to the is sue s                    iL involves dur ing

   19   the course of you r          jury duty .

   20                  Thus, until the end of the case or unless I tell you

   21   ot herw ise, do not communicate with anyone in any way and do not

   22   le t   anyone else communicat e with you in any way about th e

   23   merits of the case or anything to do with it.

   24                  This includes discussing the case in pe rs on ,                           in

   25   wr iti ng, by phone , or electronic means via e-mai l, text


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    1   messaging or any i nternet chat room , blog , website or any other

    2   feature .

    3                  This applies to communicating with your fe ll ow jurors

    4   until I give you the case for your de l iberations, and it

    5   applies to communicating with everyone else ,                            includi ng your

    6   f amily members, your employer, the medi a or press, and the

    7   people involved in the trial,                    although you may notify your

    8   family and your employer that you have been seated as a juror

    9   in the case .        But if you're asked or approached in any way

   10   about your jury service or anything about the case,                                 you must

   11   respond that you ' ve been ordered not to discuss the matter and

   12   to re p ort that contact to the Court .

   13                  Because y ou will receive all of the evidence and

   14   legal instructions you properly may consider to return a

   15   verdict, do not read , watch or listen to any news or media

   16   accounts or comment ary about the case or anyth i ng to do with

   17   i t.

   18                   Do not do any research ,                such as consulting

   19   dictionaries ,        searching the internet or using other re f erence

   20   materials, and do not make any investigation or in any other

   21   way try to learn about the case on your own.

   22                   The law re q uires these restrictions to ensure the

   23   parties have a fair trial based on the same evidence that each

   24   party has had an opportunity to address .                            A juror who violates

   25   these restri ctions jeopardizes the fairness of these


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   1    proceedings and a mistrial could result that                            would require the

    2   entire trial process to start over.

    3                  If any juror is exposed to any outside information,

    4   please notify the Court immediate ly .

    5                 At t he end of the trial , you will have to make your

    6   decision based on what you recall of the evidence.                                 You will

    7   not have a written transcript of the trial.                              I urge you to pay

    8   close a ttention to t he testimony as it is given.

    9                  If you wish, you may take notes to help you remember

   10   what    witnesses said .         If you do take notes , please keep them to

   11   yourself until you and your fellow jurors go to the jury room

   12   to decide the case.            Do not        l et note taking distract you so

   13   that you do the not hear other answers by witnesses .

   14                  When you leave for the day , your notes should be left

   15   i n the courtroom on your chairs.

   16                  Whether or not        you take notes,               you should rely on

   17   your own memory of what was said .                       Notes are only to assist

   18   you r   memory .     You should uoc be overly in! luenced by the notes.

   19                  And we wi l l - - once the t estimony starts, we will

   20   provide you with notebooks.

   21                  The next phase of the trial is now going to begin .

   22                  Firs t , each side may make an opening statement .                         An

   23   opening statement is not evidence.                         It is simply an outline to

   24   help you understand what that party expects the evidence wil l

   25   show.     A party is not required to make an opening stateme nt .


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    1                  The government will then present evidence and counsel

    2   for the defendant may cross-examine.                           Then the defendant may

    3   present evidence and counsel for the government may

    4   cross-examine.          After the evidence has been presented, the

    5   attorneys will make closing arguments and I will instruct you

    6   on the law that applies to the case.                           After that , you will go

    7   into the jury room to deliberate on your verdict.

    8                  From time to time during the tria l, it may become

    9   necessary for me to talk with the attorneys outside of the

   10   hearing of the jury either by having a conference at the bench

   11   when the jury is present in the courtroom or by calling a

   12   recess .

   13                  Most of the time, these conferences will involve a

   14   determination as to whether evidence is admissible under the

   15   Rules of Evidence.             It is appropriate to take these matters up

   16   outs i de the presence of the jury.                       Should I conclude a more

   17   prolonged discussion than necessary, I may excuse you from the

   18   courtroom.

   19                   We will, of course, do what we can to keep the number

   20   and length of these conferences to an absolute mi nimum.

   21                   I may not always grant an attorneys request for a

   22   conference.         Do not consider my granting or denying a request

   23   for a conference as any indication of my opinion of the case or

   24   of what y our verdict should be.

   25                   Thank you.


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   1                  Does the government wish to give an open ing statement

   2    at this time?

   3                  MS. RYKKEN:         Yes, Your Honor.

   4                  May I begin , Your Honor?

   5                  THE COURT:         Yes, please.

    6                 MS. RYKKEN:         Thank you.

    7                 This is a Holter device                   (indicating).

   8                   It measures your heart rate and it does so for a

    9   short period of time, 24 or 48 hours.                          But there are a lot of

  10    things that it cannot do.                   It cannot measure your heart rate,

  11    for example, for 30 days,              it      can't measure your breathing, and

  12    it can't see what ' s going on inside your head .

   13                  But    the defendant, Michael Mirando, made at least

   14   two-and-a-half-million dollars by charging insurance companies

   15   for thi ngs like that t hat this device cannot and did not do.

   16                  He padded the bills.                 He is now charged with 15

   17   counts of health care fraud .

   18                  So I    want   to talk abou·t. how              Lhls   wo rks.     The    Halter

   19   device is a screen ing tool                 so that the doctor can see what ' s

   20   going on in a patient's heart and then they can see if more

   21   testing is necessary or maybe a cardiologist .

   22                  The defendant owns a company called Hol ter Labs

   23   which ,    in turn , owned many of these devices .

   24                  All right.        So here's our first step.                      A patient, for

   25   examp le, will go to her regular fami l y practice doctor


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    1   comp l aining of a heart palp i tation or a funny heartbeat or

    2   something like that .            Typically , the doc t or will maybe hook her

    3   up to the ECG machine and see if there ' s anything the doctor

    4   can see at the time .            And if not, the doctor will sometimes

    5   order the Holter device for 24 to 48 hours to see if something

    6   else is happening over the course of a full day or two days.

    7                  So then the next             step is the patient will be hooked

    8   up to this device at the doctor's office , will wear the dev i ce

    9   for 24 to 48 hours,            sometimes keeping a journal or pressing a

   10   button when there's a funny heartbeat .                          And then when the 24

   11   hours are over , the patient will then bring the device back to

   12   the doctor's office to have it taken off and have the data

   13   read.

   14                  So that is step three .                  The data is taken from the

   15   device and i t        is sent to a third party .                   In this case, the

   16   third party was defendant ' s company, Ho l ter Labs .

   17                   So the data is taken off of here on a little ti n y

   18   card .     It l ooks like maybe a little bit b i gger than the SIM

   19   card on your phone .            It ' s sent to Holter Labs, and then they

   20   plug it in , the software reads it, and it wil l                            spit out a

   21   report for the doctor to review.                        So once the report is

   22   created, the doctor will then review the report.

   23                   All right.        In this chain of events, there are two

   24   things that happen that should be bil l ed to an insurance

   25   company.        The first of those is when the report is created by


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   1    Holter Labs, and th e second one is when the docto r actually

   2    reviews that report and gives the patient advice about what to

    3   do next.       But the defendant charged for far more than actually

    4   occurred .

    5                  This first one         ( indicating) for 24 hours, that's

    6   fine.

    7                  But instead of jus t billing for the single service

    8   that was provided, he also billed for th i ngs like bra in sc ans ,

    9   sleep apnea ,      30-day heart monitoring, wireless monitoring,

   10   which this is not capable of, and something called a microvolt

   11   T-wave assessment.

   12                  The defendant wasn ' t             allowed to bil l for any of

   13   t hose.     These are all tests that a doctor would have had to

   14   order, and t he do cto rs in this case orde re d n one of those

   15   tests .

   16                  In addition to all of those different items, the

   17   defendant also billed for multiple dates of service.                                     So a

   18   patient would wear i t once an d then the defendant would bil l                                   it

   19   two , three or four times.

   20                  So the defendant was and still is responsible for all

   21   of the billing that his company does .                          You wil l see thos e

   22   do cuments that        he submitted to the insuran ce companies .

   23                  So the scheme was very simple.                       There was one

   24   legitimat e charge and then there were multiple fraudulent

   25   c harges t hat were added onto that.


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    1                  The charge for brain scans and respiratory tests.

    2   This cannot do that .             It just can't.               But he billed insurance

    3   companies about two-and-a-half-million dollars for things that

    4   this device just cannot do, and that two-and-a-half-million

    5   dollars is about 80 percent of defendant's profits .

    6                  And then he took those profits and put them in

    7   various different bank accounts, and he hid them from his

    8   business partner and kept the majority for himself.

    9                   Defendant knew this was a fraud .                       It was not a

   10   mistake.        He did not do this once or twice.                        He did not do it

   11   50 or a hundred times.               He did this tens of thousands of times

   12   for over ten years.             He 1s the one who submitted the claims and

   13   he put his name on the dotted l i ne.

   14                   During the trial, you will hear from the doctors , you

   15   will hear from the patients, and you will hear from the

   16   insurance companies that paid the claims, and you'll be able to

   17   look at all of the documents for yourself and see exactly what

   18   was submitted and what was paid.

   19                   The patients will tell you that they wore the Holter

   20   device one time for one day and that it tested their heart rate

   21   and nothing more .            And the doctors will tell you that they

   22   ordered one Holter device for one day and that it was to

   23   monitor the pat i ent's heart rate and nothing more .

   24                   At the close of the trial, the government will come

   25   back to you and ask you to return the only verdict consistent


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   1    with t he evidence in this case and a verdict of guilty.

   2                   THE COURT:        All right.            Thank you.

   3                  Does the defense wish to give an opening statement at

   4    this time?

   5                  MR. MCDERMOTT :           Ma y I, sir?

    6                  THE COURT :       Yes.

    7                  MR. MCDERMOTT :          Thank you .

    8                  Ladie s an d gentlemen, good afternoon and welcome to

    9   being the judges of the facts, the judges of the determination

   10   of what the evidence really means in this case and wh at it does

   11   not.

   12                  You'll notice that when we come in and out of court,

   13   the parties stand up and wait until you're seated, and the

   14   reason that we do that is because of the importance that you

   15   have in this case.

   16                  And for those of you that are concerned and nervous

   17   about whether or not you can be an adequate juror and a fai r

   18   juror,    r emember that you are on equal p a.c w.ll::.h each                      one of you .

   19   Your determination of the evidence, your understanding of the

   20   facts in this case will dictate and determine whether or not

   21   Michae l Mirando is guilty or not guilty of the offenses.

   22                  And as the judge instructed you just a couple of

   23   minutes ago , my client has absolutely no burden whatsoever .                                  So

   24   if the judge instructed you to go into the jury deliberation

   25   room right now and d e cide and deliberat e on a verdict, you ' d


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    1   have to come back with a not guilty because there's been no

    2   evidence presented.

    3                  That highlights the fact that the government carries

    4   the burden from the very start of this case until the finish,

    5   and my client has no obligation whatsoever to put any evidence

    6   on in this case and the burden will never shift from the

    7   government .

    8                   So those of you who are doing this for the very first

    9   time, all we ask from the defense side is keep an open mind

   10   throughout the entire course of the case.                             Wait until all the

   11   evidence is in and you have an opportunity to sit down with

   12   your other judges of the law -- of the facts and make a final

   13   deter~ination         as to the gu i lt or innocence.

   14                   Now, obviously, with everything going on in our world

   15   these days, there's a lot of discussion about health care, and

   16   I want you to understand what that impact is involved in this

   17   particular situation.

   18                   In this case, my c l ient is not a health care expert,

   19   never trained, has no health care background, and all the

   20   people involved with this case , at least with Holter Labs, no

   21   experience, no training, no education .                           It's all

   22   seat-of-the-pants understandi ng of how a Holter device works

   23   and how you bill.

   24                   So what you're going to learn in this case is in

   25   about 2002, a government witness by the name of Stan Crowley


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   1    was a neighbor of my client.                    My client was working at Intel at

   2    the time and the two men were r oughly about ten, fifteen years

    3   apart in age, Crowley being the older man.                             But my client was

    4   working for Intel as a systems manager.                            Absolutely no

    5   exper ience whatsoever in the health care field .

    6                  Crowley,      just so happened to have worked his way up

    7   in a company that worked with Holter devices.                               Now, don't be

    8   confused .      Holter Labs is the name of the company , but the

    9   Holter device is something that's entirely different and not

   10   necessarily anything that my client created .

   11                  Holter device was created by another bunch of people,

   12   and it just so happened t hat Stan Crowley had worked for those

   13   people.      And Stan Crowley and another associate of his by the

   14   name of James Cast worked with this other company for a number

   15   of years, and what the y learned at that company was how to bill

   16   and what to b ill for the use of the device.

   17                  Now, bear in mind, you will see Mr. Crowley tes tify

   lB   here,    at lenat he ' s      on the gove rnment ' s             wlLne~~     ll~L,       and I

   19   anticipate some of the tes timony t hat he will have to offer in

   20   this case and some of that testimony will be this.                                 Mr. Crowley

   21   and Mr . Cast had to leave the prev i ous company.                             They had the

   22   good fo rtune of meeting a young man that had a few extra

   23   dollars and they were able to convince him to start a company,

   24   Holter Labs.

   25                  And when they started that company, Mr. Crowley is


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    1   the expert on how to interp ret and what to use the devices for

    2   because he's been involved in the field a number of years

    3   before he meets Michael Mirando.

    4                  And while they get the company set up, Mr . Crowley

    5   brings in Jame s Cast.             And what is Mr. Cast good at?                          Billing.

    6   Billing .

    7                  Now, one of the things that isn't explalned here --

    8   and, again, it goes back to this health care thing -- we're

    9   getting into coding.              No more do you fill out a p1ece of paper

   10   or even a fax or an e-mail with -- give you a description of

   11   what we are using the device for                               code.   922622.       977221.

   12                   What you need to know and understand is that the

   13   coding needs to be correct for the insurance company to accept

   14   it and pay.

   15                   And so when the process was undergoing and the

   16   company was being developed and formed, Cast and Crowley were

   17   teaching Michael Mir ando how to bill, what to bill, when to

   18   bill.

   19                   And another twist in this entire circumstance is

   20   this.      The makers of the Holter devices, Datrix -- Mr . Barron

   21   will come in and testify -- nobody sits down and teaches you

   22   coding .

   23                   Even the doctors will tell you, that will come in and

   24   testify, coding is perhaps some of the most complicated of the

   25   part of medicine anymore.                    "It's difficult because I don't get


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   1    to just tell the insurance company I appl ie d a Holter device,

   2    but I have to put a specific code down .                           I now have to have

   3    people that I hire that understand coding so I can get paid."

    4                 Now, why would the doctors want to become involved

    5   with an item such as this , not the least of which because of

    6   patient care and needs and that sort of thing?                               But you have to

    7   understand when Holter Labs got started, the concept is to

    8   reach out to doctors, encourage one of them to take one of

    9   their devices for free, utilize the device on the patient and

  10    most of the information is sent electronically .                              You can ' t wait

  11    for days after a heart's been mon itor ed to det ermine what 's the

  12    appropriate care that should be done.                          By that time the patient

  13    may be dead .        So they e-mail the stuff back and forth.

   14                  And, again, the people responsible for teaching my

   15   cli ent , Cast and Crowley, taught t he mechanisms as to how to

   16   interpret, how to read and how to bill .

   17                  Not once did any insurance company during the entire

   10   t i me go   to HolLe r      Labs and say,           "You know what?            We ' ve been

   19   looking at your bills.              Why are you billing with this code

   20   number?      This code number this machine does not do . "                               But they

   21   didn ' t.

   22                  In this case you will hear no evidence fro m an

   23   insurance company that says,                   "We think you got a problem wi th

   24   your coding and we're not going to pay you ."                             No , we go on for

   25   nine years almost.


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    1                  How does this matter come to light?                         My client works

    2   his tail off, gets the business booming, makes most of the

    3   money, and the other two, they're not happy.                              They're not

    4   happy.      And what do they do?                 They start a lawsuit .              They sue

    5   my client civil ly, stat e court , demanding their share,

    6   demanding that they get t heir percentage of the profits and

    7   their interest in the company.

    8                  He fought him.          Fought them hard.                 And they got angry

    9   because he was prevailing in th e civil suit.                             He was winning.

   10                  So what did they threaten to do?                        "We're going to go

   11   and tell the authorities, " and that 's what they did.

   12                  Mr. Crowl ey took evidence fro m a server at Holter

   13   Labs, had it for a year, because he brought his buddy Cast back

   14   into the picture -- because , see, Cast was supposed to become a

   15   partner but he didn't deliver the money he was supposed to

   16   deliver as being a partner or the material that he was supposed

   17   to add to the business quality .

   18                  But he comes storming back in the picture once he

   19   realizes how much money this is making because of the ef forts

   20   to market this product , and he starts th e ball rolling with t he

   21   lawsuit and Crowley joins.

   22                  And two days before Crowley walks into the offices of

   23   the FBI , he gets a lawyer who comes with him and, "Oh, by t he

   24   way, I have this stick of information and evidence that came

   25   from one of the servers, and we got it -- involving a


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   1    particular insurance company, and lo and behold, we ' ve got

   2    evidence that           he's been bil li ng-- he's been billing the

    3   insurance companies under the wrong codes and he's billing

    4   multiple times wrong codes."

    5                    I    submit to you when the evidence is fully fleshed

    6   out , Crowley went to the FBI because he did it before.                                     You

    7   wil l    learn in this case that Cast and Crowley had a prior

    8   employer, Holter Devices, Holter Devi ces, and they didn't l ike

    9   what was go ing on their either.                         They didn't get the kind o f

   10   money they thought either .                     They went to the FBI .

   11                    And lo and behold, by the time it was all said and

   12   done , they made a lot of money because in that circumstance ,

   13   that company was billing Medicare, Medi-Cal, a government

   14   agency, and they were allowed to reap the profits of some of

   15   the clawback on that.

   16                    So th is is not a situation in which the insurance

   17   companies came and decided that there was something wrong with

   18   the b i lling.          This is circumstance o£ two individuals who

   19   taught my client everything.                        And the insurance companies will

   20   tell you the same thing.

   21                    Th ink about it.              You learn how to drive a car.                  You

   22   got     to go to a class.             And it 's a pretty important thing

   23   becaus e of the harm and damage you can do if t here's an

   24   accident .           Well ,   consider the harm and damage you can do with a

   25   medical device --


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    1                  THE COURT:         Sir, this is an opening statement, not a

    2   closing argument.

    3                  MR. MCDERMOTT:          -- if, ln fact, there's no training.

    4   And the eviden ce will show that my client, nor anyone else in

    5   this picture , ever received any training on coding.

    6                  On that basis and on that understanding and the

    7   knowledge of what you will hear from Mr . Crowley about the

    8   circumstances of this company, I assert to you that my client

    9   did not knowingly understand that this was, in fact,                                 a

   10   fraudulent bil ling operation.                     Everything he taught, everything

   11   he was instructed, everything that was passed along to him.

   12                  And I submit to you by the time we ' re finished with

   13   this case , one of the things that you may fully understand here

   14   is that maybe Cast and Crowley knew exactly what they were

   15   doing when they came to my client.

   16                   When it ' s all said and done, I think there will be

   17   mo re than enough reasonable doubt to convince you that my

   18   client should not be found guilty of these charges.

   19                   Thank you for the opportunity.

   20                   THE COURT:        All right .           Thank you.         All right.    If

   21   you would call your first witness please .

   22                   MS. RYKKEN :       Thank you, Your Honor.                    The government

   23   calls John Hattrup .

   24                   THE CLERK:        P l ease raise you r right hand.

   25                   Do you solemnly swear that the testimony you shall


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   1    glve ln the cause now before this Court sha ll be the truth , the

   2    whole truth, and nothing but the truth, so help you God?

   3                   THE WITNESS:            I do.

   4                   THE CLE RK :        Please be seated.

   5                   Please s t ate your ful l name and spell your last name

    6   for the r ecord.

    7                   THE WITNESS :         John Robert Hat tr up, Jr .                 Last name is

    8   H- a-t-t-r- u-p .

    9                   THE COURT :        All right.            Counsel.

  10                   MS. RYKKEN :           Thank you, Your Honor .

   11                                       JOHN HATTRUP , JR .,

   12                                having been first duly sworn,

   13                                    testified as follows:

   14                                       DIRECT EXAMINATION

   15   BY MS. RYKKEN :

   16   Q.      What do you do for a living?

   17   A.      I ' m a delivery driver for a printing company.

   l8   Q.      Where do yo u         llve?

   19   A.      Mission Viejo .

   20   Q.      Have you worn a heart rate monitoring device before?

   21   A.      Yes.

   22   Q.      Do you remember when that was?

   23   A.      Back in 20 11.

   24                   MS. RYKKEN:           Your Honor,           I ' d like him to t ake a look

   25   a t Exhibit 1 , which is t he heart- rate device.


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    1                    THE COURT:        All right.

    2   BY MS. RYKKEN:
                                                                                                        --
    3   Q.       What is that?

    4   A.       A Holter device.

    5   Q.       I s that similar to the one that you wore?

    6   A.       Yeah, and it was attached to my chest.

    7                   MS . RYKKEN:        The government would move to admit

    8   Exhibit 1.

    9                    THE COURT:        Any objection?

   10                   MR . MCDERMOTT :            None, sir.

   11                    THE COURT:        All right.            It will be received .

   12             (Trial Exhibit 1 admitted into evidence . )

   13   BY MS. RYKKEN :

   14   Q.       So you said that you wore the device in April of 2011?

   15   A.       Correct.

   16   Q.       F or how l ong did you wear the dev i ce?

   17   A.       One night .

   18   Q.       So how did that get attached?                      What happened?

   19   A.       I went t o the doctor ' s office and after an EKG , they

   20   hooked me up to this and sent me horne.

   21   Q.       What happened once you went horne?

   22   A.       They just said to go about your normal activity and

   23   everything was being recorded on t here and so return the next

   24   day and t urn it b ack in.

   25   Q.       So I notice that you're putting your hand sort of all over


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   1    the chest area; is that right?

   2    A.      Yeah , it was attached like up here (indicating)                              on my

   3    chest .

   4    Q.      " Up here , " like near your shoulders?                        Is that what

    5   you're

    6   A.      Like right in here (indicating) .

    7   Q.      Were the electrodes ever near your head?

    8   A.      No .

    9   Q.      Nowhere around your face?

   10   A.      No.

   11   Q.      So you wore it once for one night?

   12   A.      Correct .

   13   Q.      Did you ever wear it for 30 days?

   14   A.      No.

   15   Q.      Did you ever wear it again?

   16   A.      Not from that particular doctor, no.

   17   Q.      When was the next time that you wore it?

   18   A.       I   believe i t was in 2013 with a cardiologisL.

   19   Q.       So is that about two years later?

   20   A.       Correct.

   21   Q.       So when you had the device, did you have to do anything

   22   else like change the batteries or plug it in?

   23   A.       No.

   24   Q.       What 's your understanding of why the doctor had you wear

   25   this device?


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    1   A.       Just to check how my heart was beating and , you know ,                            if

    2   it was going too fast or t oo slow or if there was any

    3   irregularities           ln   my heartbeat .

    4   Q.       Did you have any othe r kind of cardiac procedure while you

    5   were wearlng the device?

    6   A.       No.

    7   Q.       What about trouble sleeping?                       Did you have trouble

    8   sleeping when you were wearing the device?

    9   A.       No .

   10   Q.       Did you go to see the doctor about sleeping prob l ems?

   11   A.       No.

   12   Q.       Are you familiar with sleep ap ne a?

   13   A.       Yes.

   14   Q.       What is it?

   15   A.       When basically you stop breath i ng at night.

   16   Q.       What ' s your doctor ' s name?

   17   A.       At that time in 2011, Dr. Greg Joy.

   18   Q.       Did you ever see Dr. Joy about sleep apnea?

   19   A.       No.

   20   Q.       Di d you ever -- did he ever o rder a sleep study for you ?

   21   A.       No.

   22   Q.       Did you take any tests at all to monitor your respiratory

   23   effort?

   24   A.       No .

   25                     MS . RYKKEN:        Your Honor , I ' d like to have the witness


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    1   look at Exhibi t         50 .

    2   BY MS. RYKKEN:

    3   Q.      There's a binder right there to your right , the bigger

    4   binder, and if you could turn to Exhibit 50, please.

    5                    MS. RYKKEN :       Th is is the exh ibit -- one of the

    6   exhibits we had agreed is provisionally admitted until the

    7   later testimony of Agent Kennedy.

    8                    Permission to publish?

    9                    THE COURT:       That's fine.

   10                    MS. RYKKEN :       Thank you.

   11   BY MS. RYKKEN:

   12   Q.      Do you see the document on the page?

   13   A.      Yes.

   14   Q.      This is a summary of all of the procedures that were

   15   billed to insurance.              Okay.         Who was your insurer at the time

   16   in 2011?

   17   A.      United Health Care .

   18   Q.      And at the time did you llve i n Mi ssion Viejo?

   19   A.       Yes .

   20   Q.       So let 's go through this one by one .                        The first date, do

   21   you see up there on the top l eft, it 's 4/11/2011?

   22   A.       Um-hmm.

   23   Q.       Is that the date that you wore the heart rate monitor?

   24   A.       Yes.

   25   Q.       So do you see the first line?


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    1   A.       Um-hmrn .

    2   Q.       What does that say?

    3   A.       " ECG monitor report, 24 ho ur s . "

    4   Q.       And is that what happened?                        Did you have an ECG for 24

    5   hours?

    6   A.       I    wore the Holter for one evenl ng , yes .

    7   Q.       And the second line, what does that say?

    8   A.       " Cardiovascular procedure."

    9   Q.       Did you have a cardiovascular procedure on Apri l                                    11 ?

   10   A.       No,     I   didn ' t.

   11   Q.       And the next line down, what does it say?

   12   A.       "EEG all night recording. "

   13   Q.       Do yo u know what an EEG is?

   14   A.       No ,    I don't.

   15   Q.       To your knowledge did you have an EEG that day?

   16   A.       They did something in the office while they hooked me up

   17   to something in the office, and then I wore the Ho lter home .

   18   That ' s the only two things I                       remember .

   19   Q.       And then the last item,                     can you read that?

   20   A.           " PRS, CRX,     oral non-chemotherap eut i c NOS ."

   21   Q.       Do you know what that is?

   22   A.       Not a clue.

   23   Q.       Do you know whether t hat happened?

   24   A.       No ,    it didn ' t.

   25   Q.           I ' d like to loo k at the next date, please.


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   1                       MS. RYKKEN :           Be for e you h ighl i ght t h a t        --

   2    BY MS. RYKKEN :

   3    Q.      Do you see additional dates on t his document?                                  Can you

   4    read those?

   5    A.      " 4/12, 4 /15,           4/18 ,    4/21. "

    6   Q.      Di d you have additional                         a n addit i onal Ho l t er t est on

    7   Ap ril 12t h of 20 11 ?

    8   A.      No ,   I    d i dn't .

    9   Q.      Di d you have an ora l non-ch emo t h erapeu t i c NOS on Ap r i l

   10   12th, 2011?

   11   A.      No , I      didn ' t .

   12   Q.      Ta ke t he next day.                 Wh at about Apr il 1 5th of 201 1 ?

   13   A.      Yeah, I        see it .       I    didn't have any of tho s e .

   14   Q.      By " any of those," you mean another ECG monitor for 24

   15   h ours?

   16   A.      Correct .

   17   Q.      Or an EEG?

   18   A.      Correct .

   19   Q.      Or an aut onom i c n erve f unction test?

   20   A.      No.

   21   Q.      Or an ora l non-ch emo therapeut i c NOS?

   22   A.      No.

   23   Q.      And then o n April 18th , 201 1, d i d you have any addi t ional

   24   medica l t es ting done on Apr i l                    1 8th,    2011?

   25   A.       No , I     didn 't.


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    1   Q.       Did you have a microvolt T- wave assessment?

    2   A.       No.

    3   Q.       Did you have an ECG monitor report?

    4   A.       No.

    5   Q.       Did you have an EEG all night recording?

    6   A.       No .

    7   Q.       And, again, the oral non-chemo -- I think that's supposed

    8   to be therapeutic , but therapeutic NOS , did you have that?

    9   A.       No, I       didn ' t.

   10   Q.       And then the last date on here is April 21 .                                 Can you take

   11   a look at that list and see if you had any of those procedures

   12   done on April 21?

   13   A.       No,     I   didn ' t.

   14   Q.       So you did not have a microvo l t T-wave assessment?

   15   A.       No.

   16   Q.       And you didn't have another ECG monitor report?

   17   A.       No .

   18   Q.       And you didn't have an EEG?

   19   A.       No .

   20   Q.       Or t h e ora l non- chemo therap e u t i c NOS?

   21   A.       No, I didn ' t.

   22   Q.       To your knowledge did Mr. Richmond order any of these

   23   additional tests besides the first?

   24   A.       I   never saw Dr. Richmond, I                      saw Dr- Joy_

   25   Q.       I ' m sorry.        Dr . Joy.


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                                                                                                       14 1


        1                     Did Dr . Joy ever order any other addi tional t ests for
-~
         2   you after the fi rs t?

         3   A.      No.      No, he didn't .

         4   Q.      Did you have any other medical tests done the week after

         5   you wore the Holt er device?

         6   A.      Yes.      Actually, I went to a cardiologist.

         7   Q.      A cardiologis t that          was not Dr. Joy?

         8   A.      Correct.       Dr . J oy is a primary care doctor.                       He's an MD.

         9   Q.      Do you reca l l if you ever received a bill from Holter

        10   Labs?

        11   A.      No.

        12   Q.      You don't recall or you did not ?

        13   A.      I don't remember getting one, no.

        14   Q.      Do you remember ever paying Holte r Labs for wearing the

        15   dev ice?

        16   A.      No ,    I don't.

        17                    MS. RYKKEN :       Can I have just one minute with counsel ,

        18   Your Honor?

        19                    THE COURT :      Yes.

        20            (Counsel confer off the record.}

        21                    MS . RYKKEN:       Nothing further,              Your Honor .

        22                    THE COURT:       All right .            Cross-examination .

        23                    MR . MCDERMOTT :         May I , sir?

        24                    THE COURT :      Yes .

        25                    MR . MCDERMOTT :         Thank you .


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    1                                       CROSS-EXAMINATION

    2   BY MR . MCDERMOTT:

    3   Q.       Sir, when I ask you something - - EOB.                         Do you know what

    4   that means?

    5   A.       No, I    do not.

    6   Q.       Explanation of Benefits .                  Do you recall ever getting that

    7   from your insurance company by chance?

    8   A.       I   may have, but I can't say for sure .

    9   Q.       Okay.     Just a thumbnail for the jury.                        In preparation of

   10   your testimony here today, were you given an opportunity to

   11   take a look at y our medical records?

   12   A.       They briefly showed me what I                     just looked at right there.

   13   Q.       All right.          That paid sheet, but you actually haven't

   14   taken a look at your medical records that are contained with

   15   Dr. Joy or the cardiologist; is that correct?

   16   A.       No,    I haven ' t .

   17   Q.       So as far as what might have been told to you about what

   18   was done with that Holter device, you ' re relying upon Exhibit

   19   Number 50 that was just up on the board, correct?

   20   A.       No, 1 1 m going by what I remember.

   21   Q.       Okay.      You remember how many times you may have worn

   22   something, correct?

   23   A.       Correct .

   24   Q.       Did the doctor actua lly explain to you what the device

   25   would do?


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                                                                                                          143


    1   A.      It     was basical l y measuring my heart                         rhythm .

   2    Q.      All right .               And when you were done wearing it ,                     d i d you ,   ln

    3   fact , sit down with the doctor and go through the results of

    4   the examination?

    5   A.      I    don 't remember if I                 did ,    no.

    6   Q.      And in t h e last questions that the government asked you,

    7   that had to do with whether or not you were billed by Holter

    8   Labs at all .              Do you remember t hat                 quest i on?

    9   A.      Yes,        I    rememb er the question.

   10   Q.      Any recollect i on as you sit here today back in April of

   11   201 1 whether or not you were sent a bill from your insurance

   12   comp any or any o ther person or ent ity asking for payment fo r

   13   the device you wore that day?

   14   A.      No,     I       never received anything.

   15   Q.      An d as you sit h ere today , do you have any recol l ection

   16   whatsoever of revi ewing an Explanat io n of Benefit s of what

   17   occurr ed in April of 2011?

   18   A.      No,     I       don 'L.

   19   Q.      So , in essence , what                you ' re l ooking at today -- and I

   20   recognize you remember the one occas io n which you wore it.                                            And

   21   there might have been a second time with your cardiologist?

   22   A.      Correct.

   23   Q.      And that might have been in the same month?

   24   A.      No .        I believe that it was later on.

   25   Q.      Okay.            And as you sit here today, do you have a


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                                                                                                   144


    1   recollection of your insurance company in any way contacting

    2   you or informing you that there's multiple bills occur ring 1n

    3   April of 2011?

    4   A.       No,   I never received any kind o f,                     you know, phone call or

    5   anything written .

    6   Q.       All r i ght.        Thank you , sir .

    7                    THE COURT :       Any redirect?

    8                    MS. RYKKEN:         No.        Thank y ou, Your Honor.

    9                    THE COURT :       All r i ght .          Sir , you may step down.

   10                    THE WITNESS:         Okay.          Thank you.

   11                    THE COURT:         Call your next witness.

   12                    MS . RYKKEN:        The government calls Jon Barron.

   13                    THE CLERK :        Please raise your right hand.

   14                    Do you solemnly swear that the testimony you shall

   15   glve ln the cause now before this Court shall be the truth , the

   16   whole trut h, and nothing but the truth, so he l p you God?

   17                    THE WITNESS:          I do.

   18                    THE CLERK :        Please be seated .

   19                    Please state your full name, spe l l your last name for

   20   the record.

   21                    THE WITNESS:          My name is Jon , J-o - n, Barron,

   22   B-a-r- r- o-n .

   23                    THE COURT:         All right.            Counsel.

   24                    MS. RYKKEN:         Thank you .

   25   Ill


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                                                                                                  145


   1                                            JON BARRON,

   2                             having been first duly sworn,

   3                                    testified as follows :

    4                                      DIRECT EXAMINATION

    5   BY MS. RYKKEN:

    6   Q.      What do you do for a living?

    7   A.      I own Datrix LLC

    8   Q.      For how long

    9   A.      - - which is a manufacturer of ambulatory cardiac monitors.

   10   Q.      How long have you owned the company?

   11   A.      I owned it from 1988 to 2009 and then I bought it back in

   12   February of t his year .

   13   Q.      And you said that you are the owner.                           Do you have a

   14   day - to-day role?

   15   A.      Yes.

   16   Q.      What do you do?

   17   A.      I   manage the day-to - day activities, sales, engineering.

   18   Q.      so you're rarniliar with the Holter device?

   19   A.      Yes.

   20   Q.      Can you take a look at Exhibit 1, which is right in front

   21   of you.        What is that?

   22   A.       It 's a Hol te r ECG recorder .

   23   Q.      Did you design this?

   24   A.      Yes.

   25   Q.       So i s it your company that manufactures the Holter device?


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                                                     #:668
                                                                                                   146

    1   A.       Yes.     This one's not - - this version is not manufactured

    2   anymore.

    3   Q.       What version is th at?

        A.       This is a VX3 and this p articular version is an E series.

    5   Q.       So how many di fferent kinds of Holter devices do es your

    6   company manufactu re r?

    7   A.       Cur rently two.

    8   Q.       And in the p ast how many other different versions have

    9   the re been?

   10   A.       Just Holter?          Three or four.

   11   Q.       So this model is no longer in production.                              When did you

   12   begin producing this model?

   13   A.       The first variation of this came out ln - - I ' m not exactly

   14   sure.       It was in early 2000s.

   15   Q.       And when did you stop producing that model?

   16   A.       I'm not -- I ' m not sure but probably in t he last three or

   17   four years .

   18   Q.       Do you know how the device works?

   19   A.       Yes.

   20   Q.       Can you explain how it works?

   21   A.       This device is -- is applied to a patient with these - -

   22   l i ke you ' ve probably seen these on TV before, but these are

   23   snap leads that              are connected to wires, and the patient would

   24   have electrodes, kind of like bandaids, with                                    to help conduct

   25   the little tiny electrical signals that come off of a patient's


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                                                                                                  147

   1    chest or the area -- chest area.

   2                     And th en the - - once the patient is hooked up , the

    3   batteries are inserted and a compact flash card.                                 You don't see

    4   those very often anymore , but they were pretty common in

    5   cameras , and the compact flash card is where the data is

    6   digitized .        The little tiny signals are amplified and digitized

    7   and they're stored on the compact flash card in a format that's

    8   readable by any PC compute r .

    9   Q.      What happens after a patient wears the device?

   10   A.      This particular device it's common for a patient to wear

   11   fo r 24 to 48 hour s , and then t h e patient would come back and

   12   the compact flas h card would be inserted into a compact flas h

   13   card reader on a computer and downloaded into the computer, and

   14   then the           typically software would analyze that data or an

   15   operator would edit            t he data if t he analyzer made mis ta kes.

   16   Q.      Does your company have any role in the production of the

   17   reports?

   18   A.      No.

   19   Q.       So is it a different           software prov i der th at takes care of

   20   that?

   21   A.       Yes .    There's mult i ple software providers for various

   22   reco rders.        This one      I   think is only one manufacturer which                       l S


   23   Caird Technology .

   24   Q.       So if I understand you correctly, Caird Technology is the

   25   so f tware pr ovide r for this particular device?


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                                                    #:670                                         148


    1   A.       It ' s the only one I 'm aware of.

    2   Q.       So a re you involved at all with patients once the device

    3   is sold to a third party?

    4   A.       No.

    5   Q.       What about doctors?            Are you involved with the doctors at

    6   all?

    7   A.       Occasionally.

    8   Q.       How so?

    9   A.       If a doctor is not -- and probably not in the IDTF worl d ,

   10   which is when this is used b y a serv1ce , but when i t ' s used by

   11   a doctor ,        if the patient is not happy or they freak out and

   12   they don't get service or they don ' t                          get their questions

   13   answered, on occasion they might call.

   14   Q.       What about insurance companies?                         Are you involved with

   15   them?

   16   A.       No .

   17   Q.       So you mentioned it ' s a heart rate monitoring device.                            Can

   18   it do anything else?

   19   A.       No.

   20   Q.       You mentioned IDTF earlier .                    What does that mean?

   21   A.       Independent diagnostic -- I don't remember what the F

   22   stands for, but they're services that are contracted to -- by

   23   doctors and hospitals to do the scanning or do various tests

   24   that     they ma y or may not want to do .

   25   Q.       Are you familiar with Holter Labs?


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                      Case 2:23-cv-04498-PA   Document 1-5      Filed 06/05/23   Page 229 of 786 Page ID
                                                             #:671

                                                                                                           149


            1    A.      Yes.

            2    Q.      Is that an IDTF?

            3    A.      I would consider it to be an IDTF .

             4   Q.      So you said it can ' t          do anything else.                Do you know what

             5   an EEG is?

             6   A.      Yes .

             7   Q.      What     J.S   it?

             8   A.      It ' s a - - where you-- it's about the bra inwaves instead

             9   of the heart .

            10   Q.      Can this device measure brainwaves?

            11   A.      No .

            12   Q.      Do you know what sleep apnea i s?

            13   A.      Yes.

            14   Q.      What is it?

            15   A.      We l l, it ' s - - it ' s when you're trying to diagnose if a

            16   patient has a sleeping disorder where -- with breathing and

            17   sometimes they'll stop breathing when they ' re sleeping and

            18   the ir pulse ox goes down and i t ' s noL a good thing .

            19   Q.      I s this device, the Holter device, is that made for sle ep

            20   apnea tests?

            21   A.       I ' ve heard of it being in used in conjunct i on with sleep

            22   a pnea test s .

            23   Q.      What about with respiratory tests?

            24   A.      No.

            25   Q.      Can it measure breath i ng?
,--...
                                UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA




         App. 0640
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                                                    #:672                                         150


    1   A.       No.

    2   Q.       What about oxygenation rates?

    3   A.       No.

    4   Q.       Do you know what a microvolt                    T-wave assessment is?

    5   A.       No.

    6   Q.       To your knowledge can this device perform a microvolt

    7   T-wave assessment?

    8   A.       I don ' t know .       It's not in the intended use of the device.

    9   Q.       Did you design it to measure microvolt                          T~wave    assessment?

   10                    THE COURT:        Sir, can you push that microphone a

   11   little bit further away from you .                         Thank you.

   12   BY MS. RYKKEN:

   13   Q.       Can you look at Exhibit 3 in the binder to your right.

   14                    It ' s the bigger binder.

   15   A.       Okay.

   16   Q.       Do you know what this document is?

   17   A.       Yes.

   18   Q.       What is it?

   19   A.       I t 's the brochure for the VX3 Holter recorder.

   20   Q.       Is this a brochure that your company developed?

   21   A.       Yes.

   22                    MS. RYKKEN:         I would like to move to admit Exhibit 3

   23   into evidence.

   24                    THE COURT:        Any objection?

   25                    MR. MCDERMOTT:             No objection, sir.


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                                                                                                           151


       1                     THE COURT :      It will b e received .

       2             (Trial Exhibit 3 admitted into e vidence . )

       3                     MS. RYKKEN:       Permission to publish to the jury?

        4                    THE COURT :      Yes .       Once it's received, you don't have

        5   to ask for permi ssio n .

        6                    MS. RYKKEN :      Thank you.

        7   BY MS. RYKKEN:

        8   Q.       So this is how you advertised t he Holt er d evice ?

        9   A.       Yes .

       10   Q.       Can you read down there on the bottom, it says " Available

       11   OEM options. "         What d oes that me an?

       12   A.       Which page are you --

       13   Q.       On page 1 just above the bul l et points.

       14                    If you look on the screen in front of you ,                          it's

       15   highlighted .

       16                    THE COURT :      Sir ,      i f you could look on that screen ln

       17   front of you.

       18                    T HE WITNESS;       0 11,     LhaL's even b e tter.

       19   BY MS . RYKKEN :

       20   Q.       What does "Available OEM options " mean?

       21   A.       That was put in there to h a ve a conversation wi t h

       22   particular OEMs about what they might want to do with t he

       23   device ,     l ike have an additional -- or a different sample rate

       24   or - -    it was just a conversation bec a use this doesn ' t                             go

       25   th i s goes t o OEMs, not to d octors or hospitals.                             It doesn ' t
~




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    App. 0642
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    1   typically go to the end user.

    2   Q.      V!Jhat     lS   OEM?

    3   A.       Good question.            Original equipment manufacturer.                         So it ' s

    4   for,     like, people that -- other companies buy our product and

    5   put their name on it a lot of times, and so it might be a

    6   bigger company that purchased the product from us would be

    7   is who we are targeting this to .

    8   Q.       And the bullet points, are those features of the device?

    9   A.       Except for the -- wel l ,                I was going to say whe n i t               says

   10   optional, but I wou l dn't necessarily consider that a feature .

   11   Q.       And the second one " Selectable 24 or 48 - hour recording, "

   12   what does that mean?

   13   A.       You can select whether y ou want to run it for 24 or 48

   14   hours .

   15   Q.       Is the device capable of running for longer than that?

   16   A.       Not this one.

   17   Q.       You have other ones that can do that?

   18   A.       Yes.

   19   Q.       For how long?

   20   A.       We've tested it to ten days.

   21   Q.       Does this particular model of the Holter device have any

   22   wireless capability?

   23   A.       No.

   24   Q.       You said a little bit about the intended use of the

   25   device .          What does that mean?


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             Case 2:23-cv-04498-PA   Document 1-5      Filed 06/05/23    Page 233 of 786 Page ID
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                                                                                                   153


   1    A.      When we file with the FDA for a product like this , we have

   2    to say what the - -          in the paperwork it has to say what the

   3    intended use is.

    4   Q.      Can you look at Exhibit 4.

    5   A.      Yes.

    6   Q.      What is this document?

    7   A.      It is a summary that ' s put on the FDA website of the

    8   510(K} t hat was filed for the device.

    9   Q.      Is this a document that your company filed?

   10   A.      Yes.

   11                   MS . RYKKEN:        I move to admit Exhibit 4 into evidence .

   12                   MR. MCDERMOTT :         No objection.

   13                   THE COURT :       It will be rec eived.

   14            (Trial Exhibit 4 admitted into evidence . )

   15   BY MS. RYKKEN:

   16   Q.      So "Intended use," can you look at the bottom of page 1,

   17   and can you please read that

   18                   THE COURT ;       Aga i n,      sir,     it     might be easler it you

   19   looked at the screen.

   20   BY MS . RYKKEN:

   21   Q.      Can you pl e ase read the "Intended use " ?

   22   A.      Just the who le thing or

   23   Q.      Can you read it aloud , please?

   24   A.       " The VX3 digital Holter recorder is intended for recording

   25   of ECG data collected from ambulatory patients .                                 Recorder can


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             Case 2:23-cv-04498-PA   Document 1-5      Filed 06/05/23   Page 234 of 786 Page ID
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                                                                                                  154


    1   collect data in the presence of implanted pacemaker pulses and

    2   can detect and record t he occurrence of signals characteristic

    3   o f pacemaker pulses ."

    4                     THE COURT :      Just a little slower, slr , because she

    5   has to record exactly what you ' re saylng.

    6                     Go ahead.

    7                     THE WITNESS :       " The recorder is used under the order

    8   of a physician , who reviews the data after downloading and

    9   p r ocess i ng by a Ho l ter playback system.                       The physician

   10   determines the presence of normal and abnormal ECG data, as

   11   well as pacemaker pulses during the events of the patient's

   12   daily activity. "

   13   BY MS .     RYK~EN :


   14   Q.       Thank you.          If there had been other intended uses for the                      ''-.../


   15   Holter device , would y ou have had to include it here?

   16   A.       Yes.

   17   Q.       So if the device was going to be used as -- to measure

   18   microvolt T-wave assessments , you would have had to include it

   19   in this f orm?

   20   A.       It ' s c l early stated 1n the FDA g uidance documents that i f

   21   the intended use changes or if it ' s modified, you have to file

   22   a new 510(K).

   23   Q.       Okay .     Let's turn t o Holter Labs next .                     Are you familiar

   24   with Holter Labs?

   25   A.       A little bit.


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                 Case 2:23-cv-04498-PA   Document 1-5      Filed 06/05/23   Page 235 of 786 Page ID
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                                                                                                      155



-      1

       2
            Q.

            A.
                      How?

                      My understanding is they buy this recorder that we

        3   manufacture but I            think they normally or typically buy them --

        4   and I may be wrong - - but maybe from distributors.

        5   Q.        So a distributor ,        is that someone like the OEM you

        6   mentioned earlier?

        7   A.        No, that ' s a little bit different.

        8   Q.        How is that different?

        9   A.        Well,    normally , they would - - they might be -- there could

       10   be multiple -- they could have multiple devices that they would

       11   sel l .     In other words, they may have - - be a li ttl e bit

       12   different characteristics, a different label to more than one

       13   person, but that doesn ' t             typically happen .

       14   Q.        Do you know the defendant Michael Mirando?

       15   A.        Not that I know of.

       16   Q.        Do you know Stanton Crowley?

       17   A.        No.

       18   Q.        Do yo u know Jim Cast?

       19   A.        No.

       20   Q.        So you mentioned that Holter Labs purchased these devices

       21   from you.          Can you please look at Exhibit 2.                        It has a few

       22   different pages,             so can you make sure you look at al l of the

       23   pages.

       24   A.        Okay.

       25   Q.        What is this document ?


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    1   A.       Maybe I ' m on the wrong-- is it Exhibit 3?                            I 'm sorry.

    2   Q.       Exhibit 2 .

    3                    MR. MCDERMOTT:          Exhib it 2 we're talking about?

    4                    MS. RYKKEN:        Pictures.

    5                    THE WITNESS:           I see photos of the device .

    6   BY MS. RYKKEN :

    7   Q.       Is this a device that your company manufactured?

    8   A.       Yes .

    9   Q.       How can you tell?

   10   A.       By the physical characteristics, the label that ' s on the

   11   back of it, the pouch, the strap and the label, the front

   12   label.

   13                    MS. RYKKEN :       The government              would move to admit

   14   Exhibit 2 into evidence .

   15                    MR. MCDERMOTT:             No objection .

   16                    THE COURT:        It    will be received.

   17             (Trial Exhibit 2 admitted into evidence . )

   18                    MS. RYKKEN:        Can we look at page 3.

   19   BY MS . RYKKEN :

   20   Q.       So page 3 , do you see this pictur e of the device?

   21   A.       Yes.

   22   Q.       So you mentioned the label just a moment ago.                               What does

   23   that say?

   24   A.       "Holter Labs, cardiac monitoring."

   25   Q.       So is that something that you put on t he device, the label


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App. 0647
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                                                                                                       157


   1    on the front?

   2    A.      Yes.

   3    Q.      So you did that for Holter Labs?

    4   A.      Yes.

    5   Q.      Do you do t hat for other people that you provide the

    6   device to?

    7   A.      Yes.

    8   Q.      Okay .     So you mentioned some third parties that may have

    9   been the people that sold the devices to Holter Labs .                                    So can

   10   you look at Exhibit 6 , please .

   11                    What is that document?

   12   A.      There are quite a few invoices .

   13   Q.      And what do the invoices describe?

   14   A.      They describe t h e device sold -- or the -- and/or

   15   accessory and the bill to.

   16   Q.      Is this Datrix's bill?

   17   A.      Yes.

   18                    MS.   RYKKEN:      Move to admit into evidence .

   19                    MR . MCDERMOTT :       No objection.

   20                    THE COURT :      It will be received.

   21            (Trial Exhibit 6 admitted into evidence.)

   22                    MS. RYKKEN :       Can you go to the last page, please.

   23   It's Bates 670.

   24   BY MS. RYKKEN :

   25   Q.       If you can look at the last page of the invoice.                                 So   ln



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    1   the top "Bill to" and " Ship to," who was this billed to?

    2   A.       Lynn, L-y-n-n, Med i cal .

    3   Q.      And who was it shipped to?

    4   A.       Holter Labs.

    5   Q.       And who is Lynn Medical?

    6   A.       They are a distributor of a lot of different                            medical --

    7   like the electrodes that we talked about earlier, batteries and

    8   equipment.

    9   Q.       And then in the description of the item, it says "7-lead,

   10   3-channel VX3 cable" and "Shipping charge.n

   11                    Is that something that goes with the device that

   12   we've been talking about?

   13   A.       Yes.     That's this piece right here, the wire                          ( indicati ng) .

   14   Q.       Okay.     And then Exhibit 5 , please.                     Can you turn to that.

   15                    What is Exhibit 5?

   16   A.       It's an invoice for the same device.

   17   Q.       Is it a Datrix invoice?

   18   A.       Yes.

   19                    MS . RYKKEN:       Move to admit Exhibit 5 into evidence.

   20                    MR. MCDERMOTT:             No objection, sir.

   21                    THE COURT :       It will be received.

   22             (Trial Exhibit 5 admitted into evidence . )
                                                                                                          1
   23                    THE WITNESS:         It ' s not to Lynn Medical, though.                    It       S


   24   to a different - - i t ' s to the manufacture r of the Holter

   25   software.


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             Case 2:23-cv-04498-PA    Document 1-5      Filed 06/05/23   Page 239 of 786 Page ID
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                                                                                                    159

   1    BY MS. RYKKEN:

   2    Q.      So in the "B ill to, " it says Caird Technology?

   3    A.      Yes.

    4   Q.      In the description, what does that say?

    5   A.      VX3 - 7-lead,        3-channel Datrix digital recorder Seri e s E

    6   with Holter Lab label.                Includes pouch, belt, 7-lead patient

    7   cable,     lot number, " blah, blah , blah ,                     " serial numbe r . "      The

    8   serial number is VXE4114 through VXE4143 .

    9   Q.      So is this an invoice for a device that went to Ho lt er

   10   Labs?

   11   A.      Yes,    I would assume so.                 The sh ipping was the South

   12   Carolina address, but it had the Holter Lab label on it, so I

   13   would assume that's where it went.

   14   Q.      So is it fair to say that your company sold a number of

   15   differen t      Ho l ter devices to Holter Labs?

   16   A.      Yes.

   17                   MS. RYKKEN:          I would like to show the witness Exhibit

   18   8,   which we had agreed earlier was provlsion a lly a dmitted.

   19                   THE COURT:         All right.

   20                   MS. RYKKEN:          I think defense has no ob jection if we

   21   could publish to the jury ahead of admitting it through Agent

   22   Kennedy.

   23                   THE COURT :        That ' s fine .

   24   BY MS . RYKKEN:

   25   Q.       Do you see this list ?                 This is a summary of invoices for


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    1   the Holter recorder.                So on the descrip tion, that all looks the

    2   same,        "VX3-7-lead, 3 - chan ne l ."

    3                     Is that similar to the device that you have up there?

    4   A.       Yes .

    5   Q.       And these were all purchased by Lynn Medical; is that

    6   right?

    7   A.       Yes.

    8   Q.       And can you look at the dates purchased and tell me the

    9   range of dates.

   10   A.       Which exhibit 1s this?

   11   Q.       Exhibit 8.

   12   A.       It doesn ' t        show the full page.                 Oh, there i t     is.

   13                     3944 through 4125 VXE.

   14   Q.       Oh,     I see.       Those are the serial numbers?

   15   A.       I    believe one of the dates .

   16   Q.       What about the dates ?                 Can you look at t he dates purchased

   17   just so we have a range of dates?

   18   A.       This particular page has May 18th, 2011 , on the whole

   19   page .

   20   Q.       Okay .     And then on the front page , is the date on there

   21   6/6/2005 the first date?

   22   A.       I'm sorry .          Which exhibit?

   23                     Oh, here it is.              Yes.      6/6/2005.

   24   Q.       Okay .     So is it fair to say that you sold this particular

   25   model to Holter Labs from the period of 6/6/2005 to


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   1     approximately May 18 t h,            2011?

    2    A.      Yes.

    3                     MS. RYKKEN :      Nothing further,                Your Honor.

    Ll                    THE COURT:       All right.            Cross-examination.

    5                     MR. MCDERMOTT :        Yes, sir .              Thank you.

    6                                       CROSS-EXAMINATION

    7    BY MR. MCDERMOTT :

    8    Q.      Mr. Barron, you've explained for us that you ' re the owner

    9    of the company and you've been the owner on and off since 1988?

   10    A.      That's correct.

   11    Q.      And was this a dev i ce that you actually invented?

   12    A.      No.

   13    Q.      Do you know who the inventor was?

   14    A.      Well ,    are you referring to the inventor of Holter?

   15    Q.      Yes .

   16    A.      It was Dr . Holter, and Del Mar Avionics commercialized it .

   17    Q.      Someplace in Southern California, wasn't it invented?

   18    A.      Ye.s.


   19    Q.      So in ' 88 you began the process of manufacturing these

   20    devices?

   21    A.      No.

   22    Q.      What did you do?

   23    A.      Primarily consulting .

   24    Q.      Consulting .         And who were you consulting?

   25    A.      To which comp any?


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    1   Q.       Yes.

    2   A.       A lit tle bit           t here was Del Mar Avion i cs.                  And I don't

    3   remember the name of the company because it was changed a

    4   couple of times , but it was DMS.                        Diagnostic Monitoring Systems

    5   I    believe was the name .

    6   Q.       Now , when you say that you con sul ted, was that in helping

    7   them manufacture?             What exactly did you consult in?

    8   A.       Well, initial l y, I        wrote some of the software for a Holter

    9   software program, and sometime in the '90s that part i cular

   10   company asked for a design for a tape Holter recorder, which

   11   was the predecessor to the digital recorder .

   12                    And when we finished it , they told us that they could

   13   not buy that from us because they th o u ght t hat it was going to

   14   disrupt a relationship they had with a customer.                                  And so by

   15   accident we started manufacturing -- I mean, we weren ' t

   16   planning on getting int o the Holter recorder business but they

   17   said that it was okay and we started manufacturing them and we

   18   sold them to, you know,               other companies.

   19   Q.       So sometime in the '90s you began manufacturing these

   20   devices?

   21   A.       Yes .

   22   Q.       Or at least its predecessor?

   23   A.       Yes .

   24   Q.       And when you looked at the chart there from bet ween 2005

   25   and 2011, was your company the one manufacturing the devices?


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   1    A.      In 2005, yes.              In 20 11 it was the company that purchased

   2    the company from me .                  I was the              at that point I was the

    3   general manager.                 I wasn ' t --

    4   Q.      Did it still carry the moniker or the name Datrix?

    5   A.      Well,      I believe i t         said Intercon Datrix.                   Intercon was the

    6   company that purchased it.

    7   Q.      And that was the company responsible for manufacturing,

    8   correct?

    9   A.      Yes.

   10   Q.      And where did the manufacturing take place?

   11   A.      Fo r this particular recorder,                        the manufacturing was still

   12   in -- the boards were manufactured in San Diego and the devices

   13   were assembled and tested in Escondido, California.

   14   Q.      Now, you were still involved with the company while the

   15   manufacturing took pla ce between 2005 and 2011?

   16   A.      Yes.

   17   Q.      And how many employees were there?

   18   A.      For which                for   ju~L      that division?

   19   Q.      Yes.

   20   A.       I   don ' t    know .     Five or six.

   21   Q.       People actually manufacturing the device?

   22   A.       In the Escondido office , yes.

   23   Q.       Okay .        Now,   let me ask you this.                   Do you have a medical

   24   background?

   25   A.       No .


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             Case 2:23-cv-04498-PA   Document 1-5      Filed 06/05/23   Page 244 of 786 Page ID
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    1   Q.      Do you have a medical coding background?

    2   A.      No.
                           '
    3   Q.      Now,     I believe your testimony was that you ' re not the only

    4   entity that manufactures Holter devices; is that true?

    5   A.       That's true.

    6   Q.       Off the top of your head, with your experience in th e

    7   industry , how many manufacturers are out there?

    8   A.       Wow.     There's -- quite a few have entered the field

    9   recently , a lot of foreign companies.

   10   Q.       Let me backtrack a little bit just so I stay on track with

   11   the time frame here.

   12                    The chart you saw , 2005 through 2011, best estimate

   13   as to the number of manufacturers during that time frame?

   14                    THE COURT :       If you know.

   15                    THE WITNESS:         I don't know .

   16                    THE COURT :       Okay .       Next question.

   17   BY MR . MCDERMOTT :

   18   Q.       Next question would be then how many -- are you familiar

   19   with companies t hat manufacture the software for that device?

   20   A.       I'm not familiar with all of them, but many.

   21   Q.       All r ight.         Now, do they consult with you -- now ,                       just so

   22   we have a picture.              You manufacture the hardware and somebody

   23   else actually manufactures the software?

   24   A.       Yes .

   25   Q.       And that was true during 2005 through 2011?


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   1    A.      Yes .

   2    Q.      And one of those in dividuals would have been a gentleman

   3    by the name of James Brown?

   4    A.      Yes.

   5    Q.      And he's some body you're personally familiar wit h,

    6   correct?

    7   A.      Yes.

    8   Q.      And he

    9                    MS. RYKKEN :      Objection .            Relevance.

   10                    THE COURT :      Well , let ' s hear the next question.

   11   BY MR . MCDERMOTT :

   12   Q.      And he ' s also responsible fo r manu f acturing th e so f tware?

   13   A.      Yes .

   14   Q.      Now , are you familiar with all of t he different types --

   15   now, you tes ti fied about what they call a 510(K)?

   16   A.      Yes.

   17   Q.      And just for my edification, that ' s the application number

   18   when y ou subml L a          dev~ce    to the FDA for approval?

   19   A.      Yes .

   20   Q.      And --

   21   A.      Excuse me .          It includes the actual submission and it ' s

   22   assigned a 510(K) number.

   23   Q.       I understand.          So the 5- (K)          is a number given to it by the

   24   FDA?

   25   A.       Yes .


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    1   Q.        And accord i ng to the paperwork that we saw here today, you
                                                                                                           .---....

    2   got      your a pp roval in 2 003 for that devi ce?

    3   A.        For one variat ion of the device , yes .                         There was a

    ~   previ ous variation to the d evice.

    5   Q.        Sinc e 2003 have the re been other 510(K) applications?

    6   A.        Yes .

    7   Q.        Okay .      And are you familiar with                        again , are you

    8   famil iar with wh at other appli c at i ons t his devi ce i s b e ing used

    9   fo r ?

   10   A.        Which device are you referring to?

   11   Q.        The one that          we saw on the scree n that you ' ve been

   12   t es t i fying about , the V -- what is that, VK

   13   A.        VX3 .

   14   Q.        VX3.      Are there other 510(K) applications for that device?

   15   A.        I know o f o n e .

   16   Q.        And what was that for?

   17   A.        You mean from a di f fere n t manuf a cturer?

   18   Q.        Yes,     sir .

   19   A.        Yes ,    I know o f one.

   20   Q.        And wh at was that f or?

        A.        I don ' t     remember what the -- it had something to do with

        t h e ANS,        I be l i e v e .

        Q.        What is it?

        A.        Something n ervous system .

   25   Q.        Okay .      So at least from 2005 ,                 2011, were you aware of


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        1   other manufacturers install i ng software device -- or software

        2   programs that would make your device do other things besides

        3   ECG work?

        4   A.      Only that      one .

        5                     THE COURT :     Excuse me.            When she st ands up,              just wait

        6   because she - -

        7                     MS. RYKKEN :      Objection .           Relevance and lacks personal

        8   knowledge.

        9                     THE COURT:      Objection as to fou ndation                   lS   sustained.

       10   BY MR . MCDERMOTT :

       11   Q.      Have you, in fact, had -- did you have communicat io ns or

       12   conversations with software individuals , peopl e that were

       13   manufacturing software for your device between 2005 and 2011?

       14   A.       Yes.

       15   Q.      And did you discuss with these individuals what the device

       16   cou ld or could not do?

       17   A.       Only maybe with the one that you 're referr ing to, Jim

       18   Brown.

       19   Q.       Okay .     And Mr. Brown during th at t ime was involved with

       20   th e software development of your Datrix device?

       21   A.       No,    just the p layback software .

       22   Q.       The playback software .                Wh en we ' re tal king a b out that ,

       23   that's when the docto r takes the fla sh, puts it in the computer

       24   and sends it to an IDTF to interpret?

       25   A.       That may be one way that it ' s han dled , yes .
~



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    1   Q.      All right .          Is there -- in your knowledge between 2005 and

    2   2011, did Mr. Brown come up with any software that expanded

    3   what that device could do beyond what the 510(K) said?

    4                   THE COURT :        The Court objects.                 No foundation.

    5   BY MR. MCDERMOTT:

    6   Q.      All right.           When you had discussions with Mr. Brown, were

    7   you aware of any application of software that he created that

    8   expanded the ability of that device?

    9   A.       Yes.

   10   Q.       Thank you .         What did he -- excuse me.                   Based on your

   11   conversations with him , can you te l l the jury what capab ilities

   12   Mr . Brown came up with or expanded with the software?

   13                   MS. RYKKEN:          Objection .            Hearsay.

   14                   THE COURT:          Susta i ned .

   15   BY MR. MCDERMOTT:

   16   Q.       To your knowledge does this device with an appropriate

   17   software or some type of software tweak do something other than

   18   what the 5(K)10 [sic] authorizes?

   19                   MS. RYKKEN:          Objection.             Lacks foundation and

   20   personal knowledge.

   21                    THE COURT:         Sustained.

   22   BY MR . MCDERMOTT :

   23   Q.       Are you aware of any tweak in the software that goes

   24   beyond the 510(K) that your application applied for?

   25                    MS. RYKKEN :        Objection.             Lacks foundation and


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   1    personal knowledge .

   2                     THE COURT :      Sustained .

   3    BY MR . MCDERMOTT :

    4   Q.      Mr. Barron, the question here would be are you fam il iar

   5    with CPT codes?

    6   A.      I know what they are.

    7   Q.      Do you know what CPT codes apply to your device?

    8   A.      No.

    9   Q.      Have you ever had an opportunity to in the course of your

   10   construction of these devices actually train individuals as to

   11   what appropriate CP T codes would be f or the use of that device ?

   12   A.      No.

   13   Q.      Are you familiar with the term "frequency sample rates, "

   14   sir?

   15   A.      The term togeth er or individually?

   16   Q.      The term together?

   17   A.      The two words individually?

   l8   Q.       The t erm tog eth er?

   19   A.      No.

   20   Q.       The Datrix 512 and the VX3 , do they have a frequency rate?

   21   A.       Yes .

   22   Q.      And as you s i t        here today,           do you understand what that

   23   frequency rate is?              And can I put it in terms -- I ' m sorry ,

   24   sir.      Between 2005 t o 2011, do you understand what the rates

   25   were?


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             Case 2:23-cv-04498-PA    Document 1-5      Filed 06/05/23   Page 250 of 786 Page ID
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    1   A.       I ' m sorry .       The frequency and the rates can be two

    2   different things .             If you're talking about the sample rate,

    3   yes ,    I can tell you.           If you talk about the frequency ,                       I can

    4   tell you the --

    5   Q.       How about the sample rate , sir?

    6   A.       The samp le rate for most of them was 128 .                           I believe this

    7   one was a little bit higher than that.

    8   Q.       256?

    9   A.       I don ' t think so .

   10   Q.       Okay.     Let me ask you this.                   Can you just explain t o the

   11   jury what frequency rate means?

   12                    MS. RYKKEN:         Objection.            Relevance.

   13                    THE COURT :        Sustain ed.

   14   BY MR. MCDERMOTT:

   15   Q.       Are you aware of any other manufacturer out there that

   16   uses the same -- roughly the same frequency rate as your device

   17   for EEG work?

   18                    MS. RYKKEN:         Objection .            Relevance and lack of

   19   personal knowledge .

   20                    THE COURT:         Sustained as to foundation.

   21   BY MR . MCDERMOTT:

   22   Q.       Are you familiar with other manufacturers involving

   23   frequency rates around 128 that utilize the device for EEG

   24   reading?

   25                    MS. RYKKEN :        Objection .            Lacks personal knowledge and


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        1   fou n dation.

       2                     MR. MCDERMOTT:         I ' m asking if he knows , Slr.

       3                     THE COURT:       You can answer that yes or no.

        4                    THE WITNESS :       Am I       aware -- I'm sorry .             Would you ask

       5    the que sti on again, ple ase ?

        6   BY MR . MCDERMOTT :

        7   Q.      Sure.      Let me be a little more pointed .                       Are you familiar

        8   wi th a device called EEGer4?

        9   A.      No.

       10   Q.      I   take it, then -- all right.                     So have you had any

       11   anybody from an in s urance company or any representative from an

       12   insu rance company come to you between 2005 and 2011 asking you

       13   to explain why your device is being used fo r bil l ing in a

       14   certain way?

       15   A.      No .

       16   Q.      And I     noted on one o f the exhibits t hat                     the government

       17   provided to you that the device actually could work for at

       18   least eight         days~



       19   A.      Yes.      I ' m trying to remember which variation works for

       20   eight days, but the software for this particular device I think

       21   was I think 48 hours .              It was just made so that it wouldn't run

       22   furt he r than 48 hours .            The i dea behind that was to po ssib ly be

       23   able to use the batteries more than once.

       24   Q.       Understood.         And that ' s based on the software t hat's in

       25   that device , correct?
~



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    1   A.       Yes.

    2   Q.       And someone like Mr. Brown ,                   is he responsible for the

    3   software that could go into that device?

    4                    MS. RYKKEN :        Objection.            Lacks foundation and

    5   persona l k n owledge .

    6                    THE COURT :        Sustained .

    7   BY MR. MCDERMOTT :

    8   Q.       Are you aware of whether or not other manufacturers of

    9   software can actually be inputted into that device?

   10                    THE COURT :        Same objection.               Same ruling.

   11                    MR. MCDERMOTT:          Just a second.

   12   BY MR . MCDERMOTT :

   13   Q.       Jus t   a coup le of follow- u ps.

   14                    When you were asked to testify , were you asked to go

   15   through your personal records to determine how many devices may

   16   have been sold to Holt er Labs?

   17   A.       Yes.

   18   Q.       And the documents that you saw here today, do they reflect

   19   the device s that you be l ieve you sold to Holter Labs?

   20   A.       Yes .

   21   Q.       As you s i t        here today, there was other d i stributors that

   22   may have s o l d to Holter Labs?

   23   A.       Yes .

   24   Q.       Were you a direct sales to Holter Labs?

   25   A.       I don ' t   k now.      There may have b een instances of it.                      I 'd


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   1    hav e to go b a ck and refe r to the invoice s.

   2    Q.        Al l   right .     But as you sit here today and based on your

    3   testimony , did yo u see any document that reflected a direct

    4   s al e?

    5   A.        No.

    6   Q.        It looked like Lynn Medi cal - - 1s that a company you're

    7   f a miliar with?

    8   A.        Yes.

    9   Q.        And I believe it's based out of Minnesota?

   10   A.        I   think it was -- i t might be Michigan .

   11   Q.        Michigan .       Excuse me .         Michigan.

   12                      All right.      Are they a manufacturer or just a

   13   dis t ributor?

   14   A.        I   don ' t   know that they manufacture anyth i ng.

   15   Q.        So would Lynn Medi cal b e the only distr i butor that you

   16   sent product to during t hat time frame?

   17   A.        When you say "product, " you mean this variat i on of the

   18   p r oduct ?

   19   Q.        Yes, sir.        Ye s, s l r.       2005 t o 201 1 ?

   20   A.        According to the invoices, it looks like we sent some to

   21   Care -- Jim Brown ' s business also.

   22   Q.        Al l right .       Nowr to my unders t anding, is he someone that

   23   act ually then vends or distributes to doctors?

   24                      MS. RYKKEN :      Object ion.            Lacks foundation and

   25   personal knowledge .


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    1                   THE COURT :        Sus tained.

    2   BY MR . MCDERMOTT:

    3   Q.       Do you know what Mr. Brown does with those devices when he

    4   gets them?

    5                   MS. RYKKEN :        Objection.             Lacks persona l knowledge.

    6                   THE COURT:         You can answer that                yes or no.

    7                   THE WITNESS :         I can 't be certain.

    8                   THE COURT :        That' s fine .

    9                   MR . MCDERMOTT :            I ' ll wit hdraw.         I have nothing

   10   further .

   11                   THE COURT:        Any redirect?

   12                   MS. RYKKEN :        J ust very, very br i efly .

   13                   THE COURT :        Okay .       We are after 3 : 00, and I know one

   14   of the jurors

   15                   If we go another five minutes, is that going

   16                   A JUROR :       That ' s fine.

   17                   THE COURT :        Okay.

   18                                     REDIRECT EXAMINATION

   19   BY MS. RYKKEN:

   20   Q.       Can you get Exhibit 7 please in the binder .

   21                   Do you see that?

   22   A.       Yes.

   23   Q.       What i s i t?

   24   A.       It looks l ike an invoice from ou r company or t he

   25   predecessor company to Holter Labs directly.


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    1   Q.      So a minute ago you were asked about whether or not you

    2   had directly billed to Holter Labs, correct?

    3                   MS. RYKKEN :         I ' m sorry.          The government would move to

    4   admit Exhib i t         7 into evidence, Your Honor.

    5                   THE COURT:         Any objection?

    6                   MR. MCDERMO TT !         Sir, I         just have one foundationa l

    7   question.         I don't have any objection as to the validity of the

    8   documents.         It    just has to do wi t h the question of

    9                   THE COURT:         Just g 1 ve me the evi dent ia ry basis for

   10   your objection if you have one.

   11                   MR . MCDERMOTT:          Lack of foundation.                  Just one or two

   12   mo re ques tions more .            That ' s all she needs .

   13            (Counsel confer off the record.)

   14   BY MS. RYKKEN:

   15   Q.      All right.           What is this document?

   16   A.       I t 's an invoice to Cardio Labs .

   17   Q.       To Holter Labs?

   18   A.       I ' m sorry.        HolLer Labs.            cardio Labs is a dlfferent

   19   company.

   20   Q.       And what products are in the invoice?

   21   A.       It   l ooks like mostly -- it looks l ik e they're all

   22   a ccessories and repai rs.

   23                   MS . RYKKEN:         Move to admit Exhibit 7 into evidence.

   24                   MR. MCDERMOTT:           No objection now .

   25                   THE COURT :         All right.            It ' ll be received.


                      UNITED STATES DISTRI CT COURT, CENTRAL DISTRICT OF CALIFORNIA




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                                                                                                  176


    1            (Trial Exhibit 7 admitted into evidence.)

    2   BY MS. RYKKEN :

    3   Q.       So on cross you were asked about whether or not you had

    4   had direct sales to Holter Labs, and I want to show you this to

    5   c l ean up the record .

    6                   Did you have any direct sale s to Holter Labs?

    7   A.       Yes.

    8                   MS . RYKKEN:        Thank you .           Nothing further.

    9                   THE COURT :        Anything else?

   10                                      RECROSS-EXAMINATION

   11   BY MR . MCDERMOTT :

   12   Q.       Just the invoic es you ' re looking a t                    don ' t   reflect

   13   h ardware ,      just     accessories , correct ?

   14   A.       Acce s sory -- hardware accessori e s, yes .

   15   Q.       Right .        There ' s no actual Holter device in there?

   16   A.       The r e corder's -- the recording device is not 1n the

   17   invoice.

   18                    MR . MCDERMOTT:            Thank you .

   19                    MS. RYKKEN :       Noth i ng fu r th er.

   20                    THE COURT :       All right.            S ir, you may step down .

   21                    Al l    right .   Ladies and ge n t lemen, we ' re going to

   22   adjourn for the day .

   23                    Again,      I want to remind you until this tr ial's over,

   24   you're not to discuss this case with anyone ,                              including your

   25   fellow jurors , members of your family , people involved in the


                      UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA




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    1   trial or anyone else, and do no t                     allow ot her s to discuss the

    2   case with you.

    3                  This includes discussing the case 1n internet chat

    4   rooms, through blogs, by e-mails or text messages.                                 If anyon e

    5   t ri es to communicate wi t h you about this case, please let me

    6   know about it immediately.

    7                  Do not read, watch o r listen to any news reports or

    8   other acco unts about the trial or anyone associat ed with it .

    9   Do not do any research,             such as consulting dictionaries,

   10   searching the internet or using other reference materials and

   11   do not make any investigation on your own .

   12                  Finally, you're remi nded to keep an open mind unt il

   13   all of the evidence has been received , you ' ve heard the

   14   arguments of counsel, the instructions of the Court and the

   15   views of your fellow jur ors.

   16                  If you need to speak wi th me , simply give a note to

   17   the clerk.

   18                  We're going to resume t-omorrow morn i ng at 8 : 00 a.m.

   19   sharp .     We can't start unless al l of you are present, so please

   20   try and be on time .            If you aren't used to coming downtown,

   21   please le ave yourself plenty of t ime to get down here.

   22                  Al l   right.      Thank you v e ry much .               We'll see everybody

   23   tomorrow morn1ng at 8 o 'clo ck .

   24                  Please leave your notebooks on your chairs.

   25                  THE CLERK:         All rise.


                    UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA




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    1           (Jury out at 3:08P.M.)

    2           (The follo wing was heard outside the presence of the

    3           jury.)

    4                  THE COURT :       Let me ask a question.                   The False Claims

    5   Act case that you made reference to in your opening

    6   statement

    7                  MR. MCDERMOTT :         Yes,       sir.

    8                  THE COURT:            most False Claims Act cases are

    9   authori zed by congress.

   10                  MR. MCDERMOTT:          Yes,        sir.

   11                  THE COURT:        Correct?           And whistle blowers are

   12   entitled by law to receive proceeds.

   13                  MR . MCDERMOTT:         Yes , sir.

   14                  THE COURT:        Correct?

   15                  MR. MCDERMOTT:          Yes,        slr.

   16                  THE COURT:        And in the particular case that you were

   17   referring to, did th e government intervene in that case?

   18                  MR. MCDERMOTT:          Yes, they did.

   19                  THE COURT:        And the government -- and, you know, I

   20   guess I'm a l ittle confused because it sounds like what you 're

   21   trying to convey to the jury is that there was something wrong

   22   with Mr. -- I don't know-- Crowley

   23                  MR. MCDERMOTT :         Crowley.

   24                  THE COURT:             participating ln that qui tarn case ,

   25   and -- first of all, I think I mentioned before,                               I 'm not going


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   1    to retry that case .

   2                   MR. MCDERMOTT :         Right .

   3                   THE COURT :       And befo re that's mentioned in front of

    4   th is jury, we need to go to sidebar, because I'm not -- even

    5   assuming that has some rel evance here, try ing to expl a in to

    6   this jury what's behind a qui tarn case , how people go about

    7   f iling it and why they're author ized to do that, I don't know

    8   that we want to take that kind of time t o t r y to exp la in this.

    9                  And I think the government has taken the position

   10   before they may have an objection to it, so maybe we need to

   11   talk about that before it's mentione d again because -- and,

   12   quite fr ankly, I ' m not          sure that I 'd have to i nstruct the jury

   13   that there was absolutely nothing wrong with Crowley serving as

   14   a relater to uncover government fraud .

   15                  MR. MCDERMOTT:          I certai nly wouldn ' t have an

   16   obj ection to t hat.          I 'm not imp lying that h e d i d anything

   17                  THE COURT:        Oh, I think you are.

   18                  MR . MCDERMOTT:         Wel l,       from the s tandpoint ot --

   19   again, it may be a motivation .

   20                  THE COURT:        And as a matter of fact,                   if Crowley was

   21   aware that there was fraud being perpetrated by your client ,

   22   t here was certainly nothing wrong with him turning your

   23   client -- blowing the whistle on your client for that matter.

   24                  MR. MCDERMOTT :         Sure.

   25                  THE COURT :        So -- but, you kn ow, we can talk about


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    1   it , and see where you ' re trying to go , although I think I have

    2   an idea .                                                                                          ._,;

    3                  Now , the other issue is the defendant ' s bond .                         And

    4   I ' ve thought about this.             I ' ve listened to the testimony of the

    5   two jurors that had to be excused .                        And I think the second

    6   j uror that we ta lked to , I think he got it absolutely correct

    7   that the defendant made contact with those jurors despite the

    8   fact that the Court            had repeatedly admonished the jury that

    9   t he y were to have no contact with anybody that had anything to

   10   do with this case .

   11                  And it ' s obvious to me that what the defendant was

   12   doing was trying to curry favor with the those JUrors.                                   He knew

   13   exactly who they were.               They were wearing a badge.                     He not only

   14   did it once , but he did it twice and caused these jurors to

   15   have to be recused .

   16                  To me that vi o lated the conditions of his bond

   17   because one of the condit ions of his bond was not --to obey

   18   all laws and by tampering with these witnesses, he violated the

   19   law by jury tampering and obstructi on of the orderly

   20   administration of justice , and the Court finds that he violated

   21   his conditions of bond , and I ' m going to order him remanded

   22   i nto custody forthwith .

   23                   VOICE :     Oh ,   Jesus Christ .

   24                   THE CO URT :       And , sir , there will be no outbursts from

   25   you because you ' re about one step from getting locked up


                     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORN IA




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    1   yourself .       So if you want to remain in this trial, I suggest

    2   that you keep quiet.

    3                  So, sir , have a seat.

    4                  The marshals wi l l be here to take you into custody.

    5                  Now, we ' l l be here tomo rrow starting at 8 o'cl oc k.

    6                  Is there anything else?

    7                  MR. FREEDMAN :         No , Your Honor .

    8                  MS. RYKKEN :        Nothing.           Thank you.

    9                  THE COURT :       Okay.         Than k you .

   10                  If the Court Security Officers could stay here until

   11   the marshals come.

   12                  THE OFFICER :        Yes, sir .

   13                  THE CLERK:        Th is Court now stands adjourned.

   14           (Evening recess taken 3 : 14p.m.)

   15                                                --oOo--

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                    UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA




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    2

    3                                          CERTIFICATE

    4

    5           I hereby certify that pursuant to Section 753 ,

    6   Title 28, United States Code , the foregoing is a true and

    7   correct transcript of the stenog raphically reported

    8   proceedings he ld in the above-entitled matter and that the

    9   trans cript page format i s in conformance with the

   10   regulat i ons of the Judicial Conference of the Un it ed Stat es .

   11

   12   Date : JANUARY 15, 2018

   13

   14

   15

   16

   17                               /s/    Cindy L . Nirenbe rg, CSR No. 5059

   18                                                        Official Court Reporter

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                     UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA




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     1                          UNITED STATES DISTRICT COURT

     2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

     3               HONORABLE PERCY ANDERSON, U.S. DISTRICT JUDGE

     4

     5   UNITED STATES OF AMERICA,

     6                     Plaintiff,

     7         vs.                                      Case No. CR-16-215-PA

     8   MICHAEL MIRANDO,

     9                    Defendant.
                                                    /
   10

   11

   12                REPORTER'S TRANSCRIPT OF JURY TRIAL PROCEEDINGS
                                        TRIAL DAY 2
   13                            THURSDAY, APRIL 27, 2017
                                         8:00 A.M.
   14                             LOS ANGELES, CALIFORNIA

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   22         ________________________________________________________

   23                     TERRI A. HOURIGAN, CSR NO. 3838, CCRR
                             FEDERAL OFFICIAL COURT REPORTER
   24                        350 WEST FIRST STREET, ROOM 4311
                              LOS ANGELES, CALIFORNIA 90012
   25                                 (213) 894-2849




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     1                             APPEARANCES OF COUNSEL:

     2

     3   FOR THE PLAINTIFF:

     4        EILEEN DECKER
              United States Attorney
     5        BY: MICHAEL FREEDMAN
                  KATHERINE RYKKEN
     6             Assistant United States Attorney
              United States Courthouse
     7        312 North Spring Street
              Los Angeles, California 90012
     8

     9
         FOR THE DEFENDANT MICHAEL MIRANDO:
   10
              LAW OFFICES OF KEVIN BARRY MCDERMOTT
   11         BY: KEVIN B. MCDERMOTT
                  Attorney at Law
   12         300 Spectrum Center Drive, Suite 1420
              Irvine, California 92618
   13

   14
         ALSO PRESENT:      Special Agent Kathleen Kennedy
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     1            LOS ANGELES, CALIFORNIA; THURSDAY, APRIL 27, 2017

     2                                        * * *

     3

     4                 THE COURTROOM DEPUTY:        All rise.

     5          Calling Item 1, CR-16-215-PA, United States of America

     6   versus Michael Mirando.

     7          Counsel, may I have your appearance please?

     8                 MR. FREEDMAN:      Good morning, Your Honor.        Michael

     9   Freedman and Katherine Rykken on behalf of the United States.

   10    Kathleen Kennedy is with us at counsel table.

   11                  MR. MCDERMOTT:      Good morning, sir.       Kevin McDermott

   12    on behalf of Mr. Mirando, who is present.

   13                  THE COURT:     Good morning.

   14           I believe all of the members of the jury are here.               Are we

   15    ready to proceed?

   16                  MR. MCDERMOTT:      Yes, sir.

   17                  MR. FREEDMAN:      Your Honor, there is one quick item I

   18    wanted to inform the Court with respect to the National Cardio

   19    issue.

   20           First of all, after yesterday, now that the issue is

   21    continuing to be raised, the government's view is that it's

   22    still irrelevant and shouldn't come in.

   23           But recognizing the defense is trying to get it in, we

   24    spent some time with Mr. Crowley talking about the issue.

   25           One item that came up -- I just wanted to note for the




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     1   record, I have already told the defense.

     2          In January, when the issue first came up, we got discovery

     3   from the FBI from the National Cardio criminal case, and we

     4   produced it to the defense.

     5          We didn't spend a whole time reviewing it, because it

     6   wasn't an issue we thought was relevant.

     7          Yesterday, I spent more time digging into those documents,

     8   and the issue is -- I noticed in the settlement agreement that

     9   the settlement agreement -- for the first time I noticed that

   10    National Cardio and the two Parsons were represented by the law

   11    firm that I used to work at.

   12           I checked with our office's professional responsibility

   13    coordinator, and there is no conflict there.

   14           But I just wanted to note that for the Court.

   15           I have already told the defense, and the defense doesn't

   16    have any issue with it.

   17                  THE COURT:     Okay.

   18                  MR. FREEDMAN:      Thank you, Your Honor.

   19                  MS. RYKKEN:     We have one other housekeeping issue.

   20    Agent Kennedy is having a lot of coughing.

   21           If she is having a coughing fit, which she suspects might

   22    happen, would you like her to ask for permission to step out or

   23    should she step out with asking?

   24                  THE COURT:     She doesn't need to ask for permission.

   25                  MS. RYKKEN:     Thank you, all right.




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     1                 THE COURT:     All right.     Let's bring the jury in.

     2                 THE COURTROOM DEPUTY:        All rise.

     3                  (JURY ENTERS THE COURTROOM AT 8:11 A.M.)

     4                 THE COURTROOM DEPUTY:        Please be seated, and come to

     5   order.

     6                 THE COURT:     Good morning, ladies and gentlemen.            If

     7   you would call your next witness, please?

     8                 MS. RYKKEN:     The government calls Dr. Gregory Joy.

     9                 THE COURTROOM DEPUTY:        Please raise your right hand.

   10                            (Oath was administered.)

   11                  THE WITNESS:     I do.

   12                  THE COURTROOM DEPUTY:        Please be seated.

   13

   14                             GREGORY JAMES JOY M.D.,

   15               having been duly sworn, testified as follows:

   16

   17                  THE COURTROOM DEPUTY:        Please state your full name,

   18    spell your last name for the record.

   19                  THE WITNESS:     Gregory James Joy, J-o-y.

   20                  THE COURT:     All right.     Let's begin.

   21                  MS. RYKKEN:     Thank you, Your Honor.

   22

   23                                 DIRECT EXAMINATION

   24    BY MS. RYKKEN:

   25    Q      Dr. Joy, what do you do for a living?




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     1   A      I'm a physician.

     2   Q      What kind of physician?

     3   A      I practice internal medicine, and also practice part-time

     4   emergency medicine.

     5   Q      Are you involved in family practice?

     6   A      I do that, too, yes.

     7   Q      So what does internal medicine entail?

     8   A      It involves medical care for primarily adult persons 16

     9   and over, mostly.

   10    Q      Where is your practice located?

   11    A      Mission Viejo.

   12    Q      Is that in Orange County?

   13    A      Orange County, California.

   14    Q      And what is the name of your practice?

   15    A      I'm currently employed with Optum Health and Medical

   16    Group.

   17    Q      And in 2012, were you also employed with Optum?

   18    A      No.   I was in partnership practice.

   19    Q      What was the name of that practice in 2012?

   20    A      It was also a family medical group.

   21    Q      Is John Hattrup your patient?

   22    A      Yes, he was.

   23    Q      For how long was he your patient?

   24    A      A number of years.

   25    Q      Do you recall when he stopped being your patient?




App. 0683                      UNITED STATES DISTRICT COURT
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     1   A      Not too long after -- maybe four or five years ago.                 I

     2   talked to him.

     3          Apparently, he had to go to Kaiser because of his

     4   employment.

     5   Q      Okay.    So it was about 2011 or '12?

     6   A      Something like that.

     7   Q      Did he come to your office on April 11, of 2011?

     8   A      As I recall from my records, yes.

     9   Q      Can you look at Exhibit 41 in the binder to your right,

   10    please?

   11           You just open that up.       There are a number of tabs in

   12    there.

   13           Do you see that document?

   14    A      Yes.

   15    Q      What is it?

   16    A      It's a copy of my clinical note dated 4/11/2011.

   17    Q      For what patient?

   18    A      John Hattrup.

   19    Q      Is this a record you created?

   20    A      Yes.

   21                   MS. RYKKEN:    The government moves to admit Exhibit

   22    41 into evidence.

   23                   MR. MCDERMOTT:    No objection.

   24                   THE COURT:    It will be received.

   25           (Exhibit 41 received into evidence.)




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     1                   MS. RYKKEN:    Will you please put it up.

     2   BY MS. RYKKEN:

     3   Q       Okay.     Why did John Hattrup come to see you on April 11th,

     4   2011?

     5   A       His chief complaint was chest pain and flaring in his

     6   chest.

     7   Q       And what did you do?

     8   A       I examined him.       I took vital signs.     I discussed his

     9   concerns.

   10    Q       Did you do any tests in the office?

   11    A       Pardon?

   12    Q       Did you do any tests in the office that day?

   13    A       I did an electrocardiogram.

   14    Q       And did you do anything else after that?

   15            Did you order any tests to the follow up?

   16    A       I ordered a Holter monitor.

   17    Q       And what is a Holter monitor?

   18    A       A Holter monitor is a device where a person wears

   19    something like a little walkman on their person, and they have

   20    leads attached to their chest.

   21            It then records their electrical activity of their heart

   22    for a specified period of time, usually 24 hours.

   23                    MS. RYKKEN:    Agent Kennedy, you do have Exhibit 1,

   24    the Holter device?

   25                    MS. KENNEDY:    No, I don't.    The Court does.




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     1                  THE WITNESS:    Yes, it looks like a Holter monitor.

     2   BY MS. RYKKEN:

     3   Q      Okay.    And then -- okay, on the patient record we have

     4   highlighted for you in the screen in front of you; do you see

     5   your assessment and plan?

     6                  THE COURT:     If you would, look on that monitor right

     7   there in front of you.

     8                  THE WITNESS:    Oh, yes.

     9   BY MS. RYKKEN:

   10    Q      So it says "check lab and Holter"?

   11           What does Holter refer to?

   12    A      That is a Holter monitor.

   13    Q      The 24-hour test you referred to?

   14    A      The 24-hour electrocardiogram, yes.

   15    Q      Did you order this device for Mr. Hattrup again?

   16    A      Not that I'm aware.

   17    Q      So, it's your recollection you ordered it one time?

   18    A      Yes.

   19    Q      Did you order him to wear it for three more times over the

   20    next two weeks?

   21    A      I have no record of that.        I doubt I would have, no.

   22    Q      And so you said it was a 24-hour test.

   23           Did you ever order him to wear a Holter device for a

   24    longer period of time, say, 30 days?

   25    A      Not that I recall.       I don't see any order for that.            It




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     1   would not be routine.

     2                  MS. RYKKEN:    Can you look at Exhibit 50 in the

     3   binder in front of you?

     4                  THE WITNESS:    Okay.

     5                  MS. RYKKEN:    Okay.    This is one of the exhibits that

     6   was provisionally admitted, and we published yesterday.

     7          May we publish it again?

     8                  THE COURT:     All right.

     9                  MS. RYKKEN:    Thank you.

   10    BY MS. RYKKEN:

   11    Q      This is a chart of the charges that Holter Labs submitted

   12    to insurance for John Hattrup's use of the Holter device.

   13           So we're going to highlight the first day, April 11, 2011.

   14           Do you see that?

   15    A      Yes.

   16    Q      Okay.    The first line item, what is that?

   17    A      ECG monitor report 24 hours.

   18    Q      Did you order that for Mr. Hattrup?

   19    A      If that was what the term referred to Holter monitor, yes.

   20    Q      Do you see the next item?

   21    A      Cardiovascular procedure.

   22    Q      Did you order a cardiovascular procedure for Mr. Hattrup?

   23    A      I have no idea what that is.

   24    Q      Do you see the next line?

   25           The third line, do you see that?




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     1   A       It's an EEG on that recording.

     2   Q       Do you know what an EEG is?

     3   A       Yes.

     4   Q       What is it?

     5   A       It's an electroencephalogram.        It's a reporting of brain

     6   waves.

     7   Q       Did you order an EEG for John Hattrup?

     8   A       I did not, would not.

     9   Q       The next line.     The very last line, do you see that?

   10    A       RX oral non-chemotherapy.       I have no idea what that means.

   11    Q       Did you order that -- oral non-chemotherapy for John

   12    Hattrup?

   13    A       No.

   14    Q       Let's look at the next day, 4/12/2011.

   15            Do you see that on your screen?

   16    A       Yes.

   17    Q       Did you order any additional tests for Mr. Hattrup on

   18    April 12th, 2011?

   19    A       No.

   20    Q       Do you see the ECG monitoring and analysis?

   21            Did you order a second ECG for Mr. Hattrup on April 12,

   22    2011?

   23    A       No.

   24    Q       And the next one.

   25            Did you order an oral non-chemotherapeutic NOS for




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     1   Mr. Hattrup on April 12, 2011?

     2   A      I have no idea what that is.

     3   Q      Okay.   Let's look at the third day, of April 15th, 2011.

     4          Do you see that on your screen?

     5   A      Yes.

     6   Q      Did you order any additional tests for Mr. Hattrup on

     7   April 15th, 2011?

     8   A      No.

     9   Q      Did you order an ECG monitor report for 24 hours on

   10    April 15, 2011?

   11    A      No.

   12    Q      Did you order an EEG on April 15th, 2011?

   13    A      Definitely, no.

   14    Q      Did you order an autonomic nerve function test for

   15    Mr. Hattrup on April 15th, 2011?

   16    A      I have no idea what that is.

   17    Q      Did you order an oral non-chemotherapeutic NOS for

   18    Mr. Hattrup on April 15, 2011?

   19    A      No.

   20    Q      So let's look at the next day, which is April 18th, 2011.

   21           Do you see that?

   22    A      Microvolt T-wave assessment.

   23    Q      Did you order a Microvolt T-wave assessment for

   24    Mr. Hattrup?

   25    A      I don't know what that is.




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     1   Q      Did you order an additional ECG monitor report for

     2   24 hours for Mr. Hattrup on April 18th, of 2011?

     3   A      No.

     4   Q      Did you order an EEG for Mr. Hattrup on April 18th, 2011?

     5   A      No.

     6   Q      And did you order this oral non-chemotherapeutic NOS for

     7   Mr. Hattrup on April 18, 2011?

     8   A      No.

     9   Q      Now, I will take a look at the last date on this chart,

   10    which is April 21st, 2011.

   11           Do you see the date on there?

   12    A      Yes.

   13    Q      Did you order a Microvolt T-wave assessment for

   14    Mr. Hattrup on April 21st, 2011?

   15    A      Again, I don't know what that is.

   16    Q      Did you order an additional ECG for Mr. Hattrup?

   17    A      No.

   18    Q      On that date, did you order an EEG for Mr. Hattrup on

   19    April 21st 2011?

   20    A      No.

   21    Q      On the last one, did you order an oral

   22    non-chemotherapeutic NOS for Mr. Hattrup?

   23    A      No.

   24    Q      So you testified a moment ago, that you ordered one Holter

   25    device for him for a 24-hour period.




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     1          Can you look at Exhibit 42, please?

     2   A      42?

     3   Q      Yes.

     4          Do you see Exhibit 42?

     5   A      Yes.

     6   Q      What is this?

     7   A      It's a report of a Holter monitor.

     8   Q      For what patient?

     9   A      John Hattrup.

   10    Q      What is the date?

   11    A      April 11th, 2011.

   12    Q      Did you review this report for Mr. Hattrup?

   13    A      I believe I did.

   14                  MS. RYKKEN:     The government moves to admit

   15    Exhibit 42 in evidence.

   16                  MR. MCDERMOTT:     No objection, sir.

   17                  THE COURT:    It will be received.

   18           (Exhibit 42 received into evidence.)

   19    BY MS. RYKKEN:

   20    Q      So the date on the top of this form for the jury is

   21    April 11th, 2011.

   22           And the patient is John Hattrup.

   23           And you were the physician listed there, Gregory Joy?

   24    A      I'm sorry, yes.      I'm the ordering physician -- referring

   25    physician, yes.




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     1   Q      So this is the report you received back from Holter Labs?

     2   A      Yes.

     3   Q      What did your review of this report tell you?

     4   A      It is a report of how many beats there were on the average

     5   heart beat.

     6          His maximum heart rate was one 124.          His minimum was 55.

     7          He had no V-tachs at PV pairs.         That is where abnormal

     8   rhythms occur one right after the other.

     9          There is 31 abnormal PVCs.

   10           No supraventricular tachycardias.

   11           17, supraventricular ectopies and no pauses.

   12           And the patient pressed the event button seven times.

   13           Then the rest of the other report is clarifications and I

   14    can pronounce those -- some of the parts that might be of

   15    interest in the entire record.

   16    Q      Does this report have an EEG in here, an

   17    electroencephalogram report?

   18    A      I don't believe so, no.

   19    Q      Does it have a sleep study?

   20    A      It has a page which is listed as sleep apnea, and except

   21    for a heart rate graph, I don't see anything about any entries

   22    under sleep apnea.

   23    Q      Have you ordered sleep apnea tests in the past?

   24    A      Yes.

   25    Q      Is this something you would expect to see in a sleep apnea




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     1   study?

     2   A      I don't generally review them, but, no.           It does not look

     3   like one.

     4   Q      Does this have any respiratory monitoring on it?

     5   A      Pardon?

     6   Q      Does this have any respiratory monitoring on it?

     7   A      Well, there is something on page 1 of 1, right after it

     8   says "sleep apnea."

     9          And I don't know -- it's not labeled, so I don't know if

   10    this is respirations or not.

   11    Q      Okay.     You did not review this report to see if John

   12    Hattrup had sleep apnea?

   13    A      I did not review this with an eye to determine whether

   14    there was sleep apnea or not.

   15    Q      Do you see a Microvolt T-wave assessment in this report?

   16    A      I have no idea what that is, but I don't see anything that

   17    looks unusual.

   18    Q      Do you know if data about the heart rate can indicate

   19    sleep apnea?

   20    A      Pardon?

   21    Q      Do you know if data from the Holter device can indicate

   22    sleep apnea?

   23    A      I doubt it.

   24    Q      Do you deal with the billing in your office?

   25    A      Pardon?




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     1   Q      Do you deal with the billing in your office?

     2   A      No.

     3                  MS. RYKKEN:    Nothing further.

     4                  THE COURT:    Cross-examination?

     5                  MR. MCDERMOTT:    Thank you, sir.

     6

     7                                CROSS-EXAMINATION

     8   BY MR. MCDERMOTT:

     9   Q      Doctor, can you tell the jury how often, during that time

   10    frame in 2011, you might have ordered a patient to have a

   11    Holter device applied to their body?

   12    A      Per year?

   13    Q      During that time frame -- once a week, once a month?                How

   14    often was it?

   15    A      Occasionally.     A few times a year, perhaps.

   16    Q      Okay.    And when you have a patient put on a device like

   17    that, do you bill the insurance company for the work and

   18    service you do in relation to that test?

   19    A      I bill for the reading I make of it, yes.

   20    Q      Now, we just got done reviewing quite a bit of that

   21    Exhibit No. 42, which is a report that was prepared by Holter

   22    Labs, correct?

   23           The items that you were just looking at?

   24    A      Yes.

   25    Q      Now, do you have an understanding as to how the




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     1   information gets from your patient to Holter Labs to give you

     2   that report?

     3   A      No.

     4   Q      So, at some point in time, you received Exhibit No. 42, at

     5   your office, correct?

     6   A      Yes.

     7   Q      And this particular document, was this something you

     8   actually were able to pull from your records and give to the

     9   government or did the government get the records and give it to

   10    you to look at?

   11    A      They pulled these records -- they pulled these records

   12    from my records.

   13    Q      Okay.   So, were you asked to independently go through all

   14    of your records for this particular patient to determine how

   15    many times he may have had a Holter device?

   16    A      I don't recall I was, no.

   17    Q      So, you are relying upon the materials that are presented

   18    to you today to remember how many times this particular patient

   19    may have worn that device?

   20    A      No, I did review my records.

   21    Q      You did review it?

   22    A      Yes.

   23    Q      And did you review your records for the entire month of

   24    April before you testified here today?

   25    A      I didn't review all of my records regarding Mr. Hattrup.




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     1   Q      Okay.   That particular report, No. 42, does that look like

     2   a report that you normally received from Holter Labs when you

     3   had a Holter device applied to a patient?

     4   A      Yes.

     5   Q      And the portion that it talks about, sleep apnea.

     6          Was that something that was regularly included in one of

     7   those reports?

     8   A      I don't recall.

     9   Q      But in this particular report, it does have a section or a

   10    paragraph on sleep apnea, correct?

   11    A      It does.

   12    Q      Even though you didn't order it, it was something that

   13    came in the report back to you?

   14    A      Yes.

   15    Q      And it's my understanding when you review a report, you

   16    sit down and talk to the patient about what is in the report?

   17    A      Sometimes.

   18    Q      All right.     And because of the work you put into

   19    interpreting the report, and looking at it, that is a billable

   20    event for you in your office?

   21    A      Yes.

   22    Q      And when you make that --

   23    A      Sorry, if the patient is in my office.

   24    Q      So once you do the review of the report with the patient,

   25    you then have the right to send a bill into the insurance




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     1   company for your work and your effort, correct?

     2   A      Yes.

     3   Q      Now, at any point in time, were you ever contacted by the

     4   insurance company related to this particular patient regarding

     5   the multiple events that occurred during this -- these

     6   documents, the 15th and the 18th and the 21st?

     7          Did any insurance company contact you about that?

     8   A      No.

     9   Q      At any point in time, were you ever notified there was

   10    billing occurring on a patient that you had that didn't match

   11    your records?

   12    A      No.

   13                  MR. MCDERMOTT:     Just a second.      Your Honor.

   14    BY MR. MCDERMOTT:

   15    Q      Can I please, sir, have you take a look at the first page

   16    of No. 42 again?

   17           And on that first page, sir, and just so we have a frame

   18    of reference, there is a bottom right-hand corner that you will

   19    see a little number "USA," 025212.

   20           Do you see that?

   21    A      Yes.

   22    Q      Now in there, there is a comment section about three

   23    quarters of the way down the page.

   24           Do you see that?

   25    A      Yes.




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     1   Q      And in there, the last line says, "the patient pressed the

     2   event button on a recorder seven times."

     3          Do you see that?

     4   A      Yes.

     5   Q      Do you understand what that particular line means?

     6   A      That means there is something happening that the patient

     7   wants to explain or is uncomfortable or whatever.

     8   Q      The Exhibit No. 1, the Holter device that the government

     9   had you take a look at, can you confirm for the jury that that

   10    is a duplicate or exact replica that was used on your patient

   11    back in 2011?

   12    A      I have no way of confirming that.

   13    Q      Okay.   But did you explain to the patient while they are

   14    wearing it, that there is a button they should push when

   15    something happens or something occurs?

   16    A      Yes, I would say there is a button.          "If there is

   17    something you want to clarify or if it's a button" -- I'm sorry

   18    -- "if you have what you were doing this for occurs, like

   19    fluttering of the chest, press the button."

   20    Q      Okay.   So when you are sitting down with the patient and

   21    before they apply the device, you actually explain to them how

   22    they should use the device in order to properly record what is

   23    going on in their chest, correct?

   24    A      Yes.

   25    Q      Okay.




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     1   A      Or it would be recorded anyway, maybe to bring it to our

     2   attention.

     3   Q      Right.    And Mr. Hattrup's particular situation, his was a

     4   heart flutter problem?

     5   A      Yes, and chest pain.

     6   Q      And chest pain.      So this would be an appropriate event if

     7   he felt chest pain or flutter to push a particular button on

     8   this device?

     9   A      Yes.

   10    Q      And that particular event would then be recorded by the

   11    Holter device?

   12    A      Yes.

   13    Q      Now when you look through No. 42, do you see any documents

   14    in 42 -- any pages, that reflect those events being recorded?

   15    A      I'm not finding any items here, which specifically are

   16    labeled as "patient pushed the button."

   17    Q      Is it possible then that the report is incomplete that you

   18    are looking at?

   19    A      It's possible.

   20    Q      Because when you have reviewed reports that indicate that

   21    events occurred, as it indicates on the first page, there will

   22    be some documents attached to the report that identify what

   23    those events were, true?

   24    A      Usually.

   25    Q      Okay.    And I would note that you were asked on direct,




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     1   sir, this would be with the little number at the bottom,

     2   025216, it has a heading of sleep apnea on the very top.

     3          I will wait until you find that Document 025216.             It is at

     4   the very bottom right-hand corner.

     5          Do you see that?

     6   A      Yes.

     7   Q      Okay.    Now, you were asked to take a look at that on

     8   direct.

     9          This particular page, does it in fact reflect that some

   10    kind of sleep apnea testing was done?

   11    A      It's titled that.

   12    Q      Okay.    Obviously, you testified that it wasn't something

   13    you had requested, though, correct?

   14    A      Right.

   15    Q      And upon reviewing this report, did you happen to contact

   16    either Holter Labs or your carrier as to work being performed

   17    that wasn't asked for?

   18    A      No.

   19    Q      As a result of the work that was performed on behalf of

   20    Mr. Hattrup, it's my understanding that you recommended he see

   21    a cardiologist.

   22    A      That was part of my initial plan to obtain a cardiologist

   23    consultation and also a Holter.

   24    Q      This particular device, did it confirm your original

   25    diagnosis that he should see a cardiologist?




App. 0700                      UNITED STATES DISTRICT COURT
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     1   A      This has nothing do with my decision to see a

     2   cardiologist.

     3          He needed to see him for chest pain and flutters, no

     4   matter what this shows.

     5   Q      But again, did this particular report exist and confirm

     6   your feelings what should be done with Mr. Hattrup?

     7   A      I don't know.

     8                 MR. MCDERMOTT:     All right.     Thank you.     I have

     9   nothing further.

   10                  THE COURT:    Redirect?

   11                  MS. RYKKEN:     No redirect.

   12                  THE COURT:    Sir, you may step down.

   13           Thank you very much.

   14                  THE WITNESS:     Thank you.

   15                  THE COURT:    Call your next witness.

   16                  MS. RYKKEN:     Can the government have a brief sidebar

   17    before this witness?

   18                  THE COURT:     Yes.

   19                                (Sidebar begins.)

   20                  MS. RYKKEN:     I just wanted to remind the Court the

   21    next witness has some issues, and she requires to take a

   22    bathroom break.

   23           We talked about that at the status break.            I wanted to let

   24    you know.

   25                  THE COURT:    Okay.




App. 0701                      UNITED STATES DISTRICT COURT
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     1                                (Sidebar ends.)

     2                 MS. RYKKEN:     The government called Martha Bennett.

     3          She will be here shortly.        She's in the restroom.

     4                 THE COURT:     All right.

     5                 THE COURTROOM DEPUTY:       Please stand here, and raise

     6   your right hand.

     7                          (Oath was administered.)

     8                 THE WITNESS:     I do.

     9                 THE COURTROOM DEPUTY:       Please be seated.      Please

   10    state your full name and spell your last name for the record.

   11                  THE WITNESS:     Martha Ann Bennett, B-e-n-n-e-t-t.

   12

   13                               MARTHA ANN BENNETT,

   14               having been duly sworn, testified as follows:

   15

   16                  THE COURT:     Ms. Bennett, I understand from time to

   17    time you need to take a break, so let us know and we will

   18    certainly accommodate you.

   19                  THE WITNESS:     Thank you.

   20                  THE COURT:     All right.

   21

   22                                DIRECT EXAMINATION

   23    BY MS. RYKKEN:

   24    Q      What do you do for a living, Ms. Bennett?

   25    A      I'm a homemaker.




App. 0702                      UNITED STATES DISTRICT COURT
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     1   Q      Have you always been a homemaker?

     2   A      No.    I was in IT, information technology, for about

     3   20 years.

     4          And when I had my son, he had special needs, so I didn't

     5   go back to work after that.

     6   Q      Where do you live?

     7   A      Lake Forest, Orange County.

     8   Q      Did you live in Lake Forest in 2012?

     9   A      Yes.

   10    Q      Have you worn a heart rate monitoring device before?

   11    A      Yes.

   12    Q      Can you look at Exhibit 1, which is the device on the

   13    table in front of you.

   14           It will be there in one moment.

   15    A      Oh.    It does not look familiar.       It was a while ago, but

   16    it was about that size, but I'm not sure if this is the exact

   17    device.

   18    Q      Is that similar to the device you wore?

   19    A      It was similar.      It was a small pack with wires.

   20    Q      Do you remember when you wore it?

   21    A      Based on information I have looked at since we have

   22    talked, it was -- I'm thinking fall of 2012, but not positive

   23    on the date.

   24    Q      Does November 30th, 2012, sound right?

   25    A      Before the holidays, yes.




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     1   Q      Why were you wearing the device?

     2   A      For several weeks prior to that, I had intermittent

     3   episodes of feeling like my heart was racing, especially when I

     4   would go to bed at night.

     5          I would lay down -- excuse me -- it would start racing and

     6   just not stop -- pardon me.

     7          So after having that for several weeks, I was getting

     8   concerned there was something wrong with my heart.

     9          So I made an appointment with my family doctor.

   10    Q      Who is your family doctor?

   11    A      Dr. Ronald Richmond.

   12    Q      What did he do?

   13    A      He gave me a basic exam.        I'm pretty sure we did an EKG in

   14    the office during that exam, and nothing showed up.

   15           So then he wanted me to do a 24-hour test with a monitor

   16    similar to this.

   17           Thank you.

   18           Because he couldn't do any treatment until he could

   19    identify a problem, so that is why I wore it for 24 hours to

   20    see if anything would show up during that 24 hours.

   21    Q      So when you had the device put on, was that at the

   22    doctor's office?

   23    A      Yes.

   24    Q      And how was the device put on?

   25    A      His nurse put it on.       You know, the electro pads, I will




App. 0704                      UNITED STATES DISTRICT COURT
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     1   call them, you have them if you get an EKG test.              It was all

     2   worn under my clothing.

     3          And then the pack, and I wore it straight for 24 hours.             I

     4   did not take it off.

     5                  MS. RYKKEN:    And I just want the record to reflect

     6   that the witness was pointing to the area right below her

     7   shoulder, sort of on her chest.

     8                  THE WITNESS:    There were several spots on my chest.

     9   BY MS. RYKKEN:

   10    Q      Okay.    Were any of the electrodes on your head?

   11    A      No.

   12    Q      Or anywhere on your face?

   13    A      No.

   14    Q      Did you have to do anything else once the device was on?

   15    A      No.     My doctor told me to do regular activities.

   16           I could exercise.      I slept with it on.

   17           He told me to do errands, housework, any regular

   18    activities.

   19    Q      Did you wear the device ever again or was that just a

   20    one-time thing?

   21    A      Just one time.

   22    Q      Did you ever wear it for a 30-day period?

   23    A      No.

   24    Q      And then once you had it, did you change any batteries?

   25    A      Not that I recall, no.




App. 0705                      UNITED STATES DISTRICT COURT
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     1                 MS. RYKKEN:     Okay.    Can you look in that binder in

     2   front of you at Tab 28, which is Exhibit 28.

     3                 THE WITNESS:     Okay.

     4   BY MS. RYKKEN:

     5   Q      Do you see the document?

     6   A      Yes.

     7   Q      What is it?

     8   A      This is the log that my doctor gave me to fill out during

     9   that 24-hour period.

   10           It just says what activity I was doing, and if I had any

   11    symptoms, I was to make a comment lined up with that activity.

   12           I have while taking my son to school, I had a mild

   13    sensation at that time.

   14           The majority of the time, I didn't feel anything.

   15                  MS. RYKKEN:     Your Honor, the government moves to

   16    admit Exhibit 28.

   17                  MR. MCDERMOTT:     No objection, sir.

   18                  THE COURT:     It will be received.

   19           (Exhibit 28 received into evidence.)

   20    BY MS. RYKKEN:

   21    Q      Do you see that on the screen in front of you?

   22    A      Yes.

   23    Q      Is that what you were just talking about?

   24    A      Yes.

   25    Q      This is your log.      Is that your handwriting on the right?




App. 0706                      UNITED STATES DISTRICT COURT
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     1   A       Yes, it is.

     2   Q       And when you say "mild for ten minutes," what does that

     3   mean?

     4   A       It meant I had that racing sensation, but not to the

     5   extreme that I had been feeling when I made the doctor

     6   appointment.

     7   Q       Is the same thing true for the other times you wrote

     8   "mild" on here?

     9   A       Yes.

   10    Q       It looks like that was four different times?

   11    A       Yes.

   12    Q       And then on the next page, page 3, do you see that?

   13    A       Yes.

   14    Q       Is that your handwriting?

   15            It's on the top on the screen, you can twist that.

   16    A       Yes.

   17    Q       Do you see the date that you started?

   18    A       11/30/2012.

   19    Q       So when you went to see Dr. Richmond, did you have any

   20    understanding of why he has you wear that device?

   21    A       Yes.

   22    Q       What was your understanding?

   23    A       He did not detect any of my symptoms during the office

   24    appointment.

   25            So he couldn't prescribe any follow-up treatment if he




App. 0707                      UNITED STATES DISTRICT COURT
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     1   couldn't identify the symptoms.

     2          So by wearing the device for 24 hours, especially at

     3   night, because I had said it was happening a lot at night, the

     4   device would capture that information and then he could make a

     5   diagnosis and treatment.

     6   Q      Did you go to the doctor with any other complaints that

     7   day?

     8   A      No.

     9   Q      Did you complain about sleep apnea?

   10    A      No.

   11    Q      Did you complain about any brain function?

   12    A      No.

   13    Q      Were you having any trouble breathing?

   14    A      No.

   15    Q      Did you ever see Dr. Richmond about sleep apnea?

   16    A      No.

   17    Q      Did he ever order a sleep study for you?

   18    A      No.

   19                  MS. RYKKEN:     Can you turn to Exhibit 36.        This is

   20    the summary chart of charges that Holter Labs submitted

   21    insurance for your use of the Holter device.

   22           We have previously agreed that as pre-admitted.

   23           Permission to publish?

   24                  MR. MCDERMOTT:     No objection.

   25                  THE COURT:    That's fine.




App. 0708                      UNITED STATES DISTRICT COURT
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     1          (Exhibit 36 received into evidence.)

     2   BY MS. RYKKEN:

     3   Q      Do you see that chart?

     4   A      Yes.

     5   Q      We have a number of different dates on here.

     6          Do you see December 3rd, of 2012?

     7   A      Yes.

     8   Q      What is the first line?

     9   A      ECG monitor/report 24 hours.

   10    Q      So you wore the Holter device once, correct?

   11    A      Correct.

   12    Q      The next line says "cardiovascular procedure."

   13           Did you have a cardiovascular procedure that day?

   14    A      No.

   15    Q      Do you know what an EEG is, an electroencephalogram?

   16    A      I honestly get ECG and EEG mixed up.

   17           I think EEG -- is that the brain, or am I incorrect?

   18                   MS. RYKKEN:    I'm just asking if you know what it is.

   19                   THE WITNESS:    I'm not positive.

   20    BY MS. RYKKEN:

   21    Q      To your knowledge, did you have an electroencephalogram

   22    that night?

   23    A      I didn't have any testing at night other than just wearing

   24    the device on my chest that one night.

   25    Q      Okay.    Do you see the fourth line this "PRSCRX oral




App. 0709                      UNITED STATES DISTRICT COURT
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     1   non-chemotherapeutic NOS?

     2   A       Yes.

     3   Q       Do you know what that is?

     4   A       I have no idea.

     5   Q       To your knowledge, did you have testing done for oral

     6   non-chemotherapeutic NOS?

     7   A       No, I have not had any oral testing with my family doctor.

     8   Q       Let's take a look at the second date.

     9           December 4th of 2012, is the date.

   10            Do you know what Microvolt T-wave assessment is?

   11    A       No, I do not.

   12    Q       To your knowledge did you have a Microvolt T-wave

   13    assessment done?

   14    A       Not to my knowledge, no.

   15    Q       Did you have a second ECG done?

   16    A       No.

   17    Q       And December 6, 2012, a second Microvolt T-wave assessment

   18    test.

   19            Did you have a second Microvolt T-wave assessment

   20    performed, to your knowledge?

   21    A       No.

   22    Q       What about a third ECG, did you have a third ECG?

   23    A       No.

   24    Q       Did you have a second EEG or electroencephalogram on

   25    December 6, of 2012?




App. 0710                      UNITED STATES DISTRICT COURT
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     1   A       No.

     2   Q       Let's look at the last day, December 10th, of 2012.

     3           Did you have a fourth ECG monitor report done?

     4   A       No.

     5   Q       Did you have a sleep study that day?

     6   A       No.

     7   Q       Did you have a fourth EEG?

     8   A       No.

     9   Q       Do you recall if you ever received a bill from Holter

   10    Labs?

   11    A       I don't believe so.

   12    Q       Do you recall if you ever paid them for wearing the

   13    device?

   14    A       I honestly don't remember.       I don't think so.

   15                  MS. RYKKEN:     Nothing further.

   16                  THE COURT:    All right.     Cross-examination?

   17                  MR. MCDERMOTT:     Thank you, sir.

   18

   19                                 CROSS-EXAMINATION

   20    BY MR. MCDERMOTT:

   21    Q       If you would turn back to that Exhibit No. 29, that the

   22    government had you take a look at.

   23                  THE COURT:    29 or 28?

   24                  MR. MCDERMOTT:     Excuse me, sir, 28.       Are you there

   25    on the front page, ma'am?




App. 0711                      UNITED STATES DISTRICT COURT
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     1                  THE WITNESS:    28, yes.

     2   BY MR. MCDERMOTT:

     3   Q      And that claims to be a Holter order form?

     4          Have you ever seen that document before?

     5   A      It doesn't look familiar.

     6   Q      All right.     Do you see where it's circled, "was your

     7   doctor, at the time, Dr. Ronald Richmond"?

     8   A      Yes.

     9   Q      He had been your treating physician for a period of time,

   10    your general practitioner physician?

   11    A      Yes.

   12    Q      When you were finished wearing the device, did you and

   13    Dr. Richmond sit down and discuss the results of the test?

   14    A      I had -- I took the device back to the office, and then

   15    there was follow-up.

   16           I don't remember if it was on the phone or I made an

   17    appointment.

   18    Q      Okay.

   19    A      But I was informed that there were no results from the

   20    test, so there was nothing he could do for the problem because

   21    they didn't have enough information to treat it.

   22    Q      All right.     So at least from your perspective when you

   23    were talking with the doctor about the report, he apparently

   24    had something that he was reviewing or looking at, and he was

   25    telling you about the results, true?




App. 0712                      UNITED STATES DISTRICT COURT
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     1   A      Yes.

     2   Q      And as a result of having the device, did the doctor refer

     3   you on to a cardiologist or what happened as a result of

     4   wearing that device?

     5   A      Nothing happened because the symptoms that I had

     6   complained about, he didn't have any indication that they had

     7   happened.      So he couldn't do anything because there wasn't any

     8   indication to him.

     9   Q      Okay.

   10    A      He believed me, but there wasn't any factual information

   11    that he could treat.

   12    Q      All right.     So, obviously Dr. Richmond did this for you --

   13    you have never seen this order form before -- did he explain to

   14    you what the device was capable of doing, if you wore it?

   15    A      He did.    I don't remember all of the details.           It was

   16    quite a while ago.

   17    Q      Right.

   18    A      But my understanding was that it would have recorded -- if

   19    I had experienced this intermittent racing -- the device would

   20    have recorded that, and then he would have seen that.

   21    Q      I realize it's been a while ago.          It looks like almost

   22    five years ago.

   23           Do you recall having a discussion with your doctor about

   24    if you experienced an event that there might be a button to

   25    push on the device?




App. 0713                      UNITED STATES DISTRICT COURT
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     1   A       Not that I recall.

     2   Q       All right.    Okay.

     3           Now, the government asked you about -- most of us that

     4   have insurance -- sometimes you will get a notice in the mail

     5   from your insurance company something called an explanation of

     6   benefits.

     7           Do you recall whether or not your insurance company at

     8   that time gave you those kind of mailings?

     9   A       Yes, they did.

   10    Q       All right.    At any point in time, you have already told us

   11    and told the jury that you never got a bill from Holter Labs,

   12    correct?

   13    A       Not that I remember.

   14    Q       All right.    And do you have a recollection of receiving

   15    explanation of benefits in which there were multiple charges or

   16    payments by your insurance company to Holter Labs?

   17    A       Yes.

   18    Q       And did you ever contact your insurance company or did

   19    they contact you about these multiple payments to the Holter

   20    Labs?

   21    A       No.    I did not contact them, and I do not remember them

   22    contacting me.

   23    Q       All right.    So at no point in time, did your insurance

   24    company reach out to you and say, "Does this conform with

   25    services you had with Dr. Richmond?"




App. 0714                      UNITED STATES DISTRICT COURT
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     1   A       Not that I remember.

     2   Q       Okay.

     3                   MR. MCDERMOTT:    Thank you, ma'am.      I have nothing

     4   further.

     5                   MS. RYKKEN:    No redirect.

     6                   THE COURT:    You may step down.     Thank you very much.

     7   Call your next witness.

     8                   MS. RYKKEN:    The government calls Dr. Ronald

     9   Richmond.

   10                    THE COURTROOM DEPUTY:     Sir, please raise your right

   11    hand.

   12                           (Oath was administered.)

   13                    THE WITNESS:    I do.

   14                    THE COURTROOM DEPUTY:     Please be seated.      Please

   15    state your full name, and spell your last name for the record.

   16                    THE WITNESS:     Ronald David Richmond,

   17    R-i-c-h-m-o-n-d.

   18

   19                           DR. RONALD DAVID RICHMOND,

   20                having been duly sworn, testified as follows:

   21

   22                    MS. RYKKEN:    May I proceed, Your Honor?

   23                    THE COURT:    Yes.

   24

   25                                 DIRECT EXAMINATION




App. 0715                      UNITED STATES DISTRICT COURT
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     1   BY MS. RYKKEN:

     2   Q      What do you do for a living, Doctor?

     3   A      I'm a doctor in family practice.

     4   Q      What does "family practice" mean?

     5   A      Primary care medicine.

     6   Q      What is primary care medicine?

     7   A      It is taking care of the general needs of a patient,

     8   mostly adults in my practice.

     9   Q      Where is your practice located?

   10    A      Mission Viejo, California.

   11    Q      Is that in Orange County?

   12    A      Yes.

   13    Q      Did you work for the -- what is the name of your practice?

   14    A      OSO Family Medical Group.

   15    Q      Is that the name of your practice now?

   16    A      No.    We were joined in with OptumCare Medical Group, in

   17    September of 2014.

   18    Q      So in 2012, you worked for OSO Medical Group?

   19    A      Correct.

   20    Q      Is Martha Bennett your patient?

   21    A      Yes.

   22    Q      How long has she been your patient?

   23    A      Probably 18 years.

   24    Q      So she was your patient in 2012?

   25    A      Yes.




App. 0716                      UNITED STATES DISTRICT COURT
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     1   Q      Did she come to your office on November 30th, of 2012?

     2   A      Yes.

     3   Q      Can you look at Exhibit 27 in the binder right next to you

     4   on your -- the larger binder.

     5   A      Which exhibit?

     6                  MS. RYKKEN:    Just a moment, Exhibit 27.

     7   BY MS. RYKKEN:

     8   Q      Do you see that?

     9   A      Yes.

   10    Q      What is this?

   11    A      It's an office note from November 30th, 2012, when I saw

   12    Ms. Bennett for a physical.

   13    Q      Are these your notes?

   14    A      Yes, they are.

   15                   MS. RYKKEN:    The government moves to admit

   16    Exhibit 27 into evidence.

   17                   MR. MCDERMOTT:    No objection, Your Honor.

   18                   THE COURT:    It will be received.

   19           (Exhibit 27 received into evidence.)

   20    BY MS. RYKKEN:

   21    Q      So on the screen in front of you, we're going to highlight

   22    some different portions.

   23    A      Okay.

   24    Q      The patient name.      What is the patient's name?

   25    A      Martha A. Bennett.




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     1   Q       And the provider, Ronald Richmond.         That is you?

     2   A       Correct.

     3   Q       Why did she come to see you?

     4   A       Just for a general physical checkup.

     5   Q       Did she complain about any heart palpitations that she was

     6   having?

     7   A       Yeah.     One of the things she brought up during that visit

     8   was that she was having some palpitations or extra heart beats

     9   she was concerned about.

   10    Q       What did you do next?

   11            Did you do any tests in the office?

   12    A       I'm pretty sure we did an EKG that day just to see if

   13    there was anything going on.

   14    Q       Let's look at page 3.      Assessment and plan.

   15            Do you see that?

   16    A       Uh-huh.    Let me see.

   17    Q       It's on the screen in front of you, too, if you would

   18    like.

   19    A       Okay, yeah.    Schedule for an EKG.

   20    Q       Then the heart palpitations, it says, "today's

   21    instructions counseling includes Holter?"

   22    A       Correct.

   23    Q       What is a Holter?

   24    A       That's a 24-hour heart monitor to see how the heart rhythm

   25    is doing over a 24-hour period.




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     1   Q      Do you see the Holter monitor in front of you, which is

     2   Exhibit 1?

     3   A      Yes.

     4   Q      Is that similar to the one you ordered for Martha Bennett?

     5   A      Yes.

     6   Q      Did you apply the Holter monitor to her yourself?

     7   A      No, my medical assistant would have done that.

     8   Q      Okay.    Did you ever order her to wear it again after this

     9   first time?

   10    A      No.

   11    Q      How long did you ask her to wear the device?

   12    A      24 hours.

   13    Q      Did you order her to wear it three more times in the next

   14    two weeks?

   15    A      No.

   16    Q      Did you ever order a 30-day test for a Holter monitor?

   17    A      No.

   18                   MS. RYKKEN:    I would like to publish Exhibit 36,

   19    which is our summary chart that has been previously stipulated

   20    to as pre-admitted.

   21                   MR. MCDERMOTT:    No objection, Your Honor.

   22                   MS. RYKKEN:    Permission to publish?

   23                   THE COURT:    It's fine.

   24                   (Exhibit 36 was admitted in evidence.)

   25    BY MS. RYKKEN:




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     1   Q      This is a summary chart of all of the charges that Holter

     2   Labs submitted to insurance for Martha Bennett's use of the

     3   device.

     4          Do you see that?

     5   A      Yes.

     6   Q      The first date is December 3rd, of 2012.

     7          Do you see the first line that says "ECG monitor and

     8   report for 24 hours"?

     9   A      Yes.

   10    Q      Is that consistent with the one Holter device that you

   11    ordered?

   12    A      Yes.

   13    Q      On the second line, cardiovascular procedure.

   14           Did you order a cardiovascular procedure for Martha

   15    Bennett?

   16    A      Nothing different than the Holter monitor.

   17    Q      Do you know what an EEG is?

   18    A      Yeah, that would be a measure of brain waves.

   19    Q      What does EEG stands for?

   20    A      Electroencephalogram.

   21    Q      Did you order any EEG tests for Martha Bennett?

   22    A      No.

   23    Q      Did you ever order an EEG for her?

   24    A      I have never order an EEG in my life.

   25    Q      The last line, PRSCRX plural non-chemotherapeutic NOS.




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     1          Did you order that for Martha Bennett?

     2   A      No, I don't know what that is.

     3   Q      Take a look at the second date on this chart, which is

     4   December 4th, of 2012.

     5          Do you see Microvolt T-wave assessment?

     6   A      I see it.

     7   Q      Do you know what that is?

     8   A      Nope.

     9   Q      Did you order one for Martha Bennett?

   10    A      No.

   11    Q      Did you order a second EEG for Martha Bennett on

   12    December 12th?

   13    A      No.

   14    Q      Third date, December 6, of 2012, again, the Microvolt

   15    T-wave assessment, did you order that for Martha Bennett?

   16    A      No.

   17    Q      Did you order a third ECG monitor?

   18    A      No.

   19    Q      Did you order a second EEG for Martha Bennett?

   20    A      No.

   21    Q      And this is the last date on the chart, 12/10/2012.

   22           This is a fourth ECG monitor.

   23           Did you order that for Martha Bennett?

   24    A      No.

   25    Q      Did you order a sleep study for Martha Bennett?




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     1   A      No.

     2   Q      Did you order an EEG for Martha Bennett?

     3   A      No.

     4                  MS. RYKKEN:    Can you take a look at Exhibit 28 next,

     5   which has been previously admitted.

     6          Can you put page 1 up, please.

     7   BY MS. RYKKEN:

     8   Q      Do you see that?

     9   A      Yes.

   10    Q      What is that first page?

   11    A      It's an order form for the Holter monitor.

   12    Q      Is this something you or your office billed out?

   13    A      Yes.

   14    Q      Who was this order form for?

   15    A      Martha Bennett.

   16    Q      Who is the provider of the service?

   17    A      Holter Labs.

   18    Q      Can you move down to the other half of the page, please.

   19                   MR. FREEDMAN:    What number?

   20                   MS. RYKKEN:    28.

   21    BY MS. RYKKEN:

   22    Q      So is that your signature at the bottom?

   23    A      Yes.

   24    Q      Okay.    It says Holter monitoring.        It has different

   25    options here.      It looks like you didn't check one of them.




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     1   A      Correct.

     2   Q      Do you see any options for anything other than a 24-hour

     3   or 48-hour study?

     4   A      No.

     5   Q      And the options up above for diagnosis, you didn't check

     6   any of those?

     7   A      Palpitations, 785.1.

     8   Q      Did you create this form?

     9   A      Yes, or I directed my MA to do it.

   10    Q      Is this a form -- the form itself -- is that one that your

   11    office created or was that something that was given to you from

   12    Holter Labs?

   13    A      The form itself would have been given to us from Holter

   14    Labs, then it was in our electronic medical record, a copy, and

   15    then you copied it with this information.

   16    Q      Okay.   So, can you take a look at Tab 29, which is Exhibit

   17    29 in your binder?

   18    A      Yes.

   19    Q      Okay.   What is that?

   20    A      This would be the report of the findings of the Holter

   21    monitor.

   22    Q      Who is that report for?

   23    A      Martha Bennett.

   24    Q      What is the date?

   25    A      December 3rd, 2012.




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     1                 MS. RYKKEN:     The government moves to admit

     2   Exhibit 29 into evidence.

     3                 THE COURT:    Any objection?

     4                 MR. MCDERMOTT:     No objection.

     5                 THE COURT:    It will be received.

     6          (Exhibit 29 received into evidence.)

     7   BY MS. RYKKEN:

     8   Q      All right.     As you just stated, the physician is you,

     9   Ronald Richmond, M.D., and the patient is Martha Bennett, and

   10    the date of service was December 3rd, of 2012; is that right?

   11    It's up on the top left?

   12    A      Uh-huh.

   13    Q      So you reviewed this report for Ms. Bennett?

   14    A      Yes.

   15    Q      What did you learn?

   16    A      That she had a lot of PVCs or premature ventricular

   17    contractions.

   18           There was no serious heart concerns from this.

   19    Q      Can you take a look at that and see whether there is a

   20    result of an EEG in here?

   21    A      Nothing that looks -- no EEG.

   22    Q      Do you see anything for the Microvolt T-wave assessment?

   23    A      I don't know what that is.        I wouldn't know what to look

   24    for.

   25    Q      What about any sleep study results?




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     1          If you look at page 12, there is a mention of sleep apnea.

     2   A      Yeah.    It says sleep apnea on there, but there was no

     3   oxygen or breathing apparatus set up.

     4   Q      What would you expect to see for a sleep apnea study?

     5   A      Well, usually you have an oxygen monitor, some kind of

     6   breathing monitor.       They put an electrode on your head as well.

     7   Q      You don't see any of those results in this report?

     8   A      No.

     9   Q      And this report -- what period of time does it cover?

   10           How many hours?

   11    A      I assume 24 hours.

   12    Q      Can you take a look and confirm, please?

   13    A      Oh yeah, 24 hours.

   14    Q      Thank you.

   15           Okay.    Did you receive another such report for Martha

   16    Bennett?

   17    A      No.

   18                   MS. RYKKEN:    Nothing further.

   19                   THE COURT:    Cross-examination?

   20                   MR. MCDERMOTT:    May I, sir?

   21                   THE COURT:    Yes, please.

   22

   23                                 CROSS-EXAMINATION

   24    BY MR. MCDERMOTT:

   25    Q      Dr. Richmond, we had another doctor here by the name of




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     1   Dr. Joy.

     2          Are you with the same group?

     3   A      We are.

     4   Q      At the time were you in the same group with him?

     5   A      Yes.

     6   Q      And I think prospectively, there may be another doctor by

     7   a name of Globus coming into testify.

     8          Are you all in the same group?

     9   A      Yes, we were.

   10    Q      How often would you say during this time frame -- it looks

   11    like 2012 late -- how often did you use the Holter device?

   12    A      I think I would order, like, two a year.

   13    Q      And tell me this:      Do they train doctors on the usage of

   14    Holter devices in medical school?

   15    A      Yes.

   16    Q      So you are familiar with how it works and what it's

   17    capable of doing?

   18    A      Yes.

   19    Q      And when you had the opportunity to request the report to

   20    be done, you had to fill out a request form from Holter Labs,

   21    did you not?

   22    A      Yes.

   23    Q      I believe that was -- let me grab my notes here real

   24    quick.

   25           If you would open up the book to Exhibit No. 28, sir.




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     1   A      Uh-huh.

     2   Q      Do you remember looking at that?

     3          That particular document, it lists something called Holter

     4   Monitoring about halfway down?

     5   A      Correct.

     6   Q      Date of service, apparently your office didn't fill out

     7   the form?

     8   A      Correct.

     9   Q      So we don't know for sure what date, at least from this

   10    form, when it was utilized?

   11    A      Well, you have the signature from the 3rd -- December 3rd

   12    on the signature stamp.

   13    Q      That would be where on that page?

   14    A      On the lower right-hand side above my signature, it has my

   15    initials, and it says December 3rd, 2012, 11:00 a.m.

   16    Q      And that would be an electronic signature that was applied

   17    to this?

   18    A      Yes.

   19    Q      All right.     And you indicated that at some point in time,

   20    you received a report back and that would have been Exhibit

   21    No. 29 for Martha Bennett?

   22    A      Correct.

   23    Q      Just so the jury and I both understand, when you have a

   24    patient in your office, and you are discussing with him or her

   25    the use of a Holter device --




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     1   A      Uh-huh.

     2   Q      -- you explain how the device works and the functions that

     3   it can perform?

     4   A      Yes.

     5   Q      And do you recall, and I don't know if the device in front

     6   of you, No. 1, that we have been seeing here today, is that the

     7   same or similar device that you used back then?

     8   A      It's similar.     I couldn't tell you if it looked exactly

     9   the same.

   10    Q      Do you recall if the device that you had back then, had a

   11    button on it and a vent button?

   12    A      You know, I don't remember.

   13    Q      Okay.   Do you know if those devices had event buttons?

   14    A      I believe they do.

   15    Q      Can you tell the jury what the event button is and what

   16    it's used for?

   17    A      It's so that when the patient is feeling the symptom, they

   18    hit that, and then that can be used to compare to the actual

   19    tracing to see if there is an arrythmia or heart issue going on

   20    at the same time they are feeling their symptom.

   21    Q      All right.     Now as you have looked through Exhibit No. 28,

   22    were you able to identify any events that might have occurred

   23    with the button on that machine might have been punched?

   24    A      I don't -- I mean, the report says the patient pressed the

   25    event monitor one time.




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     1   Q      All right.     What does tachycardia mean?

     2   A      It means your heart rate is faster than normal.

     3   Q      Okay.   Does the report indicate that that might have been

     4   one of the concerns or conditions that she had while she was

     5   wearing this device?

     6   A      She did have some tachycardiac episodes, yes.

     7   Q      And I would actually reflect back on the first page,

     8   again, and this would be three-quarters of the way down, and

     9   there is an item that is called V-tach?

   10    A      Uh-huh.

   11    Q      Do you see that?

   12    A      Yeah.

   13    Q      Do you see what it indicates as far as 003225?

   14    A      Yes.

   15    Q      Does that not indicate that she might have been having

   16    something similar or akin to a heart attack?

   17    A      No.

   18    Q      No?

   19    A      I mean, people have little arrhythmias and arrythmia

   20    problems all of the time, so there is nothing consistent going

   21    on.

   22    Q      This didn't cause you any particular concern?

   23    A      Not that, no.

   24    Q      All right.     Anything in report cause you any concern as

   25    far as her heart palpitations she was experiencing?




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     1   A      No.   I mean, she had -- no.

     2   Q      Okay.   Now, obviously when you got the report, you sat

     3   down with her and/or somebody did in your office and discussed

     4   it with her?

     5   A      I don't remember.      You know, normally I would look at the

     6   report, and if there is anything significant, we might call her

     7   in, but this was --

     8   Q      Wasn't considered significant?

     9   A      Reassuring.

   10    Q      All right.     And at what point or what event in this

   11    process, do you get to submit a bill to the insurance company?

   12    A      When you apply it, you know, when you apply it, I mean

   13    there is a charge for putting the Holter on.

   14    Q      Okay.   How about for interpreting.

   15           Are you allowed to bill for that?

   16    A      You know, I don't even remember.          I don't know.

   17    Q      As you sit here today, are you still using some kind of

   18    devices, Holter devices at all?

   19    A      No.

   20    Q      Have you gone to something else?

   21    A      Well, they have developed a lot of different kind of heart

   22    monitoring devices, so we found that the cardiologists do

   23    different things, so.

   24    Q      Now, the government showed you what was marked as Exhibit

   25    No. 28 -- excuse me, No. 27.




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     1          This was the report that was done or at least the entries

     2   that you made regarding her physical that she had on the 30th

     3   of November?

     4   A      Correct.

     5   Q      Okay.    In this particular document, it has been redacted

     6   in order to cover personal information about the examination?

     7   A      Uh-huh.

     8   Q      All right.     Is that yes, for the record?

     9   A      Yes.

   10    Q      Have you had a chance to review the unredacted version?

   11    A      I think I looked at it three weeks ago when I was told

   12    about this.

   13    Q      Did you determine or discover any discrepancies or errors

   14    in your notes by chance?

   15    A      I don't remember any.

   16                   MR. MCDERMOTT:    All right.     May I -- I have an

   17    unredacted -- I don't want to show it to the jury.              I just want

   18    to offer it to the witness to have him review it and refresh

   19    his memory.

   20           I have it marked as Defense Exhibit Alpha.

   21           It would be Exhibit 27 without the redactions.             It's not

   22    something I'm showing to the jury.

   23                   THE COURT:   Let's go to sidebar.

   24                                (Sidebar begins.)

   25                   THE COURT:   Can I see it?




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     1                 MR. MCDERMOTT:     Yes, sir.     There is an item there I

     2   highlighted on yellow that I thought was peculiar for this

     3   particular exam.      I wanted to know how thorough he was in

     4   reviewing his records before testifying.

     5          It's a document provided to me from the discovery from the

     6   government.

     7          All I want him to do is look at it.

     8                 THE COURT:    Okay.     Have you seen this?

     9                 MR. FREEDMAN:     I have seen it.

   10                  MS. RYKKEN:     Yeah.

   11                  MR. FREEDMAN:     It also said he wasn't present.

   12                  MR. MCDERMOTT:     I know.    Want to know how thorough

   13    he was.

   14                  THE COURT:    I'm sorry, okay.       Do you have any issue

   15    with this?

   16                  MR. FREEDMAN:     Are you -- what are you going to ask

   17    him?

   18                  MR. MCDERMOTT:     I'm just going to ask him to take a

   19    look at the report, the yellow highlight.            Is it possible that

   20    your reports you prepared and testified here, might not in fact

   21    be totally accurate.

   22           I'm not going to ask about penile or anything.

   23                                  (Sidebar ends.)

   24                  MR. MCDERMOTT:     Sir, may I approach or do I give it

   25    to the clerk?




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     1                  THE COURT:    Give it to the clerk, please.

     2                  MR. MCDERMOTT:    Yes, sir.

     3   BY MR. MCDERMOTT:

     4   Q      Sir, would that be appear to be the same document that

     5   Exhibit No. 27 is?

     6   A      Yes.

     7   Q      Would you look at page 2, please, that I have got in

     8   yellow highlights?

     9   A      Yes.

   10    Q      Would that appear to be a mistake?

   11    A      Yes, it is.

   12    Q      It is.

   13           In preparation of your testimony here today, you reviewed

   14    your records and your reports and your testimony; is that

   15    correct?

   16    A      I had a chance to look at the physical and the Holter

   17    report.

   18    Q      Okay.    And that would appear to be an incorrect entry on

   19    that statement, obviously?

   20    A      Correct, yes.

   21                   MR. MCDERMOTT:    Sir, I have nothing further.

   22                   THE COURT:    Redirect?

   23           All right.

   24                   MS. RYKKEN:    One.

   25




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     1                               REDIRECT EXAMINATION

     2   BY MS. RYKKEN:

     3   Q      The mistake in your report, does that have anything to do

     4   with monitoring heart?

     5   A      No.

     6                 MS. RYKKEN:     Nothing further.

     7                 THE COURT:    Anything else?

     8

     9                               RECROSS-EXAMINATION

   10    BY MR. MCDERMOTT:

   11    Q      The mistake in the report, did it have anything to do with

   12    the female?

   13    A      No.

   14                  MR. MCDERMOTT:     Thank you.     Nothing further.

   15                  MS. RYKKEN:     Nothing further.

   16                  THE COURT:    Sir, you can step down.

   17           All right.     Ladies and gentlemen, we're going to take our

   18    first break of the morning.

   19           Again, I want to remind you until this trial is over, you

   20    are not to discuss this case with anyone, including your fellow

   21    jurors, members of your family, people involved in the trial,

   22    or anyone else, and do not allow others to discuss the case

   23    with you.

   24           This includes discussing the case on the Internet, through

   25    blogs, bulletin boards, by e-mails or text message.




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     1          If anyone tries to communicate with you about this case,

     2   please let me know about it immediately.

     3          Do not read, watch, or listen to any news reports or other

     4   accounts about the trial or anyone associated with it.

     5          Do not do any research such as consulting dictionaries,

     6   searching the Internet, or using other reference materials.

     7          And do not make any investigation about the case on your

     8   own.

     9          Finally, you are reminded to keep an open mind until all

   10    of the evidence has been received, you have heard the arguments

   11    of counsel, the instructions of the Court, and the views of

   12    your fellow jurors.

   13           If you need to speak with me, simply give a note to the

   14    clerk.

   15           We will come back at 25 until the hour.

   16                  THE COURTROOM DEPUTY:       All rise.

   17                   (JURY EXITS THE COURTROOM AT 9:24 A.M.)

   18                  THE COURT:    Okay.    Anything we need to take up?

   19                  MR. FREEDMAN:     No, Your Honor.

   20                  MR. MCDERMOTT:     No, Your Honor.

   21                  THE COURTROOM DEPUTY:       We will be in recess.

   22                                (Morning recess.)

   23                  THE COURTROOM DEPUTY:       All rise.    This United States

   24    Court is in session.

   25                  THE COURT:    Maybe we have stopped the construction




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     1   noise, at least, temporarily.

     2          Let's bring the jury in.

     3          Do you want to retrieve your next witness?

     4                 MS. RYKKEN:     Yes.

     5                 THE COURTROOM DEPUTY:       All rise.

     6                  (JURY ENTERS THE COURTROOM AT 9:45 A.M.)

     7                 THE COURTROOM DEPUTY:       You may be seated.

     8                 THE COURT:     Call your next witness.

     9                 MS. RYKKEN:     Government calls Suzanne Darsow.

   10                  THE COURTROOM DEPUTY:       Please raise your right hand.

   11                           (Oath was administered.)

   12                  THE WITNESS:     I do.

   13                  THE COURTROOM DEPUTY:       Please be seated.      Please

   14    state your full name and spell your last name for the record.

   15                  THE WITNESS:     Susan Darsow.     D-a-r-s-o-w.

   16

   17                                   SUSAN DARSOW,

   18               having been duly sworn, testified as follows:

   19

   20                  MS. RYKKEN:     May I proceed?

   21                  THE COURT:     Yes, please.

   22

   23                                 DIRECT EXAMINATION

   24    BY MS. RYKKEN:

   25    Q      Where do you work?




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     1   A      I work for Optum.

     2   Q      What is Optum?

     3   A      Optum is the payment integrity portion of United Health

     4   Group.

     5   Q      What is United Health Group?

     6   A      United Health Group is the company that owns United

     7   Healthcare and Optum.

     8   Q      Is it a health insurance company?

     9   A      United Healthcare is the insurance company.

   10    Q      And you said you work for the payment integrity group?

   11    A      Correct.

   12    Q      What does that group do?

   13    A      So the payment integrity group reviews claims for

   14    accuracy.

   15           We review them for appropriate coding, things like

   16    subrogation, coordination of benefits, so making sure that

   17    payments are appropriate for claims that are processed by

   18    United Healthcare Group.

   19    Q      What is your title?

   20    A      I am a team lead in the special investigations unit.

   21    Q      So what does that mean?        What are your responsibilities as

   22    the team lead?

   23    A      So I oversee the day-to-day process of a team of

   24    investigators.

   25           Some of them are clinical investigators, some of them are




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     1   non-clinical investigators.         And we review claims to make sure

     2   that the coding is appropriate and that it is supported by the

     3   medical records.

     4          I help the investigators on my team develop a plan for

     5   what we are going to do when we review those particular claims

     6   for either a physician or a physician group.

     7   Q      You mentioned non-clinical and clinical investigators.

     8   What is the difference?

     9   A      So our non-clinical investigators have backgrounds in

   10    either claims processing criminal justice, insurance

   11    backgrounds, and our clinical investigators are either

   12    registered nurses or certified coders or both.

   13    Q      Do you know approximately how many claims United receives

   14    everyday?

   15    A      They receive approximately a million claims a day.

   16    Q      And how are those claims processed?

   17    A      Most of those claims go through, what we call, auto

   18    adjudication.

   19           So if there is nothing that would be questionable, or if

   20    the coding is appropriate, it would just go through the claim

   21    systems without any human intervention, and it would be

   22    processed according to a member's benefits.

   23    Q      Okay.   How does claims get into this auto adjudication in

   24    the first place?

   25    A      They could be submitted one of two different ways.




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     1          They could be submitted either electronically through a

     2   portal with United Healthcare or physicians or physician's

     3   groups can submit paper claims, which would go to -- it's

     4   called a regional mail office.

     5          And those claims actually get scanned, and then data

     6   entered into the claim system, and then they move on from that

     7   point.

     8   Q      So let's talk a little bit more about auto adjudication.

     9   A      Uh-huh.

   10    Q      Do you know what it is that the auto adjudication system

   11    would consider a red flag?

   12    A      Sometimes it would be coding pairs that would -- may not

   13    be appropriate.

   14           For example, if we would get a pregnancy claim on a male,

   15    that claim would fail auto adjudication, and it would drop to a

   16    review for a person to look at it.

   17    Q      And does this system have a way to tell what a particular

   18    provider is authorized to bill for or not?

   19    A      No.

   20    Q      And what about multiple dates of service.

   21           Can the system tell when multiple dates of service have

   22    occurred?

   23    A      Yes.

   24    Q      What does multiple dates of service mean?

   25    A      That means we have got services that have been billed by a




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     1   provider or physician's group for multiple dates of service, so

     2   it could be one day a week; it could be two days a week.

     3           It could be however many days that they have said they

     4   provided services.

     5   Q       So is that typically -- if it happens twice on the same

     6   day, for example, with the system, say okay, that is too many

     7   for that date?

     8   A       If there were two claims for the same date of service, the

     9   system would actually compare the CPT codes or the coding of

   10    the claim to see if they were duplicate claims.

   11            And if the codes were the same, chances are the system

   12    would actually deny one of those claims as duplicate.

   13    Q       So how do the claims eventually make their way into your

   14    unit?

   15    A       Claims that would be looked at by the special

   16    investigations unit would be stopped by a system edit.

   17            Either it could be on an individual claim basis, or it

   18    could be that we have placed a particular provider on review

   19    due to allegations of misrepresentations, billing patterns, or

   20    whatever.

   21            Those claims would get stopped by the system first.

   22            A request for medical records would go out, and nothing

   23    would happen with that particular claim until those medical

   24    records came in, and then it would get forwarded to our team to

   25    review.




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     1   Q      Is Martha Bennett insured by United?

     2   A      Yes.

     3   Q      Is John Hattrup insured by United?

     4   A      Yes.

     5   Q      So we're going to go through each of those people, and

     6   talk about their claims with Martha Bennett first.

     7          If you could look at Exhibit 31 in that binder, please.

     8          Do you see that?

     9   A      Yes, I do.

   10    Q      What is that?

   11    A      This is a cover sheet that is placed on claims that are

   12    submitted to one of our regional mail offices for United

   13    Healthcare.

   14           And this indicates to me that this claim was submitted via

   15    paper, and not electronically.

   16    Q      Who made this claim?

   17    A      The claim was submitted -- if I go to the third page -- by

   18    Holter Labs.

   19                  MS. RYKKEN:     Excuse me.    Government moves to admit

   20    Exhibit 31.

   21                  MR. MCDERMOTT:     No, objection, sir.

   22                  THE COURT:    It may be received.

   23           (Exhibit 31 received into evidence.)

   24    BY MS. RYKKEN:

   25    Q      So this is page 1 that you were talking about?




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     1   A      Yes.

     2   Q      And now this is page 3.        What is this form?

     3   A      This is what is known as a HIPPA 1500.

     4          It is a standard billing form used by providers to submit

     5   claims to either commercial carriers or to Medicare or

     6   Medicaid.

     7          This form is actually developed by CMS, so for Centers for

     8   Medicare/Medicaid Services.         They use this form for all of

     9   their claims.

   10    Q      Who is the patient?

   11    A      The patient on this one is Martha Bennett.

   12    Q      And who is -- the screen in front of you we're

   13    highlighting something -- so Martha Bennett is on the left.

   14           Who is the provider?

   15    A      The provider is indicated down at the very bottom.

   16           There is a signature of M. Mirando.          And the next box is

   17    Holter Labs, LLC.

   18           That is the actual physical location of where the services

   19    were rendered.

   20           And then the third box on the right-hand side of Holter

   21    Labs with the P.O. Box is the actual billing entity of this

   22    claim.

   23    Q      Okay.   Let's take a look at the middle.

   24    A      Sure.

   25    Q      Can you highlight from Ronald Richmond down, please?




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     1          So you see Ronald Richmond in the middle of the document?

     2   A      Yes.

     3   Q      Why is his name there?

     4   A      Ronald Richmond would be the referring physician for the

     5   services.

     6   Q      So for an entity like Holter Labs, do they need a

     7   referring physician in order to submit claims?

     8   A      Yes.

     9   Q      Why is that?

   10    A      It's my understanding that individual testing facilities

   11    need to have physician orders in order to provide those

   12    services.

   13    Q      Can you tell what the date of service is on here?

   14    A      The date of service is December 3rd, 2012.

   15    Q      That is the far left of the document?

   16    A      Yes.

   17    Q      Then what is -- what are the numbers there that begin with

   18    93226, 95827, and 93799?

   19    A      Those would be the specific CPT codes that correlate to

   20    the actual services that are rendered instead of providers or

   21    clinics submitting verbiage as far as what was actually

   22    provided.     There are what is known as CPT codes to indicate

   23    that is the service that was provided.

   24    Q      And then the dollar amount next to it, the 195, 325, and

   25    195; is that the dollar amount?




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     1   A      That would be the amount the particular -- yeah, the

     2   physician is charging for that service.

     3   Q      The physician or Holter Labs?

     4   A      Holter Labs.

     5   Q      And is this form something that United put together?

     6   A      No.

     7   Q      Who put this together?

     8   A      This is usually created by CMS.

     9          So this is a CMS 1500.

   10    Q      The data in the form itself?

   11    A      The data in the form is provided by the billing entity.

   12    Q      Okay.    Could you look at page 2 of that document?

   13           We will put that up on the screen.

   14           It says "description of services rendered."

   15    A      Uh-huh.

   16    Q      Is this something that United put together?

   17    A      No.     This is not.   This would have been submitted by the

   18    provider of the services.

   19    Q      Okay.    So I want to go a little bit back and forth between

   20    pages 3 and 2 and compare.

   21           So on page 3, one of the billing codes is 93226?

   22    A      Uh-huh.

   23    Q      Do you see that on the description of services rendered?

   24    A      Yes.

   25    Q      Okay.    And what does that say?




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     1   A      It's a microprocessor-based hard analysis with

     2   corresponding report.       "Patient wore a Holter device for over a

     3   24- to 48-hour period."

     4   Q      So let's look at this second one.          It's 95827.

     5          Do you see that?

     6          And then do you see that on "description of services

     7   rendered"?

     8   A      I see it on the HIPPA, but I do not see it on the

     9   description of services rendered.

   10    Q      So there is a claim code right down here that looks like

   11    it's 295806-27.

   12    A      There we go.

   13    Q      Can you read that?

   14    A      So it's sleep study simultaneous recording of ventilation

   15    respiratory effect, ECG or heart rate and oxygen saturation

   16    unattended by a technologist.

   17    Q      And then the last claim submitted is 93799.

   18           Do you see that on page 3?

   19    A      Yes.

   20    Q      And then on page 2, do you see 93799?

   21    A      Yes.

   22    Q      What does that say?

   23    A      It says "ST analysis for treatment of the cardiovascular

   24    system which involves the heart and blood vessels by which

   25    blood is pumped and circulated through the body."




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     1   Q      Okay.    Thank you.

     2          And page 2, here is a description of services, that was

     3   submitted with the claim by Holter Labs?

     4   A      Yes.

     5   Q      Can you look at Exhibit 33.         I'm sorry, 32 please.

     6          What is that document?

     7   A      Again, this is the cover page that is submitted by a

     8   particular provider to one of our regional mail offices.

     9          And this is the document separator, so this indicates to

   10    me that this was another paper claim that was submitted to

   11    United Healthcare.

   12    Q      Who was the patient?

   13    A      The patient on page 2 is Martha Bennett.

   14                   MS. RYKKEN:    Government moves to admit Exhibit 32

   15    into evidence.

   16                   MR. MCDERMOTT:    No objection, sir.

   17                   THE COURT:    It will be received.

   18           (Exhibit 32 received into evidence.)

   19    BY MS. RYKKEN:

   20    Q      Page 2, the 1500 form, is it similar to what we just

   21    looked at in Exhibit 31, correct?

   22    A      Correct.

   23    Q      What is the date?

   24    A      The date of service on this is 12/4/2012.

   25    Q      Okay.    You said the patient is Martha Bennett.




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     1          Who is the referring physician?

     2   A      The referring physician, again, is Ronald Richmond.

     3   Q      Okay.   Who submitted this claim?

     4   A      Again, this was submitted by M. Mirando as the servicing

     5   provider.

     6          It was provided at Holter Labs, LLC, as indicated by the

     7   second box.

     8          And the third box is the billing entity, so Holter Labs is

     9   billing for these services.

   10    Q      So let's go through these billing codes.

   11    A      Uh-huh.

   12    Q      There are two claims submitted here.

   13           Do you see those?

   14    A      Yes.

   15    Q      And what are the two claim numbers?

   16    A      The two CPT codes --

   17    Q      Yes.

   18    A      -- would be 93271 and 93025.

   19    Q      If you look at page 3, description of services rendered.

   20           Do you see that first CPT code in there, which is 93271?

   21    A      Yes.

   22    Q      What does that say?

   23    A      That is the heart monitoring receipt of transmissions and

   24    analysis with corresponding report.

   25    Q      And 93025?




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     1   A      93025, Microvolt T-wave all transfer assessment of

     2   ventricular arrhythmias.

     3          Excuse me, I read the wrong one.

     4   Q      It was the right one.

     5          And again, description of services rendered was submitted

     6   by the provider, Holter Labs?

     7   A      Correct.

     8   Q      Can you turn to Exhibit 33?

     9   A      Okay.

   10    Q      What is that?

   11    A      Again, this is the cover page that is placed on a paper

   12    claim that was received at the regional mail office for United

   13    Healthcare Group.

   14    Q      Who is the patient for this claim?

   15    A      The patient on page 2, is Martha Bennett.

   16                   MS. RYKKEN:    Government moves to admit Exhibit 33

   17    into evidence.

   18                   MR. MCDERMOTT:    Sir, unless I jump up and object to

   19    the admission, just assume we agree to the admission.

   20                   THE COURT:    It will be received.

   21           (Exhibit 33 received into evidence.)

   22    BY MS. RYKKEN:

   23    Q      Let's take a look at page 2, and this is a similar claim

   24    for the ones we just looked at, right?

   25    A      Correct.




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     1   Q      You said the patient is Martha Bennett.           Who is the

     2   provider?

     3   A      The provider of services, again, is the M. Mirando.

     4   Services were rendered at Holter Labs, LLC, and billing entity

     5   is Holter Labs, LLC.

     6   Q      I'm sorry, the referring physician?

     7   A      The referring physician is Ronald Richmond.

     8   Q      Let's take a look at the individual claims, again.

     9          There are three claims here, right?

   10    A      Correct.

   11    Q      What's the date of service?

   12    A      The date of service is 12/6/2012.

   13    Q      Take a look at those three billing codes.

   14           The description of services rendered is on page 3, again?

   15    A      Correct.

   16    Q      What is 93226?

   17    A      The 93226 is the microprocessor-based heart analysis with

   18    corresponding report.       "Patient wore Holter monitoring device

   19    over a 24-to 48-hour period."

   20    Q      The next code 95827.       Do you see that?

   21    A      95827 is, again, a sleep study simultaneous recording of a

   22    ventilation respiratory effect ECG or heart rate and oxygen

   23    saturation unattended by a technologist.

   24    Q      And then the last one, 93025.

   25           What does that claim refer to?




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     1   A      The 9025 is the Microvolt T-wave Alternans for assessment

     2   of ventricular arrythmia.

     3   Q      And this last page description of services rendered, that

     4   submitted by Holter Labs?

     5   A      Correct.

     6   Q      Can you look at Exhibit 34?

     7          Did you look at that?

     8   A      Yes.

     9   Q      What is it?

   10    A      Again, this is the cover page that is received in our

   11    regional mail office that separates claims being submitted --

   12    yeah, being submitted by a provider.

   13                   MS. RYKKEN:    I move to admit Exhibit 34 into

   14    evidence.

   15                   THE COURT:    It will be received.

   16           (Exhibit 34 received into evidence.)

   17    BY MS. RYKKEN:

   18    Q      Okay.    So here is page 1.      And 2 is this 1500 form again?

   19    A      Correct.

   20    Q      And page 3 is description of services rendered?

   21    A      Correct.

   22    Q      Who is the patient?

   23    A      The patient is Martha Bennett.

   24    Q      Who is the provider?

   25    A      The provider of services is M. Mirando.           Services were




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     1   rendered at Holter Labs, and it was billed by Holter Labs.

     2   Q      Who is the referring physician?

     3   A      The referring physician is Ronald Richmond.

     4   Q      What is the date of service?

     5   A      The date of service is 12/10/2012.

     6   Q      And there are three billing codes there; is that right?

     7   A      Correct.

     8   Q      So we're going to do the same thing here.

     9          The first code is 93226.

   10           Can you see and read that on the description of services

   11    rendered?

   12    A      Yes.    So the 93226 is the microprocessor-based heart

   13    analysis with corresponding report.

   14           Patient wore a Holter monitoring device for over a 24-to

   15    48-hour period.

   16    Q      Okay.    And 95827?

   17    A      95827 is the sleep study simultaneous recording of

   18    ventilation respiratory effect, ECG, or heart rate and oxygen

   19    saturation unattended by a technologist.

   20    Q      95806, is that the same thing you just read?

   21    A      Correct.

   22    Q      And description of services rendered was submitted by

   23    Holter Labs?

   24    A      Yes, correct.

   25    Q      Can you turn to Exhibit 35.




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     1          Do you see that?

     2   A      Yes, I do.

     3   Q      What is it?

     4   A      This is an actual check that would have been made out to

     5   Holter Labs for payment of claims that have been processed by

     6   United Healthcare.

     7                 MS. RYKKEN:     I will move to admit Exhibit 35.

     8                 THE COURT:    It will be received.

     9                 (Exhibit 35 received into evidence.)

   10    BY MS. RYKKEN:

   11    Q      How many pages are there?

   12    A      There are three pages.

   13    Q      Is each page a different check?

   14    A      Yes.

   15    Q      Let's take a look at page 1.

   16           To whom is this check written?

   17    A      This check is made out to Holter Labs, LLC.

   18    Q      For what amount?

   19    A      $353.94.

   20    Q      And you said this was for services provided?

   21    A      Yes.

   22    Q      Page 2, please.      To whom was this check written?

   23    A      This check was made out to Holter Labs, LLC.

   24    Q      In what amount?

   25    A      $534.60.




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     1   Q       This was for services rendered by Holter Labs?

     2   A       Correct.

     3   Q       Okay.    And then page 3, who is the payee?

     4   A       Again, this is made out to Holter Labs, LLC.

     5   Q       Okay.    And what amount?

     6   A       $723.53.

     7   Q       And this was for services rendered?

     8   A       Correct.

     9   Q       Can you turn to Exhibit 37?

   10            Do you see that?

   11    A       Yes, I do.

   12    Q       What is this?

   13    A       This is a listing of claims for Holter Labs for patient,

   14    Martha Bennett.

   15            It includes dates of service, a claim number, a diagnosis

   16    description, CPT codes, and then the amounts paid, and the pay

   17    date.

   18    Q       Okay.    So is this a document from United?

   19    A       Yes.

   20                    MS. RYKKEN:   Okay.   Move to admit Exhibit 37 into

   21    evidence.

   22                    THE COURT:    It will be received.

   23                    (Exhibit 37 was received into evidence.)

   24    BY MS. RYKKEN:

   25    Q       So you will notice the version -- the binder is very




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     1   different from the one on the screen because the column size

     2   had shrunk just a skosh.

     3          So what are the various dates of service on here?

     4   A      The various dates of service are 12/3/2012, 12/04/2012,

     5   12/06/2012, 12/10/2012.

     6   Q      And what is the provider's name for all of those different

     7   dates of service?

     8   A      Holter Labs, LLC.

     9   Q      What's the patient name?

   10    A      Patient name is Martha Bennett.

   11    Q      And where is that?      Is that on the far right?

   12    A      Yes, it's on the far right.

   13    Q      Okay.   Then there is a column entitled "CPT."

   14           What is that?

   15    A      That would be the CPT code that goes with the description

   16    of the services rendered.

   17    Q      And then the next column over?

   18    A      That is the actual description --

   19    Q      Okay.

   20    A      -- of the services.

   21    Q      So I'm not going to ask you to read every single one of

   22    these.

   23           But on 12/3, it appears there are 1, 2, 3, 4, 5, 6, 7, 8,

   24    9, 10 claims made; is that correct?

   25    A      There is ten items listed; however, with this particular




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     1   claim, it was processed and then it was backed out of the

     2   system and then processed again.

     3          You can tell by the parentheses on the amount charged.

     4   Q      So how many claims were made on 12/3?

     5   A      There was one claim for three CPT codes.

     6   Q      Okay.     And the amount paid, then, it shows three amounts

     7   paid on 12/3?

     8   A      Correct.

     9   Q      And when were those paid?

   10    A      Those were paid on 12/28/2012.

   11    Q      And it was paid to Holter Labs?

   12    A      Yes.

   13    Q      Okay.   And then let's look at the next date for 12/4.

   14    A      Uh-huh.

   15    Q      How many claims are on 12/4?

   16    A      Again, we have got one -- one claim with three CPT codes

   17    -- excuse me, two CPT codes.

   18    Q      Was it the same thing something was backed out, and then

   19    re-done again?

   20    A      Yes.

   21    Q      So the amount paid on 12/4, which of the amounts -- is it

   22    the ones in the parentheses or the one without the parentheses?

   23    A      Without the parentheses.        So there was 213.30 and 321.30.

   24    Q      Then on 12/6.     Do you see that?

   25           How many claims were submitted?




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     1   A      We have got one claim.

     2   Q      There are two more lines below that, that says 12/6.

     3          Do you see those?

     4   A      Yes.

     5   Q      So three for 12/6?

     6   A      Correct.

     7   Q      And were any of those paid?

     8   A      It's not indicating a paid amount.          So, I don't know if

     9   those were actually paid or not.

   10    Q      Do you know why they weren't paid?

   11    A      Not without seeing it in the actual claim system, no.

   12    Q      Okay.   And then finally on 12/10 of 2012.

   13           How many claims were there on that date?

   14    A      Again, there was one claim with three CPT codes.

   15    Q      Then the amounts paid again are the ones without the

   16    parentheses?

   17    A      Correct.

   18    Q      And the amounts paid for 12/10 were 141.02, 195.53, and

   19    198; is that correct?

   20    A      It would be the 195.53 and the 198.          The 141.02 was backed

   21    out.

   22    Q      Okay.   So two claims paid -- for two codes?

   23    A      Two codes paid, correct.

   24    Q      We're going to move to John Hattrup next.

   25           If you can look at Exhibit 44.




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     1          Do you see that?

     2   A      Yes.

     3   Q      What is it?

     4   A      Again, this is the cover sheet that is placed when it is

     5   received at the regional mail office.

     6                  THE COURT:    Slow down.

     7   BY MS. RYKKEN:

     8   Q      Who is the patient?

     9   A      The patient is John Hattrup.

   10    Q      Okay.    And who is the provider of services?

   11    A      The provider of services is M. Mirando.

   12           Services were rendered at Holter Labs, LLC, and it was

   13    billed by Holter Labs, LLC.

   14                   MS. RYKKEN:    Government moves to admit Exhibit 44

   15    into evidence.

   16                   THE COURT:    It will be received.

   17           (Exhibit 44 received into evidence.)

   18    BY MS. RYKKEN:

   19    Q      So Exhibit 44 is on the screen.

   20           This is the 1500 form that you were referring to.

   21           Please highlight the patient.         The patient is John

   22    Hattrup?

   23    A      Yes.

   24    Q      Can you highlight the provider that she mentioned?

   25           Who submitted the claim?




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     1   A      The services were rendered by M. Mirando.            The services

     2   were rendered at Holter Labs and billed by Holter Labs, LLC.

     3   Q      Who is the referring physician?

     4   A      The referring physician on this one is Gregory Joy.

     5   Q      So I see three CPT codes in there; is that correct?

     6   A      Correct.

     7   Q      What is the date of service?

     8   A      Date of service is 4/11/2011.

     9   Q      Okay.   And this one is a little bit longer.

   10           We have a cover page from a report, and then the order

   11    form on the next page.

   12           Do you see that?

   13    A      Yes.

   14    Q      And then finally on the last page is a description of

   15    services rendered?

   16    A      Yes.

   17    Q      Okay.   So we -- our first code was 93226, which does not

   18    appear on this list; is that right?

   19    A      No, it does not.

   20    Q      Okay.   The second one is 95827, and that is the sleep

   21    study code; is that right?

   22    A      That's correct.

   23    Q      And then the third code submitted was 93799?

   24    A      Correct.

   25    Q      And that is for the ST analysis for treatment of




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     1   cardiovascular system; is that correct?

     2   A       Correct.

     3   Q       The description of services was submitted by Holter Labs?

     4   A       Correct.

     5   Q       So there were two other pages in here, the cover sheet, it

     6   looks like.

     7   A       Uh-huh.

     8   Q       And then the order form.

     9           Do you know why these were included?

   10    A       Frequently when an unlisted code is billed by a provider,

   11    such as in this case, the 93799, indicates it is an unlisted

   12    code.

   13            Frequently providers will include the medical records in

   14    order to support the code.

   15    Q       Okay.   And do you know if the system looked at this or did

   16    anything with it?

   17    A       Not without looking in the claim system.

   18    Q       Can you turn to Exhibit 45, please.

   19            What is that?

   20    A       Again, this is the cover sheet that is placed on claims

   21    when they are submitted to the regional mail office.

   22    Q       For whom is this claim made?

   23            What is the patient's name?

   24    A       On page 3, it is John Hattrup.

   25    Q       What is the date of service?




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     1   A      Date of service is April 12th, 2011.

     2                 MS. RYKKEN:     The government moves to admit

     3   Exhibit 45 in evidence.

     4                 THE COURT:    It will be received.

     5          (Exhibit 45 received into evidence.)

     6   BY MS. RYKKEN:

     7   Q      So page 3, who is the provider?

     8   A      The provider is M. Mirando.         Services were rendered at

     9   Holter Labs, LLC, and billed by Holter Labs, LLC.

   10    Q      Is the date of the claim April 12th, 2011?

   11    A      Yes.

   12    Q      How many CPT codes are on this claim?

   13    A      There is one.

   14    Q      What is that code?

   15    A      That is 93271.

   16    Q      And then we have description of services rendered?

   17    A      Yes.

   18    Q      Do you see that on there?

   19    A      Yes.   It's the heart monitoring receipt of transmission

   20    and analysis with corresponding report.

   21    Q      Again, this was provided by Holter Labs?

   22    A      Yes.

   23    Q      Exhibit 46, please.

   24           Do you recognize that?

   25    A      Yes.   It's the cover sheet that is placed on claims when




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     1   they are submitted to the regional mail office.

     2   Q      All right.     What is the patient's name?

     3   A      Patient name is John Hattrup.

     4   Q      And the provider?

     5   A      The provider is M. Mirando.         Services were rendered at

     6   Holter Labs and billed by Holter Labs.

     7                  MS. RYKKEN:    Move to admit Exhibit 46 into evidence.

     8                  THE COURT:    It will be received.

     9          (Exhibit 46 received into evidence.)

   10    BY MS. RYKKEN:

   11    Q      Okay.    This is the form 1500 on the screen that you were

   12    just referring to?

   13    A      Correct.

   14    Q      And the provider is Holter Labs?

   15    A      Correct.

   16    Q      And M. Mirando is the signature?

   17    A      Yes, correct.

   18    Q      What's the date of service?

   19    A      The date of service is April 15th, 2011.

   20    Q      And do you see three different CPT codes?

   21    A      Yes, I do.

   22    Q      What are those?

   23    A      Those are 93226, 85827, and 95921.

   24    Q      I think you just said 8.        85827, did you mean 95827?

   25    A      95827.




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     1   Q      I'm going to check those again, the description of

     2   services rendered one more time.

     3          93226, is that the code for the 24-hour heart rate

     4   monitoring?

     5   A      Yes.

     6   Q      95827, is that the code for a sleep study?

     7   A      Yes.

     8   Q      95921, is that the HRV testing of an autonomic nervous

     9   system function?

   10    A      Yes.

   11    Q      And description of services rendered was submitted by

   12    Holter Labs?

   13    A      Yes.

   14    Q      Exhibit 47.     Do you recognize that document?

   15    A      Yes.   It's the cover page that is submitted to the -- it's

   16    used by the regional mail office for claims by providers.

   17    Q      Who is the patient?

   18    A      The patient is John Hattrup.

   19    Q      And who is the provider?

   20    A      The provider is M. Mirando.         Holter Labs, LLC is where the

   21    services were rendered, and it was billed by Holter Labs, LLC.

   22                  MS. RYKKEN:     Move to admit Exhibit 47 into evidence.

   23                  THE COURT:    It will be received.

   24           (Exhibit 47 received into evidence.)

   25    BY MS. RYKKEN:




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     1   Q       Is this the form 1500 we were just referring to?

     2   A       Yes.

     3   Q       The patient is John Hattrup?

     4   A       Correct.

     5   Q       And the provider, down at the bottom, you mentioned is

     6   M. Mirando, Holter Labs?

     7   A       Correct.

     8   Q       And then let's look at the codes and the dates of service

     9   here.

   10            So what is the date of service?

   11    A       The date of service is April 18, 2011.

   12    Q       How many codes are here?

   13    A       There are three.

   14    Q       What are those?

   15    A       Those are 93226, 95827, 93025.

   16    Q       Okay.   And let's check those one more time against

   17    description of services rendered on the next page.

   18            We have -- the first one was 93226.

   19            Is that the 24- to 48-hour study?

   20    A       Yes.

   21    Q       Okay.   And 95827, that is the sleep study?

   22    A       Yes.

   23    Q       And 93025, is the Microvolt T-wave assessment; is that

   24    correct?

   25    A       Correct.




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     1   Q      And the description of services rendered was submitted by

     2   Holter Labs?

     3   A      Yes.

     4   Q      Exhibit 48.     I believe this is the last one for John

     5   Hattrup.

     6   A      Okay.

     7   Q      What is that document?

     8   A      This is the cover page that is placed on claims when

     9   received by the regional mail office at United Healthcare.

   10    Q      And the patient name?

   11    A      Patient name is John Hattrup.

   12                   MS. RYKKEN:    Move to admit Exhibit 48 into evidence.

   13                   THE COURT:    It will be received.

   14           (Exhibit 48 received into evidence.)

   15    BY MS. RYKKEN:

   16    Q      So form 1500 --

   17    A      Correct.

   18    Q      -- so the patient's name is John Hattrup.

   19           Who is the provider?

   20    A      The provider of service, again, is M. Mirando.             Services

   21    were rendered at Holter Labs, LLC and billed by Holter Labs,

   22    LLC.

   23    Q      And then let's look the date of service and codes.

   24           What is the date of service?

   25    A      Date of service is April 21st, 2011, three CPT codes,




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     1   93226, 95827, and 93025.

     2   Q       Okay.    Then on description of services rendered, which is

     3   the next page, code 93226 is the 24- to 48-hour Holter device

     4   test?

     5   A       Correct.

     6   Q       And 95827 is the sleep study test?

     7   A       Correct.

     8   Q       And 93025, is the Microvolt T-wave assessment?

     9   A       Correct.

   10    Q       Can you look at Exhibit 49.

   11            Do you recognize that?

   12    A       This would be a check that would be issued to a provider

   13    in payment of services rendered to patients.

   14    Q       To whom is the check written?

   15    A       Holter Labs, LLC.

   16                    MS. RYKKEN:   The government moves to admit

   17    Exhibit 49.

   18                    THE COURT:    It will be received.

   19            (Exhibit 49 received into evidence.)

   20    BY MS. RYKKEN:

   21    Q       So on page 1, this is a check to Holter Labs?

   22    A       Correct.

   23    Q       And what is the -- are we on page 1?

   24            Okay.    What is the amount paid?

   25    A       It's $3,231.50.




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     1   Q      And then on the second page?

     2   A      This is another check issued to Holter Labs, LLC.

     3   Q      In what amount?

     4   A      $1,626.75.

     5   Q      The third check, to whom was this paid?

     6   A      Holter Labs, LLC.

     7   Q      In what amount?

     8   A      $1,993.03.

     9   Q      And then the last page?

   10    A      A check to Holter Labs for $4,416.

   11    Q      Okay.    All of these checks were written by United?

   12    A      Yes.

   13    Q      Can you turn to Exhibit 50 -- I'm sorry, 51.

   14           Do you see Exhibit 51?

   15    A      Yes.

   16    Q      What is that?

   17    A      This is a listing of claims for John Hattrup that were

   18    submitted by Holter Labs.

   19    Q      Is this a United document?

   20    A      Yes.

   21                   MS. RYKKEN:    The government moves to admit

   22    Exhibit 51 into evidence.

   23                   THE COURT:    It will be received.

   24           (Exhibit 51 received into evidence.)

   25    BY MS. RYKKEN:




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     1   Q       Why don't you tell me when you can read that.

     2           Can you read that?

     3   A       Yes.

     4   Q       Okay.    So what is in the left-hand column?

     5   A       The left-hand column would be the provider of services.

     6   Q       Okay.    And who is the provider in this case?

     7   A       Holter Labs, LLC.

     8   Q       And what are the dates of service on this?

     9   A       April 11th, 2011, April 12th, 2011, April 15th, 2011,

   10    April 18th, 2011, and April 21st, 2011.

   11    Q       That is five dates of service?

   12    A       Correct.

   13    Q       So for the first one for 4/11/2011, how many different

   14    codes were reimbursed there?

   15    A       Three codes.

   16    Q       And so is that 325, three different times?

   17    A       Yes.

   18    Q       That was the amount paid to Holter Labs for April 11th,

   19    2011?

   20    A       Correct.

   21    Q       Okay.    For April 12th, how many claims were paid on

   22    April 12th?

   23    A       There was one.

   24    Q       One claim and one code?

   25    A       Yes.    There was one code that was reimbursed.




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     1   Q      Okay.   What was that amount?

     2   A      $695.

     3   Q      And then let's look at April 15th, 2011.

     4   A      Yes.

     5   Q      Do you see that?

     6   A      Yes.

     7   Q      How many claims were submitted on that date?

     8   A      Three codes that were reimbursed.

     9   Q      What are those amounts?

   10    A      $295, $400, and $225.

   11    Q      On the 18th of -- April 18th, of 2011, how many claims

   12    were submitted and how many codes?

   13    A      There were three codes that were reimbursed.

   14    Q      In what amounts?

   15    A      $325, $300, and $325.

   16    Q      And then the last date is April 21st, 2011?

   17    A      Correct.

   18    Q      How many claims and codes on that day?

   19    A      There are three codes that were reimbursed.

   20    Q      And in what amounts?

   21    A      $325, $300, and $325.

   22    Q      And all of these amounts were paid to Holter Labs?

   23    A      Correct.

   24    Q      For John Hattrup?

   25    A      Correct.




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     1                 MS. RYKKEN:     Okay.   Can I just have a moment with my

     2   co-counsel?

     3                 THE COURT:    Yes.

     4   BY MS. RYKKEN:

     5   Q      So we talked a lot about the CPT codes?

     6   A      Correct.

     7   Q      Does United rely on the CPT codes in its processing?

     8   A      Yes.

     9   Q      How come?

   10    A      That gives a description of the services that are rendered

   11    to patients.

   12    Q      Is that a standard set of codes?

   13    A      Yes.

   14    Q      And do you rely on providers to submit accurate codes to

   15    you?

   16    A      Yes.

   17    Q      Would you have paid if you had known that these were codes

   18    for services that had not been provided?

   19    A      No, we would not.

   20    Q      Thank you.

   21                  MS. RYKKEN:     Nothing further at this point, Your

   22    Honor.

   23                  MR. MCDERMOTT:     May I, sir?

   24                  THE COURT:    Yes.

   25




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     1                                CROSS-EXAMINATION

     2   BY MR. MCDERMOTT:

     3   Q       Ma'am, how long have you been with the company?

     4   A       I have been United or Optum for little over 16 years.

     5   Q       16 years?

     6   A       Yes.

     7   Q       In your current position, how long have you been there?

     8   A       16 years.

     9   Q       You have been in the same job for 16 years?

   10    A       Yes, sir.

   11    Q       And you are here today to explain how United pays bills

   12    and what was submitted to it, correct?

   13    A       Correct.

   14    Q       Does United offer an opportunity, for example, you just

   15    talked about CPT codes.

   16            How did you learn about CPT codes?

   17    A       Through my experience with -- in the SIU and then actually

   18    processing claims for a number of years, I became familiar with

   19    them.

   20    Q       Do you know whether or not your company actually offers

   21    classes, online forms, anything like that to teach CPT codes?

   22    A       No, not that I'm aware of.

   23    Q       Okay.   If I wanted to start -- what is called an IDTF --

   24    what does that stand for again?

   25    A       I'm sorry, I'm not --




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     1   Q      Are you familiar with that term?

     2   A      IDTF, no.

     3   Q      Independent Diagnostic Technical Facility.

     4          Are you familiar with that at all?

     5   A      It sounds like it's an independent testing lab.

     6   Q      All right.     If I want to start a lab, and I want to start

     7   submitting bills to United --

     8   A      Yes.

     9   Q      -- do I have to go through an application process?

   10    A      Not to my knowledge.

   11    Q      So, I can just send out of the blue to you, apparently by

   12    e-mail or fax, my billing for something that was done on a

   13    patient authorized by a doctor; is that right?

   14    A      I don't believe you can e-mail claims.

   15    Q      Okay.

   16    A      There is an electronic submission process, or a paper

   17    process.

   18    Q      Okay.   So is there anything that I have to go through with

   19    your company to confirm that I'm a legitimate operator

   20    providing services?

   21    A      They do go through a process called provider

   22    verification --

   23    Q      Okay.

   24    A      -- where there are staff members that verify such things

   25    as tax identification numbers that a provider actually exists.




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     1   Q      All right.     And do they make any effort to confirm that

     2   the services being provided actually fit a particular CPT code?

     3   A      Yes, they could.

     4   Q      All right.     So is that one way to weed out fraud, for

     5   example?    I send in a report saying that I used a hammer on

     6   somebody's knee, and I send you a code that has to do with

     7   measuring heart.

     8          Is there something in your system that prevents that kind

     9   of fraud?

   10    A      Usually not.     Usually most claims go right through the

   11    system without being touched by human intervention.

   12    Q      So, in essence, if I have someone teach me how to do CPT

   13    codes, and I submit those to your insurance company, as long as

   14    it looks normal -- looks like it's appropriate, it goes

   15    through, true?

   16    A      Generally, yes.

   17    Q      Now, are you familiar at all with Holter devices?

   18    A      A little bit.

   19    Q      Now, in your position, are you required to learn something

   20    a little bit about what a device or a procedure can do for a

   21    patient?

   22    A      In my position, no.

   23           That is usually handled by our clinical investigators, and

   24    so they are the experts on CPT coding and/or medical

   25    terminology, anatomy, and physiology.




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     1           I do have a background in that, so I am familiar with it,

     2    so it does help my every-day job.

     3    Q      So, that other group that does background work, they would

     4    put you on notice if there was an issue about a provider?

     5    A      Actually, providers may be identified by a number of

     6    different means for possible billing practices.

     7           It could be just a strict data analysis by the claims data

     8    that he submits, and we would compare that data to other

     9    providers, doing the same sorts of services.

    10           They may be identified as being an outlier, so that may

    11    cause somebody to be placed on review, or we could receive a

    12    tip from a patient provider, the government -- a number of

    13    different entities -- that would say, hey, this provider

    14    appears to be doing X, and that may cause that provider to be

    15    placed on review.

    16    Q      All right.     Now, as to a provider wanting to start billing

    17    through your system, I noticed on your claim forms that there

    18    is entries for signatures on file.

    19           That would be for the doctor, I would believe, true?

    20    A      There is a couple of different places on a HIPPA 1500 that

    21    could indicate signature on file.

    22    Q      Okay.

    23    A      Some of them could be for the patient, saying they are

    24    authorizing the payment to go to the provider.

    25    Q      Okay.




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     1    A      That is very frequently one of the instances when you

     2    would have a signature on file.

     3           And then as for the actual provider of services, down in

     4    the lower left-hand corner of the HIPPA 1500 --

     5    Q      Yes.

     6    A      -- there can be either a typed electronic signature or a

     7    signature on file indicating that this was the provider of

     8    services.

     9    Q      All right.     Now on the 1500 that you showed to the jury

    10    here today --

    11    A      Yes.

    12    Q      -- you indicated in the bottom left-hand corner there was

    13    a signature?

    14    A      Correct.

    15    Q      Apparently belonging to M. Mirando?

    16    A      Correct.

    17    Q      Now before you came into testify, is there a signature on

    18    file with United that you compared those signatures to?

    19    A      Not to my knowledge.

    20    Q      So, when you say it's signed by M. Mirando --

    21    A      Correct.

    22    Q      -- you are assuming that that is the case because there is

    23    nothing to compare at United?

    24    A      Correct.    Plus a written signature is not required on a

    25    HIPPA 1500.




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     1    Q       It's not required?

     2    A       It's not required.

     3    Q       So the fact there is any marking there at all is an added

     4    bonus -- a plus, right?

     5    A       It could be.

     6    Q       Now, on those same forms, when it indicates CPT codes that

     7    Holter describes --

     8    A       Uh-huh.

     9    Q       -- does anyone in your facility actually take the time to

    10    confirm whether those codes are appropriate for the particular

    11    item?

    12    A       There could be system edits in place for those particular

    13    codes.

    14    Q       Yes.

    15    A       Again, as I said earlier, there are edits such as if we

    16    would get a maternity claim from a male, that would hit a

    17    system edit.

    18            There are multiple system edits that are placed by United

    19    Healthcare --

    20    Q       Right.

    21    A       -- in their system, to ensure some of that appropriate

    22    coding.

    23    Q       All right.     At any point in time, did any of the CPT codes

    24    on the submissions made by Holter Labs, raise a red flag?

    25    A       Not that I'm aware of.




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     1    Q      Okay.   Now the government has put on display here charts

     2    of payments, and it had CPT codes that you had a chance to take

     3    a look at and compare with the billings.

     4           I'm going to ask you to take a look at Exhibit No. 48, in

     5    the book, would you please.

     6           This is for Mr. Hattrup.

     7    A      Yes.

     8    Q      The last page is the descriptions of services rendered and

     9    it's got the CPT code you went through, correct?

    10    A      Correct.

    11    Q      Now, it actually -- we have been asking the doctors here

    12    -- and apparently there is something called 93025, Microvolt

    13    T-wave Alternans for assessment of ventricular arrhythmias.

    14           Do you see that entry?

    15    A      Yes.

    16    Q      To your knowledge, has anyone at United Healthcare gone

    17    through that CPT code to decipher whether or not that entry

    18    exists?

    19    A      I don't know.

    20    Q      To your knowledge, does that particular procedure exist?

    21    A      I don't know, I would have to look it up.

    22    Q      You were paying on that number -- on that code?

    23    A      I believe it -- they were paid.

    24    Q      Okay.   Because turn to the previous page, please.

    25           Do you see at the bottom on 93025?




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     1    A      Correct.

     2    Q      That is a Microvolt T-wave Alternans for assessment of

     3    ventricular arrhythmias, correct?

     4    A      Correct.

     5    Q      So your company paid on something that two doctors

     6    previously sat in here and told us --

     7                  THE COURT:    Excuse me, counsel.       Let's go to

     8    sidebar.

     9                                (Sidebar begins.)

    10                  THE COURT:    What is this question?

    11                  MR. MCDERMOTT:     The one I was going to ask, sir?

    12                  THE COURT:    Uh-huh, before I interrupted you.

    13                  MR. MCDERMOTT:     I had two doctors come in and

    14    testify they didn't know what that was.

    15                  THE COURT:    So your company paid something that two

    16    doctors came in here and said they didn't know what it was.

    17                  MR. MCDERMOTT:     Exactly.     My next question is -- or

    18    at least a followup to confirm that she is not aware of what

    19    that is.

    20                  THE COURT:    I think she already said that.

    21                  MR. MCDERMOTT:     True.    I'm just trying to confirm

    22    that point.

    23                  THE COURT:    Okay.    Do you have any objection to this

    24    question?

    25                  MS. RYKKEN:     She doesn't know what the other doctors




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     1    testified to.

     2                  THE COURT:    It sounds a little argumentative for me.

     3                  MR. MCDERMOTT:     I will keep it down -- promise.

     4                  THE COURT:    All right.

     5                                 (Sidebar ends.)

     6    BY MR. MCDERMOTT:

     7    Q      On that same page, ma'am?

     8    A      Yes.

     9    Q      All right.     The government has also put up and highlighted

    10    a payment or some kind of submission on their forms that has a

    11    JS number in front of it.

    12           Do you remember seeing that?

    13    A      Not exactly on which check it was.

    14    Q      All right.     I will ask you to go ahead and turn to Exhibit

    15    No. 50 that you looked at with the government?

    16    A      Uh-huh.

    17    Q      That would be the compilation of Mr. Hattrup's billings, I

    18    guess?

    19    A      I don't think I looked at this page.

    20                  THE COURT:    I don't think so.

    21                  MR. MCDERMOTT:     All right.     Any objection?

    22                  MS. RYKKEN:     It's already been admitted into

    23    evidence.

    24                  MR. MCDERMOTT:     That's what I thought, sir.

    25                  THE COURT:    Just one second.




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     1                 MR. MCDERMOTT:      Sir, let me go and withdraw 50.            I

     2    will have her take a look at 51, please.

     3                 THE COURT:     All right.

     4    BY MR. MCDERMOTT:

     5    Q       There are entries in here, for example, that begin with a

     6    J8.

     7            Do you see those entries, and they are billing for one

     8    cent?

     9    A       Yes, I do.

    10    Q       Do you know what that pertains to?

    11    A       I do not.

    12    Q       Because I know they are putting it on their overhead sheet

    13    as to the submissions, but I ask you to take a look at the form

    14    1500 that you find on Exhibit 48 that you testified to, and

    15    there is three codes that are being paid, correct?

    16    A       Correct.

    17    Q       Is there a code -- is there a JS being submitted or

    18    offered in any way, shape, or form?

    19    A       Not on that HIPPA 1500.

    20    Q       All right.    At any point in time did you review any

    21    document that identifies a J submission?

    22    A       No, I did not.

    23    Q       So do we even know that Holter actually offered that as

    24    some kind of billing?

    25    A       I would say they did not.




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     1    Q      Okay.   Because, I guess, my question is CPT codes -- do

     2    they always start with a 9?

     3    A      No, they do not.

     4    Q      Okay.   When it deals with heart, does it always start with

     5    a 9?

     6    A      Most of what I would consider the professional services,

     7    so things like EKGs monitoring would usually start with a 9.

     8           There are, like, cardiac -- other cardiac surgery codes

     9    that would start with a different number.

    10    Q      All right.     Okay.   But I take it you -- because of your

    11    background -- could you actually look at a code and figure out

    12    what kind of area of medicine it falls into?

    13    A      I would have an educated guess.

    14    Q      All right.     And I would have you take a look again at

    15    Exhibit No. 49, that the government had you take a look at.

    16    These would be 1, 2, 3, 4 checks?

    17    A      Correct.

    18    Q      Payable to Holter, correct?

    19    A      Correct.

    20    Q      Was it your testimony that these checks pertained to

    21    Mr. Hattrup?

    22    A      These are checks that were issued.

    23           Usually when checks get issued to providers, there is an

    24    additional page, which would be known as a PRA or provider

    25    remittance advice or EOB.




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     1            But I also believe that there is coding on this check that

     2    is listed right above the payment amount on the left-hand side

     3    that has a code that would correlate to that particular

     4    patient.

     5            It's not included in this.

     6    Q       So, for example, on No. 49 and this is USA No. 1448.

     7            Do you see that page?

     8    A       Yes.

     9    Q       And would that number you are talking about start with

    10    19-2?

    11    A       Correct.

    12    Q       Turn the page.    What number starts on the next page, 18-1?

    13    A       Yes.

    14    Q       Would that tell me it's a different patient or different

    15    claim?

    16    A       It would tell you that it's a different claim.

    17    Q       How about the third page?

    18    A       Same thing.    It would tell you that it would be related to

    19    a different claim.

    20    Q       All right.    And the fourth page?

    21    A       Again, related to a different claim.

    22    Q       All right.    Now you see the amounts here we're talking --

    23    it looks like 3,200, 1,600, almost 2,000 -- almost 4,400?

    24    A       Correct.

    25    Q       Now, I ask you to go ahead and take a look at No. 50.




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     1    This was not previously admitted.

     2           Have you seen this document before?

     3    A      No, I have not.

     4    Q      All right.     So this wasn't something that you were asked

     5    to prepare or review?

     6    A      No.

     7    Q      It indicates that it's claims filed with UHG?

     8                 THE COURT:     Excuse me.      Is this document in

     9    evidence?

    10                 MR. MCDERMOTT:      I will try to lay the foundation, if

    11    I may, sir, before we offer it.

    12                 THE COURT:     I don't think you can lay a foundation

    13    with this witness.

    14                 MR. MCDERMOTT:      All right.     I will have you look

    15    again at 51.

    16           Do you see the amounts that were paid in 51?

    17                 THE WITNESS:      Yes, I do.

    18    BY MR. MCDERMOTT:

    19    Q      Do they add up to the amounts contained in the checks in

    20    49?

    21    A      They do not.

    22    Q      Is it possible that these checks pertained to other

    23    patients?

    24    A      It's possible that it could include other patients.

    25    Q      All right.     And in order to be completely accurate as to




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     1    whether or not these checks apply to Mr. Hattrup, you would

     2    need to see additional documentation?

     3    A      Correct.

     4    Q      And those would have come with the checks because they

     5    would identify which patients were being paid for which

     6    services, true?

     7    A      Correct.

     8    Q      Today you haven't seen those?

     9    A      No, I have not.

    10                  MR. MCDERMOTT:     One moment, Your Honor, please.

    11                  THE COURT:    Uh-huh.

    12                  MR. MCDERMOTT:     Excuse me, sir.      One real quick

    13    question, ma'am.

    14    BY MR. MCDERMOTT:

    15    Q      I believe if you could take a look at Exhibit 44.

    16    A      Yes.

    17    Q      Do you recognize that document as one you looked at today?

    18    A      Yes, I do.

    19    Q      And the cover sheet is something that is applied by United

    20    Healthcare?

    21    A      Correct.

    22    Q      All right.     Then you talked about the 1500 -- this here

    23    actually contains a report, or at least a partial page of

    24    report, for Holter Labs, correct?

    25    A      Correct.




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     1    Q      Now at the bottom of this page it says one of -- what, 36?

     2    A      Yes, it does.

     3    Q      Okay.    When a submission takes place does the IDTF submit

     4    the reports that it generates when it uses or makes an

     5    application like this?

     6    A      Not to my knowledge.

     7                   MS. RYKKEN:    Objection.     Foundation.

     8                   THE COURT:    Sustained.     Answer is stricken.      The

     9    jury should disregard it.

    10    BY MR. MCDERMOTT:

    11    Q      All right.     As to the next page where it says the order

    12    form, does that normally go in with a submission?

    13                   MS. RYKKEN:    Objection.     Foundation.

    14                   THE COURT:    Do you have additional questions?

    15                   MR. MCDERMOTT:    Just the foundation as to whether or

    16    not this is a normal form that goes in with an application for

    17    payment.

    18                   THE COURT:    Do you have any other questions?

    19                   MR. MCDERMOTT:    No.    That is the end of the story,

    20    pretty much.

    21                   THE COURT:    Okay.     Let's go to sidebar.

    22                                 (Sidebar begins.)

    23                   THE COURT:    What's the objection?

    24                   MS. RYKKEN:    I withdraw the objection.        The last

    25    question -- I shouldn't have said that.




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     1                   MR. MCDERMOTT:    It was your document.

     2                   THE COURT:     All right.

     3                                  (Sidebar ends.)

     4                   THE COURT:     All right.   Would you like to have the

     5    question read back?

     6                   MR. MCDERMOTT:    No, no.     I will just -- would you

     7    ma'am, this would be, again, we're in Exhibit No. 44.

     8                   THE WITNESS:     Uh-huh.

     9    BY MR. MCDERMOTT:

    10    Q       We're going to go three pages in.

    11            This would appear to be some sort of report from Holter

    12    Labs?

    13    A       Yes.

    14    Q       All right, ma'am.      In your experience, are reports

    15    normally submitted with a request for payment?

    16    A       If a provider bills with what is known as an unlisted

    17    code, frequently they will attach that report because those

    18    types of CPT codes would usually hit an edit in the claims

    19    system to drop to a manual review.

    20            On this form there is a 93799, which to me indicates it

    21    would be an unlisted code.

    22            Therefore, the report would usually be attached.

    23    Q       All right.    And when this document says 1 of 36, would we

    24    be missing 35 pages, then?

    25    A       I can't answer that.




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     1    Q      All right.     But normally the entire report would be

     2    submitted?

     3    A      I believe so.

     4    Q      All right.     And again, that is to help your company

     5    understand kind of an unusual code being submitted?

     6    A      Correct.

     7    Q      All right.     And the following page, the order form, again,

     8    this comes from Holter Labs itself?

     9    A      Correct.

    10    Q      Do you commonly see these types of order forms in request

    11    for payment?

    12    A      Only if there is usually an unlisted code bill.

    13    Q      All right.     So it looks like, at least in this particular

    14    situation, there was an application made for payment on a code

    15    that might have struck your company as unusual or unique?

    16    A      It might have dropped for review, yes.

    17    Q      All right.     So at least it looks like there was an attempt

    18    on this application, at least, to give your company a heads up

    19    about the billing?

    20    A      Yes.

    21                  MR. MCDERMOTT:     Thank you.

    22    BY MR. MCDERMOTT:

    23    Q      You have already explained for us, what kind of --

    24                  THE COURT:    Is there a question?

    25                  MR. MCDERMOTT:     Yes, sir.




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     1                  THE COURT:      Let's get to the question.

     2    BY MR. MCDERMOTT:

     3    Q      You have already explained how your company looks for

     4    billings that are unusual or odd?

     5    A      Yes.

     6    Q      And you call them audits or edits?

     7    A      There could be an edit placed in the system for either

     8    providers that are identified as having possible fair billing

     9    practices, or there are also system edits that are in place

    10    that will drop a claim to either a manual review or denial

    11    because the codes don't match.

    12    Q      As you sit here today, do you have an understanding as to

    13    what the normal billing amount -- dollar amount is for a Holter

    14    device usage?

    15    A      The amount billed for a Holter device would vary from

    16    location to location, because it's usually based on what they

    17    call like fair health standards.

    18           So, it could, you know, what people charge in California

    19    would be different than what they charge in, for example,

    20    Alabama.

    21    Q      All right.     Okay.    Any of the edits or audits involved in

    22    your company, is there an attempt to compare a submission by a

    23    physician with the submission by an ITDF authorized by the

    24    physician?

    25    A      Not that I'm aware of.




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     1                 MR. MCDERMOTT:      Thank you.     I have nothing further.

     2                 THE COURT:     Any redirect?

     3

     4                               REDIRECT EXAMINATION

     5                 MS. RYKKEN:      Very briefly.

     6    BY MS. RYKKEN:

     7    Q      You mentioned on direct, that United gets approximately 1

     8    million claims per day?

     9    A      Correct.

    10    Q      And how many of those get flagged for review?

    11    A      It would vary day by day.

    12           There would be -- for my particular team in the SIU --

    13    there might be 200 to 300 that get stopped for review and

    14    medical records request go out.

    15    Q      And that is approximately per day?

    16    A      Approximately.     It would vary day by day depending what is

    17    submitted by different providers.

    18    Q      So how many claims a day does your team go through and

    19    look at?

    20    A      Approximately 200 to 300 a day.

    21    Q      And how many people work there?

    22    A      In our department there are approximately 60 people, but

    23    that includes both what we call pre-pay reviews, which would be

    24    reviews that go out -- or that are completed on claims that

    25    have not been processed yet.




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     1           And then we also have what we call a post-pay team.

     2           So if claims have already been processed, we also have

     3    teams that looked at claims that have already been processed.

     4                 MS. RYKKEN:      Nothing else.     Thank you.

     5                 MR. MCDERMOTT:      One, sir?

     6                 THE COURT:     All right.

     7                                RECROSS-EXAMINATION

     8    BY MR. MCDERMOTT:

     9    Q      On how many occasions did your team highlight or edit

    10    Holter Labs?

    11    A      I don't know.

    12                 THE COURT:     All right.     You may step down.       Call

    13    your next witness.

    14                 MR. FREEDMAN:      Your Honor, the government calls

    15    Stacey Foster-Sixtos.

    16                 THE COURTROOM DEPUTY:        Please raise your right hand.

    17                            (Oath was administered.)

    18                 THE WITNESS:      I do.

    19                 THE COURTROOM DEPUTY:        Please be seated.       Please

    20    state your full name and spell your last name for the record.

    21                 THE WITNESS:      Stacey Ruth Sixtos, spelled

    22    S-i-x-t-o-s.

    23

    24                     ///

    25                     ///




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     1                                STACEY RUTH SIXTOS,

     2              having been duly sworn, testified as follows:

     3

     4                   MR. FREEDMAN:    May I inquire, Your Honor?

     5                   THE COURT:    Yes.

     6

     7                                 DIRECT EXAMINATION

     8    BY MR. FREEDMAN:

     9    Q      Thank you.     Where do you live, Ms. Sixtos?

    10    A      I live in Murrietta, California.

    11    Q      What county is that?

    12    A      Riverside.

    13    Q      How long -- did you have a previous last name before

    14    Sixtos?

    15    A      Yes.    My maiden name is Foster.

    16    Q      When did you change your name?

    17    A      In late of 2012.

    18    Q      Okay.    Do you have a general physician?

    19    A      Yes.

    20    Q      Who is your general physician?

    21    A      Dr. Globus.

    22    Q      How long have you gone to Dr. Globus?

    23    A      I would say -- I would say ten -- nine, ten years, as long

    24    as he's been in practice.

    25    Q      Was he your doctor in 2011?




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     1    A      Yes.

     2    Q      Do you recall seeing Dr. Globus in August of 2011?

     3    A      Exact dates, no, but, yes.

     4    Q      What was the purpose of the visit?

     5    A      I was having a rapid heart beat.

     6    Q      Did you mention those issues to Dr. Globus?

     7    A      Yes.

     8    Q      What did Dr. Globus do in response?

     9    A      He ordered for me to wear a monitor to measure the heart

    10    beats.

    11    Q      Do you recall what that monitor was called?

    12    A      No, I don't.

    13    Q      Did Dr. Globus explain to you what the monitor did?

    14    A      Yes.

    15    Q      What did he tell you?

    16    A      He explained to me that when I felt the issue or the item

    17    that we were talking about, I would press a button, and it

    18    would record my heart beat.         And then he would receive a

    19    report, and we would discuss the results.

    20    Q      Did he tell you if it was called a Holter device?

    21    A      If he did, I don't remember.

    22    Q      Did he tell you how long to wear the recorder?

    23    A      I'm sure he did.      I don't remember exactly what that was.

    24    I think it was one or two days.

    25    Q      Do you remember how long you wore the recorder for?




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     1    A      I think it was one or two days.

     2    Q      Did Dr. Globus tell you anything about wearing the

     3    recorder for 30 days?

     4    A      No, no, no.

     5    Q      Do you recall anything about wearing the device for

     6    30 days?

     7    A      No.

     8    Q      Did Dr. Globus tell you anything about recording Microvolt

     9    T-waves?

    10    A      I don't know what that is.

    11    Q      Did he tell you anything about a night

    12    electroencephalogram?

    13    A      No, I don't know what that is.

    14    Q      Did he tell you anything about brain scans?

    15    A      No.

    16    Q      Besides wearing the device, what part of the body was it

    17    connected to?

    18    A      It was -- there were pads attached to the heart, then I

    19    wore it on my waist.       That was it.

    20    Q      Did you wear --

    21    A      It was just on my chest.

    22    Q      Did you wear anything on your face?

    23    A      No.

    24    Q      Anything on your head?

    25    A      No.




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     1    Q      You didn't measure your breathing in any way?

     2    A      No.

     3    Q      Did you wear the device again -- do you recall, was the

     4    visit on August 10th?

     5    A      I don't know exactly the date.

     6    Q      Okay.    Did you wear it again after the first time you wore

     7    it?

     8    A      With Dr. Globus, no.

     9    Q      Was there another time when you wore a device?

    10    A      Yes.    When I was pregnant with my twins, I wore a device.

    11    Q      When was that?

    12    A      In 2009.

    13    Q      Was that prescribed by Dr. Globus?

    14    A      No.    It was a completely different doctor.

    15    Q      What kind of doctor prescribed it then?

    16    A      The specialist for -- I was considered a high-risk

    17    pregnancy for twins in my age.

    18           I went to a specialist and they prescribed it.

    19           She referred me to the cardiologist who initiated the

    20    testing.

    21    Q      How long did you wear it on that occasion?

    22    A      Two weeks, I believe.

    23    Q      Do you recall wearing a Holter devise prescribed by

    24    Dr. Globus on August 18th, 2011?

    25    A      Exactly, I don't know.




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     1    Q      What about August 24th, 2011?

     2    A      No.

     3    Q      I would like you to look at the larger binder that is in

     4    front of you.

     5    A      Uh-huh.

     6    Q      Turn to tab exhibit, what is marked as Exhibit 77.

     7    A      77.

     8                   MR. FREEDMAN:    Your Honor, this is one of the

     9    pre-admitted summary charts.

    10           May we publish it?

    11                   THE COURT:   Yes.

    12                  (Trial Exhibit 77 received into evidence.)

    13                   MR. FREEDMAN:    Thank you.

    14    BY MR. FREEDMAN:

    15    Q      Ms. Sixtos, this is a summary chart of claims.

    16           Let me ask you, first, did you have health insurance at

    17    the time that Dr. Globus had you wear the device?

    18    A      Yes.

    19    Q      Who was your health insurance provider?

    20    A      It's either Aetna or Cigna, that is all I have ever had.

    21    Q      This is the summary chart of claims that were submitted to

    22    your insurer, and I would like to direct your attention to the

    23    first section.

    24    A      Okay.

    25    Q      Do you see the date listed there?




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     1    A      Yes.

     2    Q      What is that date?

     3    A      August 10th, of 2011.

     4    Q      And it shows -- excuse me -- the variety of services here.

     5    Do you see the first one?

     6    A      Yes.

     7    Q      What does that read?

     8    A      ECG monitor/report 24 hours.

     9    Q      Do you recall wearing an ECG monitor for 24 hours?

    10    A      Yes.

    11    Q      The second code, what does that read?

    12    A      Cardiovascular provider.

    13    Q      Do you recall having a cardiovascular procedure on

    14    August 10th?

    15    A      No.

    16    Q      Do you recall having a cardiovascular procedure at any

    17    time during August of 2011?

    18    A      No.

    19    Q      Did you ever have a cardiovascular procedure with

    20    Dr. Globus at all?

    21    A      No.

    22    Q      The last code here, if you can read that, if you can

    23    pronounce.

    24    A      Night electroencephalogram.

    25    Q      Did you have a night electroencephalogram on August 10?




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     1    A       No.

     2    Q       Did Dr. Globus ever prescribe you a night

     3    electroencephalogram?

     4    A       I have never had one.

     5    Q       Let's look at the next day.

     6                  MR. MCDERMOTT:     Judge, real quick, if we could have

     7    sidebar -- if we could?

     8                  THE COURT:    All right.

     9                  MR. MCDERMOTT:     It's okay, sir.

    10            Thank you, I just needed to clarify what document we were

    11    looking at.

    12    BY MR. FREEDMAN:

    13    Q       So let's look now at the next date, if you could read that

    14    date.

    15    A       August 11th of 2011.

    16    Q       And besides the first date you saw Dr. Globus, did you see

    17    him again in August of 2011?

    18    A       Just to return the device.

    19    Q       Did he order any other heart recording services?

    20    A       No.

    21    Q       Did he order an ECG monitoring and analysis?

    22    A       I don't know.

    23    Q       Did you have an ECG monitoring on August 11th, as far as

    24    you recall?

    25    A       I turned it back into him, so it would not have been.




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     1    Q      Let's look at the next date, please.

     2           Did you see Dr. Globus on August 18th?

     3    A      Not to my recollection.

     4    Q      Did you have -- can you read that first item there?

     5    A      ECG monitor report, 24 hours.

     6    Q      Did you wear the device again for 24 hours on August 18th?

     7    A      I did not.

     8    Q      Okay.   Did you have a night electroencephalogram?

     9    A      No, never.

    10    Q      What about an autonomic nerve function test?

    11    A      No.

    12    Q      Did Dr. Globus ever prescribe that for you?

    13    A      No.

    14    Q      Do you want to look at the final date here?

    15    A      August 24th, 2011.

    16    Q      Did you see Dr. Globus on that date?

    17    A      No.

    18    Q      Did you wear a device on that date?

    19    A      No.

    20    Q      Did you have a Microvolt T-wave assessment on that date?

    21    A      No.

    22    Q      What about wearing it for 24 hours again?

    23    A      No.

    24    Q      What about a night electroencephalogram?

    25    A      Again, never.




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     1    Q       Did you ever receive a bill from a company called Holter

     2    Labs?

     3    A       Not to my knowledge.

     4    Q       As far as you know, beyond the first item you testified

     5    to, did you receive any of the services listed in this chart?

     6    A       Not after the initial visit.

     7                    MR. FREEDMAN:    No further questions at this time,

     8    Your Honor.

     9                    MR. MCDERMOTT:    Just couple, sir, if I may.

    10

    11                                   CROSS-EXAMINATION

    12                    MR. MCDERMOTT:    Good morning.

    13                    THE WITNESS:    Good morning.

    14    BY MR. MCDERMOTT:

    15    Q       Ma'am, the questions you were asked regarding when service

    16    was offered and received by you, have you had a chance to take

    17    a look at your medical records or charts from that time frame?

    18    A       No, because I changed companies, went back to that

    19    company, so there are no records.

    20    Q       Okay.    So when you are testifying here today, you are

    21    testifying by memory?

    22    A       And my calendar.

    23    Q       Your calendar.

    24    A       Right.

    25    Q       Did you actually ever see a report that came back from




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     1    that Holter devise you wore?

     2    A      I believe Dr. Globus provided me with copy of everything,

     3    but I don't have it in hand or anything to that effect.

     4    Q      All right.     And in preparation of your testimony here

     5    today, were you given an opportunity to take a look at that

     6    report to see what functions were performed with that device?

     7                   MS. RYKKEN:    Objection.     Foundation.

     8                   THE COURT:    Sustained.

     9    BY MR. MCDERMOTT:

    10    Q      Were you ever given an opportunity to see a report from

    11    Holter Labs?

    12    A      I don't know if I did, to be honest.

    13    Q      Okay.    And a question that we have been asking, did you

    14    receive any billing directly from Holter Labs?

    15    A      Not to my knowledge.

    16    Q      Did any agency bill collector or anything like that try to

    17    collect on something that Holter Labs had done?

    18    A      Not to my recollection.

    19    Q      And does your company that you have at the time, do they

    20    routinely send you things called "explanation of benefits"?

    21    A      Yes, but they are online now.

    22    Q      Okay.    All right.    Back then, it came in paper?

    23    A      No.     I would have volunteered for online.

    24    Q      Back in '11?

    25    A      As soon as it would have been offered, I would have




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     1    volunteered that.

     2           I mean, human resources, I don't need the paper, to be

     3    honest, and as soon as it was available, I denied it.

     4    Q      All right.     Did you ever see an explanation of benefits

     5    online relating to any other date than the date that you

     6    remember?

     7    A      I don't recollect.

     8                 MR. MCDERMOTT:      Thank you.

     9                 THE WITNESS:      You are welcome.

    10                 THE COURT:     Any redirect?

    11                 MR. FREEDMAN:      No, Your Honor.      Thank you.

    12                 THE COURT:     Thank you.     You may step down.

    13                 THE WITNESS:      Thank you, sir.      Do you want me to

    14    close the book?

    15                 THE COURT:     That's fine, we will take care of it.

    16           Call your next witness.

    17                 MR. FREEDMAN:      Your Honor, the government calls

    18    Dr. Jeffrey Globus.

    19                 THE COURTROOM DEPUTY:        Please raise your right hand.

    20                            (Oath was administered.)

    21                 THE WITNESS:      I do.

    22

    23                            JEFFREY JOHN GLOBUS, M.D,

    24                having been duly sworn, testified as follows:

    25




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     1                 THE COURTROOM DEPUTY:        Please be seated.       Please

     2    state your full name and spell your last name for the record.

     3                 THE WITNESS:      Jeffrey John Globus.       Last name,

     4    G-l-o-b-u-s.

     5                 MR. FREEDMAN:      May I inquire, Your Honor?

     6                 THE COURT:     Yes.

     7

     8                                DIRECT EXAMINATION

     9                     BY MR. FREEDMAN:

    10    Q      What is your profession?

    11    A      A family practice physician.

    12    Q      What does a family practice entail?

    13    A      Visit with patients, generally, patients of all ages, and

    14    potentially the idea is to mostly sort of see the whole family

    15    so you can kind of care for the youngest children and the

    16    oldest adults, and try to take care of their healthcare needs.

    17    Q      Where do you work?

    18    A      Mission Family Practice.

    19    Q      What city is that in?

    20    A      Mission Viejo, California.

    21    Q      In what county?

    22    A      Orange County.

    23    Q      Is that your own practice?

    24    A      Yes, sir.

    25    Q      How long have you had your own practice?




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     1    A      Two and a half years.

     2    Q      Did you work at a different practice before that?

     3    A      I used to work at OSO Family Medical Group.

     4    Q      From what time period to when?

     5    A      2009 until 2014.

     6    Q      And where is OSO?      Where is the OSO Group located?

     7    A      We're all in a single complex, so when I changed and

     8    started my own practice, we were about two doors away from OSO,

     9    just in the same medical complex there.

    10    Q      When you worked at OSO, did you work with other doctors?

    11    A      Yes, sir.

    12    Q      Who were those other doctors?

    13    A      Dr. Richmond, Ronald Richmond, and Dr. Greg Joy,

    14    Dr. Stephanie Fightlin.

    15    Q      Did you have a patient named Stacey Foster-Sixtos?

    16    A      I still do, yes, sir.

    17    Q      Do you -- did you have an appointment with Ms. Foster as

    18    she was known in 2011?

    19    A      Yes, sir.

    20    Q      Do you recall anything about that appointment?

    21    A      I believe she came in for palpitations, funny heart beats,

    22    and we worked her up for that.

    23           I think we ordered a Holter monitor.

    24           I don't recall what other details we may have done without

    25    notes.




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     1    Q      What is your understanding of a Holter monitor, as you are

     2    referring to it?

     3    A      We're looking at the electricity of the heart.             So, if

     4    people have palpitations, funny heart beats, you say, hey,

     5    could there be some problem with the electricity of the heart.

     6           Could people's hearts be going into funny rhythms, could

     7    they be at risk of clots, clots could form, if for example,

     8    they were in atrial fibrillation or problems like that.

     9    Q      What use of a Holter heart monitor do you make in your

    10    practice as a family doctor?

    11    A      I will generally use it as a screening tool.

    12           I will usually order potentially like a 24-hour Holter

    13    monitoring or I will get people into, like, a cardiologist.

    14    Q      Did you ever order a Holter monitor longer than 24 hours?

    15    A      No.

    16    Q      Ever order it for 30 days?

    17    A      Holter monitors can be done for 24 hours or as a 30-day

    18    event recorder.

    19           Generally, the time where I would have ever done the thing

    20    myself, is usually just if I wanted it done as a 24-hour kind

    21    of a quicker assessment.

    22           The longer assessments, usually if people are having more

    23    subtle difficulties, I would usually get them in with a

    24    cardiologist.

    25    Q      Did you ever prescribe a 30-day use for a patient?




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     1    A      I don't believe so.

     2    Q      Did you ever prescribe a 30-day use for Ms. Foster?

     3    A      No, I don't believe so.

     4    Q      How frequently would you say you prescribed Holter devises

     5    for patients in the period of 2011?

     6    A      In general, just as you use the word "prescribed,"

     7    frequently what I will do is I will have a patient, I will say

     8    okay, I want to get a 24-hour Holter monitor.

     9           What I'm used to doing is sort of saying, okay, set up for

    10    24-hour Holter monitor, but frequently people would go through

    11    the cardiologist, but I would do that, I don't know, three or

    12    four times a year.

    13    Q      Okay.   Where did you get the Holter monitors that you had

    14    patients wear?

    15    A      In general, I think -- frequently -- what would happen

    16    would be I would try and go through the cardiologist.

    17           I think there was a company that the clinic had gotten

    18    involved with, and so the clinic was using that company.

    19           So I think during the period that Stacey had her Holter

    20    monitor placed, I think the company that was being used told

    21    the techs how to hook it up, so I think it was hooked up

    22    through the clinic.

    23    Q      When you say the techs, who do you mean?

    24    A      Within the clinic there are physicians, and then we will

    25    have medical assistants.        So the medical assistants are called




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     1    techs, also.

     2           But they are the people who help out with the jobs that

     3    need to get done.

     4    Q      When you prescribe Holter devices for patients -- well,

     5    let me ask you first.

     6           Do you recall the name of the company that provided you --

     7    your practice with the Holter devises?

     8    A      No, sir.

     9    Q      Did you ever prescribe a Holter device for a night

    10    electroencephalogram?

    11    A      No, sir.

    12    Q      Do you know what a night electroencephalogram is?

    13    A      An EEG is looking at brain waves, rather than at heart

    14    issues.     I have never ordered an EEG.

    15    Q      Did you ever order an EEG for Ms. Foster?

    16    A      No, sir.

    17    Q      Did you ever order a Holter devise to conduct a Microvolt

    18    T-wave Alternans assessment?

    19    A      No, sir.

    20    Q      Do you know what a Microvolt T-wave Alternans assessment

    21    is?

    22    A      I'm sort of guessing, based on the description you have.

    23                  THE COURT:    Sir, don't guess.       If you know what that

    24    is, fine.    If you don't, just say so.

    25           We don't want you to guess.




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     1                   THE WITNESS:    No, sir.

     2    BY MR. FREEDMAN:

     3    Q      Did you ever order one of those for Ms. Foster?

     4    A      No, sir.

     5    Q      Did you pay for the Holter devices you had in your office?

     6    A      No, sir.

     7    Q      When you wanted to prescribe a Holter devise, did you fill

     8    out any paperwork to do so?

     9    A      I know that I did not.       I'm not sure if the medical

    10    assistants, the techs, had to do something.

    11    Q      And when you say techs, you mean people working in your

    12    office?

    13    A      Yes, sir.    I may have had to sign an order or something.

    14    Q      Okay.    There is a binder to your left there.

    15           Could you take a look at what has been tabbed as

    16    Exhibit 72, please?

    17           Do you see that document?

    18    A      I think you are talking about the page --

    19    Q      Following the yellow tab.

    20    A      Yes, sir.

    21    Q      What does that document appear to be?

    22    A      It looks like it would be an order form for the -- just a

    23    straight Holter.

    24           It looks like there is a -- my name is typed into the

    25    thing, but I don't see a signature.           It's circled with my name




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     1    on there.

     2                 MR. FREEDMAN:      Your Honor, the government moves to

     3    admit Exhibit 72.

     4                 THE COURT:     It will be received.

     5           (Exhibit 72 received into evidence.)

     6    BY MR. FREEDMAN:

     7    Q      I would like to take a few parts of this chart.

     8           If we can look at the top part first.

     9           What information is filled out on this form?

    10    A      Patient's name, Stacey Foster.         There is the city,

    11    Foothill Ranch, insurance, Cigna, patient's ID.

    12    Q      At the very top of the form?

    13    A      Holter Lab.

    14    Q      Does that have any significance to you?

    15    A      It may have been the company that we ordered the Holter

    16    through, but I wouldn't have paid much attention at the time.

    17           Like, I would just, you know, I mostly wanted to get the

    18    study done, so I wasn't too concerned about who was doing it.

    19    Q      As far as you know, did anyone in your practice create

    20    this order form?

    21    A      I don't know.

    22    Q      Let's look now in the middle section.

    23           So in the section marked "diagnosis," is anything

    24    indicated there?

    25    A      Palpitations and tachycardia.




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     1    Q      Is that consistent with the diagnosis you made of

     2    Ms. Foster when you saw her?

     3    A      Yes, sir.

     4    Q      And then in the next section, where it says Holter

     5    monitoring, is one of these boxes checked?

     6    A      24-hour study.

     7    Q      And there is -- what was the date of service?

     8    A      8/10/2011.

     9    Q      Then in the bottom section, is that your name circled

    10    there?

    11    A      Yes, sir.

    12    Q      Did you circle your name?

    13    A      I don't have a specific recollection, but I'm estimating

    14    it would have been a tech that would do that.

    15    Q      You didn't sign it?

    16    A      No, sir.

    17    Q      Was it common you might not sign these forms?

    18    A      Yes, sir.

    19    Q      Do you recall filling out any other Holter order forms for

    20    Ms. Foster?

    21    A      No, sir.

    22    Q      Do you have any other records that you are aware of, of

    23    order forms for Ms. Foster?

    24    A      No, sir.

    25    Q      Did you fill out an order form for August 18th?




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     1    A      I don't recall.

     2    Q      Did you fill out an order form for August 24th?

     3    A      None that I recall.

     4    Q      And do you recall filling out -- ever filling out an order

     5    form where you checked a box for a night electroencephalogram?

     6    A      No.

     7    Q      How about for a Microvolt T-wave assessment?

     8    A      No, sir.

     9    Q      What about for a 30-day use of the device?

    10    A      No, sir.

    11    Q      Did you receive information back after the patient

    12    Ms. Foster wore the device?

    13    A      I don't recall.

    14    Q      Do you recall making any analysis from what dealings were

    15    made from her wearing the device?

    16    A      I have an overall recollection that -- and some of it is

    17    based on prior notes, that essentially the evaluation was a

    18    negative one, and there was no significant need for further

    19    assessment at that time, based on my notes.

    20    Q      What information would you have gotten that would allow

    21    you to make that evaluation?

    22    A      Essentially, if I have a 24-hour Holter monitor, and we

    23    don't see any evidence for more significant problems such as

    24    atrial fibrillation or other heart beats that would be of

    25    concern, then presumably my interest in the study goes away,




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     1    and then she moves on.

     2    Q      When you say -- when you look at the evidence, I'm asking

     3    you what form is the evidence in?

     4           Let me rephrase that.

     5           After the patient wears the device, what does the patient

     6    do with the device?

     7    A      I believe she returns it to the clinic, and the clinic

     8    keeps the device.

     9    Q      Is the evidence contained in the device readable to you at

    10    that moment in time?

    11    A      No, sir.

    12    Q      When is it readable to you?

    13    A      I'm estimating what happens when they bring it back, but

    14    the information on there, I believe, has to be downloaded in

    15    some form, and then that gets turned into printouts that look

    16    like an EKG, where you can say, okay, this is what happened and

    17    so you can pick up events.

    18    Q      Do you know who does that download process?

    19    A      No, sir.

    20    Q      I would like to turn your attention to what is marked as

    21    Exhibit 70 in that binder in front of you.

    22           If you could turn to that and take a quick look.

    23                 MR. MCDERMOTT:      I'm sorry, that was what?

    24                 MR. FREEDMAN:      70.

    25    BY MR. FREEDMAN:




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     1    Q      Do you have an idea of what this document is?

     2    A      It looks like it would be that next step.

     3           So presumably, the patient returns the device, and then

     4    that gets turned into something that I can look at and

     5    interpret, and I think this is the document that would be

     6    something I could look at and interpret.

     7                   MR. FREEDMAN:    Your Honor, the government moves to

     8    admit Government 70.

     9                   THE COURT:   It will be received.

    10           (Exhibit 70 received into evidence.)

    11    BY MR. FREEDMAN:

    12    Q      So looking at the top part of this document, does this

    13    appear to be the report for Ms. Foster?

    14    A      Yes, sir.

    15    Q      And what is the date indicated there?

    16    A      August 10th, 2011.

    17    Q      Okay.    If we can look a little higher up.

    18           Does this indicate to you who provided you the report?

    19    A      Holter Labs, LLC.

    20    Q      Okay.    Is there anything in this report, as you have

    21    looked through it, that indicates to you evidence of a 30-day

    22    use?

    23           You have the full report in the binder.

    24    A      No, sir.

    25    Q      Anything in there that indicates to you that brain




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     1    information was obtained?

     2    A       No, sir.

     3    Q       Did you -- do you recall seeing any additional reports for

     4    Ms. Foster from other dates?

     5    A       No, sir.

     6    Q       From August 18th?

     7    A       No, sir.

     8    Q       From August 24th?

     9    A       No, sir.

    10                 MR. FREEDMAN:      No further questions, Your Honor.

    11                 THE COURT:     All right.

    12                 MR. MCDERMOTT:      Thank you.

    13

    14                                 CROSS-EXAMINATION

    15    BY MR. MCDERMOTT:

    16    Q       Doctor, I'm going to have you leave that particular page

    17    open.    That is Exhibit No. 70.

    18            Can you describe for us and tell us what tachycardia is?

    19    A       It's a rapid heart beat, generally over 100.

    20    Q       And this was one of the diagnosis you uncovered or

    21    experienced with Ms. Foster?

    22    A       It's marked on the form.       I'm estimating that we would

    23    have set it, but I would -- I don't have a lot of access to

    24    records, so I don't have an independent recollection.

    25    Q       That's right.    You are no longer with OSO, are you?




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     1    A       No, sir.

     2    Q       You set up your own shop?

     3    A       Yes, sir.

     4    Q       Was there an issue as to billing at that location?

     5    A       None that I'm aware of.       I didn't work with the billing.

     6    Q       Okay.   All right.

     7            The -- in preparation of your testimony here today, were

     8    you able to take a look at your own physician notes as to your

     9    treatment of Ms. Foster?

    10    A       The -- I don't believe I was able to look at the notes at

    11    the time.

    12            I do have notes, because I continue to see her, so I can

    13    look at my more recent notes and estimate what happened at the

    14    time.

    15    Q       All right.    What I'm saying, I guess, then you don't have

    16    your notes from 2011?

    17    A       No, sir.

    18    Q       And so, largely as to what you testified here today, you

    19    are testifying largely from your memory?

    20    A       Largely, but more from the notes that I have now going

    21    back.

    22    Q       Okay.

    23    A       Essentially, as I changed practices, as best I could, I

    24    took the notes that I had -- that I had at the time and turned

    25    them into something I can use now.




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     1    Q      Okay.   So when you set up your new practice in 2014 --

     2    A      Yes, sir.

     3    Q      -- you went back and thought about what happened in 2011

     4    for Ms. Foster, and put it down on paper?

     5    A      I had prior notes I was able to look at.            So I more or

     6    less copied what I had.

     7    Q      All right.     Did the government ask you for a copy of those

     8    notes?

     9    A      No, sir.

    10    Q      As to Exhibit No. 72.       The report that was received back

    11    from Holter Labs, it looks to being about 44 pages; is that

    12    correct?

    13    A      Yes, sir.

    14    Q      All right.     And in this particular document, do you

    15    recognize in that first page -- it's called comments, the

    16    patient pressed the event button on the recorder two times.

    17           Do you see that in the comment section?

    18    A      Yes, sir.

    19    Q      All right.     Now when you have a patient wear a Holter

    20    devise, can you explain how it works and what it's supposed to

    21    do?

    22    A      It's generally not me.       It would be generally the medical

    23    assistant, that tech would do that.

    24    Q      So you don't have any specific recollection of talking to

    25    Ms. Foster of using the Holter devise, correct?




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     1    A      I do recollect she came in, and she has having these

     2    palpitations, and I said that we will get you a Holter monitor.

     3    Q      Would you have taught her how to press the button on the

     4    device in order to record an event?

     5    A      No.   The medical tech would do that.

     6    Q      So when you read this bottom line, what does that tell

     7    you?

     8    A      That the general idea is that we're looking for

     9    palpitations, these funny heart beats.

    10           So if she has palpitations, she has an episode, she pushes

    11    the button, and it gives us the ability to look and say at the

    12    time that she is feeling these funny heart beats, what is

    13    happening on the EKG, and does this correspond to some

    14    electrical irregularities that we can do something with.

    15    Q      All right.     And did you have a chance to discuss that with

    16    her afterwards?

    17    A      I'm not quite sure what you are asking.

    18           I would ask her to come back and tell her the results of

    19    the Holter monitor.

    20           In her case, it looked good.         We don't see any evidence

    21    for higher level problems that I would be more concerned about.

    22    Q      All right.     And would you turn to page 7 of 44 there?

    23    A      Yes, sir.

    24    Q      What does that page address?

    25    A      I'm sorry?




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     1    Q      The title at the top of the page, what is it recording?

     2    A      Sleep apnea.

     3    Q      Do you know -- obviously, you indicated for us that there

     4    was no request to have that done; is that true?

     5    A      Yes, sir.

     6    Q      Does this document of this page actually reflect that it

     7    might have been done?

     8    A      Yes, sir.

     9    Q      At any point in time, and I would take -- turn to page 12.

    10           Do you recognize what this document is?

    11    A      More EKG tracings.

    12    Q      Yes.   Also on page 13 at the very top, indicating

    13    tachycardia?

    14    A      Yes, sir.

    15    Q      Right.    The entire page -- how about the following page,

    16    there is something called supraventricular ectopic?

    17           Do you know what that is?

    18    A      Yes, sir.

    19    Q      What is that?

    20    A      Generally, as we're looking for funny heart beats,

    21    normally what happens is the atria give the electrical signals

    22    that get the heart beating, and that gets transmitted to the

    23    ventricles, so the atrias contract and ventricles contract.

    24           So what can happen, is that sometimes you will get an

    25    abnormality of signals, so that rather than the initial signal




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     1    coming from the atria, sometimes you will be able to say, well,

     2    it didn't really come from the atria, but it just came

     3    somewhere supraventricular, somewhere above the ventricle.

     4            So presumably the conduction got started somewhere other

     5    than its usual spot.

     6            But generally, we will see some of these kind of things

     7    associated with episodes of palpitations.            But in and of

     8    themselves, I don't usually worry about a supraventricular

     9    beat.

    10    Q       All right.    So the recordings you see in this particular

    11    page, would have been something you would have been interested

    12    in having done?

    13    A       Overall, what should happen --

    14                 THE COURT:     Excuse me.     When you say these pages,

    15    you are talking which page?

    16                 MR. MCDERMOTT:      You are right.      As to the one we

    17    just talked about, the supraventricular ectopic.

    18            Would that have been information you, as a physician,

    19    would want to have regarding your analysis of Ms. Foster?

    20                 THE WITNESS:      The overall thought is if I order a

    21    24-hour Holter monitor, we're looking for how many episodes are

    22    there, of maybe a supraventricular ectopy, or there are other

    23    types of ectopy, like what I call a ventricular tachycardia

    24    atrial fibrillation.

    25            So if you are on a 24-hour Holter monitor, if we had




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     1    12 beats of supraventricular ectopy, it would be included as

     2    part of the report.

     3    BY MR. MCDERMOTT:

     4    Q      All right.     Do you recall whether any insurance company

     5    contacted you regarding this report?

     6    A      I believe the answer would be no.

     7           I mean, I don't remember an insurance company contacting

     8    me regarding a report.

     9    Q      At any point in time, were you asked by an insurance

    10    company to explain events that might have occurred later on, on

    11    the 18th or the 21st, other than that date?

    12           Did you ever have a contact that was reported in the

    13    report, Number 70, the date on this would, again, be apparently

    14    August 10th, 2011.

    15           Did an insurance company ever come to you and ask you

    16    whether or not you had a report prepared on the 18th to the

    17    20th of August?

    18    A      I don't believe -- as I have been practicing -- I don't

    19    believe I have ever responded to, like -- I don't believe an

    20    insurance company has ever come to me with any question.

    21    Q      All right.

    22    A      They may contact the office, and someone in the office may

    23    talk to an insurance company, but I'm not usually in direct

    24    contact with insurance companies.

    25    Q      All right.     And when you have a patient use a Holter




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     1    device, how do you and your practice bill that event?

     2            Is it when the report is returned and you sit down and

     3    talk to the patient?

     4            Is it when the patient comes in and puts it on?

     5            How do you bill?

     6    A       So, a couple things.

     7            As I was with the practice with Drs. Richmond and Joy,

     8    they had sort of set this up and the billing was handled by

     9    them.

    10            As I'm in practice myself, I usually get people in with a

    11    cardiologist, and I more or less order -- I have good

    12    relationships with the cardiologists, and so I can say, hey,

    13    can you set this person up and do a 24-hour Holter.

    14            So I don't get involved -- in both cases -- I have never

    15    gotten involved with the billing, per se.

    16    Q       All right.    So as to Ms. Foster back in 2011, when using

    17    the Holter device, have you ever reviewed a bill that your

    18    office submitted for the work that your office may have done on

    19    that report?

    20    A       No, sir.

    21                 MR. MCDERMOTT:      All right.     Thank you, sir.

    22            I have nothing further.

    23                 MR. FREEDMAN:      No further questions, Your Honor.

    24                 THE COURT:     All right.     You may step down.       Thank

    25    you.




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     1           All right.     Ladies and gentlemen, we're going to take our

     2    final break of the day.

     3           Again, I want to remind you until this trial is over, you

     4    are not to discuss this case with anyone, including your fellow

     5    jurors, members of your family, people involved in the trial or

     6    anyone else.

     7           And do not allow others to discuss the case with you.

     8    This includes discussing the case on the Internet, from e-mails

     9    or text messages.

    10           If anyone tries to approach you and communicate with you

    11    about this case, please let me know about it immediately.

    12           Do not read, watch, or listen to any news reports or other

    13    accounts about the trial or anyone associated with it.

    14           Do not do any research such as consulting dictionaries,

    15    searching the Internet or using other reference materials.

    16           And do not make any investigation about the case on your

    17    own.

    18           If you need to speak with me, simply give a note to the

    19    clerk.

    20           We will come back at 11:50.

    21                 THE COURTROOM DEPUTY:        All rise.

    22                   (JURY EXITS THE COURTROOM AT 11:36 A.M.)

    23                 MR. FREEDMAN:      I think we're going to call

    24    Ms. Solmor next, followed by her doctor.

    25                 THE COURT:     Okay, who is after the doctor?




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     1                 MR. FREEDMAN:        Then we will do Ms. Russell and

     2    Ms. Consiglio.

     3                 THE COURT:     How long do you expect to be with those

     4    witnesses?

     5                 MR. FREEDMAN:      I think we're going to try to get

     6    through them today.

     7           I think we're going to be faster with each of them than we

     8    have been with their counterparts.

     9           So I would say with Ms. Solmor, 10 or 15 minutes, same

    10    with Dr. Simpkins, and then maybe 15, 20 minutes with each of

    11    the insurance representatives.

    12                 THE COURT:     Uh-huh.

    13                 MR. FREEDMAN:      If that does not work out roughly, I

    14    can try to speed it up.

    15                 THE COURT:     No.    I'm trying to plan here.

    16           Who is going to follow those people?

    17                 MR. FREEDMAN:        Then the government is going to call

    18    Stanton Crowley.

    19                 THE COURT:     How long do you expect to be with him?

    20                 MR. FREEDMAN:        I would estimate one, one and a half

    21    hours, maybe one to two hours.

    22                 THE COURT:     And then you are going to call who?

    23                 MR. FREEDMAN:        The case agent.

    24                 THE COURT:     How long do you expect with the agent?

    25                 MS. RYKKEN:      It would probably be an hour and a half




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     1    to two hours.

     2                 THE COURT:     So, when do you estimate that the

     3    government will finish its case?

     4                 MR. FREEDMAN:      We're hoping to finish tomorrow.

     5                 THE COURT:     Okay.    And do you plan to put on a case?

     6                 MR. MCDERMOTT:      Not yet, sir.

     7                 THE COURT:     Not yet?

     8                 MR. MCDERMOTT:      It doesn't appear to be.

     9                 THE COURT:     When will you know that?

    10                 MR. MCDERMOTT:      Well, I'm almost 100 percent certain

    11    probably not.

    12           It's just that I don't see any issue right now.

    13                 THE COURT:     So --

    14                 MR. MCDERMOTT:      We should very likely be finished

    15    with evidence tomorrow.

    16                 THE COURT:     Okay.    Thank you.

    17                 MR. FREEDMAN:      Thank you, Your Honor.

    18                 THE COURTROOM DEPUTY:        This Court now stands in

    19    recess.

    20                                      (Recess.)

    21                 THE COURTROOM DEPUTY:        All rise.     This United States

    22    Court is now in session.

    23           Please be seated.

    24                 THE COURT:     All right.     Let's bring the jury in.

    25                 MR. FREEDMAN:      Your Honor, would you like us to




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     1    bring in the next witness?

     2                  THE COURT:     Please.

     3                  THE COURTROOM DEPUTY:       All rise.

     4                  (JURY ENTERS THE COURTROOM AT 12:00 P.M.)

     5                  THE COURTROOM DEPUTY:       You may be seated.

     6                  THE COURT:     Call your next witness.

     7                  MR. FREEDMAN:     Your Honor, the government calls Lisa

     8    Solmor.

     9                  THE COURTROOM DEPUTY:       Please raise your right hand.

    10                           (Oath was administered.)

    11                  THE WITNESS:     Yes, I do.

    12

    13                                 LISA MARY SOLMOR,

    14                having been duly sworn, testified as follows:

    15

    16                  THE COURTROOM DEPUTY:       Please be seated.

    17           Please state your full name and spell your last name for

    18    the record.

    19                  THE WITNESS:     Lisa Mary Solmor.      S-o-l-m-o-r.

    20                  MR. FREEDMAN:     May I inquire, Your Honor?

    21                  THE COURT:    Yes, please.

    22

    23                                DIRECT EXAMINATION

    24    BY MR. FREEDMAN:

    25    Q      Where do you live, Ms. Solmor?




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     1    A      Thousand Oaks, California.

     2    Q      What county is that in?

     3    A      Ventura.

     4    Q      Do you have a general physician?

     5    A      Yes, I do.

     6    Q      Who is your general physician?

     7    A      Dr. Ruby Simpkins.

     8    Q      How long has Ruby Simpkins been your general physician?

     9    A      Between seven and eight years.

    10    Q      Was she your physician in 2013?

    11    A      Yes.

    12    Q      Do you recall seeing her in May of 2013?

    13    A      Yes.

    14    Q      Do you recall when, in May, you saw her?

    15    A      Not the exact date.

    16    Q      What was the purpose of your visit?

    17    A      Routine physical.

    18    Q      Did you mention any issues related to your heart?

    19    A      No.

    20    Q      Did Dr. Simpkins mention any symptoms related to your

    21    heart?

    22    A      Yes.

    23    Q      What did she mention?

    24    A      Some irregular heart beats.

    25    Q      Did she propose anything in response to that?




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     1    A      Yes.

     2    Q      What did she propose?

     3    A      Asked me to wear a Holter monitor, a heart monitor.

     4    Q      Did she explain to you what a Holter monitor is?

     5    A      Yes.

     6    Q      What did she tell you about it?

     7    A      It just regulates -- regulates the measurements of my

     8    heart.

     9    Q      Did you wear the Holter monitor?

    10    A      Yes.

    11    Q      How long did you wear it for?

    12    A      24 hours.

    13    Q      Was that on the doctor's instructions?

    14    A      Yes.

    15    Q      Did she tell you to wear it for 24 hours?

    16    A      Yes.

    17    Q      Did the Holter device you wore, connect any other parts of

    18    your body besides your chest?

    19    A      No.

    20    Q      Did it connect to your face?

    21    A      No.

    22    Q      Or to your head?

    23    A      No.

    24    Q      Did Dr. Simpkins tell you anything about wearing the

    25    device for 30 days?




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     1    A      No.

     2    Q      Did you wear it for 30 days?

     3    A      No, I did not.

     4    Q      Did she tell you anything about Microvolt T-waves?

     5    A      No.

     6    Q      Did she tell you anything about a night

     7    electroencephalogram?

     8    A      No.

     9    Q      Did she tell you anything about brain scans?

    10    A      No.

    11    Q      How do you remember how long you wore the device for?

    12    A      How do I remember -- I'm sorry?

    13    Q      Do you remember wearing it for 24 hours?

    14    A      I remember wearing it for 24 hours, and it was the worse

    15    24 hours of my life.

    16    Q      What was so bad about the 24 hours?

    17    A      It just freaked me out that I was wearing this device that

    18    was going to tell me something was wrong with my heart.

    19    Q      Do you remember wearing the device, again, after that

    20    24 hours?

    21    A      No.

    22    Q      Did you wear it again?

    23    A      No.

    24    Q      Did you ever wear a Holter device again with anything

    25    connected to your head?




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     1    A      No.

     2    Q      And anything connected to your face for breathing?

     3    A      No.

     4                  MR. FREEDMAN:     If you could, Your Honor, I would

     5    like to show the witness what has been pre-admitted as

     6    Exhibit 62.

     7                  THE COURT:    That's fine.

     8                      (Exhibit 62 received into evidence.)

     9    BY MR. FREEDMAN:

    10    Q      Did you have health insurance at the time you saw

    11    Dr. Simpkins?

    12    A      Yes.

    13    Q      Who were you insured by?

    14    A      Aetna.

    15    Q      So what you have in your binder is Exhibit 62.             It's not

    16    showing up.

    17           So, I'm just going to ask you some questions about this.

    18    Exhibit 62 is a summary chart?

    19    A      In here?

    20    Q      Yes, in the binder.

    21           Do you have that in front of you?

    22    A      Yes.

    23    Q      There is a summary chart of claims that were submitted to

    24    Aetna on your behalf.

    25           So I would like to direct your attention to the first




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     1    date.

     2            Could you read that date?

     3    A       5/29/13.

     4    Q       Is that when you saw Dr. Simpkins?

     5    A       It could be the initial date.        I don't recall for sure,

     6    but it was in May.

     7    Q       Then the first service that is listed there in the

     8    procedure code, could you read that?

     9    A       ECG monitor report up to 48 hours.

    10    Q       Is that consistent with what you had an ECG monitor for

    11    24 hours?

    12    A       For 24 hours.

    13    Q       The next item, if you could read that?

    14    A       Cardiovascular procedure.

    15    Q       Did you have a cardiovascular procedure?

    16    A       No.

    17    Q       Did you ever have a cardiovascular procedure with

    18    Dr. Simpkins?

    19    A       No.

    20    Q       Did you have any other ones in May?

    21    A       No.   I don't -- I don't even know what a cardiovascular

    22    procedure is.

    23    Q       The next item there, what is that, if you could read that

    24    -- if you could pronounce that?

    25    A       Night electroencephalogram.




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     1    Q       Did you have a night electroencephalogram in May?

     2    A       No.

     3    Q       Did Dr. Simpkins ever prescribe a night

     4    electroencephalogram?

     5    A       No.

     6    Q       Did she ever prescribe anything to you having to do with

     7    brain waves?

     8    A       No.

     9    Q       Then if you look, there is another date listed, if you

    10    could read that date?

    11    A       Microvolt T-wave assessment.

    12    Q       First, read the service date listed.

    13    A       I'm sorry, 5/30/13.

    14    Q       Now, did you have services on more than one date in May

    15    of 2013?

    16    A       Follow-up for when I wore the monitor.

    17    Q       But you didn't wear the monitor on more than one occasion?

    18    A       No.

    19    Q       So then that first item next to 5/30/2013, what does that

    20    read?

    21    A       Microvolt T-wave assessment.

    22    Q       Did you have a Microvolt T-wave assessment?

    23    A       No.

    24    Q       Then the next item there.

    25    A       ECG monitoring and analysis.




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     1    Q      Did you have any more ECG monitoring after the first

     2    occasion?

     3    A      No.

     4    Q      Did you ever get a bill from a company called Holter Labs?

     5    A      Not to my recollection.

     6    Q      So besides this first item on this chart, did you receive

     7    any of these other services?

     8    A      No.

     9                  MR. FREEDMAN:     No further questions.

    10                  THE COURT:    Mr. McDermott?

    11                  MR. MCDERMOTT:     Briefly, sir.

    12

    13                                CROSS-EXAMINATION

    14    BY MR. MCDERMOTT:

    15    Q      Ms. Solmor, did you happen to wear the device just during

    16    the day or was it overnight?

    17    A      It was for 24 hours overnight.

    18    Q      So put it on the 29th, and took it off on the 30th?

    19    A      If that is it, yes.

    20    Q      Does that sound about right?

    21    A      Yes.

    22    Q      So the device was actually working both on the 29th and

    23    the 30th?

    24    A      Yes.

    25    Q      Did your doctor, I believe, it's Ruby Simpkins -- is that




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     1    her name?

     2    A       Yes.

     3    Q       Did she ever sit down and show you a lab report from

     4    Holter Labs regarding what the device recorded?

     5    A       I don't recall.

     6    Q       All right.    And I recognize, as you sit here today, it's

     7    been four years since you wore that device?

     8    A       Yes.

     9    Q       It's a very unusual device, so you certainly remember

    10    having it on your body?

    11    A       Yes.

    12    Q       Can you tell the jury where you had it attached on your

    13    body?

    14    A       The suction cups were on my upper chest, and then had a

    15    strap, and I just swore it over my shoulder.

    16    Q       Okay.   So it was like a shoulder strap?

    17    A       It was a black shoulder strap, yes.

    18    Q       Where was the device itself sitting on -- on the shoulder

    19    on the strap someplace?

    20    A       On my hip.

    21    Q       On your hip?

    22    A       Attached to the strap.

    23    Q       You were instructed that once the cycle was done, you had

    24    to bring your machine back to the doctor's office?

    25    A       I didn't take the machine off.        I returned it so they can




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     1    take it off in the office.

     2    Q      Okay.    Then maybe was it the doctor or the nurse that took

     3    care of that?

     4    A      The nurse probably removed it.          She didn't do that.

     5    Q      Maybe I might need to be a little more specific about my

     6    question for you.

     7           Did Dr. Simpkins' assistant or nurse explain any of the

     8    reports to you?

     9    A      No.     The nurse would have not explained any reports to me.

    10    Q      All right.

    11                   MR. MCDERMOTT:    Thank you.

    12                   THE COURT:     Anything else?

    13                   MR. FREEDMAN:     No, Your Honor.

    14                   THE COURT:    All right.    You may step down.

    15           Thank you.     Call your next witness.

    16                   MR. FREEDMAN:     Your Honor, the government calls

    17    Dr. Ruby Simpkins.

    18                   THE COURTROOM DEPUTY:      Please stand before me raise

    19    your right hand.

    20                           (Oath was administered.)

    21                   THE WITNESS:    I do.

    22

    23                                RUBY SIMPKINS, M.D.,

    24                 having been duly sworn, testified as follows:

    25




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     1                  THE COURTROOM DEPUTY:       Please be seated.       Please

     2    state your full name, and spell your last name for the record.

     3                  THE WITNESS:     Ruby Simpkins.      S-i-m-p-k-i-n-s.

     4                  MR. FREEDMAN:     May I inquire, Your Honor?

     5                  THE COURT:    Yes.

     6

     7                                 DIRECT EXAMINATION

     8    BY MR. FREEDMAN:

     9    Q      What is your profession?

    10    A      I'm a physician.

    11    Q      What kind of physician are you?

    12    A      Internist.

    13    Q      What does that mean?

    14    A      Adult medical doctor.

    15    Q      How long have you been an internist?

    16    A      I graduated medical school in 1973, finished my training

    17    in New York in '76.

    18    Q      Where do you work?

    19    A      I have a private office in Agoura Hills, California.

    20    Q      What county is that in?

    21    A      Los Angeles.

    22    Q      Did you have a patient named Lisa Solmor?

    23    A      Yes.

    24    Q      Do you still have Lisa Solmor as a patient?

    25    A      Yes.




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     1    Q       How long has Lisa Solmor been your patient?

     2    A       I don't know.    At least three years, but I'm not sure.

     3    Q       So was she your patient in 2013?

     4    A       Yes.

     5    Q       Do you recall having an appointment with her in May

     6    of 2013?

     7    A       My records indicate that.

     8    Q       And you reviewed those records in connection with this

     9    case?

    10    A       Yes.

    11    Q       Do you recall anything about that appointment in May

    12    of 2013?

    13    A       In general, it was a general physical examination at the

    14    time, and I did a physical and lab tests.

    15            Electrocardiogram is a part of that evaluation.            It showed

    16    multiple irregularities in the heart rhythm, which were quite

    17    disturbing.

    18            I ordered a 24-hour Holter monitor to further evaluate.

    19    Q       Could you look at the binder in front of you, the bigger

    20    one that has been tabbed Exhibit 55.

    21            Do you recognize this document?

    22            What is it?    I'm sorry, take your time.

    23    A       I'm sorry, I didn't hear.

    24    Q       Do you recognize this document that has been marked

    25    Exhibit 55?




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     1    A      Yes.

     2    Q      What does it appear to be?

     3    A      It's a copy of the history and physical examination done

     4    May 28th, 2013, on Lisa Solmor.

     5                   MR. FREEDMAN:    Your Honor, the government moves to

     6    admit Exhibit 55.

     7                   THE COURT:   It will be received.

     8           (Exhibit 55 received into evidence.)

     9                   MR. FREEDMAN:    Thank you, Your Honor.

    10    BY MR. FREEDMAN:

    11    Q      Looking at this record, does this record have any

    12    information about the heart issue you were just mentioning?

    13    A      There is a lot blacked out.

    14    Q      The parts of it have been blacked out for personal

    15    information.

    16    A      The ECG is here.

    17    Q      Okay.    Is there anything in the -- anything in here about

    18    ordering a Holter device?

    19    A      No.

    20    Q      Okay.    But you recall ordering a Holter device?

    21    A      Yes.    I did because the rhythm was quite disturbing.

    22    Q      What do you typically use a Holter device for?

    23    A      I use it to monitor the cardiac rhythm for a 24-hour

    24    period in patients who are either symptomatic with syncope, or

    25    dizzy episodes or those that I detect an irregularity on the




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     1    EKG, and I need further clarification.

     2    Q      How frequently would you say you prescribe Holter devices

     3    for your patients?

     4    A      Not very often.

     5    Q      Approximately how many times?

     6    A      I don't know if I had done any in the past year.              I can't

     7    recall.

     8    Q      And in 2013?

     9    A      It was probably doing more, but I can't recall.

    10    Q      Around ten maybe a year?

    11    A      It's possible.

    12    Q      Did you ever prescribe a Holter device for a 30-day period

    13    of time?

    14    A      I don't recall ever doing that.

    15    Q      Did you ever prescribe a Holter device to Ms. Solmor more

    16    for 30 days?

    17    A      No.

    18    Q      Did you ever prescribe for Ms. Solmor to wear the Holter

    19    device on more than one occasion?

    20    A      No.

    21    Q      Did you ever prescribe a patient to wear the Holter device

    22    for a night electroencephalogram?

    23    A      No.

    24    Q      Do you know what a night electroencephalogram is?

    25    A      Yes.




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     1    Q      What is it?

     2    A      It's basically a test that is done in patients -- I order

     3    for sleep studies.

     4                  THE COURT:    Just one moment, please.

     5           We're having small technical problems.           We will be taking

     6    care of them in a couple of minutes.

     7           All right.     I think the mics are back on now.

     8                  MR. FREEDMAN:     Thank you, Your Honor.

     9    BY MR. FREEDMAN:

    10    Q      I believe you were telling me what a night

    11    electroencephalogram is?

    12    A      Yes.   An EEG records the brain wave activity in patients.

    13    Q      Did you ever prescribe a Holter device to do a night EEG?

    14    A      No.

    15    Q      Why not?

    16    A      When I order an EEG, I order it through the neurologist.

    17    I don't order it with a Holter monitor.

    18    Q      Do you know how a neurologist does an EEG?

    19    A      Well, he places various leads over the head and records

    20    the various parameters as the patients are sleeping.

    21    Q      Is that through a Holter monitor or different kind of

    22    device?

    23    A      I always thought it was through a different kind of

    24    device.

    25    Q      Did you ever prescribe the use of a Holter device for a




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     1    Microvolt T-wave Alternans?

     2    A       No.

     3    Q       Do you know what a Microvolt T-wave Alternans is?

     4    A       No.    I know what a T-wave is.

     5    Q       What is a T-wave?

     6    A       Well, a T-wave is a wave that is on the electrocardiogram

     7    that represents repolarization of heart.

     8    Q       Where did you get the Holter devices that you had patients

     9    wear?

    10    A       I obtained them from a Holter monitor company.            Holter

    11    Labs, I think, it was called.

    12    Q       Did you pay for the devices?

    13    A       No.

    14    Q       How did you come to have the devices done?

    15    A       I think the doctor who was there before me had used the

    16    device, so they were available for 24-hour Holter monitoring.

    17    Q       When you wanted to prescribe a Holter device, did you fill

    18    out any paperwork?

    19    A       Yes.

    20    Q       What kind of paperwork did you fill out?

    21    A       Well the nurses filled it out.

    22            I had the patient's demographic information, the

    23    indication for the test basically, and the codes.

    24    Q       Could you take a look at what has been marked as

    25    Exhibit 58.




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     1           Do you recognize this document?

     2    A      Yes.

     3    Q      What is in?

     4    A      It's a Holter device order form.

     5    Q      Is this the form you filled out for Ms. Solmor?

     6    A      Yes.

     7                   MR. FREEDMAN:    Your Honor, the government moves to

     8    admit Exhibit 58.

     9                   THE COURT:   It will be received.

    10           (Exhibit 58 received into evidence.)

    11    BY MR. FREEDMAN:

    12    Q      Okay.    Let's take a look at this document.          If we could

    13    look at the first third of the document, please?

    14           So, this is your patient, Lisa Solmor.

    15    A      Yes.    She's my patient.

    16    Q      Did you fill out this form?

    17    A      No.

    18    Q      Okay.    Who filled out the form?

    19    A      My medical assistant.

    20    Q      Okay.    And let's look at the very top of the document, if

    21    we could.

    22           Who provided this form -- well, did your office create

    23    this form?

    24    A      I think the form is provided by the Holter Labs.

    25    Q      And here Holter Labs is the company that you got the




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     1    devices from?

     2    A      Yes.

     3    Q      Okay.    Did you send this form back to Holter Labs after it

     4    was filled out?

     5    A      Yes.    It's sent with a tape -- a recording of the

     6    monitoring over the 24-hour period.

     7    Q      Okay.    Let's look at the mid-part here.

     8           So, in the diagnosis section, what indications did you

     9    make there?

    10    A      Cardiac dysrhythmia and abnormal EKG.

    11    Q      What are those diagnoses roughly?

    12    A      The abnormal EKG simply means that there was something

    13    other than the normal pattern on the EKG.

    14           Cardiac dysrhythmia means there was irregularity of the

    15    heart rhythm at the time.

    16    Q      So this is an indication of why you were prescribing the

    17    device?

    18    A      Yes.

    19    Q      And then in the Holter monitoring section, what

    20    information was provided there?

    21    A      The date of service.       The hook-up time, the 24-hour study

    22    was requested.

    23    Q      And then if we could look at the bottom physician

    24    information.

    25           Is that your signature?




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     1    A      Yes, it is.

     2    Q      Okay.    Do you recall filling out one of these order forms

     3    for Ms. Solmor on more than one occasion?

     4    A      No.

     5    Q      Do you recall filling one out for May 30th of 2013?

     6    A      No.

     7    Q      How did you receive the information from the device after

     8    your patient wore it?

     9    A      I think this was faxed back to me.

    10           It may have been mailed, but I think it may have been

    11    faxed back, I'm not quite sure.

    12    Q      Do you know who sent it back?

    13    A      Who sent it back?

    14    Q      Who gave you the report?

    15    A      Well, the report is placed on my desk by the medical

    16    assistant.

    17    Q      Is the report generated within your office?

    18    A      No.

    19    Q      Do you know where the report is generated?

    20    A      No.     Through Holter Labs.

    21    Q      Could you take a look at what has been marked in that

    22    binder as Exhibit 56, please?

    23           Do you recognize this document?

    24    A      Yes.

    25    Q      What is it?




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     1    A      It's a Holter Lab monitor report.

     2                   MR. FREEDMAN:    Your Honor, the government moves to

     3    admit Government 56.

     4                   THE COURT:   It may be received.

     5           (Exhibit 56 received into evidence.)

     6    BY MR. FREEDMAN:

     7    Q      So looking at the top half of this document, is this the

     8    report you received for Ms. Solmor?

     9    A      Yes.

    10    Q      Does it indicate on here the date of the service that was

    11    provided?

    12    A      May 28th.

    13    Q      Okay.    Did you receive any additional reports from Holter

    14    Labs from Ms. Solmor?

    15    A      I don't recall receiving any additional reports.

    16    Q      Do you recall receiving a report from May 30th?

    17    A      No.

    18                   MR. FREEDMAN:    No further questions, Your Honor.

    19                   THE COURT:   Thank you.

    20           Cross-examination?

    21                   MR. MCDERMOTT:    Thank you, sir.

    22

    23                                CROSS-EXAMINATION

    24    BY MR. MCDERMOTT:

    25    Q      Ma'am, would you stay on the report there, Exhibit 56,




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     1    please.

     2           Do you recall receiving this report?

     3    A      No.    I don't recall receiving it.

     4    Q      Do you recall discussing it with your patient?

     5    A      Yes.

     6    Q      And is there -- there would appear to be 21 pages

     7    altogether in this report?

     8    A      It's 21 pages, but what I discussed with the patient was

     9    initially on the first page.

    10    Q      Okay.    Under the heart rate, do you notice any issues with

    11    what was revealed under the heart rate?

    12    A      The ventricular ectopy was what caught my eye.             There was

    13    a lot of abnormality.

    14           There were several runs of ventricular tachycardia, three

    15    in a row.

    16           That is an urgent matter that needs follow-up.             So I

    17    advised the patient to see the cardiologist for further

    18    work-up.

    19    Q      How about under heart rate, that particular paragraph,

    20    that segment of the report?         Highest rate, lowest, longest, did

    21    that cause you any concern?

    22    A      Well, this is -- no, this is obviously an error.

    23    Q      Right.

    24    A      The maximum heart rate is there, the minimum heart rate is

    25    there.




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     1    Q      Right.    But we're missing something in this report, aren't

     2    we?

     3    A      You are missing something, but the reason I ordered the

     4    report, I see the results, and that's what I acted on,

     5    basically.

     6    Q      Okay.    And also, did you review the rest of the report for

     7    its contents as to what the report was offering to you?

     8    A      I looked at some of the complexes.          I confirmed that there

     9    were multiple complexes, there were three in a row.

    10           As I said, this was a matter that concerned me.             It was

    11    urgent, so I wanted further evaluation and follow-up with a

    12    cardiologist.

    13    Q      Okay.    Why don't you turn to page 12 of that report.

    14           What does the report reflect?

    15    A      It says sleep apnea.

    16    Q      Does it appear to be a report that identifies testing that

    17    took place with your patient?

    18    A      It does, but I don't recall seeing this.

    19    Q      Okay.    Any doubt or question in your mind this was the

    20    report that you received as to Ms. Solmor?

    21    A      Well, I didn't order a sleep apnea report.

    22    Q      Okay.    All right.    Let me ask you this:        You don't often

    23    have patients wear monitors like this?

    24    A      Not a lot.

    25    Q      And in Ms. Solmor's case, did you have medical records to




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     1    review as far as her entire medical history to determine how

     2    many times she may have worn something like this?

     3    A      I had no medical records to review --

     4    Q      Okay.

     5    A      -- in that regard.

     6    Q      All right.     Is everything kept on a computer or you just

     7    don't have records that far back?

     8    A      I have records from May of 2013.

     9    Q      Okay.   Anything subsequent that you reviewed?

    10    A      Between 2013 and now?

    11    Q      Yes, ma'am.

    12    A      I looked at the cardiology report, and my notes basically

    13    on follow-up requesting that she sees a cardiologist.

    14           And I think I saw her recently for another physical.

    15    Q      All right.     And it was your understanding that the device

    16    would be worn overnight, correct?

    17    A      Yes.

    18    Q      So it would actually be two different days in which this

    19    device was being utilized?

    20    A      Well, she starts before she goes to sleep, and she wears

    21    it for 24 hours.

    22    Q      Okay.   There you go.

    23           So this particular device was ordered on the 28th, the

    24    date of service was on the 28th, so that would include the day

    25    it started, and it would have carried over into the 29th?




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     1    A      I assume so.

     2    Q      All right.     Now, at any point in time were you ever

     3    contacted by her insurance company as to the validity of this

     4    report or claim made by Holter Labs?

     5    A      I don't recall.

     6    Q      At any point in time, were you contacted by any insurance

     7    investigator regarding your billing in relation to this

     8    particular examination?

     9    A      I don't recall.

    10    Q      All right.

    11                  MR. MCDERMOTT:     Thank you, ma'am.       I have nothing

    12    further, sir.

    13                  MR. FREEDMAN:     Just a few questions, Your Honor.

    14                  THE COURT:    All right.

    15

    16                               REDIRECT EXAMINATION

    17    BY MR. FREEDMAN:

    18    Q      You mentioned sleep apnea in your report.            Do you know

    19    what sleep apnea is?

    20    A      Yes.

    21    Q      What kind of condition is it?

    22    A      It's a cessation of breathing while one is sleeping.

    23    Q      Would information about a heart beat or rate give you any

    24    information about sleep apnea?

    25    A      Not really.     Not that I can recall.




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     1            I know the heart rate decreases while sleeping.            There is

     2    bradycardia or decrease in heart beat.

     3            But for sleep apnea, I would request an overnight test

     4    with a pulmonologist, that I use in the area.

     5    Q       Would that require a Holter device -- go ahead.

     6    A       No.   It involves an EEG, oximeter, test oxygen.

     7            There are leads across the chest.         They are looking for

     8    restless legs.      There may be other parameters.

     9            But I order those through a sleep study lab, usually a

    10    pulmonary doctor, sometimes a neurologist.

    11    Q       You mentioned two terms in there that I didn't quite catch

    12    that.    I was going to ask you to explain.

    13            Do you recall what those were?        You mentioned a

    14    pulmonologist, and you would look at two factors?

    15    A       Well, the pulmonologist is a respiratory specialist.

    16    Q       So if a sleep apnea study was done through a pulmonologist

    17    would you only be measuring heart rate?

    18    A       No.

    19    Q       What else would be measured?

    20    A       You measure oxygen level, you measure time of offset to

    21    sleep, sleep latency period.

    22            You measure activity in terms of restless legs, motion.

    23    You measure EEG, brain wave patterns.

    24    Q       So, if you were doing an overnight EEG, how would you

    25    measure oxygen?




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     1    A      Well, it can be measured with an oximeter on the finger.

     2    Q      Any other ways?

     3    A      Well, you can directly measure the oxygen level of the

     4    blood by getting an t-o2 level.

     5    Q      How do you get a t-o2 level?

     6    A      T-o2 level -- that is a blood test, but usually it is an

     7    oximeter.

     8    Q      If you wanted to measure brain, as you mentioned, how

     9    would you measure?

    10    A      By using the electroencephalogram.

    11    Q      What would that consist of?

    12    A      It places leads over the skull and records the activity of

    13    the brain.

    14    Q      And did you ever order this for Ms. Solmor?

    15    A      No.

    16                 MR. FREEDMAN:      No further questions, Your Honor.

    17    Thank you.

    18                 THE COURT:     Anything else?

    19                 MR. MCDERMOTT:      No, sir.

    20                 THE COURT:     All right.     You may step down.       Thank

    21    you very much.

    22           Call your next witness.

    23                 MR. FREEDMAN:      Your Honor, the government calls

    24    Emily Russell.

    25                 THE COURTROOM DEPUTY:        Please raise your right hand.




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     1                           (Oath was administered.)

     2                  THE WITNESS:     I do.

     3

     4                                EMILY DAWN RUSSELL,

     5                having been duly sworn, testified as follows:

     6

     7                  THE COURTROOM DEPUTY:       Please be seated.

     8           Please state your full name and spell your last name for

     9    the record.

    10                  THE WITNESS:     Emily Dawn Russell.       R-u-s-s-e-l-l.

    11                  MR. FREEDMAN:     May I inquire?

    12                  THE COURT:    Yes.

    13

    14                                DIRECT EXAMINATION

    15    BY MR. FREEDMAN:

    16    Q      Where do you work?

    17    A      I work at Cigna Healthcare.

    18    Q      What does Cigna Healthcare do?

    19    A      Cigna Healthcare is an insurance company that does

    20    healthcare claims.

    21    Q      What kind of services does it provide?

    22    A      A variety of different services, but primarily they offer

    23    services where they administrate claim payments for medical

    24    claims that are submitted by providers.

    25    Q      And who does Cigna insure?




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     1    A      Lots of different people.

     2           It's a private insurer, so it can do companies,

     3    corporations, or they do individuals as well.

     4    Q      And are those people known as beneficiaries?

     5    A      Yes.

     6    Q      Do you have an idea of how many beneficiaries Cigna

     7    insures?

     8    A      I don't.    A lot.

     9    Q      Over a million?

    10    A      Over a million.

    11    Q      Over 10 million?

    12    A      I'm not sure about that.

    13    Q      How many providers does Cigna deal with?

    14    A      Probably over 100- 150,000 providers, if not more.

    15    Q      Where is Cigna headquartered?

    16    A      They are headquartered in Linfield, Connecticut.

    17    Q      They deal with beneficiaries all over the country?

    18    A      That's correct.

    19    Q      They deal with providers all over the country?

    20    A      That's correct.

    21    Q      What is your job at Cigna?

    22    A      I'm a compliance senior specialist.

    23           And that means I work with a group of people where we have

    24    intake projects where there has been a question from a provider

    25    or member about how their claims are processed and paid.




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     1            We look at those and determine whether the benefits were

     2    applied correctly.

     3    Q       How do providers submit claims to Cigna?

     4    A       They can submit claims either electronically or by snail

     5    mail, post office.

     6    Q       And then what does the process entail for them to get

     7    paid?

     8    A       In order for them to get paid or for claims to be

     9    processed, a claim goes through submission for eligibility.

    10            And what that means is we make sure that a client actually

    11    has insurance through Cigna.

    12            And then it goes to processing, where a lot of our claims

    13    are done through auto adjudication, meaning they are

    14    automatically processed via the system.

    15            If it goes through the automated process, then benefits

    16    are determined that way.

    17            Then it goes back out, and if the claims are processed and

    18    paid, then payment is issued out either via electronic or

    19    paper.

    20            Or if it goes to a person's deductible, then we send out

    21    something showing that that is where it went.

    22    Q       You used the term "auto adjudication."

    23            What does that mean exactly?

    24    A       It means where it's processed and either paid or denied or

    25    put to a person's deductible, via the system, meaning there is




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     1    no human intervention.

     2    Q      So is it routine for claims to be handled from start to

     3    finish, just by the computer?

     4    A      Yes.

     5    Q      How many claims does Cigna receive in a month?

     6    A      In a month, I would say between 25- to 30,000.

     7    Q      And how many of those are reviewed by a human being?

     8    A      I'm not sure monthly, but overall our auto adjudication

     9    process is about 90 percent of our business.

    10    Q      What kind of factors does the auto adjudication system

    11    look at to determine whether a human needs to look at it -- the

    12    claim?

    13    A      If a claim form has most of the information needed, then

    14    it can go through -- what I mean by that is if the boxes on a

    15    claim form -- if they are filled out completely, then typically

    16    it can go through the automated process.

    17           However, in the event that a claim has some kind of

    18    clinical claim review that requires medical personnel to look

    19    at it, then it can require human intervention.

    20           If there are missing components, let's say, an address is

    21    missing, then it will go out to a person because we don't want

    22    to deny a claim.      We want to have somebody try to find and

    23    match up that information, so that's another way that it can

    24    get kicked out to an actual person to review.

    25    Q      How does the system know what service is being billed for




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     1    in a claim?

     2    A      The system is loaded with CPT codes and diagnosis, and it

     3    goes off of that.

     4    Q      What is a CPT code?

     5    A      The code for services rendered.

     6    Q      When the providers send a claim with the CPT code, do they

     7    have to make any sort of representation to Cigna that those

     8    services were actually provided?

     9    A      Well, we go under the assumption that, you know, a

    10    provider, when they are submitting a claim for a member, that

    11    they actually provided those services.

    12    Q      Is the provider required to sign any documentation to

    13    corroborate that assumption?

    14    A      Yes.

    15    Q      Where do they sign?

    16    A      They can sign on the claim form.          But typically, if they

    17    have a contract with us, then they sign that way.

    18    Q      So, does Aetna deal with some providers with contracts?

    19    A      Aetna?

    20    Q      Sorry, I'm sorry, Cigna.

    21    A      Okay.    Yes, they do.

    22    Q      And Cigna also deals with providers without contract?

    23    A      That's correct.

    24    Q      So if you have a contract, you just sign once?

    25    A      To the best of my knowledge, yes.




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     1    Q      And if you don't have a contract, you have to sign each of

     2    the claims?

     3    A      To the best of my knowledge, yes.

     4    Q      Would Cigna pay for claims, if Cigna knew that the

     5    services had not been performed?

     6    A      No, we would not.

     7    Q      Okay.    I would like you to look at the binder in front of

     8    you, and turn to what has been marked as Exhibit 73.

     9    A      Okay.

    10    Q      Do you recognize this document?

    11    A      I do.

    12    Q      What is it?

    13    A      It's a CPS claim form.

    14                   MR. FREEDMAN:    Your Honor, we move to admit 73.

    15                   THE COURT:   It will be received.

    16           (Exhibit 73 received into evidence.)

    17    BY MR. MCDERMOTT:

    18    Q      So let's look at the first half of this document up here

    19    on the screen.

    20           What is the patient's name indicated?

    21    A      Stacey R. Foster.

    22    Q      So is that the beneficiary?

    23    A      In this case, it is, yes.

    24    Q      Okay.    And then if we can go back to the full document.

    25    And we will look down on the bottom half, okay.




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     1           So let's start at the bottom.

     2           What is that information?

     3    A      In Box 31, it's the signature of the physician that

     4    rendered the service.

     5           In Box 32, it lists the facility location.

     6           And then in Box 33, it lists the billing provider

     7    information.

     8    Q      Now you mentioned in the 31, you said physician.              Is this

     9    the physician or the provider?

    10    A      The provider of the services.

    11    Q      Okay.    And above the signature line, if you wouldn't mind,

    12    could you read that text?

    13    A      The tax ID number?

    14    Q      No.     The text -- the words on 31?

    15    A      "Signature of physician or supplier including degrees or

    16    credentials."

    17           And then it says, "I certify that the statements on the

    18    reverse apply to this bill and are made apart thereof."

    19    Q      And then does this appear to be signed by a provider?

    20    A      It does.

    21    Q      Who signed it, who does it appear to be?

    22    A      M. Mirando.

    23    Q      Okay.    And then the facility and the provider, if you

    24    could just read that name for us?

    25    A      Holter Labs, LLC.




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     1    Q      As far as you know, did Holter Labs have a contract with

     2    Cigna?

     3    A      To the best of my knowledge, no.

     4    Q      Now, looking up above, there are some dates here.

     5           So what are we looking at here?

     6    A      We're looking at the date of service that the services

     7    were rendered, where the services were rendered, what types of

     8    services were provided, which diagnosis are related to those

     9    services, and then how much was charged for each service.

    10    Q      Okay.   The CPT code is just a number, right?

    11    A      That's correct.

    12    Q      So how does Cigna know what those codes correspond to?

    13    A      We actually have a system that we utilize that tells us

    14    what the CPT codes are, and we can look at that if we need

    15    clarification on that.

    16    Q      If could you turn to page 3 here.

    17           Does the provider ever provide a description of services?

    18    A      Yes, they do.

    19    Q      Is that what we're looking at here?

    20    A      Yes, it is.

    21    Q      Who provided this description of services?

    22    A      The submitter of this claim.

    23    Q      Can you see down at the bottom who the submitter is?

    24    A      Holter Labs.

    25    Q      And then I'm not going to go through each of these codes




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     1    here, but do the CPT codes listed here with descriptions

     2    following them, do those codes correspond to the ones we were

     3    looking at on the claim form?

     4    A      Yes.

     5    Q      Now, let's look at the second page here.

     6           Is this also a document that the provider would have

     7    submitted?

     8    A      Yes, it is.

     9    Q      And what does that document appear to be?

    10    A      It's an order form.       It is showing, you know, who

    11    recommended that this service be provided.

    12    Q      And does it show the date of service?

    13           Can you zoom in on the middle, Holter monitor?

    14    A      8/10/2011.

    15    Q      That is consistent with the first page where the CPT codes

    16    are claimed?

    17    A      That's correct.

    18    Q      Same date of service?

    19    A      Yes.

    20    Q      Is it typical for the providers to provide documentation

    21    like this?

    22    A      They can.    It's up to them.

    23    Q      Does Cigna require it?

    24    A      Not necessarily.

    25    Q      Let's turn to Exhibit 74 in your binder.




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     1           Do you recognize this document?

     2    A      Yes.

     3    Q      What is this?

     4    A      It's a claim form as well.

     5    Q      Okay.

     6                   MR. FREEDMAN:    Your Honor, the government moves to

     7    admit Exhibit 74.

     8                   THE COURT:   It will be received.

     9           (Exhibit 74 received into evidence.)

    10    BY MR. MCDERMOTT:

    11    Q      Now, if we can look at the bottom again here.

    12           Is this the same provider?

    13    A      Yes, it is.

    14    Q      What provider is that?

    15    A      M. Mirando, Holter Labs.

    16    Q      It's signed again?

    17    A      Yes.

    18    Q      With the same certification?

    19    A      Yes.

    20    Q      Okay.    Let's look at the CPT codes now.

    21           So what is the date of service here?

    22    A      8/11/2037.

    23    Q      Then there is one CPT code.

    24           So we'll look at that and compare it to page 2, 93271.               We

    25    can look at the second page.




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     1           Do you see what that is?

     2    A      I do.

     3    Q      What is it?

     4    A      It says heart monitoring receipt of transmission, and

     5    analysis with corresponding report.

     6    Q      Okay.    Now, this document, besides the yellow exhibit tab,

     7    how many pages does it have?

     8    A      Two.

     9    Q      Is there an order form contained with this claim?

    10    A      Repeat the question, I'm sorry.

    11    Q      Is there an order form contained with this claim?

    12    A      Not that I see.

    13    Q      Okay.    Let's look at Exhibit 75.

    14           Do you recognize this document?

    15    A      Yes.

    16    Q      What is it?

    17    A      It's a claim form as well.

    18                   MR. FREEDMAN:    Your Honor, the government moves to

    19    admit Exhibit 75.

    20                   THE COURT:   It will be received.

    21           (Exhibit 75 received into evidence.)

    22    BY MR. MCDERMOTT:

    23    Q      So same question again at the bottom, is this the provider

    24    information?

    25    A      It is.




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     1    Q      And the certification is signed again?

     2    A      That's correct.

     3    Q      Okay.   Let's look at the CPT codes billed here.

     4           What date was this claimed for?

     5    A      8/18/2011.

     6    Q      How many CPT codes were claimed this time?

     7    A      There are three.

     8    Q      Okay.   Does the -- is there a dollar amount associated

     9    with each of these CPT codes?

    10    A      Yes, there is.

    11    Q      Who sets that dollar amount for the claim?

    12    A      The provider.

    13    Q      Okay.   Now, let's look at just one of these, for example.

    14           If you look at 95827, and then is there a glossary with

    15    this document again?

    16    A      Yes, there is.

    17    Q      And does the glossary explain what 95827 is?

    18    A      It does.

    19    Q      What does it claim?

    20    A      It says "sleep study simultaneously recording of

    21    ventilation, respiratory effort, ECG, or heart rate, and oxygen

    22    saturation, unattended by a technologist."

    23    Q      Is there an order form for this claim?

    24    A      No, there is not.

    25    Q      Okay.   Let's now look at Exhibit 76.




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     1           Do you recognize this document?

     2    A      Yes.   This is a claim form.

     3                  MR. FREEDMAN:     Your Honor, the government moves to

     4    admit Exhibit 76.

     5                  THE COURT:    It will be received.

     6           (Exhibit 76 received into evidence.)

     7    BY MR. FREEDMAN:

     8    Q      Let's look at the bottom again.

     9           Is this the same provider?

    10    A      Yes, it is.

    11    Q      Is the certification signed again?

    12    A      Yes.

    13    Q      Let's look again at the CPT code.

    14           What is the date of service?

    15    A      8/24/2011.

    16    Q      How many CPT codes claimed?

    17    A      There are three.

    18    Q      Again, the dollar amount provided by the provider?

    19    A      That's correct.

    20    Q      So let's look here at 923025, and we will look at two

    21    pages ahead.

    22           Does the glossary provided by the provider, Holter Labs,

    23    define 93025?

    24    A      It does.

    25    Q      What does it define it as?




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     1    A      Microvolt T-wave Alternans for assessment of ventricular

     2    arrhthymias.

     3    Q      Let's go back one page.        First, let me ask, is there an

     4    order form contained with this document?

     5    A      No, there is not.

     6    Q      Is there some other correspondence?

     7    A      Yes, there is.

     8    Q      Who is this correspondence from?

     9    A      Holter Labs.

    10    Q      That is the provider?

    11    A      Yes.

    12    Q      And what does this correspondence appear to relate to?

    13    A      It looks like a letter letting us know that they have

    14    changed their billing mailing address.

    15    Q      Okay.   What is the new billing address?

    16    A      Holter Labs, LLC, P.O. Box 25408, Portland, Oregon, 97298.

    17    Q      Who signed this letter?

    18    A      Michael Mirando.

    19    Q      Is there a title listed under that?

    20    A      Senior Partner, Holter Labs, LLC.

    21    Q      Okay.   Assuming that there is no human review, does Cigna

    22    typically pay these claims in a timely fashion?

    23    A      They would, yes.

    24    Q      Does it pay the full amount that the provider claims?

    25    A      It pays, based on whatever the member's benefits are.




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     1    Q      Okay.    What kind of records does Cigna keep regarding

     2    claims and payments?

     3    A      We keep all information in our system for ten years.

     4           So it would maintain the record of correspondence received

     5    via paper or electronic.

     6    Q      And is it just the actual claim or is there a database?

     7    A      There is a database.

     8    Q      What kind of information does that database contain?

     9    A      The claim forms correspondence, or any kind of history and

    10    physical information that has been requested and received.

    11           So anything we have received.

    12    Q      Does it also include the amount claimed?

    13    A      Yes, on the claims.

    14    Q      And the amount paid?

    15    A      In a separate system, yes.

    16    Q      Okay.    Let's look at Exhibit 78 in your binder.

    17           Do you recognize this document?

    18    A      I do.

    19    Q      What is it?

    20    A      It is a document that shows our system and gives a

    21    printout of the claim, according to how it shows in our system.

    22    Q      So, is this a printout from your system?

    23    A      It is.

    24    Q      Okay.    And which beneficiary does it relate to?

    25    A      Stacey Foster.




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     1                   MR. FREEDMAN:    Your Honor, the government moves to

     2    admit Exhibit 78.

     3                   THE COURT:   It will be received.

     4           (Exhibit 78 received into evidence.)

     5    BY MR. FREEDMAN:

     6    Q      If I can show it to you.        I will just ask you about it.

     7           So looking at this document, what dates does it list for

     8    services claimed?

     9    A      8/10/2011, 8/11/2011, 8/18/2011, and 8/24/2011.

    10    Q      Does it list the CPT code that was claimed that we were

    11    looking at the other claim?

    12    A      It does.

    13    Q      Does it also list the description of the service provided?

    14    A      It does.

    15    Q      Okay.    Could you read down that list of those

    16    descriptions?

    17    A      Microvolt T-wave assessment, ECG monitor/report, 24 hours,

    18    night electroencephalogram, ECG monitor/report, 24 hours, night

    19    electroencephalogram, automatic nervous function test, ECG

    20    monitoring and analysis, ECG monitor report 24 hours,

    21    cardiovascular procedure, and night electroencephalogram.

    22    Q      Then we looked at that amount.         Is the charge amount the

    23    same as the amount claimed on those claim forms we were looking

    24    at?

    25    A      Yes.




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     1    Q      And now there is a paid amount.

     2           What does that column reflect?

     3    A      It's the amount that we paid on the particular services.

     4    Q      Okay.    And then where the check number is indicated, what

     5    does that indicate?

     6    A      It indicates the check number that the payments were made

     7    on.

     8    Q      Okay.    So this database record reflects that Cigna made

     9    these payments?

    10    A      That's correct.

    11    Q      Okay.    Would Cigna have made these payments if it had

    12    known that the services listed here were not performed?

    13    A      No, they would not have.

    14                   MR. FREEDMAN:    No further questions, Your Honor.

    15                   THE COURT:   Thank you.

    16           All right.     Mr. McDermott?

    17                   I'm sorry, on that last document.         That we were

    18    looking at.

    19

    20                                 CROSS-EXAMINATION

    21    BY MR. MCDERMOTT:

    22    Q      I'm sorry, on that last document that we were looking at.

    23    Ma'am, I noticed you testified that a computer handles all of

    24    the billing?

    25    A      I'm not sure of the question.




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     1    Q      All right.     Well, let's go to Number 78, the last one you

     2    looked at, please.

     3    A      Okay.

     4    Q      So if somebody wore an Holter device on the 10th of August

     5    2011, and it generated a report and was worn for 24 hours, why

     6    wouldn't Cigna pay on that?

     7    A      They would.

     8    Q      Well, according to Exhibit 77, it was billed for $100, but

     9    there was no payment made.

    10           Why is that?

    11    A      Are you looking at date of service 8/10/2011?

    12    Q      Yes, ma'am.

    13    A      For this particular service date, all of those charges

    14    went towards the patient's deductible.

    15    Q      So in this particular situation, the patient didn't

    16    received a bill from Holter Labs?

    17    A      I can't speak to that.

    18    Q      Okay.   So this is reflecting billing on the 11th of August

    19    and the 18th of August, then the deductible had been paid?

    20    A      I'm saying that for that particular date of service,

    21    8/10/2011, those particular charges were subjected to the

    22    individual's deductible.

    23    Q      How would we know that for sure?

    24    A      It would show on an EOP that the provider would receive

    25    and that's an explanation of payment.




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     1    Q       Okay.   Have you had a chance to look at that document?

     2    A       The EOP?

     3    Q       For this particular claim?

     4    A       I have not.

     5    Q       All right.    So do you know that that document exists?             Is

     6    it somewhere in the system?

     7    A       I don't know that it exists, but it should.

     8    Q       It should.

     9            In preparation of your testimony here today, did you have

    10    a chance to take a look at that?

    11    A       I did not look at the EOPs.

    12    Q       Now I'm just kind of curious, are you familiar with how

    13    someone actually gets into the Cigna system as a provider?

    14    A       Yes.

    15    Q       Can you tell the jury, at least as to how Cigna does it,

    16    how a provider gets into the system so they can get paid?

    17    A       Okay.   If they are a contracted provider then they meet

    18    with different people within Cigna, usually our sales team, and

    19    they sign a contract agreeing to certain rates for charges and

    20    then they are input into the system with whatever tax ID number

    21    or multiple tax ID numbers that are agreed upon.

    22            And then it's set up that way.

    23            If they are out-of-network providers, then typically they

    24    get input into the system when we receive our first claim from

    25    them.




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     1    Q      All right.     Now does Cigna make any effort to determine

     2    for -- in this particular case -- Holter Labs, they were not a

     3    contracted provider, correct?

     4    A      Correct.

     5    Q      Does Cigna take any steps to confirm prior to payment what

     6    that provider is able to do and what they are not able to do?

     7    A      Just based on their credential, no.

     8    Q      How do you ensure when somebody submits a request to be

     9    paid on a procedure or a device, that in fact they are capable

    10    of doing that?

    11    A      What we do is, based on who they are and the services that

    12    they are rendering, we go on the fact that they are not going

    13    to submit claims in which services weren't rendered.

    14    Q      All right.     Do you in fact, on an individual basis, or

    15    does your company actually investigate individual

    16    non-contracted providers?

    17    A      Not on a normal basis, no.

    18    Q      So, what your company kind of relies upon then is a

    19    computer system to highlight or pinpoint problem billing taking

    20    place?

    21    A      What the computer system looks at is whether the person

    22    has eligibility, if those services are something that are

    23    covered under that individual's plan, and does it meet -- if

    24    the claim form is completed to allow it to go through the

    25    system automatically, then it will.




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     1    Q      Just out of curiosity then, is there any effort by your

     2    company to match up a physician's request for payment with a

     3    provider's request for payment?

     4    A      I'm not sure I follow the question.

     5    Q      Let me back it down this way.

     6           A doctor orders a device to be worn.

     7    A      Uh-huh.

     8    Q      And in that process, they apparently spend some time with

     9    the patient, and they would bill Cigna, true?

    10    A      True.

    11    Q      Okay.   Then that device is then provided and worn by the

    12    patient and that person then bills -- that company then bills

    13    the insurance company, true?

    14    A      True.

    15    Q      Is there any effort with this computer system that you got

    16    to marry the two together?

    17    A      If they are done on the same date of service, yes, it

    18    would look at both of them.

    19    Q      Okay.   Is there anything in the system that tells -- would

    20    tell you or tell a human that if that doesn't match that there

    21    should be something looked at?

    22    A      Yes.

    23    Q      And what process is that called?

    24    A      It's just a review process.

    25    Q      To your understanding, ma'am, at any point in time, has




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     1    your company done a review process on Holter Labs?

     2    A       Not to my knowledge.

     3    Q       Okay.   I know the government had you read some documents

     4    and it had on the claim form 1500 Holter Labs.

     5            Is there anything in your system that allows you to

     6    compare signatures with the provider that is being asked to be

     7    paid?

     8    A       No.

     9    Q       All right.    So I take it, then, when you get an

    10    application for payment, has a name on there, and it has some

    11    sort of writing on it, you are assuming that that particular

    12    individual signed that document, correct?

    13    A       That's correct.

    14    Q       And when you receive payment requests from doctors, the

    15    same process is supposed to take place.

    16            The doctors are supposed to sign those documents in order

    17    to get paid from Cigna, correct?

    18    A       That's correct.

    19    Q       Do you ever accept automatic or automated signatures?

    20    A       We accept electronic claim forms, yes.

    21    Q       All right.    So if in fact someone was making claims on

    22    dates that didn't correspond with what the doctor said the

    23    service was conducted, that would trigger some kind of review

    24    by a human?

    25    A       I don't follow your question.




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     1    Q      I will break it down again.

     2    A      Okay.

     3    Q      The doctor sees the patient and makes a request for a

     4    Holter device to be used.        A Holter device is used.

     5           If the dates don't match, does that draw in a human to

     6    take a look at what is going on?

     7    A      I'm still not sure of your question.

     8                   THE COURT:   Vague.

     9    BY MR. MCDERMOTT:

    10    Q      All right.     Let me do this way.

    11    A      Okay.

    12    Q      Obviously, you receive billings from doctors, correct?

    13    A      Yes.

    14    Q      You receive billing from device providers, correct?

    15    A      Correct.

    16    Q      Is there an attempt to match the two together?

    17                   THE COURT:   That's been asked and answered, counsel.

    18                   MR. MCDERMOTT:    All right.     Thank you.     I have

    19    nothing further.

    20                   MR. FREEDMAN:    No further questions, Your Honor.

    21                   THE COURT:   All right.     You may step down.

    22           Call your next witness.

    23                   MR. FREEDMAN:    Your Honor, the government calls

    24    Robyn Consiglio.

    25                   THE COURTROOM DEPUTY:      Raise your right hand.




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     1                           (Oath was administered.)

     2                 THE WITNESS:      I do.

     3

     4                            ROBYN MICHELLE CONSIGLIO,

     5                having been duly sworn, testified as follows:

     6

     7                 THE COURTROOM DEPUTY:        Please be seated.       Please

     8    state your full name and spell your last name for the record.

     9                 THE WITNESS:      Robyn Michelle Consiglio.        C-o-n-s-i-.

    10                 MR. FREEDMAN:      Your Honor, may I inquire?

    11                 THE COURT:     Yes.

    12

    13                                DIRECT EXAMINATION

    14    BY MR. FREEDMAN:

    15    Q      Where do you work?

    16    A      I work for Aetna Insurance.

    17    Q      Where is Aetna based?

    18    A      I work out the Jacksonville, Florida office.             It's based

    19    out of Connecticut.

    20    Q      Does it have insured beneficiaries all over the country?

    21    A      Yes, it does.

    22    Q      Approximately how many?

    23    A      In the millions.

    24    Q      How many providers, roughly, does Aetna deal with?

    25    A      That would also probably be in the millions.




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     1    Q      Does Aetna have contracts with all of its providers?

     2    A      No.

     3    Q      Does it accept claims from some providers it doesn't have

     4    contracts with?

     5    A      Yes, it does.

     6    Q      What's your job title?

     7    A      It's a project lead.       It is a claim reporting of special

     8    services consultant.

     9    Q      What does that entail?

    10    A      I work in the claims rework unit, and we review claims

    11    that have already been handled once previously or as many times

    12    as necessary to look at them for any reasons that they were not

    13    handled correctly, we will rework those claims and pay them so

    14    they are done right.

    15    Q      Are they handled first by an auto-adjudicated system?

    16    A      They can be auto-adjudicated or they can be previously

    17    handled by a processor.

    18    Q      How do providers submit claims to Aetna?

    19    A      They can either submit them electronically or if they do

    20    submit paper claims on the 1500 forms, those will go to

    21    centralized mailbox where they are then filmed and then loaded

    22    into the electronic database so the processor receives

    23    everything on the system.

    24    Q      How many claims, roughly, does Aetna receive in a month?

    25    A      That would also be in the millions, probably at least 5




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     1    million.

     2    Q      And approximately what percentage or what number of those

     3    are subject to further review?

     4    A      Well, very few.      80 percent of our claims are

     5    auto-adjudicated so no one has even looked at them.

     6           Then the remaining claims that come through don't

     7    necessarily need to be reviewed by anywhere else, the processor

     8    can just handle it.

     9           There is probably very few instances where it has to go on

    10    to further review.

    11    Q      Does Aetna rely on the CPT codes that providers provide?

    12    A      Yes, it does.

    13    Q      Does Aetna require the providers to provide a signature,

    14    attesting that the services have actually been provided?

    15    A      The form should have the signature on there.             If it is not

    16    there, the provider's name is on the bill, then it can go

    17    through and get processed.         But they are looking for it to be

    18    there.

    19    Q      Would Aetna pay for claims that were submitted if Aetna

    20    knew that those services hadn't been performed?

    21    A      No.

    22    Q      Could you look at the binder in front of you what has been

    23    marked as Exhibit 59?

    24    A      The large one?

    25    Q      Yes.




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     1    A      Okay.

     2    Q      Then look at the document behind that tab.

     3    A      The first one?

     4    Q      Yeah, Tab 59.

     5    A      59, okay.

     6    Q      Do you recognize this document?

     7    A      Yes.

     8    Q      What is it?

     9    A      It's a HIPPA 1500 form that the provider would fill out.

    10                   MR. FREEDMAN:    Your Honor, the government moves to

    11    admit Exhibit 59.

    12                   THE COURT:   It will be received.

    13           (Exhibit 59 received into evidence.)

    14    BY MR. FREEDMAN:

    15    Q      Who is the beneficiary on this form?

    16    A      The member is Lisa Solmor.

    17    Q      Who is the provider?

    18    A      Holter Labs, Incorporated.

    19    Q      Has someone signed on behalf of Holter Labs?

    20    A      Yes, Dr. Mirando.

    21    Q      What is the purpose of the signature?

    22    A      To show that this doctor performed the procedures.

    23    Q      Okay.    Let's look at the dates and the CPT codes.

    24           I'm sorry, let's look above at the MD name in the middle.

    25           Is this a doctor?




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     1    A      Ruby Simpkins.

     2    Q      Yes.

     3    A      That would be the referring doctor.

     4    Q      Okay.    So the bottom part, is that -- is the provider

     5    always a doctor or could it be a non-doctor company?

     6    A      That signed it?

     7    Q      Right.

     8    A      It could be a non-doctor.

     9    Q      Okay.    Let's look at the CPT codes.

    10           So what is the date of service here?

    11    A      5/29/2013.

    12    Q      Are these -- the numbers here, the CPT codes?

    13    A      Yep, the five-digit number.

    14    Q      If we look at page 2, did the provider provide a glossary

    15    of what those CPT codes are in reference to?

    16    A      Yes, it did.

    17    Q      Let's now look at what has been marked as Exhibit 60.

    18           Do you recognize that document?

    19    A      Yes.

    20    Q      What is it?

    21    A      It's a 1500 form as well.

    22                   MR. FREEDMAN:    Your Honor, the government moves to

    23    admit Exhibit 60.

    24                   THE COURT:   It will be received.

    25           (Exhibit 60 received into evidence.)




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     1    BY MR. FREEDMAN:

     2    Q      So information on this form?

     3    A      Yes.

     4    Q      Same beneficiary?

     5    A      Yes.

     6    Q      Same provider?

     7    A      Yes.

     8    Q      Signed again?

     9    A      Yes.

    10    Q      Okay.    And then let's zoom in on the date.

    11           Is this for a different date of service?

    12    A      Yes.    It says May 30th.

    13    Q      Different CPT codes?

    14    A      Yes.

    15    Q      And then is there a glossary again with this one that

    16    indicates what those codes are?

    17    A      Yes, there is.

    18    Q      The glossary is provided by the provider?

    19    A      Yes.

    20    Q      Okay.    Assuming that no further review is conducted after

    21    the auto-adjudication, does Aetna pay out on the claims?

    22    A      Yes.    Assuming everything was fine and everything was fine

    23    with the member, it would pay out.

    24           It just depends on the plan of benefits, whether

    25    everything could have gone to the deductible.




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     1           So it's all individually based.

     2    Q      Does Aetna pay the full amount that the provider claims?

     3    A      Not necessarily.      It depends on what they bill and whether

     4    -- how the plan administers.         It's going to apply the plan's

     5    benefits, do they follow reasonable and customary; do they

     6    allow certain percentages of Medicare rates.

     7    Q      You mentioned before that these claims make their way into

     8    a database.

     9           Could you take a look at what has been marked as

    10    Exhibit 63?

    11           Do you recognize this document?

    12    A      This looks like a report pulled.

    13    Q      Pulled from the database?

    14    A      Yes.

    15                  MR. FREEDMAN:     Your Honor, the government moves to

    16    admit Exhibit 63.

    17                  THE COURT:    It will be received.

    18           (Exhibit 63 received into evidence.)

    19    BY MR. FREEDMAN:

    20    Q      Let's put it up on the screen.         Yeah, 63.

    21           Can you read for the jury -- since the document is not

    22    coming up -- can you read the dates of service here that are

    23    claimed?

    24    A      The dates of service are 5/29/2013, and 5/30/2013.

    25    Q      Is that consistent with the claim forms we were just




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     1    looking at?

     2    A      Yes.

     3    Q      Now, does this form have an addition -- does it have the

     4    CPT codes from those claim forms?

     5    A      Yes, it does.

     6    Q      Does it also have the text of the codes that were claimed?

     7    A      Yes.

     8    Q      Does Aetna rely only on the glossary provided or does it

     9    also have a way of checking what those codes mean?

    10    A      We have a database that we can go if they want to check to

    11    see what the CPT codes means, they can go to a database and

    12    look it up.

    13    Q      So the codes we're looking at here, I won't make you read

    14    through all of them, but those are the services that were

    15    claimed by this provider?

    16    A      Yes.

    17    Q      Okay.   And then the billed amount, is that the same number

    18    we saw on the claim of what the provider was claiming?

    19    A      Yes.

    20    Q      Okay.   And now this shows a paid amount.

    21           Is that the amount that Aetna paid on these claims?

    22    A      Yes.

    23    Q      And then the provider name, is that the same name that we

    24    saw on the other forms of the provider?

    25    A      Yes.




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     1    Q      Can you read that name?

     2    A      Michael J. Mirando.

     3    Q      And then the check number, does that correspond to a check

     4    that Aetna paid?

     5    A      Yes.

     6    Q      Would Aetna have paid those checks if it had known that

     7    these services described here had not been performed?

     8    A      No, it wouldn't.

     9    Q      Okay.

    10                   MR. FREEDMAN:    No further questions.

    11                   MR. MCDERMOTT:    May I, sir?

    12                   THE COURT:   Yes.

    13

    14                                 CROSS-EXAMINATION

    15    BY MR. MCDERMOTT:

    16    Q      Ma'am, are you familiar with the process in which a

    17    non-contracted provider can actually get paid by your system?

    18    A      Yes.

    19    Q      And is there some kind of application process that they

    20    have to go through in order to get recognized by your system

    21    and paid?

    22    A      Well, they are in our provider database.            All providers

    23    are listed in there.

    24           If it's a provider we don't have on file on, the processor

    25    would send it over to have them added.




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     1    Q       Okay.   And does the processor require the provider to fill

     2    out some background information, anything of that nature?

     3    A       No.   The processor doesn't request that.

     4    Q       All right.    Does anybody in your company require that?

     5    A       That would -- provider data service, that would be their

     6    area.

     7            If there was anything they needed from the provider, they

     8    would handle that information.

     9    Q       Does your company make the effort to make sure a provider

    10    who is claiming to do something in particular actually has the

    11    ability to do that?

    12    A       It's not my area, but provider data services is going to

    13    make sure the provider is accredited.

    14    Q       All right.    At some point in time, when a provider such as

    15    in this case, submits a bill, does the automated system

    16    actually check to see that when somebody says we're offering a

    17    bill on Holter devices, that it can do the codes that it's

    18    trying to get paid on?

    19    A       No, it wouldn't.

    20    Q       Okay.   Where does that come in the process?

    21            Is there anybody inside of Aetna that actually compares

    22    CPT codes with what a device can actually do?

    23    A       I'm not sure I follow that question.

    24    Q       Okay.   You receive a bill from a provider, and it has a

    25    CPT code on it.




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     1           Is there any effort made to confirm that that CPT code is

     2    something that that provider can do?

     3    A      Depending on who is billing.

     4           If it's a medical doctor billing that service, then --

     5    Q      Right.

     6    A      -- no, it wouldn't.

     7           If a durable medical supply company was billing for an

     8    office visit, then yes.

     9    Q      Okay.    For a device provider like a Holter Labs, is there

    10    some process that the first claim submitted to Aetna has to go

    11    through in order to confirm that Holter Labs can bill for what

    12    the CPT codes are in the paperwork?

    13                   MR. FREEDMAN:    Objection.     Vague.

    14                   MR. MCDERMOTT:    I will break it down.        I will back

    15    out.

    16                   THE COURT:   Okay.

    17    BY MR. MCDERMOTT:

    18    Q      The first time an independent provider -- non-contracted

    19    provider submits a bill, is there any effort to determine that

    20    provider and their CPT codes are something that they can do?

    21    A      No.

    22    Q      Okay.    So when something like Holter Labs submits a bill

    23    for the very first time, it's just accepted as to what is on

    24    the paperwork that they can actually do that CPT code?

    25    A      That is correct.




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     1            We assume the provider is billing for the proper

     2    procedures.

     3    Q       Is there any effort at any point in time to confirm that,

     4    to make sure you are not paying on something you shouldn't be

     5    paying on?

     6    A       If there is any situation in something like that, if there

     7    are bills submitted in, a processor may come across a bill or

     8    look in the history and something triggers them that they think

     9    maybe this should be investigated more, they would send it

    10    over.

    11            They may even still pay the claim, but then send it over

    12    to the special investigations unit area for further review,

    13    just to make sure everything is good.

    14            But they are going to pay the bill originally.

    15    Q       All right.    In anticipation of your testimony here today,

    16    were you asked to investigate Holter Labs' billings with Aetna?

    17    A       Me personally?

    18    Q       Yes, ma'am?

    19    A       No.

    20    Q       So you were only asked to take a look at this particular

    21    report and this particular payment?

    22    A       Yes.

    23    Q       All right.    Are you familiar with whether or not this

    24    particular payment file had a request for reconsideration of

    25    services?




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     1    A      I am not aware of that, no.

     2    Q      Okay.    Are you at all familiar with the reconsideration of

     3    services at Aetna?

     4    A      Yeah, I'm familiar with it.

     5    Q      All right.     So if a provider doesn't get paid and there is

     6    an issue or question about why they didn't get paid, there is a

     7    process that they can go through?

     8    A      Yes.

     9    Q      And this process -- do you know as you sit here today --

    10    whether or not this process was attempted on the Solmor file?

    11    A      No, I don't know.

    12                   MR. MCDERMOTT:    Just a second here, please.

    13           May I, Your Honor, just have a second.

    14           Excuse me, Your Honor.

    15           Thank you, sir.      I have nothing further.

    16                   THE COURT:   Anything else?

    17                   MR. FREEDMAN:    Nothing further, Your Honor.         Thank

    18    you.

    19                   THE COURT:   All right.     You may step down.

    20           Call your next witness.

    21                   MR. FREEDMAN:    Your Honor, the government calls

    22    Stanton Crowley.

    23                   THE COURTROOM DEPUTY:      Please stand before me.

    24    Raise your right hand.

    25                           (Oath was administered.)




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     1                   THE WITNESS:    Yes.   Yes.

     2

     3                              STANTON ROSS CROWLEY,

     4                  having been duly sworn, testified as follows:

     5

     6                   THE COURTROOM DEPUTY:      Please be seated.       Please

     7    state your full name and spell your last name for the record.

     8                   THE WITNESS:    Stanton Ross Crowley.       C-r-o-w-l-e-y.

     9

    10                                DIRECT EXAMINATION

    11    BY MR. FREEDMAN:

    12    Q      Where do you live?

    13    A      I live in Santa Ana.

    14    Q      Where do you work?

    15    A      Dana Point.

    16    Q      What company do you work at?

    17    A      Specialized Medical.

    18    Q      What kind of company is that?

    19    A      It's a Holter telemetry monitoring company.

    20    Q      Did you used to work at Holter Labs?

    21    A      Yes.

    22    Q      When did you work at Holter Labs?

    23    A      2005 to 2012.

    24    Q      How long have you worked within the Holter device

    25    industry?




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     1    A       Probably since 1998.

     2    Q       What kind of work do you do with respect to Holter

     3    devices?

     4    A       I read the Holter monitor, the device, the information on

     5    that.

     6            I read the reports and produce the report for the doctor.

     7    Q       How do you produce that report?

     8    A       The doctor would hook it up to a patient.           He would upload

     9    it -- the information after 24 to 48 hours.

    10            I would download it, put it into the program, and go

    11    through the information and produce the report.

    12    Q       Is that report process different from the billing process?

    13    A       Yes.

    14    Q       Do you -- in your time working in the Holter industry,

    15    have you handled billing?

    16    A       No.

    17    Q       Have you handled -- so at all of the companies you have

    18    worked at, you have handled coding?

    19    A       I have handled --

    20    Q       I'm sorry, you have handled the reports?

    21    A       Yes.

    22    Q       Who handled the coding at Holter Labs?

    23    A       Michael Mirando.

    24    Q       How -- was Michael Mirando an employee of Holter Labs?

    25    A       He was the owner.




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     1    Q      Were there any other owners?

     2    A      No.     There was Jim Cast was a temporary owner, but he

     3    never was put on the papers.

     4    Q      Were you an owner of Holter Labs?

     5    A      Yes.

     6    Q      Okay.    Did Holter Labs already exist when you began

     7    working for it in 2005?

     8    A      No.

     9    Q      Did you form Holter Labs?

    10    A      Yes, with Mike.

    11    Q      And when you say Mike, who do you mean?

    12    A      Mike Mirando.

    13    Q      How did you and Mike Mirando come to form Holter Labs?

    14    A      We came to form Holter Labs by a previous company that I

    15    had, and basically he became a partner.

    16    Q      Who became a partner?

    17    A      Mike became a partner.

    18           We changed it.     It was Nationwide Holter Labs, so we

    19    changed it to Holter Labs and made it that company.

    20    Q      Did you already know Michael Mirando?

    21    A      Yes.

    22    Q      How did you know him?

    23    A      He was a neighbor.

    24    Q      So you know what he looks like?

    25    A      Yes.




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     1    Q      Would you recognize him again if you saw him today?

     2    A      Yes.

     3    Q      Do you see him in the courtroom today?

     4    A      Yes.

     5    Q      Could you identify him based on where he is sitting and an

     6    item of clothing he is wearing, please?

     7    A      He is the young man in the blue shirt to the left.

     8    Q      Sitting where?

     9    A      Sitting to the left of you.

    10                  MR. FREEDMAN:     Your Honor, may the record reflect

    11    the witness has identified the defendant?

    12                  THE COURT:    The record will so reflect.

    13                  MR. FREEDMAN:     Thank you.

    14    BY MR. FREEDMAN:

    15    Q      When you formed Holter Labs with Michael Mirando, did the

    16    two of you have an agreement as to who was going to handle what

    17    part of the company's operations?

    18    A      Yes.

    19    Q      What was that agreement?

    20    A      The agreement was that I would handle interpreting the

    21    information for the reports for the doctors, and he would do

    22    the marketing/billing.

    23    Q      Why did you arrive at that agreement?

    24    A      My experience is only with doing the scanning or the

    25    reports.




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     1    Q      Did the defendant have any experience with billing?

     2    A      No.

     3    Q      Why was he going to handle the billing and the marketing?

     4    A      Because at the time Jim Cast was there, he came in to help

     5    him do that.

     6    Q      Okay.   Now, did Jim Cast remain in the business?

     7    A      No, he did not.

     8    Q      When did he leave the business?

     9    A      Around 2006, early.

    10    Q      Sorry, go ahead.

    11    A      Around 2006.

    12    Q      So the business started in 2005?

    13    A      Yes.

    14    Q      And Jim Cast left in 2006?

    15    A      Something like that, yes.

    16    Q      And you worked there until 2012?

    17    A      Yes.

    18    Q      So from the period of 2006 to 2012, who handled the

    19    billing?

    20    A      Mike Mirando.

    21    Q      Did you handle the billing?

    22    A      No.

    23    Q      Okay.   You mentioned marketing as well.

    24           What did the marketing process entail?

    25    A      The marketing process was getting mailing lists and




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     1    sending out fliers to physicians.

     2    Q      When you say "he," who do you mean?

     3    A      Mike Mirando.

     4    Q      Okay.    Could you take a look at what has been marked as

     5    Exhibit 14 in the binder in front of you?

     6    A      Okay.

     7    Q      Do you recognize that document?

     8    A      Yes.

     9    Q      What is it?

    10    A      It looks like a screen shot of the website.

    11    Q      Which website?

    12    A      Holter Labs.

    13                   MR. FREEDMAN:    Your Honor, the government moves to

    14    admit Exhibit 14.

    15                   THE COURT:   It may be received.

    16           (Exhibit 14 received into evidence.)

    17    BY MR. FREEDMAN:

    18    Q      So, who created this?

    19    A      Mirando created this.

    20    Q      And is this one of the ads that was sent to doctors?

    21    A      Yes.

    22    Q      Okay.    What kind of services does this advertise to

    23    doctors?

    24    A      This service is Holter monitoring and sleep apnea

    25    screening.




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     1    Q      Okay.   Does it mention anything with respect to time?

     2    A      24 to 48 hours.

     3    Q      Okay.   What services did Holter Labs provide?

     4    A      Holter monitoring.

     5    Q      What is Holter monitoring?

     6    A      It's a 24- to 48-hour recorder that collects data from the

     7    patient for 24 hours and the reports produced from that.

     8           If he has any symptoms of arrhythmias it will show in the

     9    report.

    10    Q      What part of the body does the Holter device reflect?

    11    A      The heart.

    12    Q      Okay.   Does the Holter device reflect any brain waves?

    13    A      No.

    14    Q      Does it reflect any oxygen?

    15    A      No.

    16    Q      Does it reflect any respiration?

    17    A      No.

    18    Q      Did the advertising that Holter Labs and the defendants

    19    send out to doctors offer any services for brain studies?

    20    A      No.

    21    Q      What about for respiratory studies?

    22    A      No.

    23    Q      What about for oxygen studies?

    24    A      No, they didn't.

    25    Q      Now, sleep apnea is mentioned here.




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     1           What services did the Holter device provide with respect

     2    to sleep apnea?

     3    A      There was a sleep apnea report that went along with the

     4    Holter report.

     5    Q      What information from the body was that based upon?

     6    A      It was based upon the heart rate.

     7    Q      Okay.    Did the Holter device that Holter Labs marketed and

     8    provided to doctors, have any ability to attach to a different

     9    part of a person's body besides the heart?

    10    A      No, it did not.

    11    Q      Could it attach to the brain?

    12    A      No.

    13    Q      What about the face?

    14    A      No.

    15    Q      What about a finger?

    16    A      No.

    17    Q      Could it draw blood?

    18    A      No.

    19    Q      Okay.    As far as you knew during the time period that you

    20    were initially working at the company, was Holter Labs ever

    21    providing services related to the brain?

    22    A      No.

    23    Q      What about related to Microvolt T-wave assessment?

    24    A      No.     It was not.

    25    Q      Was -- as far as you knew -- was Holter Labs billing for




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     1    these services?

     2    A      I have never seen the billing from that, except once I

     3    retrieved it in 2012 with Blue Shield.

     4    Q      What happened then?

     5    A      I had Jim Cast try to find out if he could get a hold of

     6    the Blue Shield -- get to the Blue Shield providers and he did,

     7    because he got the Blue Shield number, and he got in and looked

     8    at the claims.

     9    Q      What did you learn?

    10    A      I just learned that there was many things in there like

    11    brain and the wrong sleep apnea, things like that that were in

    12    there, and billed multiple times.

    13    Q      When you say "wrong," what do you mean by that?

    14    A      It was the sleep apnea you have to -- you need respiration

    15    the breathing and SPO2.

    16    Q      So why is that wrong?

    17    A      Because the Holter monitor doesn't -- cannot do that.

    18           It doesn't have any respiration and breathing.

    19    Q      So your company was not providing those services?

    20    A      No.

    21    Q      But you discovered that your company was billing for those

    22    services?

    23    A      Yes.

    24    Q      And who was doing the billing?

    25    A      Mirando.




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     1    Q      The defendant?

     2    A      Yes.

     3    Q      Okay.   What were you doing -- let's talk a little bit

     4    about your role at Holter Labs.

     5           You mentioned that you handled the technical side of

     6    things.

     7           What did that involve?

     8    A      That involved basically daily going and downloading all of

     9    the information from each patient that the doctor had uploaded

    10    the Holter.

    11           We downloaded the information, put that into the computer,

    12    each one, and going through the report, checking for bad

    13    arrhythmias and provide a report for the doctor.

    14    Q      Where were you -- where was Holter Labs based?

    15    A      Holter Labs was based in Santa Ana, Laguna Hills.

    16    Q      In an office?

    17    A      In an office.     One of them.

    18           There were a few locations.

    19    Q      What were the other locations?

    20    A      Aliso Viejo, Laguna Hills, Santa Ana.

    21    Q      Always in an office?

    22    A      It was in a home at the beginning.

    23    Q      Okay.   And who worked out of that home?

    24    A      Mike Mirando and Jim Cast and I.

    25    Q      Okay.   So you handled the recording?




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     1    A      Yes.

     2    Q      Where were you working physically?

     3    A      In an office with them on to the right, about six feet.

     4    Q      The same room?

     5    A      Yes.

     6    Q      How did the information get conveyed to the defendant to

     7    know how to submit bills?

     8    A      He learned it through Jim Cast.

     9    Q      Once you had generated a report for services that had been

    10    generated, how did the defendant know whether it was time to

    11    send a bill?

    12    A      There was an order form filled out by the physician.

    13           That would go along with the front copy of the Holter

    14    report.

    15    Q      How did Holter Labs get that order form?

    16    A      They would get it by -- I would e-mail that -- forward it

    17    to Mirando.

    18    Q      Well, how did you get it in the first place?

    19    A      It came in an e-mail or a fax.

    20    Q      Who made the order forms that Holter Labs used?

    21    A      Mike Mirando.

    22    Q      Can you look at what has been marked as Exhibit 18 in the

    23    binder in front of you?

    24                  THE COURT:    Is this a convenient time to take our

    25    break for the day?




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     1                   MR. FREEDMAN:    Can I ask a few questions on the

     2    order form, then I will be done, Your Honor?

     3                   THE COURT:   That's fine.

     4                   MR. FREEDMAN:    Thank you.

     5    BY MR. FREEDMAN:

     6    Q      Do you recognize this document?

     7    A      Yes.

     8    Q      What is it?

     9    A      A Holter order form.

    10                   MR. FREEDMAN:    Your Honor, the government moves to

    11    admit Exhibit 18.

    12                   THE COURT:   It will be received.

    13           (Exhibit 18 received into evidence.)

    14                   MR. FREEDMAN:    Can you pull it up?

    15    BY MR. FREEDMAN:

    16    Q      Who made this document?

    17    A      Mike Mirando.

    18    Q      Does this document order form indicate what services

    19    Holter Labs provided?

    20    A      Yes.

    21    Q      Okay.    Where does it indicate that?

    22    A      It's indicated under where it says "Holter monitoring."

    23    Q      Did Holter -- were there other order forms that offered

    24    other services?

    25    A      No.




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     1    Q      Were there order forms that offered brain scans?

     2    A      No.

     3    Q      Were there order forms that offered Microvolt T-wave

     4    assessments?

     5    A      No, there wasn't.

     6    Q      Did you ever generate reports for those kind of services?

     7    A      No, I didn't.

     8    Q      But you eventually learned that the defendant had been

     9    billing for those kind of services?

    10    A      Yes.

    11                  MR. FREEDMAN:     Your Honor, I think that is probably

    12    a good stopping point for today.

    13                  THE COURT:    Ladies and gentlemen, we're going to

    14    break for the day.

    15           Again, I want to remind you until this trial is over, you

    16    are not to discuss this case with anyone, including your fellow

    17    jurors, members of your family, people involved in the trial or

    18    anyone else.

    19           And do not allow others to discuss the case with you.

    20           This includes discussing the case on the Internet, blogs,

    21    bulletin boards, by e-mails, text messages.

    22           If anyone tries to communicate with you about this case,

    23    please let me know about it immediately.

    24           Do not read or listen to any news reports or other

    25    accounts about the trial or anyone associated with it.




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     1           Do not do any research, such as consulting dictionaries,

     2    searching the Internet, or using other reference materials.

     3           And do not make any investigation about the case on your

     4    own.

     5           Finally, you are reminded to keep an open mind until all

     6    of the evidence has been received, you have heard the arguments

     7    of counsel, the instructions of the Court, and the views of

     8    your fellow jurors.

     9           If you need to speak with me, simply give a note to the

    10    clerk.

    11           Now, I believe I expect that the government will conclude

    12    its presentation of its case tomorrow.

    13           And we may very well have closing arguments by the lawyers

    14    tomorrow, and then the case would be submitted to you for

    15    deliberations.

    16           If we don't finish tomorrow, we will certainly finish

    17    on -- what I'm thinking about doing now is having Monday as a

    18    dark day and then having you come back on Tuesday.

    19           Does that inconvenience anybody?

    20           (No response.)

    21           Then that will be our plan.

    22           So you will either -- I will either have arguments

    23    tomorrow or Tuesday at the latest.

    24           Okay.   Thank you very much.

    25           Leave your notebooks on your chairs.           We will see




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     1    everybody tomorrow morning at 8 o'clock.

     2                 THE COURTROOM DEPUTY:        All rise.

     3                   (JURY EXITS THE COURTROOM AT 1:37 P.M.)

     4                 THE COURT:     As I understand it, the parties have

     5    agreed upon all of the instructions?

     6                 MR. FREEDMAN:      We have, Your Honor.

     7           In light of the cross-examination of the insurance company

     8    witnesses, the government may wish to propose something along

     9    the lines of a gullible victim instruction.

    10                 THE COURT:     Okay.    Let me ask you another question.

    11           As I -- well, let me ask this:         Are there any counts in

    12    which the government -- well, are there any counts in which the

    13    insurance company did not pay?

    14                 MR. FREEDMAN:      I believe they were all paid.

    15                 MR. MCDERMOTT:      I will look -- I think the last one,

    16    sir, it was not.

    17                 THE COURT:     I seem to have recalled some testimony

    18    today where there is at least one count that it looks like it

    19    was billed, at least what I thought the witness indicated and

    20    the document indicated, that it wasn't paid.

    21           Now, but you can --

    22                 MR. FREEDMAN:      We will look to confirm.

    23                 THE COURT:     Okay.    I think I can -- maybe I will be

    24    able to tell you which count that is.           The one I had a question

    25    about was Count 6.




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     1                 MR. MCDERMOTT:      It was 9, I believe.

     2                 MR. FREEDMAN:      We will check on that, Your Honor.

     3                 THE COURT:     Now for the moment, let's assume that

     4    there was no actual payment by the insurance company.

     5           Is that fatal?

     6                 MR. FREEDMAN:      I don't believe so, Your Honor.             I

     7    don't think that the loss needs to be actual.             It can be an

     8    intended loss.      It's still a fraudulent claim whether it was

     9    paid or not.

    10                 MR. MCDERMOTT:      I'm not entirely sure about that.

    11                 THE COURT:     I think he may be right, but I haven't

    12    looked at it recently, but I think he may be right.

    13                 MR. MCDERMOTT:      I know.

    14                 THE COURT:     So maybe somebody can look at that.

    15                 MR. FREEDMAN:      We will look at that, Your Honor.

    16                 THE COURT:     You can just check the documents and

    17    testimony.

    18           Based on my rough estimates, you are going to be with him

    19    another hour, hour and a half?

    20                 MR. FREEDMAN:      I think another hour, possibly less,

    21    but I would say about an hour.

    22                 THE COURT:     Okay.    Do you have an estimate as to how

    23    long you are going to be with him?

    24                 MR. MCDERMOTT:      45 minutes.      I have got some

    25    documents, that sort of thing.




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     1                 THE COURT:     So that gets us roughly to 10, and then

     2    the agent is going to be on for another --

     3                 MS. RYKKEN:      Probably an hour and a half.         Maybe

     4    two.   There are financial documents, so it may take a little

     5    longer.

     6                 THE COURT:     That would get us to roughly noon.

     7           Do you have an idea of how long it's going to be?

     8                 MR. MCDERMOTT:      It depends on the nature of it, it

     9    won't be anywhere near as long.

    10           But just as an offer to the Court, would you consider that

    11    we prepare for closing and instructions Tuesday morning?

    12                 THE COURT:     That depends on how far we get.

    13                 MR. MCDERMOTT:      I know.

    14                 THE COURT:     It sounds like -- well, it sounds like

    15    that is going to happen anyway.          It would be my guess.

    16                 MR. MCDERMOTT:      The concern I have is the two of us

    17    doing closings on Friday, and then the government being able to

    18    come back and do the rebuttal on Tuesday morning.

    19           I would love to have -- if the Court would indulge us --

    20    just to make sure we get that all done at the same time.

    21                 THE COURT:     I will give that some thought.

    22                 MR. MCDERMOTT:      All right.

    23                 THE COURT:     I will get that figured out.

    24           And who is going to do the closing?

    25                 MR. FREEDMAN:      I am, Your Honor.




App. 0901                       UNITED STATES DISTRICT COURT
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     1                 THE COURT:     And have you determined how long your

     2    closing is going to be?

     3                 MR. FREEDMAN:      I haven't.     I'm planning to run

     4    through it this afternoon for the first time.             I would guess

     5    maybe about half an hour.

     6                 THE COURT:     Do you know how long you are going to

     7    be?

     8                 MR. MCDERMOTT:      No longer than that.

     9                 THE COURT:     Okay.    And then the closing part of your

    10    rebuttal?

    11                 MR. FREEDMAN:      Probably 10 to 15 minutes.

    12                 THE COURT:     Okay.

    13                 MR. FREEDMAN:      I agree with defense counsel, if it's

    14    going to be broken up over two days, we would prefer to do it

    15    all on one day.

    16                 THE COURT:     Okay.    You are a lot nicer guys than I

    17    was when I was practicing law -- I'm kidding.

    18                 MR. FREEDMAN:      I know.    I know.

    19                 THE COURT:     I'm just kidding.       My normal practice is

    20    not to split them up.

    21                 MR. MCDERMOTT:      Yes, sir.

    22                 THE COURT:     So, but if we're -- by some miraculous

    23    reason, we're done at 10 o'clock or something, I'm not going to

    24    waste the whole day.       But I doubt it's really going to be a

    25    problem.




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     1           I doubt it's going to be an issue.

     2                  MR. FREEDMAN:     Can I ask a question?

     3           Assuming that we were done earlier than expected, and we

     4    did closings tomorrow would the Court then have the jury stay

     5    past 1:30 to begin deliberations?

     6                  THE COURT:    It would be up to the jury, pretty much.

     7           But then we're going to instruct -- it's really kind of up

     8    to them.

     9           I'm going to leave it up to them.          I suspect they are not

    10    going to get too much done.

    11           If we're pushing at 1:30 or a little after 1:30, even if

    12    they stayed until 3:30, they are not going to -- my experience

    13    is they usually get a foreperson selected, then they are ready

    14    to go home.

    15           Anyway.    I normally send back a copy of the indictment.

    16           I think if we're going to do that, we probably need a

    17    redacted or cleaned-up indictment.          I think there is a

    18    forfeiture.

    19                  MR. FREEDMAN:     That is correct, Your Honor.

    20           So we can redact that page.

    21           The other thing I should mention, there is a forfeiture

    22    allegation in the indictment.

    23           The government has filed a bill of particulars earlier

    24    this week in order to record a lis pendens.

    25           Depending on what happens with this case, the government




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     1    would intend to move forward and trace the assets.

     2           The defendant has a right to have that tried before the

     3    same jury.

     4           If he waives that right, then the Court can conduct that

     5    hearing in whatever schedule you arrive at.             I just say that

     6    because --

     7                 THE COURT:     That's fine.      Were you aware of this?

     8                 MR. MCDERMOTT:      Yes, I was.

     9                 THE COURT:     Okay.    Do you know now -- in the event

    10    that we get that far -- do you know now whether or not you want

    11    to have this jury do that?

    12                 MR. MCDERMOTT:      I haven't made up my mind on that,

    13    sir.

    14                 THE COURT:     When would you know that?

    15                 MR. MCDERMOTT:      Well, it is something I can revisit

    16    this evening.     I'm sorry, sir, I was hoping to be able to do

    17    that over the weekend.

    18                 THE COURT:     You are both certain the jury -- the

    19    defendant has a right to have the jury --

    20                 MR. FREEDMAN:      I believe so.      That's what I have

    21    been told by prosecutors in the asset forfeiture section.                   It's

    22    not commonly requested, but I believe it is the first option.

    23                 THE COURT:     That is your recollection?

    24                 MR. MCDERMOTT:      Actually, my research points that is

    25    one of the potentials here, yes, particularly the way it was




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     1    originally filed.

     2                 THE COURT:     Okay.    Well, we will look at that.

     3           If you can -- I just want to -- I'm telling the jury what

     4    they are in for.

     5           Why don't you see if you can figure that out, and we may

     6    need to let them know that tomorrow before the end of the day.

     7           Anything else?

     8                 MR. MCDERMOTT:      Just a quick request, sir.         I want

     9    to ask whether or not the Court is at all inclined to modify

    10    the terms of the bond -- the terms of the conditions of

    11    compliance right now.

    12                 THE COURT:     Right now?

    13                 MR. MCDERMOTT:      Yes, sir.

    14                 THE COURT:     What is the government's position?

    15                 MR. FREEDMAN:      Can we have a moment to confer?

    16                 THE COURT:     That's fine.

    17                 MR. FREEDMAN:      Your Honor, we don't have a strong

    18    view, but I don't think that anything has changed from the

    19    Court's consideration yesterday.

    20           And the additional factor, I would note, that now that the

    21    cooperating witness has taken the stand, that is a concern in

    22    the government's mind.

    23                 THE COURT:     Unless there is something that calls to

    24    address this issue today, why don't we address that issue

    25    tomorrow?




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     1                 MR. MCDERMOTT:      All right, sir.

     2                 THE COURT:     If there is some reason that it has to

     3    be today, you can tell me what that is.

     4                 MR. MCDERMOTT:      Sir, I would just say that the only

     5    thing that has changed is his concern about his young son being

     6    here in the area, the inability to have the opportunity of

     7    being able to say good-bye.

     8           Beyond that, there isn't any particular change.

     9                 THE COURT:     So he has a child?

    10                 MR. MCDERMOTT:      20-month old son, sir.

    11                 THE COURT:     That is where?

    12                 MR. MCDERMOTT:      Actually here, locally.

    13           Just to edify the Court, I didn't appreciate what the

    14    father had to say yesterday either or the way he reacted.                   That

    15    is why he's not here today.         I made sure of that.

    16           I wanted to convey, though, that he did write an apology.

    17    I just want to offer that to the Court.

    18           I just wanted to have the client have the opportunity to

    19    -- if in fact we get an adverse verdict -- the opportunity to

    20    be able to talk to his child before he leaves in an environment

    21    that doesn't contain a set of bars.

    22                 THE COURT:     Well, I will consider it tomorrow.

    23                 MR. MCDERMOTT:      All right.

    24                 THE COURTROOM DEPUTY:        All rise.     This Court now

    25    stands adjourned.




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     1               (The proceedings were concluded at 1:51 p.m.)

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     1                        CERTIFICATE OF OFFICIAL REPORTER

     2

     3    COUNTY OF LOS ANGELES        )
                                       )
     4    STATE OF CALIFORNIA          )

     5

     6                 I, TERRI A. HOURIGAN, Federal Official Realtime

     7    Court Reporter, in and for the United States District Court for

     8    the Central District of California, do hereby certify that

     9    pursuant to Section 753, Title 28, United States Code that the

    10    foregoing is a true and correct transcript of the

    11    stenographically reported proceedings held in the

    12    above-entitled matter and that the transcript page format is in

    13    conformance with the regulations of the judicial conference of

    14    the United States.

    15

    16    Date:   July 4, 2017

    17

    18

    19                                      /s/ TERRI A. HOURIGAN

    20                             TERRI A. HOURIGAN, CSR NO. 3838, CCRR
                                       Federal Official Court Reporter
    21

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     1                          UNITED STATES DISTRICT COURT

     2            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

     3               HONORABLE PERCY ANDERSON, U.S. DISTRICT JUDGE

     4

     5   UNITED STATES OF AMERICA,

     6                     Plaintiff,

     7         vs.                                      Case No. CR-16-215-PA

     8   MICHAEL MIRANDO,

     9                    Defendant.
                                                    /
   10

   11

   12                REPORTER'S TRANSCRIPT OF JURY TRIAL PROCEEDINGS
                                       TRIAL DAY 3
   13                             FRIDAY, APRIL 28, 2017
                                        8:00 A.M.
   14                            LOS ANGELES, CALIFORNIA

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   22         ________________________________________________________

   23                     TERRI A. HOURIGAN, CSR NO. 3838, CCRR
                             FEDERAL OFFICIAL COURT REPORTER
   24                        350 WEST FIRST STREET, ROOM 4311
                              LOS ANGELES, CALIFORNIA 90012
   25                                 (213) 894-2849




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     1                             APPEARANCES OF COUNSEL:

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     3   FOR THE PLAINTIFF:

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     6             Assistant United States Attorney
              United States Courthouse
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              Los Angeles, California 90012
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     9
         FOR THE DEFENDANT MICHAEL MIRANDO:
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   11         BY: KEVIN B. MCDERMOTT
                  Attorney at Law
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              Irvine, California 92618
   13

   14
         ALSO PRESENT:      Special Agent Kathleen Kennedy
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     1              LOS ANGELES, CALIFORNIA; FRIDAY, APRIL 28, 2017

     2                                        * * *

     3

     4                 THE COURTROOM DEPUTY:        Calling Item 1, CR-16-215,

     5   United States of America versus Michael Mirando.

     6           Counsel, may I have your appearance please.

     7                 MR. FREEDMAN:      Good morning, Your Honor.        Michael

     8   Freedman and Katherine Ryyken.          And Kathleen Kennedy is with us

     9   again at counsel table.

   10                  THE COURT:     Good morning.

   11                  MR. MCDERMOTT:      Good morning, Your Honor.         Kevin

   12    McDermott on behalf of Mr. Mirando, who is present.

   13                  THE COURT:     Good morning.      Let's talk a little bit

   14    about the status of the case, so we can hopefully update the

   15    jury with more accurate information as to where we are.

   16            You have two witnesses, one of whom is outstanding.

   17                  MR. FREEDMAN:      That's correct, Your Honor.

   18                  THE COURT:     And does defense intend to put on a

   19    case?

   20                  MR. MCDERMOTT:      No, sir.

   21                  THE COURT:     And that includes the defendant is not

   22    going to testify?

   23                  MR. MCDERMOTT:      Yes, sir.

   24                  THE COURT:     Now, I take it the status of the

   25    forfeiture is as it was yesterday?




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     1                  MR. FREEDMAN:     I want to note the issue we left

     2   hanging yesterday, the Federal Rules of Criminal Procedure --

     3                  THE COURT:    Sir, you can update me on what you

     4   believe the law is in a minute.

     5          Okay.    What is your estimate as to how long it's going to

     6   take to put on this forfeiture?

     7                  MR. FREEDMAN:     I would think approximately an hour

     8   or two.

     9                  THE COURT:    An hour or two.

   10           Okay.    Now, what we should have done, is updated the jury

   11    at the start of this case, that there was a possibility they

   12    were going to have to be retained after they concluded their

   13    deliberations.

   14           And as I understand the law, we need to tell them before

   15    they deliberate now that there is a possibility that they may

   16    have to come back in to decide a remaining issue in this case.

   17           And I suspect they are not going to greet that news with

   18    open arms, because they should have been told earlier.

   19           Now, do you have jury instructions?

   20                   MR. FREEDMAN:     Yes, Your Honor.

   21                   MS. RYKKEN:    Yes.

   22                   THE COURT:    Jury instructions on the forfeiture?

   23                   MS. RYKKEN:    On the forfeiture, we do not.

   24                   THE COURT:    Do you have a verdict form?

   25                   MR. FREEDMAN:     No, we don't, Your Honor.




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     1                 THE COURT:     All right.     I want that by Monday.

     2                 MR. FREEDMAN:      Yes, Your Honor.

     3                 THE COURT:     Now, I told the jury yesterday that we

     4   weren't going to be in session on Monday.             I'm going to go back

     5   now, and leave that up to them when I update them on the status

     6   of this case.

     7          Now, Monday apparently I guess there is going to be some

     8   protests in the area.        But I'm going to leave it up to them.

     9          Those protests, I think, are going to hit full and are

   10    going to impact this area probably around 10:30.

   11           So, if we start at 8 o'clock, we probably ought to be able

   12    to get in the courthouse.         As I understand it they are

   13    estimating there may be -- may be 100,000 people participating.

   14           So probably if we're in session on Monday, you are

   15    probably not going to be able to -- the jury and anybody else

   16    is going to have a hard time getting in and out of downtown

   17    starting at around 10:30, 11 o'clock.

   18           That protest is supposed to take place in Grand Park.                And

   19    the path of the protest is going to come straight up Broadway,

   20    and I will tell them all of that.

   21           And what I proposed -- well, the other thing is I want the

   22    parties to meet and confer at the end of today to determine

   23    whether or not there is indeed going to be need for a jury

   24    trial on this forfeiture.

   25           If there is, there is, that is fine.




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     1           But the government ought to disclose -- if they haven't,

     2   what they have.

     3           What is the standard?

     4                 MR. FREEDMAN:      Your Honor, I'm not exactly sure.

     5                 THE COURT:     If you don't know, just say you don't

     6   know.

     7                 MR. FREEDMAN:      I don't know.     I have to consult with

     8   the forfeiture department.

     9                 MR. MCDERMOTT:      May I take the fall on this, more so

   10    than the government, because of the lock-up at night, it's been

   11    difficult for me to get in to see him based on when he gets

   12    back.

   13            And I would ask the Court just for the time and

   14    opportunity, to be able to do that over the weekend, go through

   15    the process and explain it.

   16            Now, if he's still in confinement, I will come back here.

   17    I will be glad, obviously, to do that.

   18            But in light of the conversation going on, as far as the

   19    right to jury as opposed to a judgment forfeiture, I would like

   20    to have the opportunity to discuss that with the client, get

   21    his full cooperation with it, and it may involve the situation

   22    where we decide not to.

   23            I haven't had the opportunity to fully go through that

   24    process with him, sir.

   25                  THE COURT:     Okay.    Well, I believe there would be an




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     1   opportunity to do that today, and if we need to, once we

     2   conclude at 1:30, you can take some time, take as much time as

     3   you like to talk with him.

     4          I think he can be held in this building, and they can

     5   provide you with access to him, or we will provide you with

     6   access here in the courtroom.

     7          You can discuss it.       We can come back here at 3:30,

     8   4 o'clock, whatever time it takes, and you can talk with the

     9   government, see what they have or don't have, and you guys can

   10    make an informed decision.

   11           If you -- look, he's got a right to have a jury trial on

   12    that issue.     And I'm not going to put any pressure on it to

   13    make a decision.

   14           If he wants a jury trial on that issue, that is fine, we

   15    will deal with it.

   16           So, I think the sooner we know that, just so the Court can

   17    plan, and the jury can plan.

   18           What I intend to tell the jury is something to the effect

   19    that I have had an opportunity to confer with the parties to

   20    give us an update on the status of this case.

   21           We anticipate that there are going to be two witnesses,

   22    one of whom is on the stand now before the government concludes

   23    its case.

   24           Once the government rests, that will conclude the

   25    presentation of the evidence.




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     1          The lawyers have estimated that it's going to take them at

     2   least -- based on what I think I was told yesterday -- an hour

     3   and a half to complete their closing arguments.

     4          I think you wanted, what, about 30 minutes?

     5                 MR. MCDERMOTT:     Yes.

     6                 THE COURT:    I think he wants 30 minutes --

     7                 MR. FREEDMAN:     Yes.

     8                 THE COURT:    -- for his opening, and another 15 or

     9   20 minutes.

   10           So I think that is roughly about an hour and a half.

   11           Now, I'm also going to tell the jury -- I know you guys

   12    wanted to argue, I guess, next week, but given -- I mean, if

   13    we're going to have to have another proceeding, I want to try

   14    to get this jury done as close as possible to that Tuesday

   15    estimate that we gave them.

   16           So it seems to me -- I will even ask the jury today, if

   17    they want to stay a little later today, and once these

   18    witnesses are done, we could argue and we could complete the

   19    arguments today.

   20           And then I'm going to tell them the Court will then

   21    instruct you after the parties' argument -- that is going to

   22    take roughly 20 minutes or so -- and then you will retire to

   23    deliberate.

   24           And after you conclude your deliberations, there may be

   25    one additional factual issue that you have to decide and that




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     1   will require you return to the Court for an additional

     2   proceeding that is estimated to last an hour to maybe two hours

     3   tops, and then you will be given another verdict form, and you

     4   will deliberate to resolve that issue.

     5          Now, so under our present thinking when we weren't going

     6   to be in trial on Monday, we would estimate you would get the

     7   case Tuesday.

     8          We told you at the start of the trial the case would be

     9   over either Tuesday or Wednesday -- I think that is what we

   10    told them.

   11           So if you don't want to be here on Monday, that is fine,

   12    and I think if worst comes to worst -- well, that is a little

   13    tricky, too.     I can't tell you how long it's going to take you

   14    to deliberate on this case, but you would have this case by

   15    Tuesday worst case.

   16           If you want -- knowing everything I know now -- if you

   17    want to be here on Monday, you can decide among yourselves and

   18    we can -- we will be here on Monday, if that's what you want to

   19    do, and we will just leave it to them.

   20           Okay.   Now, I think the defense has raised this issue

   21    about the defendant's bond yesterday.

   22           And I will hear from counsel at some point perhaps at the

   23    end of the day, but here is my thinking:

   24           Based on what I know right now, the defendant's bond was

   25    revoked because the Court -- one of the obligations of the




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     1   Court is to ensure the integrity of these proceedings.

     2          And the Court had found that the defendant had approached

     3   two of the jurors here in an effort to gain sympathy.

     4          Now, once the jury concludes, and I think with the defense

     5   -- I think the issue for the defense was, at least as I recall

     6   from yesterday, was that in the event that the defendant was

     7   convicted, he wanted to have some time with his family and get

     8   his affairs in order.

     9          Now, unless -- given what I know right now and assuming

   10    nothing new comes out, I don't know what the -- in the event of

   11    a conviction, I don't know what the government's position is

   12    with respect to the defendant remaining on bond, but if there

   13    is nothing new, then what I intend -- he will have that

   14    opportunity no matter what the jury does -- because if he's

   15    acquitted, he will be ordered released forthwith.

   16           If there is a conviction, and I know there is nothing new,

   17    I'm probably going to put him back on his bond because the jury

   18    will have -- they will have concluded their responsibilities,

   19    and the concern I had then won't be present.

   20           So that's sort of my thinking right now on that issue.

   21           And he will be released, and if he's convicted, I may take

   22    a look at the conditions.        He may have to put on a bracelet or

   23    something, but he would certainly have an opportunity to go

   24    home and get his affairs together, based on what I know right

   25    now.




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     1          So that's sort of where we are.

     2          All right.     All the members of the jury are here.

     3          Is there anything else that we need to take up?

     4                 MR. FREEDMAN:     No, Your Honor.

     5                 MR. MCDERMOTT:     No, sir.

     6                 THE COURT:    Okay.    Let's bring the jury in.

     7                 THE COURTROOM DEPUTY:       All rise.

     8                  (JURY ENTERS THE COURTROOM AT 8:18 A.M.)

     9                 THE COURTROOM DEPUTY:       Item 1, CR-16-215 United

   10    States of America versus Michael Mirando.

   11           Counsel, may I have your appearances, please?

   12                  MR. FREEDMAN:     Good morning, Your Honor.        Michael

   13    Freedman and Katherine Rykken, and with us at counsel table is

   14    Special Agent Kathleen Kennedy, as well.

   15                  THE COURT:    Good morning.

   16                  MR. MCDERMOTT:     Good morning, Kevin McDermott on

   17    behalf of Mr. Mirando, who is present.

   18                  THE COURT:    Good morning.

   19           Ladies and gentlemen, after conferring with the parties, I

   20    wanted to give you our latest views as to the status of this

   21    case, and our estimates of how long it's going to take to

   22    conclude these proceedings.

   23           Now, yesterday, in addressing you, I mentioned that we

   24    would not be in session on Monday.

   25           I really want to give you an opportunity to address that,




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     1   and it's really going to be up to you whether or not we're in

     2   session on Monday.

     3          And maybe after I give you an idea of our estimates, if

     4   you want to be here on Monday, that is fine.

     5          Now, one of the other things I would let you know, is that

     6   on Monday, there is going to be a May Day demonstration in the

     7   downtown area.      And it's estimated that there are going to be

     8   100,000 people in the downtown area and this demonstration is

     9   going to take place -- there is going to be a march and

   10    demonstration and is going to take place in Grand Park, which

   11    is about two blocks from the courthouse, maybe a block.

   12           Now, if we started at eight, we are probably going to miss

   13    a lot of that congestion.

   14           And at 1:30, there are going to be what they call rolling

   15    street closures.

   16           Probably by 1:30 or 2 o'clock, you would be able to --

   17    First Street and Broadway and Hill Street would probably may no

   18    longer be closed.

   19           They are going to close around 10 o'clock to let the

   20    marchers get to Grand Park, so you would be able to get out of

   21    here in the afternoon.

   22           Now, the government has two witnesses left.            One of whom

   23    is on the stand now.

   24           And the government -- the parties estimate that it's

   25    probably going to take us somewhere between four to five hours




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     1   to conclude the examination of those witnesses.

     2           So that would take us to something like noon, maybe 12:30.

     3   If we're really slow, maybe 1 o'clock.

     4           Counsel have estimated that that will conclude the

     5   presentation of the evidence in the case.

     6           Then counsel will have their closing arguments.

     7           That's going to take, I believe, roughly an hour and a

     8   half.

     9           Then the case will be submitted to you for your

   10    deliberations.      And I can't -- I have no way of knowing how

   11    long it's going to take you to deliberate to reach a verdict if

   12    you can.

   13            Now, after you conclude your deliberations, there may

   14    be -- there may be or may not be an additional factual issue

   15    that you have to resolve.

   16            That will require that you return to the courtroom, and

   17    there will be an additional presentation of evidence that is

   18    going to take somewhere between an hour, maybe two hours tops.

   19            And then you would retire to deliberate on that issue.

   20            Now, we still -- we told you when the case started, that

   21    we expected the case would conclude either Tuesday or

   22    Wednesday.

   23            Even if you aren't here on Monday, we still would expect

   24    that the case will conclude with everything by Wednesday,

   25    depending on -- and that includes -- well, it depends on how




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     1   long you take to deliberate.

     2           We can finish the presentation of the evidence.            We will

     3   finish that today.

     4           If you wanted to have the lawyers argue today, depending

     5   on how long it's going to take to conclude these witnesses,

     6   that may last past a little past 1:30.

     7           We might need to be here until 2, or 2:30.

     8           If you still want to leave at 1:30, and you want to be

     9   here Monday, then Monday we would have the arguments, and you

   10    would start deliberating.

   11            If you still don't want to come in on Monday, and they

   12    don't argue today, they would argue.           That would take about an

   13    hour.

   14            It's going to take -- I have to instruct you -- it's going

   15    to take about 20 minutes.        You will still get the case on

   16    Tuesday morning.

   17            Okay.   So that's sort of where we are.

   18            So, it's a lot to process, but I won't ask you to do that

   19    now while you are sitting here, but maybe at the break, and if

   20    you guys want to meet among yourselves, let us know what you

   21    want to do.

   22            Monday is going to be an interesting day, but you decide

   23    and we will accommodate you.

   24            But even if we weren't in session on Monday, you will --

   25    you would probably -- my guess is you would still get this case




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     1   on Tuesday -- sometime Tuesday morning.

     2           Even if we -- if you want to stop early today after the

     3   presentation of the witnesses, that is fine, too.

     4           And then we would resume on Tuesday or Monday with

     5   counsel's arguments and you will still get the case Tuesday

     6   morning.

     7           Okay.    Does counsel have anything you want to take up at

     8   sidebar to discuss anything?

     9                   MR. FREEDMAN:     No, Your Honor.

   10                    MR. MCDERMOTT:    No, sir.

   11                    THE COURT:     All right.    Let's bring the witness in,

   12    please.

   13                    THE COURTROOM DEPUTY:       Please be seated.

   14            Mr. Crowley, you are reminded that you are still under

   15    oath.

   16            Do you understand that?

   17                    THE WITNESS:    Yes.

   18                    MR. FREEDMAN:     May I inquire?

   19                    THE COURT:   Yes.

   20

   21                           DIRECT EXAMINATION (RESUMED)

   22    BY MR. FREEDMAN:

   23    Q       Mr. Crowley, what year was it that you testified to

   24    yesterday that you discovered the billing irregularities?

   25    A       2012.




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     1   Q      Did you do anything when you discovered these billing

     2   irregularities?

     3   A      Yes.   I came to the government.

     4   Q      What do you mean by that?

     5          What did that entail?

     6   A      I got an attorney and brought the evidence to the

     7   government.

     8   Q      Why did you decide to get an attorney?

     9   A      Because I didn't really know the process how to do that.

   10    Q      When you say "how to do that," what does that mean?

   11    A      How to bring it to the government.

   12    Q      What led you to think you should bring this to the

   13    government?

   14    A      Because of the certain codes that I Googled and checked,

   15    and they were not codes that we were supposed to be doing, that

   16    the Holter recorder could do.

   17    Q      Why did you think the government needed to know this?

   18    A      It just seemed excessive, and it wasn't the right thing to

   19    do.

   20    Q      Did you get an attorney?

   21    A      Yes.

   22    Q      Did that attorney arrange for you to go to the government?

   23    A      Yes.

   24    Q      And when you say that you went to the government, who

   25    exactly -- what part of the government did you speak with?




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     1   A      The FBI.

     2   Q      Did you speak with any attorneys for the government?

     3   A      Yes.

     4   Q      Were those from the United States Attorney's Office?

     5   A      Yes.

     6   Q      And when did you speak with the -- did you speak with the

     7   FBI and the United States Attorneys at the same time?

     8   A      Yes.

     9   Q      When was that?

   10    A      2013.

   11    Q      When you met with the government in 2013, did the

   12    government have you sign any documents?

   13    A      Yes.    They had me sign one.

   14    Q      What kind of document was that, if you recall?

   15    A      It was, like, something for a day -- a talk -- not get in

   16    trouble or something like that.

   17    Q      Did you have any obligations under that document?

   18    A      No.

   19    Q      Can you take a look at the binder in front of you, the

   20    larger one, the tab that is marked Exhibit 26?

   21           Do you recognize this document?

   22    A      Yes.

   23    Q      What is it?

   24    A      I'm lost.

   25    Q      26?




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     1   A      Yes, I recognize it.

     2   Q      What is it?

     3   A      It's a document I signed when I came to the government.

     4                  MR. FREEDMAN:    Your Honor, the government moves to

     5   admit 26.

     6                  MR. MCDERMOTT:    No objection.

     7                  THE COURT:   All right.     It will be received.

     8          (Exhibit 26 received into evidence.)

     9   BY MR. FREEDMAN:

   10    Q      Is this the letter you signed with the government?

   11    A      Yes.

   12    Q      Okay.    Let's look at Section 1(c) here.

   13           Is this the date that you met with the government,

   14    September 17, 2013?

   15    A      Yes.

   16    Q      Okay.    And then let's look at the page 2, and let's look

   17    at Section 2 through 6.

   18           Can you look at Item 2 and tell us what that says?

   19    A      Yes.    Your client will respond truthfully, and completely

   20    to any and all questions put to your client at the meeting.

   21    Q      And I should have clarified earlier, was this letter

   22    addressed to your attorney?

   23    A      No, it's to me.

   24    Q      "Can we go back to the first page.

   25           Where it says "dear," is that your attorney, Mr. Zanides?




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     1   A      Yes.

     2   Q      It's regarding you?

     3   A      Yes.

     4   Q      Okay.   So, when it says "your client," does that refer to

     5   you?

     6   A      Yes.

     7   Q      So did you have an obligation letter agreement with the

     8   government to respond truthfully and completely to all

     9   questions?

   10    A      Yes.

   11    Q      Did you honor that obligation?

   12    A      Yes.

   13    Q      Okay.   Let's look at Section 5.

   14           What does this section say?

   15    A      "The office reserves the right to use any statements or

   16    information provided by your client in any prosecution for

   17    false statements, obstruction of justice, or perjury."

   18    Q      So does this -- did you have any understanding of what the

   19    -- were there potential consequences to you if you didn't tell

   20    the truth to the government?

   21    A      Yes.

   22    Q      Were these the consequences?

   23    A      Yes.

   24    Q      And you reviewed this letter with your lawyer and with the

   25    government before speaking with them, right?




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     1   A      Yes.

     2   Q      And did you sign this letter?

     3   A      Yes.

     4   Q      Let's pull up the last page.

     5          Is that your signature there?

     6   A      Yes.

     7   Q      And your attorney signed it as well?

     8   A      Yes.

     9   Q      Okay.   And then let's look at Section 6 on page 2.

   10           Does this section provide additional detail on your

   11    obligations to tell the truth to the government?

   12    A      Yes.

   13    Q      And does it reiterate that there are consequences if you

   14    didn't tell the truth to the government?

   15    A      Yes.

   16    Q      Okay.   So again, did you honor the terms of this

   17    obligation in your September 17, 2013 meeting with the

   18    government?

   19    A      Yes, I did.

   20    Q      After that meeting, did you continue cooperating with the

   21    government?

   22    A      Yes.

   23    Q      What form did that cooperation take?

   24    A      I met with them -- met with the FBI.

   25    Q      How many times did you meet with the FBI?




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     1   A      At least five times.

     2   Q      What was the purpose of those meetings?

     3   A      Any information or evidence.

     4   Q      Did you sign any other documents with the government?

     5   A      No.

     6   Q      Did the government make you any other promises besides

     7   what was contained in this letter?

     8   A      No.

     9   Q      Did the government ever tell you that it would agree not

   10    to charge you?

   11    A      No.

   12    Q      Did the government ever tell you that it would pay you any

   13    money?

   14    A      No.

   15    Q      Did the government ever pay you any money?

   16    A      No.

   17    Q      Did you have any expectation of making money when you went

   18    to the government?

   19    A      No, I didn't.

   20    Q      Did you have an understanding that what you were telling

   21    the government could lead you to being charged?

   22    A      Possibly.

   23    Q      And in your subsequent meetings with the FBI and

   24    government since this first one, did you understand that you

   25    were under a continuing obligation to tell the truth?




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     1   A       Yes.

     2   Q       Did you understand that there were continuing consequences

     3   for not telling the truth?

     4   A       Yes.

     5   Q       Okay.    Did you tell the truth at all times you worked with

     6   the government in this case?

     7   A       Yes.

     8                   MR. FREEDMAN:   Okay.    Let's go back.     We were

     9   looking yesterday when we concluded -- I think it was

   10    Exhibit 18, the order form.

   11            Your Honor, may we publish?

   12                    THE COURT:   Yes.

   13    BY MR. FREEDMAN:

   14    Q       I think I asked you this yesterday, but I want to confirm.

   15    Did Holter Labs produce this order form?

   16    A       Yes.

   17    Q       And did Holter Labs send this order form to doctors?

   18    A       Yes.

   19    Q       And who specifically at Holter Labs created this order

   20    form?

   21    A       Mike Mirando.

   22    Q       How did Holter Labs get in contact with doctors in the

   23    first instance to provide Holter devices?

   24    A       The mailer was sent out, an advertising mailer.

   25    Q       Who made that mailer?




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     1   A      Mirando.

     2   Q      Okay.    Could you take a look at what is marked in the

     3   binder in front of you as Exhibit 14?

     4                  MR. FREEDMAN:    Your Honor, I believe this has

     5   previously been admitted.        May we publish?

     6                  THE COURT:   Yes.

     7   BY MR. FREEDMAN:

     8   Q      Is this one of those mailers?

     9   A      Yes.

   10    Q      Did Holter devices also have a website?

   11    A      Yes.

   12    Q      Who designed the website?

   13    A      Mike Mirando.

   14    Q      Could you take a look at what has been marked as

   15    Exhibit 11, please?

   16           Do you recognize this screen shot?

   17    A      Yes.    It's a little newer than what I used to see.

   18    Q      What is it?

   19    A      It's a screen shot of the website.

   20                   MR. FREEDMAN:    Okay.    Your Honor, we move to admit

   21    Exhibit 10?

   22                   MR. MCDERMOTT:    With one reservation foundationally

   23    as to date or time of this particular document, if this witness

   24    knows.

   25                   THE COURT:   Okay.




App. 0933                      UNITED STATES DISTRICT COURT
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     1   BY MR. FREEDMAN:

     2   Q      Do you know when this screen shot of the website was

     3   taken?

     4   A      No.

     5   Q      Did you take this screen shot of the website?

     6   A      No.

     7   Q      Okay.    Does it -- when did you last see the website of

     8   Holter Labs?

     9   A      A year ago.

   10    Q      Okay.    And when did you last see it when you worked at

   11    Holter Labs?

   12    A      Probably 2013.

   13    Q      And does this exhibit in front of you appear consistent

   14    with the website when you worked there?

   15    A      It's similar, slightly different.

   16                   MR. MCDERMOTT:    I'm sorry, without more definition

   17    as to what is different, we still object.

   18    BY MR. FREEDMAN:

   19    Q      What is different about it, Mr. Crowley?

   20    A      He has telemetry on here.        It wasn't on there when I saw

   21    it.

   22    Q      Okay.

   23    A      It's one of the things.

   24                   MR. FREEDMAN:    Your Honor, we would move to

   25    Exhibit 10 -- Exhibit 11.




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     1                 THE COURT:    Any objection?

     2                 MR. MCDERMOTT:     Not at this point as long as it's

     3   clear it wasn't something that he saw back in 2013.

     4                 THE COURT:    All right.     It will be received.

     5          (Exhibit 11 received into evidence.)

     6   BY MR. FREEDMAN:

     7   Q      Let's look at the first section where it explains -- does

     8   this explain services that Holter Labs offered?

     9   A      Yes.

   10    Q      And how does it explain Holter monitoring?

   11    A      It explains Holter monitoring, 24/48-hour ECG recording.

   12    Q      Is that explanation consistent with what was on the

   13    website when you saw it -- when you worked at Holter Labs?

   14    A      Yes.

   15    Q      Did Holter Labs' website ever promote brain studies?

   16    A      No.

   17    Q      Did it ever promote services for a night

   18    electroencephalogram?

   19    A      No, not when I was there.

   20    Q      What about for Microvolt T-wave assessments?

   21    A      No.

   22    Q      Could you take a look at Exhibit 15.

   23           Do you recognize this document?

   24    A      Yes.

   25    Q      What is it?




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     1   A      The advertising mailer.

     2                 MR. FREEDMAN:     Okay.    Your Honor, we move to admit

     3   Exhibit 15.

     4                 MR. MCDERMOTT:     Again, same question as to time

     5   frame, please.

     6   BY MR. FREEDMAN:

     7   Q      Do you recognize this as an advertisement from when you

     8   worked at Holter Labs?

     9   A      Yes.   It looks similar, very similar.

   10                  MR. FREEDMAN:     Your Honor, we move to admit the

   11    exhibit.

   12                  MR. MCDERMOTT:     No objection at this time.

   13                  THE COURT:    It will be received.

   14           (Exhibit 15 received into evidence.)

   15    BY MR. FREEDMAN:

   16    Q      Could you take a look at Exhibit 16?

   17           Do you recognize this document?

   18    A      Yes.

   19    Q      What is it?

   20    A      It looks like another mailer.

   21    Q      Is it a mailer from the time you worked at Holter Labs?

   22    A      Yes.

   23                  MR. FREEDMAN:     Your Honor, we would move to admit

   24    Exhibit 16.

   25                  MR. MCDERMOTT:     No objection.




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     1                 THE COURT:    It may be received.

     2           (Exhibit 16 received into evidence.)

     3   BY MR. FREEDMAN:

     4   Q       So when -- were you involved at all in designing these

     5   advertisements?

     6   A       No.

     7   Q       Were you involved in promoting a Holter device to doctors?

     8   A       No.   This one went to a mailing list to the doctors.

     9   Q       Who was responsible for sending out the advertisements?

   10    A       Mike Mirando.

   11    Q       About how many doctors would you say, if you know, the

   12    defendant sent these advertisements to?

   13    A       Thousands.

   14    Q       1,000 or thousands?

   15    A       Thousands.

   16    Q       Thousands.    And roughly, how many -- what percentage of

   17    those doctors responded they wanted a Holter device?

   18    A       It was under five percent.

   19    Q       When doctors responded that they wanted to engage the

   20    services of Holter Labs, what did Holter Labs do?

   21    A       They would contact them if they were interested.            They

   22    would sign a form and then they would get a recorder sent to

   23    them.

   24    Q       Who was responsible for sending the recorder?

   25    A       Mike Mirando.




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     1   Q       When the defendant sent the Holter device to the doctors,

     2   did he send the order form at the same time?

     3   A       Yes.

     4   Q       Did -- how about -- so you mentioned about five percent.

     5           Did you keep any inventory of who Holter Labs had sent

     6   these reports to -- sorry, who it had sent the devices to?

     7   A       Yes.

     8   Q       Could you take a look at what has been marked as

     9   Exhibit 17.

   10            Do you recognize this document?

   11    A       Yes.

   12    Q       What is it?

   13    A       It's a spreadsheet of the doctors and recorders.

   14    Q       Is this a document from the time that you worked at Holter

   15    Labs?

   16    A       Yes.

   17                   MR. FREEDMAN:    Your Honor, we move to admit

   18    Exhibit 17.

   19                   MR. MCDERMOTT:    No objection.

   20                   THE COURT:   It will be received.

   21            (Exhibit 17 received into evidence.)

   22    BY MR. FREEDMAN:

   23    Q       So just looking at the top here, it appears to reflect the

   24    total number of devices that had been sent out?

   25    A       Yes.




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     1   Q      What is that number?

     2   A      229.

     3   Q      Okay.   And then is it correct that this document then

     4   lists the various doctors that the devices had been sent out

     5   to?

     6   A      Yes.

     7   Q      And what other information does it provide?

     8   A      The type of recorder.

     9   Q      Okay.   As far as you know, did any of the recorders that

   10    Holter Labs sent out to these doctors have brain wave

   11    measurement capabilities?

   12    A      No.

   13    Q      Did they have oxygen measurement capabilities?

   14    A      No.

   15    Q      Blood test capabilities?

   16    A      No.

   17    Q      Did any of them last long enough to run for 30 days?

   18    A      No.

   19    Q      So, once the devices were sent to the doctors, then walk

   20    me through, if you would, what happened next.

   21           How did you get business?

   22    A      The doctor would have a patient that came in that had a

   23    possible heart issue.

   24           They would hook up that patient with the recorder, send

   25    them home for 24 to 48 hours.




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     1           Then they would come back to the office.

     2           The nurse would take the recorder, the memory card out,

     3   upload the data to the site, and then we would retrieve the

     4   data.

     5           I would retrieve the data into the computer.

     6           It would go into the Holter software.          I would produce a

     7   report for the doctor and upload -- upload to the doctor the

     8   report.

     9   Q       Were you the only person at Holter Labs who reviewed those

   10    reports?

   11    A       Yes.

   12    Q       Do you ever recall reviewing reports for the same patient

   13    named more than once in a month?

   14    A       No.

   15    Q       Do you ever recall reviewing reports that had 30 days

   16    worth of data?

   17    A       No.

   18    Q       Do you ever recall reviewing reports that had data

   19    pertaining to the brain?

   20    A       No.

   21    Q       What about data pertaining to Microvolt T-wave assessment?

   22    A       No.

   23    Q       What about data pertaining to oxygen and respiratory

   24    measurements?

   25    A       No.




App. 0940                      UNITED STATES DISTRICT COURT
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     1   Q      Did anyone else at Holter Labs handle these reports?

     2   A      No.

     3   Q      So after you sent the reports to the -- back to the

     4   doctors, what was the next step in the business of Holter Labs?

     5   A      When the report was done, I would get an e-mail or fax of

     6   the patient order form and put that together with the cover

     7   sheet of the Holter report and e-mail it to Mike Mirando.

     8   Q      Why did you e-mail it to the defendant?

     9   A      For him to take it and do the billing.

   10    Q      When you e-mailed it to the defendant, did you tell him

   11    what codes to bill?

   12    A      No.

   13    Q      Did you tell him what services to bill for?

   14    A      No.

   15    Q      So was it your -- did you have an understanding with him

   16    that the information he needed was contained in the documents

   17    you sent him?

   18    A      Yes.

   19    Q      Okay.   Could you take a look at what has been marked in

   20    the binder in front of you as Exhibit 20.

   21           Do you recognize this document?

   22    A      Yes.

   23    Q      What is it?

   24    A      It's an e-mail forwarded with the order form that the

   25    Holter was done with insurance information.




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     1   Q      Did you write this e-mail?

     2   A      No.

     3   Q      Who is the e-mail from?

     4   A      The e-mail is from me to Mike, because the Holter was done

     5   so I had to send him the information.

     6   Q      So you sent this e-mail?

     7   A      Yes.

     8   Q      When you worked at Holter Labs?

     9   A      Yes.

   10                   MR. FREEDMAN:    Your Honor, the government moves to

   11    admit Exhibit 20.

   12                   MR. MCDERMOTT:    No objection.

   13                   THE COURT:   It will be received.

   14           (Exhibit 20 received into evidence.)

   15    BY MR. FREEDMAN:

   16    Q      Is this one of the documents you provided to the FBI?

   17    A      Yes.

   18    Q      Okay.    So, is this an example of one of the e-mails you

   19    were just describing?

   20    A      Yes, it's an example.

   21    Q      What kind of information is provided in this e-mail?

   22    A      The physician's name, patient, date of birth, insurance

   23    policy, address.

   24    Q      Does it include the date of service?

   25    A      Yes.




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     1   Q      Okay.   And then let's look back at the top.           It looks like

     2   -- were there attachments sent with this e-mail?

     3   A      Yes.

     4   Q      What would those attachments have been?

     5   A      They would be the order form and the first page of the

     6   Holter report.

     7   Q      And you saved the Holter report by its date of service?

     8   A      Yes.

     9   Q      Do you recall ever sending e-mails to the defendant for

   10    the same patient for multiple dates of service?

   11    A      No.

   12    Q      Once you sent this information to the defendant, did you

   13    have any further role in the process of billing and payment?

   14    A      No.

   15    Q      Were you working in the same room as defendant when he was

   16    handling the billing?

   17    A      The Santa Ana location, no.

   18    Q      Did you ever chat with the defendant about the billing?

   19    A      Not really, just forwarded the information.

   20    Q      When you started the company together, did you have any

   21    initial discussions about who was going to handle the billing?

   22    A      Yes.

   23    Q      Did you have any discussions about how the billing should

   24    be handled?

   25    A      No.




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     1   Q      Did you have any understanding with the defendant that the

     2   billing should be aggressive for services that weren't done?

     3   A      No.

     4   Q      Now, once the defendant sent out the bills, how did Holter

     5   Labs get paid on its claims?

     6   A      The insurance companies would pay.

     7   Q      And did Holter Labs have a bank account?

     8   A      Yes.

     9   Q      Where was that bank account?

   10    A      Chase.

   11    Q      Okay.    Was it Chase at the time?

   12    A      At the beginning, it was Washington Mutual.

   13    Q      And then was it the same account and the bank changed?

   14    A      Yes.

   15    Q      As far as you were aware before 2012, did Holter Labs have

   16    any other business bank accounts?

   17    A      No.

   18    Q      Were you a signatory on the Chase account?

   19    A      Yes.

   20    Q      Were you a signatory on any other Holter Labs accounts?

   21    A      No.

   22    Q      Was the defendant a signatory on the Chase account?

   23                   MR. MCDERMOTT:    At this point, I'm going to object

   24    as to foundation.

   25                   THE COURT:   All right.     Objection sustained.




App. 0944                      UNITED STATES DISTRICT COURT
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     1          The answer is stricken.        The jury is to disregard it.

     2   BY MR. FREEDMAN:

     3   Q      How did the money -- were you a partner in Holter Labs?

     4   A      Yes.

     5   Q      Did you get paid a salary?

     6   A      Yes.

     7   Q      What was your salary?

     8   A      It varied.

     9   Q      What was the range it varied?

   10    A      It probably averaged throughout all of the years, probably

   11    80,000 throughout all of the years.

   12           If you broke it up, some years were more than others.

   13    Q      About 80,000 a year?

   14    A      Yeah, some were more than others, though.

   15    Q      Were you getting a bi-weekly paycheck?

   16    A      Yes.

   17    Q      Who was -- what account was the paycheck drawn from?

   18    A      Chase.

   19    Q      Did you write that check to yourself from the Chase

   20    account?

   21    A      No.

   22    Q      How did the check get written to you?

   23    A      Mike wrote out the check.

   24    Q      Okay.    What about business expenses.         Were you involved in

   25    handling business expenses?




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     1   A      No.

     2   Q      Who was involved in handling business expenses?

     3   A      Mike was.    He took care of that.

     4   Q      You mentioned that you made about roughly $80,000 a year.

     5   Were some years you made more that than?

     6   A      Yes.

     7   Q      Some years less?

     8   A      Yes.

     9   Q      In the years when you made more money, did it seem to you

   10    that you were busier with more reports?

   11    A      Yes.

   12    Q      In the years that it was slower, did it seem there were

   13    fewer reports?

   14    A      Yes.

   15    Q      Did you and the defendant have an agreement as to the

   16    split of the profits from the business?

   17    A      There was 40/60.

   18    Q      Who made 40?

   19    A      I was 40, he was 60.

   20    Q      And how did you reach that agreement?

   21    A      That was just an agreement Mike made.

   22    Q      With you?

   23    A      Yes.

   24    Q      Why was he making more?

   25    A      I don't know.




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     1   Q       Did it seem to you -- did you have any sense of how much

     2   money defendant was making on a yearly basis?

     3   A       No.

     4   Q       How come you didn't know that?

     5   A       I never saw his salary.

     6   Q       At any point in time, did you suspect that the agreement

     7   was not being honored as to the 60/40 split?

     8   A       It seems that -- I mean, it came across my mind, yes.

     9   Q       When did it come across your mind?

   10    A       Well, when he was getting ready to move to Oregon.

   11    Q       When was that?

   12    A       2011.

   13    Q       And what made that thought come across your mind?

   14    A       Just the big down payment on the house, and things like

   15    that.

   16    Q       How did you know about the down payment on the house?

   17    A       He said.

   18    Q       What did he say?

   19    A       He said he's putting 450,000 down.

   20    Q       Do you know -- did he tell you how much the house cost?

   21    A       Somewhere around 950.

   22    Q       So did the defendant move to Portland?

   23    A       Yes.

   24    Q       And when was that?

   25    A       Somewhere around 2011.




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     1   Q      When the defendant moved to Portland, did the business

     2   continue operating?

     3   A      Yes.

     4   Q      Did you ever incorporate the business in Oregon?

     5   A      No.

     6   Q      Did you -- how did you continue working with the defendant

     7   if he was in another state?

     8   A      I would do the same thing.        I would get the information on

     9   the Internet for the Holters.

   10           I would produce the Holter, and when it was done, I would

   11    forward the e-mail with the Holter report, and the order form

   12    to Mike, the same way.

   13    Q      Did the defendant return to California over the course of

   14    the -- after he moved to Portland?

   15    A      Here and there, yes.

   16    Q      Did you meet with him when he returned?

   17    A      Yes, a couple of times.

   18    Q      Did you ever raise with him concerns about these money

   19    issues that you were just discussing?

   20    A      I raised a concern, yeah.

   21           One time I asked him if he had any secret bank accounts.

   22    Q      What did he tell you?

   23    A      No.

   24    Q      Did you ever raise concerns with him about how much money

   25    you were making from Holter Labs compared to how much he was




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     1   making?

     2   A      No.

     3   Q      Did you ever express to him that you felt you were making

     4   less money at Holter Labs than you previously had been?

     5   A      Yes.

     6   Q      What did you say?

     7   A      I basically said, I'm -- we're making a lot less money

     8   than we used to make.

     9   Q      Did the defendant respond to you?

   10    A      Yes.

   11    Q      What did he say?

   12    A      He said Holter pays a lot less.

   13    Q      Okay.   Did he say anything else?

   14    A      I will start the billing event again.

   15    Q      Did you understand what he meant by that?

   16    A      Well, it was the same time that I asked him about secret

   17    bank accounts.

   18           Not really -- it didn't seem legitimate.           He seemed kind

   19    of lying.

   20    Q      Why did it seem that way?

   21    A      Just the way his expression was and the way he said it.

   22    Q      Did you understand what "event" meant?

   23    A      Yes.

   24    Q      What does it mean?

   25    A      It's a 30-day monitor.




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     1   Q      And why did that -- how did that factor into your

     2   interpretation of what the defendant told you?

     3   A      It just seemed the whole thing he was making up.             I didn't

     4   know exactly what to think of it.

     5   Q      Why did it seem he was making up event?

     6   A      The expression on his face and the way he said it.

     7   Q      Did you have any understanding as to whether it was

     8   possible to bill for event?

     9   A      Well, we had event through a service, an outside service.

   10    Q      What does that mean?

   11    A      They have the -- they would do the monitoring of event.

   12    Q      What is event.      I think you may have already explained it.

   13    A      It's a similar recorder that does 30 days instead of 24 to

   14    48 hours.

   15    Q      Why did you do it through a different service?

   16    A      It was just how it was done.         It was set up that way.

   17    Q      As far as you knew, as far as you were concerned, was

   18    Holter Labs ever billing for a 30-day event?

   19    A      No.

   20    Q      Did you know any claims were being made to insurance

   21    companies for 30-day event?

   22    A      No.

   23    Q      Did -- what occurred next in your relationship with

   24    defendant after he moved to Portland and you developed the

   25    suspicions?




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     1   A      Basically, I got ahold of Jim Cast to check on what was

     2   being billed because I never knew.

     3          So he accessed the Blue Shield account, and went in and

     4   found out what was being billed through that company.

     5   Q      Can you just remind the jury who Jim Cast was?

     6   A      He was there from 2005 to 2006, like, the third partner,

     7   possible partner.

     8   Q      Did he remain a partner after 2006?

     9   A      No.

   10    Q      Why not?

   11    A      He had another job, and he didn't have time for it.

   12    Q      When was it you contacted him again?

   13    A      2012.

   14    Q      So between 2006 and 2012, were there any other partners

   15    besides you and defendant?

   16    A      No.

   17    Q      Anyone else working at Holter Labs?

   18    A      No.

   19    Q      Why did you contact Jim Cast?

   20    A      Because he got the provider.

   21           You have to get it in the beginning of 2005, or 06, he's

   22    the one that got it, so he's the one that could access or call

   23    and get in.     He was the contact.

   24    Q      When you say "access," what do you mean by that?

   25    A      You could log-in to the Blue Shield account.




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     1   Q       How many insurance companies did Holter Labs do business

     2   with?

     3   A       At least 20.

     4   Q       For those insurance companies, did Holter Labs have

     5   contracts with the insurance companies?

     6   A       Some of them, yes.

     7   Q       And some of them not?

     8   A       Yes.

     9   Q       Did Holter Labs submit -- how did Holter Labs submit

   10    claims to those insurance companies, if you know?

   11    A       They were submitted -- paid electronically, I don't know

   12    exactly where they were sent -- like how.

   13    Q       When they were submitted electronically, did you have

   14    log-in and password access for any of the electronic systems?

   15    A       No.

   16    Q       Who had that access?

   17    A       Any access was Mike on the providerships.

   18    Q       Did he tell you what the information was?

   19    A       No.

   20    Q       So was it only the Blue Cross Blue Shield that Jim Cast

   21    had access to?

   22    A       Yes.

   23    Q       And why was that?

   24    A       Because he's the one that got the providership at the

   25    beginning.




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     1   Q      Okay.   Why did you contact Jim Cast to try to gain this

     2   access?

     3   A      I needed to see what was going on with the billing and the

     4   company.

     5   Q      Why did you need to see that?

     6   A      It just -- I have never seen it.          I needed to see what was

     7   going on as far as what was going on as far as the money.

     8   Q      If you had never seen it before, why did you decide you

     9   needed to see it now?

   10    A      Because I thought something was going on when he moved to

   11    Oregon, and he bought the big house and stuff.

   12    Q      Did you and Jim Cast access the records?

   13    A      Yes.

   14    Q      How did you do that?

   15    A      He contacted Blue Shield, and he was the contact -- his

   16    name matched, so he got in.

   17    Q      Could you take a look at what has been marked as

   18    Exhibit 21?

   19           Do you recognize this document.

   20    A      Yes.

   21    Q      What is it?

   22    A      It's a Blue Shield -- where it shows the patient.

   23    Q      Is it printed out from a website?

   24    A      Yes.

   25    Q      On what -- does it appear -- does it indicate on what date




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     1   it was printed out?

     2   A      I don't see the date, offhand, 2012, 10/13/2012.

     3   Q      Are these the records you obtained from Blue Cross?

     4   A      Yes.

     5                 MR. FREEDMAN:     Your Honor, the government moves to

     6   admit Exhibit 21.

     7                 MR. MCDERMOTT:     No objection.

     8                 THE COURT:    It will be received.

     9          (Exhibit 21 received into evidence.)

   10    BY MR. FREEDMAN:

   11    Q      Did you ultimately provide a copy of those documents to

   12    the government?

   13    A      Yes.

   14    Q      Are these the documents you found when you and Jim Cast

   15    were able to gain access?

   16    A      Yes.

   17    Q      Did obtaining these documents lead you to any conclusions?

   18    A      I Googled some of the codes and they weren't the codes

   19    that we were doing.

   20    Q      What were some of the codes you found, if you remember?

   21    A      The one on here 95827.

   22    Q      What was that?

   23           Do you remember what you found when you Googled that?

   24    A      Offhand, I can't match the code with what it was, but I

   25    don't know what that code is.




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     1   Q      Aside from the numbers of codes, do you have any

     2   recollection of what sort of terminology you found when you did

     3   these Google searchs?

     4   A      Yes.

     5   Q      What were some of those services?

     6   A      One was some type of brain test.          The other was T-wave

     7   Alternans, and the other one was sleep apnea.

     8   Q      And what was your conclusion after doing the Google

     9   search?

   10    A      That we were not doing those tests.

   11    Q      Had you ever known before this point that bills had been

   12    made -- claims had been made for those tests?

   13    A      No.

   14    Q      Had you ever known before whether those kind of tests were

   15    actually performed?

   16    A      No.

   17    Q      Had you ever seen a glossary of terms of tests that Holter

   18    Labs provided with its claims?

   19    A      Glossary?

   20    Q      Had you ever seen written expressions of these services

   21    before?

   22    A      Not those, no.

   23    Q      Okay.   Did you learn anything else from this investigation

   24    into the insurance records?

   25    A      There were different dates of service billed many times




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     1   for the same patient.

     2   Q      Did you learn anything about whether the insurance

     3   companies made payments on these claims?

     4   A      Some of them made payments, yes.

     5   Q      How did you determine that?

     6   A      It says in the red column.

     7   Q      Did you take any further investigation to see where those

     8   claims were paid?

     9          What account they were made into?

   10    A      Basically Jim got a returned check, yes.

   11    Q      And what account was that returned check for?

   12    A      Bank of the West.

   13    Q      Was it a Holter Labs Bank of the West account?

   14    A      Yes.

   15    Q      Did you know before this date that Holter Labs had a Bank

   16    of the West account?

   17    A      No.

   18    Q      Were you a signatory on any Bank of the West account for

   19    Holter Labs?

   20    A      No.

   21    Q      Okay.   When you learned this information, did you take any

   22    action with respect to the defendant?

   23    A      No.

   24    Q      Did you ask him about what you had found?

   25    A      No.




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     1   Q      Did you have a feeling that you should have earned some of

     2   this money?

     3   A      No.

     4   Q      Did you try to obtain any relief or money from the

     5   defendant?

     6   A      I was on a civil lawsuit.

     7   Q      You filed a civil lawsuit?

     8   A      Yes.

     9   Q      When did you file the civil lawsuit?

   10    A      It was March or April, 2013.

   11    Q      How did you -- did you have a lawyer?

   12    A      Yes.

   13    Q      How did you pay for the lawyer?

   14    A      I got money out of the Holter Labs account.

   15    Q      How much money?

   16    A      24,000.

   17    Q      And when you say the Holter Labs account, which account?

   18    A      The Chase Bank account.

   19    Q      Did the defendant have any response when you took that

   20    money out of the account?

   21    A      He sent an e-mail, "what is this"?

   22    Q      Did he take any further action?

   23    A      He cut me out of the business.

   24    Q      How did he do that?

   25    A      He basically stopped access to the Holter -- any Holter




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     1   Labs stuff, like the log-ins and everything.

     2   Q      So after this point, was it in 2013, you said?

     3   A      The end of 2012.

     4   Q      So did you stop reviewing reports for Holter Labs at some

     5   point in time?

     6   A      Yes, right then.

     7   Q      End of 2012.     And in the lawsuit, did it proceed -- were

     8   filings made in Court?

     9   A      Yes.

   10    Q      Did you receive copies of those filings?

   11    A      Yes.

   12    Q      In those filings, was there an issue as to who owned the

   13    business, Holter Labs?

   14    A      Yes.

   15    Q      And what was the -- did the defendant take a position in

   16    that lawsuit on who owned Holter Labs?

   17    A      Yes.

   18    Q      What was his position?

   19    A      He was claiming I was just an agent of Holter Labs.

   20    Q      Who did he claim owned Holter Labs?

   21    A      He claimed that he owned Holter Labs, Mike.

   22    Q      Could you take a look at what has been marked as

   23    Exhibit 23?

   24           Do you recognize in document?

   25    A      Yes.




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     1   Q      What is it?

     2   A      It's a lawsuit.

     3   Q      And is this the lawsuit you were just describing?

     4   A      Yes.

     5   Q      You were involved in?

     6   A      Yes.

     7                 MR. FREEDMAN:     Your Honor, we move to admit

     8   Exhibit 23.

     9                 MR. MCDERMOTT:     No objection.

   10                  THE COURT:    It will be received.

   11           (Exhibit 23 received into evidence.)

   12    BY MR. FREEDMAN:

   13    Q      So, let's take a look at page 2 here, Section 5.             What

   14    does that read?

   15    A      "Defendant admits that Mirando, created an entity in

   16    Oregon known as Holter Labs, LLC, where he was the sole member.

   17    Defendant denies the other material allegation."

   18    Q      Then let's look at page 4.

   19           Can you read the first line here?

   20    A      "I am a member of Holter Labs, LLC, a party to this

   21    action."

   22    Q      I think -- can you read it again more carefully at the

   23    beginning?

   24    A      "I am the member of Holter Labs, LLC, a party to this

   25    action.




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     1   Q      Who signed this?

     2   A      Michael Mirando.

     3   Q      Okay.   Do you recognize that signature?

     4   A      Yes.

     5   Q      Had you seen his signature before in doing business with

     6   him?

     7   A      Yes.

     8   Q      Is that defendant's signature?

     9   A      Yes.

   10    Q      What happened with the lawsuit?

   11    A      Just went on and I gave up on it.          I didn't have any

   12    money, so I couldn't keep it going.

   13    Q      Okay.   Did you ever make any threats against the

   14    defendant?

   15    A      No.

   16    Q      Did he ever make any threats against you?

   17    A      At one time he did.

   18    Q      What did he say?

   19    A      He said he had a lot of guns, and he's a better aim than

   20    me.

   21    Q      Was that in the course of this lawsuit?

   22    A      It was right before -- right around when Jim filed the

   23    lawsuit first.

   24    Q      Okay.   Was it after the lawsuit -- was the lawsuit still

   25    pending when you contacted the government?




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     1   A      Yes.

     2   Q      Were you trying to involve the government for some benefit

     3   in the civil lawsuit?

     4   A      No.

     5   Q      Did you ever threaten the defendant that you were going to

     6   go to the government to report him?

     7   A      No.

     8   Q      Why -- what was your motivation then for reporting this to

     9   the government?

   10    A      It seemed like the right thing to do.

   11    Q      And why was that?

   12    A      Because I saw all of the billing that was all wrong, and

   13    it was out of control.

   14    Q      And it was billing that had occurred when it was still

   15    your company?

   16    A      Yes.

   17    Q      Okay.

   18                   MR. FREEDMAN:    No further questions at this time,

   19    Your Honor.

   20                   THE COURT:   Cross-examination?

   21                   MR. MCDERMOTT:    Yes, sir.

   22

   23                                 CROSS-EXAMINATION

   24    BY MR. MCDERMOTT:

   25    Q      Mr. Crowley, I want you to tell the jury what you think of




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     1   Mr. Mirando?

     2   A      What I think of him?

     3   Q      Yeah, what do you think of him?

     4   A      I don't really have anything to say.

     5   Q      Personal opinion, you despise the man, don't you?

     6   A      No.

     7   Q      You don't?

     8   A      No.

     9   Q      You absolutely have total disgust for him, don't you?

   10    A      No.

   11    Q      Not at all?

   12    A      No.

   13    Q      Not a bit?

   14    A      No.

   15    Q      Because in fact he stole your company from you.

   16           That is your testimony, correct?

   17    A      Yes.

   18    Q      He stole your company that you started with him and walked

   19    away from it, correct?

   20    A      Yes.

   21    Q      And you are not angry at him?

   22    A      Yeah, I'm angry, but I'm not in total disgust.

   23    Q      Okay.   And you are angry still to this day, are you not?

   24    A      Slightly.

   25    Q      Let's talk about your business.




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     1          Didn't you testify yesterday that you had already a

     2   business in place when you met Mr. Mirando?

     3   A      Yes.

     4   Q      In fact the two of you lived in a condo complex in Aliso

     5   Viejo, correct?

     6   A      Yes.

     7   Q      And it was 2002, when you first met my client, right?

     8   A      Yes.

     9   Q      And in fact, my client -- he's about, what, 10 or 15 years

   10    younger than you?

   11    A      He's 12.

   12    Q      12 years younger?

   13    A      Yeah, 12.

   14    Q      And at some point in time the two of you became friends,

   15    right?

   16    A      Yes.

   17    Q      And before you got into a business together you were

   18    friends; is that true?

   19    A      Yes.

   20    Q      And at some point in time, you asked him to get involved

   21    with your business, true?

   22    A      Actually, he asked me.

   23    Q      He asked you?

   24    A      Yes.

   25    Q      Well, what kind of business did you have in 2002?




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     1   A      It was a Holter business.

     2   Q      It was a Holter business?

     3   A      Yes.

     4   Q      Well, you had been involved with Holter for quite

     5   sometime, had you not?

     6   A      Yes.

     7   Q      What was your previous employer?

     8   A      It was Nationwide Cardio.

     9   Q      Nationwide Cardio.

   10           Now, how long had you been working for Nationwide Cardio?

   11    A      A few years.

   12    Q      What is a few?

   13    A      Maybe three.

   14    Q      Three years?

   15           By that time -- I mean, when did you start working there

   16    and when did you leave?

   17    A      I left there in 2005.

   18    Q      And when did you start?

   19    A      2002.

   20    Q      2002.   Had you worked in the Holter industry before that?

   21    A      Yes.

   22    Q      And what company was that?

   23    A      National Cardio.

   24    Q      National Cardio.

   25           What was the name of your company?




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     1   A      Nationwide Cardio.

     2          It wasn't my company really, though, it was another

     3   person's.

     4   Q      That would be Mr. Burns?

     5   A      No.

     6   Q      Who was it?

     7   A      Darren Slack.

     8   Q      Slack.

     9          Now, when you were working for the first company, that was

   10    owned by a family named Parsons?

   11    A      Yes.

   12    Q      When did you start working for them?

   13    A      In 1998.

   14    Q      1998.    And you worked for them for how long?

   15    A      Until 2002.

   16    Q      2002.

   17           At which point in time you were fired from that company,

   18    correct?

   19    A      Yes.

   20    Q      And you started your own company, and that company,

   21    Parsons Company, sued your company, did it not?

   22    A      Yes.

   23    Q      In fact, they claimed that you had stole client lists and

   24    trade secrets from the original company, true?

   25    A      It wasn't my company.       It was Darren Slack's company.




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     1   Q      All right.     But that company got sued, correct?

     2   A      Yes.

     3   Q      And Darren Slack got sued.

     4          Were you named as a defendant in that case?

     5   A      Yes.

     6   Q      So, a former company sued you and Mr. Slack because of

     7   trade secrets and other violations?

     8   A      Yes.

     9   Q      And at some point in time, did you do the right thing and

   10    go to the FBI?

   11    A      Yes.

   12    Q      Now, when you were at the company with Mr. Slack, were you

   13    in fact making money off of Holter devices?

   14    A      Yes.

   15    Q      And how was the Holter device company with Mr. Slack

   16    performing?

   17           Were you making money?

   18    A      Yes.

   19    Q      How much money were you making?

   20    A      Probably about 50 grand a year.

   21    Q      50 grand a year.

   22           And during that time frame with Mr. Slack, were you filing

   23    tax returns?

   24    A      Yes.

   25    Q      During that time frame, you were filing tax returns?




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     1   A      I think so, yes.

     2   Q      You think so.

     3          All right.     From that point in time, when you were sued,

     4   did you in fact then leave that company and start something new

     5   with Mr. Mirando?

     6   A      Yes.

     7   Q      Because it was the completely new company that wouldn't be

     8   involved with Darren Slack or anybody else, true?

     9   A      It was a new company, yes.

   10    Q      Clean break?

   11    A      He was in Riverside.       It was too far away.

   12    Q      When you say Riverside, who was in Riverside?

   13    A      Darren Slack was in Riverside.

   14    Q      So, were you having to travel to Riverside to Aliso Veijo,

   15    to do the work?

   16    A      Yes.

   17    Q      So you two weren't actually transmitting back and forth

   18    e-mails and whatnot to keep your business going, correct?

   19           Let me withdraw that.       I will give you an easier question.

   20           You had to drive every day to Riverside to do your

   21    business with Slack?

   22    A      Yes.

   23    Q      Now, when you set up Holter Labs, there was actually a

   24    contract, an agreement done between the two of you -- you and

   25    Mr. Mirando, correct?




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     1   A      Yes.

     2   Q      And that contract was something you signed, correct?

     3   A      Yes.

     4   Q      And in that contract it indicated who got what, who was

     5   responsible for how much, correct?

     6   A      Yes.

     7   Q      All right.     Now let me ask you this:        What was your

     8   portion of the contribution to this company with Michael

     9   Mirando?

   10    A      Person with the recorders from the previous company.

   11    Q      All right.     And you took those recorders from the previous

   12    company, correct?

   13    A      I did -- yes, they were half mine.

   14    Q      Half yours?     Now when you say "half yours," you mean Slack

   15    owned half of it?

   16    A      Yes.

   17    Q      And did you pay Slack for his portion of it?

   18    A      No.    He gave me half.

   19    Q      He gave you half.

   20    A      Yes.

   21    Q      How many of those properly functioned by the time you set

   22    up Holter Labs?

   23    A      Probably around 30.

   24    Q      30 of them?

   25           Now, did you see that list that you looked at as far as




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     1   the devices at Holter Labs?

     2   A      This one?

     3   Q      Yes.

     4   A      Yes.   I looked at it a little bit.         It is a far newer

     5   list, though.

     6   Q      It is, far newer.

     7          Now are you saying that this was a list that wasn't

     8   created while you were with Holter Labs?

     9   A      I don't know if that is the exact list, but it's very

   10    similar.

   11    Q      Very similar.     But on that list can you identify which

   12    devices were yours that you brought to the --

   13    A      I could if I probably -- if I saw the numbers.

   14    Q      Well, take a look at the document.

   15           Do you have it in front of you?

   16    A      What number is it?

   17    Q      Number 17, please.

   18           Do you have Number 17 in front of you?

   19    A      Yes.

   20    Q      Look through the list and tell us which one of those

   21    devices you brought to Holter Labs?

   22    A      The ones that do not say "VXE."

   23    Q      I'm sorry?

   24    A      VXK.

   25    Q      The ones that do or don't say VXE?




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     1   A       The ones that don't.

     2   Q       All right.    So how many of them are there?

     3   A       I will have to count them.       There is a lot of pages.

     4   Q       I'm sorry?

     5   A       It says 13 on here, but there was more.

     6   Q       There was more?

     7   A       Yes.

     8   Q       But they are not listed there, is it, so that may not be a

     9   correct list of all of the devices that were at Holter Labs,

   10    true?

   11    A       I don't know.

   12    Q       You don't know.

   13            So there may have been other devices that Holter Labs had

   14    that you are not aware of, correct?

   15    A       Correct.

   16    Q       Now, let's talk about the formation.

   17            The two you were living in the same complex in Aliso

   18    Viejo, in 2002.

   19            And by 2005, the two of you decided to form a business

   20    together, correct?

   21    A       Yes.

   22    Q       In that business, one of the things that Mr. Mirando

   23    brought to the table was $40,000, correct?

   24    A       Yes.

   25    Q       And the other thing he brought to the table was the




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     1   ability to apply for credit, true?

     2   A      Yes.

     3   Q      Well, for example, wasn't there an American Express

     4   account set up with the business?

     5   A      Yes.

     6   Q      In fact, you had a card from that account that you used

     7   for your expenses?

     8   A      Yes.

     9   Q      So in addition to the salary that you received over the

   10    course of time, your expenses were paid by the company,

   11    correct?

   12    A      Yes.

   13    Q      Is that yes?

   14    A      Some, yes.

   15    Q      In fact, during the entire time you were with Holter Labs,

   16    did you ever use your credit history to secure an item or

   17    document or a device for Holter Labs?

   18    A      No.

   19    Q      That is because your credit wouldn't sustain being able to

   20    buy something for Holter Labs; isn't that true?

   21    A      At the beginning.

   22    Q      Well, at the beginning because you had no tax record

   23    history; isn't that true?

   24    A      No.

   25    Q      No.    All right.    So in 2004, 2005, 2006, you had filed tax




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     1   returns, correct?

     2   A       I don't know.

     3   Q       You don't know.

     4   A       I think all of my taxes -- yes, I think they are all filed

     5   now.

     6   Q       Well, they are filed now.

     7   A       Yes.

     8                  THE COURT:   Counsel.

     9                  MR. MCDERMOTT:    I'm sorry, sir.

   10    BY MR. MCDERMOTT:

   11    Q       So in 2005 time frame, you form this business, and it's

   12    yours and Mr. Mirando's, correct?

   13    A       Yes.

   14    Q       And in this agreement, there is no mention originally of

   15    James Cast, is there?

   16    A       Not originally, no.

   17    Q       In fact Mr. Cast was brought in -- he was somebody you

   18    knew, correct?

   19    A       Yes.

   20    Q       And that person was somebody you worked with at the

   21    Parsons Company, correct?

   22    A       Yes.

   23    Q       That is where -- well, the two of you met long before

   24    that.

   25            You actually went to high school together, right?




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     1   A      I didn't hang around Mr. Cast in high school.

     2   Q      But you went to the same high school?

     3   A      Yes.

     4   Q      And maybe I'm thinking this thing wrong, you and Mr. Slack

     5   went to high school together, right?

     6   A      Yes, but he was a lot younger.

     7   Q      Okay.   But all three of you from the same high school were

     8   involved in the same business which was Holter devices,

     9   correct?

   10    A      Yes.

   11    Q      Explain to the jury when you were working at Parsons -- we

   12    will call it Parsons -- did you in fact have any medical

   13    training?

   14    A      No.

   15    Q      Any background?

   16    A      I was trained through National Cardio.

   17    Q      Okay.   And they trained you how to do the interpretation

   18    aspect of it?

   19    A      Yes.

   20    Q      What else did they train you to do?

   21    A      That's it.

   22    Q      Well, did you prepare a declaration in this lawsuit that

   23    the government has been talking about when you tried to get

   24    your interest or take control of the Holter Labs Company -- did

   25    you file a declaration under penalty of perjury in that case?




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     1   A      Yes.

     2   Q      You did.    Do you recall some of the contents of that

     3   declaration under penalty of perjury?

     4   A      Not offhand, no.

     5   Q      Sir, I have an original for the witness and a copy for the

     6   Court.

     7          I think the next in order would have been C as in Charlie?

     8                 THE COURT:    Ladies and gentlemen, we're going to

     9   take our first break this morning.

   10           Again, I want to remind you until this trial is over, you

   11    are not to discuss this case with anyone including your fellow

   12    jurors, your family members, people involved in the trial or

   13    anyone else.      And do not allow them to discuss the case.

   14           This includes discussing the case on the Internet, by

   15    bulletin boards, e-mail, text messages, and if anyone tries to

   16    talk to you about this case, please let me know immediately.

   17           Do not read, watch or listen to any news reports or other

   18    accounts about the trial or anyone associated with it.

   19           Do not do any research such as consulting dictionaries,

   20    searching the Internet, and do not make any investigation about

   21    the case on your own.

   22           Finally, you are reminded to keep an open mind until all

   23    of the evidence has been received, you have heard the arguments

   24    of counsel, and the instructions of the Court and the views of

   25    your fellow jurors.




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     1          If you need to speak with me, simply leave a note with the

     2   clerk.

     3          We're going to come back at 9:35.

     4                  (JURY EXITS THE COURTROOM AT 9:24 A.M.)

     5                 THE COURT:    You maybe seated.       This declaration is

     6   filed in the underlying suit between your client and him.

     7                 MR. MCDERMOTT:     Yes, sir.     The lawsuit identified by

     8   the government on direct.

     9                 THE COURT:    Is there a particular paragraph?

   10                  MR. MCDERMOTT:     Actually, sir, it isn't going to be

   11    a document that I'm going to offer to the jury as an

   12    evidentiary document, but I do intend to confront him

   13    specifically about the first couple of paragraphs relating to

   14    his training and experience to include the fact that he had

   15    extensive training in billing, which is something that he

   16    denied knowing much about on direct.

   17                  THE COURT:    Okay.

   18                  MR. MCDERMOTT:     All right, sir.

   19                  THE COURTROOM DEPUTY:       All rise.

   20                                      (Recess.)

   21                  THE COURTROOM DEPUTY:       All rise.    This United States

   22    Court is in session.       Please be seated.

   23                  THE COURT:    All right.     Mr. McDermott, I take it you

   24    want to use this to impeach him about something he testified

   25    to?




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     1                 MR. MCDERMOTT:     Yes, sir.

     2                 THE COURT:    On his direct?

     3                 MR. MCDERMOTT:     Yes, sir.

     4                 THE COURT:    And what is the page and the line on

     5   this?

     6                 MR. MCDERMOTT:     I'm sorry, sir.      We are going to

     7   start -- obviously, I will have him identify Paragraph 1, and

     8   obviously the signature page and the attestation in the back.

     9           Precisely it would be Paragraph 2, Lines 8 through 11.

   10            In particular, the billing of insurance companies for

   11    services related to Holter monitors.

   12                  THE COURT:    Okay.    Well, we already know you have

   13    already elicited -- you gave a declaration.

   14                  MR. MCDERMOTT:     Yes.

   15                  THE COURT:    He prepared a declaration in this civil

   16    lawsuit and then he was cited under penalty of perjury,

   17    correct?

   18                  MR. MCDERMOTT:     Yes, sir.

   19                  THE COURT:    So, I take it it's your position that

   20    Lines 8 through 11 are inconsistent with testimony that he gave

   21    on direct?

   22                  MR. MCDERMOTT:     Yes, sir.

   23                  THE COURT:    Okay.    So it seems to me, and I will --

   24    if we could make up an instruction to tell the jury what a

   25    declaration is, they know it is under penalty of perjury, and I




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     1   think you read the paragraph.

     2          Start out on page 1, Paragraph 1, 8 through 11 and read it

     3   and move on.

     4                 MR. MCDERMOTT:     Yes, sir.

     5                 THE COURT:    Okay.

     6                 MR. MCDERMOTT:     I indicated to the Court it's not

     7   something I was going to offer to admit into evidence.               It was

     8   basically just to impeach.

     9                 THE COURT:    Does the government have any objection

   10    to Line 8 through 11?

   11                  MR. FREEDMAN:     No.   Your Honor, we prefer 2 and 3 be

   12    read for completeness.        It's the same issue being addressed.

   13                  MR. MCDERMOTT:     Well, the entire Paragraph 2?

   14                  MR. FREEDMAN:     And 3.

   15                  MR. MCDERMOTT:     And 3.

   16                  THE COURT:    What is your view?

   17                  MR. MCDERMOTT:     I'm not necessarily contesting that

   18    Michael Mirando may have done billing for Holter Labs.               I don't

   19    know if this is, you know, bolstering, you know, prior

   20    testimony that has not necessarily been challenged at this

   21    point.

   22                  THE COURT:    Well, if you have an objection to

   23    reading paragraph -- isn't the government really interested in

   24    line -- I guess it's Line 18, starting with the word

   25    "additionally."      I guess down to Line 23 or 24?




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     1                 MR. FREEDMAN:     Yes.

     2                 THE COURT:    Okay.

     3                 MR. MCDERMOTT:     That's fine.

     4                 THE COURT:    Okay.     Anything else you want to impeach

     5   him with?

     6                 MR. MCDERMOTT:     No, sir.

     7                 THE COURT:    All right.      Anything else we need to

     8   take up?

     9                 MR. FREEDMAN:     No.

   10                  MR. MCDERMOTT:     No, sir.

   11                  THE COURT:    Okay.     Let's bring the jury in.

   12           You may be seated.

   13                   (JURY ENTERS THE COURTROOM AT 9:46 A.M.)

   14                  THE COURT:    While we're waiting for this witness,

   15    did the jury have occasion to decide whether or not you want to

   16    be here on Monday?

   17                  JUROR:    We decided we would rather come in Tuesday.

   18                  THE COURT:    Okay.

   19                  JUROR:    If closing arguments are only going to take

   20    an hour, probably we would rather do them Tuesday morning, so

   21    it's fresh.

   22                  THE COURT:    Okay.     You don't want to be down here on

   23    Monday?

   24                  JUROR:    No thanks.     It's not you, it's the 1,000.

   25                  THE COURT:    My closest personal friends.




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     1          Let's bring the witness in.

     2                 MR. MCDERMOTT:     May I, sir?

     3          Madam Clerk is the original document up there?

     4                 THE COURT:    All right.     Everybody keep your voice up

     5   and we will see if we can get a technician in here.

     6   BY MR. MCDERMOTT:

     7   Q      All right.     Mr. Crowley, I asked the clerk to put in front

     8   of you what we have marked for the record as Defense Exhibit C.

     9          Do you have that document in front of you?

   10    A      Yes.

   11    Q      And have you seen that document before?

   12    A      Yes.

   13    Q      And in fact, isn't that a document that you had prepared

   14    in the civil case?

   15    A      Yes.

   16    Q      Could I have you take a look at the first paragraph, and

   17    indicate to the jury what that paragraph contains?

   18                  THE COURT:    Let's go to sidebar.

   19                                 (Sidebar begins.)

   20                  THE COURT:    If you are going to impeach him with

   21    this, and you are not offering it, I don't think he can read

   22    from the document.

   23           You can look at some language that is a declaration that

   24    is filed in that action under penalty of perjury.

   25                  MR. MCDERMOTT:     All right.     That is fine.




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     1                  THE COURT:   All right.

     2                                (Sidebar ends.)

     3   BY MR. MCDERMOTT:

     4   Q       Mr. Crowley, I would also have you take a look at the last

     5   page.

     6           Do you see a signature on that last page?

     7   A       Yes.

     8   Q       And is this a document, when you signed it, was it your

     9   understanding this was a declaration made under penalty of

   10    perjury?

   11    A       Yes.

   12    Q       And in this particular document, did you in fact identify

   13    what kind of experience you had in the healthcare industry?

   14    A       Yes.

   15    Q       And in fact, did you not indicate --

   16                   THE COURT:   Page and line.      Just read it.

   17                   MR. MCDERMOTT:    I will read it.      [As read:]

   18            Paragraph 2:    "I have worked in the patient monitoring

   19    aspect of healthcare for more than 15 years.             I have extensive

   20    experience with Holter monitors, including the set-up of the

   21    monitoring program with the doctor's office, the receipt of

   22    data from the monitors, the creation of reports for doctors,

   23    and the billing of insurance companies for services related to

   24    Holter monitors.

   25            Prior to forming Holter Labs, LLC, in 2005, I had been




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     1   employed by similar companies providing monitoring services for

     2   filling the same role."

     3           Did you in fact --

     4                 THE COURT:    Excuse me, sir.      Let's read Paragraph 3.

     5                 MR. MCDERMOTT:      Starting with "additionally"?

     6                 THE COURT:    Yes.

     7                 MR. MCDERMOTT:      Yes, sir.

     8           "Additionally, the cardiac Holter report and patient

     9   insurance information was sent to Mr. Mirando for billing of

   10    the insurance companies based upon the type of monitoring

   11    requested by the doctor and provided by Holter Labs.

   12            The insurance company then remits the payments to Holter

   13    Labs.

   14            At all times I was associated with Holter Labs.

   15            Michael Mirando was solely responsible for the billing by

   16    Holter Labs of the patient healthcare insurers in the

   17    collection of payments from the insurance company."

   18                  THE COURT:    Yes.    If I could just see both counsel

   19    at sidebar?

   20                                (Sidebar begins.)

   21                  THE COURT:    Okay.    Now, you were about to ask him

   22    what?

   23                  MR. MCDERMOTT:      Was it true, as to his experience

   24    with billing --

   25                  THE COURT:    No.    He's already -- this is nothing --




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     1   this is just like a deposition transcript or grand jury

     2   transcript.

     3          They say one thing on direct.         You have got something --

     4   but they have impeached -- it's already before the jury.

     5                 MR. MCDERMOTT:     Right.

     6                 THE COURT:    That's it.

     7                 MR. MCDERMOTT:     Okay.

     8                 THE COURT:    We don't do any more.

     9                 MR. MCDERMOTT:     All right.     So I can't even ask him

   10    about whether or not that statement regarding his understanding

   11    of billing services is incorrect?

   12                  THE COURT:    I assumed that when you -- that you had

   13    already set this up.

   14                  MR. MCDERMOTT:     Right.

   15                  THE COURT:    And you have got him at one point

   16    saying, "I guess, I don't know much about billing."

   17                  MR. MCDERMOTT:     Right.

   18                  THE COURT:    Now he's under penalty of perjury,

   19    saying, "I have extensive experience in billing."              That's it.

   20                  MR. MCDERMOTT:     All right.

   21                  THE COURT:    Okay.

   22                                 (Sidebar ends.)

   23    BY MR. MCDERMOTT:

   24    Q      Now, Mr. Crowley, during the course of the time you were

   25    working with Holter Labs -- it originally started in a spare




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     1   room in your condominium?

     2   A      A house, yes.

     3   Q      A house.

     4          Where was that house located?

     5   A      Aliso Viejo.

     6   Q      You had a spare room that actually was where the two of

     7   you would work together?

     8   A      Three.

     9   Q      Three.    Well, at some point Cast came along; is that

   10    correct?

   11    A      Yes.

   12    Q      How long had you and Mr. Mirando worked together before

   13    Mr. Cast came into the picture?

   14    A      I don't recall exactly.

   15    Q      Couple of months?      Half a year?     Any estimate, whatsoever?

   16    A      Less than half a year.

   17    Q      Now, during that time, was Holter Labs actually billing

   18    for services?

   19    A      The Holter Labs was only billing after Mirando and Cast

   20    started.

   21    Q      All right.     So during the time that it was just you and

   22    Mr. Mirando, there was no business going on with Holter Labs?

   23    A      There was no billing getting done.

   24    Q      No billing was being done.

   25           Were you doing reports?




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     1   A      It all started together, reports and billing.             That's why

     2   Jim was brought on.

     3   Q      All right.     That's because Mr. Mirando didn't know

     4   billing, correct?

     5   A      He did not know billing.

     6   Q      He did not know.      And Mr. Cast was brought in because he

     7   was somebody that had extensive experience in billing, correct?

     8   A      Yes.

     9   Q      And it was Mr. Cast that taught Mr. Mirando how to do

   10    billing, true?

   11    A      He went through it, yes.

   12    Q      And while this -- did they have training sessions -- what

   13    exactly did they do?

   14    A      They just sat in the corner and worked together.

   15    Q      And to your understanding, had you ever been through a

   16    class, a seminar, anything during your 15 years of experience,

   17    that taught you about CPT codes?

   18    A      No.

   19    Q      Is there anything like that during the time frame you have

   20    been working with Holter device available to somebody?

   21                  MR. FREEDMAN:     Objection.     Lacks personal knowledge

   22    and foundation.

   23                  THE COURT:    Sustained.

   24    BY MR. MCDERMOTT:

   25    Q      To your knowledge, you have never had an opportunity to




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     1   engage in a training seminar or any kind of classes relating to

     2   CPT codes, correct?

     3   A      Correct.

     4   Q      Are you aware of whether or not these training seminars or

     5   classes actually exist?

     6                  MR. FREEDMAN:     Same objection.

     7                  MR. MCDERMOTT:    Foundation question, sir.

     8                  THE COURT:   You can answer yes or no.

     9                  THE WITNESS:     No.

   10    BY MR. MCDERMOTT:

   11    Q      So, when you brought -- did you personally approach Mr.

   12    Cast to have him come in?

   13    A      I mentioned it to Mike.        Mike thought it would be a good

   14    idea to bring him in.

   15    Q      Okay.    So, you had worked with Cast in the past.           You knew

   16    he had the experience and obviously Mr. Mirando did not,

   17    correct?

   18    A      Correct.

   19    Q      And so, sometime in 2005, ballpark time frame?

   20    A      Yes.

   21    Q      And he was part of the company, until 2006?

   22    A      Somewhere around there, yes.

   23    Q      And at some point in time, did you and Mr. Mirando execute

   24    an agreement regarding your company -- your partnership?

   25    A      Yes.




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     1   Q      Was that agreement modified when Mr. Cast came onboard?

     2   A      Yes.

     3   Q      And how -- excuse me.

     4          So, for a period of time Mr. Cast was considered also a

     5   member of the partnership?

     6   A      On the operating agreement, yes.

     7   Q      And at some point in time, he left; is that true?

     8   A      Yes.

     9   Q      And can you tell us the circumstances as to why he left?

   10    A      He had another job, and didn't have enough time.

   11    Q      So, he was asked to leave or he just voluntarily left on

   12    his own?

   13    A      It was kind of a mutual thing.

   14    Q      So you were just as anxious to see him go as he was

   15    anxious to leave?

   16    A      I don't recall.

   17    Q      Well, let me ask you this:        After he left, did the two of

   18    you remain in contact?

   19    A      Not -- briefly, yeah.

   20    Q      Because you were social friends, were you not, in addition

   21    to business partners?

   22    A      Yes.

   23    Q      Now, while the company was being formed -- while you were

   24    creating Holter Labs, were you at all engaged in the

   25    advertising brochures, the order forms -- did you ever have an




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     1   opportunity to review them and look at them?

     2   A      I looked at them.

     3   Q      At any point in time, did you raise an objection as to

     4   anything contained in the advertising fliers that we have been

     5   looking at in this Court?

     6   A      No.

     7   Q      Because certainly, if you thought there was something on

     8   an advertising flier that was false or incorrect, you would

     9   have done something about changing it, correct?

   10    A      If I saw it, yes.

   11    Q      All right.     And the government had you take a look at some

   12    documents.

   13           We will go back to the large folder, if you would.

   14           Let's take a look at Number 14 for starters, please.

   15           Can you find Number 14?

   16    A      Yes.

   17    Q      Now you have identified that document as something that

   18    was related to Holter Labs, true?

   19    A      Yes.

   20    Q      And Number 14, it is a flier that contains various amounts

   21    of information on it, correct?

   22    A      Correct.

   23    Q      Would this have been a flier that was being circulated

   24    during the time that you were working at Holter Labs?

   25    A      Possibly, yes.




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     1   Q      Okay.   Now is there anything on that particular document

     2   that you find to be untrue?

     3   A      Right now, I don't see anything.

     4   Q      All right.     So that document isn't making any

     5   misrepresentations as far as you are concerned, correct?

     6   A      As far as I know.

     7   Q      And this was -- was this a flier that was going to the

     8   doctors that you testified about?

     9   A      Yes.

   10    Q      Now, I believe you testified on direct that you had an

   11    understanding as to the number of doctors who were contacted.

   12           And you said it was in the thousands?

   13    A      Yes.

   14    Q      And you estimated that about 5 percent of them responded

   15    positively; is that correct?

   16    A      I said possibly under 5 percent.

   17    Q      And you looked at a list of the devices that might have

   18    been with various doctors, and that was Exhibit No. 17,

   19    correct?

   20    A      I don't remember, 17.

   21    Q      That is the one I had you look at to see if you could

   22    identify your devices that you brought to Holter Labs?

   23    A      Okay.

   24    Q      Okay.   Now, these are the doctors that responded

   25    positively to this inquiry.




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     1          And I believe you testified that when a doctor wanted to

     2   be involved with Holter Labs, they had to fill out some

     3   paperwork to sign on with Holter Labs?

     4   A      Yes.

     5   Q      And what was the purpose of having a doctor fill out that

     6   paperwork?

     7   A      You just signed for the recorder.

     8   Q      Okay.   But also didn't Holter Labs need a physician to

     9   confirm or verify that Holter Labs was doing work for them?

   10    A      Not that I know of, no.

   11    Q      All right.     So how about when you talked to us about the

   12    Blue Shield that was accessed by Mr. Cast, when that

   13    application was made to that insurance companies, were you

   14    involved with that application?

   15    A      No.

   16    Q      So you have no idea what was submitted to the insurance

   17    company; is that correct?

   18    A      Correct.

   19    Q      That was done by Mr. Cast, correct?

   20    A      What was done?

   21    Q      I'm sorry?

   22    A      I don't understand the question.

   23    Q      Well, when you are trying to get a contract with an

   24    insurance company, do you have to submit paperwork?

   25    A      I assume, yes.




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     1   Q      You assumed.

     2          Okay.   But you didn't actually participate?

     3   A      No.

     4   Q      But Mr. Cast had, at least as to -- was that Blue Cross

     5   Blue Shield?

     6   A      Blue Shield.

     7   Q      Blue Shield.     And he was the one that originally set up

     8   that account?

     9   A      Yes.

   10    Q      That wasn't Mr. Mirando, correct?

   11    A      Correct.

   12    Q      Because again, Mr. Mirando didn't know how to do that,

   13    correct?

   14    A      Possibly.

   15    Q      All right.     Now, you weren't around when Mr. Cast made the

   16    application, filled out the paperwork and sent it in to Blue

   17    Cross Blue Shield?

   18    A      No.

   19    Q      Are you aware of whether or not the insurance companies

   20    require any paperwork at all from Holter Labs in order to bill?

   21    A      I'm not aware.

   22    Q      So, your role, according to your testimony, is that all

   23    you would do is receive data from the doctors and prepare

   24    reports?

   25    A      Yes.




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     1   Q      And how would the doctors send you the data?

     2   A      They would upload them.

     3   Q      And how would -- how, I'm sorry, it's working.

     4          How would the doctor be able to upload?           Was there

     5   programming given to the doctor?

     6   A      They had to upload a link.

     7   Q      Okay.    And so, was there ever an occasion which Holter

     8   Labs submitted a bill that didn't go through a doctor?

     9   A      I don't understand the question.

   10    Q      Was there ever an occasion in which a Holter device was

   11    used while you were there that was not authorized by a doctor?

   12    A      Not that I know of.

   13    Q      Now during the entire time that you were working at Holter

   14    Labs, before you left in 2012, had you been aware of any

   15    contact, any inquiry made by an insurance company as to the

   16    billing being done by Holter Labs?

   17    A      No.

   18    Q      Now, just from a perspective when you testified about how

   19    much you were earning, what was your peak year, would it be

   20    2008, 2009, what year was your peak year?

   21    A      2010.

   22    Q      And in '10 how much were you making?

   23    A      I think it was around 200 something.

   24    Q      200.    Okay.   Where were you living at that time?

   25    A      At that time I was living in Tustin.




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     1   Q      Okay.   And you were living there with your family,

     2   correct?

     3   A      Yes.

     4   Q      All right.     Now I'm going to have you take a look at

     5   Exhibit Number 15, which is another document the government had

     6   you take a look at.

     7          Again, you indicated you were familiar with that document,

     8   correct?

     9   A      Okay.

   10    Q      All right.     Now, was that a document that was in existence

   11    while you were working at Holter Labs?

   12    A      It looks like it, yes.

   13    Q      Did you have an opportunity at all to take a look at it

   14    while you were working at Holter Labs?

   15    A      Yes, I saw it over there.

   16    Q      Okay.   In essence, a lot of the promotional materials and

   17    whatnot were put together and formulated when Holter Labs got

   18    started in 2005, 2006, true?

   19    A      Some, yes.

   20    Q      So something like this document that we're looking at,

   21    Number 15, is in fact a document that was created early on?

   22    A      I don't understand the question.

   23    Q      Well, the document that you are looking at that the

   24    government had you take a look at, this one in particular has

   25    to do with devices of what Holter Labs can do, and the




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     1   benefits, correct?

     2   A      Yes.

     3   Q      Is there anything on this document that you deemed to

     4   believe is a false representation?

     5   A      I don't see anything.

     6   Q      All right.     So, even when it talks about at the very top,

     7   sleep apnea screening, did you take issue with that at all?

     8   A      Did I take issue?      What do you mean?

     9   Q      Well, the fact that the device was doing sleep apnea

   10    screening, was that a false statement?

   11    A      It had a sleep apnea report through the ECG, yes.

   12    Q      Okay.    So from your understanding and your experience in

   13    dealing with the Holter device, sleep apnea screening would be

   14    an appropriate function of the device, correct?

   15    A      On the program, yes.

   16    Q      Okay.    Now, tell us again -- explain to us again exactly

   17    what the event button on one of those devices does?

   18    A      The patient has a symptom, they push a button.             They can

   19    push a button.

   20    Q      Right.    And this is something that can be recorded over a

   21    -- how long of a period of time?

   22    A      24 to 48 hours.

   23    Q      So is it your testimony the device can never be used for

   24    something lasting 30 days?

   25    A      Yes.




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     1   Q      So, if there was any representation about a device being

     2   used for 30 days, that would be incorrect?

     3   A      That device, yes.

     4   Q      Okay.   But otherwise, if Holter was using some device that

     5   was going for longer than 24 to 48, it would need another type

     6   of device to be used?

     7   A      Yes.

     8   Q      Now, when you -- in your time of working with Holter Labs,

     9   did you and Mr. Mirando frequently communicate by e-mail?

   10    A      Yes.

   11    Q      Because for a period of time after you apparently expanded

   12    or began to become profitable, the operation moved out of your

   13    house, true?

   14    A      Yes.

   15    Q      And it went to various locations around Orange County that

   16    would be considered business offices?

   17    A      Yes.

   18    Q      And including one in Tustin?

   19    A      Santa Ana.

   20    Q      Santa Ana, on 17th Street?

   21    A      Yes.

   22    Q      And was there other locations?

   23    A      Yes.

   24    Q      And where were they?

   25    A      Laguna Hills, there was a couple.




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     1   Q      All right.     Now would these locations be locations where

     2   you and Mr. Mirando worked together?

     3   A      Only one.

     4   Q      Only one.    Which one was that?

     5   A      Santa Ana.

     6   Q      Santa Ana, and the two of you shared an office space,

     7   correct?

     8   A      Yes.

     9   Q      And you shared office space for the third person, did you

   10    not?

   11    A      Yes.

   12    Q      And so, there was three people working in a smaller

   13    office?

   14    A      There is three people in the office, yes.

   15    Q      Okay.   And at some point in time, did you and Mr. Mirando

   16    have a discussion about your work performance while at that

   17    particular location?

   18    A      I don't recall.

   19    Q      You don't recall.

   20           Do you recall whether or not the two of you got into a

   21    heated argument, and you actually followed him in your truck

   22    and tracked him down, chased him for a period of several miles

   23    until the two of you stopped and pulled over?

   24    A      No, I don't recall.

   25    Q      Now, at some point in time, the decision was made that




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     1   Mr. Mirando was going to move his family to Oregon, correct?

     2   A      Yes.

     3   Q      That was in 2011, right?

     4   A      Yes.

     5   Q      Now, the Tustin location, or the Santa Ana location on

     6   17th Street, approximately what time frame are we talking

     7   about?

     8   A      2006, 2007, 2010, 2011, something like that.

     9   Q      So at the end of '10 or '11, where did they move to --

   10    where did you move your offices to?

   11    A      The offices were moved to Laguna Hills.

   12    Q      Was that a business location?

   13    A      Yes.

   14    Q      Now, while you were at the Santa Ana location, did you and

   15    Mr. Mirando, on a daily basis -- well, during the work week

   16    actually work together in the same room?

   17    A      I worked in the middle room and he worked in the front

   18    office.

   19    Q      In the front office.

   20           And while you were at the Laguna Hills location, did you

   21    in fact work in the same office?

   22    A      No.

   23    Q      Was it different rooms?

   24    A      I didn't work in that office.

   25    Q      Where did you work?




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     1   A      At home.

     2   Q      So, Mr. Mirando set up an office and you worked out of

     3   your home?

     4   A      Yes.

     5   Q      So the entire time you were at the Santa Ana location, you

     6   never once saw a billing; is that your testimony?

     7   A      What?

     8   Q      Did you ever see a billing done by Mr. Mirando while the

     9   two of you were in the same office?

   10    A      I saw it, but I didn't pay attention.           Really, I didn't go

   11    over it.

   12    Q      You saw it -- you saw actual bills being submitted, right?

   13    A      From a distance.      I didn't pay attention to it.

   14    Q      Well, this is your company, correct?

   15    A      Yes.

   16    Q      You are supposed to be making 50 percent of the income,

   17    correct?

   18    A      Correct.

   19    Q      And by 2010 you are making $200,000 a year, correct?

   20    A      Correct.

   21    Q      And again, during that particular calendar year, you

   22    didn't file a tax return, correct?

   23    A      At the time?

   24    Q      That's right.     You filed your tax returns after you talked

   25    to the FBI; isn't that true?




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     1   A      Before.

     2   Q      Before.    Now, you have almost three years -- 2006, 2007,

     3   to 2010 working at the same location.

     4          How, many occasions do you actually think you had a chance

     5   to see a billing?

     6   A      How many times?      I don't know.

     7   Q      But you saw them being performed -- you saw them being put

     8   together, did you not?

     9   A      He was at his desk working.         I was at my desk working.

   10    Q      And the computers were absolutely open to you, were they

   11    not?

   12    A      His computer was not open to me.

   13    Q      So he had a password on his computer that you couldn't

   14    access?

   15    A      Yes.

   16    Q      So you never inquired to find out exactly how the billing

   17    was going and how much was being billed?

   18    A      No.

   19    Q      And you were content with that from 2009 and 2010?

   20    A      Yes.

   21    Q      But at some point in time you began to become suspicious;

   22    is that your testimony?

   23    A      Yes.

   24    Q      Now, didn't that suspicion start when Mr. Cast wanted back

   25    into the company?




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     1   A      I don't recall that.

     2   Q      Well, did you have conversations with Mr. Cast going as

     3   far back as 2008, where he claimed he wanted to be part of the

     4   company again?

     5   A      He had mentioned it.

     6   Q      He mentioned it.

     7          Did you in fact discuss with him whether or not he had a

     8   right to?

     9   A      I didn't really discuss it, no.

   10    Q      You didn't.     Did you in fact tell him that he didn't have

   11    a right to it?

   12    A      I don't remember.

   13    Q      You don't remember.

   14    A      No.

   15    Q      So at some point in time, though, he began communicating

   16    with you that he thought he had the right?

   17                   MR. FREEDMAN:    Objection.     Hearsay.

   18                   THE COURT:   Sustained.

   19    BY MR. MCDERMOTT:

   20    Q      But you learned he filed a lawsuit, right?

   21    A      When?

   22    Q      Well, the one that you were involved with?

   23    A      Oh.

   24    Q      He filed it first, right?

   25    A      He filed it first.




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     1   Q      Yes.    And he told you about it, did he not?

     2   A      Yes.

     3   Q      He gave you a copy of it, correct?

     4   A      He told me about it.

     5   Q      Okay.    Now, when he filed that lawsuit, why weren't you a

     6   party to the lawsuit?

     7   A      I don't know.

     8   Q      I mean, you were being ripped off, money was being stolen

     9   from you, and Mr. Cast comes in and files a lawsuit.

   10           You didn't originally join that lawsuit, true?

   11    A      True.

   12    Q      In fact, that lawsuit was going on almost a year before

   13    you joined, true?

   14    A      I don't know the time frame.         I don't think it was a year.

   15    Q      Six months, at least -- it was a while, correct?

   16    A      Correct.

   17    Q      All of this time you are still working at Holter Labs,

   18    correct?

   19    A      No.

   20    Q      No?     Didn't he file a lawsuit before you left Holter Labs?

   21    A      Right before.

   22    Q      He filed it right before.

   23           All right.     Then you decided you wanted to join the

   24    lawsuit later, correct?

   25    A      Correct.




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     1   Q      And what you did, is you drained the bank account for

     2   Holter Labs of everything that was in it, true?

     3   A      In 2012.

     4   Q      That's right, 2012, correct?

     5   A      Correct.

     6   Q      Now during the entire time --

     7   A      The only bank account I knew of.

     8   Q      And that bank account was one you were signatory on,

     9   correct?

   10    A      Correct.

   11    Q      And before you drained the bank account, you didn't

   12    mention anything to Mr. Mirando, you just took the money,

   13    correct?

   14    A      Correct.

   15    Q      And during the entire time the two of you worked together,

   16    did you exchange e-mails between yourselves?

   17    A      Yes.

   18    Q      Was there ever an e-mail you authored that you sent to

   19    Mr. Mirando, that said, "how much money are we making"?

   20    A      I asked him how much we were making -- he gave me an

   21    e-mail back.

   22    Q      Have you seen that e-mail recently?

   23    A      No.

   24    Q      At any point in time did you write him an e-mail and

   25    demand an accounting of what the company was earning?




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     1   A      I asked him.     I don't know if it was an e-mail or what.

     2   Q      Have you seen an e-mail recently that expressed that

     3   intent, "I want to know what we're making."

     4          Have you seen one lately?

     5   A      I haven't seen one lately, but I know I asked him.

     6   Q      And when you talk about guns -- remember your testimony

     7   about Mr. Mirando having guns, do you remember that testimony?

     8   A      Yes.

     9   Q      And the context of that was, why you should be afraid or

   10    Mr. Cast should be afraid.

   11           What was the purpose of the discussion about guns?

   12    A      It wasn't a discussion about guns.

   13    Q      What was it, then?

   14    A      What are you referring to?

   15    Q      Well, your testimony on direct, you said you had a

   16    discussion with my client regarding weapons?

   17    A      It wasn't about weapons.        It was about the lawsuit.

   18    Q      The lawsuit.

   19    A      He learned of the lawsuit.

   20    Q      Okay.   Was this when you were still at Holter Labs?

   21    A      Yes.

   22    Q      And he is discussing with you weapons?

   23    A      He just brought it up.

   24    Q      He brought it up.

   25           And this was at the Laguna Hills location.




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     1           Were you still were working out of your home?

     2   A       Yes.

     3   Q       Okay.    Was this a phone call you had -- the two of you had

     4   or was it a face-to-face meeting where you were discussing

     5   guns?

     6   A       It was a phone call.

     7   Q       Phone call.

     8           Okay.    And in that he expressed that he was going to --

     9   somehow he had guns, and he was going to deal with the lawsuit

   10    that way.

   11            Was that your testimony?

   12    A       That wasn't my testimony.

   13    Q       All right.     What do you remember exactly it to be?

   14            What was that conversation about?

   15    A       He just said he had more guns and he was a better aim than

   16    me.

   17    Q       Was he making a specific threat to you?

   18    A       I don't know.

   19    Q       You don't know.

   20            Was he making a specific threat to Mr. Cast?

   21    A       No.

   22    Q       No.     He just mentioned it.    Is that your testimony?

   23    A       Yes.

   24    Q       Now, when you went to the FBI in September --

   25    September 17th, 2013, the agent that was involved with




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     1   interviewing you was Agent Kennedy, correct?

     2   A       Correct.

     3   Q       The agent sitting here at the table, correct?

     4   A       Correct.

     5   Q       And you had at least, what, five meetings with her

     6   face-to-face?

     7   A       Something like that.

     8   Q       And there was a number of conversations by e-mail, true?

     9   A       True.

   10    Q       And phone calls, correct?

   11    A       Correct.

   12    Q       And in fact you sent information regarding Mr. Mirando's

   13    fiance, correct?

   14    A       I don't recall that.

   15    Q       But you were doing searchs online to assist the

   16    investigation, were you not?

   17    A       Possibly, yes.

   18    Q       Okay.   Now, the conversations that you had with Agent

   19    Kennedy, while they were ongoing, do you happen to recall

   20    whether or not she was writing anything on a piece of paper

   21    while you were talking to her?

   22    A       Yes.

   23    Q       And are you certain that you told Agent Kennedy about

   24    guns?

   25    A       Yes, I told her about it.




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     1   Q      You told her about it.

     2          Okay.    And you saw her write that down?

     3   A      No, I didn't.

     4   Q      In that same book, I'm going to ask you to take a look at

     5   Exhibit No. 16.

     6          This wasn't a particular document identified by the

     7   government, necessarily, but is this a document you recognize?

     8   A      Yes.

     9   Q      And what do you recognize that to be?

   10    A      It looks like a mailer.

   11    Q      Is that something that was created during the time you

   12    were with Holter Labs?

   13    A      It could have been, yes.

   14    Q      Is there anything in this particular flier you find to be

   15    deceitful or untruthful?

   16                   THE COURT:   Just one second.       Let me see counsel at

   17    sidebar.

   18                                (Sidebar begins.)

   19                   THE COURT:   I think these guys are here.

   20                   MR. MCDERMOTT:    They are the tech guys.        I trust you

   21    can hear me back there?

   22                   THE COURT:   I think yours is off.

   23           Give me one second.

   24                   MR. MCDERMOTT:    Uh-huh.

   25           Are you going to have any objection to Exhibit 16?




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     1                 MR. FREEDMAN:     I think we admitted it.

     2                 MR. MCDERMOTT:     Oh, you did.

     3                 MR. FREEDMAN:     We just didn't show it.

     4                 MR. MCDERMOTT:     Okay.

     5                 MR. FREEDMAN:     I just wanted to use it in closing.

     6                 MR. MCDERMOTT:     Okay.

     7                 THE COURT:    All right.     Is this document in?

     8                 MR. MCDERMOTT:     It is.    It turns out I misspoke.

     9                 THE COURT:    All right.

   10                                 (Sidebar ends.)

   11    BY MR. MCDERMOTT:

   12    Q      Mr. Crowley, Exhibit 16 -- I misspoke -- was actually

   13    already admitted.

   14           You have seen it before, have you not?

   15    A      No, it's familiar.

   16    Q      The government actually had you take a look at it, true?

   17    A      Yes.

   18    Q      Now that you had a chance to look at that document, can

   19    you tell us if there is anything you can identify as being

   20    false or incorrect?

   21    A      No.

   22    Q      Now, you also said that Mr. Mirando put together the order

   23    forms?

   24    A      Yes.

   25    Q      And this would have been what -- excuse me, Your Honor




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     1   just a second.

     2          That would be Exhibit No. 18.

     3          Do you want to pull that open?

     4          Do you recognize that document?

     5   A      Yes.

     6   Q      You have identified on the record as an order form that

     7   Mr. Mirando put together?

     8   A      Yes.

     9   Q      Now, is there anything on that form that you deemed to be

   10    incorrect or false?

   11    A      Not that I can see.

   12    Q      So, when we talk about what the doctor can check the box

   13    and ask to have done, there isn't anything incorrect about that

   14    form; is that right?

   15    A      As I can see, yes.

   16    Q      Okay.   But it doesn't contain any CPT codes, does it?

   17    A      No.

   18    Q      And again, would this document had been formulated early

   19    in Holter Labs' existence with Mr. Cast involved?

   20    A      I don't know when this document was formed.

   21    Q      You don't know when it was informed, but you do know it

   22    existed while you were there, correct?

   23    A      Correct.

   24    Q      At no point in time did you ever object to that form being

   25    used by your company, correct?




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     1    A       I never objected.

     2    Q       And at no time did you ever object to a billing that you

     3    might have overlooked or saw at any time while you were at

     4    Holter Labs, correct?

     5    A       Correct.

     6    Q       Let's talk about you joined the lawsuit in early 2013,

     7    true?

     8    A       Yes.

     9    Q       And you had a chance -- that declaration was part of that

    10    lawsuit, was it not?

    11    A       Yes.

    12    Q       And during that lawsuit, you were asked to appear at a

    13    deposition to testify about what you knew about the contract

    14    and what you knew about the company?

    15    A       Yes.

    16    Q       And did you ever have or receive notification you were

    17    supposed to appear at a certain location to testify under a

    18    deposition?

    19    A       Yes.

    20    Q       And do you recall how many occasions in which you were

    21    served with such notice?

    22    A       Once.

    23    Q       Once.   And do you recall whether or not you showed up?

    24    A       I didn't do a deposition, no.

    25    Q       At some point in time, the lawsuit resulted in what we




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     1    call a cross-complaint or a claim against you and Mr. Cast

     2    personally; isn't that true?

     3    A      I don't know if he was on it or not.

     4    Q      But at least you were, correct?

     5    A      Yes.

     6    Q      And in fact, isn't it true, you failed to respond to that,

     7    correct?

     8    A      The lawyer failed, yes.

     9    Q      The lawyer failed.      And you ended up having a default

    10    judgment against you, correct?

    11    A      Correct.

    12    Q      And that default judgment was in an amount of about 26 or

    13    $27,000; isn't that true?

    14    A      Yes.

    15    Q      And you were required to undergo an examination as to

    16    whether or not you could pay that, true?

    17    A      True.

    18    Q      And you actually submitted to questions under oath

    19    regarding your role and involvement in Holter Labs, true?

    20    A      Yes, I met with them.

    21    Q      I'm sorry?

    22    A      Yes, I went there.

    23    Q      You went there.

    24           And weren't you in fact supposed to return for a second

    25    day to be interviewed by the --




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     1                  THE COURT:    Let's go to sidebar.

     2                                 (Sidebar begins.)

     3                  THE COURT:    This was a judgment debtor?

     4                  MR. MCDERMOTT:     Yes.

     5                  THE COURT:    Why is that relevant if he didn't show

     6    up?

     7                  MR. MCDERMOTT:     No, no, no.      Maybe I didn't make it

     8    clear.    He was actually, or at least his lawyers were, served

     9    with four different deposition notices.

    10                  THE COURT:    So what.

    11                  MR. MCDERMOTT:     Point of the matter is he never

    12    showed.

    13                  THE COURT:    So what.     People don't show up for

    14    depositions for a lot of different reasons.

    15                  MR. MCDERMOTT:     For a lot of different reasons, I

    16    know.     The debtor exam was something that was conducted under

    17    oath.

    18                  THE COURT:    Okay.

    19                  MR. MCDERMOTT:     Okay.    And the government has a copy

    20    of that.

    21                  THE COURT:    Where are we going with this?

    22                  MR. MCDERMOTT:     The point of it is, is that he

    23    was --

    24                  THE COURT:    You keep your voice down.

    25                  MR. MCDERMOTT:     He was supposed to show up for a




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     1    second day, and did not.        What he did was then file for

     2    bankruptcy protection at that point.

     3                 THE COURT:     Okay.

     4                 MR. MCDERMOTT:      In that he made a declaration as to

     5    the value of his share of the company.

     6                 THE COURT:     Okay.

     7                 MR. MCDERMOTT:      I think that is relevant.

     8                 THE COURT:     Okay.

     9                 MR. MCDERMOTT:      It's relevant from the standpoint of

    10    here is a man who claims to have learned that his company was

    11    fraudulent, yet he is still advocating an ownership interest in

    12    it and advocating it has a value, and his portion he claims was

    13    1.6 million.     That's what he put in his bankruptcy paperwork.

    14            The point of the matter is if this man truly believed this

    15    was a fraudulent company, why try to wrestle it back and take

    16    on all of the headaches that would occur if you ended up owning

    17    the company.

    18                 THE COURT:     Well, what is the government's opinion?

    19                 MR. FREEDMAN:      I think you can impeach him with the

    20    testimony -- I think that is permissible.

    21                 THE COURT:     Impeach him with the testimony about

    22    what?

    23                 MR. FREEDMAN:      If he said something in a debtor's

    24    exam, and they are impeaching him about that, that is fine.

    25                 THE COURT:     Yeah, I think that is fine.




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     1            This whole thing about the deposition not showing up, I

     2    don't think that gets us -- I don't think that is going very

     3    far.

     4            But the idea that he wanted his company back.            He filed

     5    bankruptcy, and he said it was valued at 1., or whatever it is,

     6    I don't know where that gets us.

     7            If he wanted the company back because your client was

     8    involved in some fraud, but he wanted the company back, I don't

     9    see how that goes to his veracity or credibility.

    10                 MR. MCDERMOTT:      The fact as late as 2013, he

    11    believed his interest was worth 1.6 million.

    12                 THE COURT:     Okay.

    13                 MR. MCDERMOTT:      It ended up -- the bankruptcy

    14    trustee zeroed out his interest in it and my client ended up

    15    having to buy that interest out of bankruptcy.

    16            He paid $60,000 for it.

    17            The point of the matter is, the man was making $200,000 a

    18    year.

    19            Now he's in bankruptcy court and there is tons of tax

    20    judgments because of not filing on time.

    21            Anyway, the point of the matter is he ended up having to

    22    move back in with his wife's family.

    23            The house on the hill at Tustin was gone.           He was made

    24    destitute with what occurred with this civil suit.

    25            The whole notion he's not angry or not really despicably




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     1    despising my client is something I think I have a right to

     2    address.

     3                  THE COURT:    I think you do, but I think all of this

     4    stuff, not showing up for a depo or not showing up, I don't see

     5    where that goes.

     6           But you ought to ask him --

     7                  MR. MCDERMOTT:     I will make it quick, I promise.           I

     8    won't drag it out.

     9           Thank you.

    10                  THE COURT:    Okay.

    11                                 (Sidebar ends.)

    12                  MR. MCDERMOTT:     May I, sir?

    13                  THE COURT:    Yes.

    14    BY MR. MCDERMOTT:

    15    Q      Mr. Crowley, as we were discussing at some point in time

    16    you filed for bankruptcy, true?

    17    A      Yes.

    18    Q      In that bankruptcy petition, it was occurring while the

    19    lawsuit was going on against Mr. Mirando, correct?

    20    A      Correct.

    21    Q      And you had just received a judgment against you for about

    22    $27,000, right?

    23    A      At the exact time -- I don't remember the exact time

    24    frame.

    25    Q      But one of the motivations for you to file for bankruptcy




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     1    is you had a judgment against you, true?

     2    A       No.

     3    Q       No.     You filed bankruptcy because you were broke, right?

     4    A       Yes.

     5    Q       You had gone from living in a home in -- was it Tustin

     6    Heights or Santa Ana Heights where you were living at the time?

     7    A       Yes.

     8    Q       And it was a big house, wasn't it?

     9    A       Decent size.

    10    Q       Sure.    And were you -- you owned it or did you rent at the

    11    time?

    12    A       Rent.

    13    Q       And were you paying a lot of money for rent?

    14    A       Yes.

    15    Q       How much?

    16    A       3,800.

    17    Q       3,800.    Now when you filed for bankruptcy, where were you

    18    living?

    19    A       With my in-laws.

    20    Q       And that was where?

    21    A       Santa Ana.

    22    Q       And a much smaller house, true?

    23    A       Yes.

    24    Q       Everything had basically come apart.          You were no longer

    25    making big money from Holter Labs, right?




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     1    A      Yes.   I wasn't making any money from Holter Labs.

     2    Q      In fact, at that particular time, were you working for

     3    another Holter company?

     4    A      Yes.

     5    Q      Specialized Medical, correct?

     6    A      Correct.

     7    Q      That was a company run by who?

     8    A      Steve Burns.

     9    Q      Burns.

    10           Now, at any point in time during the course of the

    11    lawsuit, did you become aware of whether or not either Burns or

    12    Cast were sending e-mails to Mr. Mirando?

    13                  MR. FREEDMAN:     Objection.     Hearsay.

    14                  MR. MCDERMOTT:     I'm not asking content, just if he

    15    was aware of it being sent.

    16                  THE COURT:    Overruled on that ground.

    17                  MR. MCDERMOTT:     Thank you.

    18    BY MR. MCDERMOTT:

    19    Q      Sir, were you aware of whether or not Cast or Burns were

    20    sending e-mails to Mr. Mirando?

    21    A      No, I wasn't.

    22    Q      So at no time you had no understanding whatsoever as to

    23    any communication, correct?

    24    A      Correct.

    25    Q      But did you file for bankruptcy before or after you met




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     1    with the FBI?

     2    A      After.

     3    Q      After.    In fact, were you involved with making a demand on

     4    Mr. Mirando during the first or second week of September, 2013

     5    demanding $250,000 for your share of the company?

     6    A      I'm not aware of that, no.

     7    Q      So you never had any communications with anyone regarding

     8    a demand you get paid 250 or you are going to report Mirando to

     9    the feds?

    10    A      No, I wasn't.

    11    Q      You weren't part of that?

    12    A      No.

    13    Q      You had no knowledge of that?

    14    A      No.

    15    Q      Did you ever have a communication with anybody who made

    16    you aware of that demand?

    17    A      Later it was brought up.

    18    Q      Later.    Who brought it up?

    19    A      The civil.

    20    Q      Who did?

    21    A      The attorneys.

    22    Q      And you were shown e-mails?

    23    A      There was some e-mails that briefly talked about it.

    24    Q      Sure.    Okay.    So, but it was never your intent to get paid

    25    in exchange for going to the feds; is that your testimony?




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     1    A      No.

     2    Q      So, were you willing to take a payment as opposed to

     3    meeting with the FBI?

     4    A      No.

     5    Q      All right.     So, you walked into the FBI and you did that

     6    because it was the right thing to do; is that correct?

     7    A      Correct.

     8    Q      That was your testimony on direct?

     9    A      Correct.

    10    Q      And you had no knowledge of the billings until Cast showed

    11    you the screen for Blue Cross, right?

    12    A      Correct.

    13    Q      But before you showed up at the FBI, you hired a criminal

    14    defense lawyer, right?

    15    A      Correct.

    16    Q      And that criminal defense lawyer was the one that made

    17    contact with you with the FBI, right?

    18    A      Yes.

    19    Q      And this would have occurred within a few days before you

    20    actually sat down with the FBI the first time?

    21    A      Yes.

    22    Q      And you -- two days before, three days before -- how long?

    23    A      I don't recall.

    24    Q      Now, the government showed you what is called -- I think

    25    you were getting ready to call it a queen for day letter?                   Does




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     1    that sound familiar?

     2    A       The one-day letter.

     3    Q       One-day letter, yeah.

     4            That would be Exhibit No. 26 in your book, right?

     5    Correct?

     6    A       Yes.

     7    Q       Now at the time you signed this document, had you filed

     8    for bankruptcy?

     9    A       No.

    10    Q       That came later, correct?

    11    A       Correct.

    12    Q       In fact, you told Agent Kennedy in conversations that you

    13    had filed for bankruptcy, correct?

    14    A       Correct.

    15    Q       And in fact you asked her on several occasions whether or

    16    not you should go to the IRS or whether or not she was going to

    17    go to the IRS, correct?

    18    A       Correct.

    19    Q       Now, this particular document requires you -- Number 26 --

    20    requires you to be completely honest in your cooperation and

    21    testimony, correct?

    22    A       Correct.

    23    Q       But that document protected you from any criminal

    24    responsibility for anything you said during that first meeting,

    25    true?




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     1    A      That's what I understood.

     2    Q      Okay.   Did it also provide you protection from anything

     3    you said subsequent to that first meeting?

     4    A      No.

     5    Q      Was it your understanding that that document covered you?

     6    A      No.

     7    Q      For all of your communications, correct?

     8    A      For that day?

     9    Q      Well, let me backtrack, it will be easier for both of us.

    10           You understood that document to be good only for the 17th

    11    of September, correct?

    12    A      Correct.

    13    Q      Now, at that particular point in time when you walked into

    14    the FBI offices with that agreement in hand, you had an

    15    understanding there might be some criminal responsibility for

    16    you, true?

    17    A      Possibly.

    18    Q      Possibly.    And what was the -- in your mind, what criminal

    19    responsibility did you think you might have?

    20    A      I didn't think for specifics.

    21    Q      You didn't think for specifics.          Nothing having to do with

    22    knowing what billings went out?

    23    A      I didn't think of any specifics, no.

    24    Q      Well, by the time you walked into the FBI office, you had

    25    the paperwork from Blue Cross for almost a year, true?




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     1    A      Less than a year, yeah.

     2    Q      Well, the documents that were shown today from that

     3    extraction were October 15th of 2012.

     4           Doesn't that sound about right?

     5    A      Yes.

     6    Q      And you didn't show up at the FBI office until

     7    September 17th, 2013, correct?

     8    A      Correct.

     9    Q      Now, you had an entire -- almost an entire year to do the

    10    right thing.

    11           At no point in time, between October 15th, 2012, and

    12    September 2013, did you go to the FBI offices or IRS and do the

    13    right thing; isn't that true?

    14                  THE COURT:    Argumentative, counsel.        Next question.

    15    BY MR. MCDERMOTT:

    16    Q      You didn't have any communication with any law enforcement

    17    prior to September 17th, 2013, correct?

    18    A      Correct.

    19    Q      Now, did someone tell you or were you led to believe that

    20    you didn't need another document; that this document would

    21    cover your communications entirely with the FBI?

    22    A      No.

    23    Q      So when you had your subsequent communications with the

    24    FBI and talked to them, did you believe that you were immune

    25    from prosecution?




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     1    A      No, I did not.

     2    Q      Did you in fact believe you could be prosecuted?

     3    A      There was a possibility.

     4    Q      So did anybody make you a promise that that wouldn't

     5    happen?

     6    A      No.

     7    Q      To this day has anybody made you a promise that that

     8    prosecution wouldn't happen?

     9    A      No.

    10    Q      In your bankruptcy petition that you filed after meeting

    11    with the FBI, did you have a value that you placed on your

    12    interest in Holter Labs?

    13    A      I put Holter Labs on there.

    14    Q      Yes.    And do you recall how much you valued it at?

    15    A      No, I don't recall.

    16                   MR. MCDERMOTT:    Excuse me, sir.      My apologies, sir.

    17    I just wanted to make sure the government had seen this

    18    document.

    19           I just want to use something to refresh his memory.

    20                   THE COURT:   All right.

    21                   MR. MCDERMOTT:    All right.

    22           Would the Court like to see the document?

    23                   THE COURT:   You need to give it to the clerk,

    24    please.      Is there a particular page?

    25                   MR. MCDERMOTT:    Page 13, I'm going to direct him to,




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     1    sir.

     2                  THE COURT:    Okay.    Place this in front of the

     3    witness, please.

     4           This has been marked for identification.

     5                  MR. MCDERMOTT:     D, Delta, sir, for identification.

     6                  THE COURT:    Next in order.      I might already have a

     7    D, but that is fine.

     8    BY MR. MCDERMOTT:

     9    Q      Sir, do you recognize that document?

    10                  THE COURT:    Sir, this is to refresh his

    11    recollection, correct?

    12                  MR. MCDERMOTT:     Yes.

    13                  THE COURT:    Okay.    What image would you like him to

    14    look at?

    15                  MR. MCDERMOTT:     Page 13.

    16                  THE COURT:    If you could turn to page 13, please.

    17    And just read that to yourself and let us know when you are

    18    finished looking at it.

    19                  THE WITNESS:     Okay.

    20                  THE COURT:    If you just turn it over.

    21                  MR. MCDERMOTT:     You can close it.

    22    BY MR. MCDERMOTT:

    23    Q      Does that refresh your memory as to how much the value you

    24    claimed your interest in Holter Labs was?

    25    A      Yes.   It was a business educated guess.           I didn't know how




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     1    much.    I just put a number down.

     2    Q       What was that number?

     3    A       2.6 million.

     4    Q       That interest in that company was eventually sold, was it

     5    not?

     6    A       I don't know what that means.

     7    Q       Well, at some point in time, the bankruptcy case was over.

     8    Did you get 2.6 million for your interest?

     9    A       No.

    10    Q       How much did you get?

    11    A       I didn't get any.

    12    Q       Not a dime?

    13    A       I think I got like 26 grand.

    14    Q       Okay.    Do you have a recollection here today how much your

    15    interest sold for through bankruptcy?

    16    A       No.

    17    Q       But what you received was 25,000?

    18    A       Yes.

    19    Q       More or less?

    20    A       Yes.

    21    Q       Now eight years of work basically from 2005 to 2011, we're

    22    talking 6 or 7 years, from '07, '08, '09 and '10, did you file

    23    tax returns in the same year they were due?

    24    A       No.

    25                    MR. FREEDMAN:   Objection.     Relevance.




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     1                   THE COURT:   Sustained.

     2    BY MR. MCDERMOTT:

     3    Q      At any point in time in your communications with the FBI

     4    after you began working with them, did you expect to get paid?

     5    A      No, I did not.

     6    Q      Had you ever had that experience?

     7    A      Explain.

     8                   THE COURT:   Sidebar.

     9                                (Sidebar begins.)

    10                   THE COURT:   I could have swore we talked about this.

    11                   MR. MCDERMOTT:    All right.     That will be the end of

    12    it.

    13           All right.

    14                   THE COURT:   Okay.

    15                                (End of sidebar.)

    16    BY MR. MCDERMOTT:

    17    Q      There were actually other individuals that were utilized

    18    to put Holter Labs together.

    19           For example, was there a web designer?

    20    A      I don't know who did the website exactly.            Yeah, there

    21    was.

    22    Q      Okay.    And also at any point of time you looked at the

    23    website to make sure it was accurate?

    24    A      I looked at it.

    25    Q      Okay.    Now, as to the equipment that you specifically




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     1    used, the software program, that isn't something you created,

     2    correct?

     3    A      Correct.

     4    Q      When you did reports, you were doing reports based on

     5    software that somebody else had developed, correct?

     6    A      Correct.

     7    Q      Did you know that individual?

     8    A      Which software -- what are you referring to?

     9    Q      The software to interpret the Holter data?

    10    A      Yes.

    11    Q      Are you familiar with Care?

    12    A      Yes.

    13    Q      Okay.   Was that an individual involved with the company as

    14    far as the software programming?

    15    A      No.

    16    Q      Who was that?

    17    A      Jim Brown.

    18    Q      Jim Brown.     Do you know whether or not Jim Brown is Care

    19    Technology?

    20    A      I think he is, yes.

    21    Q      Now, did you have communications with Mr. Brown?

    22    A      A few times.

    23    Q      Sure.   He was responsible for, what, teaching you how to

    24    interpret the data?

    25    A      I don't recall exactly what we talked about.




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     1    Q      Well, who taught you how to interpret data?

     2    A      On that program?

     3    Q      Yes.

     4    A      I went over it a few items with him.

     5    Q      Okay.   Did you have any classes, any seminars you attended

     6    on how to properly interpret the data coming from a Holter

     7    device?

     8    A      No.

     9    Q      So you simply relied upon your training and experience at

    10    Parsons maybe to learn how to interpret data coming from the

    11    Holter device?

    12    A      Yes.

    13    Q      Physically, what do you have to do?           You just punch a

    14    button on the computer and it automatically does it for you?

    15           What exactly did you have to do?

    16    A      You go through and make sure the program gets any

    17    irregularities right or wrong.

    18    Q      And then are you responsible for some way interpreting the

    19    data to make sure the doctor gets the information correct?

    20    A      No, I'm not responsible for interpreting it.

    21    Q      The computer does that?        The software does that?

    22    A      It runs through the software, yes.

    23    Q      Okay.   And at any point in time, are you responsible in

    24    any way, shape, or form of interpreting what comes out of the

    25    computer to determine whether or not there is a serious




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      1   condition?

      2   A      I wasn't responsible to interpret, no.

      3   Q      So all you were responsible for was taking the data,

      4   converting it to something you could read, and send it back to

      5   the doctor, correct?

      6   A      Correct.

      7   Q      And that work you did peaked in 2010, with almost $200,000

      8   a year?

      9   A      Yes.

     10   Q      At no point in time did you ever think there was something

     11   going on with the billing that would be incorrect to make that

     12   kind of money just pushing a button on a computer?

     13   A      I didn't think about it.

     14   Q      Did you in fact have another employer while you were still

     15   working with Holter Labs?

     16   A      No.

     17   Q      You didn't work for Specialized Medical and Steve Burns

     18   during 2011?

     19                 MR. FREEDMAN:     Objection.    Relevance.

     20                 THE COURT:    Sustained.

     21   BY MR. MCDERMOTT:

     22   Q      At this time point in time, are you working and earning

     23   the same amount of money that you were in 2010?

     24                 MR. FREEDMAN:     Same objection.

     25                 THE COURT:    Sustained.




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      1   BY MR. MCDERMOTT:

      2   Q      At any point in time, are you still working in the Holter

      3   field?

      4   A      Yes.

      5   Q      And in that particular company, is that Specialized

      6   Medical; is that correct?

      7   A      Yes.

      8   Q      Have you reached a point yet where you are earning

      9   anywhere near what you were earning at Holter Labs?

     10                 MR. FREEDMAN:     Same objection.

     11                 THE COURT:    Sustained.

     12                 MR. MCDERMOTT:     I have nothing further, Judge.

     13                 MR. FREEDMAN:     Couple of questions, Your Honor.

     14   Thank you.

     15

     16                              REDIRECT EXAMINATION

     17   BY MR. FREEDMAN:

     18   Q      You proffered a letter that you signed with the government

     19   that we went over and it required you to tell the complete

     20   truth, right?

     21   A      Yes.

     22   Q      You understood if you did not tell the truth to the FBI

     23   that you could be prosecuted for a separate federal offense?

     24   A      Yes.

     25   Q      You understood you could face that same liability even




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      1   after that one day the letter covered?

      2   A      Yes.

      3   Q      Did you provide any false information to the FBI in the

      4   course of this case?

      5   A      No.

      6   Q      What about to the U.S. Attorney's Office?

      7   A      No.

      8   Q      When you went to the FBI, did you expect them to help you

      9   with any tax issues?

     10   A      No, I did not.

     11   Q      Did you ask them to help you with any tax issues?

     12   A      No, I did not.

     13   Q      What about the U. S. Attorney's Office?

     14   A      No.

     15   Q      Did the FBI help you with any tax issues?

     16   A      No, they did not.

     17   Q      Did the U. S. Attorney's Office help you with any tax

     18   issues?

     19   A      No.

     20   Q      What about your bankruptcy proceedings, did anyone -- did

     21   you seek help from the FBI with that proceeding?

     22   A      No.

     23   Q      From the U. S. Attorney's Office?

     24   A      No, I didn't.

     25   Q      Did anyone from the federal government provide you with




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      1   bankruptcy proceedings?

      2   A      No.

      3   Q      You understood as well that the information that you were

      4   giving to the FBI in the course of this case, could potentially

      5   expose you to liability for criminal charges?

      6   A      Yes.

      7                 MR. FREEDMAN:     Nothing further, Your Honor.

      8                 MR. MCDERMOTT:     Two questions based on this.        Thank

      9   you.

     10                              RECROSS-EXAMINATION

     11   BY MR. MCDERMOTT:

     12   Q      They didn't promise you to help you on your tax issue, but

     13   you haven't been charged with anything relating to your taxes,

     14   have you?

     15   A      No.

     16   Q      In fact, on how many occasions did you receive a 1099 from

     17   Holter Labs?

     18                 THE COURT:    Beyond the scope, counsel.

     19          Next question.

     20   BY MR. MCDERMOTT:

     21   Q      So, as you sit here today, nobody has indicated that you

     22   have any issues with your taxes, correct?

     23                 MR. FREEDMAN:     Objection.    Vague.

     24                 THE COURT:    Sustained.

     25   BY MR. MCDERMOTT:




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      1   Q      Any law enforcement or prosecutor ever tell you that you

      2   don't have any issues with your taxes?

      3                MR. FREEDMAN:      Objection.    Vague.

      4                MR. MCDERMOTT:      I will leave it at that, Judge.           I

      5   will withdraw.

      6                THE COURT:     All right.

      7                MR. FREEDMAN:      Nothing further, Your Honor.

      8                THE COURT:     Sir, you may step down.

      9          Call your next witness.

     10                MS. RYKKEN:     Government calls Special Agent Kathleen

     11   Kennedy.

     12          We need to put some binders on the stand.

     13          Is binder 2 up there?

     14                THE COURTROOM DEPUTY:       Please raise your right hand.

     15                          (Oath was administered.)

     16                THE WITNESS:     Yes.

     17                THE COURTROOM DEPUTY:       You may be seated.

     18

     19        KATHLEEN IRENE KENNEDY, PLAINTIFF WITNESS, DULY SWORN

     20

     21                MS. RYKKEN:     If we could have a brief sidebar before

     22   we start?

     23                THE COURT:     Okay.

     24                              (Sidebar begins.)

     25                MS. RYKKEN:     I discussed this before, and I think




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      1   there is no objection, but we were going to bring in some

      2   information about the billing after his arrest to show

      3   knowledge on his part.

      4                MR. MCDERMOTT:      I haven't seen the chart.

      5                MS. RYKKEN:     We sent it to you.      It's one of the

      6   exhibits.    So I just wanted to raise it here.

      7                THE COURT:     Well, ask him and if he has an

      8   objection, he will make it.        We will deal with it then.

      9                MS. RYKKEN:     Okay.

     10                               (Sidebar ends.)

     11                THE COURTROOM DEPUTY:       Please state your full name,

     12   spell your last name for the record.

     13                THE WITNESS:     My name is Kathleen Irene Kennedy.           My

     14   last name is K-e-n-n-e-d-y.

     15                MS. RYKKEN:     May I inquire?

     16                THE COURT:     Yes.

     17

     18                               DIRECT EXAMINATION

     19   BY MS. RYKKEN:

     20   Q      Where are you employed?

     21   A      I'm a special agent with the Federal Bureau of

     22   Investigations.

     23   Q      Where is your office located?

     24   A      It's located in Los Angeles, California.

     25   Q      What is your position with the FBI?




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      1   A      I'm a special agent.

      2   Q      And what sort of duties do you have as a special agent?

      3   A      To investigate violations of federal law.

      4   Q      Are you assigned to a particular squad in your office?

      5   A      Yes, I am.

      6   Q      What is that squad?

      7   A      It's WCC 3, which is the healthcare fraud squad.

      8   Q      So what kinds of crimes do you investigate?

      9   A      We investigate fraud against healthcare benefit programs.

     10          Also, violations of the anti-kickback statute relating to

     11   healthcare, and HIPPA violations related to healthcare as well.

     12   Q      So you mentioned the term, "healthcare benefit program."

     13   What does that mean?

     14   A      It's basically an insurance company, either a public

     15   healthcare benefit program -- an example would be Medicare.

     16          A private would be a private health insurance company,

     17   like Aetna, Cigna, or United Health Group.

     18   Q      Have you had any training with respect to healthcare fraud

     19   schemes?

     20   A      Yes.

     21   Q      What is that training?

     22   A      I have attended courses offered by the FBI.

     23          I have also attended courses offered by the NHCAA, which

     24   stands for National Healthcare -- National Healthcare

     25   Anti-Fraud Association which is an organization that is a




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      1   public, private partnership related to healthcare fraud

      2   investigations.

      3   Q      What was your role with respect to this case?

      4   A      I was the case agent.

      5   Q      What does that mean?

      6   A      It means I was responsible for the investigation.

      7   Q      So are you familiar with the defendant, Michael Mirando?

      8   A      I never met him, but yes, I am.

      9   Q      How did this investigation start?

     10   A      I was asked to come to the United States Attorney's Office

     11   to meet with an individual who had information he wished to

     12   provide to the Department of Justice.

     13          And that individual was Stanton Crowley.

     14   Q      Do you recall when that was?

     15   A      It was in September of 2013.

     16   Q      And what did you learn from Mr. Crowley?

     17   A      Mr. Crowley and Mr. Mirando owned a company called Holter

     18   Labs that was based in Orange County, California.

     19          They started the company in 2005.

     20          This company offered cardiac monitoring equipment, and

     21   wrote the test report from the equipment.

     22          The equipment would be provided to doctors who would use

     23   it on their patient, and then the data gathered by the device

     24   would then be transmitted back to Holter Labs, and Holter Labs

     25   would create a report summarizing that data or providing that




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      1   data.

      2           That report would be sent back to the physician, and then

      3   Holter Labs would submit billings to help bill that patient's

      4   health insurance company for the work that they performed.

      5   Q       Okay.    What investigative steps did you take after meeting

      6   with Mr. Crowley?

      7   A       Well, the first thing I did was I requested the claims

      8   data from insurance companies.

      9           So for private insurance through the NHCAA, they offer a

     10   service where you can, through a portal that they have or a

     11   request e-mailed to them, they will take that request for

     12   claims data, and send it out to their members, and then the

     13   members individually decide if they are going to respond to

     14   that request, and if so, they will respond directly to the

     15   investigating agent and provide claims data that they have as

     16   requested.

     17   Q       Did you obtain any other documents or evidence other than

     18   insurance claims?

     19   A       Yes.    I also requested bank records from several bank

     20   accounts.

     21   Q       What bank accounts?

     22   A       There was the Holter Labs account at Chase.

     23           There was Michael Mirando's personal account at Chase.

     24           There was Holter Labs account at Bank of the West.

     25           There were some other additional personal accounts that




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      1   Michael Mirando had at Allied Bank, or ING, E-trade.

      2          There was another related business called Murrieta Medical

      3   Supply that had a bank account at Bank of America.             I requested

      4   those records.

      5   Q      What about any patient records?

      6   A      So when I got the claims data, and I looked at the claims

      7   data, I decided to go out and interview -- select some patients

      8   and interview them to find out specifically what they recalled.

      9          I did that, and then after interviewing them, I requested

     10   more specific claims data from their insurance providers,

     11   essentially the claim form.

     12          And from the claim form, I was able to identify the

     13   referring physician.

     14          Then I subpoenaed from the referring physician, medical

     15   records relating to the claims that Holter Labs had submitted

     16   to the patient's insurance company.

     17   Q      So when you subpoenaed the medical records from the

     18   patient's files, what did you request?

     19   A      I requested the prescriptions that would support the

     20   claims, each of the services that was listed on the claims that

     21   Holter Labs submitted to the insurance carrier for the patient.

     22   Q      And what did you receive back?

     23   A      I received back, generally speaking, one -- one visit

     24   date, notes from one visit, and for some of them, they also

     25   included a copy of the Holter Lab report that Holter Labs had




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      1   provided to the doctor.

      2   Q       And do you recall roughly how many patients' data you

      3   received back when you got the claims data?

      4   A       I'm sorry, could you say that again?

      5   Q       The claims data that you received back initially, how many

      6   patients were included?

      7   A       Thousands.

      8   Q       And how did you select the eventual patients that you met

      9   with?

     10   A       Well, the Los Angeles Office of the FBI has a certain area

     11   of responsibility.      It's several counties in California.

     12           So I wanted to select patients that were within our area

     13   of responsibility.

     14           So I reviewed the claims data to determine if there were

     15   any patients that were in the area for the Los Angeles field

     16   office, and I identified seven or eight, and I contacted them.

     17   Q       Okay.    And the patients were from all around the country?

     18   A       Yes.    The patients in all of the claims data were from all

     19   over the country.

     20   Q       All right.    So in your review of the records that you

     21   subpoenaed, did you learn who had worked at Holter Labs?

     22   A       I -- from the bank records, the signature cards, there

     23   were two names, Michael Mirando and Stanton Crowley, on the

     24   signature card for Holter Labs account at Chase.

     25   Q       Do you know what Mr. Mirando's role in the company was?




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      1   A      My investigation revealed that Mr. Mirando was essentially

      2   responsible for the business end of Holter Labs while

      3   Mr. Crowley did the reports.

      4   Q      And do you know approximately how many documents you

      5   collected during the investigation?

      6   A      I don't know, a few thousand.

      7   Q      Did you review all of those records and documents that you

      8   received back?

      9   A      Yes.

     10   Q      How many people did you interview during your

     11   investigation?

     12   A      Maybe 15 to 20.

     13   Q      What exactly did Mr. Crowley report to you when you met

     14   with him for the first time?

     15   A      So he reported how the business ran.

     16          And then he reported that the business was operating for

     17   several years, and that he then became suspicious that the

     18   amount of -- how the money was being split between himself and

     19   Mr. Mirando didn't seem fair, because Mr. Mirando seemed to

     20   have a lot more money than he did.

     21          So, he began to question Mr. Mirando about where is -- how

     22   come I'm not getting as much money or something along those

     23   lines about the finances of the business.

     24          And he wasn't satisfied with Mr. Mirando's response, so he

     25   contacted another individual by the name of Jim Cast who had




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      1   been involved with the business early on in 2005, 2006, to

      2   request assistance to get a copy of some of the claims, the

      3   billing records that Holter Labs had submitted, so he could try

      4   to determine how much money is Holter Labs getting and where is

      5   this money going.

      6   Q       So in your review of the thousands of documents that you

      7   received back, were you able to corroborate Mr. Crowley's

      8   story?

      9   A       Yes.

     10   Q       Did you investigate Mr. Crowley's involvement at Holter

     11   Labs?

     12   A       Yes, I investigated Holter Labs in its entirety, both

     13   Mr. Crowley and Mr. Mirando.

     14   Q       What about Mr. Cast?

     15   A       And Mr. Cast as well.

     16           As you are doing your investigation, you are constantly

     17   looking to see who is signing, who is getting the money, whose

     18   signature is on the bank records, on the withdrawals, just

     19   trying to verify who is involved and how involved were they.

     20   Q       Did you find any evidence that Mr. Crowley was involved in

     21   the medical fraud?

     22   A       I found no evidence that Mr. Crowley was involved in

     23   completing any of the claims or submitting any of the claims to

     24   the health insurance company.

     25   Q       What about Mr. Cast?




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      1   A      I found no evidence that Mr. Cast was involved in the

      2   business at all, to be frank.

      3   Q      And in the course of your investigation, did you learn

      4   about CPT codes?

      5   A      Yes, I did.

      6   Q      What did you learn?

      7   A      So CPT codes, the abbreviation that stands for is current

      8   procedural terminology, and it is a set of medical codes

      9   established by the American Medical Association for the use in

     10   healthcare industry.

     11          And they standardize procedures so that everybody knows

     12   what is being billed when they see a particular code, and can

     13   look at the definition of that code.

     14   Q      Did you know about CPT codes before this case?

     15   A      I did, but not as much.

     16   Q      And what did you do to learn about the specific CPT codes

     17   in this case?

     18   A      So I looked at the claims data, and Mr. Crowley had

     19   provided some information about CPT codes.

     20          And then I researched it on Google, and I queried at

     21   Google, then I would look at the results, and I would look to

     22   see what I felt were reliable websites such as Medicare, Aetna,

     23   Anthem, Blue Cross Blue Shield, Humana, and then I would then

     24   go to those websites and review the information that is on

     25   those websites about CPT codes, what the description is for




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      1   particular CPT codes, et cetera.

      2   Q      And once you reviewed those CPT codes, what did that lead

      3   you to conclude about Holter Labs billing?

      4   A      That they were submitting claims to health insurance

      5   companies for procedures that they did not have the equipment

      6   that could perform those.

      7          Essentially, they were submitting for services that were

      8   never rendered.

      9   Q      So you mentioned earlier that part of your investigation

     10   included a review of financial records?

     11   A      Yes.

     12   Q      Can you take a look at Exhibit 89 in your binder.

     13   A      Is this the government exhibit binder or the witness

     14   statement binder?

     15   Q      It would be the government exhibits.

     16          And if we don't have the second set up there, we will

     17   bring it up.

     18   A      Mine only goes up to 81.

     19          I'm sorry, what was the number again?

     20   Q      Exhibit 89.

     21   A      Okay.

     22   Q      What is that?

     23   A      This is a document that I created that summarizes the

     24   assets of Michael Mirando that I discovered during my

     25   investigation.




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      1   Q      And this list is based on all of the records that you

      2   reviewed?

      3   A      Yes.

      4                  MS. RYKKEN:   The government moves to admit

      5   Exhibit 89 into evidence.

      6                  THE COURT:    Any objection.

      7                  MR. MCDERMOTT:    Your Honor, can we have a quick

      8   sidebar?

      9                  MS. RYKKEN:   That is not the exhibit.

     10                  MR. MCDERMOTT:    There we go.     No objection.

     11                  THE COURT:    It may be received.

     12          (Exhibit 89 received into evidence.)

     13                  MS. RYKKEN:   Thank you.

     14   BY MS. RYKKEN:

     15   Q      Okay.    So this is what you were just looking at?

     16   A      Yes.

     17   Q      And tell me how you organized this?

     18   A      So I tried to group like things together.

     19          So during the review of bank records, escrow records, loan

     20   documents that I obtained, I identified some real estate that

     21   Mr. Mirando owned.

     22          I also identified vehicles and bank accounts, both for

     23   Holter Labs as well as his personal bank accounts.

     24          I also discovered in the bank records and the documents

     25   that I received during the investigation, that he had some




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      1   investment accounts, some stock accounts, some retirement, life

      2   insurance policy that has a surrender value.

      3           And then I also discovered that there was money going to

      4   perhaps back from other possible investments listed under

      5   "other" at the bottom of the page there.

      6   Q       So let's look at the header, Bank Accounts for Holter

      7   Labs.

      8           Do you see that?

      9   A       Yes, I do.

     10   Q       The Holter Labs Chase account; is that the one you were

     11   referring to earlier?

     12   A       Yes.

     13   Q       And who were the signatories on that?

     14   A       Michael Mirando and Stanton Crowley.

     15   Q       How do you know that?

     16   A       Because I saw the signature card.

     17   Q       And the second account Mirando Murrieta Medical Supply.

     18   What is that account?

     19   A       Mr. Mirando filed a fictitious business name in Orange

     20   County, California, and opened up a bank account and it was

     21   Michael Mirando doing business as Murrieta Medical Supply.

     22           I obtained records, not only the fictitious business

     23   statements, but also bank records from Bank of America.

     24   Q       What did the bank records tell you about Murrieta Medical?

     25   A       Mr. Mirando opened that account and he was the sole




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      1   signatory on the account.

      2          The money going into the account -- essentially the only

      3   money going into that account were large dollar checks for

      4   several thousands of dollars drawn on the Holter Labs Chase

      5   account being deposited into the Murrieta Medical Supply

      6   account.

      7          And the monies going out of that Murrieta Medical Supply

      8   account were predominantly for personal funds going to either

      9   Michael Mirando or Stanton Crowley.

     10          I didn't see a lot of business expenses.           I saw a lot of

     11   mortgage payments, like monthly mortgage payments being made,

     12   different HOAs, homeowner association dues being paid.

     13          Then the occasional gas bill, water bill, garbage bill,

     14   that kind of thing.

     15   Q      Did you see any business expenses?

     16   A      No.   Like I said, I saw the occasional gas bill or trash

     17   bill, and I did not determine, during the investigation, if

     18   that was for a personal, you know, residence, or if that was a

     19   business expense at an office building.

     20          But I saw no office rent payments being made or anything

     21   of that nature.

     22   Q      What about the third account, the Bank of the West account

     23   for Holter Labs?

     24   A      That was an account that Michael Mirando was the sole

     25   signatory on.




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      1   Q      And did you look at the bank records for the Bank of the

      2   West account?

      3   A      Yes, I did.

      4   Q      Did you learn about what was going in and what was going

      5   out of that account?

      6   A      Yes.   So being deposited into that account were checks

      7   from various insurance companies, made payable to Holter Labs,

      8   LLC.

      9          And the money going out of that account solely benefited

     10   Mr. Mirando.

     11   Q      Did you see any checks being written to Mr. Crowley from

     12   that account?

     13   A      No, I did not.

     14   Q      And then this fourth one, Michael Mirando doing business

     15   as Holter Labs, LLC, U.S. Bank account.

     16          What is that account?

     17   A      That is an account that Mr. Mirando opened in Portland,

     18   Oregon, I believe, for Holter Labs, LLC.           But he did it as a

     19   "doing business as" initially, so it was Michael Mirando doing

     20   business as Holter Labs, LLC.

     21          And then a few months later, he had incorporated Holter

     22   Labs in the state of Oregon, so he opened up a new account also

     23   at U.S. Bank of Holter Labs, Inc.

     24          And he then essentially abandoned it, and it eventually

     25   closed the doing business as account.




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      1   Q      And the last one, Holter Labs, Inc. U.S. Bank?

      2   A      That is the account I spoke of.

      3   Q      Okay.   What about that, the doing business as Holter Labs,

      4   for those in the next account that was created later?

      5   A      I'm sorry.

      6   Q      Was the doing business as account created first, and the

      7   other one was created second?

      8   A      That's correct.

      9   Q      And then of these five accounts, was Mr. Crowley a

     10   signatory only on the Chase account?

     11   A      That's correct.

     12   Q      Was Mr. Mirando a signatory on all of the remaining

     13   accounts, all five of them?

     14   A      Yes, he was.

     15   Q      And here is page 2 of that.

     16          What is this?

     17   A      This is a listing of all of the accounts that I identified

     18   and obtained some records from.

     19          I didn't necessarily obtain a full set of all of the

     20   records for all of these accounts, but I obtained some records.

     21   Q      So this includes the accounts listed on the previous page,

     22   but also a few additional ones?

     23   A      That's correct.

     24   Q      Can you turn to Exhibit 90 in your binder.

     25          Do you see that?




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      1   A      Yes, I do.

      2   Q      What is that?

      3   A      This is a document that I created that summarizes the flow

      4   of money into various bank accounts.

      5   Q      And when did you create this?

      6   A      I created this document -- well, I created it throughout

      7   the investigation, but this actual one that is being presented

      8   here, I would have created in the past several months, maybe up

      9   to a year ago.

     10   Q      And is the information reflected in this chart based on

     11   the documents that you reviewed in your investigation?

     12   A      Yes, it is.

     13                MS. RYKKEN:     The government moves to admit

     14   Exhibit 90 into evidence.

     15                MR. MCDERMOTT:      No objection.

     16                THE COURT:     It will be received.

     17          (Exhibit 90 received into evidence.)

     18   BY MS. RYKKEN:

     19   Q      So what is this first page?

     20   A      So the first page is the money going into the account.

     21          So, on the left-hand side at the top you say "payor" money

     22   came from, that is who was writing the checks or the amount

     23   being deposited.

     24          And then the columns that follow is the account that the

     25   money went into.




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      1   Q      So the first line item, Holter Labs payments from

      2   insurance companies.

      3          Can you explain how that worked?

      4   A      Yes.   So that's a summary of checks from insurance

      5   companies that were being deposited into the accounts.

      6   Q      It looks like it's been deposited into two accounts?

      7   A      That's correct.     So HL stands for Holter Labs, so the

      8   second column, excuse me, is Holter Labs Chase, that is the

      9   amount of money that was deposited into the Holter Labs Chase

     10   account from insurance companies.

     11          The third column HL Bank of the West, that is Holter Labs

     12   bank account at Bank of the West, and the amount there

     13   indicates the summary of the insurance checks being deposited

     14   into that account.

     15   Q      And the first account, the Holter Labs Chase account, that

     16   is the account that both Michael Mirando and Stanton Crowley

     17   was signatories on?

     18   A      That's correct.

     19   Q      The Bank of the West account, is that the account that

     20   only the defendant was the signatory on?

     21   A      That's correct.

     22   Q      So then the total amount at the end, what is that amount?

     23   A      It's $5,683,408.

     24   Q      And that amount is the amount you could determine came in

     25   from insurance companies to pay claims from Holter Labs?




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      1   A      Yes.

      2   Q      Let's look at page 2.       What is page 2?

      3   A      Page 2 is a document that I created that summarizes the

      4   flow of money out of these accounts that are listed there.

      5          So the first column is "payee," and that's where the money

      6   went to.

      7          And then the other columns are the accounts that the money

      8   was coming out of.

      9   Q      So let's look at the second one, American Express.

     10   A      Yes.

     11   Q      It looks like -- did you subpoena any records for that

     12   American Express account?

     13   A      I did not.

     14   Q      Okay.    But the first account, the $457,000, that was the

     15   account that both Mr. Crowley and Mr. Mirando were signatories

     16   on?

     17   A      That's correct.     That is the Holter Labs Chase account.

     18   Q      Then the America Express for the Bank of the West account,

     19   that is the account that only Mr. Mirando was a signatory on?

     20   A      That's correct.

     21   Q      At the bottom, do you know what the Plegiac Properties

     22   are?

     23   A      Yes.    My investigation revealed that Mr. Mirando owned

     24   several rental properties.        He had created separate companies

     25   always using the word Plegiac [phonetic] Properties to indicate




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      1   whatever the state the rental property was located in.

      2          So Plegiac Properties of MS, is Plegiac Properties of

      3   Mississippi, because he owned a rental property there.

      4          And then you have, you know, North Carolina and South

      5   Carolina.

      6   Q      And then the dollar amounts reflected in the columns

      7   thereafter, those are payments from Holter Labs account to the

      8   Plegiac Property?

      9   A      To the Plegiac Properties bank account.

     10   Q      Can you turn to page 3.       So at the top, is that just the

     11   end of the previous chart?

     12   A      Yes, that's correct.

     13   Q      What is the middle?

     14   A      The middle is from the chart that we were just describing.

     15   I was trying to determine how much of this money went to

     16   benefit Stanton Crowley, and how much went to benefit Michael

     17   Mirando.

     18   Q      What did you learn?

     19   A      So -- well, Michael Mirando got significantly more of the

     20   money than Stanton Crowley.

     21   Q      Could you do the middle box?

     22          So this is the summary to Mr. Crowley?

     23   A      That is correct.

     24   Q      What was the total amount that he received?

     25   A      $1,076,327.76.




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      1   Q      What was the source of those funds?

      2   A      Those funds came from Holter Labs Chase account or from

      3   the Murrieta Medical Supply Bank of America account.

      4   Q      Did you see any other evidence that Mr. Crowley was

      5   receiving other payments than what is summarized here?

      6   A      No.

      7   Q      Can you go to the third box, please.

      8          Okay.   So this is -- this ends on the next page, and it

      9   appears to be the summary of funds to Mirando -- to Michael

     10   Mirando; is that correct?

     11   A      That's correct.

     12   Q      And what is the total amount of funds that went to the

     13   defendant?

     14   A      So some of these columns, if you included it in the total

     15   summary, might be duplicative.

     16          So at the very bottom I just pulled out those that I know

     17   would not be duplicative.

     18          So the total amount that Mr. Mirando received was

     19   $3,365,444.

     20   Q      Okay.   Can you turn to Exhibit 91?

     21          Do you see that?

     22   A      Yes, I do.

     23   Q      What is it?

     24   A      This is a chart that visually describes the flow of money

     25   in and out of the Holter Labs Chase account.




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      1   Q      And when did you create this?

      2   A      I requested the assistance of a financial analyst at the

      3   FBI in analyzing the bank records, and as part of her analyzing

      4   and helping me analyze the bank records, she created this

      5   chart.

      6                MS. RYKKEN:     The government moves to admit

      7   Exhibit 91 into evidence.

      8                MR. MCDERMOTT:      No objection.

      9                THE COURT:     It will be received.

     10          (Exhibit 91 received into evidence.)

     11   BY MS. RYKKEN:

     12   Q      So this chart is just for the Chase account, correct?

     13   A      That's correct.

     14   Q      Why did you create this?

     15   A      Well, it helps if you -- usually when you are doing your

     16   analysis, we use a program called Excel, which is just lines

     17   and lines on a worksheet.

     18          So it's kind of hard to see or understand fully the flow

     19   of money.    So, the analyst can create a visual representation,

     20   so it makes it a little simpler and easier to understand what

     21   is going on with the flow of money in and out of the bank

     22   account.

     23   Q      So it appears on the top half there are arrows going down

     24   into the middle, and then on the bottom half arrows coming out?

     25   A      That's correct.




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      1   Q      What does that mean?

      2   A      So the arrows on the top, that is money that is inflows,

      3   so the arrows are pointing into the representation of a bank

      4   account.

      5          And then on the bottom, there are arrows going out and

      6   down, that is money going out of that account.

      7   Q      So, for example, on the right-hand side for the American

      8   Express card, that is one you didn't subpoena records for but

      9   it went out of the Chase account, correct?

     10   A      That's correct.

     11   Q      And then the other outflows, can we go through them from

     12   the top left "unknowns" and describe what those are?

     13   A      Yeah, unknown deposits are unable to read, so that meant

     14   -- essentially what the financial analyst was doing for the

     15   bank records is I got the signature card, the monthly

     16   statement, and copies of all of the checks that were deposited

     17   and all of the debits that came out of that account.

     18          And then she went through and essentially by hand, with

     19   some assistance of a computer program, line by line identified

     20   each of those checks, who they came from, what the amount was,

     21   and other data.

     22          But sometimes she couldn't always read the copy, and on

     23   some of them we didn't necessarily get 100 percent of the

     24   checks.

     25          So that's what that total represents.




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      1   Q      Okay.    So, is it fair to say then that the total amount

      2   you knew went to Mr. Mirando may not include everything --

      3   A      That's correct.

      4   Q      -- that went to Mr. Mirando.

      5          Now, let's turn to the claims and the insurance records.

      6          We can talk about the specific beneficiaries.

      7          Can you look at Exhibit 8?

      8                  MR. MCDERMOTT:    Which number?

      9                  MS. RYKKEN:    Eight.

     10          We are going to back up.        This is actually going to be

     11   about the Holter device themselves.

     12                  THE WITNESS:    But it's still Exhibit 8?

     13   BY MS. RYKKEN:

     14   Q      Exhibit 8.

     15   A      Okay.    I have Exhibit 8.

     16   Q      Okay.    Now, do you recognize that?

     17   A      Yes, I do.

     18   Q      What is it?

     19   A      This is a document that I created that summarized

     20   information I obtained from invoices I obtained during the

     21   investigation.

     22   Q      Who were those invoices from?

     23   A      The invoices from Datrix to Lin Medical or from Datrix to

     24   Caird Technology.

     25                  MS. RYKKEN:    This is a document that was previously




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      1   pre-admitted, so I would like to move to admit into evidence

      2   now.

      3                MR. MCDERMOTT:      No objection.

      4                THE COURT:     It may be received.

      5          (Exhibit 8 received into evidence.)

      6   BY MS. RYKKEN:

      7   Q      And then similarly, did you create charts of the benefits

      8   paid out for specific beneficiaries?

      9   A      Yes, I did.

     10   Q      Can you look at Exhibit 31, please.

     11          What is that?

     12   A      31 is a copy of the documents that I received from one of

     13   the subpoenas served on one of the insurance companies

     14   requesting the specific --

     15                MS. RYKKEN:     It might be 27, not 31.

     16                THE WITNESS:     Oh.

     17                MS. RYKKEN:     Sorry, 36.

     18                THE WITNESS:     Okay.    Here we go.

     19   BY MS. RYKKEN:

     20   Q      Do you recognize that?

     21   A      Yes, I do.

     22          This is a document that I created that summarizes some of

     23   the information from the claims data that I obtained that

     24   relates to Martha Bennett.

     25   Q      Does this contain the information that we showed to




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      1   Ms. Bennett yesterday?

      2   A      Yes, it does.

      3                  MS. RYKKEN:   The government would move to admit

      4   Exhibit 36 into evidence.

      5                  MR. MCDERMOTT:    No objection.

      6                  THE COURT:    It will be received.

      7          (Exhibit 36 received into evidence.)

      8   BY MS. RYKKEN:

      9   Q      So this is the document as it appeared to you yesterday.

     10          The document in the binder is slightly different, so I

     11   just want to confirm it's exactly the same.

     12   A      The data is the same, it's just presented differently.

     13   Q      Okay.    I'm going to switch to this, so that the jury can

     14   see.

     15                  THE COURT:    Val, turn on the ELMO.

     16                  MS. RYKKEN:   Okay.

     17   BY MS. RYKKEN:

     18   Q      So is this the document you are looking at in the binder?

     19   A      Yes, it is.

     20   Q      That is similar to the one that was shown yesterday?

     21   A      Yes.

     22   Q      Okay.    Now, we're going to do the same thing for the other

     23   patients.

     24          Okay.    Can you look at Exhibit 50?

     25   A      I have it.




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      1   Q      Okay.    What is that?

      2   A      This is a document that I created that summarizes the

      3   claims submitted by Holter Labs to an insurance company on

      4   behalf of John Hattrup.

      5                  MS. RYKKEN:   Now, the government moves to admit

      6   Exhibit 50 into evidence.

      7                  MR. MCDERMOTT:    No objection.

      8                  THE COURT:    It will be received.

      9          (Exhibit 50 received into evidence.)

     10   BY MS. RYKKEN:

     11   Q      Similarly, I would just like to show the jury what it

     12   looks like.     It's in a slightly different format.          There we go.

     13          So that data is the same as the data that was shown on

     14   Mr. Hattrup yesterday?

     15   A      Yes.    It's identical.     It is the same information, just in

     16   a slightly different format.        The chart looks a little

     17   different.

     18   Q      Okay.    Can you look at Exhibit 63?       Oh, no, 62.

     19   A      I have it.

     20   Q      Okay.    What is that?

     21   A      This is a document that I created that summarizes the

     22   claims information of what Holter Labs submitted to the

     23   insurance company on behalf of Lisa Solmor.

     24                  MS. RYKKEN:   The government moves to admit

     25   Exhibit 62 into evidence.




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      1                  THE COURT:    It will be received.

      2          (Exhibit 62 received into evidence.)

      3   BY MS. RYKKEN:

      4   Q      And similarly, this document looks a little different than

      5   the one you saw yesterday; is that right?

      6   A      Yes.

      7   Q      But this information is correct?

      8   A      Yes.    It's the same data, it's just a different

      9   presentation.

     10   Q      Okay.    And then the last patient.       Can you look at

     11   Exhibit 77?

     12   A      I have it.

     13   Q      Okay.    What is that?

     14   A      This is a document that I created that summarizes the

     15   claims data submitted to -- submitted by Holter Labs to the

     16   insurance company on behalf of Stacey Foster.

     17                  MS. RYKKEN:   The government moves to admit Exhibit

     18   77 into evidence.

     19                  THE COURT:    It will be received.

     20          (Exhibit 77 received into evidence.)

     21   BY MS. RYKKEN:

     22   Q      Then the last one I want to make sure the jury sees this.

     23   This is similar to the information that was shown yesterday,

     24   correct?

     25   A      Yes.




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      1   Q       All right.    So I want to talk a little bit more about the

      2   overall investigation of claims.

      3           You mentioned that you received documents from various

      4   insurance companies?

      5   A       That's correct.

      6   Q       Thousands of claims?

      7   A       Yes.

      8   Q       Can you look at Exhibit 84?

      9   A       I have it.

     10   Q       Okay.    What is that document?

     11   A       This is a document that I created.

     12           So I got insurance claims data from about 25 insurance

     13   companies.      Each one has a different worksheet, if you will.

     14           So I wanted to be able to analyze the information

     15   globally.

     16           So, I copied some of the information from the columns on

     17   to another worksheet so that I could then do some analysis of

     18   that.

     19           And this is a summary of that document I created.

     20                   MS. RYKKEN:   The government moves to admit

     21   Exhibit 84 into evidence.

     22                   MR. MCDERMOTT:   No objection.

     23                   THE COURT:    It will be received.

     24           (Exhibit 84 received into evidence.)

     25   BY MS. RYKKEN:




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      1   Q      So this is the first page of the exhibit?

      2   A      Yes.

      3   Q      What is that?

      4   A      This is a listing of the insurance companies that provided

      5   me claims data, and then the date range of those claims; the

      6   date range being the date of service.          So the earliest date of

      7   service and the last date of service.

      8   Q      Are all of these healthcare insurance companies the HBCPs

      9   that we were talking about earlier?

     10   A      Yes, they are.

     11   Q      Does this include Aetna?

     12   A      Yes, it does.

     13   Q      And United?

     14   A      Yes, it does.

     15   Q      And Cigna?

     16   A      Yes, it does.

     17   Q      Can you turn to the next page?

     18   A      I have it.

     19   Q      What is that?

     20   A      So when I was analyzing the data, I went through each line

     21   and I identified, based upon my investigation, whether that CPT

     22   code on that line was something that Holter Labs could have

     23   performed, so I would have marked it "as appears to be valid."

     24          My investigation revealed that they did not have the

     25   equipment to perform that procedure, so I listed as "unable to




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      1   perform."

      2          Whether it was a duplicate date of service within a short

      3   period of time from the first date of service in the claims

      4   data, so if it was a duplicate date of service, and it's

      5   possible that it could have been performed or I didn't know, I

      6   listed as "duplicate date of service."

      7          Then if it was none of the three that I just described, I

      8   marked it "unknown."

      9   Q      And this listing is organized by code?

     10   A      This listing is summarized by insurance company and then

     11   the CPT codes on the claims that were submitted to that

     12   insurance company by Holter Labs.

     13   Q      And this summary goes on for a number of pages; is that

     14   right?

     15   A      Yes, it does.

     16   Q      If you can make your way toward the end, where the next

     17   chart begins.     This is page 19, for the record.

     18   A      I'm there.

     19   Q      What is this?

     20   A      This is -- I took the same analysis, the global claims,

     21   and I sorted it different ways to create the summary charts.

     22          This one is summarized by how I analyzed each claim line

     23   and they are grouped together by how I -- by the category.                 It

     24   appears to be valid, duplicate date of service, unknown, or

     25   unable to perform.




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      1          So this includes for all insurance companies.

      2   Q      Okay.    So, this appears to be the valid section?

      3   A      Yes.

      4   Q      These are all of the things that you thought might have

      5   been okay?

      6   A      Yes.    I was conservative in making those determinations.

      7          I tried to be as conservative as I could be.

      8          And based upon my investigation, it appears that Holter

      9   Labs did have the equipment that could have performed these,

     10   and it was not a duplicate date of service.

     11   Q      Okay.    So the first dollar amount, that column, what is

     12   it?

     13   A      That is the summary of what you see below you.

     14          So it appears to be valid.        You go straight over and the

     15   second column is the summary of the amount billed that I

     16   determined to be -- appears to be valid, and the amount paid

     17   under "appears to be valid."

     18   Q      So the amount billed is the amount of claims submitted?

     19   A      Yes.    That I analyzed as appears to be valid.

     20   Q      Okay.    Then the amount paid is the insurance money that

     21   was actually paid to Holter Labs?

     22   A      That's correct.

     23   Q      And duplicate date of service, let's look at that.

     24   A      Yeah.    Duplicate date of service, again, in analyzing each

     25   claim line, I looked at when the first date of service was, and




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      1   then if there was a duplicate date of service within six months

      2   of the first day of the service, I marked it as a "duplicate

      3   date of service."

      4   Q      What is the total amount billed for duplicate dates of

      5   service?

      6   A      $1,079,433.86.

      7   Q      What is the amount paid to Holter Labs?

      8   A      $369,883.36.

      9   Q      Let's take a look at the third category, "unable to

     10   perform."

     11          What is the total amount that was billed there?

     12   A      $7,369,392.69.

     13   Q      What was the amount received back?

     14   A      $2,655 -- I'm sorry, let me start again, $2,655,446.11.

     15   Q      And there are particular categories that were larger

     16   amounts of money.

     17          Can you look below on the third one, the Microvolt T-wave

     18   assessment?

     19   A      Yes.    So the total billings under that CPT code was

     20   $1,106,777.76 that was billed under that CPT code.

     21   Q      What about the next one, the remote 30 days EG?

     22   A      That was $507,566.34 billed.

     23   Q      Okay.    And then on the next page, there is "unknown"?

     24   A      Yes.

     25   Q      What is the total amount billed there?




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      1   A      $289,313.10.

      2   Q      And the amount that Holter Labs received?

      3   A      $80,095.37.

      4   Q      And approximately how many different claims are

      5   encapsulated by this summary?

      6   A      The global?    Thousands.

      7   Q      Is it tens of thousands?

      8   A      That would be reasonable, yes.

      9   Q      And then on the last page, we have a total amount.

     10          So it reads:     $10,316,506.93 of attempted.

     11   A      Yes.   From all insurance companies that I received claims

     12   data from.

     13   Q      You didn't receive that from every insurance company?

     14   A      No, I did not.

     15   Q      And the total amount that was paid to Holter Labs?

     16   A      $3,504,675.17.

     17   Q      Can you look at Exhibit 92?

     18                 THE COURT:    Is this a convenient time for us to take

     19   our break?

     20                 MS. RYKKEN:    Yes.

     21                 THE COURT:    All right.    Ladies and gentlemen, we're

     22   going to take our final break of the day.           Again, I want to

     23   remind you until this trial is over, you are not to discuss

     24   this case with anyone, including your fellow jurors, members of

     25   your family, people involved in the trial or anyone else.




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      1          Do not allow others to discuss the case with you.

      2          This includes discussing the case on Internet, bulletin

      3   boards, by e-mails or text messages.

      4          If anyone tries to communicate with you about this case,

      5   please let me know about it immediately.

      6          Do not read, watch or listen to any news reports or other

      7   accounts about the trial or anyone associated with it.

      8          Do not do any research such as consulting dictionaries,

      9   searching the Internet, or using other reference materials.                Do

     10   not make any investigation about the case on your own.

     11          Finally, I remind to you to keep an open mind until all of

     12   the evidence has been received, you have heard the arguments of

     13   counsel, the instructions of the Court, and the views of your

     14   fellow jurors.

     15          If you need to speak with me, simply give a signed note to

     16   the clerk.

     17          We will come back at five until the hour.

     18                THE COURTROOM DEPUTY:       All rise.

     19                  (JURY EXITS THE COURTROOM AT 11:44 A.M.)

     20                THE COURT:     How much longer will you be with this

     21   witness?

     22                MS. RYKKEN:     My guess is no more than 15 minutes,

     23   probably, like, ten.

     24                THE COURT:     Okay.

     25                MR. MCDERMOTT:      20 minutes.




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      1                  THE COURT:    Okay.   All right.    We will see everybody

      2   in 10 or 15 minutes.

      3                  THE COURTROOM DEPUTY:     This Court will stand in

      4   recess.

      5                                    (Recess.)

      6                  THE COURTROOM DEPUTY:     All rise.

      7          This Court is once again in session.

      8          You may be seated.

      9                  THE COURT:    Are we ready to resume?

     10                  MS. RYKKEN:   Yes, Your Honor.

     11                  THE COURT:    Bring the jury in.

     12          Mr. McDermott, do you need any tissues?

     13                  MR. MCDERMOTT:    I have got a box.

     14                  THE COURT:    I thought you were running low.

     15                  MR. MCDERMOTT:    I am going to the doctor after we

     16   leave.

     17                  THE COURTROOM DEPUTY:     All rise.

     18                  (JURY ENTERS THE COURTROOM AT 12:00 P.M.)

     19                  THE COURTROOM DEPUTY:     You may be seated.

     20                  THE COURT:    Why don't we have the witness resume the

     21   stand?

     22                  MS. RYKKEN:   May I begin?

     23                  THE COURT:    Yes, please.

     24   BY MS. RYKKEN:

     25   Q      Okay.    So we were just about to look at Exhibit 92.




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      1          Do you see that in your binder?

      2   A      Yes, I do.

      3   Q      What is that?

      4   A      This is a document that I created that I -- during this

      5   investigation, recently I requested new claims data from a few

      6   insurance companies and I -- for, I think, the fall of 2016,

      7   through the current date, as current as they could give it to

      8   me.

      9          This is a summary of claims data that I received from

     10   Anthem for claims that were submitted after the defendant's

     11   arrest to the most current date that they had available.

     12   Q      And when was the date of defendant's arrest?

     13   A      The defendant was arrested on October 7, 2016.

     14                  MS. RYKKEN:   The government moves to admit

     15   Exhibit 92 into evidence.

     16                  MR. MCDERMOTT:    No objection.

     17                  THE COURT:    It will be received.

     18          (Exhibit 92 received into evidence.)

     19   BY MS. RYKKEN:

     20   Q      So was this what you were referring to just on the screen?

     21   A      Yes.

     22   Q      Okay.    And the top half, what is all of the information on

     23   the top half?

     24   A      This is all of the CPT codes that were in the claims data

     25   set I received from Anthem that were submitted after the




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      1   defendant's arrest to the most current date that Anthem had

      2   available and could provide me.

      3   Q       That is the sum total?

      4   A       Yes.

      5   Q       What's the dollar amount that was attempted to be billed?

      6   A       The dollar amount on that is $109,240.

      7   Q       What was the amount paid?

      8   A       $24,231.29.

      9   Q       I see you have highlighted some things in yellow.

     10           What does that mean?

     11   A       Those are four of the codes that I had -- in previous

     12   analysis -- had determined that Holter Labs did not have the

     13   devices to perform those procedures, so I highlighted them in

     14   here.

     15           And then I did a summary of those four just below this

     16   chart.

     17   Q       That summary of the four inappropriate codes, is that what

     18   you see on the screen?

     19   A       Yes, it is.

     20   Q       What are the codes for?

     21   A       One code is for a device that has wireless capability.

     22           Another code -- the second code is 30-day event.

     23           The fourth code is for a sleep study in which cardiac rate

     24   and oxygen saturation and respiratory effort are also measured.

     25           And then the fourth one is EEG, the brain scan.




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      1   Q      So the total amount that was paid out, what is that for

      2   the ones that were fraudulent?

      3   A      For those four codes, it was $19,149.54.

      4   Q      And about what percentage of the total amount paid?

      5   A      That represents 79 percent of the total amount paid to

      6   Holter Labs by Anthem on claims submitted after the defendant's

      7   arrest to the most current date.

      8   Q      How does that percentage compare to the claims from before

      9   his arrest?

     10   A      It's about standard.

     11   Q      And what percentage of the claims submitted before his

     12   arrest were what you considered fraudulent?

     13   A      80 percent.

     14   Q      All right.    So you mentioned earlier you met with various

     15   doctors and patients during your investigation.

     16          Do you recall which patients you met with?

     17   A      Yes, I met with Martha Bennett, John Hattrup, Lisa Solmor,

     18   Stacey Foster, and then there were a couple of more that I also

     19   interviewed that did not testify at trial.

     20   Q      Why did you meet with those four?

     21   A      Those were four that Holter Labs had submitted claims to

     22   insurance companies for providing services, and those patients

     23   were located within the Los Angeles office of the FBI area of

     24   responsibility.

     25   Q      Can you look at Exhibit 95?




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      1   A      I have it.

      2   Q      What is that?

      3   A      This is a summary chart that I created that lists the

      4   claims data that was submitted by Holter Labs to insurance

      5   companies for the four patients that I interviewed and

      6   testified during trial.

      7                 MS. RYKKEN:    And the government moves to admit

      8   Exhibit 95 into evidence.

      9                 MR. MCDERMOTT:     No objection.

     10                 THE COURT:    It will be received.

     11          (Exhibit 95 received into evidence.)

     12   BY MS. RYKKEN:

     13   Q      So is this similar to the information we looked at before

     14   in Exhibits 36, 85, and the summaries for each of the patients

     15   earlier?

     16   A      Yes.   So this is identical to the summaries of each of the

     17   patients.     This one has all four on one sheet.

     18   Q      So can you just go down to the bottom for the total?

     19   A      The grand total?

     20   Q      The grand total.      What is the total amount billed?

     21   A      $12,455.

     22   Q      And what was the amount paid?

     23   A      $6,815.67.

     24   Q      Are you familiar with the indictment in this case?

     25   A      Yes.




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      1   Q      How are you familiar with that?

      2   A      I recall seeing it when it was drafted and presented to

      3   the grand jury.

      4          I also received a copy after the grand jury had issued the

      5   indictment.

      6          I'm not sure what the legal term is.

      7   Q      So did you have a chance to look at all of the 15 counts

      8   in the indictment?

      9   A      Yes.

     10   Q      Can you look at Exhibit 94?

     11   A      94?

     12   Q      Yes.

     13   A      I have it.

     14   Q      What is that?

     15   A      This is the summary of each count for which Michael

     16   Mirando was charged in the indictment, and it lists each

     17   beneficiary the code, the procedure, the date of service, and

     18   the amount claimed.

     19                 MS. RYKKEN:    The government moves to admit 94 into

     20   evidence.

     21                 MR. MCDERMOTT:     No objection.

     22                 THE COURT:    It will be received.

     23          (Exhibit 94 received into evidence.)

     24   BY MS. RYKKEN:

     25   Q      Do you know if the indictment refers to the patients by




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      1   name?

      2   A       No.     The indictment uses initials.

      3   Q       Okay.    Do you remember the initials in the indictment?

      4   A       Yes.

      5   Q       Okay.    What were they?

      6   A       So John Hattrup was JH, Martha Bennett was MB, Lisa Solmor

      7   was LS, and Stacey Foster-Sixtos was abbreviated, I believe, as

      8   SF for Stacey Foster.

      9   Q       And this chart is similar to the counts in the indictment,

     10   correct?

     11   A       Yes.

     12   Q       And what is in the CPT code column?

     13   A       The CPT code is the code that was used in the claim by

     14   Holter Labs on the submission to the insurance company.

     15   Q       These were the charged fraudulent codes?

     16   A       Yes.

     17   Q       And the procedure?

     18   A       The procedure is the description that I received from the

     19   claims data I received from the insurance company.

     20   Q       Okay.    And then in the date column?

     21   A       That is the date of service, so that's the date of service

     22   that was listed on the claims that were submitted by Holter

     23   Labs to the insurance company.

     24   Q       And the final amount claimed?

     25   A       The amount claimed was the amount that Holter Labs billed




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      1   for each procedure on the 1500 forms, the claim forms, that

      2   Holter Labs submitted to the insurance company.

      3   Q      So it's not the amount that was paid on those claims?

      4   A      That is correct.       That is the amount billed.

      5                  MS. RYKKEN:    Can I have a minute with co-counsel?

      6                  THE COURT:    Yes.

      7                  MS. RYKKEN:    Okay.   Nothing further.

      8                  THE COURT:    All right.   Cross-examination?

      9                  MR. MCDERMOTT:    Thank you, sir.     May I?

     10                  THE COURT:    Yes.

     11

     12                                CROSS-EXAMINATION

     13   BY MR. MCDERMOTT:

     14   Q      Agent Kennedy, I might have missed it.          How long have you

     15   been an agent?

     16   A      It will be 20 years this August.

     17   Q      How long have you been in the health investigation field?

     18   A      Since 2013.

     19   Q      So, this would have been one of your first cases?

     20   A      This is my second case.

     21   Q      Second case?

     22   A      Uh-huh.

     23   Q      Okay.    Now in your office there with the FBI, do you have

     24   a guide book, a training book that tells you how to investigate

     25   a case such as this?




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      1   A      There are resources available that agents can access, plus

      2   I happen to sit next to one of the most experienced FBI agents

      3   in healthcare fraud in the Los Angeles County.            He's a resource

      4   as well.

      5          Plus my supervisor is a resource.

      6          There is FBI headquarters that is a resource, so there is

      7   a lot of resources.

      8   Q      What did you do before healthcare fraud?

      9   A      Within the FBI?

     10   Q      Yes.

     11   A      I was the applicant coordinator for Los Angeles office

     12   helping to select and process applicants for the special agent

     13   position for the FBI.

     14   Q      So, an administrative position?

     15   A      Yes.

     16   Q      Not necessarily an investigative position?

     17   A      For the time period, I was the applicant coordinator, yes.

     18   Q      Right.   How long was that?

     19   A      Six years.

     20   Q      Six.   Were you in the field at any point in time as an

     21   investigator?

     22   A      Oh, yes.

     23   Q      All right.    So you are familiar with the use of search

     24   warrants?

     25   A      Yes.




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      1   Q      Obviously, you are familiar with the use of subpoenas,

      2   correct?

      3   A      Yes.

      4   Q      Now, in this particular case, did you use search warrants?

      5   A      No.    We did not get a search warrant.

      6   Q      All right.    At any point in time, did you use any device,

      7   search warrant of any nature, directly on Holter Labs or

      8   directly on Michael Mirando?

      9   A      No, we did not.

     10   Q      So, when we put together a list of available devices,

     11   supposedly being used with certain patients --

     12   A      Uh-huh.

     13   Q      -- you don't have a list coming directly from Holter Labs

     14   as to what devices they possessed, true?

     15   A      No, I do have a list.

     16   Q      Well you relied on Datrix and Lin Medical, correct?

     17   A      Stanton Crowley, when I first met with him in September

     18   of 2013, he had brought -- or he had some documents that he

     19   obtained from Holter Labs that were available to him because he

     20   was part of Holter Labs.

     21          So I think I met with him shortly thereafter, and obtained

     22   copies of that, and one of those documents was an Excel

     23   spreadsheet.

     24          And one of the sheets on that listed the inventory that

     25   was assigned to specific doctors, and it had the serial number




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      1   and some other information that had been maintained.

      2          So that was an internal Holter Labs document.

      3   Q      So did you go about confirming those serial numbers with

      4   the specific doctors?

      5   A      No.    I got one from Ruby Simpkins, the actual device.

      6   Q      Yes.

      7   A      And I did confirm that it was the serial number that was

      8   listed on the sheet that I received from Michael Mirando that

      9   was the internal Holter Labs document.

     10   Q      No, no.    Not Michael Mirando, but from Stanley Crowley?

     11   A      Holter Labs, I'm sorry, Stan Crowley, I misspoke.

     12   Q      So this was a document that he turned over to you in

     13   September of 2013, correct?

     14   A      Correct.

     15   Q      That would have been the first time in which you had a

     16   chance to interview him, correct?

     17   A      Stanton Crowley, yes.

     18   Q      This would have been -- like you said -- the second case

     19   that you had that involved healthcare fraud, right?

     20   A      Yes.

     21   Q      This particular individual that showed up in your office,

     22   was there because he had a proffer agreement, right?

     23   A      It was a proffer agreement, yes.

     24   Q      You understood what a proffer agreement was, did you not?

     25   A      Yes.




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      1   Q      So this was an individual that had some issues regarding

      2   exposure to charges?

      3   A      Yeah, that is probably accurate.

      4   Q      All right.    I mean, before this was handed out to him, did

      5   you have any discussions with the Assistant U.S. Attorney that

      6   gave him the proffer agreement?

      7   A      I think that would have been administrative.

      8   Q      All right.     So there was no discussion ahead of time that

      9   you were going to sit down with a witness that had a protection

     10   agreement?

     11   A      As I recall I was asked to go over to the U. S. Attorney's

     12   Office.    They had an individual who was coming in to provide

     13   information.

     14          And I think the U. S. Attorney had very briefly given me

     15   some information that there was going to be a proffer, and then

     16   I was going to speak to the witness.

     17   Q      Okay.   Now --

     18   A      I apologize.

     19   Q      -- at that particular time in 2013, had you become aware

     20   that Crowley had not been part of the Holter Lab operation

     21   since October of 2012?

     22   A      I discovered that during the interview of Mr. Crowley.

     23   Q      All right.     So the information he had -- do you need any

     24   cough drops?

     25   A      I actually have water.       I think this is good, I apologize.




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      1   Q      So what you had was a list of items that had been

      2   generated in 2012, at the latest, right?

      3   A      Correct.

      4   Q      Now, at any point in time, did you try to independently

      5   verify where that list came from?

      6   A      I considered it, but I didn't see any method of being able

      7   to do so.

      8   Q      All right.    Because my question is when that document came

      9   to you, was it in an Excel spreadsheet?

     10   A      Yes.

     11   Q      Okay.   Now, the Excel spreadsheet, that is necessary --

     12   not necessarily a "read only" kind of creation, is it?

     13   A      That's correct.

     14   Q      So, he acquired this a year before seeing you, and that

     15   document could have been amended, altered, changed, a lot of

     16   different things during that year time frame, correct?

     17   A      That's correct.

     18   Q      And as you sit here today, do you have any independent

     19   investigation that confirmed what devices Holter Labs had other

     20   than from Lin Medical and Datrix?

     21   A      Other than Mr. Crowley's information about some of the

     22   devices that were on there, no.

     23   Q      Okay.   That is the point.

     24          Mr. Crowley gave you some information, but independently

     25   verifying what was on there other than Lin Medical or Datrix,




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      1   that did not occur, true?

      2   A      True.

      3   Q      Now, when you -- when you put this list together of all of

      4   the devices and all of the billing codes and adding them up,

      5   were you able to confirm with the physicians on those codes,

      6   this list -- the complete list -- which devices they were using

      7   and what was available?

      8   A      I attempted to get the device from the doctors that I

      9   interviewed -- that I obtained records from for those patients.

     10   Q      We're talking about the four?

     11   A      Correct.

     12   Q      All right.    But this lengthy list of billings that you put

     13   together --

     14   A      Uh-huh.

     15   Q      -- that had this phenomenal amount of money involved, did

     16   you contact the physicians in that particular situation that

     17   determined whether or not the devices could do with the codes

     18   say they could do?

     19   A      Other than the four, no.

     20   Q      Now, when Mr. Crowley came to your office, and he had the

     21   proffer agreement --

     22   A      Uh-huh.

     23   Q      -- can you tell me whether or not any promises were

     24   extended to him beyond that proffer agreement?

     25   A      Not that I'm aware of.




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      1   Q      And it was obviously an ongoing conversation and

      2   communication that you had with Mr. Crowley during that time?

      3   A      Yes.

      4   Q      And was there in fact an instance in which he wanted to

      5   know whether or not the IRS had been contacted?

      6   A      I do recall a conversation that I had with Mr. Crowley

      7   about him asking me if I had contacted the IRS.

      8          I told him I had not.

      9          I wasn't aware the IRS was involved, and he said something

     10   about he was wondering if he should contact them, and I said,

     11   that's up to him.

     12   Q      And to your knowledge, does the FBI and the IRS coordinate

     13   investigations?

     14   A      We have.    We do at times.

     15   Q      So has that occurred in this case?

     16   A      No.

     17   Q      The dollar amounts that we have that you put together, how

     18   much Stan Crowley received, how much Michael Mirando received,

     19   from your understanding there is no ongoing or current IRS

     20   investigation as to those numbers?

     21   A      I'm not aware of any IRS investigation.

     22   Q      During the course of your investigation, did you ever

     23   receive an e-mail, text message copy, voice message of any sort

     24   involving Mr. Mirando talking about his role in Holter Labs?

     25   A      I received as part of the discovery from your office to




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      1   the United States Attorney's Office, who in turn, sent it to

      2   me.

      3   Q      Okay.   But independently on your own, my office delivered

      4   the documents that you ended up with.

      5          But independently, did you have e-mails, text messages,

      6   voice messages, interviews with Michael Mirando?

      7   A      No.

      8   Q      Now, to your knowledge and understanding, at least in your

      9   conversations with Mr. Crowley, did you become aware of whether

     10   or not either Mr. Cast or Mr. Crowley trained Mr. Mirando on

     11   billing?

     12   A      I received some information from Mr. Crowley and Mr. Cast

     13   regarding that.

     14   Q      And the sum total or extent of the total of that was that

     15   they in fact trained him on how to bill, correct?

     16   A      Mr. Crowley said that Mr. Cast had shown Mr. Mirando how

     17   to do the coding, the billing.

     18          And Mr. Mirando [sic] stated that he didn't know how to do

     19   it, so he didn't show him.

     20          When I interviewed Mr. Cast, he said that he knew how to

     21   do it, and he did some of it, but he did not train Mr. Mirando.

     22   Q      Okay.   So, either Cast isn't telling the truth or Crowley,

     23   right?

     24   A      Yeah, I don't know.

     25   Q      But it's pretty certain that Mr. Mirando did not know how?




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      1   A      I do not know.

      2   Q      All right.    But at least in the course of your

      3   investigation, you didn't find any independent source of

      4   information that confirmed to you that Michael Mirando knew how

      5   to do coding before meeting Cast and Crowley?

      6   A      That would be correct.

      7   Q      And subsequent to meeting Cast and Mr. Crowley, any

      8   evidence whatsoever, that Michael Mirando went to some kind of

      9   seminar, teaching class of any sort to learn coding?

     10   A      I found no record of that.

     11   Q      Now, you had to do your own homework to figure out what

     12   coding was by going online?

     13   A      Yes.

     14   Q      That would include going on websites for insurance

     15   companies, I believe, you testified?

     16   A      Yes.

     17   Q      And the insurance companies are the ones that created that

     18   system?

     19   A      No.    The American Medical Association created the CPT

     20   codes.

     21   Q      And during the course of your investigation and searching

     22   online, did you find courses offered to teach people how to do

     23   coding?

     24   A      I didn't search for that online, but I'm aware there are

     25   courses.




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      1   Q      There are?

      2   A      Yes.

      3   Q      To your knowledge, did you ever uncover as to whether or

      4   not Mr. Cast or Mr. Crowley ever attended one of those classes?

      5   A      I did not find any evidence that.

      6   Q      When Mr. Crowley arrived at your office in September 2013,

      7   you began to contact the insurance companies regarding what he

      8   had to say about?

      9   A      I requested claims data, yes.

     10   Q      All right.    Did any one of the insurance companies inform

     11   you that they had already opened up an investigative file on

     12   Holter Labs?

     13   A      No.

     14   Q      Did any one of the insurance companies come to you or even

     15   after you contacted them, and say, "You know, we have actually

     16   got an open file here on Holter Labs.          We have been keeping

     17   tabs on some really unusual coding going on with this device

     18   that you wear on your chest."

     19          Any one of the insurance companies do that?

     20   A      No.

     21   Q      So relative to how to code and how to bill, none of the

     22   insurance companies went to directly to Mirando or Holter and

     23   said, "You are doing this wrong"?

     24                 MS. RYKKEN:    Objection.     Foundation.

     25                 THE COURT:    Sustained.




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      1   BY MR. MCDERMOTT:

      2   Q      Are you aware of whether or not any insurance company went

      3   directly to Mirando and informed him he was billing

      4   incorrectly?

      5   A      I'm not aware of any insurance company offering any

      6   education or instruction to Mr. Mirando.

      7   Q      And no insurance company at all had an open investigation

      8   before you opened yours, right?

      9                MS. RYKKEN:     Objection.     Foundation.

     10                THE COURT:     Sustained.

     11   BY MR. MCDERMOTT:

     12   Q      Are you aware?

     13                THE COURT:     That doesn't cure that problem.

     14                MR. MCDERMOTT:      Okay.   I will fix it.

     15   BY MR. MCDERMOTT:

     16   Q      Are you aware of any insurance company having an open

     17   investigation before you contacted them regarding Michael

     18   Mirando?

     19   A      I am not.

     20   Q      Did you have -- you brought it up in your direct that

     21   Mr. Crowley, over the course of time that he was working with

     22   Holter Labs, collected close to $1,076,000, right?

     23   A      It was on the summary chart.

     24   Q      Does that sound about right?

     25   A      That is accurate, yeah.




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      1   Q      And there was -- he had the benefit of American Express

      2   cards, right?

      3   A      There was an American Express card for Holter Labs.

      4          I did not receive the statements, so I do not know who

      5   charged and who received the benefit.

      6   Q      Okay.    But you are aware that he actually had a card?

      7   A      I believe that's accurate.

      8   Q      All right.    So, American Express didn't return your calls

      9   or respond to your subpoena?

     10   A      I didn't subpoena it.       I was drowned in records, as it

     11   was, sir.

     12   Q      Okay.    So we don't know how much he might have collected

     13   from American Express to pay his bills, right?

     14   A      That's correct.

     15   Q      Any other account that you listed on that document that

     16   you didn't get the records for to determine how much Stan

     17   Crowley might have benefited?

     18   A      Stan Crowley had an ING account.

     19   Q      Right.

     20   A      I did not request the records for Stan Crowley's ING

     21   account.

     22   Q      Okay.    Do you know whether or not Holter Labs was paying

     23   for his vehicle?

     24   A      I believe it was.

     25   Q      Did you include that in the $1 million figure?




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      1   A      Yes.

      2   Q      So we haven't -- we didn't include the ING, we didn't

      3   include American Express.

      4          Anything else we didn't include for Mr. Crowley?

      5   A      Not that I'm aware of.

      6   Q      And did you in fact have discussions with him regarding

      7   his tax situation?

      8   A      No.

      9   Q      All right.    So, in sum, when you went through the summary

     10   of indictment charges and the patients, and that sort of thing,

     11   did you testify that at least as to Ruby Simpkins you actually

     12   saw the device that was used on that particular patient?

     13   A      Yes.   It's been admitted into evidence.

     14   Q      Well, that particular device we're talking No. 1, Exhibit

     15   No. 1 --

     16   A      Yes.

     17   Q      -- that was the one from Ruby Simpkins?

     18   A      Yes.

     19   Q      All right.     As to the other three patients, did you track

     20   those down?

     21   A      I attempted.     They no longer had the devices in their

     22   possession.

     23   Q      So is it safe to say, other than what we might have in

     24   documents, you have never looked at the device that was used on

     25   those particular patients, correct?




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      1   A      Yes.

      2   Q      So the only one you have that conversation with, as far as

      3   the type of device, was Ms. Solmor?

      4   A      Ms. Solmor, yes, sir.

      5                 MR. MCDERMOTT:     Just a second, Your Honor, if I

      6   could.

      7                 THE COURT:    All right.

      8   BY MR. MCDERMOTT:

      9   Q      You had some numbers and figures regarding billings that

     10   occurred after my client's arrest back in October of 2016?

     11   A      That were submitted afterwards, yes.

     12   Q      All right.    And they, in your opinion, reflect some kind

     13   of pattern of inappropriate billing for what the device would

     14   allow somebody to do?

     15   A      Yes.

     16   Q      Now, as to any of those particular billings, did you in

     17   fact contact the physicians and figure out exactly what devices

     18   they had?

     19   A      No.

     20   Q      You are basically relying upon it being device No. 1,

     21   Exhibit No. 1?

     22   A      The same model -- that Holter Labs had the same model.

     23   Q      And you haven't been able to update or confirm what Holter

     24   Labs and Michael Mirando might have had as far as devices since

     25   October 2016?




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      1   A      I have not.

      2   Q      Now, in addition to the insurance companies that are

      3   involved with this case, have you made any contact with MediCal

      4   or Medicare?

      5   A      Medicare, yes.

      6   Q      Okay.    Was there billings through Medicare?

      7   A      Yes.

      8   Q      To your knowledge, from 2005, through 2011, or '12, was

      9   Holter Labs able to bill Medicare?

     10   A      No.

     11                  MS. RYKKEN:   Objection.     Relevance.

     12   BY MR. MCDERMOTT:

     13   Q      Just a few more questions.

     14          And -- during your investigation, did you become familiar

     15   with the process to become eligible to do that?

     16                  MS. RYKKEN:   Objection.     Relevance.

     17                  THE COURT:    Sustained.

     18   BY MR. MCDERMOTT:

     19   Q      Do you know now whether or not Holter Labs is qualified to

     20   bill Medicare?

     21                  MS. RYKKEN:   Same objection.

     22                  THE COURT:    Sustained.

     23                  MR. MCDERMOTT:    I have nothing further.

     24                  MS. RYKKEN:   No redirect.

     25                  THE COURT:    You may step down.     Thank you.




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      1          Let me see counsel at sidebar.

      2                               (Sidebar begins.)

      3                THE COURT:     Okay.     Do you have any additional

      4   witnesses?

      5                MR. FREEDMAN:      No.

      6                THE COURT:     Subject to confirming that all of the

      7   documents are in, you are prepared to rest?

      8                MR. FREEDMAN:      Yes.

      9                MS. RYKKEN:     Yes.

     10                MR. MCDERMOTT:      I will stand up and say, we rest.

     11                THE COURT:     I'm thinking maybe we could do that.

     12          Do you want to do it today or --

     13                MR. MCDERMOTT:      Tuesday morning.

     14                THE COURT:     -- Tuesday morning.

     15                MR. MCDERMOTT:      Certainly.    Just for planning

     16   purposes, I have asked the government also that they are

     17   putting together instructions on the forfeiture aspect.              And I

     18   would like to get those instructions so I can sit down with the

     19   client, so I don't have those yet.

     20          And I apologize, maybe I should have taken more time to

     21   look that through.

     22                MR. FREEDMAN:      Someone is writing that down.

     23                THE COURT:     Okay.      I will tell you what, why don't

     24   we, for each side, I will ask if you are resting and that will

     25   be subject to confirming that whatever documents --




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      1                MR. MCDERMOTT:      Right.

      2                MR. FREEDMAN:      Do you want us to say that part of it

      3   or just say we rest?

      4                MR. MCDERMOTT:      I like the idea of me coming in on

      5   Tuesday and saying, I rest.

      6                THE COURT:     I know.    You can always seek to reopen

      7   if you want, if you have a good reason.

      8                MR. MCDERMOTT:      I know.    Give me all weekend long to

      9   think about it.

     10                THE COURT:     Well, anyway.     All right.

     11                               (Sidebar ends.)

     12                THE COURT:     All right.     Does the government have any

     13   additional witnesses?

     14                MR. FREEDMAN:      No, Your Honor.

     15                THE COURT:     Okay.   And subject to confirming that

     16   all of the appropriate exhibits have been received, does the

     17   government rest?

     18                MR. FREEDMAN:      Yes, Your Honor.

     19                THE COURT:     Okay.   Does the defense intend to call

     20   any witnesses?

     21                MR. MCDERMOTT:      Your Honor, right now, our position

     22   on it is that the defense would also indicate we're going to

     23   rest.

     24                THE COURT:     All right.     Ladies and gentlemen, I

     25   think we have done about all we can do today.




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      1          So we're going to resume on Tuesday.

      2          Are you sure you don't want to come down here Monday?

      3          All right.    We will resume on Tuesday at 8:00 a.m.

      4          On Tuesday, we will have the closing arguments of counsel,

      5   which as I indicated before, I think will last about an hour

      6   and a half, and then the Court will have some instructions to

      7   take about 20 to 25 minutes, and then the case will be

      8   submitted to you for your deliberations.

      9          All right.    So until Tuesday, remember that the trial --

     10   that until this trial is over, you are not to discuss this case

     11   with anyone, including your fellow jurors, members of your

     12   family, people involved in the trial or anyone else.             And do

     13   not allow others to discuss the case with you.

     14          This includes discussing the case on the Internet,

     15   bulletin boards, e-mails, or text messages.

     16          If anyone tries to communicate with you about this case,

     17   please let me know about it immediately.

     18          Do not read, watch, or listen to any news reports or other

     19   accounts about the trial or anyone associated with it.

     20          Do not do any research such as consulting dictionaries,

     21   searching the Internet, or using other reference materials.

     22   And do not make any investigation about the case on your own.

     23          Finally, you are reminded to keep an open mind until all

     24   of the evidence has been received, you have heard the arguments

     25   of counsel, the instructions of Court, and the views of your




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      1   fellow jurors.

      2          If you need to speak with me, simply give a note to the

      3   clerk.

      4          Have a nice weekend.      We will see everybody Tuesday

      5   morning at 8:00.

      6                 THE COURTROOM DEPUTY:      All rise.

      7                 THE COURT:    If you could, leave your notebooks on

      8   the chairs.

      9                  (JURY EXITS THE COURTROOM AT 12:35 P.M.)

     10                 THE COURT:    Have you seen the latest version of the

     11   jury instructions?

     12                 MR. MCDERMOTT:     I have a copy of it.      I haven't read

     13   through it.

     14                 THE COURT:    I think there are two -- there is a

     15   change in one of the instructions, and there is one new

     16   instruction.

     17                 MR. MCDERMOTT:     The gullible victim.      Right, I have

     18   got to take a look at that one.

     19                 THE COURT:    Okay.   When do you want to go over the

     20   jury instructions?

     21                 MS. RYKKEN:    After he's had a chance to review them,

     22   we can do that.      I mean, the first thing on Tuesday morning.

     23                 MR. MCDERMOTT:     Can I let the clerk know?

     24          I will be working on it this weekend.

     25          If I have an issue with it, I will indicate to the Court




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      1   that I do.

      2          I can't -- I have got no issues as to the balance, it's

      3   just those two.

      4          I can leave the clerk a message that we're copacetic with

      5   the two additional.

      6                THE COURT:     That is fine.

      7                MS. RYKKEN:     Would you like -- would the Court like

      8   us to provide copies of the jury instructions to the jurors?

      9                THE COURT:     I'm sorry?    I didn't hear you.       The

     10   microphone is off again.

     11                MS. RYKKEN:     Would the Court like us to provide

     12   copies of the jury instructions to the jurors or are you going

     13   to send back multiple copies?

     14                THE COURT:     No.    We will take care of that.

     15          I think I may have made some stylistic changes to the

     16   verdict form, but you will have that Tuesday and have an

     17   opportunity to review it.

     18          I don't think there is really anything of substance, but

     19   you will get a chance to look at that before it goes back and

     20   to be heard.

     21          Anything else?

     22                MR. MCDERMOTT:       Can I address one thing that is near

     23   and dear to my heart?

     24                THE COURT:     Yes.

     25                MR. MCDERMOTT:       The government is in the process of




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      1   preparing instructions on the forfeiture aspect, and they are

      2   going to get those to me.

      3          It would make it a lot easier for me if I didn't have to

      4   come up to MDC this weekend to sit down and go through it.

      5          My client's family have actually rented a home through

      6   Wednesday in Silver Lake, less than five miles away from here,

      7   I think.    And if at all possible, either if we could release

      8   him to the Central District, he doesn't go back to Oregon, here

      9   locally, I really need to sit down and talk with him at some

     10   point in time, and it would be a great convenience for him to

     11   come to my office as opposed to me trying to get to MDC and

     12   talk about it.

     13          I'm asking the Court, again, if there are any terms and

     14   conditions that would allow him to be out with his family in

     15   the home here locally, and able to visit with me during the

     16   weekend, I would really appreciate it.

     17                THE COURT:     What is the government's position?

     18                MR. FREEDMAN:      Your Honor, as long as the jury is

     19   still empaneled and out, I don't think anything has changed

     20   with the Court's concerns.

     21          Yesterday, we had the additional concern of the

     22   cooperating witness.       That concern is now gone, so I think

     23   status quo where things were on Wednesday.

     24                THE COURT:     Let me see counsel at sidebar.

     25                               (Sidebar begins.)




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      1                 THE COURT:    Well, you know, I understand what you

      2   are saying.

      3          The problem that I have is that that was pretty over the

      4   top, making contact with these -- initiating contacts with

      5   these jurors.

      6          And, you know, once the case is over and there is nothing

      7   new, I don't have a problem releasing him, but --

      8                 MR. MCDERMOTT:     There is a location down in Orange

      9   County that he stays there away from LA County.            I'm sure I'm

     10   not going to be bumping into any of the jurors down there in my

     11   office.    None of them are from Orange County.

     12          I mean, I would gladly indicate to the Court I would have

     13   him text me every hour on the hour, and I could provide you a

     14   copy of that to make sure he's where he is supposed to be.

     15                 I understand the Court's concern.

     16          In fact Mr. Freedman and I were talking about this in the

     17   bathroom today, just kind of the way the set-up is, I can

     18   understand why the Court would have the concern that it does.

     19          I'm just asking the Court for some consideration on making

     20   my job just a tad easier.        I know it's not your job.

     21                 THE COURT:    I understand that.      You know, I have

     22   been doing this longer than I care to even think about, but I

     23   can tell you I have never had something like that come up, even

     24   as a lawyer.

     25          So, I'm inclined to just kind of leave it where it is for




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      1   now.

      2                MR. MCDERMOTT:      You have to admit there is a lot of

      3   firsts.    I was telling Mr. Freedman the idea of actually having

      4   a juror telling us that he was in a witness protection program

      5   is a first for me.

      6          Maybe I didn't address it properly.         Like I said, Judge,

      7   it's as much my responsibility for not being a little bit more

      8   adamant with the client in understanding the rules and

      9   instructions that you were giving.

     10          So, I just want the Court to consider that, too.

     11                THE COURT:     I have.      I don't think -- well, I have.

     12   I am going to leave it the way it is, and then we will --

     13                MR. MCDERMOTT:      Okay.

     14                                 (Sidebar ends.)

     15                THE COURT:     Okay.     Counsel has asked to have the

     16   Court reconsider -- or to consider releasing the defendant back

     17   on bond.

     18          And I'm inclined to -- out of an over abundance of caution

     19   just to leave things the way they are.

     20          As I said before, unless I learn something new, once the

     21   jury has completed its tasks, the defendant will be released

     22   one way or the other.

     23          If he's acquitted, the Court will order him released

     24   forthwith.

     25          And if it's an adverse result, provided I don't learn of




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      1   anything new, the defendant will be released forthwith once the

      2   jury has concluded.

      3                MR. MCDERMOTT:      Let me add one more item for the

      4   record.

      5          He's being housed on Five South right now.

      6                THE COURT:     Okay.

      7                MR. MCDERMOTT:      Hopefully, it will get corrected, if

      8   I'm wrong, but that is what I understand.

      9          Does MDC actually have a floor in which there are

     10   adjudicated -- just prisoners being held there?            It was my

     11   understanding it was all people awaiting trial.

     12                THE COURT:     I think the vast majority of people

     13   there are waiting for trial.

     14          If what you are saying is if there are people there who

     15   have had their cases adjudicated?

     16                MR. MCDERMOTT:      Right.

     17                THE COURT:     There may be.     I know that, for example,

     18   there may be people there who are waiting a designation or who

     19   are waiting for transportation.

     20                MR. MCDERMOTT:      Right.

     21                THE COURT:     But certainly the Marshals can speak to

     22   that better than I can.

     23                MR. MCDERMOTT:      My concern is in light of the type

     24   of classification he would normally fall in with Bureau of

     25   Prisons, where he is lumped in right now in Five South, it is




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      1   from a category of much more, for lack of a better word,

      2   "violent" than what he would be normally placed in.

      3          I don't know if the marshals have the ability to place him

      4   on a floor with less problems like that.           That is part of my

      5   concern.

      6                THE COURT:     Well, I don't think -- I don't know -- I

      7   don't believe it's the marshal's -- I don't think that falls in

      8   their bailiwick.      He's on Five South?

      9                MR. MCDERMOTT:      Yes, sir.

     10                THE COURT:     If you want to wait a minute, I can make

     11   a call and see if the Bureau of Prisons -- in fact, do you know

     12   if they have different designations?

     13                THE MARSHAL:     This is Deputy Kiff.       Once he entered

     14   the MDC, there is a counselor who interviewed him, and they

     15   will place him in custody depending on his level and security,

     16   but it's that way throughout the whole institution.             The only

     17   floor is fifth floor, and those people are pretty much waiting

     18   for designation to serve their time.

     19                THE COURT:     The fifth floor is?

     20                THE MARSHAL:     It is the Cadre units.       They are

     21   sentenced inmates.      They are the ones who pretty much can be

     22   housed.

     23                THE COURT:     They are on the fifth floor?

     24                THE MARSHAL:     Five North.

     25                THE COURT:     But the marshal service cannot ask --




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      1          I understand that part, but on the other floors, there are

      2   people who are awaiting trial?

      3                THE MARSHAL:     That's correct.

      4                THE COURT:     We can take -- I can -- why don't you

      5   hold on for a minute, I will make a couple of calls.

      6                MR. MCDERMOTT:      Thank you.

      7                THE COURT:     All right.    Why don't you guys sit tight

      8   for a minute, and I will go make a call.

      9                THE COURTROOM DEPUTY:       All rise.     This Court now

     10   stands in recess.

     11                                    (Recess.)

     12                               (Sidebar begins.)

     13                THE COURT:     Okay.   I talked to somebody over at the

     14   MDC.

     15          They tell me he is on the fifth floor.          He's in a wing

     16   where most of those people, they are pre-trial detainees.

     17          A lot of people there are either older, need some sort of

     18   disability assistance, so he's probably on the best floor he

     19   can be.

     20          In fact, the marshals were telling me that they think he's

     21   going to be okay.      I appreciate the effort.

     22          Next week he will be out.

     23                MR. MCDERMOTT:      All right.

     24                                (Sidebar ends.)

     25                THE COURT:     I have talked to the people over there.




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      1   I think he's on a floor or in a wing where they are pretrial

      2   detainees.

      3          And it's probably one of the best floors that he could be

      4   under the circumstances.

      5          If there is a specific problem or a specific threat or

      6   something, let us know, and we can address that.

      7                MR. MCDERMOTT:      I will.

      8                THE COURT:     As I said before, we will -- if nothing

      9   new happens -- I'm going to put him back out.

     10                MR. MCDERMOTT:      I know.

     11                THE COURT:     And the instructions you changed?

     12                MS. RYKKEN:     They were 32, the additional of the

     13   attempt, and I added attempt 2 instructions 33, and global

     14   victim instruction, 34.

     15                THE COURT:     Okay.

     16                MR. MCDERMOTT:      I have a copy, like I said, I will

     17   go through it, and I will leave the clerk a note.

     18                THE COURT:     Okay.   Have a nice weekend.

     19                MR. MCDERMOTT:      Thank you, sir.

     20                THE COURTROOM DEPUTY:       All rise.

     21          This Court now stands adjourned.

     22                 (Proceedings were concluded at 1:19 p.m.)

     23                                       * * *

     24

     25




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      1                      CERTIFICATE OF OFFICIAL REPORTER

      2

      3   COUNTY OF LOS ANGELES        )
                                       )
      4   STATE OF CALIFORNIA          )

      5

      6                I, TERRI A. HOURIGAN, Federal Official Realtime

      7   Court Reporter, in and for the United States District Court for

      8   the Central District of California, do hereby certify that

      9   pursuant to Section 753, Title 28, United States Code that the

     10   foregoing is a true and correct transcript of the

     11   stenographically reported proceedings held in the

     12   above-entitled matter and that the transcript page format is in

     13   conformance with the regulations of the judicial conference of

     14   the United States.

     15

     16   Date:    July 4, 2017

     17

     18

     19                                     /s/ TERRI A. HOURIGAN

     20                         TERRI A. HOURIGAN, CSR NO. 3838, CRR
                                   Federal Official Court Reporter
     21

     22

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 1                           UNITED STATES DISTRICT COURT

 2             CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

 3                HONORABLE PERCY ANDERSON, U.S. DISTRICT JUDGE

 4                                         - - -

 5

 6

 7                                       )
      UNITED STATES OF AMERICA,          )
 8                                       )
                           PLAINTIFF,    )
 9                                       )
                vs.                      ) No. CR16-215-PA
10                                       )
      MICHAEL MIRANDO,                   )
11                                       )
                           DEFENDANT.    )
12    ___________________________________)

13

14                      REPORTER'S TRANSCRIPT OF JURY TRIAL

15                                         DAY 4

16                              LOS ANGELES, CALIFORNIA

17                LOS ANGELES, CALIFORNIA; TUESDAY, MAY 2, 2017

18                                       7:57 A.M.

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22                     _____________________________________

23                       CINDY L. NIRENBERG, CSR 5059, FCRR
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                                                                   Page     #:395ID2
                                   #:1134
 1    APPEARANCES OF COUNSEL:

 2

 3    FOR THE PLAINTIFF:
                                OFFICE OF THE UNITED STATES ATTORNEY
 4                              BY: MICHAEL FREEDMAN,
                                    ASSISTANT U.S. ATTORNEY
 5                                  KATHERINE A. RYKKEN,
                                    ASSISTANT U.S. ATTORNEY
 6                              312 NORTH SPRING STREET
                                13TH FLOOR
 7                              LOS ANGELES, CA 90012
                                213-894-2434
 8

 9

10

11

12

13    FOR THE DEFENDANT:
                                LAW OFFICES OF KEVIN BARRY MCDERMOTT
14                              BY: KEVIN B. MCDERMOTT, ATTORNEY AT LAW
                                300 SPECTRUM CENTER DRIVE
15                              SUITE 1420
                                IRVINE, CA 92618
16

17

18

19    ALSO PRESENT:
                                KATHLEEN KENNEDY, SPECIAL AGENT
20

21

22

23

24

25


                UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA



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 1                                       I N D E X

 2    FORFEITURE HEARING WITNESSES:                        PAGE

 3    KATHLEEN KENNEDY

 4        DIRECT BY MR. FREEDMAN                              65

 5

 6

 7    CLOSING ARGUMENTS

 8    CLOSING ARGUMENT BY MR. FREEDMAN                         9

 9    CLOSING ARGUMENT BY MR. MCDERMOTT                       20

10    CLOSING REBUTTAL ARGUMENT BY MR. FREEDMAN               30

11

12    FURTHER PROCEEDINGS

13    DISCUSSION HELD OUTSIDE PRESENCE OF JURY                 4

14    DISCUSSION HELD AT SIDEBAR                               8

15    DISCUSSION HELD OUTSIDE PRESENCE OF JURY                34

16    DISCUSSION HELD OUTSIDE PRESENCE OF JURY                40

17    DISCUSSION HELD AT SIDEBAR                              52

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19    DISCUSSION HELD OUTSIDE PRESENCE OF JURY                57

20    DISCUSSION HELD AT SIDEBAR                              61

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 2                                       7:57 A.M.

 3                                       - - - - -

 4           (The following was heard outside the presence of the

 5           jury.)

 6                 THE CLERK:     Item 1, CR16-215, United States of

 7    America versus Michael Mirando.

 8                 Counsel, please state your appearances.

 9                 MR. FREEDMAN:      Good morning, Your Honor.           Michael

10    Freedman and Katherine Rykken on behalf of the United States

11    with Kathleen Kennedy at counsel table.

12                 THE COURT:     Good morning.

13                 MR. MCDERMOTT:      Good morning, sir.         Kevin McDermott

14    appearing on behalf of Mr. Mirando, who is present.

15                 THE COURT:     Good morning.

16                 All right.     As I understand where we are, the

17    presentation of the evidence has concluded?

18                 MR. MCDERMOTT:      Sir, that's correct.

19                 MR. FREEDMAN:      Yes, Your Honor.

20                 THE COURT:     All right.      I want to just talk briefly

21    about a couple of jury instructions.

22                 You have an instruction here "Statements by the

23    Defendant."      That's Ninth Circuit Instruction 4.1.              I think

24    that instruction is given normally where a custodial defendant

25    has made a statement and the jury has to determine whether that


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 1    statement was voluntary.

 2                 MS. RYKKEN:      Yes, I think that's correct, Your Honor.

 3                 MR. MCDERMOTT:      Yes.    It was just part of the format

 4    package that was originally introduced.

 5                 THE COURT:     Okay.    So I don't think we need that

 6    instruction.

 7                 There's a "Dual Role Testimony."

 8                 MS. RYKKEN:      That was out of an abundance of caution

 9    in case counsel thought that one of the doctors had testified

10    as an expert, but I don't believe we need that.

11                 THE COURT:     "Summaries Not Received in Evidence"?

12                 MS. RYKKEN:      We don't have any that we are using,

13    Your Honor, so we don't need that anymore.

14                 MR. MCDERMOTT:      There may be some in closing that I

15    want to make sure the jury understands it's just demonstrative.

16                 MR. FREEDMAN:      There's two graphs in the closing

17    based on one of the summary charts.

18                 THE COURT:     I don't think that instruction is

19    intended for that.        I think the instruction is intended for

20    where you have some summary chart that wasn't moved into

21    evidence.     If you've got a demonstrative exhibit you want to

22    use in your closing, I don't think that's what this instruction

23    is intended for.       I think there were charts and summaries that

24    were offered in evidence.

25                 MS. RYKKEN:      That's correct.


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 1                 MR. MCDERMOTT:      Correct.

 2                 THE COURT:     You've also submitted an instruction on

 3    an attempt.      I believe those -- I believe that instruction was

 4    submitted in response to claims that were submitted but the

 5    insurance company didn't pay because perhaps the insured hadn't

 6    paid off on the deductible.

 7                 I don't know why you're -- I don't know why that's an

 8    attempt because a loss -- there's no element for a loss in this

 9    case, so I don't know why you want to interject that here, but

10    if you can -- have a reason, let me know.

11                 MS. RYKKEN:      I don't think that we need it,

12    Your Honor.      We offered it after the discussion that we had

13    with you, I think, on Thursday afternoon after we had finished

14    closing evidence to see if it was necessary.

15                 THE COURT:     Well, I don't know that that's -- well, I

16    think there -- I think there is an instruction in -- that's

17    given in mail fraud cases where there's no -- they didn't pay

18    or there was no loss, and I think it's -- so you might want to

19    look -- it may be something where you want to -- you might want

20    an instruction that says the loss -- it's not necessary to

21    complete the offense by having a loss.              A loss is not an

22    element of the offense.

23                 I think there's probably some instructions out there

24    on that issue, so you might want to look at that, but I'm not

25    sure the attempt is where you want to go.               It seems to me an


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 1    attempt is something like he tried to mail it, it got lost in

 2    the mail, the mailman didn't mail it, or there wasn't any

 3    postage on it when he mailed it, but the crime was complete.

 4    Once there's the scheme, it's submitted to the insurance

 5    company.     But -- I'll leave that up to you, but you might want

 6    to look at that before the Court instructs the jury.

 7                 Okay.    And as I understand it, your opening and

 8    closing is going to be --

 9                 MR. FREEDMAN:       It's going to be about 20 minutes.

10                 THE COURT:      Okay.

11                 MR. MCDERMOTT:       No longer than 30.

12                 THE COURT:      Okay.    I'll let you know when you've got

13    maybe five minutes or so.

14                 And then your rebuttal argument is going to be how

15    long?

16                 MR. FREEDMAN:       It will somewhat depend on what points

17    are made in the defendant's closing, but I think it will be

18    shorter than the opening close.             10, 15 minutes I hope.

19                 THE COURT:      Okay.    Fifteen?

20                 MR. FREEDMAN:       Sure.

21                 MR. MCDERMOTT:       Sir, just a reminder mechanically, do

22    you read the instructions first -- before argument or after?

23                 THE COURT:      After.

24                 MR. MCDERMOTT:       And today is an 8:00 to 3:30 day?

25                 THE COURT:      Correct.


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 1                 MR. FREEDMAN:      Is the Court going to give the

 2    gullible victim instruction?

 3                 THE COURT:     I -- yes.      I understood there was no

 4    objection to it.

 5                 MR. MCDERMOTT:      Not at all, sir.

 6                 THE COURT:     And I had understood at some point that

 7    there was some discussion about Exhibit 6.

 8                 MR. FREEDMAN:      It appears not to have been admitted,

 9    so we'll withdraw it from what goes to the jury.

10                 THE COURT:     One of the reasons that you rest subject

11    to making sure all your exhibits are in for either side is if

12    there's something that you inadvertently didn't do but it's

13    necessary, you can ask for permission to put a witness up to

14    put that exhibit in, but --

15                 MR. FREEDMAN:      We're not going to call the witness

16    back to put that exhibit in.           If it wasn't admitted, that's

17    fine, we can live with that.

18                 THE COURT:     Okay.    All right.      Let's bring the jury

19    in.

20                 I guess we sort of provisionally rested, so I'm going

21    to ask each side if you have rested.

22           (Jury in at 8:06 A.M.)

23                 THE COURT:     Good morning, ladies and gentlemen.             Let

24    me see counsel at sidebar.

25           (The following proceedings were held at sidebar.)


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                                                                   Page     #:402ID9
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 1                 THE COURT:     The reporter just whispered to me that

 2    she thought Exhibit 6 was in.

 3                 MS. RYKKEN:      We thought that it was, too.           It just

 4    didn't show up in the transcript.

 5                 THE COURT:     All right.      Let me see.

 6                 Do you want to join us over here.

 7           (Discussion held off the record with the reporter.)

 8                 THE COURT:     So I guess that's back in play.

 9           (The following proceedings were held in open court.)

10                 THE COURT:     Does the government rest?

11                 MR. FREEDMAN:      Yes, Your Honor, the government rests.

12                 THE COURT:     And does the defense rest?

13                 MR. MCDERMOTT:      Yes.

14                 THE COURT:     Ladies and gentlemen, we're now going to

15    have the closing arguments in the case.

16                 Does the government wish to make a closing argument

17    at this time?

18                 MR. FREEDMAN:      Yes, Your Honor.

19                 May I proceed, Your Honor?

20                 THE COURT:     Yes, please.

21                 MR. FREEDMAN:      The defendant billed for things that

22    never happened.       It was a fraud.       He knew it.      He didn't just

23    do it once or a couple of times.            No.    He billed for fake

24    services over and over for years and years.               He knew what he

25    was doing, and he knew it was a fraud.


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 1                 And you, ladies and gentlemen, you know that what he

 2    was doing was a fraud.          Last week you saw the evidence of

 3    defendant's fraud.        You saw the bills he submitted, the bills

 4    he signed, the bills for things that never happened:                      30-day

 5    tests, oxygen measurements, microvolt T-waves, brain scans.

 6                 And you heard from the patients.             They never had

 7    these services.       You heard from their doctors.            They never

 8    prescribed these services.           You heard from the device

 9    manufacturer.       The device can't perform these services.                 You

10    heard from defendant's former partner.               The company never

11    provided these services, never had any record of these

12    services.

13                 And Agent Kennedy showed you all the times the

14    defendant submitted fraudulent bills and all the money he made

15    from his fraud.       Ladies and gentlemen, it was a fraud, and he

16    knew it.

17                 It was a fraud and you know it.             It was a fraud and

18    he is guilty.

19                 Now, this morning I want to go over the evidence of

20    defendant's fraud that you saw and heard last week, the

21    evidence that proves defendant guilty of fraud beyond any

22    reasonable doubt.

23                 Last week you saw 15 specific examples of defendant's

24    fraudulent bills.        We'll look at those again in a few minutes,

25    but before we go over the specific examples, I want to take a


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 1    few minutes to talk with you about the legal elements of health

 2    care fraud and why the evidence you've heard leads you to

 3    conclude that all those elements have been met, why the

 4    evidence leads you to conclude the defendant is guilty.

 5                 The judge will instruct you that health care fraud

 6    has the following elements:           Defendant had a scheme to defraud,

 7    a scheme to defraud health care benefit programs for health

 8    insurance companies, a scheme that he knowingly and willfully

 9    participated in.

10                 The next element is materiality.             That means he made

11    false claims that were material, false claims about the codes

12    relied upon by the insurance companies, and he had the intent

13    to deceive and cheat.

14                 Finally, payment.        Defendant submitted his fraudulent

15    bills to get paid.

16                 So let's talk first about the scheme.

17                 You've seen the evidence that defendant knew his

18    devices could not do what he billed for.               The website

19    advertised 24- to 48-hour testing.              Look at Exhibits 9 and 11,

20    look at the ads he sent to the doctors, Exhibits 14 and 15,

21    advertising 24 or 48 hours.

22                 You also saw the order forms that he provided

23    doctors.     You have them in evidence:           Exhibits 28, 42, 58, 72.

24    They provided two options:           24 hours or 48 hours.         That's it.

25    Nothing about brain scans.           Nothing about 30 days, nothing


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 1    about oxygen or microvolt T-waves.

 2                And you know it was defendant who made these ads,

 3    designed the order forms.          Stan Crowley told you defendant was

 4    in charge of the business side, the marketing, the banking, the

 5    billing, the fraud.

 6                You've seen the defendant's bills.              You have Exhibit

 7    84 with the data that Agent Kennedy provided you.                 This is a

 8    graph based on that data.          It shows the bills for things that

 9    never happened, bills for all the things he never advertised,

10    never included on the order form.

11                You've seen the lists he provided to the insurance

12    companies listing all these things that never happened.                  Look

13    at this exhibit.       Look at the bills for things that never

14    happened:     $2.7 million in night EEGs, the brain scans, the

15    brain scans that no one ever had.            $2.4 million for the 30-day

16    tests that no one ever had.

17                Look at the information another way, another graph

18    based on Exhibit 84.        Of the $10 million he billed over the

19    course of this scheme, over $7 million was for these services

20    that never happened, and another 1 million was for duplicate

21    dates of service, more services that never happened.

22                It was a fraud.        Defendant submitted these bills to

23    insurance companies.        You've heard from them about the services

24    they provide, and you've heard from Agent Kennedy that

25    insurance companies are what the law calls health care benefit


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 1    programs.     That is not in dispute.

 2                And it's no defense if the insurance companies never

 3    caught on to defendant's fraud.            The insurance companies relied

 4    upon what defendant claimed.           They relied upon his lies.

 5                They told you if they had known these services were

 6    never performed, they wouldn't have paid.               And you know that

 7    with those lies, he intended to deceive and to cheat.                    He is

 8    the one who made most of the money from the fraud, money he hid

 9    in secret accounts and moved through a fictitious company.

10                Agent Kennedy walked you through Exhibits 90 and 91,

11    walked you through the millions that he made, the cars, the

12    houses, the accounts.

13                When you look at the evidence you've seen and heard,

14    you see that all of the elements have been met.                 He ran a

15    fraudulent scheme and he knew what he was doing, he lied about

16    material facts, he intended to deceive and to cheat, and he did

17    it to get paid.      When you look at the evidence, you see that

18    the only conclusion it leads you to is that the defendant is

19    guilty of health care fraud.

20                Now, as I mentioned, you've also seen over the course

21    of this trial the detailed evidence of the 15 specific examples

22    of defendant's fraud that are charged in the Indictment.

23                You'll have the Indictment, and you'll have Exhibit

24    94, which summarizes these accounts.

25                For these 15 examples, you heard from the patients


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 1    about exactly what they had done and what they did not have

 2    done.    You heard from the doctors about exactly what they

 3    prescribed and did not prescribe.

 4                 You've seen the medical records, the order forms, the

 5    Holter reports.      They show you what happened.            But you've also

 6    seen defendant's bills for all the things that never happened.

 7                 And you've heard from the insurance companies and

 8    seen their records of what defendant tried to get paid for and

 9    what he did get paid for.          It was the same fraud over and over

10    again.

11                 I want to walk you through the details of the first

12    patient you heard from, John Hattrup, and then we'll look at

13    just the summaries of the fraudulent bills for the remaining

14    three patients.

15                 For each of these patients, in addition to the

16    summary chart that we'll look at this morning, you have the

17    records, the orders, the bills, the claims data.                 I'm going to

18    note the exhibit numbers as we go, if you want to note them

19    down to refer to them when you deliberate.

20                 You saw these exhibits and you heard these patients

21    and their doctors testify about the services that were never

22    performed.

23                 You, ladies and gentlemen, have the evidence of

24    defendant's fraud.       John Hattrup is Counts One through Five,

25    and his summary chart is Exhibit 50.             You saw his medical


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 1    records at Exhibit 41.         You heard why his doctor had him wear a

 2    Holter device:      To measure his heart rhythm.            Nothing about

 3    sleep apnea.     Nothing about brain scans.           He wore it for 24

 4    hours.    He told you that.

 5                You saw the report for the 24-hour test, Exhibit 42.

 6    He never wore it again.         He didn't wear it for 30 days.           He

 7    didn't have any brain scans.

 8                But you also saw the bills for these services,

 9    Exhibits 44 to 48, the fraudulent bills that defendant signed.

10                Count One, defendant billed for the actual 24-hour

11    use that Mr. Hattrup actually had but also $325 for a night

12    electroencephalogram on April 11th.             That's the night EEG or

13    the brain scan.

14                Count Two, defendant billed for a 30-day event

15    monitoring on April 12th, but Hattrup never wore the device

16    again and he never wore it for 30 days.              Dr. Joy told you he

17    never prescribed the device again, and he never prescribed it

18    for 30 days.

19                Then, Count Three, defendant billed for another

20    48-hour test on April 15th plus another brain scan.

21                Now, ask yourself, if Mr. Hattrup starts wearing a

22    device for 30 days on April 11th, how is he wearing another

23    device for 48 hours during the exact same time.                 He wasn't.

24    This never happened.

25                But then, again, Count Four, April 18th.                Now he's


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 1    wearing another 48-hour device, having another brain scan, plus

 2    a microvolt T-wave test.

 3                And then Count Five, April 21st, a fourth 48-hour

 4    test, still while that 30 days is supposedly running plus more

 5    brain scans and more microvolt T-waves, more tests that never

 6    happened.

 7                Remember what Dr. Joy told you about these tests?

 8    Over and over he told you, "I don't know what that is.                   I have

 9    no idea what that is."         He reviewed the April 11th report that

10    you've also seen.       It's Exhibit 42 and his records for

11    Mr. Hattrup and he told you there is no record for any of these

12    studies that were billed for.

13                There's no record, ladies and gentlemen, because it

14    never happened.      But you have the checks paid by United to

15    defendant and the insurance companies' claims data at Exhibits

16    49 and 51, payments for things that never happened.

17                For all these patients, the insurance companies

18    relied on defendant's claims.

19                Remember what Ms. Darsow from United told you?                 They

20    get a million claims per day.           The computer reviews for

21    accuracy, for information about the patient, for obvious red

22    flags, like the exact same service in the exact same day or if

23    a man had pregnancy services.

24                Ms. Russell from CIGNA, she told you they only review

25    about 10 percent of all the claims they receive.                 And


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 1    Ms. Consiglio from Aetna explained to you they don't have time

 2    to compare the service billed to the device being used.                   No.

 3    She told you, "We assume that the provider is billing for the

 4    proper procedure."        And that makes sense, ladies and gentlemen,

 5    because even if the insurance company gets tricked or even if

 6    it's negligent, even if it should have reviewed it, it's still

 7    no defense for defendant's fraud.

 8                 Now let's look at the fraudulent bills for Lisa

 9    Foster.     She's Counts Six through Nine.            Her summary chart is

10    Exhibit 77.      If you want to look at her records, they're

11    Exhibit 70 and 72.        The bills defendant submitted are at

12    Exhibits 73 to 76, and the claims and payment records by CIGNA

13    are at Exhibit 78.

14                 Same story as Mr. Hattrup.           On the first bill, August

15    10th, defendant added a night EEG that Ms. Bennett never had,

16    that Dr. Globus never prescribed, never filled out on the order

17    form in Exhibit 72, that Crowley never processed on the report

18    at Exhibit 70.

19                 Then three more dates, three more counts:                A 30-day

20    test on August 11th, two more 48-hour tests on August 18th and

21    24th.     Again, like Mr. Hattrup, she's apparently wearing two

22    more devices while wearing the 30-day device, plus two more

23    night brain scans and a microvolt T-wave assessment.

24                 The doctors don't even know what a microvolt T-wave

25    assessment is.       And Ms. Foster told you she didn't have these


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 1    tests.    Dr. Globus told you he didn't prescribe these tests.

 2                They never happened.

 3                Now let's look at Martha Bennett, Counts Ten through

 4    Thirteen.     Her summary chart is Exhibit 36.            If you want to

 5    look at her bills, her order form, her records, they're

 6    Exhibits 27 through 29 and 31 through 34, and the claims and

 7    payment records by United are Exhibit 35 and 37.

 8                Ms. Bennett remembers seeing Dr. Richmond for her

 9    heart.    Like the others, she told you she wore the device once

10    for 24 hours.      She didn't wear it for 30 days, she didn't wear

11    anything on her head or her face, she didn't have any

12    complaints regarding sleep apnea, and she didn't have her

13    breathing measured.

14                But look at what defendant billed for:

15                A 30-day test on December 4th and then two more

16    48-hour tests during the same time:             Two Microvolt T-waves, one

17    sleep study with oxygen.         Her doctor, Dr. Richmond, told you a

18    sleep study that measures oxygen requires a special device.                    It

19    goes on your face and your head.            He never ordered one for

20    Ms. Bennett;

21                Plus three more night EEGs on December 3rd, 4th,

22    December 10th.      Her doctor told you, "I never ordered an EEG in

23    my life."

24                Finally, Lisa Solmar for Counts Fourteen and Fifteen.

25    Her summary chart is Exhibit 32.            Her medical records are


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 1    Exhibit 55.     Her Holter report, Exhibit 56.            Dr. Simkins' order

 2    form, Exhibit 58.       The claims are at Exhibits 59 and 60.                  I'm

 3    sorry, that should be Exhibit 62 is the summary chart.                    And the

 4    claims and the payment records from Aetna are at Exhibit 63.

 5                 According to the defendant's bills, she had a night

 6    EEG, a 30-day test and a microvolt T-wave.               But look at the

 7    order form.     The only thing that her doctor, Dr. Simpkins, ever

 8    ordered was one 24-hour test, just like the other doctors.                       And

 9    just like the other patients that you heard from, that's all

10    she remembers having.

11                 Ladies and gentlemen, these four patients never had

12    these tests.     The doctors prescribed the device once.                 The

13    patients wore the device once.           That's what the evidence shows.

14                 The evidence also shows you they did not wear the

15    device multiple times, they didn't wear it for 30 days, they

16    didn't have brain scans or oxygen studies or microvolt T-wave

17    assessments.

18                 These things never happened.           Defendant billed for

19    things that never happened.          He knew they never happened, and

20    so do you.

21                 It was a fraud.       The documents prove it, the

22    testimony proves it, the evidence proves it.                Ladies and

23    gentlemen, defendant is guilty of health care fraud.

24                 THE COURT:     Does the defense wish to give a closing

25    argument at this time?


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 1                 MR. MCDERMOTT:       Yes, please, if I may.

 2                 Thank you, sir.

 3                 I always tell young counsel that one of the first

 4    things you should do in closing statements to a jury is to

 5    thank them, recognizing that it takes time out of your life,

 6    out of your work, away from your family to make a decision that

 7    impacts one individual for the rest of his life.                  And on behalf

 8    of Mr. Mirando and myself, I want to say thank you to each and

 9    every one of you for taking the time.               It's an often-made

10    mistake by young counsel, and some of the things and some of

11    the times when you put a case together, you overlook things

12    that should be very obvious to you.

13                 And one of the obvious things I'd like to express to

14    you today is recall throughout the testimony of this trial was

15    there anyone who testified as a code expert.                 Even the

16    manufacturer, Mr. Barron, couldn't tell us what codes belong to

17    what procedures.        None of the doctors were experts.

18                 And the gist of what the government had to offer in

19    relation to any type of code identification would be Stan

20    Crowley.     And as to his testimony, ask yourself whether or not

21    you'd buy a used car from him.            If you don't think you won't,

22    then don't, because that's what the government is trying to

23    sell you here.

24                 Now, I'm always amazed when -- and I don't mean this

25    particular government counsel, but any government counsel --


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 1    argues to the jury that, you know, don't blame the victim.                 And

 2    we're not necessarily blaming the victim, but when's the last

 3    time you failed to pay your medical bill to your insurance

 4    company and you didn't have issues getting it turned back on?

 5                 You think they have got the capability to keep tabs

 6    on the expenses and costs in order to keep that profit line

 7    going?    We're talking about multi-billion dollar companies, and

 8    you mean to tell me something like this can go on for seven

 9    years and not one insurance company come forward and say,

10    "Mirando, what are you doing here?             What is going on here?"

11                 How many times have you traveled across the country,

12    used your credit card for one time, and then they -- you try to

13    use it a second time and it's stopped.              You're wondering, "What

14    happened?"     Well, your credit card company tells you, "We don't

15    recognize you billing in New York City so we're just making

16    sure we can prevent a fraud from taking place."

17                 You mean to tell me CIGNA and Aetna don't have that

18    capability?     Now, why wouldn't they?          Aren't they really

19    concerned about health care costs and what it costs you and I

20    to have insurance that they can't take the extra step or did

21    they not have that step?         Because no one here testified as to

22    what the appropriate codes were.

23                 The other thing we're very certain about is this.                 It

24    would appear from the testimony, even from Agent Kennedy, that

25    there may not be the kind of formalistic class that you can go


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 1    to to learn coding.

 2                 I mean, Good Lord, you can't get a driver's license

 3    in this state without going through classes, but we're going to

 4    be able to bill hundreds of thousands, millions of dollars and

 5    not have to attend, certify, some class so you know exactly

 6    what it is you're doing.

 7                 So what do we have in this particular situation?                 The

 8    car salesman, Mr. Crowley, and some nefarious buddy of his by

 9    the name of Cast taught my client how to bill.                 Taught him how

10    to bill.     No one from the insurance company, no one from any

11    other portion of the industry ever taught him how to bill.

12                 So who are you supposed to rely upon?               The uncle that

13    gets you behind the wheel of his pickup truck and teaches you

14    how to drive that that's the appropriate way to drive?                    Well,

15    if that's all you're exposed to and you're making all kinds of

16    illegal turns without a signal, maybe you're not doing what's

17    right, but you're not intentionally doing what's wrong.                    You're

18    doing what you're taught.           And that's one of the elements in

19    this case.      It's one of the absolute elements in this case.

20                 So you have to convince yourself at some point in

21    time, two things should have occurred:               Either an insurance

22    company came along and said, "Why don't we do some audit on

23    your billing.       We've got some issues.          We got some issues," or

24    early in the process, Mr. Crowley going, "How is it that we are

25    making a lot more money than I did previously?                 Do we have an


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 1    issue as to -- we must be really popular.                We must be getting a

 2    lot more doctors in.         Because over the course of time, I'm

 3    making almost a million dollars, and I'm not complaining about

 4    it," until this nefarious individual by the name of Cast comes

 5    back into the picture, who clearly doesn't have a right to the

 6    company but apparently he thought so and so let's get a lawsuit

 7    started.     And how does that lawsuit resolve?              Mr. Crowley ends

 8    up having a judgment against him.

 9                 Now, at some point in time, somebody should have said

10    during that lawsuit, "Is this right?              Is this correct billing?

11    Are we doing the right thing?"

12                 So the point of the matter, ladies and gentlemen, is

13    this.    We have a circumstance here that in all common sense and

14    manner should tell you that if the insurance company doesn't

15    have the wherewithal and the understanding to work and make the

16    codes appropriate, and all my client has as a reference is

17    Crowley and Cast -- and not one physician walked in this door,

18    not one physician walked in this door with his own billing to

19    the insurance company, with his own set of codes that he

20    submitted to the insurance company.

21                 Bear in mind, this product, this device, is a

22    money-maker for the doctors because the doctors, as they told

23    us, get to bill every time they use it, explaining to the

24    patient why it's being done, explaining the results of the

25    patient after it's finished.            You don't think that's for free?


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 1    It's what they get to bill.

 2                So I ask you this.         When we talk about records in

 3    this case and what you can rely upon on the screen for the

 4    government, think of it this way.            The only evidence that the

 5    government offered to you, as far as the type of devices that

 6    were employed by Holter Labs, was an Excel spreadsheet provided

 7    by Mr. Crowley a year after he took it when he came to the FBI

 8    in February -- excuse me, September of 2013; a sheet of paper,

 9    an object on a thumb drive that could be manipulated over the

10    course of time.      It wasn't a read-only document.             As

11    Ms. Kennedy was kind enough to admit to us, it was something

12    that could have been altered and changed over time.

13                So when the government asks you to look at the

14    records, ask yourself this.          What specifically did the

15    government offer you as to the specific device that was used,

16    the specific codes as to who can honestly and expertly tell you

17    what those codes are and when and how billing should occur?

18                Now, I've thought a lot about this argument that the

19    government has been putting forward from the very beginning:

20    Look at all the money he was hiding.             Look at all the money he

21    didn't tell his partner, Crowley.

22                Well, there's a couple of things.             You recall the

23    testimony of either Mr. Crowley or Ms. Kennedy when there was

24    an inquiry about whether or not the IRS had been notified?                 I

25    thought I heard that.        Why is that important?          Well, you would


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 1    hope agencies would talk to each other, cooperate.                  You're only

 2    asked here to take a look at a health care fraud allegation.

 3    You're not here to look at whether or not taxes were properly

 4    paid.

 5                So the point of that is making money is not illegal

 6    and certainly isn't bald-faced evidence that some sort of

 7    conspiracy, some sort of fraud was taking place.                 If there were

 8    from a standpoint of how that money was spent and earned, it'd

 9    be a different story.

10                Now, how does this all culminate with what we have

11    presented before you now?          The government has the opportunity

12    to stand up after I'm done, and the reason they have that

13    opportunity is because they have the burden.                And the law

14    considers that burden to be so significant that they get the

15    last opportunity to talk to you.

16                Mr. Freedman has the right to get up and specifically

17    address comments that I've made here during my closing

18    argument, has every right to minimize, belittle and absolutely

19    crush me for comments I made.           That's his prerogative.          That's

20    his authority, and that's what the law has given him the right

21    to do.

22                So when I'm done, he'll get the chance to speak, and

23    then the judge will read you the instructions that you will

24    have to follow in this case, and one of the instructions that

25    he will provide you that Mr. Freedman alluded to was what we


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 1    call the gullible victim instruction.

 2                 And what the government is going to ask you to

 3    believe in your heart of hearts -- that beyond a reasonable

 4    doubt, that Aetna, CIGNA, Anthem, and all the rest of them are

 5    gullible victims; absolutely blind, deaf and mute victim, who

 6    for seven years couldn't figure out what a CPT code was that

 7    the doctors got up there and told you that they didn't know

 8    what it was.

 9                 I might remind you that the one doctor didn't know

10    exactly whether or not his patient was male or female, so I'm

11    not sure I'd rely on him telling me whether or not the codes

12    are accurate.      But none of them told you that they had the

13    opportunity to actually attend a code class.                Now, how does

14    that all boil down?        What does it really all mean?            I don't

15    know that I'm breaking the law unless somebody tells me.

16                 Now, you may think it's obvious because I made all

17    this money or it's obvious because there was multiple billings

18    for the same event with the same patient, but it's not obvious

19    if you've got someone like Cast and Crowley teaching you that

20    this is the appropriate way to do it and this is the way

21    companies expect you to bill because, hey, maybe they won't pay

22    you the first time, so try it the second time and maybe they'll

23    pay.

24                 And then you go through year 2005.             You go through

25    year 2006.     Then we go through '7, '8, '9, '10, '11, '12, '13,


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 1    not one complaint.

 2                And the other issue that should be cemented here that

 3    Ms. Kennedy offered to us is this.             The only documents that

 4    they ever got from my client were provided to them by

 5    Mr. Crowley.     You never heard a single witness come up and

 6    testify that, "We hit his servers.             We hit any kind of device,

 7    other individuals, if they were involved, to get records

 8    directly from Holter Labs."

 9                Not only that, not once did anyone ask the doctors to

10    bring in their own records to confirm the billings for a

11    particular day.      That would have been the clearest evidence, as

12    to what not was done or was done, would be the doctors going,

13    "And, by the way, for this particular patient in this

14    particular period of time, here's my two bills that I sent in,

15    device, interpretation."

16                Now, when we have a circumstance such as you're

17    presented with here, there's a lot of different definitions.

18    The judge will give you one specifically about what constitutes

19    reasonable doubt.       I gave you one early on in this as to

20    whether or not you'd buy a used car from Mr. Crowley, and

21    that's really what this really is.

22                The feeling when you're done with your deliberation

23    process, when you sit down in that jury room and discuss with

24    each other the evidence that you heard, the jury instructions

25    that you believe apply to the case, you have to ask yourself,


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 1    "Would I buy this used car?           Would I make this long-time,

 2    lifetime decision for Mr. Mirando?"

 3                 We think there's incredible amount of error, doubt

 4    and mistake in this particular case, not the least of which

 5    there's no codes, there's no experts, and there's absolutely no

 6    evidence from the insurance companies that they were gullible,

 7    that they were naive, that they were somehow foolish.                     Would

 8    you buy a used car now from CIGNA or Aetna, knowing what you

 9    know about their tracking of billings that go through their

10    company?

11                 If you can't trust what they have to offer, if you

12    can't trust those particular insurance companies, then my

13    suggestion to you is take the evidence that they have presented

14    in this case with a large grain of salt.

15                 Yes, you've seen medical records, yes, you've seen

16    billing records, but then you have to ask yourself, long and

17    short, if the insurance company didn't think the codes were

18    inappropriate, why should anybody else, certainly, in a

19    particular situation such as this where we're not talking about

20    whether or not some insurance company gets paid but we're

21    talking about whether or not somebody has a conviction.

22                 I implore each and every one of you to think about

23    that process and the instruction that the judge will give you

24    on gullible victim.

25                 In order to be guilty, the government has to prove


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 1    beyond a reasonable doubt that my client had no means,

 2    opportunity, motive or method to understand fully that what he

 3    was doing was wrong.

 4                The contrary is true.          With the likes of Cast and

 5    Crowley and the gullible victims that the government wants you

 6    to believe, my client had no opportunity other than to follow

 7    what he'd learned.

 8                And there's even some evidence that bolsters that.

 9    Do you remember Agent Kelly getting on the stand and testifying

10    about how, even after he'd been arrested, the billing was still

11    problematic?     Everybody remember that?

12                Now, you can decide that to be incredible hubris,

13    depraved hubris, or it's evidence of a young man who believes

14    that the billing he was taught and what the insurance companies

15    reflected back to him was appropriate.              So in that manner, he

16    spoke to you as to what he thought appropriate billing should

17    be.

18                He's only guilty if in fact he knew he was defrauding

19    and he participated in it willingly.             He certainly made money

20    off of it, and he certainly relied upon the insurance companies

21    to tell him whether or not he was doing the right thing.

22                The idea that you have to accept in order to prove

23    him guilty -- the government -- is that three or four

24    multi-billion-dollar corporations can't figure out a logarithm

25    program to catch inappropriate CPT codes and billings.


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 1                Ladies and gentlemen, simple process.               Try not paying

 2    your bills some day.        See how quickly you get a note.              Because

 3    he never got a note, he should not be found guilty.

 4                Thank you for the opportunity.

 5                THE COURT:      All right.      Does the government wish to

 6    give its closing rebuttal argument at this time?

 7                MR. FREEDMAN:       Yes, please, Your Honor.

 8                May I proceed, Your Honor?

 9                THE COURT:      Yes, please.

10                MR. FREEDMAN:       Ladies and gentlemen, you have to

11    decide this case based on the evidence, the evidence that

12    you've seen of defendant's fraud.

13                Last week you heard the evidence.             You heard from

14    four patients.      You heard from their doctors about the tests

15    that were billed in their name, the tests that never happened.

16                That's what this case comes down to.              The evidence

17    shows you that tests were ordered, tests were billed for that

18    were never performed.

19                And you've heard from the insurance companies about

20    why they relied on defendant's statements.               You saw how much he

21    billed for.     You have the evidence of the claims he submitted

22    over the years, the lies he told and the money he made.

23                It's about these 15 counts.            It's about these four

24    patients.     It's about the evidence that you have, the testimony

25    that you heard.


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 1                It's the evidence that tells you what happened and

 2    what didn't.     It's the evidence that tells you it was a fraud.

 3    It's the evidence that tells you defendant is guilty.

 4                You have to decide this case based on the evidence,

 5    not on the defendant's distractions, not on attempts to divert

 6    your attention.

 7                You have to live in a fantasy land to be distracted

 8    from what the live witnesses in this courtroom told you, that

 9    the tests that were billed for never happened, to distract you

10    from the records you've seen, to distract you from the

11    evidence.

12                The defense's arguments don't explain away a

13    decade-worth of millions in phony bills.              They don't explain

14    how a device somehow performed 30-day tests, brain scans,

15    microvolt T-wave assessments that nobody you heard from has any

16    recollection of or any record of.            The distractions don't

17    explain away the evidence.          The evidence explains the fraud,

18    the evidence explains the defendant's guilty.

19                Let me address a few of the points that the defense

20    brought up.     Let's talk about the insurance companies.                As the

21    judge is going to instruct you, it doesn't matter if they were

22    gullible or negligent.         It doesn't matter if they fell for

23    defendant's fraud.

24                First of all, they explain to you what they do and

25    why they rely on bills.         When people submit bills and they sign


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 1    the bills, the insurance company relies upon them.                  That's how

 2    the system works.       They assume providers are telling the truth.

 3                 Remember what Ms. Consiglio from Aetna told you.                We

 4    assume that the provider is billing for the proper procedure,

 5    and that's what they pay based upon.             They get millions of

 6    claims and they review them to make sure, address information,

 7    that their beneficiary is correct, that there's no obvious red

 8    flags.    They don't go check with every beneficiary, with every

 9    doctor on these millions of claims.

10                 Dr. Globus told you, "In the time I've practiced,

11    I've never had an insurance company come to me with any

12    question."

13                 It doesn't matter what the insurance companies did or

14    didn't do.     It matters what the defendant did.             He submitted

15    false bills, he lied, he committed fraud.

16                 Let's talk about coding.          The defense suggested that

17    maybe an expert was required to understand how all this works.

18    Ladies and gentlemen, it doesn't take an expert to know that

19    you cannot bill for things that never happened.                 It doesn't

20    take an expert to consider what the witnesses told you, that

21    they never had these services.           It doesn't take an expert when

22    the defendant provides a glossary with the list of terms that

23    he is billing for.       It's not a one-off error.           It's not that he

24    enters the number wrong one time.

25                 70 percent of the time that he billed, it was for


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 1    services that the device couldn't do.

 2                2.5 million alone in brain scans.

 3                And when he submitted the bills, he is the one who

 4    provided the list, telling the insurance companies what he was

 5    billing for.     The list that says 30-day tests, brain scans,

 6    microvolt T-wave assessments, he's the one who gave this

 7    information.     That's not a mistake, that's fraud.

 8                What about the fact that when he started the

 9    business, he worked with some other people who taught him how

10    to bill for a month or a couple months, six months?

11                He billed for ten years.           The evidence that you've

12    seen in this case is his billing, his fraud over ten years.

13                If your uncle teaches you to drive a pickup truck

14    without making a left turn and you get pulled over ten years

15    later, is that the excuse?          "Ten years ago, I was taught how to

16    do it."    No, ladies and gentlemen.           He's been doing it on his

17    own, signing the bills, making the fraudulent claims for ten

18    years.    It doesn't matter who he learned it from.               It matters

19    what he did.

20                Your job is to consider the evidence, not these

21    distractions.      It's the evidence that proves to you beyond a

22    reasonable doubt that he is guilty of health care fraud.

23                Reasonable doubt is the same standard of proof that's

24    been used in criminal trials in this country for over 200

25    years.    It's not proof beyond all doubt or beyond a shadow of a


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 1    doubt.    The key word is reasonable.           The key word is one that

 2    the defense mentioned to you:           Common sense.

 3                Use your common sense, ladies and gentlemen.                   See the

 4    evidence.     Use your common sense and ignore these distractions.

 5    Apply your reason and apply that common sense to the evidence

 6    that you have in front of you, to the evidence you saw at this

 7    trial.    That evidence leads you to only one result.                The

 8    evidence shows you the defendant billed for things that never

 9    happened.     You know those things never happened and you know

10    he's the one who billed for them.            You know that he committed

11    fraud.

12                The evidence, ladies and gentlemen, proves to you

13    beyond a reasonable doubt that the defendant is guilty.

14                THE COURT:      All right.      Ladies and gentlemen, we're

15    going to take our first break of the morning.

16                Again, I want to remind you until this trial is over,

17    you're not to discuss this case with anyone, including your

18    fellow jurors, members of your family, people involved in the

19    trial.    Do not read or listen to any news reports or other

20    accounts about the trial.

21                We're going to come back in about 15 minutes.                   I'll

22    have some instructions for you, and then the case will be

23    submitted to you for your deliberations.

24          (Jury out at 8:54 A.M.)

25          (The following was heard outside the presence of the


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 1           jury.)

 2                THE COURT:      The parties have submitted Instruction

 3    4.3.

 4                MR. MCDERMOTT:       I'm sorry, sir.        What are we looking

 5    for?

 6                THE COURT:      We're looking at Instruction 4.3.

 7                MS. RYKKEN:      This is Instruction Number 27,

 8    Your Honor?

 9                MR. MCDERMOTT:       What page are we talking?

10                MS. RYKKEN:      Page 29.

11                THE COURT:      Twenty-nine.

12                I think given the evidence of other claims that were

13    submitted that weren't charged, I think this instruction is

14    probably okay.

15                MR. MCDERMOTT:       Well, I guess my question is -- this

16    one I'm usually familiar with when we get a 404(b) notice, and

17    I'm not sure that we did in this case.

18                MS. RYKKEN:      Yeah, we did.       Oh, no I'm sorry.       We

19    didn't.

20           (Counsel confer off the record.)

21                MR. FREEDMAN:       Your Honor, it was provided based on

22    the evidence possibly coming in and billing after the arrest,

23    not based on any 404(b).

24                THE COURT:      I'm sorry?

25                MR. FREEDMAN:       Not offered for 404(b) purposes.


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 1                THE COURT:      Wasn't there evidence submitted to the

 2    jury about either -- billings that were made after the arrest?

 3                MR. FREEDMAN:       Yes.

 4                THE COURT:      And so I think this instruction is -- I

 5    think it's probably appropriate in this case.

 6                MR. MCDERMOTT:       As to that circumstance, post-'13 --

 7    or post-'16 arrest are we talking, sir?

 8                THE COURT:      I seem to recall there was some evidence

 9    about the defendant billing even after his arrest in this case.

10                MR. MCDERMOTT:       I brought that up in closing.            That I

11    don't have an issue with, if this is tailored to that.                   I've

12    always seen this, sir, as a 404(b) type, "Hey, we gave you

13    notice and this is some of the other evidence that you can take

14    a look at."     I don't have an argument with the Court or the

15    government, if they just limit it to evidence occurring post

16    October of 2016.

17                THE COURT:      I think it's a Ninth Circuit instruction.

18    I think the jury may have heard evidence that the defendant may

19    have committed other crimes or wrongs that are not charged here

20    and this instruction merely tells them how they are to consider

21    that evidence and what it can be used for.

22                MR. MCDERMOTT:       All right.      Just so it's noted for

23    the record.

24                THE COURT:      That's fine.

25                MR. MCDERMOTT:       I think the government would concur


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 1    as far as anything pre-October '16 that wasn't a 404(b) notice.

 2                 MR. FREEDMAN:      That's correct.       It was provided in

 3    case the issue came up after the arrest and in an abundance of

 4    caution for the defendant.

 5                 THE COURT:     Okay.    Let's look at Instruction 32.

 6                 MR. MCDERMOTT:      I'm sorry, sir.        Again, the number?

 7                 THE COURT:     Instruction 32.

 8                 MS. RYKKEN:     It's on page 34.

 9                 THE COURT:     I don't think there was any arguments

10    that somehow those counts were invalid or -- so I'm not sure

11    you need these three paragraphs on page 35.

12                 MS. RYKKEN:     I think that's correct, Your Honor.           I

13    would also note on page 34, it does say "health care fraud or

14    attempted health care fraud," so maybe we would take out the

15    "attempted health care fraud" in the first paragraph on page

16    34.

17                 THE COURT:     And I think there's case law that loss to

18    an insurance company is not an element of health care fraud or

19    loss is not an element of health care fraud.                So if you wanted

20    to add that, we could add that sentence, that loss is not an

21    element of health care fraud.           I don't think it is.

22                 MS. RYKKEN:     I think that's fine, Your Honor.

23                 MR. MCDERMOTT:      At this time I don't have any

24    objection.

25                 THE COURT:     Okay.


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 1                MR. MCDERMOTT:       And that's based upon my

 2    understanding.      The Indictment specifically says "billing" as

 3    opposed to "payment."

 4                THE COURT:      Correct.

 5                Okay.    We will try to get these instructions in some

 6    order.

 7                Let me go through these real -- let me give you the

 8    numbers that we're going to give, so if there's something I'm

 9    missing, you can let me know.

10                I'm going to give 3.1, 3.2, 3.3, 3.5, 3.6, 3.7, 3.8,

11    3.9, 3.10 --

12                MR. MCDERMOTT:       I'm sorry.      3.12?

13                THE COURT:      3.10.

14                MR. MCDERMOTT:       Ten.    Okay.     Yes, sir.

15                THE COURT:      3.11.

16                4.1 I'm not going to give.

17                4.3, 4.16, I am going to give the O'Malley

18    instruction on on or about.

19                Instruction 32, health care fraud; Instruction 33,

20    which I think is the gullible victim; Instruction 34;

21    Instruction 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45.

22                All right.      Are there any instructions that I've left

23    out?

24                MS. RYKKEN:      The only one is 46, which is your

25    instruction on re-reading of testimony.


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 1                 THE COURT:      Well, that won't be given unless they

 2    make a request.

 3                 MR. MCDERMOTT:       Sir, I know you read looks like 1

 4    through 8 previously.         Do you go over those again in closing?

 5                 THE COURT:      I normally don't.        Is there one you have

 6    in mind?

 7                 MR. MCDERMOTT:       Well, just based on some of -- the

 8    comment that was made in closing, with both sides, as to what

 9    is evidence and what is not.

10                 THE COURT:      That -- I'm sorry.        I believe that's

11    going to be given.

12                 MR. MCDERMOTT:       It is?     All right.

13                 THE COURT:      Yeah.

14                 MR. MCDERMOTT:       Then also Number 2, Presumption of

15    Innocence.

16                 THE COURT:      I believe that's -- we're going to define

17    reasonable doubt --

18                 MR. MCDERMOTT:       1.2.

19                 THE COURT:      Excuse me.

20                 -- what is evidence and what is not evidence.

21                 MS. RYKKEN:      These are repeated as instructions in

22    the three-level --

23                 MR. MCDERMOTT:       Oh, they are?

24                 MS. RYKKEN:      -- so if you look at presumption and

25    then 16.


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 1                 MR. MCDERMOTT:       Okay.     Got it.

 2                 THE COURT:      Okay.    We'll be back out in about five

 3    minutes.

 4            (Recess taken 9:05 to 9:15 A.M.)

 5            (The following was heard outside the presence of the

 6            jury.)

 7                 THE COURT:      On Instruction 32, Health Care Fraud,

 8    we've added "Loss is not an element of health care fraud, nor

 9    is it an intent to cause loss."

10                 MS. RYKKEN:      No objection from the government.

11                 THE COURT:      Is there anything else we need to go

12    over?

13                 MR. MCDERMOTT:       No, sir.

14                 THE COURT:      Let's bring the jury in.

15            (Jury in at 9:19 A.M.)

16                 THE COURT:      Members of the jury, now that you've

17    heard all of the evidence, it is my duty to instruct you on the

18    law that applies to this case.            A copy of these instructions

19    will be available in the jury room for you to consult.

20                 It is your duty to weigh and to evaluate all the

21    evidence received in the case and in that process to decide the

22    facts.     It is also your duty to apply the law as I give it to

23    you to the facts as you find them, whether you agree with the

24    law or not.

25                 You must decide the case solely on the evidence and


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 1    the law and must not be influenced by any personal likes or

 2    dislikes, opinions, prejudices, or sympathy.                You will recall

 3    that you took an oath promising to do so at the beginning of

 4    the case.

 5                You must follow all these instructions and not single

 6    out some and ignore others.          They are all important.

 7                Please do not read into these instructions or into

 8    anything I may have said or done any suggestion as to what

 9    verdict you should return.          That is a matter entirely up to

10    you.

11                The Indictment is not evidence.             The defendant has

12    pleaded not guilty to the charges.             The defendant is presumed

13    to be innocent unless and until the government proves the

14    defendant guilty beyond a reasonable doubt.

15                In addition, the defendant does not have to testify

16    or present any evidence to prove innocence.               The government has

17    the burden of proving every element of the charges beyond a

18    reasonable doubt.

19                A defendant in a criminal case has a constitutional

20    right not to testify.        You may not draw any inference of any

21    kind from the fact that the defendant did not testify.

22                Proof beyond a reasonable doubt is proof that leaves

23    you firmly convinced that the defendant is guilty.                  It is not

24    required that the government prove guilt beyond all possible

25    doubt.


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 1                A reasonable doubt is a doubt based upon reason and

 2    common sense and is not based purely on speculation.                     It may

 3    arise from a careful and impartial consideration of all the

 4    evidence or from lack of evidence.

 5                If after a careful and impartial consideration of all

 6    the evidence you are not convinced beyond a reasonable doubt

 7    that the defendant is guilty, it is your duty to find the

 8    defendant not guilty.

 9                On the other hand, if after a careful and impartial

10    consideration of all the evidence, you are convinced beyond a

11    reasonable doubt that the defendant is guilty, it is your duty

12    to find the defendant guilty.

13                The evidence you are to consider in deciding what the

14    facts are consists of the sworn testimony of any witness, the

15    exhibits received in evidence, and any facts to which the

16    parties have agreed.

17                In reaching your verdict, you may consider only the

18    testimony and exhibits received in evidence.                The following

19    things are not evidence and you may not consider them in

20    deciding what the facts are:           Questions, statements,

21    objections, and arguments by the lawyers are not evidence.                        The

22    lawyers are not witnesses.          Although you must consider a

23    lawyers' questions to understand the answers of a witness, the

24    lawyers' questions are not evidence.

25                Similarly, what the lawyers have said in their


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 1    opening statements, in their closing arguments, and at other

 2    times is intended to help you interpret the evidence, but it is

 3    not evidence.       If the facts as you remember them differ from

 4    the way the lawyers state them, your memory of them controls.

 5                 Any testimony that I've excluded, stricken, or

 6    instructed you to disregard is not evidence.                 In addition, some

 7    evidence was received only for a limited purpose.                  What I have

 8    instructed you to consider certain evidence in a limited way,

 9    you must do so.

10                 Anything you may have seen or heard when court was

11    not in session is not evidence.             You are to decide the case

12    solely on the evidence received at the trial.

13                 Evidence may be direct or circumstantial.                Direct

14    evidence is direct proof of a fact, such as testimony by a

15    witness about what that witness personally saw or heard or did.

16                 Circumstantial evidence is indirect evidence, that

17    is, it is proof of one or more facts from which you can find

18    another fact.       You are to consider both direct and

19    circumstantial evidence.          Either can be used to prove any fact.

20    The law makes no distinction between the weight to be given to

21    either direct or circumstantial evidence.                It is for you to

22    decide how much weight to give any evidence.

23                 In deciding the facts of this case, you may have to

24    decide which testimony to believe and which testimony not to

25    believe.     You may believe everything a witness says or part of


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 1    it or none of it.

 2                In considering the testimony of any witness, you may

 3    take into account the witness's opportunity and ability to see

 4    or hear or know the things testified to; the witness's memory;

 5    the witness's manner while testifying; the witness's interest

 6    in the outcome of the case, if any; the witness's bias or

 7    prejudice, if any; whether other evidence contradicted the

 8    witness's testimony; the reasonableness of the witness's

 9    testimony in light of all the evidence and any other factors

10    that bear on believability.

11                The weight of the evidence as to a fact does not

12    necessarily depend on the number of witnesses who testify.

13    What is important is how believable the witnesses were and how

14    much weight you think their testimony deserves.

15                You are here only to determine whether the defendant

16    is guilty or not guilty of the charges in the Indictment.                   The

17    defendant is not on trial for any conduct or offense not

18    charged in the Indictment.

19                A separate crime is charged against the defendant in

20    each count.     You must decide each count separately.               Your

21    verdict on one count should not control your verdict on any

22    other count.

23                You've heard evidence that the defendant committed

24    other crimes, wrongs or acts not charged here.                You may

25    consider this evidence only for its bearing, if any, on the


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 1    question of the defendant's intent, motive, opportunity,

 2    preparation, plan, knowledge, or absence of mistake and for no

 3    other purpose.      You may not consider this evidence as evidence

 4    of guilt of the crime for which the defendant is now on trial.

 5                Certain charts and summaries have been admitted in

 6    evidence.     Charts and summaries are only as good as the

 7    underlying supporting material.            You should, therefore, give

 8    them only such weight as you think the underlying material

 9    deserves.

10                The Indictment charges that the offenses alleged were

11    committed on or about or in or around certain dates.                     Although

12    it is necessary for the government to prove beyond a reasonable

13    doubt that the offenses were committed on a date reasonably

14    near the dates alleged in the Indictment, it is not necessary

15    for the government to prove that the offenses were committed

16    precisely on the dates charged.

17                The Indictment also alleges that an approximate

18    amount of money was involved in the crimes charged.                  It is not

19    necessary for the government to prove the exact or precise

20    amount of money alleged in the Indictment.

21                The Indictment also charges the defendant with

22    committing the charged offenses in several ways using the

23    conjunctive word "and," however, it is sufficient if the

24    government proves that the defendant committed the offense in

25    only one of the several ways.


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 1                Defendant is charged in Counts One through Fifteen of

 2    the Indictment with health care fraud, in violation of Section

 3    1347 of Title 18 of the United States Code.               In order for a

 4    defendant to be found guilty of that charge, the government

 5    must prove each of the following elements beyond a reasonable

 6    doubt;

 7                First, the defendant knowingly and willfully

 8    participated in a scheme or plan to defraud a health care

 9    benefit program or a scheme or plan for obtaining money or

10    property from a health care benefit program by means of false

11    or fraudulent pretenses, representations, or promises;

12                Second, the statements made or facts omitted as part

13    of the scheme were material, that is, they had a tendency to

14    influence or are capable of influencing a person to part with

15    money or property of a health care benefit program;

16                Third, the defendant acted with the intent to

17    defraud, that is, the intent to deceive or cheat;

18                And fourth, the scheme was in connection with the

19    delivery of or payment for health care benefits, items, or

20    services.

21                In determining whether a scheme to defraud exists,

22    you may consider not only the defendant's words and statements

23    but also the circumstances in which they are used as a whole.

24                Loss is not an element of health care fraud, nor is

25    an intent to cause loss.         It is not a defense in the crimes


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 1    charged in Counts One through Fifteen that the victim of the

 2    fraud was negligent, gullible, or incompetent.

 3                The term "health care benefit program" means any

 4    public or private plan or contract affecting commerce under

 5    which any medical benefit, item, or service is provided to any

 6    individual and includes any individual or entity who is

 7    providing a medical benefit item or service for which payment

 8    may be made under the plan or contract.

 9                A scheme to defraud and a scheme for obtaining money

10    or property means any deliberate plan of action or course of

11    conduct by which someone intends to deceive or to cheat another

12    or by which someone intends to deprive another of something of

13    value.

14                If you decide that defendant was a member of a scheme

15    to defraud and that he had the intent to defraud, defendant may

16    be responsible for other co-schemer's actions during the course

17    of and in furtherance of the scheme, even if he did not know

18    what they said or did.

19                For defendant to be guilty of an offense committed by

20    a co-schemer in furtherance of the scheme, the offense must be

21    one that he could reasonably foresee as a necessary and natural

22    consequence of the scheme to defraud.

23                Defendant may be found guilty of health care fraud

24    even if he personally did not commit the act or acts

25    constituting the crime but instead willfully caused an act to


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 1    be done, which directly -- which if directly performed by him

 2    or another would constitute health care fraud.

 3                 To prove defendant guilty under this theory, the

 4    government must prove beyond a reasonable doubt:

 5                 First, health care fraud was committed by someone;

 6                 Second, defendant willfully ordered, directed, or

 7    otherwise brought about the commission of health care fraud.

 8                 An act is done knowingly if the defendant is aware of

 9    the act and does not act or does not fail to act through

10    ignorance, mistake, or accident.            You may consider evidence of

11    the defendant's words, acts or omissions along with all the

12    other evidence in deciding whether the defendant acted

13    knowingly.

14                 The word "willfully" means that the defendant

15    committed the act voluntarily and purposely and with knowledge

16    that his conduct was in a general sense unlawful, that is,

17    defendant must have acted with a bad purpose to disobey or

18    disregard the law.

19                 The government need not prove that he was aware of

20    the specific provision of the law that he is charged with

21    violating or any other specific provision.

22                 When you begin your deliberations, elect one member

23    of the jury as your foreperson who will preside over the

24    deliberations and speak for you here in court.                You will then

25    discuss the case with your fellow jurors to reach agreement, if


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 1    you can do so.       Your verdict, whether guilty or not guilty,

 2    must be unanimous.

 3                 Each of you must decide the case for yourself, but

 4    you should do so only after you've considered all of the

 5    evidence, discussed it fully with the other jurors and listened

 6    to the views of your fellow jurors.              Do not be afraid to change

 7    your opinion if the discussion persuades you that you should,

 8    but do not come to a decision simply because other jurors think

 9    it is right.

10                 It is important that you attempt to reach a unanimous

11    verdict, but of course, only if each of you can do so after

12    having made your own conscientious decision.                 Do not change an

13    honest belief about the weight and effect of the evidence

14    simply to reach a verdict.

15                 Because you must base your verdict only on the

16    evidence received in the case and on these instructions, I

17    remind you that you must not be exposed to any other

18    information about the case or to the issues it involves.

19                 Except for discussing the case with your fellow

20    jurors during your deliberations, do not communicate with

21    anyone in any way and do not let anyone else communicate with

22    you in any way about the merits of the case or anything to do

23    with it.

24                 This includes discussing the case in person, in

25    writing, by phone, or electronic means via e-mail, text


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 1    messaging, or any internet chat room, blog, website, or other

 2    feature.     This applies to communicating with your family

 3    members, your employer, the media or press and the people

 4    involved in the trial.

 5                 If you're asked or approached in any way about your

 6    jury service or anything about this case, you must respond that

 7    you've been ordered not to discuss the matter and to report the

 8    contact to the Court.

 9                 Do not read, watch or listen to any news or media

10    accounts or commentary about the case or anything to do with

11    it.   Do not do any research, such as consulting dictionaries,

12    searching the internet, or using other reference materials, and

13    do not make any investigation or in any other way try to learn

14    about the case on your own.

15                 The law requires these restrictions to ensure the

16    parties have a fair trial based on the same evidence that each

17    party has had an opportunity to address.

18                 A juror who violates these restrictions jeopardizes

19    the fairness of these proceeding.             If any juror is exposed to

20    any outside information, please notify the Court immediately.

21                 Some of you have taken notes during the trial.

22    Whether or not you took notes, you should rely on your own

23    memory of what was said.

24                 Notes are only to assist your memory.               You should not

25    be overly influenced by your notes or those of your fellow


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 1    jurors.

 2                The punishment provided by law for these crimes is

 3    for the Court to decide.         You may not consider punishment in

 4    deciding whether the government has proved its case against the

 5    defendant beyond a reasonable doubt.

 6                A verdict form has been prepared for you.                After

 7    you've reached a unanimous agreement on a verdict, your

 8    foreperson should complete the verdict form according to your

 9    deliberations, sign and date it, and advise the court security

10    officer that you're ready to return to the courtroom.

11                If it becomes necessary during your deliberations to

12    communicate with me, you may send a note through the court

13    security officer signed by any one or more of you.                  No member

14    of the jury should ever attempt to communicate with me except

15    by a signed writing and I will respond to the jury concerning

16    the case only in writing or here in open court.

17                If you send out a question, I will consult with the

18    lawyers before answering it, which may take some time.                   You may

19    continue your deliberations while waiting for the answer to any

20    question.

21                Remember, you are not to tell anyone, including me,

22    how the jury stands numerically or otherwise on any question

23    submitted to you, including the question of the guilt of the

24    defendant, until after you've reached a unanimous verdict or

25    have been discharged.


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 1                 All right.      May I see counsel at sidebar, please.

 2            (The following proceedings were held at sidebar.)

 3                 THE COURT:      Any objection to the instructions as

 4    read?

 5                 MR. MCDERMOTT:       No, sir.

 6                 MS. RYKKEN:      None.

 7                 THE COURT:      All right.      Thank you.

 8            (The following proceedings were held in open court.)

 9                 THE COURT:      All right.      Will the court security

10    officer please come forward.

11                 Could I ask the clerk to what swear the court

12    security officer.

13                 THE CLERK:      Please raise your right hand.

14                 Do you solemnly swear to keep this jury together in

15    some private and convenient place, that you will not permit any

16    person to speak or communicate with them, nor do so yourself

17    unless by order of the Court, or to ask them whether they have

18    agreed upon a verdict and that you will return them into court

19    when they have so agreed or when ordered by the Court, so help

20    you God?

21                 THE BAILIFF:       I do.

22                 THE COURT:      All right.      Ladies and gentlemen,

23    deliberating jurors, you're going to deliberate from 8:00 a.m.

24    to 3:30.     Lunch is going to be brought in to you each day.

25                 You may take breaks as you see fit, but do not


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 1    discuss the case with anyone, including each other, until all

 2    of you are back in the jury room.

 3                If you leave the jury room, you must be accompanied

 4    by the court security officer.             Again, please do not start your

 5    deliberations until all of you are present in the morning or

 6    when you return from a break.           You must all be present before

 7    you start your deliberations.

 8                Now, I'm going to ask the alternate jurors, do either

 9    of the alternate jurors have any belongings in the jury room?

10                ALTERNATE JUROR:        Yes.

11                THE COURT:      Okay.    I'm going to ask if you would step

12    out, go into the jury room and retrieve those belongings,

13    please, and come back here into the courtroom.                And you can

14    leave your notebook on your chair.

15          (Brief pause in the proceedings.)

16                THE COURT:      All right.       I'm going to ask the

17    alternate jurors to return to the jury assembly room on the

18    first floor.

19                Until the jury reaches a verdict or until the jury is

20    discharged, you are to go to the jury assembly room every day

21    while the jury is deliberating.

22                Lunch will also be brought in for you each day.

23                You will be notified when the jury reaches a verdict

24    or when the jury has been discharged.

25                While you're waiting in the jury room, you are not to


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 1    discuss this case with anyone, including your fellow alternate,

 2    people involved in the trial, your family members or anyone

 3    else, nor are you permitted to allow others to approach you and

 4    try to talk to you about this case.             This includes discussing

 5    the case on the internet, in chat rooms, through blogs,

 6    bulletin boards, by e-mails, or text messages.

 7                If anyone approaches you and tries to talk with you

 8    about this case, please notify one of the officials in the jury

 9    assembly room.

10                Do not read, watch or listen to any news reports or

11    other accounts about the trial or anyone associated with it.

12    Do not do any research, such as consulting dictionaries,

13    searching internet, or other reference materials, and do not

14    make any investigation about the case on your own.

15                If you simply -- if you need to speak to me, simply

16    give a note to one of the officials in the jury assembly room

17    and they will see to it that it's given to the clerk.

18                As alternate jurors, you're bound by the same rules

19    that govern the conduct of jurors who are sitting on the panel.

20    You should not form or express any opinion about the case until

21    after you've been substituted in for one of the deliberating

22    jurors on the panel or until the jury has been discharged so

23    I'm going to ask the alternate jurors to leave their notebooks

24    on your chairs, and if you both now would return to the jury

25    assembly room on the first floor.


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 1                All right.      Ladies and gentlemen, you may now retire

 2    to the jury room to begin your deliberations.                We'll bring in a

 3    copy of the jury instructions, the exhibits, a copy of the

 4    Indictment.     They'll be brought in.          We'll also give you a

 5    exhibit list.      And you may take your notebooks with you into

 6    the jury room to begin your deliberations.

 7                All right.      Thank you.

 8                THE CLERK:      All rise.

 9          (Jury out at 9:46 A.M.)

10          (The following was heard outside the presence of the

11          jury.)

12                THE COURT:      All right.      Have the lawyers met with the

13    clerk to ensure that all the exhibits are in and satisfied

14    themselves that those exhibits should go back to the jury?

15                MR. FREEDMAN:       We have, Your Honor, not since the

16    discussion about Exhibit 6.

17                THE COURT:      Okay.    I'm advised by the court reporter

18    that Exhibit 6 was admitted into evidence, so that will go back

19    into the jury room as well.

20                Where are you going to be if there are any notes?

21                MR. FREEDMAN:       We're happy to stay in this building.

22    If the Court would like otherwise, we may go back to Spring

23    Street.

24                THE COURT:      I think you guys have an office of some

25    sort in this building.


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 1                 MR. FREEDMAN:       We do.

 2                 THE COURT:      Just stay in the building, please.

 3                 And where are you going to be?

 4                 MR. MCDERMOTT:       Probably the cafeteria.

 5                 THE COURT:      Okay.     Make sure the clerk has a cell

 6    phone where you can be reached.

 7                 Now, if the jury doesn't come back today, does either

 8    party want to be present when they resume their deliberations

 9    tomorrow morning?        My practice is normally just to send them

10    back into the jury room.

11                 MR. MCDERMOTT:       Send them back there, yeah.             I don't

12    particularly care.

13                 MR. FREEDMAN:       Yeah, that's fine.        We don't need to

14    be here.

15                 THE COURT:      Okay.     We'll have a clean set of jury

16    instructions, if you want to review those before they go back

17    in probably in, probably in about ten minutes.                 The verdict

18    form should be available in roughly ten minutes.

19                 And I understand that the government filed a redacted

20    or cleaned up Indictment.            I think there were two versions, and

21    I'm not sure what -- I know one had a blank page on it.

22                 MR. FREEDMAN:       Right.     And so Item 2 deleted that

23    blank page just because once the page was blank, it sort of

24    begged the initial question.

25                 MR. MCDERMOTT:       Judge, I don't know if I'm late in


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 1    getting my Pacer stuff, but I'd like to take a look at it.

 2                 THE COURT:      That's fine.

 3                 And I think the jury also should get an exhibit list.

 4    So why don't you -- I think we've got an electronic version of

 5    the exhibit list.        We'll go ahead and delete the exhibits that

 6    weren't used and then both of you can take a look at that as

 7    well.

 8                 MR. MCDERMOTT:       That's fine.

 9                 THE COURT:      Okay.    Anything else?

10                 MR. MCDERMOTT:       Now that they're in deliberation I,

11    recall the Court start time is 8:30 to 3:30?

12                 THE COURT:      8:00 a.m. to 3:30.

13                 MR. MCDERMOTT:       Oh, all right.

14                 MR. FREEDMAN:       Nothing else, Your Honor.           Thank you.

15                 THE COURT:      Okay.    Thank you.

16                 THE CLERK:      All rise.

17            (Recess taken 9:50 to 10:33 A.M.)

18            (The following was heard outside the presence of the

19            jury.)

20                 THE COURT:      All right.      Let's call the case, please.

21                 THE CLERK:      Item 1, CR16-215, United States of

22    America versus Michael Mirando.

23                 Counsel, please state your appearances.

24                 MR. FREEDMAN:       Good morning, Your Honor.           Michael

25    Freedman and Katherine Rykken on behalf of the United States.


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 1                MR. MCDERMOTT:       Sir, Kevin McDermott on behalf of

 2    Mr. Mirando, who is present.

 3                THE COURT:      Good morning.       We've received a note from

 4    the jury, and the note reads that the jury has reached a

 5    unanimous verdict.

 6                What I'm going to do is I'm going to -- we're going

 7    to bring the jury in.        I'm going to get the alternates.            We

 8    will bring the alternates in.           We will then learn what the

 9    verdict is.

10                Then I'm going to -- well, depending on what the

11    verdict is -- if the verdict is not guilty, then we'll dismiss

12    the jury and they will go on their way.              If the verdict is

13    guilty, then we're going to go immediately into this forfeiture

14    action, and I'm going to reseat the alternates to hear the

15    forfeiture.

16                What's your estimate?

17                MR. FREEDMAN:       Your Honor, I think we can probably do

18    it in about half an hour.

19                THE COURT:      Okay.    Do you intend to put on a case?

20                MR. MCDERMOTT:       No, sir.

21                THE COURT:      Okay.    Let's bring the jury in.

22          (Jury in at 10:37 A.M.)

23                THE COURT:      All right.      Let's bring the alternates

24    in, please.

25                Please be seated.


                UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA



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 1          (Alternate jurors in at 10:38 a.m..)

 2                 THE COURT:      Members of the jury, I understand you've

 3    reached a unanimous verdict.

 4                 Who is your foreperson?

 5                 FOREPERSON:      Me.

 6                 THE COURT:      And, sir, would you please hand the

 7    verdict to the court security officer.

 8                 All right.      I'm going to ask the clerk to publish the

 9    verdict.

10                 THE CLERK:      United States District court, Central

11    District of California, number CR16-215-PA, United States of

12    America, plaintiff, versus Michael Mirando, defendant.

13                 Verdict Form.

14                 Count One.      We, the jury, unanimously find defendant

15    Michael Mirando guilty of health care fraud as charged in Count

16    One of the Indictment.

17                 Count Two.      We, the jury, unanimously find defendant

18    Michael Mirando guilty of health care fraud as charged in Count

19    Two of the Indictment.

20                 Count Three.       We, the jury, unanimously find

21    defendant Michael Mirando guilty of health care fraud as

22    charged in Count Three of the Indictment.

23                 Count Four.      We, the jury, unanimously find defendant

24    Michael Mirando guilty of health care fraud as charged in Count

25    Four of the Indictment.


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 1                Count Five.      We, the jury, unanimously find defendant

 2    Michael Mirando guilty of health care fraud as charged in Count

 3    Five of the Indictment.

 4                Count Six.      We, the jury, unanimously find defendant

 5    Michael Mirando guilty of health care fraud as charged in Count

 6    Six of the Indictment.

 7                Count Seven.       We, the jury, unanimously find

 8    defendant Michael Mirando guilty of health care fraud as

 9    charged in Count Seven of the Indictment.

10                Count Eight.       We, the jury, unanimously find

11    defendant Michael Mirando guilty of health care fraud as

12    charged in Count Eight of the Indictment.

13                Count Nine.      We, the jury, unanimously find defendant

14    Michael Mirando -- excuse me, we, the jury, unanimously find

15    defendant Michael Mirando guilty of health care fraud as

16    charged in Count Nine of the Indictment.

17                Count Ten.      We, the jury, unanimously find defendant

18    Michael Mirando guilty of health care fraud as charged in Count

19    Ten of the Indictment.

20                Count Eleven.       We, the jury, unanimously find

21    defendant Michael Mirando guilty of health care fraud as

22    charged in Count Eleven of the Indictment.

23                Count Twelve.       We, the jury, unanimously find

24    defendant Michael Mirando guilty of health care fraud as

25    charged in Count Twelve of the Indictment.


                UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA



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 1                Count Thirteen.         We, the jury, unanimously find

 2    defendant Michael Mirando guilty of health care fraud as

 3    charged in Count Thirteen of the Indictment.

 4                Count Fourteen.         We, the jury, unanimously find the

 5    defendant Michael Mirando guilty of health care fraud as

 6    charged in Count Fourteen of the Indictment.

 7                Count Fifteen.         We, the jury, unanimously find the

 8    defendant Michael Mirando guilty of health care fraud as

 9    charged in Count Fifteen of the Indictment.

10                Dated the 2nd day of May, 2017, at Los Angeles,

11    California.     Signed by the foreperson.

12                THE COURT:      Members of the jury, is that the verdict

13    of each of you, so say you all?

14                THE JURY:      Yes.

15                THE COURT:      All right.      May I see counsel at sidebar.

16          (The following proceedings were held at sidebar.)

17                THE COURT:      What they did -- rather than check, they

18    put a "yes" after each of the counts.

19                Okay.    So we're going to now start with this

20    forfeiture.

21                MR. MCDERMOTT:         Right.

22                MR. FREEDMAN:         I have a few additional exhibits that

23    I'll hand up to the Court, if that's okay.

24                THE COURT:      That's fine, but we got a couple more

25    steps to take care of this, and then we'll start.


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                                   #:1194
 1                 MR. FREEDMAN:       Okay.

 2          (The following proceedings were held in open court.)

 3                 THE COURT:      Does defense wish to have the jury

 4    polled?

 5                 MR. MCDERMOTT:       No, sir.

 6                 THE COURT:      Any reason why the verdict should not now

 7    be recorded?

 8                 MR. MCDERMOTT:       No, sir.

 9                 MR. FREEDMAN:       No, Your Honor.

10                 THE COURT:      All right.      The clerk is directed to file

11    and record the verdict.

12                 Ladies and gentlemen, we have one additional factual

13    issue that you're going to need to decide, so we're going to

14    put the alternates back in place and we're going to commence

15    with that proceeding now.

16                 Either counsel wish to make an opening statement?

17                 MR. FREEDMAN:       No, Your Honor.

18                 MR. MCDERMOTT:       No, sir.

19                 THE COURT:      Ladies and gentlemen, I think it's -- I

20    think the presentation of the evidence for this determination

21    is going to take roughly 30, maybe 40 minutes, and then there

22    may be some argument, and then that factual question will be

23    submitted to you for your deliberations.

24                 All right.      Does the government wish to call a

25    witness?


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 1                MR. FREEDMAN:       Yes, Your Honor.        The government calls

 2    Special Agent Kathleen Kennedy.

 3                THE COURT:      All right.

 4                THE CLERK:      Please raise your right hand.

 5                Do you solemnly swear that the testimony you shall

 6    give in the cause now before this Court shall be the truth, the

 7    whole truth, and nothing but the truth, so help you God?

 8                THE WITNESS:       I do.

 9                THE CLERK:      Please be seated.

10                Please state your full name and spell your last name

11    for the record.

12                THE WITNESS:       My name is Kathleen Irene Kennedy.          My

13    last name is spelled K-e-n-n-e-d-y.

14                MR. FREEDMAN:       Your Honor, before I begin, may I

15    approach the clerk with the exhibit list?

16                THE COURT:      Yes, that's fine.

17                Counsel, if you could hold on just one second,

18    please.

19                MR. FREEDMAN:       Sure.

20                THE COURT:      I'm sorry.      Let me see counsel at sidebar

21    for a moment.

22          (The following proceedings were held at sidebar.)

23                THE COURT:      Okay.      I think we probably should tell

24    them what we're --

25                MR. MCDERMOTT:       Going to do, sure.


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 1                THE COURT:      I'm going to -- I think there's a pretty

 2    reasonable statement in the proposed jury instructions.

 3                Do you have those?

 4                MR. FREEDMAN:       I do.    Do you want me to get a copy?

 5                THE COURT:      Yeah, get a copy, and let's see if we

 6    can --

 7                Okay.    Does anybody have any objection to giving this

 8    now?

 9                MR. FREEDMAN:       No.

10                MR. MCDERMOTT:       No.

11           (The following proceedings were held in open court.)

12                THE COURT:      Ladies and gentlemen, in view of your

13    verdict that Defendant Mirando is guilty of health care fraud,

14    as set forth in Counts One through Fifteen of the Indictment,

15    you have one more task to perform before you're discharged.

16                Under federal law, any person who is convicted of

17    health care fraud shall forfeit to the United States any

18    property, real or personal, that constitutes or is derived

19    directly or indirectly from the gross proceeds of the

20    commission of the offense.

21                It is now your task to determine whether the

22    following assets constitute or are traceable to such proceeds,

23    namely, the real property known as 92334 NW Finzer Court,

24    Portland, Oregon, 97229-0835.

25                I instruct you, however, that your previous finding


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 1    that the defendant is guilty of health care fraud is final,

 2    conclusive and binding.

 3                 Because you are bound by your previous finding that

 4    the defendant is guilty, I direct you not to discuss in your

 5    forfeiture deliberations whether the defendant is guilty or not

 6    guilty of these charges.

 7                 All of my previous instructions regarding direct and

 8    circumstantial evidence, credibility of witnesses, and duty to

 9    deliberate apply with respect to your verdict regarding

10    forfeiture.

11                 All right.

12                 MR. FREEDMAN:      Thank you, Your Honor.

13                 Your Honor, may I proceed?

14                 THE COURT:     Yes.

15                 MR. FREEDMAN:      Thank you.

16                                 KATHLEEN KENNEDY,

17                         having been first duly sworn,

18                               testified as follows:

19                                 DIRECT EXAMINATION

20    BY MR. FREEDMAN:

21    Q.    Special Agent Kennedy, you testified during the trial in

22    this matter that you obtained financial records for the

23    defendant's bank account; is that correct?

24    A.    Yes.

25    Q.    And could you just briefly for the jury refresh us as to


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 1    what that consisted of?

 2    A.    So there was the whole --

 3                 THE COURT:     I'm sorry.      Excuse me one moment.

 4                 Did you leave your notebooks?

 5                 THE JURY:     Yes.

 6                 THE COURT:     Okay.    Why don't we retrieve the

 7    notebooks.      I'll ask the clerk to retrieve them.

 8                 They're marked with your seat numbers?

 9                 THE JURY:     No.

10                 THE COURT:     All right.      Why don't we allow you to go

11    back and get your notebooks.

12                 THE CLERK:     All rise.

13          (Jury out at 10:53 A.M.)

14          (The following was heard outside the presence of the

15          jury.)

16                 MS. RYKKEN:     Your Honor.       May I put this up at the

17    witness stand?

18                 THE COURT:     That's fine.

19                 MR. MCDERMOTT:       Your Honor, there's something else

20    I'd like to address if we could.

21                 THE COURT:     Let's wait until the jury returns and

22    then --

23                 MR. MCDERMOTT:       It doesn't have anything to do with

24    the jury.      It has to do with the nature of the forfeiture

25    request that I think the Court needs to consider.


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 1                 THE COURT:      All right.      Well let's do that at

 2    sidebar.

 3          (The following proceedings were held at sidebar.)

 4                 MR. MCDERMOTT:       Because the government is asking for

 5    the forfeiture and that the forfeiture would then be to the

 6    government -- it's not going to the private companies, so --

 7    there was some recent 2016 decisions on forfeiture and who the

 8    appropriate victim is and who the appropriate restitutionee

 9    should be -- I mean, because what's going to happen,

10    theoretically, is that the insurance companies can now use this

11    conviction for civil actions against the client.

12                 THE COURT:      They can or cannot?

13                 MR. MCDERMOTT:       Can.

14                 THE COURT:      Um-hmm.

15                 MR. MCDERMOTT:       So my concern -- question is this.

16    If they were doing restitution for the insurance companies, I

17    wouldn't have an objection, but based on the instructions that

18    we've got, they're doing restitution for the government.                  And

19    so my question is whether or not that's the appropriate victim

20    to claim restitution.

21                 MR. FREEDMAN:       It's not -- may I?

22                 THE COURT:      Um-hmm.

23                 MR. FREEDMAN:       It's not restitution.         It's forfeiture

24    provided for by the statute that the defendant's proceeds shall

25    be forfeited.       If the defense -- the defense can take this up


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 1    at the appropriate time if there's a civil action for

 2    forfeiture.      The purpose of today's proceedings --

 3            (Jury in 10:55 a.m.)

 4                 THE COURT:      Go ahead.

 5                 MR. FREEDMAN:       The purpose of the proceedings today

 6    is to prove to the jury, as the defendant has requested

 7    certain, specific property falls within those gross proceeds.

 8                 MR. MCDERMOTT:       Right.

 9                 MR. FREEDMAN:       There would then still be a forfeiture

10    proceeding.

11                 MR. MCDERMOTT:       Right.

12                 MR. FREEDMAN:       All of this can be litigated at that

13    time.     And, in fact, if the defendant doesn't want this proven

14    to the jury, he can take all of that up --

15                 MR. MCDERMOTT:       Well --

16                 THE COURT:      I think his point is is that if you're

17    forfeiting the property, that's an asset that he has.                     There

18    may be restitution that may be ordered --

19                 MR. MCDERMOTT:       Um-hmm.

20                 THE COURT:      -- in this case.

21                 Now, I think to a certain extent he's right.                  I think

22    there is a statute that provides for forfeiture.                  Now, whether

23    the government wants to get together with the insurance

24    companies and decide, "We lost X, Y, Z amount of money.                     We're

25    going to be able to sell this property for who knows.                     We'll


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 1    give you a certain amount of that to compensate you for your

 2    restitution," which would --

 3                 MR. MCDERMOTT:       So then -- but based on your

 4    representation, then, are you confirming then that Crowley is

 5    not a relater?

 6                 MR. FREEDMAN:       We have no information that he's a

 7    relater.     I know we talked about this before.

 8                 MR. MCDERMOTT:       No, I know, but once seeing the

 9    instructions --

10                 MR. FREEDMAN:       Also, the loss amount would be

11    determined by the Court at sentencing --

12                 MR. MCDERMOTT:       Right.

13                 MR. FREEDMAN:       -- and the restitution and the

14    forfeiture flows from that.           What we're doing today is just

15    getting that house in there so that once the loss amount is

16    calculated, the house is one of the things that can be used.

17                 THE COURT:      It can be.

18                 MR. MCDERMOTT:       As an offset, but my mind -- like I

19    said, my concern is that, if the insurance companies decide

20    that they are entitled to direct restitution, whether or not

21    anything that the government has collected is something that

22    they're entitled to have.

23                 THE COURT:      I think that's something for the victims

24    and the government to work out.

25                 MR. MCDERMOTT:       Okay.


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 1                THE COURT:      And the government may well decide to use

 2    that asset to pay restitution.            They may or they may not.

 3                MR. MCDERMOTT:       Because then I don't want to hear the

 4    counter-argument that it doesn't count toward the restitution

 5    that the Court may order.          Right?

 6                THE COURT:      I think that's my -- my understanding is

 7    that that is something for the victims and the government to

 8    work out.

 9                MR. MCDERMOTT:       Okay.

10                MR. FREEDMAN:       This is just -- the total amount will

11    be determined at sentencing.

12                MR. MCDERMOTT:       Right.

13                MR. FREEDMAN:       The purpose of today is just to lock

14    in the house as one of the things that can be gone after,

15    whatever the amount is.

16                MR. MCDERMOTT:       Okay.      Go ahead.

17          (The following proceedings were held in open court.)

18                THE COURT:      All right.       Let's --

19                MR. FREEDMAN:       Your Honor, may my colleague also

20    deliver a set of exhibits to the Court at this point?

21                THE COURT:      Yes, that's fine.

22                MR. FREEDMAN:       May I resume?

23                THE COURT:      Yes, please.

24    BY MR. FREEDMAN:

25    Q.    So, Special Agent Kennedy, describe the process of tracing


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 1    the accounts.

 2    A.    So I obtained bank records for Holter Labs Chase account

 3    and Holter Labs Bank of the West account.               I also obtained bank

 4    records for Michael Mirando's Chase account.

 5                 In reviewing those records, we discovered -- I

 6    discovered other accounts that Mr. Mirando had.

 7                 I discovered the Murrieta Medical Supply account at

 8    Bank of America.       I discovered Michael Mirando's account at

 9    ING, or I-N-G, at Allied Bank, as well as there were some other

10    accounts that he had for companies, Collegiate Properties of

11    Mississippi, North Carolina, South Carolina.                And it was a

12    process of looking at the flow of money from one -- into one

13    account and then out to another account.

14                 MR. MCDERMOTT:        Sir, can we have a quick sidebar?

15                 THE COURT:     Yes.

16          (The following proceedings were held at sidebar.)

17                 MR. MCDERMOTT:        In light of the miraculously fast

18    verdict in this case, we would be willing to go ahead and sign

19    off on the stip.       All right?

20                 THE COURT:     Okay.

21                 MR. MCDERMOTT:        We got it right here and we'll sign

22    off on it.

23                 MR. FREEDMAN:      And then I'll sign it.

24                 THE COURT:     All right.      So -- okay.      So then I'm

25    going to excuse the jury.


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 1                 MR. MCDERMOTT:       Okay.     Right.

 2                 THE COURT:      And I'll go out -- I'm going to excuse

 3    the jury, tell them we've resolved this issue without their --

 4    we've resolved the issue, and I'm going to excuse them.

 5                 I'm going to go back in and thank them for their

 6    service, and then we'll come back here, get a sentencing date

 7    and deal with any other issues.

 8                 MR. MCDERMOTT:       All right.      Thank you.

 9                 THE COURT:      All right.      The witness may step down.

10            (The following proceedings were held in open court.)

11                 THE COURT:      Ladies and gentlemen, we've resolved this

12    issue, and so you won't need to deliberate further.

13                 Again, I want to thank you for your service in this

14    case.     Our constitution's framers recognized that trial by jury

15    is the essence of a free government.

16                 Jury service is a right that our forefathers fought

17    for and men and women are fighting for today to secure because

18    of its importance in the governing of a democratic society.

19    For the jury to perform an historic and beneficial role in our

20    democracy, it must be constituted with people like yourselves

21    who are willing to serve.

22                 As a society, we've given to the people the power to

23    make the ultimate determination of whether or not to deprive a

24    fellow citizen of life, liberty, or property in criminal cases.

25                 I'm proud of the fact that citizens like you are


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 1    willing to serve on juries.

 2                I'm going to dismiss you with the thanks of the

 3    Court.

 4                The court security officer will escort you to the

 5    jury assembly room on the 1st Floor.

 6                And now that the case has been concluded, some of you

 7    may have questions about the confidentiality of the

 8    proceedings.

 9                Many times jurors are asked that if they are now at

10    liberty to discuss the case with anyone, and now that the case

11    is over, you are, of course, free to discuss the case with any

12    person you choose.

13                By the same token, however, I would advise you that

14    you are under no obligation whatsoever to discuss this case

15    with any person.

16                If you do decide to discuss the case with anyone, I

17    would suggest that you treat it with the same degree of

18    seriousness, and that whatever you do decide to say, you would

19    be willing to say in the presence of the other jurors or under

20    oath here in open court in the presence of all of the parties.

21                Also, always bear in mind that if you do decide to

22    discuss the case that the other jurors fully and freely stated

23    their opinions with the understanding that they were being

24    expressed in confidence.         Please respect the privacy of the

25    views of your fellow jurors.


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 1                I'm going to ask if you would return to the jury

 2    assembly room for two minutes.           I'm just going to come in there

 3    and personally thank you for your services, and then we will

 4    let you go back to the jury assembly room.

 5                So if you will return to the jury room for just a

 6    couple of minutes, I just want to come in and thank you.

 7                THE CLERK:      All rise.

 8                THE COURT:      And if you could just take your notebooks

 9    with you.

10          (Jury out at 11:04 A.M.)

11                THE COURT:      Okay.    I assume the stipulation has been

12    signed?

13                MR. FREEDMAN:       Yes, Your Honor.

14                THE COURT:      All right.      I'm going to go -- we're

15    going to take a recess for about five minutes.                I'm just going

16    to thank the jury, and then we'll come in and set a date for

17    sentencing and deal with any other matters we have to.

18          (Recess taken 11:04 to 11:14 A.M.)

19                THE COURT:      All right.      I'm going to ask the clerk to

20    give us a date for sentencing.

21                THE CLERK:      July 31st, 2017, at 8:30 a.m.

22                THE COURT:      Is that date and time convenient to both

23    counsel and the defendant?

24                MR. MCDERMOTT:       July -- no, it's not for me.            We

25    discussed, if it was at all possible, sir, our memorandum is


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 1    due on the 7th of August and a hearing date on the 21st.

 2                THE COURT:      Of August?

 3                MR. MCDERMOTT:       Yes, sir.

 4                MR. FREEDMAN:       That's fine with the government.

 5                THE COURT:      All right.      We'll continue -- well, we'll

 6    have sentencing in this case on August -- I'm sorry, August

 7    21st?

 8                MR. MCDERMOTT:       It's a Monday.

 9                THE COURT:      It is.

10                August 21st, 2017, at 8:30 a.m.

11                The defendant is ordered to appear for sentencing on

12    August 21, 2017, at 8:30 a.m. without further notice or order

13    from the Court.

14                In the interim, this case is going to be referred to

15    the probation department for the preparation of a Pre-sentence

16    Report.    The defendant will be asked to give information for

17    the report.     You'll have an opportunity to read the report and

18    to speak at the sentencing hearing.             I want to urge the

19    defendant to consult with his lawyer throughout this process so

20    he can answer any questions he may have.

21                All right.      Are there any other matters we need to

22    take up at this time?

23                MR. FREEDMAN:       No, Your Honor.

24                MR. MCDERMOTT:       No, sir, not at this time, other than

25    asking the Court to consider the bond situation, sir.


                UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA



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 1                 THE COURT:      What's the current bond?

 2                 MR. MCDERMOTT:       It was literally sign a promise to

 3    appear, sir.      There was no monetary, no bracelet, and just

 4    contact the probation officer.

 5                 In fact, the Pretrial Services up there contacted me.

 6    They didn't even have him doing fill out the forms or regular

 7    contact.     So we'd ask that it be just a mere signature

 8    situation, if we could.

 9                 THE COURT:      Was there a Pre-trial Services report

10    prepared in this case?

11                 MR. MCDERMOTT:       This was unusual from the standpoint

12    it was Oregon, Portland, originally.              I'm not sure we had one

13    assigned out here, to tell you the truth, sir.                 I think he has

14    always been assigned to Oregon.

15                 MR. FREEDMAN:       There was a Pretrial Services officer

16    down here but not in Portland.

17                 MR. MCDERMOTT:       Maybe originally.        They might have

18    interviewed him, but that might have been it, sir.

19                 THE COURT:      Does he have a passport?

20                 MR. MCDERMOTT:       It's already turned in, sir.

21    Weapons, passports, everything has been rid of or turned in.

22                 THE COURT:      Okay.    Here's what I'm going to do.        I'm

23    going to have a Pretrial Services officer interview him and

24    then -- hopefully, they can get that done by 1:30 or 2 o'clock

25    this afternoon.       I'll bring you back here and then we'll decide


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 1    the bond, but I'd like to get some information from Pretrial

 2    Services.

 3                And I anticipate -- well, let me ask this.                   I know

 4    that the Oregon property, I guess, was subject to this

 5    forfeiture.

 6                Did I understand the evidence that there's other

 7    property that the defendant owns?

 8                MR. FREEDMAN:       Correct.

 9                THE COURT:      Real property?

10                MR. FREEDMAN:       Yes.

11                THE COURT:      There's going to be some sort of bond in

12    this case, and probably the defendant -- well, I'll take a look

13    at the report, but there may be -- he may be restricted to his

14    home, and he may end up having to wear a bracelet, because the

15    standard changes once there's been a conviction, but I'll wait

16    to see the report.

17                But unless there's something new, I suspect we'll be

18    able to arrive at some conditions of bond.

19                So the defendant will be interviewed by Pretrial

20    Services.

21                Were you able -- does the government know -- I take

22    it the government knows where these other pieces of property

23    are?

24                MR. FREEDMAN:       Most of them.

25                THE COURT:      Okay.      And do we know -- do we have any


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 1    sense of whether there's any equity in those pieces of

 2    property?

 3                 AGENT KENNEDY:      I believe there is -- there's going

 4    to be equity in all of them, but some of them may have

 5    mortgages on them still.

 6                 THE COURT:     Okay.    I think that's what he needs to

 7    share to Pretrial Services so then we can fix a bond.

 8                 Are you going to keep him here -- or can you keep him

 9    here?

10                 THE OFFICER:      Normally, we would take him back to

11    Roybal, Your Honor, but if we need to -- because pretrial is in

12    Roybal anyways.

13                 THE COURT:     That's fine.

14                 THE OFFICER:      So we can take him back and have him

15    interviewed and bring him back as soon as he is done.

16                 THE COURT:     Okay.    If you want to be with him, that's

17    fine.

18                 MR. MCDERMOTT:      You want us back here at 2:00.

19                 THE COURT:     1:30, 2 o'clock, whatever works.

20                 MR. MCDERMOTT:      Well, I need to -- if the Court is

21    going to do a bond, I need to figure out how to get that done.

22                 THE COURT:     Okay.    So do you want to do it this

23    afternoon?

24                 MR. MCDERMOTT:      I'm going to work on it as soon as I

25    can certainly.      I will start making calls now.


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 1                 THE COURT:     Okay.    Why don't we -- I'll see if we can

 2    get Pretrial Services geared up.            He lives, though, in

 3    Portland?

 4                 MR. MCDERMOTT:      Yes, sir.

 5                 THE COURT:     Okay.    And we'll tentatively set this for

 6    2 o'clock.

 7                 MR. MCDERMOTT:      That's fine, sir.

 8                 MR. FREEDMAN:      That's fine.

 9                 THE COURT:     Okay.    Thank you.

10                 THE CLERK:     All rise.

11          (Recess taken 11:22 to 2:30 P.M.)

12                 THE CLERK:     Item 1, CR16-215, United States of

13    America versus Michael Mirando.

14                 Counsel, please state your appearances.

15                 MR. FREEDMAN:      Good afternoon, Your Honor.              Michael

16    Freedman and Katherine Rykken on behalf of the United States,

17    and Kathleen Kennedy at counsel table as well.

18                 THE COURT:     Good afternoon.

19                 MR. MCDERMOTT:      Sir, Kevin McDermott on behalf of

20    Mr. Mirando, who is present and out of custody.

21                 THE COURT:     Good afternoon.

22                 MR. MCDERMOTT:      I should say he's in custody.

23                 THE COURT:     I have a Pre-trial Services report.               If

24    the parties desire to take a look at it, it's fine.

25                 MR. MCDERMOTT:      Sir, I was there during the


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Case
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 1    interview.

 2                 THE COURT:      Okay.

 3                 MR. FREEDMAN:       No issue with needing to look at it,

 4    Your Honor.

 5                 THE COURT:      Okay.    Do you wish to see it?

 6                 MR. FREEDMAN:       We'll take a quick look, if that's

 7    okay.

 8                 THE COURT:      And I believe I have a Pretrial Services

 9    report from Oregon.

10                 MR. MCDERMOTT:       Yes, sir.

11                 Is there a date on that one, sir?

12                 THE COURT:      Looks like October 7th, 2016.

13                 MR. MCDERMOTT:       It's the original one, sir.             I've

14    read that one, yes.

15                 THE COURT:      You want to see the original?

16                 MS. RYKKEN:      Yeah.

17                 THE COURT:      Let me just ask a couple of questions.

18    Other than the income that he's receiving from Holter labs,

19    does he have any other sources of income?

20                 MR. MCDERMOTT:       Sir, at this particular point, no.

21                 I can indicate to the Court that the sale of a

22    condominium that occurred in Orange County before moving to

23    Oregon had netted about $400,000 in equity.                It was a home that

24    they had purchased -- or a condo he purchased back in 2002 or

25    '3.     But beyond that, there isn't any other sources of income.


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 1                 THE COURT:     Okay.    And this report indicates that he

 2    has properties in Oregon, North Carolina, and South Carolina

 3    with a combined approximate value of $980,000.

 4                 MR. MCDERMOTT:      There would be some rental income

 5    from those properties, but as far as any other type -- I think

 6    of nonpassive income -- I don't believe there's anything else

 7    to report.

 8                 THE COURT:     Okay.    Does he own any other properties?

 9                 MR. MCDERMOTT:      The list that you have in front of

10    you, sir, is the government's list from the exhibits.

11                 THE COURT:     My question -- my question is a little

12    different.     Does he own any other properties?

13                 MR. MCDERMOTT:      Sir, not that I'm aware of.

14                 MR. FREEDMAN:      Your Honor, there's also the condo in

15    Honduras.

16                 THE COURT:     All right.      Pretrial Services is on the

17    phone.    I'm going to recess for about five minutes.                I had a

18    couple of questions I wanted to ask them.

19                 MR. MCDERMOTT:      And just for the Court's

20    consideration, too.        The parents have equity in their home in

21    Portland and would be willing to use that as collateral if the

22    Court requires it.        It's my understanding that that home is

23    independent of any kind of conduct in this case.                 It would have

24    nearly about 500,000 in equity, maybe more.

25                 THE COURT:     Okay.


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                                                                            #:475
                                   #:1214
 1                MR. MCDERMOTT:       All right.

 2          (Recess taken 2:35 to 2:43 P.M.)

 3                THE CLERK:      Item 1, CR16-215, United States of

 4    America versus Michael Mirando.

 5                Counsel, please state your appearances.

 6                MR. FREEDMAN:       Michael Freedman, Katherine Rykken on

 7    behalf of the United States, and Kathleen Kennedy at counsel

 8    table.

 9                MR. MCDERMOTT:       Kevin McDermott on behalf of

10    Mr. Mirando, who is present.

11                THE COURT:      Okay.    The values of the property that --

12    in Oregon, North Carolina and South Carolina, this value of the

13    $980,000, is that the properties' value?              Is that equity in

14    those properties?

15                MR. MCDERMOTT:       From the -- from, I believe -- the

16    list, I think that may be gross.

17                THE COURT:      Okay.    Do you have a --

18                MR. MCDERMOTT:       Frankly, I haven't done a background

19    on it.    I was relying upon their list.            It's my understanding

20    it's --

21                THE COURT:      Well, it's not so much what they think it

22    is.

23                MR. MCDERMOTT:       No, I know.       I'm just reflecting to

24    the Court I haven't done my own personal evaluation of the

25    properties.     I didn't really thought I'd have a need to until


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 1    today.    But in discussions with my client, I think the 900- is

 2    a gross figure and less mortgages.             And the rest of it, I think

 3    we're at -- on those about 55 percent, so somewhere in the

 4    neighborhood of about 400-.

 5                 THE COURT:     Okay.    And then he's got another 270,000

 6    in bank accounts and another $500,000 in investment accounts.

 7                 MR. MCDERMOTT:      That was the list as of about maybe

 8    six months ago.      I know that the current figures that my client

 9    gave today would be more accurate, if that's the amount that

10    was given.

11                 THE COURT:     Right.     I'm just reading from the report.

12                 MR. MCDERMOTT:      The one that was put together today?

13    Yes, sir, that's correct, then.

14                 THE COURT:     Okay.    Now, I think you had indicated at

15    some point that the defendant had rented a house here in

16    Southern California.

17                 MR. MCDERMOTT:      Yes, sir.

18                 THE COURT:     Okay.    Is that house still available?

19                 MR. MCDERMOTT:      It's an Airbnb, sir.         It's due to be

20    finished this week.

21                 THE COURT:     How long is he going to be -- how long

22    has he made arrangements to be here in Southern California?

23                 MR. MCDERMOTT:      I think they have actually requested

24    a check-out of Friday.

25                 THE COURT:     And today is Tuesday.


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 1                MR. MCDERMOTT:       Yes, sir.

 2                THE COURT:      All right.      Does the government have a

 3    position?

 4                MR. FREEDMAN:       Your Honor, the government agrees with

 5    the $500,000 bond amount in the Pretrial Services report.

 6                The government is concerned about a bond being posted

 7    with any of the defendant's properties or accounts because

 8    based on the testimony at trial, it sounds like most of those

 9    proceeds are proceeds from the fraud.

10                If the defense wishes to proceed with trying to put

11    those properties up, we would reserve the right to seek a Nebia

12    hearing at that time.        It may be cleaner for everybody if the

13    parents' property is used in the first instance.

14                THE COURT:      Okay.    Do you know what the -- I think

15    you may have mentioned it.          The parents have equity in their

16    home of what?

17                MR. MCDERMOTT:       Yes, sir.      It's my understanding at

18    least $500,000.      And I don't necessarily disagree with the

19    government's position.         If the Court's concerned about that, if

20    it's a reasonable amount we can work with, I would rather

21    perhaps have the parents involved than the other properties.                   I

22    don't want it to be an issue later on for the Court to have to

23    be concerned with.

24                THE COURT:      All right.      Well, here's what I'm -- what

25    I'm considering.       What I'm considering doing is setting a bond


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 1    that's going to have to be fully secured with some property,

 2    and I will give the parties some period of time to see if they

 3    can work that out.

 4                And in the meantime, what I would do is require him

 5    to wear an ankle bracelet, in other words, location monitoring

 6    with GPS.     He'd reside in this -- in the Central District in

 7    this Airbnb, and I would assume by Friday we could have this

 8    property worked out.        And then I think the way this would work

 9    is that he -- is he going to fly back to Oregon?

10                MR. MCDERMOTT:       Yes, sir.

11                THE COURT:      Okay.    I think he can work out with

12    Pretrial Services to take that bracelet off when getting on the

13    plane.    I think the airlines don't want you to fly with it, but

14    you can take it off.

15                He gets to Oregon, puts it back on, reports

16    immediately to Pretrial Services in Portland where they will

17    give a new bracelet or use that one.

18                And I'm trying to confirm -- they're trying to

19    confirm now that Portland can do GPS monitoring.

20                So that's sort of my suggestion.

21                So he -- and I'd give him some time.              He's got -- he

22    can sign an appearance bond, but at some point before he goes

23    back to Oregon -- and, hopefully, you'll be able to -- in the

24    next 48, 72 hours be able to work out what the property is and

25    to meet this bond.


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 1                MR. MCDERMOTT:       Right.

 2                The government and I had some discussions, and let me

 3    see if I can pose this to the Court.

 4                It wouldn't take us long -- and I've already been

 5    talking to a bondsman who is checking on the equities of the

 6    parents' home as we speak.          I'd like to get that cleared.

 7                And it was in an agreement that I hope we can

 8    convince the Court would be appropriate -- is to give us --

 9    release the man today, conditions that he's not working in the

10    business, and give us until two weeks from yesterday to fully

11    have everything to the government, all the paperwork done and

12    whatever other terms and conditions that the Court wants,

13    including, if I can't convince the Court not to do the

14    bracelet, to at least, rather than going through the headache

15    of taking it off and putting it back on when you get up there,

16    get the confirmation from Portland that they can do it, send

17    him back as soon as possible.

18                We'll finish up the paperwork, as long as the

19    government is satisfied and the Court's satisfied, and we'll

20    submit long before that Monday the fully encumbered, or

21    whatever the Court may need, on that parents' property, sign

22    off on any documents and paperwork the Court wants, any

23    promises, whatever, and let the government and I work out --

24    and if it turns out it doesn't, then the two of us will be back

25    here on that Monday and face the consequences.


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 1                THE COURT:      Okay.    I guess the only rub that I --

 2    generally, I don't have a problem with that.                The only rub I

 3    have is that -- when is he ready to return to Portland?

 4                MR. MCDERMOTT:       Sir, I can put him on a plane

 5    tomorrow.

 6                THE COURT:      Okay.

 7                MR. MCDERMOTT:       All right?      Right away, and the first

 8    thing he'll do getting off the plane is to march right into

 9    Pretrial Services.

10                THE COURT:      Okay.    I guess my view -- my view is if

11    he wants -- if he wants to leave tomorrow, that's fine, but

12    he's going to need that bracelet.            And once he arrives in

13    Portland, it's going to be home confinement, subject to --

14                MR. MCDERMOTT:       Church.

15                THE COURT:      -- church, medical reasons.

16                MR. MCDERMOTT:       Can I put him on that -- can we agree

17    that he gets on that plane tomorrow and the first thing he does

18    is check into Portland and gets that bracelet situation

19    hammered out?      Or are you going to require us to get one here

20    and then take it off tomorrow?

21                I'll do my best to offer to the Court I'll make sure

22    it gets it done tomorrow when he gets back to Portland.

23                THE COURT:      The only -- well, if he wanted to -- I

24    assume you wanted to try to get him out today?

25                MR. MCDERMOTT:       Yes, sir.


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 1                 THE COURT:      Then he needs that bracelet.

 2                 MR. MCDERMOTT:       Okay.     Would that be through Pretrial

 3    Services here, then?

 4                 THE COURT:      Yeah, they can put one on this afternoon.

 5                 MR. MCDERMOTT:       Okay.

 6                 THE COURT:      I don't --

 7                 MR. MCDERMOTT:       I just want to make sure I can get an

 8    order from the Court to have them do that.

 9                 THE COURT:      I'm going to call them.          They will meet

10    you over there and they'll put it on.

11                 MR. MCDERMOTT:       All right.

12                 THE COURT:      Okay?    And the only thing, I guess, that

13    we need to do is to figure out what this bond amount is going

14    to be.     And what you're saying is you won't know the equity in

15    the parents' home until --

16                 MR. MCDERMOTT:       I've got somebody working on it right

17    now.     I'd like to be able to tell the Court I can do it -- if I

18    can reach the person -- 20 minutes, 30 minutes, if I can reach

19    him.     He's already given me the estimates for the most part on

20    the properties on the list, at least the primary home and some

21    other properties.        So I know he's got the capability.               I just

22    don't know how busy he is right now.

23                 THE COURT:      Okay.    And your best guess is that the

24    parents' -- the equity in the parents' home is somewhere

25    between 4- and $500,000?


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 1                 MR. MCDERMOTT:       Yes, sir.

 2                 THE COURT:      Okay.    And he's got another -- and he's

 3    got another $700,000 either in banks or in investments?

 4                 MR. MCDERMOTT:       That appears to be correct.

 5                 THE COURT:      I'm sorry?

 6                 MR. MCDERMOTT:       That appears to be correct.

 7                 THE COURT:      Okay.    And I guess I haven't done this in

 8    a while.     So if I had $500,000 in the bank, I guess we could

 9    make this bond that it's cash or secured by property, correct?

10                 MR. MCDERMOTT:       Cash or secured by property?

11                 THE COURT:      Any combination of cash, real property.

12                 MR. MCDERMOTT:       Okay.     Yes, sir.

13                 THE COURT:      Right?

14                 MR. MCDERMOTT:       Right.

15                 THE COURT:      And he can either -- I guess somehow

16    either put up those funds that he's got in those accounts or go

17    out and get a bail bondsman and pay for it, right --

18                 MR. MCDERMOTT:       Yes, sir.

19                 THE COURT:      -- and/or the real property.

20                 MR. MCDERMOTT:       Or encumber the parents' property

21    sure.    Yes, sir.

22                 THE COURT:      Okay.    And we'll give him some amount of

23    time to do that.

24                 MR. MCDERMOTT:       Yes, sir.

25                 THE COURT:      And in the meantime, he will wear the


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 1    bracelet, sign an appearance bond for whatever amount we come

 2    up with and that subsequently he's going to secure this amount?

 3                MR. MCDERMOTT:       Yes, sir.

 4                THE COURT:      And you want a week or something?

 5                MR. MCDERMOTT:       Hopefully, sir.        The government and I

 6    discussed it would be two weeks from yesterday, so it would be

 7    a Monday.     That way if there was an issue, we know it's an open

 8    date for the Court, we'd come in and at least show good faith

 9    that we couldn't for whatever reason.

10                THE COURT:      That's fine.

11                MR. MCDERMOTT:       All right.

12                THE COURT:      Okay.

13                MR. MCDERMOTT:       Can I check real quick, too?            Because

14    when the order goes in, I want to make sure exactly the time of

15    the flight out that we can get done, and I believe the wife may

16    have that information.         So I want to just make sure when the

17    order goes in, that when they put the bracelet on, that there

18    is a time tomorrow that they can take it off so he can make

19    that flight.

20                THE COURT:      He can -- that's fine, but he can work

21    all that out with Pretrial.

22                MR. MCDERMOTT:       All right.      As long as they accept

23    his word and the wife's word, I'm fine with that.

24                THE COURT:      He can work all that out with Pretrial

25    Services.


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 1                 MR. MCDERMOTT:       All right.

 2                 THE COURT:      And if there's an issue --

 3                 MR. MCDERMOTT:       I'll have him call.

 4                 THE COURT:      -- they can call.

 5                 Okay.    So I'm going to -- based on what I have here,

 6    I'm going to -- and let me make sure I understand that his

 7    income now is made up from Holter Labs.

 8                 MR. MCDERMOTT:       That's correct, sir.         Direct, as

 9    opposed to passive where there's some income coming in on

10    rental properties.

11                 THE COURT:      Okay.    And he's got income coming in from

12    rental properties?

13                 MR. MCDERMOTT:       Yes, sir.

14                 THE COURT:      Okay.    They used to give us, I thought,

15    what his expenditures are.

16                 MR. MCDERMOTT:       They asked that.        It was in the range

17    of 4- to $5,000 a month.          I heard him say that to the Pretrial

18    Services individual today.

19                 THE COURT:      Okay.    All right.      What I'm going to do

20    is I'm going to set a bond of a million dollars made up of

21    cash, security.       He'll sign a promise today to -- for a

22    million.

23                 If after -- within this next two weeks, if your

24    position is that's too much or it's based on whatever, you can

25    come in and ask me to modify that.


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 1                And that million dollars is made up of -- secured by

 2    real property and/or cash.

 3                MR. MCDERMOTT:         All right.    And just so I'm clear on

 4    the Court's requirements, if the parents' property, let's say

 5    hypothetically, comes in with an appraisal of 1.1 million,

 6    would that suffice to cover the million for the Court?

 7                THE COURT:      Yep.

 8                MR. MCDERMOTT:         All right.    All right.

 9                THE COURT:      Do you have any disagreement with that?

10                MR. FREEDMAN:       No, Your Honor.

11                THE COURT:      Okay.

12                MR. MCDERMOTT:         And the cash deposit would be with

13    the clerk of court here?           With the government?       How would the

14    Court like to have that done?

15                THE COURT:      We'll work that out in the next couple of

16    weeks.

17                MR. MCDERMOTT:         Okay.   I just want to make sure

18    we're -- I'd like to have this completed and presented to the

19    Court long before that Monday so we don't have to take the

20    Court's time.

21                THE COURT:      Okay.

22                MR. MCDERMOTT:         All right?

23                THE COURT:      Okay.     And so I guess we'll prepare -- so

24    his travel is going to be restricted to the Central District of

25    California and Oregon.


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 1                MR. MCDERMOTT:       I'm not sure -- is there more than

 2    one district up there?         Yeah, so the District of Oregon.

 3                THE COURT:      Okay.     And he's already surrendered his

 4    passport?

 5                MR. MCDERMOTT:       Yes, sir.

 6                THE COURT:      And he's going to agree not to relocate

 7    without PSA.     He's going to be basically staying at home --

 8                MR. MCDERMOTT:       Yes, sir.

 9                THE COURT:      -- with a GPS monitor.

10                And he's going to avoid any contact with any

11    witnesses who testified in this case, not possess any firearms.

12                Is there any other property that's outside -- other

13    than this property in Honduras?

14                MR. FREEDMAN:       Not that we're aware of.

15                MR. MCDERMOTT:       No, sir, not that I am aware of.

16                THE COURT:      And what's the value of the property

17    that's in Honduras?        Do you know?

18                MR. FREEDMAN:       Approximately $650,000.

19                THE COURT:      And do we know how much equity is in that

20    property?

21                MR. MCDERMOTT:       We don't know.       The Honduran property

22    may have about a hundred in equity.

23                THE COURT:      Okay.     Okay.    So we'll sign -- you need a

24    release for him?

25                THE OFFICER:       Yes.


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 1                THE COURT:      If he's got to put on an ankle bracelet,

 2    do we release him to Pretrial Services?

 3                THE OFFICER:       That's correct, Your Honor.

 4                MR. MCDERMOTT:       And that would be back at Roybal?

 5                THE OFFICER:       Yes.

 6                THE COURT:      So if you like, I'll contact pretrial and

 7    confirm they're going to be able to meet you over there to give

 8    him his bracelet.

 9                MR. MCDERMOTT:       Yes, sir.

10                THE COURT:      Anything else?

11                MR. MCDERMOTT:       Just for the Court's edification,

12    plane tickets are available 11 o'clock tomorrow.                 The flight

13    leaves tomorrow.

14                THE COURT:      At 11:00?

15                MR. MCDERMOTT:       Yes, sir.

16                THE COURT:      Okay.

17                MR. MCDERMOTT:       LAX.

18                THE COURT:      To Portland?

19                MR. MCDERMOTT:       Oh, Long Beach to Portland.

20                THE COURT:      Okay.     Just make sure that you notify

21    Pretrial of what the itinerary is and when you expect -- and

22    then when they get to Portland, they should report to Pretrial

23    Services in Portland.

24                Okay.    Anything else?

25                MR. FREEDMAN:       No, Your Honor.       Thank you.


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 1                MR. MCDERMOTT:       No, sir.

 2                THE COURT:      If you want to wait, I'll have the

 3    clerk -- I'm pretty sure pretrial -- if there's a problem,

 4    we'll notify.       Maybe it's best they get him back over there,

 5    and then if there's going to be a problem with pretrial, she

 6    has your cell phone.

 7                MR. MCDERMOTT:       She does.

 8                THE COURT:      Okay.    And we'll notify you, but I don't

 9    anticipate there's going to be a problem.

10                Okay.     Thank you very much.

11          (Proceedings concluded 3:07 P.M.)

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                UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA



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 3                                     CERTIFICATE

 4

 5          I hereby certify that pursuant to Section 753,

 6    Title 28, United States Code, the foregoing is a true and

 7    correct transcript of the stenographically reported

 8    proceedings held in the above-entitled matter and that the

 9    transcript page format is in conformance with the

10    regulations of the Judicial Conference of the United States.

11

12    Date: JULY 6, 2017

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16

17                           /s/   Cindy L. Nirenberg, CSR No. 5059

18                                             Official Court Reporter

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                UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA



App. 1197
